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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
COLE SCHOTZ P.C.                                                                             FILED
Michael D. Sirota, Esq.                                                              JEANNE A. NAUGHTON, CLERK

Stuart Komrower, Esq.                                                                  SEPT. 4 , 2020
Ryan T. Jareck, Esq.                                                                   U.S. BANKRUPTCY COURT
Matteo W. Percontino, Esq.                                                                   NEWARK, N.J.

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25 Main Street
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Hackensack, New Jersey 07601
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Attorneys for Debtors
and Debtors in Possession
                                                                   Chapter 11

In re:                                                             Case No. 20-18445 (JKS)

RTW RETAILWINDS, INC., et al.,                                     (Jointly Administered)

                                   Debtors.1

 ORDER (A) APPROVING THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’
    ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND
  INTERESTS, (B) AUTHORIZING THE DEBTOR TO ENTER INTO AND PERFORM
  THEIR OBLIGATIONS UNDER THE PURCHASE AGREEMENT, (C) APPROVING
 ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
         UNEXPIRED LEASES, AND (D) GRANTING RELATED RELIEF




                                                          __________________________________________
                                                          HONORABLE JOHN K. SHERWOOD
                                                          UNITED STATES BANKRUPTCY JUDGE
 Dated: September 4, 2020

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         The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax identification
         number, as applicable, are as follows: RTW Retailwinds, Inc. (1445); Lerner New York Holding, Inc. (2460);
         Lernco, Inc. (4787); Lerner New York, Inc. (2137); New York & Company, Inc. (4569); Lerner New York
         GC, LLC (6095); Lerner New York Outlet, LLC (6617); New York & Company Stores, Inc. (6483); FTF
         GC, LLC (7341); Lerner New York FTF, LLC (6279); Fashion to Figure, LLC (6997); FTF IP Company,
         Inc. (6936). The Debtors’ principal place of business is 330 W. 34th St., 9th Floor, New York, New York
         10001.



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         Upon the motion (the “Motion”),2 of the above-captioned debtor and debtor in possession

(collectively, the “Debtors”), for entry of an order (this “Sale Order”) (a) authorizing and

approving the entry into and performance under the terms and conditions of that certain Asset

Purchase Agreement, substantially in the form attached hereto as Exhibit 1 (as may be amended,

supplemented or restated, the “Purchase Agreement”), and all other ancillary agreements

(collectively, the “Transaction Documents”), by and among the Debtors and Saadia Group LLC

(the “Purchaser”), (b) authorizing and approving the sale of those assets set forth in the Purchase

Agreement (the “E-Commerce Business Assets”) free and clear of all liens, claims,

encumbrances, and other interests, except to the extent set forth in the Purchase Agreement, and

the assumption of certain assumed liabilities set forth in the Purchase Agreement (the “Assumed

Liabilities”) pursuant to the Purchase Agreement upon the closing of the Sale (the “Closing”), (c)

authorizing the assumption and assignment of executory contracts and unexpired leases set forth

on Exhibit 2 attached hereto, as the same may be subsequently modified pursuant to the terms of

the Purchase Agreement (each, an “Assigned Contract,” and, collectively, the “Assigned

Contracts”), upon the Closing, subject to the payment by the Purchaser of any payments to cure

any defaults arising under any Assigned Contract (the “Cure Payments”), the provision of

adequate assurance by the Debtors or the Purchaser, as applicable, that it will promptly cure any

non-monetary defaults existing prior to the Closing under the Assigned Contracts, and the

provision of adequate assurance of future performance by the Purchaser under the Assigned

Contracts, and (d) granting related relief, all as more fully set forth in the Motion; and the United

States Bankruptcy Court for the District of New Jersey (the “Court”) having entered the Order



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         Capitalized terms used but not otherwise defined herein have the meaning given to such terms in the Motion,
         Purchase Agreement, or the Bidding Procedures Order (as defined herein), as applicable.


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(A) Approving the Bidding Procedures in Connection with the Sale of Substantially All of the

Debtor’s Assets, (B) Approving Procedures for the Assignment and Assumption of Executory

Contracts and Unexpired Leases, and (C) Granting Related Relief [Docket No. 192] (the “Bidding

Procedures Order”);3 and the Debtors having conducted an auction (the “Auction”) for the E-

Commerce Business Assets; and the Debtors having determined that the Purchaser has submitted

the highest or otherwise best bid for the E-Commerce Business Assets and determined that the

Purchaser is the Successful Bidder and that Sunrise Brands LLC is the Back-Up Bidder (as defined

in the Bidding Procedures), in accordance with the Bidding Procedures; and the Court having

conducted a hearing on the Motion (the “Sale Hearing”), at which time all interested parties were

offered an opportunity to be heard with respect to the Motion; and the Court having reviewed and

considered the Motion, the Purchase Agreement, and any and all objections to the Sale and the

Transaction Documents filed in accordance with the Bidding Procedures Order; and the Court

having heard statements of counsel and the evidence presented in support of the relief requested

in the Motion at the Sale Hearing and in the Declarations of Perry Mandarino submitted in support

of the Sale [Docket Nos. 81 and 169] (the “Mandarino Declarations”); and it appearing that due

notice of the Motion, the Sale Hearing, the Purchase Agreement, and the Sale has been provided;

and it appearing that the relief requested in the Motion is in the best interests of the Debtors, their

estates, stakeholders, and all other parties in interest; and it appearing that the Court has jurisdiction

over this matter; and it appearing that the legal and factual bases set forth in the Motion and at the

Sale Hearing establish just cause for the relief granted herein; and after due deliberation, it is

hereby



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         All references herein to the Bidding Procedures Order shall also be deemed to be references to the bidding
         procedures approved thereby (the “Bidding Procedures”).


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FOUND, CONCLUDED, AND DETERMINED THAT:

                                Jurisdiction, Venue, and Final Order

          A.      This Court has jurisdiction to hear and determine the Motion pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this

District and in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

          B.      This Sale Order constitutes a final and appealable order within the meaning of 28

U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent

necessary under Bankruptcy Rule 9014 and Federal Rule of Civil Procedure 54(b), as made

applicable by Bankruptcy Rule 7054, the Court expressly finds that there is no just reason for delay

in the implementation of this Sale Order, and expressly directs entry of judgment as set forth

herein.

          C.      The findings and conclusions set forth herein constitute the Court’s findings of fact

and conclusions of law pursuant to Bankruptcy Rule 7052 made applicable to this proceeding

pursuant to Bankruptcy Rule 9014. To the extent any of the following findings of fact constitute

conclusions of law, they are adopted as such. To the extent any of the following conclusions of

law constitute findings of fact, they are adopted as such.

           Notice of the Motion, Auction, Sale Hearing, Purchase Agreement and Sale
                                    and the Cure Payments

          D.      As evidenced by the affidavits of service and publication previously filed with this

Court, proper, timely, adequate, and sufficient notice of the Motion, the Auction, the Sale Hearing,

the Purchase Agreement, and the Sale has been provided in accordance with sections 102(1), 363,

and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, 9007 and 9014. The

Debtors have complied with all obligations to provide notice of the Motion, the Auction, the Sale

Hearing, the Purchase Agreement, and the Sale as required by the Bidding Procedures Order. The


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foregoing notice was good, sufficient, and appropriate under the circumstances, and no other or

further notice of the Motion, the Auction, the Sale Hearing, the Purchase Agreement, or the Sale

is required. With respect to entities whose identities are not reasonably ascertained by the Debtors,

publication of the Sale Notice (as defined in the Motion) in the New York Times on August 12,

2020 [Docket No. 228] was sufficient and reasonably calculated under the circumstances to reach

such entities.

         E.       A reasonable opportunity to object or to be heard regarding the relief requested in

the Motion was afforded to all interested persons and entities.

         F.       In accordance with the Bidding Procedures Order, the Debtors have served a notice

or supplemental notice of their intent to assume and assign the Assigned Contracts listed on Exhibit

2 and of the Cure Payments upon each counterparty to such Assigned Contracts. The service and

provision of such notice was good, sufficient, and appropriate under the circumstances and no

further notice need be given in respect of the assumption and assignment of the Assigned Contracts

or establishing a Cure Payment for the respective Assigned Contracts. Counterparties to the

Assigned Contracts have had and will have an adequate opportunity to object to the assumption

and assignment of the applicable Assigned Contracts and the Cure Payments set forth in the notices

(including objections related to the adequate assurance of future performance and objections based

on whether applicable law excuses the counterparty from accepting performance by, or rendering

performance to, the Purchaser (or its designee) for purposes of section 365(c)(1) of the Bankruptcy

Code). All objections, responses, or requests for adequate assurance with respect to contracts that

constitute Assigned Contracts as of the Sale Hearing, if any, have been resolved, overruled, or

denied, as applicable; provided however, that with respect to supplemental notices served on




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counterparties to the Assigned Contracts on August 25, 2020 (the “August 25 Supplemental

Notice”), the deadline to respond to the August 25 Supplemental Notice is September 8, 2020.

                                      Highest and Best Offer

         G.       As demonstrated by the Mandarino Declarations, the evidence proffered or adduced

at the Sale Hearing, and the representations of counsel made on the record at the Sale Hearing, the

Debtors conducted a sale process in accordance with, and have, along with the Purchaser, complied

in all respects with, the Bidding Procedures Order and afforded a full, fair, and reasonable

opportunity for any interested party to make a higher or otherwise better offer to purchase the E-

Commerce Business Assets and assume the Assumed Liabilities.

         H.       The Debtors and their advisors engaged in a robust and extensive marketing and

sale process in accordance with the Bidding Procedures Order and the sound exercise of the

Debtors’ business judgment

         I.       The Debtors and the Purchaser have negotiated and undertaken their roles leading

to the entry into the Purchase Agreement in a diligent, non-collusive, fair, reasonable, and good

faith manner.

         J.       The Debtors, in combination with the Consultation Parties, conducted a fair and

open sale process and the sale process, the Bidding Procedures, and the Auction was non-collusive,

duly noticed, and provided a full, fair, reasonable, and adequate opportunity for any entity that

either expressed an interest in acquiring the E-Commerce Business Assets, or who the Debtors

believed may have had an interest in acquiring the E-Commerce Business Assets, to make an offer

to purchase the Debtors’ assets, including, without limitation, the E-Commerce Business Assets.

         K.       The sale process conducted by the Debtors pursuant to the Bidding Procedures

Order and the Bidding Procedures resulted in the highest or otherwise best value for the E-

Commerce Business Assets for the Debtors and their estates, was in the best interest of the Debtors,

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their creditors, and all parties in interest, and any other transaction would not have yielded as

favorable a result.

         L.       The Debtors have demonstrated good, sufficient, and sound business reasons and

justifications for entering into the Sale and the performance of its obligations under the Purchase

Agreement.

         M.       The Debtors have also determined, in a valid and sound exercise of their business

judgment and in consultation with their advisors and the Consultation Parties, that the next highest

or otherwise best Qualified Bid (as defined in the Bidding Procedures) (the “Back-Up Bid”) for

all or substantially all of the assets was Sunrise Brands LLC, as the Back-Up Bidder.

         N.       The consummation of the Sale outside a plan of reorganization pursuant to the

Purchase Agreement neither impermissibly restructures the rights of the Debtors’ creditors nor

impermissibly dictates the terms of a plan of reorganization or liquidation for the Debtors. The

Sale does not constitute a sub rosa plan for which approval has been sought without the protections

that a disclosure statement would afford.

         O.       Entry of an order approving the Purchase Agreement and all the provisions thereof

is a necessary condition precedent to Purchaser’s consummation of the Sale, as set forth in and

pursuant to the Purchase Agreement.

                                 Personal Identifiable Information

         P.       The Debtors’ privacy policy does not prohibit the transfer of personal identifiable

information, and therefore, the appointment of a consumer privacy ombudsman is not required.

                                      Pension Plan Information

         Q.       To the extent any assets sold by the Debtors contain records of the Local 1102

Pension Fund Lerner Employees Plan (“Pension Plan”) or employment records of Pension Plan

participants, the Purchaser shall store and preserve any such records until the Pension Benefit

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Guaranty Corporation (“PBGC”) has completed its investigation regarding the Pension Plan and

shall make such documents available to the PBGC (at reasonable times and upon reasonable

advance notice to the Purchaser) for inspection and copying. Such records include, but are not

limited to, any Pension Plan governing documents, actuarial documents, and employment records

(collectively, the “Pension Plan Documents”). The Debtors shall retain and not abandon any

Pension Plan Documents until the PBGC has completed its investigation regarding the Pension

Plan.

                                     Good Faith of Purchaser

         R.       The consideration to be paid by the Purchaser under the Purchase Agreement was

negotiated at arm’s-length, in good faith and without collusion pursuant to section 363(m) of the

Bankruptcy Code and constitutes reasonably equivalent value and fair and adequate consideration

for the E-Commerce Business Assets. Specifically: (i) the Purchaser recognized that the Debtors

were free to deal with any other party interested in purchasing the E-Commerce Business Assets;

(ii) the Purchaser complied in all respects with the provisions in the Bidding Procedures Order in

negotiating and entering into the Transaction Documents, and the transactions described therein

comply with the Bidding Procedures Order; (iii) the Purchaser agreed to subject any bid to the

competitive bid procedures set forth in the Bidding Procedures Order; (iv) all payments made by

the Purchaser in connection with the Sale have been disclosed in the Purchase Agreement; (v) no

common identity of directors, officers or controlling stockholders exists among the Purchaser and

the Debtors; (vi) the negotiation and execution of the Purchase Agreement and the other

Transaction Documents were at arm’s-length and in good faith, and at all times each of the

Purchaser and the Debtors were represented by competent counsel of their choosing; (vii) the

Purchaser did not in any way induce or cause the chapter 11 filing of the Debtors; and (viii) the

Purchaser has not acted in a collusive manner with any person. The Purchaser will be acting in

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good faith within the meaning of section 363(m) of the Bankruptcy Code in closing the transactions

contemplated by the Purchase Agreement and the other Transaction Documents. The terms and

conditions set forth in the Purchase Agreement are fair and reasonable under the circumstances

and were not entered into for the purpose of, nor do they have the effect of, hindering, delaying,

or defrauding the Debtors or their creditors under any applicable laws.

         S.       The Debtors and the Purchaser, and each of their respective management, boards

of directors, members, officers, directors, managers, employees, agents, and representatives, have

acted in good faith. The Purchase Agreement and the other Transaction Documents, and each of

the transactions contemplated therein, were negotiated, proposed, and entered into by the Debtors

and the Purchaser in good faith, without collusion or fraud, and from arm’s-length bargaining

positions. The Purchaser is a “good faith purchaser” within the meaning of section 363(m) of the

Bankruptcy Code, and, as such, is entitled to all the protections afforded thereby.

                                     No Fraudulent Transfer

         T.       The consideration provided by the Purchaser pursuant to the Purchase Agreement

for its purchase of the E-Commerce Business Assets and the assumption of the Assumed Liabilities

constitutes reasonably equivalent value and fair consideration under the Bankruptcy Code, the

Uniform Fraudulent Conveyance Act, the Uniform Fraudulent Transfer Act, and under the laws of

the United States, any state, territory, possession, or the District of Columbia.

         U.       Neither the Purchaser nor its past, present and future subsidiaries, parents,

divisions, affiliates, agents, representatives, insurers, attorneys, successors and assigns, nor any of

its nor their respective directors, managers, officers, employees, shareholders, members, agents,

representatives, attorneys, contractors, subcontractors, independent contractors, owners, insurance

companies or partners (each, a “Purchaser Party” and collectively, the “Purchaser Parties”) is

a continuation of the Debtors or their respective estates and no Purchaser Party is holding itself

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out to the public as a continuation of the Debtors or their estates and the Sale does not amount to

a consolidation, merger, or de facto merger of the Purchaser (or any other Purchaser Party) and the

Debtors.

                                        Validity of Transfer

         V.       The Debtors’ board of directors has authorized the execution and delivery of the

Purchase Agreement and the Sale of the E-Commerce Business Assets to the Purchaser (or its

designee). The Debtors (i) have full corporate power and authority to execute and deliver the

Purchase Agreement and all other documents contemplated thereby, as applicable, (ii) have all of

the power and authority necessary to consummate the Sale, and (iii) have taken all action necessary

to authorize and approve the Purchase Agreement and to consummate the Sale, and no further

consents or approvals, other than those expressly provided for in the Purchase Agreement, are

required for the Debtors to consummate the transactions contemplated by the Purchase Agreement,

except as otherwise set forth in the Purchase Agreement. The E-Commerce Business Assets

constitute property of the Debtors’ estates within the meaning of section 541(a) of the Bankruptcy

Code and title thereto is presently vested in the Debtors’ estates.

                         Section 363(f) of the Bankruptcy Code is Satisfied

         W.       The Sale of the E-Commerce Business Assets to the Purchaser (or its designee) and

the assumption and assignment to the Purchaser (or its designee) of the Assigned Contracts under

the terms of the Purchase Agreement meets the applicable provisions of section 363(f) of the

Bankruptcy Code such that the Sale of the E-Commerce Business Assets will be free and clear of

any and all liens, claims, encumbrances, and interests, and will not subject any Purchaser Party to

any liability for any liens, claims, encumbrances, and interests whatsoever (including, without

limitation, under any theory of equitable law, antitrust, or successor or transferee liability), except

as expressly provided in the Purchase Agreement with respect to the Assumed Liabilities (as

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defined in the Purchase Agreement) and this Sale Order.              All holders of liens, claims,

encumbrances, and interests who did not object, or withdrew their objections to the Sale, are

deemed to have consented to the Sale pursuant to section 363(f)(2) of the Bankruptcy Code, and

all holders of liens, claims, encumbrances, and interests are adequately protected thereby satisfying

section 363(e) of the Bankruptcy Code by having their liens, claims, encumbrances, and interests,

if any, attach to the proceeds of the Sale ultimately attributable to the property against or in which

they assert liens, claims, encumbrances, and interests, or other specifically dedicated funds, in the

same order of priority and with the same validity, force, and effect that such holder had prior to

the Sale, subject to any rights, claims, and defenses of the Debtors or their estates, as applicable.

Those holders of claims who did object and that have an interest in the E-Commerce Business

Assets fall within one or more of the other subsections of section 363(f) of the Bankruptcy Code.

         X.       The transfer of the E-Commerce Business Assets to the Purchaser (or its designee)

under the Purchase Agreement will be a legal, valid, and effective transfer of all of the legal,

equitable, and beneficial right, title, and interest in and to the E-Commerce Business Assets free

and clear of all liens, claims, encumbrances, and interests, except as expressly provided in the

Purchase Agreement with respect to the Assumed Liabilities. The Debtors may sell their interests

in the E-Commerce Business Assets free and clear of all liens, claims, encumbrances, and interests

(except as otherwise provided in this Sale Order) because, in each case, one or more of the

standards set forth in section 363(f) have been satisfied. The Purchaser would not have entered

into the Transaction Documents and would not consummate the transactions contemplated

thereby, including, without limitation, the Sale and the assumption and assignment of the Assigned

Contracts (i) if the transfer of the E-Commerce Business Assets were not free and clear of all

interest of any kind or nature whatsoever, including, without limitation, rights or claims based on



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any successor, transferee, derivative or vicarious liability or any similar theory and/or applicable

state or federal law or otherwise or (ii) if the Purchaser or any of its affiliates or designees would,

or in the future could, be liable for any interests, including, without limitation, rights or claims

based on any successor, transferee, derivative or vicarious liability or any similar theory and/or

applicable state or federal law or otherwise, in each case subject only to the Assumed Liabilities.

Not transferring the E-Commerce Business Assets free and clear of all interests of any kind or

nature whatsoever, including, without limitation, rights or claims based on any successor,

transferee, derivative or vicarious liability or any similar theory and/or applicable state or federal

law or otherwise (subject only to the Assumed Liabilities), would adversely impact the Debtors’

efforts to maximize the value of their estates.

                        Assumption and Assignment of the Assigned Contracts

         Y.       The assumption and assignment of the Assigned Contracts pursuant to the terms of

this Sale Order are integral to the Purchase Agreement, are in the best interests of the Debtors and

their estates, creditors, and other parties in interest, and represent the reasonable exercise of sound

business judgment by the Debtors.

         Z.       The Debtors have met all the requirements of section 365(b) of the Bankruptcy

Code for each of the Assigned Contracts. The Purchaser (or its designee) and/or the Debtors have

(i) cured and/or provided adequate assurance of prompt cure of any default existing prior to the

Closing under all of the Assigned Contracts, within the meaning of section 365(b)(1)(A) of the

Bankruptcy Code, (ii) provided compensation or adequate assurance of compensation to any

counterparty for actual pecuniary loss to such party resulting from a default prior to the Closing

under any of the Assigned Contracts, and (iii) provided adequate assurance of future performance,

all within the meaning of sections 365(b)(1)(B) and (C) of the Bankruptcy Code. The Purchaser

has provided adequate assurance of future performance within the meaning of sections

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365(b)(1)(C) and 365(f)(2)(B) and in accordance with the Bidding Procedures to the extent that

any such assurance is required and not waived by the counterparties to such Assigned Contracts.

         AA.      At any time prior to one (1) business day prior to Closing, the Debtors shall have

the right, in accordance with the Bidding Procedures Order, to serve a Supplemental Assumption

Notice upon any non-Debtor counterparty thereto indicating the Debtors’ intent to assume and

assign such executory contract or unexpired lease (except for those counterparties to an unexpired

lease of nonresidential real property). The Purchaser relinquishes any Designation Rights under

the Purchase Agreement and shall provide the Debtors with notice (“Landlord Notice”) of its

intent direct the Debtors to assume, assume and assign, or reject any unexpired leases of

nonresidential real property (the “Landlord Leases”) on or before September 25, 2020 at 5:00

p.m. (prevailing Eastern Time), TIME BEING OF THE ESSENCE (the “Lease Assumption or

Rejection Notice Deadline”), pursuant to the procedures set forth in paragraph 25. The objection

deadline for all Assigned Contracts, other than those subject to a Supplemental Assumption Notice

and the August 25 Supplemental Notice, lapsed on September 1, 2020. Objections, if any, to the

proposed assumption and assignment or the Cure Payment proposed in any Supplemental

Assumption Notice or the August 25 Supplemental Notice with respect thereto, must (i) be in

writing, (ii) comply with the applicable provisions of the Bankruptcy Rules and the Local Rules,

(iii) state with specificity the nature of the objection and, if the objection pertains to the proposed

Cure Payment, the correct Cure Payment alleged by the objecting counterparty, together with any

applicable and appropriate documentation in support thereof, and (iv) be filed with the Court and

served upon, so as to be actually received by, counsel to the Debtors in accordance with the terms

of the Bidding Procedures Order. If the parties cannot agree on a resolution, the Debtors will seek

an expedited hearing before the Court to determine the Cure Payment and approve the assumption



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and assignment to Purchaser. If there is no objection prior to the applicable objection deadline,

then the counterparties to a Supplemental Notice or the August 25, 2020 Notice will be deemed to

have consented to the assumption and assignment to Purchaser and the Cure Payment, and such

assumption and assignment to Purchaser and the Cure Payment shall be deemed approved by this

Sale Order without further order of this Court. Executory contracts, Landlord Leases, and

unexpired leases not listed on Exhibit 2 shall only be considered Assigned Contracts in accordance

with the terms of this Sale Order and Section 365 of the Bankruptcy Code, including without

limitation payment of the applicable Cure Payments.

         BB.      The (i) transfer of the E-Commerce Business Assets to the Purchaser and (ii)

assignment to the Purchaser of the Assigned Contracts, will not subject the Purchaser or any of its

affiliates or designees to any liability whatsoever that arises prior to the Closing or by reason of

such transfer under the laws of the United States, any state, territory, or possession thereof, or the

District of Columbia, based, in whole or in part, directly or indirectly, on any theory of law or

equity, including, without limitation, any theory of equitable law, any theory of antitrust,

successor, transferee, derivative, or vicarious liability or any similar theory and/or applicable state

or federal law or otherwise, except for the Assumed Liabilities.

                                      Consummation of the Sale

         CC.      Based on the record of the Sale Hearing, and for the reasons stated on the record at

the Sale Hearing, the sale of the E-Commerce Business Assets must be approved and consummated

promptly to preserve the value of the E-Commerce Business Assets. Time, therefore, is of the

essence in effectuating the Purchase Agreement. As such, the Debtors and the Purchaser intend to,

and shall use their best efforts to, close the sale of the E-Commerce Business Assets as soon as

reasonably practicable. The Debtors have demonstrated compelling circumstances and a good,

sufficient, and sound business purpose and justification for the immediate approval and

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consummation of the Purchase Agreement. Accordingly, there is sufficient cause to waive the stay

provided in the Bankruptcy Rules 6004(h) and 6006(d).

NOW, THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED THAT:

                                          General Provisions

         1.       The Motion is GRANTED to the extent set forth herein.

         2.       All objections to or reservation of rights with respect to the Motion or the relief

requested therein that have not been withdrawn or resolved are overruled. All persons and entities

who did not object or withdraw their objections to the Motion are deemed to have consented

pursuant to section 363(f)(2) of the Bankruptcy Code.

         3.       The Purchase Agreement, the First Amendment to Asset Purchase Agreement

attached hereto as Exhibit 3, and the other Transaction Documents, and all terms and conditions

thereof, are hereby approved, except as modified herein.

         4.       The Back-Up Bidder is hereby approved as the Back-Up Bidder (as defined in the

Bidding Procedures), and the Back-Up Bid is hereby approved and authorized as the Back-Up Bid

(as defined in the Bidding Procedures). To the extent necessary, and notwithstanding anything

herein to the contrary, and subject in all circumstances to the Bidding Procedures (i) the terms and

conditions of the Back-Up Bid will be fully determined and approved at a later date pursuant to a

separate sale order consistent with the terms of the Back-Up Bid and the Bidding Procedures and

(ii) all rights of Sunrise Brands LLC under the Asset Purchase Agreement, by and among RTW

Retailwinds, Inc., the Other Sellers Party Hereto and Sunrise Brands, LLC, dated as of August 28,

2020, or with respect to the Landlord Leases relating to the Back-Up Bidder are reserved.

    Transfer of the E-Commerce Business Assets as set forth in the Purchase Agreement

         5.       The Debtors are authorized and directed to (a) take any and all actions necessary or

appropriate to perform, consummate, implement, and close the Sale in accordance with the terms

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and conditions set forth in the Transaction Documents and this Sale Order, (b) assume and assign

any and all Assigned Contracts, and (c) take all further actions and execute and deliver the

Transaction Documents and any and all additional instruments and documents that may be

necessary or appropriate to implement the Purchase Agreement and the other Transaction

Documents and consummate the Sale in accordance with the terms thereof, all without further

order of the Court.

         6.       The Purchaser is not acquiring any of the Excluded Assets or assuming any of the

Excluded Liabilities (as defined in the Purchase Agreement).

         7.       All persons and entities are prohibited and enjoined from taking any action to

adversely affect or interfere with, or which would be inconsistent with, the ability of the Debtors

to transfer the E-Commerce Business Assets to the Purchaser (or its designee) in accordance with

the Purchase Agreement, the other Transaction Documents and this Sale Order.

         8.       At Closing, all of the Debtors’ right, title, and interest in and to, and possession of,

the E-Commerce Business Assets shall be immediately vested in the Purchaser (or its designee)

pursuant to sections 105(a), 363(b), 363(f), and 365 of the Bankruptcy Code. Such transfer shall

constitute a legal, valid, enforceable, and effective transfer of the E-Commerce Business Assets.

All persons or entities, presently or at or after the Closing, in possession of some or all of the E-

Commerce Business Assets, are directed to surrender possession of any and all portions of the E-

Commerce Business Assets to the Purchaser (or its designee) or its respective designees on the

Closing or at such time thereafter as the Purchaser (or its designee) may request.

         9.       This Sale Order (a) shall be effective as a determination that, as of the Closing, (i)

no claims other than the Assumed Liabilities or as otherwise set forth herein will be assertable

against any Purchaser Party or any of its respective assets, (ii) the E-Commerce Business Assets



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shall have been transferred to the Purchaser (or its designee) free and clear of all liens, claims,

encumbrances and interests, subject only to the Assumed Liabilities, and (iii) the conveyances

described herein have been effected, and (b) is and shall be binding upon and govern the acts of

all entities, including, without limitation, all filing agents, filing officers, title agents, title

companies, recorders of mortgages, recorders of deeds, registrars of deeds, registrars of patents,

trademarks, or other intellectual property, administrative agencies, governmental departments,

secretaries of state, federal and local officials, and all other persons and entities who may be

required by operation of law, the duties of their office, or contract, to accept, file, register, or

otherwise record or release any documents or instruments, or who may be required to report or

insure any title or state of title in or to any lease; and each of the foregoing persons and entities is

hereby directed to accept for filing any and all of the documents and instruments necessary and

appropriate to consummate the transactions contemplated by the Purchase Agreement and the

other Transaction Documents. The E-Commerce Business Assets are sold free and clear of any

reclamation rights. All liens, claims, encumbrances and interests on the E-Commerce Business

Assets shall attach to the proceeds of the Sale ultimately attributable to the property against which

such liens, claims, encumbrances and interests applied or other specifically dedicated funds, in the

same order of priority and with the same validity, force, and effect that such liens, claims,

encumbrances and interests applied prior to the Sale, subject to any rights, claims, and defenses of

the Debtors or their estates, as applicable, or as otherwise provided herein.

         10.      Except as otherwise provided in the Purchase Agreement (including with respect to

the Assumed Liabilities) or as otherwise set forth herein, all persons and entities (and their

respective successors and assigns), including, but not limited to, all debt security holders, equity

security holders, affiliates, governmental, tax, and regulatory authorities, lenders, customers,



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vendors, employees, trade creditors, litigation claimants, and other creditors holding claims arising

under or out of, in connection with, or in any way relating to, the Debtors, the E-Commerce

Business Assets, and the ownership, sale, or operation of the E-Commerce Business Assets prior

to Closing or the transfer of the E-Commerce Business Assets to the Purchaser (or its designee),

are hereby forever barred, estopped, and permanently enjoined from asserting such claims against

any Purchaser Party and its property. Following the Closing, no holder of any claim or interest

shall interfere with the Purchaser’s (or its designee’s) title to or use and enjoyment of the E-

Commerce Business Assets based on or related to any such claim or interest, or based on any action

the Debtors may take in their Chapter 11 cases.

         11.      If any person or entity that has filed financing statements, mortgages, mechanic’s

claims, lis pendens, or other documents or agreements evidencing claims against the Debtors or in

the E-Commerce Business Assets shall not have delivered to the Debtors prior to the Closing of

the Sale, in proper form for filing and executed by the appropriate parties, termination statements,

instruments of satisfaction, and/or releases of all liens, claims, encumbrances and interests that the

person or entity has with respect to the Debtors or the E-Commerce Business Assets or otherwise,

then only with regard to the E-Commerce Business Assets that are purchased by the Purchaser (or

its designee) pursuant to the Purchase Agreement and this Sale Order, (a) the Debtors are hereby

authorized and directed to execute and file such statements, instruments, releases, and other

documents on behalf of the person or entity with respect to the E-Commerce Business Assets, (b)

the Purchaser (or its designee) is hereby authorized to file, register, or otherwise record a certified

copy of this Sale Order, which, once filed, registered, or otherwise recorded, shall constitute

conclusive evidence of the release of all liens, claims, interests, and encumbrances against the

Purchaser and the E-Commerce Business Assets, and (c) upon consummation of the Sale, the



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Purchaser (or its designee) may seek in this Court or any other court to compel appropriate parties

to execute termination statements, instruments of satisfaction, and releases of all liens, claims,

encumbrances and interests that are extinguished or otherwise released pursuant to this Sale Order

under section 363 of the Bankruptcy Code, and any other provisions of the Bankruptcy Code, with

respect to the E-Commerce Business Assets. This Sale Order is deemed to be in a recordable form

sufficient to be placed in the filing or recording system of each and every federal, state, or local

government agency, department, or office. Notwithstanding the foregoing, the provisions of this

Sale Order authorizing the Sale and assignment of the E-Commerce Business Assets free and clear

of liens, claims, encumbrances and interests shall be self-executing and neither the Debtors nor the

Purchaser (or its designee) shall be required to execute or file releases, termination statements,

assignments, consents, or other instruments to effectuate, consummate, and implement the

provisions of this Sale Order.

                               No Successor or Transferee Liability

         12.      No Purchaser Party shall be deemed, as a result of any action taken in connection

with the Purchase Agreement, the consummation of the Sale contemplated by the Purchase

Agreement, or the transfer, operation, or use of the E-Commerce Business Assets to (a) be a legal

successor, or otherwise be deemed a successor to the Debtors (other than, for the Purchaser, with

respect to any Assumed Liabilities or as set forth herein), (b) have, de facto or otherwise, merged

with or into the Debtors, or (c) be an alter ego or a mere continuation or substantial continuation

of the Debtors including, without limitation, within the meaning of any foreign, federal, state, or

local revenue law, pension law, the Employee Retirement Income Security Act of 1974

(“ERISA”), tax law, labor law, products liability law, employment law, environmental law, or

other law, rule, or regulation (including, without limitation, filing requirements under any such



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laws, rules or regulations), or under any products liability law or doctrine with respect to the

Debtors’ liability under such law, rule, or regulation.

         13.      Other than as expressly set forth in the Purchase Agreement (including with respect

to the Assumed Liabilities) or as set forth herein, no Purchaser Party shall have any responsibility

for (a) any liability or other obligation of the Debtors or related to the E-Commerce Business

Assets or (b) any claims against the Debtors or any of its predecessors or affiliates. Except as

expressly provided in the Purchase Agreement (including with respect to the Assumed Liabilities)

or as set forth herein with respect to the Purchaser, no Purchaser Party shall have any liability

whatsoever with respect to the Debtors’ (or their predecessors’ or affiliates’) respective businesses

or operations or any of the Debtors’ (or their predecessors’ or affiliates’) obligations (as defined

herein, “Successor Liability”) based, in whole or part, directly or indirectly, on any theory of

successor or vicarious liability of any kind or character, or based upon any theory of antitrust,

environmental, successor, or transferee liability, de facto merger or substantial continuity, labor

and employment or products liability, whether known or unknown as of the Closing, now existing

or hereafter arising, asserted or unasserted, fixed or contingent, liquidated or unliquidated,

including, without limitation, liabilities on account of (a) any taxes arising, accruing, or payable

under, out of, in connection with, or in any way relating to the E-Commerce Business Assets or

the Assumed Liabilities prior to the Closing or in respect of pre-Closing periods or (b) any plan,

agreement, practice, policy, or program, whether written or unwritten, providing for pension,

retirement, health, welfare, compensation or other employee benefits which is or has been

sponsored, maintained or contributed to by the Debtors or with respect to which the Debtors have

any liability, whether or not contingent, including, without limitation, any “multiemployer plan”

(as defined in Section 3(37) of ERISA) or “pension plan” (as defined in Section 3(2) of ERISA)



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to which the Debtors have at any time contributed, or had any obligation to contribute. Except to

the extent expressly included in the Assumed Liabilities with respect to the Purchaser or as

otherwise expressly set forth in the Purchase Agreement, no Purchaser Party shall have any

liability or obligation under any applicable law, including, without limitation, (a) the WARN Act

(29 U.S.C. §§ 2101 et seq.), (b) the Comprehensive Environmental Response Compensation and

Liability Act, (c) the Age Discrimination and Employment Act of 1967 (as amended), (d) the

Federal Rehabilitation Act of 1973 (as amended), (e) the National Labor Relations Act, 29 U.S.C.

§ 151 et seq. (the “NLRA”), or (f) any foreign, federal, state, or local labor, employment or

environmental law, by virtue of the Purchaser’s purchase of the E-Commerce Business Assets,

assumption of the Assumed Liabilities, or hiring of certain employees of the Debtors pursuant to

the terms of the Purchase Agreement. Without limiting the foregoing, no Purchaser Party shall

have any liability or obligation with respect to any environmental liabilities of the Debtors or any

environmental liabilities associated with the E-Commerce Business Assets except to the extent

they are Assumed Liabilities set forth in the Purchase Agreement.

         14.      Immediately prior to the Closing, the Purchaser was not an “insider” or “affiliate”

of the Debtors, as those terms are defined in the Bankruptcy Code, and no common identity of

incorporators, directors or controlling stockholders existed between the Purchaser and the Debtors.

         15.      Effective upon the Closing, all persons and entities are forever prohibited and

enjoined from commencing or continuing in any manner any action or other proceeding, whether

in law or equity, in any judicial, administrative, arbitral, or other proceeding against any Purchaser

Party or their respective assets (including, without limitation, the E-Commerce Business Assets),

with respect to any (a) claim in these Chapter 11 cases or in connection with or related to the Sale

or the Debtors or (b) Successor Liability including, without limitation, the following actions with



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respect to clauses (a) and (b): (i) commencing or continuing any action or other proceeding pending

or threatened; (ii) enforcing, attaching, collecting, or recovering in any manner any judgment,

award, decree, or order; (iii) creating, perfecting, or enforcing any lien, claim, interest, or

encumbrance; (iv) asserting any setoff, right of subrogation, or recoupment of any kind; (v)

commencing or continuing any action, in any manner or place, that does not comply with, or is

inconsistent with, the provisions of this Sale Order or other orders of this Court, or the agreements

or actions contemplated or taken in respect hereof; or (vi) revoking, terminating, failing, or

refusing to renew any license, permit, or authorization to operate any business in connection with

the E-Commerce Business Assets or conduct any of the businesses operated with respect to such

assets. For the avoidance of doubt, nothing in this paragraph shall affect the post-Closing rights

and remedies of counterparties to Assigned Contracts or the Landlord Leases.

                                      Good Faith of Purchaser

         16.      The Sale contemplated by the Purchase Agreement is undertaken by the Purchaser

without collusion and in good faith, as that term is defined in section 363(m) of the Bankruptcy

Code, and accordingly, the reversal or modification on appeal of the authorization provided herein

to consummate the Sale shall not affect the validity of the Sale (including, without limitation, the

assumption and assignment of the Assigned Contracts), unless such authorization and

consummation of such Sale are duly and properly stayed pending such appeal.

         17.      Neither the Debtors nor the Purchaser have engaged in any action or inaction that

would cause or permit the Sale to be avoided or costs or damages to be imposed under section

363(n) of the Bankruptcy Code.

                        Assumption and Assignment of Assigned Contracts

         18.      Subject to the terms of this Sale Order, the Debtors are authorized and directed at

the Closing to assume and assign each of the Assigned Contracts to the Purchaser (or its designee)

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pursuant to sections 105(a) and 365 of the Bankruptcy Code and to execute and deliver to the

Purchaser (or its designee) such documents or other instruments as may be necessary to assign and

transfer the Assigned Contracts to the Purchaser (or its designee). The payment of the applicable

Cure Payments (if any), the provision of adequate assurance by the Debtors or the Purchaser, as

applicable, that it will promptly cure any non-monetary defaults existing prior to Closing under

the Assigned Contracts, and the provision of adequate assurance of future performance by the

Purchaser under the Assigned Contracts shall (a) effect a cure of all defaults existing thereunder

as of the Closing or all defaults required to be cured pursuant to section 365(b)(1) of the

Bankruptcy Code and (b) compensate for any actual pecuniary loss to such counterparty resulting

from such default.

         19.      Notwithstanding any other provision of this Sale Order or the Purchase Agreement,

no agreement between the Debtors on the one hand, and Oracle America, Inc. (“Oracle”) on the

other hand (the “Oracle Agreements”), will be assumed, assigned, or transferred, and no shared

or concurrent use of Oracle’s products and services by the Purchaser or its affiliates or designees

on account of the Oracle Agreements will be authorized, absent further Court order or Oracle’s

prior written consent.

         20.      In the event that the Second Amended and Restated Private Label Credit Card

Program Agreement by and among Comenity Bank (“Comenity”) and New York & Company,

Inc., Lerner New York, Inc., and Nevada Receivable Factoring, Inc. dated as of July 14, 2016 (the

“Program Agreement”) is not assumed prior to or simultaneous with the Closing (recognizing

that it cannot be assumed after the Closing pursuant to this Order and the Purchase

Agreement) and unless otherwise agreed to by Comenity in a separate written agreement, the

private label credit cards offered by Comenity to qualifying RTW Retailwinds, Inc. customers



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pursuant to the Program Agreement shall immediately cease being accepted for the purchase or

return of any merchandise or inventory upon the closing of the sale to the Purchaser except as to

the store closing sales being conducted pursuant to the Final Order (I) Authorizing the Debtors to

Assume the Consultant Agreement, (II) Approving Procedures for Store Closing Sales, and (III)

Approving the Implementation of Customary Store Bonus Program and Payments to Non-Insiders

Thereunder (the “GOB Sales Order”). In the event the Purchaser does not assume the Purchase

Agreement at or prior to the Closing, the Debtors may continue use of private label credit cards

under the terms of the Program Agreement through the conclusions of sales under the GOB Order,

and thereafter shall reject the Program Agreement and the private label cards shall cease being

accepted for purchase or return of any merchandise or inventory upon the effective rejection date

of the Program Agreement. Additionally, Comenity shall be permitted to continue the use of RTW

Retailwinds, Inc.’s trademarks and service marks as provided under the existing Program

Agreement and as necessary to administer the private label credit card accounts (including, but not

limited to collections) until such time as all the accounts are fully processed, collected and closed.

         21.      Pursuant to section 365(f) of the Bankruptcy Code, subject to the payment of the

applicable Cure Payments, the provision of adequate assurance by the Debtors or the Purchaser,

as applicable, that it will promptly cure any non-monetary defaults existing prior to the Closing

under the Assigned Contracts, and the provision of adequate assurance of future performance by

the Purchaser under the Assigned Contracts, the Assigned Contracts to be assumed and assigned

under the Purchase Agreement shall be assigned and transferred to and remain in full force and

effect for the benefit of, the Purchaser (or its designee) notwithstanding any provision in the

contracts or other restrictions prohibiting their assignment or transfer. Any provisions in any

Assigned Contract that prohibit or condition the assignment of such Assigned Contract to the



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Purchaser (or its designee) or allow the counterparty to such Assigned Contract to terminate,

recapture, impose any penalty, condition on renewal or extension, or modify any term or condition

upon the assignment of such Assigned Contract to the Purchaser (or its designee), constitute

unenforceable anti-assignment provisions that are void and of no force and effect solely in

connection with the Sale. All other requirements and conditions under sections 363 and 365 of the

Bankruptcy Code for the assumption by the Debtors and assignment to the Purchaser (or its

designee) of the Assigned Contracts have been satisfied. Upon the Closing, in accordance with

sections 363 and 365 of the Bankruptcy Code, the Purchaser (or its designee) shall be fully and

irrevocably vested with all right, title, and interest of the Debtors under the Assigned Contracts,

and such Assigned Contracts shall remain in full force and effect for the benefit of the Purchaser

(or its designee). Each counterparty to the Assigned Contracts shall be forever barred, estopped,

and permanently enjoined from (a) asserting against the Debtors or any Purchaser Party or their

respective property any assignment fee, acceleration, default, breach or claim or pecuniary loss, or

condition to assignment existing, arising or accruing as of the Closing or arising by reason of the

Closing, including, without limitation, any breach related to or arising out of change-in-control

provisions in such Assigned Contracts, or any purported written or oral modification to the

Assigned Contracts and (b) asserting against any Purchaser Party (or its respective property,

including, without limitation, the E-Commerce Business Assets) any claim, counterclaim, defense,

breach, condition, or setoff asserted, or assertable against the Debtors existing as of the Closing or

arising by reason of the Closing except for the Assumed Liabilities. For the avoidance of doubt

and notwithstanding anything to the contrary contained herein or in the Purchase Agreement, the

Purchaser shall be liable for all obligations and liabilities under the Assigned Contracts or the

Landlord Leases which are assumed to the extent such obligations or liabilities arise or are (as



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required by the applicable executory contract or unexpired lease) billed after the Closing (with

respect to Assigned Contracts) or after October 1, 2020 (with respect to the Landlord Leases),

including, but not limited to any and all liabilities or obligations arising under the Assigned

Contracts or the Landlord Leases with respect to any accruing and not yet due adjustments or

reconciliations (including, without limitation, for royalties, percentage rent, utilities, taxes,

common area or other maintenance charges, promotional funds, insurance, fees, or other charges)

when billed in the ordinary course regardless of whether such obligations or liabilities are

attributable to the period prior to the Closing or October 1, 2020, as applicable, in each case subject

to the terms and conditions of the Assigned Contract or Landlord Lease.

         22.      Upon the Closing and the payment of the relevant Cure Payments, if any, the

provision of adequate assurance by the Debtors or the Purchaser, as applicable, that it will promptly

cure any non-monetary defaults existing prior to the Closing under the Assigned Contracts, and

the provision of adequate assurance of future performance by the Purchaser under the Assigned

Contracts, the Purchaser (or its designee) shall be deemed to be substituted for the Debtors as a

party to the applicable Assigned Contracts and the Debtors shall be released, to the extent provided

in section 365(k) of the Bankruptcy Code, from any liability under the Assigned Contracts;

provided however, that any counterparty to an Assigned Contract may seek to recover from the

Debtors indemnification obligations, if any, arising from third-party claims asserted with respect

to or arising from the Debtors’ use and occupancy of the leased premises prior to the Closing for

which the Debtors have a duty to indemnify such counterparty to an Assigned Contract pursuant

to the applicable Assigned Contract, solely with respect to available insurance coverage. There

shall be no rent accelerations, assignment fees, increases, or any other fees charged to the Purchaser

(or its designee) or the Debtors as a result of the assumption and assignment of the Assigned



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Contracts. The failure of the Debtors or the Purchaser (or its designee) to enforce at any time one

or more terms or conditions of any Assigned Contract shall not be a waiver of such terms or

conditions or of the right of the Debtors or the Purchaser (or its designee), as the case may be, to

enforce every term and condition of such Assigned Contract. Any party that may have had the

right to consent to the assignment of any Assigned Contract is deemed to have consented for the

purposes of section 365(e)(2)(A) of the Bankruptcy Code.

         23.      All defaults or other obligations of the Debtors under the Assigned Contracts

arising or accruing after the Sale Objection Deadline and prior to the Closing (without giving effect

to any acceleration clauses or any default provisions of the kind specified in section 365(b)(2) of

the Bankruptcy Code) shall be cured on the Closing, or as soon thereafter as reasonably practicable.

         24.      The assignments of each of the Assigned Contracts are made in good faith under

sections 363(b) and 363(m) of the Bankruptcy Code.

         25.      With respect to any contract or unexpired lease (other than a Landlord Lease), all

of the terms under the Assumption Procedures approved by the Bidding Procedures Order shall

govern any Supplemental Assumption Notice. With respect to any Landlord Lease, all of the terms

of the Assumption Procedures approved by Bidding Procedures Order shall govern any

Supplemental Assumption Notice except that (i) the Purchaser shall provide the Landlord Notice

on or before the Lease Assumption or Rejection Notice Deadline, TIME BEING OF THE

ESSENCE, and (ii) within one (1) business day of the Debtors’ receipt of the Landlord Notice, the

Debtors shall file to the docket and serve by email to the contract counterparty and its counsel (if

known) a Supplemental Assumption Notice. Such Supplemental Assumption Notice shall (i)

include the Debtors’ proposed cure amounts for each Landlord Lease, (ii) provide information

establishing adequate assurance of future performance by the proposed assignee, and (iii) set forth



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the applicable objection deadline, which shall be no less than fourteen (14) days from service of

the applicable Supplemental Assumption Notice. In the event the Purchaser provides the Debtors

with a Landlord Notice as to any Landlord Leases, the Purchaser shall be liable for any and all

obligations or liabilities under the Landlord Leases to the extent such obligations or liabilities arise

or are (as required by the applicable executory contract or unexpired lease) billed on or after

October 1, 2020, including, but not limited to any and all liabilities or obligations arising under

the Landlord Leases with respect to any accruing and not yet due adjustments or reconciliations

(including, without limitation, for royalties, percentage rent, utilities, taxes, common area or other

maintenance charges, promotional funds, insurance, fees, or other charges) when billed in the

ordinary course regardless of whether such obligations or liabilities are attributable to the period

prior to October 1, 2020, in each case subject to the terms and conditions of the Landlord Leases.

         26.      Any party failing to timely file an objection to the cure amount, the proposed

assumption and assignment of an Assigned Contract or Supplemental Assumption Notice, as

applicable, or the Sale, is deemed to have consented to (a) such Cure Payment, (b) the assumption

and assignment of such Assigned Contract or contracts, Landlord Lease, or unexpired lease set

forth in any Supplemental Assumption Notice (including the adequate assurance of future

performance), (c) the related relief set forth in this Sale Order, and (d) the Sale. Such party shall

be forever barred and estopped from objecting to the Cure Payment, the assumption and

assignment of the Assigned Contract or contracts, Landlord Lease, or unexpired lease set forth in

a Supplemental Assumption Notice, adequate assurance of future performance, the relief set forth

in this Sale Order, whether applicable law excuses such counterparty from accepting performance

by, or rending performance to, the Purchaser, as applicable, for purposes of section 365(c)(1) of

the Bankruptcy Code and from asserting any additional cure or other amounts against the Debtors



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and the Purchaser, as applicable, with respect to such party’s Assigned Contract, contract,

Landlord Lease, or unexpired lease set forth in a Supplemental Assumption Notice.               The

assumption and assignment of any contract, unexpired lease, or Landlord Lease shall be effective

without further Order of the Bankruptcy Court upon expiration of the applicable objection deadline

unless (A) the contract counterparty timely serves an objection upon the Purchaser and the Debtors

that relates to adequate assurance of future performance and/or a cure issue that was not required

to be raised in an objection to any Contract Assumption Notice prior to the Sale Hearing or that

pertains to matters arising after the Sale Hearing, or (B) the contract counterparty otherwise

consents to the assumption and assignment on terms mutually agreed by the Purchaser and such

contract counterparty; provided however, that prior to the applicable objection deadline, a contract

counterparty to a Landlord Lease may request of the Debtors, and if requested, the Debtors shall

submit to the Bankruptcy Court an Order effectuating the assumption and assignment of the

Landlord Lease under Section 365 of the Bankruptcy Code pursuant to the terms of this Sale Order.

If Purchaser, the Debtors and the applicable contract counterparty are unable to resolve such

objection timely served pursuant to the above, the Debtors shall schedule the matter for hearing

before the Bankruptcy Court on no less than five (5) business days’ notice. Any contract or

unexpired lease, other than a Landlord Lease, shall be deemed rejected if not assumed at the

Closing and such rejection shall be effective without further Order of the Bankruptcy Court. For

the avoidance of doubt, the rights of a counterparty to a Landlord Lease to object to the proposed

assumption and assignment of such Landlord Lease at such time in the future are fully reserved.

         27.      With respect to the rejection of Landlord Leases, the process for the Debtors’

implementation of such rejections shall be subject to and comply in all respects with the procedures




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previously approved by this Court on July 15, 2020 in the Order Authorizing and Approving

Procedures for Rejection of Executory Contracts and Unexpired Leases [Docket No. 54].

                                  Other Miscellaneous Provisions

         28.      Purchaser shall not be required to seek or obtain relief from the automatic stay

under section 362 of the Bankruptcy Code to enforce any of its remedies under the Purchase

Agreement or any other Sale-related document. The automatic stay imposed by section 362 of the

Bankruptcy Code is modified solely to the extent necessary to implement the preceding sentence,

provided, however, that this Court shall retain exclusive jurisdiction over any and all disputes with

respect thereto.

         29.      The terms and provisions of the Purchase Agreement, the other Transaction

Documents and this Sale Order shall be binding in all respects upon the Debtors, their affiliates,

their estates, all creditors of (whether known or unknown) and holders of equity interests in any of

the Debtors, any holders of claims against or on all or any portion of the E-Commerce Business

Assets, all counterparties to the Assigned Contracts, and the Purchaser, and all of their respective

successors and assigns including, but not limited to, any subsequent trustee(s), examiner(s), or

receiver(s) appointed in any of the Debtors’ Chapter 11 cases or upon conversion to Chapter 7

under the Bankruptcy Code, as to which trustee(s), examiner(s), or receiver(s) such terms and

provisions likewise shall be binding. The Purchase Agreement shall not be subject to rejection or

avoidance by the Debtors, their estates, creditors, shareholders, or any trustee(s), examiner(s), or

receiver(s).

         30.      The terms and provisions of this Sale Order and any actions taken pursuant hereto

shall survive entry of an order which may be entered: (a) confirming any chapter 11 plan in any of

this Chapter 11 case; (b) converting the Chapter 11 case to a case under chapter 7 of the Bankruptcy

Code; (c) dismissing the Chapter 11 case; or (d) pursuant to which this Court abstains from hearing

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the Chapter 11 case. The terms and provisions of this Sale Order, notwithstanding the entry of any

such orders described in (a)-(d) above, shall continue in this Chapter 11 case, or following

dismissal of this Chapter 11 case.

         31.      Each and every federal, state, and local governmental agency, department, or

official is hereby directed to accept any and all documents and instruments necessary and

appropriate to consummate the transactions contemplated by the Purchase Agreement.

         32.      The Purchase Agreement may be modified, amended, or supplemented by the

parties thereto in accordance with the terms thereof, without further order of the Court, provided

that any such modification, amendment, or supplement does not, based on the Debtors’ business

judgment, and in consultation with the Consultation Parties, have a material adverse effect on the

Debtors’ estates or its creditors or impact the rights reserved, if any, under this Sale Order. The

Debtors shall provide the Consultation Parties with prior notice of any such modification,

amendment, or supplement of the Purchase Agreement. For the avoidance of doubt, all other

modifications, amendments, or supplements that have a material adverse effect on the Debtors’

estates or their creditors shall require Court approval.

         33.      The Purchase Agreement and the Sale contemplated hereunder shall not be subject

to any bulk sales laws or any similar law of any state or jurisdiction.

         34.      All time periods set forth in this Sale Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

         35.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6006(d),

7062, and 9014 or otherwise, the terms and conditions of this Sale Order shall be effective

immediately upon entry and the Debtors and the Purchaser are authorized to close the Sale

immediately upon entry of this Sale Order.



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         36.      To the extent there is any conflict between the terms of this Sale Order and the

Purchase Agreement, the terms of this Sale Order shall control. Nothing contained in any chapter

11 plan hereinafter confirmed in this Chapter 11 case or any order confirming such chapter 11

plan, or any other order of the Court, shall conflict with or derogate from the provisions of the

Purchase Agreement or any other Transaction Document or the terms of this Sale Order.

         37.      The Court shall retain exclusive jurisdiction with respect to the terms and

provisions of this Sale Order and the Purchase Agreement.

         38.      Notwithstanding anything herein or in the Bidding Procedures Order to the

contrary:

         (a) All notices to non-Debtor counterparties to Landlord Leases, including without

               limitation, Supplemental Assumption Notices, shall be served by email on such

               counterparties and their counsel (if known); and

         (b) The filing of objections and responses, if any, by counterparties to Landlord Leases, on

               the Docket, maintained in the above captioned jointly administered cases by way of

               this Court’s CM/ECF electronic filing system and protocols, shall constitute good and

               sufficient service, with any otherwise applicable service requirements being hereby

               waived and dispensed with.

         39.      The Purchaser shall increase its Deposit (as defined in section 2.3(b) of the

Purchase Agreement) to $8,000,000 by 11:00 a.m. (prevailing Eastern Time) on September 4,

2020, TIME BEING OF THE ESSENCE.

         40.      The Purchaser relinquishes Designation Rights and commits to providing the

Debtors with the Landlord Notice on or before the Lease Assumption or Rejection Notice

Deadline, TIME BEING OF THE ESSENCE.



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         41.      The Purchaser shall provide by no later than September 10, 2020 at 5:00 p.m.

(prevailing Eastern Time), proof, reasonably acceptable to the Debtors and the Committee, that it

has available funds to consummate the Sale no later than the Outside Date, TIME BEING OF THE

ESSENCE.

         42.      The Outside Date as set forth in the Purchase Agreement is October 1, 2020, TIME

BEING OF THE ESSENCE.




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                            ASSET PURCHASE AGREEMENT

                                   BY AND AMONG

                               RTW RETAILWINDS, INC.,

                        THE OTHER SELLERS PARTY HERETO,

                                         AND

                                 SAADIA GROUP LLC

                            DATED AS OF AUGUST 28, 2020




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                              ASSET PURCHASE AGREEMENT

        This Asset Purchase Agreement (this “Agreement”) is entered into as of August 28, 2020
(the “Effective Date”) by and among RTW Retailwinds, Inc., a Delaware corporation (the
“Company”), and the other direct and indirect wholly-owned Subsidiaries or Affiliates of the
Company that are signatories hereto (together with the Company, the “Sellers”), and Saadia Group,
LLC, or its wholly owned Subsidiary or Affiliates (“Buyer”). Sellers and Buyer are referred to
collectively herein as the “Parties”.

                                          WITNESSETH

       WHEREAS, the Company and certain of its affiliates filed voluntary petitions for relief
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”) on July 13, 2020;

       WHEREAS, Sellers are engaged in (a) the business of marketing, distributing and selling
apparel and related accessories, and (b) the operation of stores (the “Stores”) and the retail sale of
apparel and accessories at such Stores (the “Retail Business”), and (c) through e-commerce
platforms, including the E-Commerce Platform (the “E-Commerce Business,” and collectively
with the Retail Business, the “Business”);

        WHEREAS, Sellers desire to sell, transfer and assign to Buyer all of the Acquired Assets
(as defined below), and Buyer desires to purchase, acquire and assume from Sellers, all of the
Acquired Assets and Assumed Liabilities (as defined below);

       WHEREAS, Buyer intends to use the Acquired Assets to continue the E-Commerce
Business as a going concern, and to offer employment to current employees of Sellers, many of
whom Buyer considers essential to that objective;

      WHEREAS, Buyer desires to acquire the Designation Rights (as defined below) to the
Assumed Leases (as defined below);

        WHEREAS, Buyer intends to use Assumed Leases to continue the Retail Business as a
going concern, and to offer employment to current employees of Sellers, many of whom Buyer
considers essential to that objective;

       NOW, THEREFORE, in consideration of the mutual promises herein made, and in
consideration of the representations, warranties and covenants herein contained, the Parties hereby
agree as follows:

                                           ARTICLE I
                                          DEFINITIONS

         Section 1.1    Definitions. For purposes of this Agreement:

        “Acquired Assets” means all of Sellers’ right, title and interest, free and clear of all Liens
(other than Permitted Liens and Permitted Post-Closing Liens), in and to the following properties,



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rights, interests and tangible and intangible assets of Sellers used in, held for use in, or relating to
the E-Commerce Business and as specifically set forth with respect to the Retail Business:

                (a)    all Merchandise owned by Sellers that was (i) purchased (or ordered in the
case of inventory purchased after the Effective Date) specifically for resale on the E-Commerce
Platform, (ii) designated for sale on the E-Commerce Platform in the ordinary course of business
prior to the Effective Date to support projected levels of sale, or (iii) subject to Section 2.3(c),
designated for resale on the E-Commerce Platform, including the Merchandise at, and en route to,
the Distribution Center, and all orders for such Merchandise placed but not yet received by Sellers;

                  (b)   all Credit Card Receivables, in each case as of the Closing;

                (c)     the Assumed Leases , together with (to the extent of the Sellers’ interest
therein) the buildings, fixtures and improvements located on or attached to the underlying real
property, and all rights arising thereunder, and all tenements, hereditaments, appurtenances and
other real property rights appertaining thereto, subject to the rights of the applicable landlord
(including rights to ownership or use of such property) under such Assumed Leases;

                  (d)   the Transferred Contracts and all rights and benefits thereunder;

               (e)     other than the Excluded Deposits, all prepaid expenses of any Seller,
including deposits, security deposits, merchant deposits, prepaid rent and prepaid expenses (other
than pursuant to any Contract which is not an Transferred Contract or any Lease which is not an
Assumed Lease and excluding all Cash Equivalents of Sellers);

              (f)     to the extent requested in writing by Buyer and assignable to Buyer under
applicable Law, all Permits issued to, or for the benefit of, any Seller relating to the operation of
the E-Commerce Business and Retail Business, and all pending applications or filings therefor and
renewals thereof;

               (g)     all internet domain names owned or purported to be owned by Sellers,
including the internet domain name registrations and social media accounts set forth in Schedule
1.1(a) (the “Transferred Domain Names”);

                 (h)      all Trademarks owned or purported to be owned by Sellers (the “Transferred
Trademarks”), including the historical trademark files, and further including any and all of Sellers’
right, title and interest to the name “New York & Company” or any derivation thereof;

                  (i)   all Intellectual Property Licenses, to the extent included in the Transferred
Contracts;

                (j)     all other Intellectual Property owned by Sellers, or in which Sellers have
any interest or right, which is used in, held for use in, or relating to the Business (the Intellectual
Property in clauses (g) – (j) of this definition of the Acquired Assets, collectively, the “Transferred
Intellectual Property”);

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                (k)     to the extent their transfer is permitted by applicable Law, all third-party
warranties, refunds, rights of recovery, rights of set-off or counter-claim and rights of recoupment
of every kind and nature for the benefit of, or enforceable by, any Seller in each case to the extent
arising from or relating the Acquired Assets;

              (l)     all marketing, advertising and promotional materials and product samples
and designs used in, held for use in, or relating to the Acquired Assets;

                (m)    financial, marketing and business data, pricing and cost information,
business and marketing plans and other information, servers, offsite and backup storage, files,
correspondence, records, data, plans, reports and recorded knowledge, historical trademark files,
prosecution files of any Seller in whatever media retained or stored, including computer programs
and disks, in each case used in, held for use in, or relating to the E-Commerce Business, the Retail
Business and the Acquired Assets or the Assumed Liabilities, including files in the possession of
or under the control of Sellers (collectively, the “Business Records”);

                  (n)   goodwill associated with the Business and the Acquired Assets;

             (o)   all of Sellers’ rights of publicity and all similar rights, including all
commercial merchandising rights;

              (p)     all product designs, design rights, tech packs, artwork, archival materials
and advertising materials, copy, commercials, images and artwork owned by any Seller, or in
which any Seller has any interest or right;

              (q)     all customer data, customer lists, and information related to customer
purchases through the E-Commerce Platform or any similar e-commerce platform owned,
operated, or controlled by any Seller and the Retail Business (the “Customer Information”)
(excluding from the foregoing any credit card numbers or related customer payment source, social
security numbers, or other personally identifiable information the transfer of which would
contravene applicable privacy Law);

               (r)     all of Sellers’ telephone and fax numbers related to the E-Commerce
Business and Retail Business, including without limitation telephone and fax numbers associated
with the Distribution Center and Sellers’ corporate headquarters;

                (s)     all claims, causes of action (including claims arising under the Bankruptcy
Code), lawsuits, judgments, privileges, counterclaims, defenses, demands, right of recovery, rights
of set-off, rights of subrogation and all other rights of any kind, in each case solely to the extent
arising from the Intellectual Property owned by the Sellers or the Acquired Assets;

                 (t)    all Furnishings and Equipment listed located in any of the Stores with
         respect to any Assumed Leases or included on Exhibit I; and

            (u)    all tangible and intangible assets included in the E-Commerce Business, E-
Commerce Platform or any similar e-commerce platform and to the Retail Business to the extent
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required with respect to the operation of the Retail Business with any Assumed Leases owned,
operated, or controlled by any Seller (provided that to the extent any such assets include rights to
which Sellers are entitled pursuant to any Contract, such rights shall only be included in the
Acquired Assets if such Contract is a Transferred Contract);

       (v) all computer hardware, software and infrastructure, solely to the extent exclusively
used in connection with the Stores under any Assumed Leases and the general hardware,
software and infrastructure, including any POS system used to operate the Retail Business,
provided, however, notwithstanding anything to the contrary set forth in this definition, the
Acquired Assets shall not include any Excluded Assets.

        “Administrative Expense Claims” means a Liability relating to an administrative expense
of a kind specified in section 503(b), 507(b) or 1114(e) of the Bankruptcy Code and entitled to
priority pursuant to section 507(a)(2) of the Bankruptcy Code.

        “Affiliate” means, with respect to any specified Person, any other Person that directly, or
indirectly through one or more intermediaries, controls, is controlled by, or is under common
control with, such specified Person, where “control” means the power, directly or indirectly, to
direct or cause the direction of the management and policies of another Person, whether through
the ownership of voting securities, by contract, or otherwise, provided, however, that
notwithstanding the foregoing, except where expressly indicated otherwise, the term “Affiliate”
shall not include, and is intended to specifically exclude, any non-Debtor Affiliate of the Sellers.

         “Affiliate Agreement” has the meaning set forth in Section 3.15.

         “Agreement” has the meaning set forth in the preamble.

         “Aircraft Shipping Charges” has the meaning set forth in Section 5.2(a)(vi).

        “Allegedly Infringing Merchandise” means any Merchandise that is the subject of any
Litigation which is pending, or threatened in writing against any Seller or its Affiliates or with
respect to which any Seller or its Affiliates has received written notice, in each case that alleges
that such Merchandise infringes any other Person’s Intellectual Property rights, including
Merchandise intended to be withdrawn from advertisement or availability for sale due to such an
allegation or claim.

         “Allocation Principles” has the meaning set forth in Section 2.7.

         “Anti-Bribery Laws” has the meaning set forth in Section 3.14(d).

         “Assumed Leases” has the meaning set forth in Section 2.6(b).

         “Assumed Liabilities” means only the following Liabilities:

               (a)     all Liabilities under the Assumed Leases or Transferred Contracts solely to
the extent such Liabilities arise from and after the Closing Date.

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             (b)      all Liabilities arising solely out of the ownership or operation of any
Acquired Asset after the Closing;

                  (c)   all Liabilities arising under E-Commerce Returns;

                  (d)   the Assumed Taxes;

                  (e)   to undertake the obligations of Buyer set forth in Section 5.9;

               (f)    all amounts, whether paid by Sellers or unpaid as of the date of Closing,
owed to vendors for Merchandise transferred to Buyer and subject to E-Commerce Orders,
provided that Buyer has approved any payment terms or freight charges outside the scope of
Sellers’ normal sourcing and procurement policies;

               (g)     trade payables of Sellers in respect of Merchandise included in the Acquired
Assets and first received and accepted (i.e., logged into inventory) from a third party on or after
the date hereof.

               (h)     Liabilities for validly accrued loyalty rewards pursuant to the Runway
Rewards Program that accrued prior to July 13, 2020, plus Liabilities for validly accrued non-
promotion and ordinary course loyalty rewards pursuant to the Runway Rewards Program that
accrued after July 13, 2020, plus Liabilities for gift cards, merchandise credit and gift certificates
validly issued by the Sellers and outstanding as of July 13, 2020; and

              (i)   wages, salaries and other compensation and employee benefits for
Transferred Employees arising after the Closing Date

provided, however, that notwithstanding anything to the contrary set forth in this definition, (x)
the Assumed Liabilities shall not include any rejection damages claims or Administrative Expense
Claims, and (y) nothing in this definition shall be construed to limit Buyer’s obligations under any
Related Agreement.

        “Assumed Taxes” means any Liability for Taxes arising from the ownership or operation
of the Acquired Assets attributable to a Post-Closing Tax Period.

       “Auction” shall mean an auction for the sale of all or a portion of the Acquired Assets in
accordance with the Bidding Procedures Order.

      “Bankruptcy Cases” means the jointly administered cases under chapter 11 of the
Bankruptcy Code commenced by the Company and certain of its Affiliates, and continuing
immediately thereafter, in the Bankruptcy Court.

         “Bankruptcy Code” has the meaning set forth in the recitals.

       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code, 28

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U.S.C. § 2075, as applicable to the Chapter 11 Cases, and the general, local and chambers rules
of the Bankruptcy Court.

         “Bankruptcy Court” has the meaning set forth in the recitals.

        “Bidding Procedures” means the bidding procedures for the solicitation and submission of
bids for a sale, reorganization, or other disposition of Sellers or all or substantially all of their
assets approved by the Bankruptcy Court pursuant to the Bidding Procedures Order.

        “Bidding Procedures Motion” means the motion seeking entry of the Bidding Procedures
Order, filed in the Bankruptcy Court on July 17, 2020, as may be amended with the written consent
of Buyer.

       “Bidding Procedures Order” means an order of the Bankruptcy Court approving the
Bidding Procedures, which shall include approval of the allowance of Aircraft Shipping Charge
refunds due to Buyer.

       “Bill of Sale and Assignment and Assumption Agreement” has the meaning set forth in
Section 2.5(b).

         “Business” has the meaning set forth in the recitals.

        “Business Day” means any day, other than a Saturday, Sunday and any day which is a legal
holiday under the Laws of the State of New York or is a day on which banking institutions located
in the State of New York are authorized or required by Law or other governmental action to close.

         “Buyer” has the meaning set forth in the preamble.

         “Buyer Party Members” has the meaning set forth in Section 4.7(b).

        “Buying Plan” means that certain buying plan of Sellers attached hereto as Exhibit G
(please provide).

        “Cash Equivalents” means cash, checks, money orders, funds in time and demand deposits
or similar accounts, marketable securities, short-term investments, and other cash equivalents and
liquid investments.

         “Claim” means any claim within the meaning of section 101(5) of the Bankruptcy Code.

         “Closing” has the meaning set forth in Section 2.4.

         “Closing Cash Payment” has the meaning set forth in Section 2.3(a).

         “Closing Date” has the meaning set forth in Section 2.4.

         “Customer Information” has the meaning set forth in Section 1.1(r).

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         “Company” has the meaning set forth in the preamble.

         “Company Benefit Plans” has the meaning set forth in Section 3.12.

         “Computer Systems” has the meaning set forth in Section 3.13(j).

         “Confidential Information” has the meaning set forth in Section 5.8(b).

       “Confidentiality Agreement” means with respect to Buyer or any if its Affiliates, and each
holder of ownership interests therein, the confidentiality agreement entered into by and between
the Company and such holder or an Affiliate of such holder.

         “Contract” means any agreement, contract, license, arrangement, commitment, promise,
obligation, right, instrument, document, purchase order, sales order, or other similar commitment
or instrument, whether written or oral, that is intending to be binding on the parties thereto (other
than any Leases).

         “Contracting Parties” has the meaning set forth in Section 9.14.

         “Copyright Assignment Agreement” has the meaning set forth in Section 2.5(b).

        “Covered Employee” means an employee of any Seller as of the date hereof that is a
corporate employee or employed in connection with the E-Commerce Business.

        “Credit Card Receivables” means the accounts receivable and other amounts owed to any
of the Sellers in connection with any customer purchases, returns or exchanges from the E-
Commerce Business and E-Commerce Platform that are made with credit cards.

        “Cure Costs” means all monetary Liabilities of the Sellers that must be paid or otherwise
satisfied to cure all of Sellers’ monetary defaults required to be cured under section 365(b)(1) of
the Bankruptcy Code or otherwise to effectuate, pursuant to the Bankruptcy Code, the assumption
by any Seller of executory Contracts and unexpired Leases.

        “Cure Notice” means those certain statements filed with the Bankruptcy Court regarding
the Sellers’ potential assumption and assignment of Contracts and Leases and the related proposed
Cure Costs.

       “Decree” means any judgment, decree, ruling, injunction, assessment, attachment,
undertaking, award, charge, writ, executive order, administrative order, or any other order of any
Governmental Authority.

         “Deposit” has the meaning set forth in Section 2.3(a).

        “Deposit Escrow Agreement” means that certain Escrow Agreement, dated as of the date
hereof, by and among the Escrow Agent, Sellers and Buyer, a copy of which is attached as Exhibit
A.

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         “Designated Contract”) shall have the meaning set forth in Section 2.6(c).

         “Designated Lease” shall have the meaning set forth in Section 2.6(c).

         “Designation Counterparty” has the meaning set forth in Section 2.6(c).

         “Designation Notice” has the meaning set forth in Section 2.6(c).

        “Designation Rights Period” means, with respect to any Leases to be assumed and assigned
or rejected pursuant to Section 2.6(c), the period from the Closing Date through the earlier of (i)
the date on which the Bankruptcy Court enters an order confirming a reorganization or liquidation
plan concerning the Sellers in the Bankruptcy Cases, and (ii) September 30, 2020; provided that
such date may be extended with respect to any Designated Lease for up to an additional 60 days
beyond September 30, 2020 with the consent of the Buyer and the applicable Designation
Counterparty; provided further, however, that notwithstanding the foregoing proviso, Buyer and
Seller shall work in good faith to ensure that the Designation Rights Period is extended in a manner
that does not delay the Sellers’ intended conclusion of the Bankruptcy Cases.

         “Disclosure Schedule” has the meaning set forth in Article III.

         “Distribution Center” means Radial’s warehouse facility located in Martinsville, Virginia,
which location receives, processes, warehouses and/or distributes Merchandise on behalf of
Sellers.

          “Domain Name Assignment Agreement” has the meaning set forth in Section 2.5(b).

        “E-Commerce Orders” means all orders placed after the date of this Agreement for
anticipated Merchandise to be sold on the E-Commerce Platform from and after October 1, 2020
that Sellers’ business plan provided for and presented to Buyer.

         “E-Commerce Platform” means the series of software and hardware applications (and
related services) integrated into and used in the operation of, and through which Sellers sell
inventory to consumers who place orders for such inventory through and any websites used by
Sellers and related internet or “app” based sales, marketing, advertising, and social media channels,
including the Contracts pursuant to which such software and hardware applications (and related
services) are owned or licensed by Sellers.

       “E-Commerce Returns” means ordinary course returns of Merchandise sold by any Seller
on the E-Commerce Platform, in compliance with the return policy in effect as of such sale.

         “Encumbrances” means any claim, community or other marital property interest,
condition, equitable interest, right of way, encroachment, servitude, right of first refusal or similar
restriction, including any restriction on use, voting right (in the case of any security or equity
interest), transfer right, right to receipt of income or exercise of any other attribute of ownership.



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        “Environmental Law” means all applicable Laws including any common law cause of
action concerning (i) pollution or protection of the environment, or worker health and safety
(relating to exposure to Hazardous Substances), or (ii) the manufacture, processing, distribution,
use, treatment, storage, disposal, transport, handling, Release or threatened Release of Hazardous
Substances.

         “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

         “Escrow Agent” means Wilmington Trust.

       “Excluded Assets” means all assets of Sellers other than the Acquired Assets, including,
without limitation, the following assets:

                 (a)     (i) organizational documents, qualifications to conduct business as a foreign
corporation, arrangements with registered agents relating to foreign qualifications, taxpayer and
other identification numbers, seals, minute books, stock transfer books, stock certificates, and other
documents relating to any Seller’s organization, maintenance, existence, and operation; (ii) books
and records related to (A) Taxes paid or payable by the Sellers or (B) any claims, obligations or
liabilities not included in Assumed Liabilities; and (iii) any Tax refund, deposit, prepayment,
credit, attribute, or other Tax asset or Tax receivable of or with respect to any of the Sellers, in
each case to the extent attributable to any Pre-Closing Tax Period;

               (b)     capital stock or other equity interests of any of the Company’s direct or
indirect Subsidiaries;

                (c)    all Cash Equivalents (including all cash located at the Stores, all cash in
Store depository accounts or en route to Store depository accounts, and all petty cash located at
the Stores, Distribution Center, L Brands Distribution Center, and corporate offices, in each case
as of the Closing) other than Credit Card Receivables;

               (d)      all royalty payments and licensing receivables generated by the Business
and attributable to the period prior to the Closing;

               (e)     all insurance policies and binders and all claims, refunds and credits from
insurance policies or binders due or to become due with respect to such policies or binders;

                  (f)   all of Sellers’ rights under this Agreement or any Related Agreement;

                  (g)   all of Sellers’ rights under any Excluded Asset;

                  (h)   all Contracts other than the Transferred Contracts;

                  (i)   all Leases other than the Assumed Leases;

                  (j)   all Company Benefit Plans;


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            (k)    payment processor or credit card receivables for sales that do not relate to
the E-Commerce Business or any Acquired Asset;

                (l)    all avoidance claims or causes of action arising under sections 544, 547,
548, 549 and 550 of the Bankruptcy Code and any similar state Law, and all other claims, causes
of action, lawsuits, judgments, privileges, counterclaims, defenses, rights of recovery, rights of
set-off, rights of subrogation and all other rights of any kind under any other provision of the
Bankruptcy Code or applicable Laws, excluding such claims or causes of action that are included
in clause (s) of Acquired Assets;

             (m)    any Customer Information or any Personal Information the transfer of
which hereunder would result in the violation of Law;

                  (n)   the Excluded Deposits;

               (o)    all assets of Sellers located at the Stores which are not under any Assumed
Leases and do not also constitute assets used in connection with the E-Commerce Platform or the
Retail Business with respect to Stores under the Assumed Leases;

                  (p)   all real estate owned by Sellers;

               (q)    all computer hardware, software and infrastructure, solely to the extent
exclusively used in connection with the Stores; and

              (r)       any credit card numbers or related customer payment source, or social
security numbers.

        “Excluded Deposits” means all prepaid expenses and deposits of Sellers for Stores as set
forth on Exhibit H.

       “Excluded Liabilities” means any and all Liabilities of Sellers, whether existing at the
Closing or arising thereafter, other than the Assumed Liabilities. Without limiting the foregoing,
the Buyer shall not be obligated to assume, and does not assume, and hereby disclaims all the
Excluded Liabilities, including the following Liabilities of any of the Sellers or of any predecessor
of any of the Sellers, whether incurred or accrued before or after the Closing:

               (a)    any Liability of Sellers or of any of their predecessors associated with any
and all indebtedness, including any guarantees of third-party obligations and reimbursement
obligations to guarantors of Sellers’ or any of their respective Subsidiaries’ obligations, and
including any guarantee obligations or imputed Liability through veil piercing incurred in
connection with Sellers’ Subsidiaries;

              (b)    all Taxes, including Retained Taxes, other than Assumed Taxes and
Transfer Taxes (which shall, for the avoidance of doubt, be allocated consistently with Section
6.5(a));


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               (c)   all Liabilities of Sellers or of any of their predecessors under this Agreement
or any Related Agreement and the transactions contemplated hereby or thereby;

                  (d)   all Liabilities of any Subsidiaries of a Seller or of any of their predecessors;

               (e)    any Liabilities in respect of any Contracts or Leases that are not Transferred
Contracts or Assumed Leases, including any Liabilities arising out of the rejection of any such
Contracts or Leases pursuant to section 365 of the Bankruptcy Code;

                (f)    all Liabilities for fees, costs and expenses that have been incurred or that
are incurred or owed by Sellers or of any of their predecessors in connection with this Agreement
or the administration of the Bankruptcy Cases (including all fees and expenses of professionals
engaged by Sellers) and Administrative Expense and Priority Claims accrued through the Closing
Date and specified post-closing administrative wind-down expenses of the bankrupt estates
pursuant to the Bankruptcy Code (which such amounts shall be paid by Sellers from the proceeds
collected in connection with the Excluded Assets) and all costs and expenses incurred in
connection with (i) the negotiation, execution and consummation of the transactions contemplated
under this Agreement and each of the other documents delivered in connection herewith, (ii) the
negotiation, execution and consummation of any debtor in possession financing arrangement, and
(iii) the consummation of the transactions contemplated by this Agreement, including any retention
bonuses, “success” fees, change of control payments and any other payment obligations of Sellers
or of any of their predecessors payable as a result of the consummation of the transactions
contemplated by this Agreement and the documents delivered in connection herewith;

                 (g)    all employment-related Liabilities of Sellers or of any of their predecessors,
including Liabilities for any action resulting from Sellers’ employees’ separation of employment,
Liabilities arising from Buyer’s employment of Transferred Employees;

               (h)   all Liabilities of Sellers or of any of their predecessors with respect to the
termination of employment of the Sellers’ “insiders” (as such term is defined under the Bankruptcy
Code);

                 (i)      all Liabilities arising under or relating to Company Benefit Plans (including
all assets, trusts, insurance policies and administration service contracts related thereto);

               (j)     all Liabilities of Sellers or of any of their predecessors to their respective
equity holders respecting dividends, distributions in liquidation, redemptions of interests, option
payments or otherwise, and any Liability of Sellers or of any of their predecessors pursuant to any
Affiliate Agreement that is not a Transferred Contract;

             (k)    all Liabilities arising out of or relating to any business or property formerly
owned or operated by any of the Sellers, any Affiliate or predecessor thereof, but not presently
owned and operated by any of the Sellers;

                (l)     all Liabilities relating to Claims, causes of action, actions, suits, arbitrations,
litigation matters, proceedings or investigations (in each case whether involving private parties,
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Governmental Authorities, or otherwise) involving, against, or affecting any Acquired Asset, the
Business, Sellers, any of their Affiliates or predecessors, or any assets or properties of Sellers or
of any of their predecessors, in each case arising out of the ownership or operation of the Stores,
Distribution Center, L Brands Distribution Center, the E-Commerce Platform, E-Commerce
Business or any Acquired Asset prior to the Closing;

                 (m)   all Liabilities arising under Environmental Laws, other than to the extent
arising out of the ownership or operation of the E-Commerce Business or any Acquired Asset from
and after the Closing;

                (n)     all accounts payable of the Sellers or of any of their predecessors; all
Liabilities of Sellers or of any of their predecessors in respect of their employees;

              (o)      all Liabilities of Sellers or of any of their predecessors arising out of any
Contract, Permit, or claim that is not transferred to Buyer hereunder;

                  (p)   all Liabilities for all Professional Fees Amounts;

                (q)    all Liabilities for promotion or non-ordinary course loyalty rewards
pursuant to the Runway Rewards Program that accrue on or after July 13, 2020, plus all Liabilities
for gift cards, merchandise credit and gift certificates validly issued by the Sellers on or after July
13, 2020;

                  (r)   Sellers’ payroll Liabilities for the payroll period that includes the Closing
Date; and

               (s)    all claims and Liabilities arising under any Agreement for benefits payable
pursuant to any healthcare plans of the Sellers.

         “Express Representations” has the meaning set forth in Section 4.7(b).

        “Final Order” means an order, judgment or other decree of the Bankruptcy Court or any
other Governmental Authority of competent jurisdiction that has not been reversed, vacated,
modified or amended, is not stayed and remains in full force and effect and is no longer subject to
appeal.

         “Final Purchase Price Allocation” has the meaning set forth in Section 2.7.

        “Furnishings and Equipment” means all tangible assets (other than Merchandise) owned
by Sellers or leased or licensed by Sellers pursuant to any Transferred Contract and in each case
located at the Distribution Center, or Sellers’ corporate offices, including fixtures, trade fixtures,
store models, shelving, machinery, equipment, computers, telephones, vehicles, appliances,
supplies, furniture, furnishings, janitorial and cleaning equipment, partitions, desks, chairs, tables,
telephone lines, cubicles, point-of-sale systems, graphics, branding, signs and signage (including
any signs and signage on any buildings, pylons or monuments and any directional or other ground
or off-premises signs and signage).
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           “GAAP” means United States generally accepted accounting principles consistently
applied.

         “GOB Sales” has the meaning set forth in Section 5.2(c).

       “Governmental Authority” means any federal, state, local, or foreign government or
governmental, taxing or regulatory authority, agency, board, bureau, commission, court,
department, or other governmental entity.

       “Hazardous Substances” means any toxic or hazardous material, substance or waste as to
which liability or standards or conduct may be imposed, or that is the subject of regulatory action
or could otherwise give rise to liabilities or obligations under, any Environmental Laws, including
petroleum product or by-product, asbestos-containing material, lead-containing paint or plumbing,
polychlorinated biphenyls, per- and polyfluoroalkyl substances, radioactive material, toxic molds,
and radon.

         “Intellectual Property” means any and all worldwide rights in and to all intellectual
property rights or assets (whether arising under statutory or common law, contract or otherwise),
which include all of the following items: (i) inventions, discoveries, processes, designs, tools,
molds, techniques, developments and related improvements whether or not patentable; (ii) patents,
patent applications, industrial design registrations and applications therefor, divisions, divisionals,
continuations, continuations-in-part, reissues, substitutes, renewals, registrations, confirmations,
reexaminations, extensions and any provisional applications, or any such patents or patent
applications, and any foreign or international equivalent of any of the foregoing (collectively,
“Patents”); (iii) trademarks (whether registered, unregistered or pending), historical trademark
files, trade dress, service marks, service names, trade names, brand names, product names, logos,
domain names, internet rights (including IP addresses and AS numbers), corporate names,
fictitious names, other names, symbols (including business symbols), slogans, translations of any
of the foregoing and any foreign or international equivalent of any of the foregoing and all goodwill
associated therewith and (to the extent transferable by Law) any applications and/or registrations
in connection with the foregoing; (collectively, “Trademarks”); (iv) work specifications, tech
specifications, software, databases and artwork; (v) technical scientific and other know-how and
information (including promotional material), trade secrets, confidential information, methods,
processes, practices, formulas, designs, design rights, patterns, assembly procedures, software and
specifications; (vi) drawings, prototypes, molds, models, tech packs, artwork, photographs, videos,
website content, social media posts, product packaging, archival materials and advertising
materials, copy, commercials, images, artwork and samples; (vii) archival collections, if any, of
articles of clothing, accessories, or any products or services; (viii) rights associated with works of
authorship including copyrights, moral rights, rights of publicity, design rights, rights in databases,
copyright applications, copyright registrations, rights existing under any copyright Laws and rights
to prepare derivative works (collectively, “Copyrights”); (ix) works for hire; (x) Transferred
Domain Names; (xi) all tangible embodiments of, and all intangible rights in, the foregoing, (xii)
all goodwill related to the foregoing; (xiii) the right to sue for infringement and other remedies
against infringement of any of the foregoing; and (xiv) rights to protection of interests in the
foregoing under the Laws of all jurisdictions.

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         “Intellectual Property Licenses” means (i) any grant to a third Person of any right to use
any Intellectual Property owned by or licensed to the Sellers, other than Contracts (e.g.,
information technology, e-commerce, marketing) entered into in the Ordinary Course of Business
pursuant to which Transferred Intellectual Property is licensed to any counterparty to such
Contracts in the performance of such counterparty’s services to Sellers and/or their Subsidiaries
thereunder, and (ii) any grant to the Sellers of a right to use a third Person’s Intellectual Property
rights, and in each case, including any amendments thereto.

         “Interest” means any interest within the meaning of section 363(f) of the Bankruptcy Code,
including any interest of a Governmental Authority, and all other interests, pledges, security
interests, rights of setoff, restrictions or limitations on use, successor liabilities, conditions, rights
of first refusal, options to purchase, obligations to allow participation, agreements or rights, rights
asserted in litigation matters, competing rights of possession, obligations to lend, matters filed of
record that relate to, evidence or secure an obligation of the Sellers (and all created expenses and
charges) of any type under, among other things, any document, instrument, agreement, affidavit,
matter filed of record, cause, or state or federal Law, whether known or unknown, legal or
equitable, and all liens, rights of offset, replacement liens, adequate protection liens, charges,
obligations, or claims granted, allowed or directed in any Decree.

         “IRC” means the Internal Revenue Code of 1986, as amended.

         “IRS” means the Internal Revenue Service.

        “Knowledge” of Sellers or the Company (and other words of similar import) means the
actual knowledge of Sheamus Toal.

      “L Brands Distribution Center” means L Brands, Inc.’s distribution center located in
Columbus, Ohio.

        “Law” means any applicable federal, state, municipal or local or foreign law, Decree
(judicial or administrative), statute, code, constitutions, regulation, ordinance, decree, common
law principle, rule, treaty, collective agreements, judgment or other requirement issued, enacted,
adopted, promulgated, implemented or otherwise with similar effect of any Governmental
Authority.

         “Leases” means all leases, subleases, licenses, concessions, options, contracts, extension
letters, easements, reciprocal easements, assignments, termination agreements, subordination
agreements, nondisturbance agreements, estoppel certificates and other agreements (written or
oral), and any amendments or supplements to the foregoing, and recorded memoranda of any of
the foregoing, pursuant to which any Seller holds any leasehold or subleasehold estates and other
rights in respect of any Distribution Center or corporate office.

       “Liability” means any liability or obligation of whatever kind or nature (whether known or
unknown, whether asserted or unasserted, whether absolute or contingent, whether accrued or
unaccrued, whether liquidated or unliquidated and whether due or to become due) regardless of
when arising.
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        “Lien” means any lien (statutory or otherwise), Claim, Encumbrance, Interest, Liability,
deed of trust, right of first offer, easement, servitude, transfer restriction under any shareholder or
similar agreement, mortgage, pledge, lien, charge, security interest, option, right of first refusal,
easement, security agreement or other encumbrance or restriction on the use or transfer of any
property, hypothecation, license, preference, priority, covenant, right of recovery, order of any
Governmental Authority, of any kind or nature (including (i) any conditional sale or other title
retention agreement and any lease having substantially the same effect as any of the foregoing, (ii)
any assignment or deposit arrangement in the nature of a security device, and (iii) any leasehold
interest, license, or other right, in favor of a third party or Sellers, to use any portion of the Acquired
Assets), whether secured or unsecured, choate or inchoate, filed or unfiled, scheduled or
unscheduled, noticed or unnoticed, recorded or unrecorded, contingent or non-contingent, material
or non-material, known or unknown; provided, however, that “Lien” shall not be deemed to
include any license of Intellectual Property.

        “Litigation” means any action, cause of action, suit, claim, investigation, audit, demand,
hearing or proceeding, whether civil, criminal, administrative, or arbitral, whether at law or in
equity, before any Governmental Authority.

        “Licensed Intellectual Property” means any Intellectual Property that is licensed to any
Seller pursuant to an Intellectual Property License.

         “Material Adverse Effect” means any event, change, occurrence or effect that, individually
or in the aggregate, (i) has had, or would reasonably be expected to have, a material adverse effect
on the scope or condition (financial or otherwise) of the Acquired Assets, Assumed Liabilities or
the Business, taken as a whole, or (ii) prevents, materially impedes or materially delays or would
reasonably be expected to prevent, materially impede or materially delay, the consummation by
the Sellers of the transactions contemplated by this Agreement; provided, however, that with
respect to clause (i); no effect, change, event or occurrence arising out of or resulting from the
following, shall constitute or be taken into account, individually or in the aggregate, in determining
whether there has been or will be a Material Adverse Effect: (a) general business or economic
conditions in any of the geographical areas in which the Stores operate or affecting retail sporting
goods stores generally; (b) national or international political or social conditions, including the
engagement by any country in hostilities, or the occurrence of any military or terrorist attack; (c)
any event, change, occurrence or effect affecting United States financial, banking, or securities
markets (including any disruption thereof or any decline in the price of securities generally or any
market or index); (d) the occurrence of any act of God or other calamity or force majeure events;
(e) changes in Law or GAAP; (f) the taking of any action expressly required by this Agreement or
at the prior written request of Buyer or its Affiliates; (g) the negotiation, announcement or
pendency of this Agreement or the consummation of the sale and assumption contemplated hereby
or the identity, nature or ownership of Buyer; (h) any seasonal fluctuations in the Business; (i) any
failure, in and of itself, to achieve any budgets, projections, forecasts, estimates, plans, predictions,
performance metrics or operating statistics or the inputs into such items (whether or not shared
with Buyer or its Affiliates or Representatives) (but, for the avoidance of doubt, not the underlying
causes of any such failure to the extent such underlying cause is not otherwise excluded from the
definition of Material Adverse Effect); (j) any failure of the Sellers to maintain any level of
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Merchandise inventory in any of the Stores, (k) any breach by Buyer of this Agreement; (l) any
filing or motion made under sections 1113 or 1114 of the Bankruptcy Code; (m) SARS-CoV-2 or
COVID-19, and any evolutions thereof or related or associated epidemics, pandemics or disease
outbreaks (“COVID-19”) or any quarantine, “shelter in place”, “stay at home”, workforce
reduction, social distancing, shut down, closure, sequester or any other Law, order, directive,
guidelines or recommendations by any Governmental Authority in connection with or in response
to COVID-19, or (n) any effect resulting from the filing or pendency of the Bankruptcy Cases, any
order of the Bankruptcy Court or any actions or omissions of Sellers taken or not taken in order
avoid a violation of such order; except, in the case of each of clauses (a), (b), (c), (d), or (e), to the
extent that the Acquired Assets, the Assumed Liabilities or the Business, taken as a whole, are
disproportionately affected thereby as compared with other participants in the industries in which
Sellers operate. For avoidance of doubt, and notwithstanding the proviso in this definition, any
claim or cause of action that enjoins operation of the E-Commerce Platform or sale(s) of more than
$1,000,000 of Merchandise in the aggregate shall constitute a Material Adverse Effect in the event
that same is not dismissed in favor of Sellers by the Bankruptcy Court.

        “Merchandise” shall mean all finished goods inventory, piece goods and work in progress
owned by any Seller. For the avoidance of doubt, and not withstanding anything in this Agreement
to the contrary, “Merchandise” shall not include: (i) goods which belong to sublessees, licensees,
department lessees, or concessionaires of any Seller; (ii) goods held by any Seller on memo, on
consignment, or as bailee; or (iii) Furnishings and Equipment or improvements to real property.

        “Merchandise List” means, to the Knowledge of Sellers, a true and correct list of all
Allegedly Infringing Merchandise and Violative Merchandise (including whether any such
Merchandise is physically located at any Store, Distribution Center or office) as of the Closing
sufficient to reasonably identify and locate such Merchandise.

         “Non-Party Affiliates” has the meaning set forth in Section 9.14.

         “OFAC” has the meaning set forth in Section 3.14(c).

        “Ordinary Course of Business” means the ordinary and usual course of normal day to day
operations of the Business as conducted by the Sellers through the date hereof consistent with past
practice and taking into account the commencement and pendency of the Bankruptcy Cases.

         “Outside Date” has the meaning set forth in Section 8.1(b)(ii).

         “Owned Intellectual Property” means all Intellectual Property owned by the Sellers.

         “Parties” has the meaning set forth in the preamble.

         “Patent Assignment Agreement” has the meaning set forth in Section 2.5(b).

       “Permit” means any franchise, approval, permit, license, order, registration, certificate,
variance or similar right obtained from any Governmental Authority.

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        “Permitted Lien” means (a) Liens for Taxes (i) not yet delinquent, or (ii) which are being
contested in good faith by appropriate proceedings and for which proper reserves have been
established on the Financial Statements in accordance with GAAP applied on a consistent basis;
(b) mechanic’s, workmen’s, repairmen’s, warehousemen’s, carrier’s or other similar Liens,
including all statutory liens, arising or incurred in the Ordinary Course of Business; (c) with respect
to leased or licensed real or personal property, the terms and conditions of the lease, license,
sublease or other occupancy agreement applicable thereto which are customary; (d) with respect
to real property, zoning, building codes and other land use Laws regulating the use or occupancy
of such real property or the activities conducted thereon which are imposed by any Governmental
Authority having jurisdiction over such real property; (e) Liens to be released pursuant to the Sale
Order; (f) non-exclusive licenses of Intellectual Property in the Ordinary Course of Business that
have been previously disclosed to Buyer; or (g) easements, covenants, conditions, restrictions and
other similar matters affecting title to real property and other encroachments and title and survey
defects.

        “Permitted Post-Closing Lien” shall mean (i) with respect to real property leased or owned
by Sellers, zoning restrictions, building codes and other land use Laws regulating the use or
occupancy of real property, (ii) non-monetary encumbrances to the extent that the Sale Order does
not in fact release any such Lien upon Closing, and (iii) any encumbrances on the interest of any
landlord or sublandlord or underlying fee interest of any Assumed Lease.

        “Person” means an individual, a partnership, a corporation, a limited liability company, an
association, a joint stock company, a trust, a joint venture, an unincorporated organization, or any
other entity, including any Governmental Authority or any group of any of the foregoing.

         “Personal Information” has the meaning set forth in Section 3.10.

         “Post-Closing Tax Period” means any taxable period beginning after the Closing Date.

         “Pre-Closing Tax Period” means any taxable period ending on or prior to the Closing Date.

      “Prepaid Merchandise Payments” means any payments made by Sellers on account of
Merchandise that has been ordered but not received by Sellers as of the Closing Date.

        “Professional Fees Amount” means an amount equal to all fees and expenses incurred and
estimated to be incurred on or prior to the Closing Date (regardless of whether such fees and
expenses have been approved by the Bankruptcy Court as of the Closing Date) by any professional
retained pursuant to sections 327 and 1103 of the Bankruptcy Code in the Bankruptcy Cases.

         “Proposed Cure Costs” has the meaning set forth in Section 2.6(a).

         “Purchase Price” has the meaning set forth in Section 2.3(a).

         “Purchase Price Allocation” has the meaning set forth in Section 2.7.



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       “Related Agreements” means the Bill of Sale and Assignment and Assumption Agreement,
the Trademark Assignment Agreement, the Domain Name Assignment Agreement, the TSA, the
Deposit Escrow Agreement, and any certificates delivered pursuant to this Agreement.

        “Representative” means, when used with respect to a Person, the Person’s controlled and
controlling Affiliates (including Subsidiaries) and such Person’s and any of the foregoing Persons’
respective officers, directors, managers, members, shareholders, partners, employees, agents,
representatives, advisors (including financial advisors, bankers, consultants, legal counsel, and
accountants), and financing sources.

         “Requesting Party” has the meaning set forth in Section 6.2.

         “Release” means any release, spill, emission, leaking, pumping, pouring, emitting,
emptying, discharging, injecting, escaping, disposal, dumping, dispersing, leaching or migrating
in, into, onto or through the indoor or outdoor environment.

       “Responsible Person Taxes” means all Retained Taxes with respect to which “responsible
person” claims are brought by an applicable Governmental Authority against any employee,
manager, officer, or director of Sellers.

         “Retained Taxes” means any Liability for Taxes (i) arising from or related to the Sellers’
ownership or operation of the Business or the Acquired Assets except to the extent of any Assumed
Taxes, (ii) of any and all Sellers (or for which any Seller or any of their Affiliates are otherwise
liable, including as a transferee, successor, by contract or otherwise, or arising as a result of being
or having been a member of any consolidated, combined, unitary or other group or being or having
included or required to be included in any Tax Return related thereto), except to the extent of any
Assumed Taxes or (iii) in respect of any Excluded Assets. For the avoidance of doubt, Transfer
Taxes shall be governed by Section 6.5(a).

        “Runway Rewards Program” means the Sellers’ points-based private label credit card
customer loyalty program in which customers earn points based on purchases through a private
label credit card.

       “Sale Hearing” means the hearing for (i) approval of, among other things, this Agreement
and the transactions contemplated herein and (ii) entry of the Sale Order.

       “Sale Order” means the sale order or orders (i) approving this Agreement and the terms
and conditions hereof, (ii) approving and authorizing Sellers to consummate the transactions
contemplated hereby; (iii) providing that the Bankruptcy Court has jurisdiction to resolve any
dispute regarding right to use or ownership of the E-Commerce Platform or any Intellectual
Property, and (iv) in form and substance reasonably satisfactory to Buyer and Sellers.

         “Seller Fundamental Representations” has the meaning set forth in Section 7.1(a).

         “Seller Related Parties” has the meaning set forth in Section 5.8(b).

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         “Sellers” has the meaning set forth in the preamble.

         “Standby Letters of Credit” means the letters of credit set forth on Schedule 5.9.

         “Store Closings” has the meaning set forth in Section 5.2(c).

         “Stores” has the meaning set forth in the recitals.

       “Subsidiary” means, with respect to any Person, means, on any date, any Person (a) the
accounts of which would be consolidated with and into those of the applicable Person in such
Person’s consolidated financial statements if such financial statements were prepared in
accordance with GAAP as of such date or (b) of which securities or other ownership interests
representing more than fifty percent of the equity or more than fifty percent (50%) of the ordinary
voting power or, in the case of a partnership, more than fifty percent (50%) of the general
partnership interests or more than fifty percent of the profits or losses of which are, as of such date,
owned, controlled or held by the applicable Person or one or more subsidiaries of such Person.

         “Tax” or “Taxes” means any United States federal, state, local or foreign income, gross
receipts, license, payroll, employment, excise, severance, stamp, occupation, premium, windfall
profits, environmental (including taxes under section 59A of the IRC), customs duties, capital
stock, franchise, profits, withholding, social security (or similar), unemployment, disability, real
property, personal property, sales, use, transfer, registration, escheat or unclaimed property, value
added, alternative or add-on minimum, estimated or other tax of any kind whatsoever (including
withholding on amounts paid to or by any Person), whether computed on a separate or
consolidated, unitary or combined basis or in any other manner, including any interest, penalty or
addition thereto and any obligations to indemnify or otherwise assume or succeed to the Tax
liability of any other Person.

        “Tax Return” means any return, declaration, report, claim for refund or information return
or statement relating to Taxes, including any schedule or attachment thereto, and including any
amendment thereof.

         “Trade Controls” has the meaning set forth in Section 3.14(c).

         “Trademark Assignment Agreement” has the meaning set forth in Section 2.5(b).

         “Transfer Tax” has the meaning set forth in Section 6.5(a).

         “Transferred Contracts” has the meaning set forth in Section 2.6(b).

         “Transferred Employee” has the meaning set forth in Section 6.3(a).

          “TSA” has the meaning set forth in Section 6.9.

       “Violative Merchandise” means any item of Merchandise the sale of which by Sellers
would be in violation of an applicable Law.

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       “WARN Act” means, collectively, the Worker Adjustment and Retraining Notification Act
of 1989 and any similar state or local Law.

         Section 1.2    Interpretations. Unless otherwise indicated herein to the contrary:

        When a reference is made in this Agreement to an Article, Section, Exhibit, Schedule,
clause or subclause, such reference shall be to an Article, Section, Exhibit, Schedule, clause or
subclause of this Agreement. The words “include,” “includes” or “including” and other words or
phrases of similar import, when used in this Agreement, shall be deemed to be followed by the
words “without limitation.” The words “hereof,” “herein” and “hereunder” and words of similar
import, when used in this Agreement, refer to this Agreement as a whole and not to any particular
provision of this Agreement. The word “if” and other words of similar import shall be deemed, in
each case, to be followed by the phrase “and only if.” The use of “or” herein is not intended to be
exclusive. The definitions contained in this Agreement are applicable to the singular as well as
the plural forms of such terms. Whenever the context may require, any pronouns used herein shall
include the corresponding masculine, feminine or neuter forms, and the singular form of names
and pronouns shall include the plural and vice versa. All terms defined in this Agreement have
their defined meanings when used in any certificate or other document made or delivered pursuant
hereto, unless otherwise defined therein. References herein to a Person are also to its successors
and permitted assigns. Any reference herein to a Governmental Authority shall be deemed to
include reference to any successor thereto. Any reference herein to “Dollars” or “$” shall mean
United States dollars. Buyer acknowledges and agrees that the specification of any dollar amount
in the representations, warranties, or covenants contained in this Agreement is not intended to
imply that such amounts or higher or lower amounts are or are not material, and Buyer shall not
use the fact of the setting of such amounts in any dispute or controversy between the Parties as to
whether any obligation, item, or matter is or is not material. References in this Agreement to
materials or information “furnished to Buyer” and other phrases of similar import include all
materials or information made available to Buyer or its Representatives in the data room prepared
by Sellers or provided to Buyer or its Representatives in response to requests for materials or
information. If any period expires on a day which is not a Business Day or any event or condition
is required by the terms of this Agreement to occur or be fulfilled on a day which is not a Business
Day, such period shall expire or such event or condition shall occur or be fulfilled, as the case may
be, on the next succeeding Business Day. When calculating the period of time before which,
within which or following which any act is to be done or step taken pursuant to this Agreement,
the date that is the reference date in calculating such period shall be excluded. If the last day of
such period is a non-Business Day, the period in question shall end on the next succeeding
Business Day. The words “to the extent” shall mean “the degree by which” and not “if.”

                                         ARTICLE II
                                     PURCHASE AND SALE

        Section 2.1     Purchase and Sale of Assets. On the terms and subject to the conditions
set forth in this Agreement, effective as of the Closing, Buyer will purchase from Sellers on an
“as is, where is” basis, and Sellers will sell, transfer, assign, convey and deliver to Buyer, at the
Closing all of Sellers’ right, title and interest in, to and under the Acquired Assets.

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        Section 2.2    Assumed Liabilities. On the terms and subject to the conditions set forth
in this Agreement, effective as of the Closing, Buyer will assume and become responsible for the
Assumed Liabilities. Buyer agrees to pay, perform, honor, and discharge, or cause to be paid,
performed, honored and discharged, all Assumed Liabilities in a timely manner in accordance
with the terms thereof.

         Section 2.3    Consideration; Deposit; Closing Cash Payment Adjustment.

                (a)      The consideration for the Acquired Assets (the “Purchase Price”) shall be
(i) an aggregate Dollar amount equal to $40,000,000 (the “Closing Cash Payment”), plus (ii)
Buyer’s assumption of the Assumed Liabilities (including Liabilities for validly accrued loyalty
rewards pursuant to the Runway Rewards Program that accrued prior to July 13, 2020, plus
Liabilities for gift cards, merchandise credit and gift certificates validly issued by the Sellers and
outstanding as of July 13, 2020), plus (iii) the Cure Costs for the Transferred Contracts and
Assumed Leases, plus (iv) an amount equal to the Prepaid Merchandise Payments, plus (v) the
amount of the Break-up Fee (as such term is defined in that certain Asset Purchase Agreement dated
August 3, 2020 by and between Seller and Sunrise Brands, LLC).

                (b)     Substantially concurrent with the execution hereof, Buyer has made a
deposit with the Escrow Agent in the amount of $4,000,000.00 by wire transfer of immediately
available funds (the “Deposit”). The Deposit shall not be subject to any lien, attachment, trustee
process, or any other judicial process of any creditor of any of the Sellers or the Buyer and shall
be released (together with all accrued investment income thereon, if any) (and Buyer and Sellers
shall deliver any joint written instructions required to effect the distribution of the Deposit that is
held pursuant to the Deposit Escrow Agreement) solely as follows:

                       (i)     if the Closing occurs, the Deposit and all accrued investment income
thereon, if any, shall be delivered to the Sellers and applied toward the Closing Cash Payment
payable by Buyer to Sellers under Section 2.5(a) at the Closing;

                       (ii)    if this Agreement is terminated by Sellers pursuant to Section 8.1(d)
or Section 8.1(i), the Deposit, together with all accrued investment income thereon, if any, shall
be delivered to Sellers within three (3) Business Days of such termination; or

                      (iii)  if this Agreement is terminated for any reason other than by Sellers
pursuant to Section 8.1(d) or Section 8.1(i), the Deposit, together with all accrued investment
income thereon, if any, shall be delivered to Buyer within three (3) Business Days of such
termination.

                (c)    Buyer and Sellers hereby agree to cooperate in good faith in identifying
future allocation of Merchandise (i) to be shipped out of the L Brand Distribution Center to the
Distribution Center, and/or (ii) to be shipped out of a Store to the Distribution Center, which
Merchandise shall be designated for resale on the E-Commerce Platform. On the Closing Date,
Sellers shall provide to Buyer the cost value of the finished goods inventory (including, for the
avoidance of doubt, inventory that is en route to the Distribution Center from the L Brand
Distribution Center and inventory which is purchased by Sellers on an FOB basis and that is in
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transit to the L Brands Distribution Center for ultimate delivery to the Distribution Center)
included in the Acquired Assets, excluding inventory subject to E-Commerce Orders (the
“Inventory Value”). In the event that the Inventory Value is greater than $15,000,000, then the
Closing Cash Payment shall be increased by the amount that the Inventory Value exceeds
$15,000,000. In the event that the Inventory Value is less than $15,000,000, then the Closing Cash
Payment shall be reduced by the amount that the Inventory Value is less than $15,000,000.

        Section 2.4     Closing. The closing of the transactions contemplated by this Agreement
(the “Closing”) shall take place by telephone conference and electronic exchange of documents or
escrow of said documents (or, if the Parties agree to hold a physical closing, at the offices of Cole
Schotz P.C., located at 1325 Avenue of the Americas, New York, New York or such other location
as shall be mutually agreed upon by Sellers and Buyer) commencing at 8:00 AM local time on a
date (the “Closing Date”) that is the first (1st) Business Day following the date upon which all of
the conditions to the obligations of Sellers and Buyer to consummate the transactions contemplated
hereby set forth in Article VII (other than conditions that by their nature are to be satisfied at the
Closing itself, but subject to the satisfaction or waiver of those conditions) have been satisfied or
waived, or on such other date as shall be mutually agreed upon by Sellers and Buyer prior thereto.
The Closing shall be effective as of 12:01 a.m. New York Time on the Closing Date for all
purposes of this Agreement (including for Tax and accounting purposes).

         Section 2.5    Closing Payments and Deliveries.

               (a)     At the Closing, Buyer shall pay the Closing Cash Payment (as may be
adjusted pursuant to Section 2.3(c)) minus the Deposit to Sellers by wire transfer of immediately
available funds to an account designated by Sellers no later than one (1) Business Day prior to the
Closing Date.

                (b)    At the Closing, Sellers will deliver to Buyer: (i) a duly executed Bill of Sale
and Assignment and Assumption Agreement substantially in the form of Exhibit B; (ii) a duly
executed Trademark Assignment Agreement, substantially in the form of Exhibit C (the
“Trademark Assignment Agreement”); (iii) a duly executed Domain Name Assignment
Agreement, substantially in the form of Exhibit D (the “Domain Name Assignment Agreement”);
(iv) a duly executed Copyright Assignment Agreement, substantially in the form of Exhibit E (the
“Copyright Assignment Agreement”); (v) a duly executed Patent Assignment Agreement,
substantially in the form of Exhibit F (the “Patent Assignment Agreement”); (vi) the TSA duly
executed by Sellers; (vii) the Merchandise List and (viii) such other agreements, certificates,
instruments and documents as Buyer shall reasonably request.

              (c)    At the Closing, Buyer will deliver to Sellers: (i) the Bill of Sale and
Assignment and Assumption Agreement duly executed by Buyer; (ii) the Trademark Assignment
Agreement duly executed by Buyer; (iii) the Domain Name Assignment Agreement duly executed
by Buyer; (iv) the TSA duly executed by Buyer; and (v) such other agreements, certificates,
instruments and documents as Sellers shall reasonably request.

       Section 2.6  Assumption/Rejection of Certain Contracts and Leases and Designation
Rights; Non-Assignment.
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                 (a)     Schedule 2.6(a) sets forth, to the Knowledge of Sellers, a true and complete
list, as of the date hereof, of all executory Contracts and unexpired Leases to which any Seller is a
party, including the Sellers’ proposed Cure Costs associated with each such Contract and
unexpired Lease set forth therein (the “Proposed Cure Costs”).

               (b)      From and after the date hereof until three (3) Business Days prior to
Closing, Buyer may, in its sole discretion, (i) designate the Contracts listed on Schedule 2.6(b) for
assumption and assignment to Buyer or its designee-Affiliate, effective on and as of the Closing
(such Contracts, together with any other Contracts assumed by Seller and assigned to Buyer or its
designee-Affiliate pursuant to this Agreement, the “Transferred Contracts”), (ii) designate all of
Leases listed on Schedule 2.6(b) for possible assumption and assignment to its designee-Affiliates,
effective on and as of the Closing (such Leases, together with any other Leases assumed by Seller
and assigned to Buyer or its designee pursuant to this Agreement, the “Assumed Leases”), or (iii)
designate all other Contracts and/or Leases not designated any Contract or Lease listed on
Schedule 2.6(b) for rejection effective on and as of the Closing. The Transferred Contracts and
Assumed Leases (subject to the conditions and required consents herein) as of the date hereof that
are to be assumed and assigned effective on and as of the Closing are set forth on Schedule 2.6(b)
hereto, which Schedule shall be (and shall be deemed) modified or supplemented to reflect
additions or removals, as applicable, of Leases and Contracts that are (i) designated for assumption
and assignment as set forth in this Section 2.6(b) and (ii) designated for rejection.

                (c)     During the Designation Rights Period, Buyer may, in its sole discretion,
designate any Contract (a “Designated Contract”) or Lease (a “Designated Lease”) listed on
Schedule 2.6(a) that has not previously been designated for assignment and assumption or rejection
pursuant to Section 2.6(b) for either (x) assumption and assignment to Buyer or its designee, or (y)
rejection (the “Designation Rights”), in each case by providing written notice to Sellers (the
“Designation Notice”); provided, however, that Buyer shall determine whether any Designated
Contract or Designated Lease will be assumed and assigned or rejected and shall provide Sellers
with a Designation Notice in respect thereof at least ten (10) days prior to expiration of the
applicable Designation Rights Period. Within three (3) Business Days of Sellers’ receipt of a
Designation Notice, Sellers shall provide written notice to the counterparty to such Designated
Contract or Designated Lease (such counterparty, the “Designation Counterparty”) of Sellers’
intent to assume and assign or reject such Designated Contract or Designated Lease, which notice
shall, with respect to any Designated Contract or Designated Lease to be assumed and assigned,
include (i) the Proposed Cure Costs associated with such Designated Contract or Designated
Lease, (ii) information supplied by Buyer or its designee intended to provide such Designation
Counterparty with adequate assurance of future performance, and (iii) the deadline to object to the
assumption and assignment of such Designated Contract or Designated Lease (the “Objection
Deadline”), which deadline shall be no less than seven (7) calendar days from service of such
notice. The assumption and assignment of a Designated Contract or Designated Lease shall be
effective without further Order of the Bankruptcy Court upon expiration of the applicable
Objection Deadline unless (A) the Designation Counterparty timely serves an objection upon
Buyer and Sellers that relates to adequate assurance of future performance or a cure issue that
could not have been raised in an objection to any Cure Notice prior to the Sale Hearing and pertains
to matters arising after the Closing, or (B) the Designation Counterparty otherwise consents to the
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assumption and assignment on terms mutually agreed by Buyer and the Designation Counterparty.
If Buyer, Sellers and the Designation Counterparty are unable to resolve such objection timely
served pursuant to clause (A) above, Sellers shall schedule the matter for hearing before the
Bankruptcy Court on no less than five (5) Business Days’ notice. The rejection of any Designated
Contract or Designated Lease shall be effective without further Order of the Bankruptcy Court.
Any Contract or Lease that is not assumed and assigned before the expiration of the Designation
Rights Period shall be deemed designated for rejection effective as of the date on which the
Designation Rights Period expires. For the avoidance of doubt, (i) all Contracts and Leases not set
forth on Schedule 2.6(b) immediately prior to the Closing shall be a Designated Contract or
Designated Lease, as applicable, and (ii) all Designated Contracts assumed and assigned to Buyer
or its designee pursuant to this Section 2.6(c) shall be Transferred Contracts, and all Designated
Leases assumed and assigned to Buyer pursuant to this Section 2.6(c) shall be Assumed Leases.

                (d)    Notwithstanding Section 2.6(c), during the Designation Rights Period,
Buyer may deliver a written notice to Sellers of Buyer’s entry into an agreement with a Designation
Counterparty to any Designated Contract or Designated Lease pursuant to which such Designation
Counterparty consents to the assumption and assignment to Buyer or its designee of such
Designated Contract or Designated Lease on the terms set forth in such agreement. The assumption
and assignment of any Designated Contract or Designated Lease pursuant to this Section 2.6(d)
shall be effective on the date set forth in the written notice provided to Sellers without further
Order of the Bankruptcy Court. For the avoidance of doubt, all Designated Contracts assumed and
assigned to Buyer pursuant to this Section 2.6(d) shall be Transferred Contracts, and all Designated
Leases assumed and assigned to Buyer pursuant to this Section 2.6(d) shall be Assumed Leases

                (e)     Buyer shall be responsible for payment of any and all costs, expenses, fees,
rents, maintenance charges and other Liabilities of Buyer, Sellers or any of their respective
Affiliates (i) under the Designated Contracts and Designated Leases and/or (ii) as a result of,
arising out of or in connection with the operation of any Store or Distribution Center governed by
any such Designated Contracts or Designated Leases, in each case that are incurred and come due
and payable during the period from and after Closing through the effective date of such Designated
Contract’s or Designated Lease’s assumption and assignment to Buyer or rejection by any Seller
in accordance with this Agreement (collectively, the “Designated Contracts and Leases
Liabilities”). For the avoidance of doubt, Buyer shall pay all such Designated Contracts and
Leases Liabilities on a current basis as and when they come due and payable; provided, however,
that at the request of Seller, Buyer shall pre-pay to the applicable third-party any such Designated
Contracts and Leases Liabilities.

                (f)    Sellers shall take all actions reasonably required to assume and assign the
Transferred Contracts and Assumed Leases to Buyer or its designee, including taking all actions
reasonably necessary to facilitate any negotiations with the counterparties to such Contracts or
Leases and, if necessary, to obtain an order of the Bankruptcy Court containing a finding that the
proposed assumption and assignment of the Contracts or Leases to Buyer or its designee satisfies
all applicable requirements of section 365 of the Bankruptcy Code.



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               (g)    Buyer shall take all actions reasonably required for Sellers to assume and
assign the Transferred Contracts and Assumed Leases to Buyer, including taking all actions
reasonably necessary to facilitate any negotiations with the counterparties to such Contracts or
Leases and, if necessary, to obtain an order of the Bankruptcy Court containing a finding that the
proposed assumption and assignment of the Contracts or Leases to Buyer satisfies all applicable
requirements of section 365 of the Bankruptcy Code.

              (h)     Buyer shall as promptly as reasonably practicable, but in any event upon
assumption of any Transferred Contract or Assumed Lease hereunder, pay all Cure Costs (if any)
in connection with any such assumption.

               (i)     During the Designation Rights Period, Sellers shall not reject, terminate,
amend, supplement, modify, waive any rights under, or create any adverse interest with respect to
any Designated Contract or Designated Lease, or take any affirmative action not required thereby,
without the prior written consent of Buyer, which consent shall not be unreasonably withheld,
conditioned or delayed, unless Buyer has provided written notice to Sellers designating such
Contract or Lease for rejection pursuant to Section 2.6(c).

                (j)     Notwithstanding the foregoing and anything herein to the contrary, and
subject to Section 5.4, a Contract or Lease shall not be assigned to, or assumed by, Buyer or its
designee hereunder to the extent that such Contract or Lease (i) is terminated by a Seller (subject
to Section 5.2(b)(vi)) or the counterparty thereto, or terminates or expires by and in accordance
with its terms, on or prior to the end of the Designation Rights Period and is not continued or
otherwise extended upon assumption, or (ii) requires a consent or authorization from a
Governmental Authority (other than, and in addition to, that of the Bankruptcy Court) in order to
permit the sale or transfer to Buyer or its designee of the applicable Seller’s rights under such
Contract or Lease, and such consent or authorization has not been obtained prior to the Closing or
the end of the Designation Rights Period. In the event that any Transferred Contract or Assumed
Lease is deemed not to be assigned pursuant to clause (ii) of this Section 2.6(j), the Closing shall
nonetheless occur and the Designation Rights Period shall nonetheless end subject to the terms
and conditions set forth herein and, thereafter, through the earlier of such time as such consent or
authorization is obtained and six (6) months following the Closing (or the remaining term of such
Contract or Lease or the closing of the Bankruptcy Cases, if shorter), Sellers and Buyer shall (A)
use reasonable best efforts to secure such consent or authorization as promptly as practicable after
the Closing, and (B) cooperate in good faith to allow Buyer or its designee to perform the services
thereunder on Sellers’ behalf, in all cases, without infringing upon the legal rights of any third
party, including by good faith cooperation with any lawful and commercially reasonable
arrangement reasonably proposed by Buyer, including subcontracting, licensing or sublicensing to
Buyer any or all of any Sellers’ rights and obligations with respect to any such Contract or Lease,
under which (1) Buyer shall obtain (without infringing upon the legal rights of such third party or
violating any Law) the economic rights and benefits (net of the amount of any related Tax costs
imposed on Sellers or their respective Affiliates) under such Contract or Lease with respect to
which the consent and/or authorization has not been obtained, and (2) Buyer shall assume any
related burden (net of the amount of any related Tax benefit obtained by Sellers or their respective
Affiliates) and obligation (including performance) with respect to such Contract or Lease. Upon
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satisfying all such requisite consent or authorization requirements applicable to such Contract or
Lease after the Closing, such Contract or Lease shall promptly be transferred and assigned to Buyer
in accordance with the terms of this Agreement.

               (k)    During the Designation Rights Period, subject to the terms of such
Designated Leases and providing adequate insurance naming Sellers as an additional insured,
Sellers shall provide access during normal business hours to all properties governed by any
Designated Leases to allow the Buyer and its Representatives to operate the Business during the
period from and after Closing through, as applicable, (i) the effective date of the applicable
Designated Lease’s assumption and assignment to Buyer or rejection by any Seller in accordance
with this Agreement, or (ii) the end of the Designation Rights Period.

        Section 2.7     Allocation. Buyer and Sellers agree to allocate the Purchase Price and all
other relevant items among the Acquired Assets in accordance with section 1060 of the IRC and
the Treasury Regulations (the “Allocation Principles”). No later than thirty (30) days after the
Closing Date, Buyer shall in good faith prepare and deliver to Sellers an allocation of the Purchase
Price (and all other relevant items) as of the Closing Date among the Acquired Assets determined
in a manner consistent with the Allocation Principles (the “Purchase Price Allocation”) for Sellers’
review and approval (such approval not to be unreasonably withheld, conditioned or delayed).
Any reasonable comments provided by Sellers to the Buyer under this Section 2.7 shall be
considered by the Buyer in good faith. The Purchase Price Allocation shall be conclusive and
binding on the parties unless Sellers notify Buyer in writing that Sellers object to one or more
items reflected in the Purchase Price Allocation, and specify the reasonable basis for such
objection, within thirty (30) days after delivery to Sellers of the Purchase Price Allocation. In the
case of such an objection, Sellers and Buyer shall negotiate in good faith to resolve any disputed
items. Any resolution by Sellers and Buyer shall be conclusive and binding on the parties once
set forth in writing (any such conclusive and binding Purchase Price Allocation, the “Final
Purchase Price Allocation”). If Sellers and Buyer are unable to resolve all disputed items within
twenty (20) days after the delivery of Sellers’ written objection to Buyer, each of Buyer and Sellers
may separately determine the allocation of the Purchase Price, and there shall be no Final Purchase
Price Allocation. Buyer and Sellers agree (and agree to cause their respective Subsidiaries and
Affiliate) to prepare, execute, and file IRS Form 8594 and all Tax Returns on a basis consistent
with the Allocation Principles, and if any, the Final Purchase Price Allocation. None of the Parties
will take any position inconsistent with the Final Purchase Price Allocation, if any, on any Tax
Return or in any audit or Tax proceeding, unless otherwise required by a final “determination”
within the meaning of section 1313 of the IRC (or comparable provision of state, local or foreign
Tax Law). Notwithstanding the foregoing, the Parties recognize that certain allocations may be
necessary prior to the above time schedule, such as in the case of any Transfer Tax filings, and
agree to reasonably cooperate in determining the appropriate allocation in a timely manner.
Notwithstanding any other provision of this Agreement, the terms and provisions of this Section
2.7 shall survive the Closing without limitation.

         Section 2.8    [Reserved].



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        Section 2.9     Withholding. Buyer and any other applicable withholding agent shall be
entitled to deduct and withhold from any amounts otherwise payable pursuant to this Agreement
any amount that Buyer or such other withholding applicable agent, as the case may be, is required
to deduct and withhold under any provision of Law; provided, however, that the Buyer shall use
reasonable efforts to provide the applicable payee with (a) written notice upon the Buyer becoming
aware that any deduction or withholding is required and (b) the opportunity to reduce or eliminate
any such withholding obligation. All such withheld amounts shall be treated as delivered to the
Sellers hereunder.

                                       ARTICLE III
                        SELLERS’ REPRESENTATIONS AND WARRANTIES

       Except as set forth in the disclosure schedule accompanying this Agreement (the
“Disclosure Schedule”), Sellers represent and warrant to Buyer, as of the date hereof and as of the
Closing Date, as follows:

        Section 3.1    Organization of Sellers; Good Standing. Each Seller is duly organized,
validly existing and in good standing under the Laws of the state of its formation and has all
requisite corporate power and authority to own, lease and operate its assets and to carry on its
business as currently and historically conducted, except where the failure to be so qualified
would not have or would not reasonably be expected to have, individually or in the aggregate, a
Material Adverse Effect.

         Section 3.2   Authorization of Transaction. Subject to the Bankruptcy Court’s entry of
the Sale Order, each Seller has full power and authority (including full corporate power and
authority) to execute, deliver and perform this Agreement, the Related Agreements, and all other
agreements contemplated hereby to which it is or will be a party and to perform its obligations
hereunder and thereunder. The execution, delivery, and performance of this Agreement, the
Related Agreements, and all other agreements contemplated hereby to which each Seller is or
will be a party have been duly authorized by such Sellers. Upon due execution hereof by each
Seller, this Agreement, the Related Agreements, and all other agreements contemplated hereby
(assuming due authorization and delivery by Buyer) shall constitute, subject to the Bankruptcy
Court’s entry of the Sale Order, the valid and legally binding obligation of such Sellers,
enforceable against such Sellers in accordance with its terms and conditions, subject to
applicable bankruptcy, insolvency, moratorium, or other similar Laws relating to creditors’ rights
and general principles of equity.

         Section 3.3    Noncontravention; Government Filings. Neither the execution, delivery,
or performance of this Agreement, the Related Agreements, and all other agreements
contemplated hereby, nor the consummation of the transactions contemplated hereby and thereby
(including the assignments and assumptions referred to in Article II), will (a) conflict with or
result in a breach of the organizational documents of any Seller, (b) subject to the entry of the
Sale Order, violate any Law or Decree to which any Seller is subject, or (c) subject to the entry
of the Sale Order, result in a breach of, constitute a default under, result in the acceleration of,
create in any party the right to accelerate, terminate, modify or cancel, or require any notice

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under any material Contract or Lease to which any Seller is a party or to which any of the
Acquired Assets is subject, except, in the case of clause (c), for such conflicts, violations,
breaches, defaults, accelerations, rights or failures to give notice as would not, individually or in
the aggregate, have or reasonably be expected to have a Material Adverse Effect, or (d) result in
the creation of, or require the creation of, any Lien (other than Permitted Liens and Permitted
Post-Closing Liens) upon any Acquired Assets. Other than as required by the Bankruptcy Code,
the Bidding Procedures Order, or the Sale Order, no Sellers is required to give any notice to,
make any filing with, or obtain any authorization, consent or approval of any Governmental
Authority in order for the Parties to consummate the transactions contemplated by this
Agreement or any Related Agreement, or any other agreements contemplated hereby, except
where the failure to give notice, file or obtain such authorization, consent or approval would not,
individually or in the aggregate, reasonably be expected to result in a material Liability to such
Seller or prevent or materially impair or delay the Sellers’ ability to consummate the transactions
contemplated hereby or perform their respective obligations hereunder on a timely basis.

        Section 3.4     Title to Assets. The Sellers have good and valid title to, or, in the case of
leased or subleased Acquired Assets, valid and subsisting leasehold interests in, all Acquired
Assets, free and clear of all Liens (other than Permitted Liens). Pursuant to the Sale Order, Sellers
will convey such title to or rights to use, all of the tangible Acquired Assets, free and clear of all
Liens (other than Permitted Liens and Permitted Post-Closing Liens).

         Section 3.5    Transferred Contracts and Assumed Leases.

               (a)      Schedule 2.6(a) sets forth, to the Knowledge of Seller, a complete list, as of
the date hereof, of (i) all executory Contracts, and (ii) unexpired Leases to which any Seller is a
party.

                (b)     Other than as a result of (i) rejection by the Sellers in the Bankruptcy Cases,
(ii) the automatic stay under the Bankruptcy Code or (iii) any consequence of any of the foregoing,
and except as set forth in Section 3.5 of the Disclosure Schedule, (A) there does not exist under
any Contract or Lease required to be set forth on Schedule 2.6(a) any material breach, material
violation or material default on the part of a Seller or, to the Knowledge of Sellers, any other party
to such Contract or Lease, (B) there does not exist any event, including the consummation of the
transactions contemplated in this Agreement or any Related Agreement, that would (with or
without notice, passage of time, or both) constitute a breach, violation or default thereunder on the
part of a Seller, which breach, violation or default has, or would reasonably be expected to have,
individually or in the aggregate, a Material Adverse Effect, (C) to the Knowledge of Sellers, the
Sellers have not received any notice of any default, notice of termination or intent to terminate, or
notice regarding payment delinquency, and (D) to the Knowledge of Sellers, there has not been an
event that with notice or lapse of time or both would constitute a default by Sellers under any
Contract or Lease required to be set forth on Schedule 2.6(a), except for defaults that would not be
reasonably likely to be material to the E-Commerce Business.

        Section 3.6   Real Property. Section 3.6 of the Disclosure Schedule sets forth the location
of each Distribution Center and corporate office, each of which is leased to Sellers by a third party.

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With respect to each Lease, (a) assuming due authorization and delivery by the other party thereto,
such Lease constitutes the valid and legally binding obligation of the Sellers party thereto and, to
Sellers’ Knowledge, the counterparty thereto, enforceable against such Sellers and, to Sellers’
Knowledge, the counterparty thereto in accordance with its terms and conditions, subject to
applicable bankruptcy, insolvency, moratorium or other similar Laws relating to creditors’ rights
and general principles of equity, and (b) neither such Sellers nor, to Sellers’ Knowledge, the
counterparty thereto is in breach or default under such Lease, except (i) for those defaults that will
be cured in accordance with the Sale Order or waived in accordance with section 365 of the
Bankruptcy Code (or that need not be cured under the Bankruptcy Code to permit the assumption
and assignment of the Leases) or (ii) to the extent such breach or default would not reasonably be
expected to have a Material Adverse Effect. To Sellers’ Knowledge, no Person that is not a Seller
has any right to possess, use or occupy the Lease premises. The leasehold interests of Sellers in
the Assumed Leases is subject to no Liens other than Permitted Liens. To Sellers’ Knowledge, no
Person that is not a Seller has any right to possess, use or occupy the Lease premises.

        Section 3.7     Litigation; Decrees. Except as set forth in Section 3.7 of the Disclosure
Schedule, and other than the Bankruptcy Cases, as of the date hereof there is no Litigation
pending that (a) would reasonably be expected to be material to the Acquired Assets taken as a
whole or (b) challenges the validity or enforceability of this Agreement or the Related
Agreements or that seeks to enjoin or prohibit consummation of the transactions contemplated
hereby and thereby. Other than the Bankruptcy Case, no Seller is subject to any outstanding
Decree that would (i) reasonably be expected to be material to the E-Commerce Business or the
Acquired Assets or (ii) prevent or materially delay such Seller’s ability to consummate the
transactions contemplated hereby or by the Related Agreements or perform in any material
respect its obligations hereunder.

         Section 3.8    Labor Relations.

               (a)    Except as set forth in Section 3.8 of the Disclosure Schedule, no Seller is a
party to or bound by any collective bargaining agreement.

              (b)      Except as set forth in Section 3.8 of the Disclosure Schedule, there has been
no “mass layoff” or “plant closing” as defined by WARN and similar state and local Law, or “mass
termination” or similar event with respect to the Sellers within the last one-year period prior to
Closing.

                (c)     Each Seller (x) is in compliance in all material respects with all applicable
Laws regarding labor, employment and employment practices, including all Laws relating to terms
and conditions of employment, wages and hours, discrimination, immigration, workplace safety
and health, “mass layoffs” and “plant closings” (as those terms are defined in the WARN Act and
similar state and local Laws), classification of independent contractors, and workers’
compensation; (y) has no material grievance, arbitration proceeding, unfair labor practice charge
or complaint, pending or, to the Knowledge of the Sellers, threatened against it that arises out of
or under any Seller’s collective bargaining agreements or relates to any employee of the Sellers;
and (z) is not currently experiencing, and has received no current threat of, any strike, slowdown,

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work stoppage, picketing or lockout related to any employee of Sellers, and no such event has
occurring within the past two (2) years.

                (d)     Section 3.8(d) of the Disclosure Schedule sets forth a true, correct and
complete list, as of three (3) Business Days prior to the date of this Agreement, of all employees
of the Sellers and identifies the job title, work location, date of hire, exempt or non-exempt status,
employment status (whether active or on leave of absence), part-time or full-time, annual base
salary or regular hourly wage rate, and bonus or commission entitlement for each such employee,
as well as whether such employee is on leave and the date of such leave.

        Section 3.9    Brokers’ Fees. Other than the fees and expenses payable to Sellers’ advisors
in connection with the transactions contemplated hereby, which shall be borne by Sellers, no Seller
has entered into any Contract to pay any fees or commissions to any broker, finder, or agent with
respect to the transactions contemplated hereby for which Buyer could become liable or be
obligated to pay.

        Section 3.10 Data Privacy. In connection with its collection, storage, transfer (including
transfer across national borders) and/or use of any personally identifiable information from any
individuals, including any customers, prospective customers, employees and/or other third parties
(collectively “Personal Information”), to the Knowledge of Sellers, each Seller is and, during the
last year, has been in compliance in all material respects with applicable Laws in relevant
jurisdictions. Each Seller has commercially reasonable physical, technical, organizational and
administrative security measures in place to protect all Personal Information collected by it or on
its behalf from and against unauthorized access, use and/or disclosure in accordance with
applicable Law. To the Knowledge of Sellers, each Seller is and, during the last year, has been in
compliance in all material respects with all Laws relating to data loss, theft and breach of security
notification obligations.

         Section 3.11   Taxes.

               (a)     Sellers have timely filed all material Tax Returns required to be filed by
Sellers with respect to the Acquired Assets or the Business with the appropriate Governmental
Authorities (taking into account any extension of time to file granted or to be obtained on behalf
of Sellers);

                 (b)    All Taxes imposed on the Sellers or with respect to the Acquired Assets or
the Business that are due and owing have been paid (other than any Taxes not due as of the date
of the filing of the Bankruptcy Cases as to which subsequent payment was not required by reason
of the Bankruptcy Cases or any such Taxes that are being contested in good faith and for which
appropriate reserves have been made in accordance with GAAP);

                (c)     There are no material pending (or threatened in writing) audits,
examinations, investigations or other proceedings relating to a material amount of Taxes imposed
on the Sellers or with respect to the Acquired Assets or the Business;


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             (d)        There are no Liens relating to Taxes (other than Permitted Liens) on any
Acquired Assets;

               (e)     Sellers have withheld all material Taxes with respect to the Acquired Assets
or the Business required to be withheld and timely paid or remitted such Taxes to the appropriate
Governmental Authority;

                (f)     In the last three (3) years, no claim has been made in writing by an authority
in a jurisdiction where a Seller does not currently file Tax Returns that such Seller may be subject
to Tax by that jurisdiction with respect to the Acquired Assets or the Business; and

                  (g)   Sellers are not “foreign persons” within the meaning of section 1445(f)(3)
of the IRC.

        Section 3.12 Employee Benefits. Section 3.12 of the Disclosure Schedule lists all
material “employee benefit plans,” as defined in section 3(3) of ERISA, including any
multiemployer plans as defined in section 3(37) of ERISA, and all other material employee benefit
plans or arrangements (other than governmental plans and statutorily required benefit
arrangements), including bonus or incentive plans, deferred compensation arrangements, fringe
benefits, retention arrangements, severance pay, sick leave, vacation pay, disability, medical
insurance and life insurance maintained or contributed to by Sellers and their Subsidiaries with
respect to Covered Employees (the “Company Benefit Plans”).

         Section 3.13   Intellectual Property.

                (a)     Except as set forth on Section 3.13(a)(i) of the Disclosure Schedule and
except with respect to the Licensed Intellectual Property, Sellers own all right, title and interest in
and to the Owned Intellectual Property, free and clear of all Liens (other than Permitted Liens).
Except as set forth in Section 3.13(a)(ii) of the Disclosure Schedules or as otherwise contemplated
by this Agreement, the Transferred Intellectual Property (and the other Acquired Assets)
constitutes all product-related Intellectual Property (i.e., that is used for the branding of articles of
clothing or accessories products or with respect to the design, features, functionality or material of
such products).

                  (b)   Trademarks:

                      (i)     To the Knowledge of the Sellers, Section 3.13(b)(i) of the
Disclosure Schedule contains a complete and accurate list of all registered and applied for
Trademarks included in the Owned Intellectual Property, including for each the applicable
trademark or service mark, trademark registration numbers and registration dates, as applicable.

                         (ii)   Except as set forth on Section 3.13(b)(ii) of the Disclosure Schedule
and except with respect to any Trademark that is Licensed Intellectual Property, to the Knowledge
of the Sellers, all of the registered Trademarks included in the Transferred Intellectual Property
are subsisting and in full force and effect. To the Knowledge of the Sellers, each of the United
States registered Trademarks owned by any Seller included in the Transferred Intellectual Property
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for which filings based on continuous use have been made by Sellers have been in continuous use
in the United States or had been in continuous use in the United States at the time such filings were
made. To the Knowledge of the Sellers, none of the material trademark registrations owned by
any Seller included in the Transferred Intellectual Property is subject to any outstanding
maintenance fees or renewal actions.

                       (iii)   Except as set forth on Section 3.13(b)(iii) of the Disclosure
Schedule, to the Knowledge of Sellers, no registered Trademark owned by any Seller included in
the Transferred Intellectual Property is the subject of any opposition, invalidation or cancellation
proceeding, in each case which is pending and unresolved, and, to the Knowledge of Sellers, no
such action is threatened in writing.

                  (c)   Copyrights:

                        (i)     Section 3.13(c)(i) of the Disclosure Schedule contains a complete
and accurate list of all registered and applied for Copyrights included in the Owned Intellectual
Property, including for each the applicable copyright, copyright registration numbers and
registration dates, as applicable.

                         (ii)     Except as set forth on Section 3.13(c)(ii) of the Disclosure Schedule
and except with respect to any Copyright that is Licensed Intellectual Property, to the Knowledge
of the Sellers, all of the registered Copyrights included in the Transferred Intellectual Property are
subsisting and in full force and effect. To the Knowledge of the Sellers, each of the United States
registered Copyrights owned by any Seller included in the Transferred Intellectual Property for
which filings based on continuous use have been made by Sellers have been in continuous use in
the United States or had been in continuous use in the United States at the time such filings were
made. To the Knowledge of the Sellers, none of the material copyright registrations owned by any
Seller included in the Transferred Intellectual Property is subject to any outstanding maintenance
fees or renewal actions.

                       (iii)   Except as set forth on Section 3.13(c)(iii) of the Disclosure
Schedule, to the Knowledge of Sellers, no registered Copyright owned by any Seller included in
the Transferred Intellectual Property is the subject of any opposition, invalidation or cancellation
proceeding, in each case which is pending and unresolved, and, to the Knowledge of Sellers, no
such action is threatened in writing.

                (d)     Transferred Domain Names. To the Knowledge of the Sellers, Schedule
1.1(a) of the Disclosure Schedule contains a complete and accurate list of all Transferred Domain
Names. No Transferred Domain Names have been, during the past twelve (12) months, or are now
involved in any dispute, opposition, invalidation or cancellation proceeding and, to the Knowledge
of Sellers, no such action is threatened with respect to any Transferred Domain Names.

                  (e)   Patents.

                      (i)    To the Knowledge of the Sellers, Section 3.13(e)(i) of the Disclosure
Schedule contains a complete and accurate list of all registered and applied for Patents included in
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the Owned Intellectual Property, including for each the applicable patent, patent registration
numbers and grant dates, as applicable.

                         (ii)   Except as set forth on Section 3.13(e)(ii) of the Disclosure Schedule
and except with respect to any Patent that is Licensed Intellectual Property, to the Knowledge of
the Sellers, all of the registered Patents included in the Transferred Intellectual Property are
subsisting and in full force and effect. To the Knowledge of the Sellers, none of the material patent
registrations owned by any Seller included in the Transferred Intellectual Property is subject to
any outstanding maintenance fees or renewal actions.

                       (iii)    Except as set forth on Section 3.13(e)(iii) of the Disclosure
Schedule, to the Knowledge of Sellers, no registered Patent owned by any Seller included in the
Transferred Intellectual Property is the subject of any opposition, invalidation, cancellation, or
inter-parties proceeding, in each case which is pending and unresolved, and, to the Knowledge of
Sellers, no such action is threatened in writing.

               (f)    Except as set forth on Section 3.13(f) of the Disclosure Schedule and except
with respect to any Licensed Intellectual Property, to the Knowledge of Sellers, during the past
twelve (12) months, there has not been and there is not now any unauthorized use, infringement
or misappropriation by any third party of any of the Owned Intellectual Property.

                (g)     During the past twelve (12) months, no Seller has brought any actions or
lawsuits alleging: (i) infringement, misappropriation or other violation of any of the Transferred
Intellectual Property; or (ii) breach of any agreement authorizing a Seller to use the Transferred
Intellectual Property. Sellers have not entered into any Contract granting any third party the right
to bring infringement actions with respect to any of the Transferred Intellectual Property that will
survive the Closing.

                 (h)     To the Knowledge of Sellers, there is no pending claim or claim threatened
in writing with respect to the Owned Intellectual Property: (i) contesting the right of any Seller to
use, exercise, sell, license, transfer or dispose of any of the Transferred Intellectual Property or
any Acquired Assets; or (ii) challenging the ownership, validity or enforceability of any of the
Owned Intellectual Property. To the Knowledge of the Sellers, no Transferred Intellectual
Property is subject to any outstanding order, judgment, decree, stipulation or agreement related to
or restricting in any manner the licensing, assignment, transfer or conveyance thereof by Sellers.

                (i)      Section 3.13(i) of the Disclosure Schedule contains a listing of all
Intellectual Property Licenses. Schedule 3.13(i) also contains a listing of all Contracts to which
Sellers are a party that relates to the settlement of any claims related to the Transferred Intellectual
Property (including co-existence agreements). To the Knowledge of Sellers, except in connection
with the Bankruptcy Cases, there is no pending dispute, including any claim or threatened claim
or the existence of any facts, indicating that Sellers or any other party thereto is in breach of any
terms or conditions of such Contracts. The Sellers have not received any written notices within
the last twelve (12) months claiming that the use by the Sellers of any Licensed Intellectual
Property infringes, misappropriates or otherwise violates any Intellectual Property of any third
party
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               (j)     All material software owned, licensed, used, or otherwise held for use in the
E-Commerce Business is in good working order and condition and is sufficient in all material
respects for the purposes for which it is currently used in the E-Commerce Business, except in
each case as would not reasonably be expected to be material to Sellers and their respective
Subsidiaries taken as a whole. To the Knowledge of Sellers, Sellers have not experienced any
material defects in design, workmanship or material in connection with the use of such software
that have not been corrected. The computer software, computer hardware, firmware, networks,
interfaces and related systems used in the E-Commerce Business (collectively, “Computer
Systems”) are sufficient in all material respects for Sellers’ current needs in the operation of the
E-Commerce Business as presently conducted, and, to the Knowledge of Sellers, in the past twelve
(12) months, there have been no material failures, crashes, security breaches or other adverse
events affecting the Computer Systems which have caused material disruption to the E-Commerce
Business.

         Section 3.14   Compliance with Laws; Permits.

               (a)     Sellers are in compliance, in all material respects, with all Laws applicable
to the E-Commerce Business. Except as related to or as a result of the filing or pendency of the
Bankruptcy Cases, to the Knowledge of Sellers, since January 1, 2019, (i) none of the Sellers has
received any written notice of, or been charged with, the material violation of any Laws, and (ii)
no event has occurred or circumstance exists that (with or without notice, passage of time, or both)
would constitute or result in a failure by any Seller or its Subsidiaries to comply, in any material
respect, with any applicable Law that would have a Material Adverse Effect. Except as related to
or as a result of the filing or pendency of the Bankruptcy Cases, no investigation, review or
Litigation by any Governmental Authority in relation to any actual or alleged material violation of
Law by any Seller or its Subsidiaries is pending or, to the Knowledge of the Sellers, threatened,
nor has any Seller or any of its Subsidiaries received any written notice from any Governmental
Authority indicating an intention to conduct the same.

                (b)    To the Knowledge of Sellers, all Permits required for any Seller and its
Subsidiaries to conduct the E-Commerce Business as currently conducted by Sellers have been
obtained by any Seller and its Subsidiaries and are valid and in full force and effect. No event has
occurred that, with or without notice, passage of time, or both, would reasonably be expected to
result in the revocation, cancellation, modification, suspension, lapse, limitation, or non-renewal
of any Permit that would have a Material Adverse Effect.

                (c)     Each Seller, its Subsidiaries, their respective directors, officers, and
employees, and to the Knowledge of Sellers, each Seller’s and its Subsidiaries’ agents and
representatives are and have, since January 1, 2017 been in compliance with (i) U.S. and any
applicable foreign economic sanctions Laws and regulations, including economic sanctions
administered by the U.S. Department of the Treasury’s Office of Foreign Assets Control
(“OFAC”), and (ii) all U.S. and applicable foreign Laws and regulations relating to import and
export controls (collectively, “Trade Controls”). None of the Sellers, their Subsidiaries, their
respective officers, directors, agents, employees, or any third party acting on their behalf (A) is or
has been designated on any sanctions-related list of restricted or blocked persons, including

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OFAC’s list of “Specially Designated Nationals and Blocked Persons”, (B) is located in, organized
under the Laws of, or resident in any country or territory that is itself the subject of any economic
or financial sanctions by any Governmental Authority, or (C) owned or controlled by any Person
or Persons described in clause (A) or (B). There have been no claims, complaints, charges,
investigations, voluntary disclosures, or Litigations under Trade Controls involving any Seller or
its Subsidiaries, and to the Knowledge of the Sellers, there are no pending or threatened claims or
investigations involving suspect or confirmed violations thereof.

                (d)     No Seller nor any of their respective Subsidiaries, nor any of their respective
directors, officers, employees, or agents, nor any third parties acting on their behalf, is and since
January 1, 2017 has been engaged, directly or indirectly, in any activity in violation of (i) the
Foreign Corrupt Practices Act of 1977, as amended, (ii) any other applicable Law of a
Governmental Authority of similar effect or that relates to bribery or corruption (collectively
“Anti-Bribery Laws”), or (iii) any applicable money laundering Laws. Since January 1, 2017,
each Seller and its Subsidiaries have conducted the Business in compliance with all applicable
Anti-Bribery Laws and money laundering Laws and has instituted and maintains policies, controls
and procedures and an internal accounting system reasonably designed to ensure, and which are
reasonably expected by each Seller and its Subsidiaries to continue to ensure continued compliance
therewith and that violations of applicable Anti-Bribery Laws and money laundering Laws will be
prevented, detected and deterred. Since January 1, 2017, each Seller and its Subsidiaries have not
been the subject of or involved in any Litigations or, to the Knowledge of the Sellers, threatened
Litigations, relating to compliance with Anti-Bribery Laws or money laundering Laws, and there
have been no allegations (internal or external) against any Seller or its Subsidiaries, including its
directors, officers, employees, agents or third parties acting on any Seller’s or its Subsidiaries’
behalf regarding non-compliance with the foregoing.

        Section 3.15 Related Party Transactions. Except as set forth on Schedule 3.15 of the
Disclosure Schedule and other than the Company Benefit Plans, no officer, director or executive
committee member of any Seller or any member of their immediate family or any Affiliate of the
Sellers (a) is a party to any Contract or Lease required to be set forth on Schedule 2.6(a), or has
any material business arrangement with, or has any material financial obligations to or is owed
any financial obligations from, any Seller or, to the Knowledge of the Sellers, any actual
competitor, vendor or licensor of any Seller (each such Contract, Lease or business arrangement,
an “Affiliate Agreement”), (b) to the Knowledge of the Sellers, none of the foregoing Persons have
any cause of action or other claim whatsoever against or related to the E-Commerce Business or
the Acquired Assets, and (c) to the Knowledge of Sellers, no Seller has any direct or indirect
business arrangement with or financial obligation to the foregoing Persons.

                                       ARTICLE IV
                        BUYER’S REPRESENTATIONS AND WARRANTIES

        Buyer represents and warrants to Sellers, as of the date hereof and as of the Closing Date,
as follows:



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       Section 4.1    Organization of Buyer; Good Standing. Buyer is a limited liability
company duly organized, validly existing, and in good standing under the Laws of the state of its
formation or incorporation.

        Section 4.2      Authorization of Transaction. Buyer has full power and authority
(including full corporate or other entity power and authority) to execute and deliver this
Agreement, the Related Agreements, and all other agreements contemplated hereby to which it is
or will be a party and to perform its obligations hereunder and thereunder. The execution, delivery,
and performance of this Agreement, the Related Agreements, and all other agreements
contemplated hereby to which Buyer is or will be a party have been duly authorized by Buyer.
Upon due execution hereof by Buyer, this Agreement, the Related Agreements, and all other
agreements contemplated hereby (assuming due authorization and delivery by Sellers) shall
constitute, subject to the Bankruptcy Court’s entry of the Sale Order, the valid and legally binding
obligation of Buyer, enforceable against Buyer in accordance with its terms and conditions, subject
to applicable bankruptcy, insolvency, moratorium, or other similar Laws relating to creditors’
rights and general principles of equity.

         Section 4.3    Noncontravention. Neither the execution, delivery, or performance of this
Agreement, the Related Agreements, and all other agreements contemplated hereby, nor the
consummation of the transactions contemplated hereby and thereby (including the assignments
and assumptions referred to in Article II), will (a) conflict with or result in a breach of the
organizational documents of Buyer, (b) violate any Law or Decree to which Buyer is subject, or
(c) result in a breach of, constitute a default under, result in the acceleration of, create in any party
the right to accelerate, terminate, modify or cancel, or require any notice under any material
Contract to which Buyer is a party, except, in the case of clauses (b) and (c), for such conflicts,
violations, breaches, defaults, accelerations, rights or failures to give notice as would not,
individually or in the aggregate, reasonably be expected to prevent or materially delay Buyer’s
ability to consummate the transactions contemplated hereby.

       Section 4.4     Litigation; Decrees. There is no Litigation pending or, to the Buyer’s
knowledge, threatened in writing that challenges the validity or enforceability of this Agreement
or seeks to enjoin or prohibit consummation of the transactions contemplated hereby. Neither
Buyer nor any of its Subsidiaries is subject to any outstanding Decree that would prevent or
materially impair or delay Buyer’s ability to consummate the transactions contemplated hereby or
perform its obligations hereunder on a timely basis.

      Section 4.5    Brokers’ Fees. Buyer has not entered into any Contract to pay any fees or
commissions to any broker, finder or agent with respect to the transactions contemplated by this
Agreement for which Sellers or any of their Affiliates could become liable or obligated to pay.

       Section 4.6    Sufficient Funds; Adequate Assurances. Upon the Closing, Buyer will
have, immediately available funds sufficient for the satisfaction of all of Buyer’s obligations under
this Agreement, including the payment of the Purchase Price and all fees, expenses of, and other
amounts required to be paid by, Buyer in connection with the transactions contemplated hereby.
As of the Closing, Buyer shall be capable of satisfying the conditions contained in sections

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365(b)(1)(C) and 365(f) of the Bankruptcy Code with respect to the Transferred Contracts and
Assumed Leases and the related Assumed Liabilities.

         Section 4.7    Acknowledgements; “As Is’ “Where Is” Transaction.

           (a)  BUYER ACKNOWLEDGES THAT IT HAS RECEIVED FROM
SELLERS CERTAIN PROJECTIONS, FORECASTS, AND PROSPECTIVE OR THIRD-
PARTY INFORMATION RELATING TO SELLERS, THE BUSINESS, THE E-COMMERCE
PLATFORM, THE ACQUIRED ASSETS, THE ASSUMED LIABILITIES, AND OTHER
RELATED TOPICS. BUYER ACKNOWLEDGES THAT (I) THERE ARE UNCERTAINTIES
INHERENT IN ATTEMPTING TO MAKE SUCH PROJECTIONS AND FORECASTS AND
IN SUCH INFORMATION; (II) BUYER IS FAMILIAR WITH SUCH UNCERTAINTIES AND
IS TAKING RESPONSIBILITY FOR MAKING ITS OWN EVALUATION OF THE
ADEQUACY AND ACCURACY OF ALL PROJECTIONS, FORECASTS, AND
INFORMATION SO FURNISHED; (III) NONE OF THE SELLERS NOR ANY OTHER
PERSON MAKES ANY REPRESENTATIONS OR WARRANTIES WITH RESPECT TO
SUCH PROJECTIONS AND FORECASTS, AND (IV) NEITHER BUYER NOR ANY OTHER
PERSON SHALL HAVE ANY CLAIM AGAINST ANY SELLER OR ANY OF THEIR
RESPECTIVE AFFILIATES OR ANY OF THEIR RESPECTIVE DIRECTORS, OFFICERS,
EMPLOYEES, STOCKHOLDERS, MEMBERS, MANAGERS, PARTNERS, AFFILIATES,
AGENTS, OR OTHER REPRESENTATIVES WITH RESPECT THERETO.

            (b)  BUYER FURTHER ACKNOWLEDGES AND AGREES ON ITS OWN
BEHALF AND ON BEHALF OF ITS AFFILIATES, AND EACH OF THEIR RESPECTIVE
REPRESENTATIVES, EQUITY HOLDERS, EMPLOYEES, PERMITTED SUCCESSORS
AND ASSIGNS (COLLECTIVELY, “BUYER PARTY MEMBERS”), THAT THE
REPRESENTATIONS AND WARRANTIES MADE BY THE SELLERS TO BUYER IN
ARTICLE III (AS QUALIFIED BY THE DISCLOSURE SCHEDULE (THE “EXPRESS
REPRESENTATIONS”) ARE THE SOLE AND EXCLUSIVE REPRESENTATIONS,
WARRANTIES AND STATEMENTS OF ANY KIND MADE TO BUYER OR ANY BUYER
PARTY MEMBER ON WHICH BUYER OR ANY BUYER PARTY MAY RELY IN
CONNECTION WITH THE TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT
AND THAT ALL OTHER REPRESENTATIONS OR WARRANTIES OF ANY KIND OR
NATURE EXPRESSED OR IMPLIED, WHETHER IN WRITTEN, ELECTRONIC OR ORAL
FORM, ARE EXPRESSLY DISCLAIMED, INCLUDING WITH RESPECT TO (I) THE
COMPLETENESS OR ACCURACY OF, OR ANY OMISSION TO STATE OR TO DISCLOSE,
ANY INFORMATION, INCLUDING IN ANY MEETINGS, CALLS OR CORRESPONDENCE
WITH MANAGEMENT OF THE SELLERS OR ANY OTHER PERSON ON BEHALF OF THE
SELLERS OR ANY OF THEIR RESPECTIVE AFFILIATES OR REPRESENTATIVES (II),
ANY WARRANTY, EXPRESS OR IMPLIED, OF MERCHANTABILITY OR FITNESS FOR
ANY PARTICULAR PURPOSE AS TO ANY PORTION OF THE ACQUIRED ASSETS, AND
(III) WITH RESPECT TO THE HISTORICAL, CURRENT OR FUTURE BUSINESS,
FINANCIAL CONDITION, RESULTS OF OPERATIONS, ASSETS, LIABILITIES,
PROPERTIES, CONTRACTS, AND PROSPECTS OF THE SELLERS, THEIR
SUBSIDIARIES, THE E-COMMERCE PLATFORM OR THE BUSINESS, OR THE QUALITY,
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QUANTITY OR CONDITION OF THE ACQUIRED ASSETS, THE PHYSICAL CONDITION
OF ANY PERSONAL OR REAL PROPERTY COMPRISING A PART OF THE ACQUIRED
ASSETS OR WHICH IS THE SUBJECT OF ANY LEASE OR CONTRACT TO BE ASSIGNED
TO BUYER AT THE CLOSING, THE ENVIRONMENTAL CONDITION OR ANY OTHER
MATTER RELATING TO THE PHYSICAL CONDITION OF ANY REAL PROPERTY OR
IMPROVEMENTS, THE ZONING OF ANY SUCH REAL PROPERTY OR IMPROVEMENTS,
THE VALUE OF THE ACQUIRED ASSETS (OR ANY PORTION THEREOF), THE
TRANSFERABILITY OF THE ACQUIRED ASSETS, THE TERMS, AMOUNT, VALIDITY
OR ENFORCEABILITY OF ANY ASSUMED LIABILITIES, THE TITLE OF THE
ACQUIRED ASSETS (OR ANY PORTION THEREOF), THE MERCHANTABILITY OR
FITNESS OF THE PERSONAL PROPERTY OR ANY OTHER PORTION OF THE
ACQUIRED ASSETS FOR ANY PARTICULAR PURPOSE, OR ANY OTHER MATTER OR
THING RELATING TO THE ACQUIRED ASSETS OR ANY PORTION THEREOF.

            (c)   BUYER FURTHER ACKNOWLEDGES ON BEHALF OF THE BUYER
PARTY MEMBERS AND NOTWITHSTANDING THE EXPRESS REPRESENTATIONS,
THE BUYER HAS CONDUCTED AN INDEPENDENT INSPECTION AND
INVESTIGATION OF THE PHYSICAL CONDITION OF THE ACQUIRED ASSETS AND
ALL SUCH OTHER MATTERS RELATING TO OR AFFECTING THE ACQUIRED ASSETS
AS BUYER DEEMED NECESSARY OR APPROPRIATE AND THAT IN PROCEEDING
WITH ITS ACQUISITION, BUYER IS DOING SO BASED SOLELY UPON SUCH
INDEPENDENT INSPECTIONS AND INVESTIGATIONS. ACCORDINGLY, UPON THE
CLOSING DATE, BUYER WILL ACCEPT THE ACQUIRED ASSETS AT THE CLOSING
“AS IS,” “WHERE IS,” AND “WITH ALL FAULTS.”

                                       ARTICLE V
                                 PRE-CLOSING COVENANTS

      The Parties agree as follows with respect to the period between the execution of this
Agreement and the Closing (except as otherwise expressly stated to apply to a different period):

         Section 5.1    Efforts; Cooperation. From and after the date hereof until the Closing or
the earlier termination of this Agreement in accordance with its terms, upon the terms and subject
to the conditions set forth in this Agreement, each of the Parties shall use its commercially
reasonable efforts to take, or cause to be taken, all actions, and to do, or cause to be done, and to
assist and cooperate with the other Parties in doing, all things necessary, proper, or advisable to
consummate and make effective, in the most expeditious manner practicable, the transactions
contemplated hereby, except as otherwise specifically provided in Section 5.5. Without limiting
the generality of the foregoing, (a) each Seller shall use its commercially reasonable efforts to
cause the conditions set forth in Section 7.1 that are within its control or influence to be satisfied
or fulfilled, and (b) Buyer shall use its commercially reasonable efforts to cause the conditions set
forth in Section 7.2 that are within its control or influence to be satisfied or fulfilled.

         Section 5.2    Conduct of the Business Pending the Closing.


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               (a)    From and after the date hereof until the Closing or the earlier termination of
this Agreement in accordance with its terms, but subject to Section 5.2(c), Sellers shall, except
with the consent of Buyer or as otherwise required or restricted by Law, pursuant to the Bankruptcy
Code or an order of the Bankruptcy Court, (x) operate the Business in the Ordinary Course of
Business and (y) without limiting the generality of the foregoing:

                       (i)    use commercially reasonable efforts to keep available the services
of its officers and Covered Employees;

                        (ii)    except as related to or the result of the filing or pendency of the
Bankruptcy Cases, use commercially reasonable efforts to maintain reasonably satisfactory
relationships with licensors, licensees, suppliers, contractors, distributors, consultants, vendors and
other Persons having business relationships with the Business (other than payment of pre-petition
claims);

                       (iii)   operate the Business and Acquired Assets, in all material respects,
in compliance with all Laws applicable to the Business and Sellers. For avoidance of doubt, except
as otherwise set forth in Section 2.3(c), all inventory and Merchandise designated for sale on the
E-Commerce Platform shall not be offered for sale in any Store, and any inventory and
Merchandise designated for sale in a Store shall not be offered for sale on the E-Commerce
Platform;

                        (iv)   place orders for Merchandise in a commercially reasonable manner
that is consistent with the Buying Plan;

                        (v)    without any obligation to purchase in any quantity of Merchandise
for the E-Commerce Business that is not consistent with the Buying Plan, use commercially
reasonable efforts to receive Merchandise ordered in accordance with purchase orders;

                        (vi)   upon the written request and at the sole cost and expense of Buyer,
arrange for aircraft shipment of any Merchandise agreed to by Sellers in its reasonable discretion
that is subject to an E-Commerce Order (“Aircraft Shipping Charges”); provided, however,, that
Buyer shall reimburse (or at the request of Sellers directly pay) all costs and expenses associated
with such aircraft shipment, including without limitation, all airplane, fuel and freight costs and
associated permits, tariffs and taxes. Buyer acknowledges and agrees that any amounts paid in
connection with this Section 5.2(a)(vi) shall be in addition to the Purchase Price; and

                     (vii) use commercially reasonable efforts to identify and remove all
Allegedly Infringing Merchandise and Violative Merchandise from the Stores, the Distribution
Center and E-Commerce Business.

               (b)    Except (i) in the Ordinary Course of Business, (ii) as required by applicable
Law or by order of the Bankruptcy Court, (iii) as otherwise expressly required by this Agreement,
(iv) in accordance with the Buying Plan, or (v) with the prior written consent of Buyer, Sellers
shall not:

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                        (i)    subject any of the Acquired Assets to any Lien, except for permitted
post-petition liens and any Lien secured and granted pursuant to any debtor in possession financing
order;

                    (ii)    terminate, permit to expire, amend or fail to renew, obtain or
preserve any Permit material to the operation of the E-Commerce Business and the Acquired
Assets as a whole;

                        (iii)   make any loans or advances outside of the Ordinary Course of
Business;

                       (iv)   enter into any Contract or Lease, including purchase orders, other
than Contracts (but not Leases) with a value that do not exceed $250,000 individually or $500,000
in the aggregate;

                      (v)   incur, create, assume, guarantee or become liable for any
indebtedness for borrowed money;

                      (vi)    modify, amend, supplement, transfer, or terminate any Contract or
Lease, other than Contracts (but not Leases) which are not material to the E-Commerce Business
or the Acquired Assets;

                      (vii) fail to maintain in full force and effect any filings necessary to
maintain the material Owned Intellectual Property;

                      (viii) write up, write down or write off the book value of any assets other
than in the Ordinary Course of Business;

                       (ix)    reject any Contracts or Leases other than as set forth on Section
5.2(b)(ix) of the Disclosure Schedule;

                        (x)     make any new commitment with respect to material capital
expenditures;

                        (xi)   (a) increase the rate or terms of compensation payable or to become
payable to any of the officers or employees of the Sellers or (b) increase the rate or terms of any
(including entering or adopting any new) bonus, pension or other employee benefit plan covering
any of the officers or employees of Sellers;

                     (xii) waive any of the rights of the Sellers under any confidentiality or
non-compete provisions of any Contract;

                       (xiii) seek to accelerate the receipt of any royalty payments or licensing
or other receivables generated by the Sellers, by way of discount or otherwise;



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                        (xiv) other than acquisitions and dispositions of Merchandise in the
Ordinary Course of Business, acquire, dispose of or transfer any material asset, property or
intellectual property right;

                       (xv) pay, settle or compromise any material Litigation or threatened
Litigation involving the Sellers, or commence any Litigation;

                        (xvi)   change accounting policies or procedures, except as required by a
change in GAAP;

                      (xvii) invalidate or cause the cancellation of any current insurance
coverage (without replacement thereof) or fail to maintain current insurance coverage or suitable
renewals thereof providing coverage substantially the same as any expiring policy;

                      (xviii) fail to file any Tax Return when due with respect to the Acquired
Assets or the Business; or

                        (xix)   agree, whether in writing or otherwise, to do anything prohibited by
this Section 5.2.

                 (c)    Store Closings. Notwithstanding anything contained herein, the Company,
in its sole discretion, may determine to close and wind down one or more of the Stores (each a
“Closed Store”), and conduct “store closing sales” or other similarly themed sales (the “GOB
Sales”) for any such Closed Store through September 30, 2020; provided, however, that if a Store
is unable to conduct a GOB Sale as a result of an involuntary closure due to COVID-19 (each an
“Impacted Store”), such date shall be extended for such Impacted Store (or any other Store(s) that
Sellers designate to conduct such sales on behalf of such Impacted Store) by one day for each day
that the Impacted Store is unable to conduct a GOB Sale as a result of COVID-19; provided,
further, that (i) the aggregate number of days that such other Store(s) may be extended shall not
exceed the number of days that the Impacted Store has been closed, and (ii) any such extensions
shall terminate by no later than November 30, 2020. In connection with the wind-down, including,
but not limited to the GOB Sales, Buyer hereby grants to Sellers and its Affiliates, effective upon
the Closing, a royalty free license for the continued use of the Intellectual Property of Sellers
acquired by Buyer under this Agreement.

         Section 5.3    Bankruptcy Court Matters.

                (a)    Sellers shall seek entry of the Sale Order, the Bidding Procedures Order,
and any other necessary orders by the Bankruptcy Court to consummate the Closing as soon as
reasonably practicable following the execution of this Agreement. Buyer and Sellers understand
and agree that the transaction is subject to approval by the Bankruptcy Court. Buyer agrees that it
will promptly take such actions as are reasonably requested by Sellers to assist in obtaining entry
of the Sale Order and Bidding Procedures Order, including a finding of adequate assurance of
future performance by Buyer, including by furnishing affidavits or other documents or information
for filing with the Bankruptcy Court for the purposes, among others, of providing necessary
assurances of performance by Buyer under this Agreement and demonstrating that Buyer is a
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“good faith” purchaser under section 363(m) of the Bankruptcy Code. In the event the entry of
the Sale Order or the Bidding Procedures Order shall be appealed, Sellers shall use commercially
reasonable efforts to defend such appeal.

                (b)     Sellers shall file such motions or pleadings as may be appropriate or
necessary to: (A) assume and assign the Transferred Contracts and Assumed Leases and (B)
subject to the consent of the Buyer, determine the amount of the Cure Costs; provided that nothing
herein shall preclude Sellers from filing such motions to reject any Contracts or Leases that are
not listed on Schedule 2.6(b) or that have been designated for rejection by Buyer.

               (c)     Sellers shall promptly serve true and correct copies of all applicable
pleadings and notices in accordance with the Bidding Procedures Order, the Bankruptcy Code, the
Bankruptcy Rules and any other applicable order of the Bankruptcy Court.

         Section 5.4    Notices and Consents.

               (a)     Sellers will give, or will cause to be given, any notices to third parties, and
each of the Parties will use its commercially reasonable efforts to obtain any third party consents
or sublicenses, in connection with the matters referred to in Section 5.4(a) of the Disclosure
Schedule or as are otherwise necessary and appropriate to consummate the transactions
contemplated hereby, including the assignment to, and assumption by, Buyer or its designee of the
Transferred Contracts and the Assumed Leases; provided, however, that (i) neither Sellers nor any
Subsidiary of Sellers shall be required to pay any consideration therefor or incur any expenses in
connection therewith, (ii) Sellers shall not be obligated to initiate any Litigation or legal
proceedings to obtain such consent or approval, and (iii) Buyer shall pay any reasonable out-of-
pocket costs as a result of amendments or modifications to any Transferred Contract or Assumed
Lease, in either case as is necessary to obtain such consent or sublicense, and if Buyer refuses to
pay such costs, such Contract or Lease shall be excluded from the transactions hereunder and there
shall be no adjustment to the Purchase Price on account of such exclusion.

               (b)    Without limiting the applicability of Section 5.4(a), each of the Parties will
give any notices to, make any filings with, and use its commercially reasonable efforts to obtain
any authorizations, consents, and approvals of Governmental Authorities necessary and
appropriate to consummate the transactions contemplated hereby.

        Section 5.5      Notice of Developments. Sellers and Buyer will give prompt written notice
to the other Parties of (a) the existence of any fact or circumstance, or the occurrence of any event,
of which it has knowledge that would reasonably be likely to cause a condition to a Party’s
obligations to consummate the transactions contemplated hereby set forth in Article VII not to be
satisfied as of any date, or (b) the receipt of any notice or other communication from any
Governmental Authority in connection with the transactions contemplated by this Agreement;
provided, however, that the delivery of any such notice pursuant to this Section 5.5 shall not be
deemed to amend or supplement this Agreement and the failure to deliver any such notice shall
not constitute a waiver of any right or condition to the consummation of the transactions
contemplated hereby by any Party.

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        Section 5.6     Access. Upon the reasonable written request of Buyer, Sellers will permit
Buyer and its Representatives to have reasonable access in a manner so as not to interfere
unreasonably with the normal business operations of Sellers to all premises, properties,
information, books and records, Contracts and Leases of the Sellers to the extent reasonably
necessary in connection with the consummation of the transactions contemplated hereby;
provided, however, that, for avoidance of doubt, the foregoing shall not require any Person to
waive, or take any action with the effect of waiving, its attorney-client privilege with respect
thereto or that could reasonably be expected to result in violation of applicable Law. Buyer shall
upon reasonable notice to Sellers be permitted to contact vendors, landlords, suppliers, licensors
and licensees. Sellers shall be entitled to be present at any such meetings or during any such
communications.

        Section 5.7    Bulk Transfer Laws. Buyer acknowledges that Sellers will not comply with
the provisions of any bulk transfer Laws or similar Laws of any jurisdiction in connection with the
transactions contemplated by this Agreement, and hereby waives all claims related to the non-
compliance therewith.

         Section 5.8    Confidentiality.

               (a)    The Confidentiality Agreement shall automatically terminate in connection
with the Closing without further action by either Party thereto.

                 (b)    Following the Closing, each Seller shall, and shall cause his, her or its
respective Representatives and Affiliates (each of the foregoing, collectively, “Seller Related
Parties”) to, (i) maintain the confidentiality of, (ii) not use, and (iii) not divulge to any Person, any
confidential, non-public or proprietary information included in the Acquired Assets (“Confidential
Information”), except with the prior written consent of Buyer, or as may be required by applicable
Law; provided that such Seller and its Seller Related Parties shall not be subject to such obligation
of confidentiality for Confidential Information that is or becomes generally available to the public
without breach of this Agreement by such Seller or its Seller Related Parties. If Seller or any Seller
Related Party shall be required by applicable Law to divulge any Confidential Information, such
Seller or its Seller Related Party shall provide Buyer with prompt written notice of each such
request so that Buyer may, at Buyer’s sole expense, seek an appropriate protective order or other
appropriate remedy, and such Seller or Seller Related Party shall reasonably cooperate with Buyer
to obtain a protective order or other remedy; provided that, in the event that a protective order or
other remedy is not obtained, such Seller or Seller Related Party shall furnish only that portion of
such Confidential Information which, in the opinion of its counsel, such Seller or Seller Related
Party is legally compelled to disclose and shall exercise its commercially reasonable efforts to
obtain reliable assurance that confidential treatment will be accorded any such Confidential
Information so disclosed.

       Section 5.9     Standby Letters of Credit. At or prior to Closing, Buyer shall replace each
Standby Letter of Credit set forth on Schedule 5.9 by either (i) causing the termination, expiration
or cancellation and return of all outstanding Standby Letters of Credit, and/or (ii) with respect to
each such Standby Letter of Credit, the furnishing to such issuing bank a cash deposit, or at the

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discretion of such issuing bank, a backup standby letter of credit satisfactory to the issuing bank,
in an amount equal to 105% of the principal amount of the applicable Standby Letter(s) of Credit.
Buyer acknowledges and agrees that it shall be solely responsible for ensuring that any credit
support provided pursuant to this Section 5.9 satisfies all of the credit support provisions of the
applicable Transferred Contract or Assumed Lease to which it relates. Sellers will cooperate with
Buyer in connection with the performance of Buyer’s obligations under this Section 5.9.

        Section 5.10 Store Acquisitions. Buyer has designated the Assumed Leases which it
desires be assigned to its designated affiliates pursuant to the Designation Rights. Except as may
be otherwise waived by Buyer, the assignment and assumption of the Designated Leases shall be
contingent on (i) no objection from the landlord to said Designated Lease, (ii) amendment of any
Designated Lease as reasonably required by Buyer, and (iii) payment by Buyer of all Cure
Amounts associated with such Designated Lease (or such amount agreed to between the applicable
landlord and Buyer).

         Section 5.11 Return Policy. On or before August 8, 2020, Sellers shall amend the return
policy for its E-Commerce Business such that any Merchandise purchased on or after August 8,
2020 shall be subject to a fifteen (15) day return policy. Buyer may direct Sellers to designate any
or all sales on the E-Commerce Platform at promotional discounts outside the ordinary course as
“Final Sale” with no right of return.

                                         ARTICLE VI
                                      OTHER COVENANTS

         The Parties agree as follows with respect to the period from and after the Closing:

         Section 6.1    Further Assurances.

                 (a)      If, following the Closing, Buyer or any Seller becomes aware that Buyer or
any of its Affiliates is in possession of any asset or right that is an Excluded Asset, such Party shall
promptly inform the other Party of that fact. Thereafter, at the request of any Seller, Buyer shall
execute, or cause the relevant Affiliate(s) of Buyer to execute, such documents as may be
reasonably necessary to cause the transfer of, and Buyer shall thereafter transfer, any such asset or
right to Sellers or such other entities nominated by such Sellers for no consideration and such
Sellers shall do all such things as are reasonably necessary to facilitate such transfer. If, following
the Closing, Buyer receives any payments in respect of an Excluded Asset, Buyer shall promptly
remit such payments to the applicable Sellers or other entity nominated by such Sellers.

                 (b)      If, following Closing, Buyer or any Seller becomes aware that a Seller or
any of its Affiliates is in possession of any asset or right that is an Acquired Asset, such Party shall
promptly inform the other Party of that fact. Thereafter, at the request of Buyer, the applicable
Sellers shall execute or cause the relevant Affiliate(s) of such Sellers to execute such documents
as may be reasonably necessary to cause the transfer of and such Sellers shall thereafter transfer
any such asset or right to Buyer or any other entities nominated by Buyer for no consideration and
Buyer shall do all such things as are reasonably necessary to facilitate such transfer. If, following

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the Closing, a Sellers or its Affiliates receive any payments in respect of the Acquired Assets, such
Sellers shall promptly remit such payments to Buyer or other entity nominated by Buyer.

                (c)     From and after the Closing, Sellers hereby authorize and empower Buyer
and its Affiliates to receive and open all mail and other communications (including electronic
communications) received by Buyer or its Affiliates relating to the E-Commerce Business or the
Acquired Assets and to deal with the contents of such communications. From and after the
Closing, Sellers shall promptly deliver or cause to be delivered to Buyer any mail or other
communication (including electronic communications) received by Sellers or any of their
respective Affiliates after the Closing Date pertaining to the E-Commerce Business or the
Acquired Assets, and if Sellers or any of their respective Affiliates receive from any Person after
the Closing Date any telephone calls with respect to the E-Commerce Business or the Acquired
Assets at any telephone number not transferred to Buyer, Sellers shall inform such Person that the
telephone number for the E-Commerce Business has changed and provide such Person with, and
forward such call to, such telephone number for the E-Commerce Business as is supplied by Buyer.

         Section 6.2    Access; Enforcement; Record Retention. From and after the Closing, upon
request by any Party (the “Requesting Party”), the other Parties will, and will cause its employees
to, permit such Requesting Party and its Representatives to have reasonable access during normal
business hours, and in a manner so as not to interfere unreasonably with the normal business
operations of such Party, to all premises, properties, personnel, books and records, and Contracts
or Leases of such Party for the purposes of (a) monitoring or enforcing rights or obligations under
this Agreement or any of the Related Agreements, (b) complying with the requirements of any
Governmental Authority, and (c) otherwise providing such reasonable assistance and cooperation
as may be requested by Buyer from time to time prior to the Closing Date to reasonably facilitate
the transition of the E-Commerce Business; provided, however, that, for avoidance of doubt, the
foregoing shall not require a Party to take any such action if (i) such action would reasonably be
expected to result in a waiver or breach of any attorney/client privilege, (ii) such action would
reasonably be expected to result in violation of applicable Law, or (iii) providing such access or
information would be reasonably expected to be materially disruptive to its normal business
operations. Without limiting the generality of the foregoing, from and after the Closing, Buyer
will provide Sellers (at no added cost or expense to Buyer) with reasonable assistance, support and
cooperation with Sellers’ wind-down and related activities (e.g., helping to locate documents or
information related to prosecution or processing of insurance/benefit claims); provided that such
assistance, support and cooperation does not interfere unreasonably with the normal business
operations of Buyer. Buyer agrees to maintain the files or records which are contemplated by the
first sentence of this Section 6.2 in a manner consistent in all material respects with its document
retention and destruction policies, as in effect from time to time, for six (6) years following the
Closing.

       Section 6.3     Covered Employees.          Buyer may negotiate and extend offers of
employment to some or all of Covered Employees whom it desires to hire in its sole discretion,
which offers shall be on terms and conditions which Buyer shall determine in its sole discretion.
Buyer shall notify Sellers, in writing, as to which Covered Employees it desires to hire by no later
than September 15, 2020. Without limiting the generality of this 6.3 or Section 6.4 below, no
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provision of this Agreement shall create any third party beneficiary rights in any current or former
employee or service provider of any Sellers, including any Covered Employee or employee who
accepts an offer of employment by Buyer (each a “Transferred Employee”) (including any
beneficiary or dependent thereof) in respect of continued employment by the Sellers or its
Affiliates or Buyer or its Affiliates or otherwise. Nothing herein shall (i) guarantee employment
for any period of time or preclude the ability of Buyer or any of its Affiliates to terminate any
Transferred Employee for any reason, (ii) require Buyer or any of its Affiliates to continue any
Company Benefit Plans, employee benefit plans or arrangements or prevent the amendment,
modification or termination thereof after the Closing, or (iii) constitute an amendment to any
Company Benefit Plan, employee benefit plans or arrangements.

         Section 6.4    Cooperation; Pre-Closing Obligations.

                (a)      After the Closing Date, Buyer shall, and shall cause its Affiliates to,
cooperate with Sellers to provide such current information regarding the Transferred Employees
on an ongoing basis as may be necessary to facilitate determinations of eligibility for, and
payments of benefits to, the Transferred Employees under any applicable employee benefit that
continues to be maintained by Sellers or its Affiliates. Without limiting the terms of Section 6.2,
Buyer shall, and shall cause its Affiliates to, permit Transferred Employees to provide such
assistance to Sellers as may be required in respect of claims against Sellers or its Affiliates, whether
asserted or threatened, to the extent that, in Sellers’ opinion, (i) a Transferred Employee has
knowledge of relevant facts or issues or (ii) a Transferred Employee’s assistance is reasonably
necessary in respect of any such claim.

                (b)    Except for any Assumed Liabilities, Sellers will have the sole and absolute
responsibility for any financial or other commitments to their employees for the period prior to
Closing, including any and all claims or obligations for severance pay and any and all claims and
obligations arising under any collective bargaining agreement, employee benefit plan (including,
any withdrawal Liability) or any local, state or federal law, rule or regulation (including, the
WARN Act). Nothing contained herein shall be deemed an admission that Sellers have any
financial obligation to employees or that obligations, if any, are entitled to a particular treatment
or priority under the Bankruptcy Code. Sellers’ failure to pay an obligation, if any, under this
Section 6.4 shall not be a default or breach under this Agreement unless such failure causes a
Material Adverse Effect.

         Section 6.5    Certain Tax Matters.

               (a)     Transfer Taxes. Buyer shall be responsible for and shall pay all stamp,
documentary, filing, recording, registration, sales, use, transfer, added-value or other non-income
Tax, fee or governmental charge (a “Transfer Tax”) imposed under applicable Law in connection
with the transactions contemplated hereby. The Party that is required by applicable Law to file
any Tax Returns in connection with Transfer Taxes described in the immediately preceding
sentence shall prepare and timely file such Tax Returns. Accordingly, if Seller is required by Law
to pay any such Transfer Taxes, Buyer shall promptly reimburse Seller for the amount of such
Transfer Taxes required to be borne by Sellers (including the cost associated with preparing and

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filing any such Tax Returns). The Parties hereto shall cooperate to permit the filing Party to
prepare and timely file any such Tax Returns.

                (b)     Tax Returns. Except as provided with respect to Transfer Taxes in Section
6.5(a), from and after the Closing, the applicable Seller, at its sole cost and expense, shall file (or
cause to be filed) all Tax Returns with respect to any Retained Tax, and Buyer, at its sole cost and
expense, shall file (or caused to be filed) all Tax Returns with respect to any Assumed Tax.

                (c)     Tax Refunds. All refunds for Taxes for any Retained Tax shall be for the
sole benefit of Sellers and to the extent that Buyer (or any Affiliate thereof) receives a refund of
any Retained Tax, Buyer shall promptly pay such refund (without interest, other than interest
received from the applicable Governmental Authority, and net of any Taxes or other reasonable
third-party out-of-pocket expenses incurred by Buyer in connection with the receipt of such
refund) to Sellers. All refunds for Taxes relating to the Assumed Taxes shall be for the sole benefit
of Buyer and to the extent that any Seller or any of their Affiliates receives a refund for a Tax that
is for the benefit of Buyer, Sellers shall promptly pay such refund (without interest, other than
interest received from the applicable Governmental Authority, and net of any Taxes or other
reasonable third party out-of-pocket expenses incurred by Seller in connection with the receipt of
such refund) to Buyer.

                (d)    Cooperation. Buyer and Sellers shall reasonably cooperate (i) in the
preparation and timely filing of any Tax Return relating to the Business, the Acquired Assets, or
the Assumed Liabilities; (ii) in any audit or other proceeding with respect to Taxes or Tax Returns
relating to the Business, the Acquired Assets, or the Assumed Liabilities; (iii) make available any
information, records, or other documents relating to any Taxes or Tax Returns relating to the
Business, the Acquired Assets, or the Assumed Liabilities; and (iv) provide certificates or forms,
and timely execute any Tax Return, that are necessary or appropriate to establish an exemption for
(or reduction in) any Transfer Tax.

                (e)    Tax Proceedings. Sellers, at their sole cost and expense, shall control any
audits or other proceedings relating to Retained Taxes. Buyer, at its sole cost and expense, shall
control any audits or other proceedings relating to Assumed Taxes.

        Section 6.6    Press Releases and Public Announcements. No Party shall issue any press
release or make any public announcement relating to the existence or subject matter of this
Agreement without the prior written approval of the other Parties, unless a press release or public
announcement is required by applicable Law or a Decree of the Bankruptcy Court. If any such
announcement or other disclosure is required by applicable Law or a Decree of the Bankruptcy
Court, the disclosing Party shall give the nondisclosing Parties prior notice of, and an opportunity
to comment on, the proposed disclosure. The Parties acknowledge that Sellers shall file this
Agreement with the Bankruptcy Court in connection with obtaining the Sale Order.

         Section 6.7    Personally Identifiable Information.



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                (a)    Buyer acknowledges that the Acquired Assets include “personally
identifiable information” within the meaning of section 363(b) of the Bankruptcy Code, along with
associated information about Sellers’ customers.

               (b)     Buyer shall: (i) employ appropriate security controls and procedures
(technical, operational, and managerial) to protect the Customer Information; (ii) abide by all
applicable laws and regulations with respect to the Customer Information; and (iii) take any such
actions as may be agreed between Sellers and Buyer.

              (c)    Buyer shall honor all prior requests by any individual who has opted out of
receiving marketing messages from Sellers.

                (d)    Buyer may use the Customer Information solely for the purpose of
continuing Sellers’ E-Commerce Business operations and continuing to provide similar goods and
services to individuals.

        Section 6.8      No Successor Liability. The Parties intend, and the Sale Order shall
provide, that upon the Closing the Buyer and their respective Affiliates shall not and shall not be
deemed to: (a) be a successor (or other such similarly situated party), or otherwise be deemed a
successor, to Sellers, including, a “successor employer” for the purposes of the IRC, the Employee
Retirement Income Security Act of 1974, or other applicable Laws; (b) have any responsibility or
Liability for any obligations of Sellers, or any affiliate of Sellers based on any theory of successor
or similar theories of Liability; (c) have, de facto or otherwise, merged with or into any of Sellers;
(d) be an alter ego or a mere continuation or substantial continuation of any of Sellers (and there
is no continuity of enterprise between the Buyer and any Sellers), including, within the meaning
of any foreign, federal, state or local revenue, pension, ERISA, tax, labor, employment,
environmental, or other Law, rule or regulation (including filing requirements under any such
Laws, rules or regulations), or under any products liability Law or doctrine with respect to Sellers’
Liability under such Law, rule or regulation or doctrine; or (e) be holding itself out to the public
as a continuation of any of Sellers or their respective estates.

        Section 6.9     Transition Services. Promptly following the date hereof, but with the final
terms to be agreed on in any event no later than September 15, 2020, the Parties agree to negotiate
in good faith the terms of, and enter into effective as of the Closing, a transition services agreement
(the “TSA”).

        Section 6.10 Confirmation Order. Sellers shall not propose, file, support, pursue or seek
entry of, or aid in another party proposing, filing, supporting, pursuing or seeking entry of, an order
confirming a chapter 11 plan that adversely impacts Buyer’s rights hereunder without Buyer’s
prior written consent. For the avoidance of doubt, notwithstanding any other provision of this
Agreement, this Section 6.10 shall survive the Closing.

       Section 6.11 Limited License Agreement. For no additional consideration, Buyer hereby
irrevocably grants to Sellers access to, and an irrevocable, royalty free license to use the computer
hardware, software and infrastructure associated with the E-Commerce Business and necessary
Business Records to complete the GOB Sales (which GOB Sales are subject to Section 5.2(c)) and
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the Sellers’ plan of reorganization, provided that Sellers shall be liable for any incremental costs
to Buyer as a result of Sellers’ use of such hardware, software or infrastructure, as determined by
Buyer and Sellers in good faith.

                                   ARTICLE VII
                        CONDITIONS TO OBLIGATION TO CLOSE

        Section 7.1    Conditions to Buyer’s Obligations. Buyer’s obligation to consummate the
purchase of the Acquired Assets and the assumption of the Assumed Liabilities is subject to
satisfaction or waiver by Buyer of the following conditions:

                 (a)     (i) The representations and warranties of Sellers set forth in Section 3.1,
Section 3.2, Section 3.4, Section 3.9, (the “Seller Fundamental Representations”) shall be true and
correct in all respects as of the date hereof and as of the Closing Date, as though made at and as of
the Closing Date, except to the extent any such Seller Fundamental Representations expressly
relate to an earlier time (in which case such Seller Fundamental Representations shall be true and
correct in all respects at and as of such earlier time), and (ii) all representations and warranties of
the Sellers in this Agreement (other than the Seller Fundamental Representations) shall be true and
correct, without regard to any qualifications as to “material”, “materiality”, or “Material Adverse
Effect” (or any correlative terms), as of the date hereof and as of the Closing Date, as though made
at and as of the Closing Date, except to the extent such representations and warranties expressly
relate to an earlier time (in which case such representations and warranties shall be true and correct
at and as of such earlier time), except where the failure of such representations and warranties to
be true and correct has not had, and would not reasonably be expected to have, individually or in
the aggregate, a Material Adverse Effect;

                 (b)    Sellers shall have performed and complied in all material respects with the
obligations and covenants required by this Agreement to be performed or complied with by Sellers
at or prior to the Closing;

               (c)     Buyer shall have received a certificate, dated as of the Closing Date and
executed by an executive officer authorized to sign on behalf of the Sellers, stating that the
conditions specified in Section 7.1(a), and Section 7.1(b) have been satisfied;

                (d)   The Bankruptcy Court shall have entered the Sale Order and no order
staying, reversing, modifying or amending the Sale Order shall be in effect on the Closing Date;

               (e)    No material Decree shall be in effect that prohibits consummation of the
transactions contemplated by this Agreement;

              (f)     Each delivery contemplated by Section 2.5(b) to be delivered to Buyer shall
have been delivered; and

               (g)     The Bankruptcy Court shall have entered the Bidding Procedures Order,
and no order staying, reversing, modifying or amending the Bidding Procedures Order shall be in
effect on the Closing Date.
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        Section 7.2    Conditions to Sellers’ Obligations. Sellers’ obligations to consummate the
sale of the Acquired Assets and the transfer of the Assumed Liabilities are subject to satisfaction
or waiver by the Sellers of the following conditions:

                 (a)     The representations and warranties of Buyer made in this Agreement shall
be true and correct in all respects as of the date hereof and as of the Closing Date as though made
at and as of the Closing Date, except to the extent such representations and warranties expressly
relate to an earlier time (in which case such representations and warranties shall be true and correct
at and as of such earlier time), in each case except for such failure to be so true and correct that,
individually or in the aggregate, have not had, and would not reasonably be expected to have, a
material adverse effect on the ability of Buyer to consummate the transactions contemplated by
this Agreement;

                 (b)    Buyer shall have performed and complied in all material respects with the
obligations and covenants required by this Agreement to be performed or complied with by Buyer
at or prior to the Closing;

               (c)     Sellers shall have received a certificate, dated as of the Closing Date and
executed by an executive officer authorized to sign on behalf of Buyer, stating that the conditions
specified in Section 7.2(a) and Section 7.2(b) have been satisfied;

                (d)   The Bankruptcy Court shall have entered the Sale Order, and no Order
staying, reversing, modifying, or amending the Sale Order shall be in effect on the Closing Date;

               (e)    No material Decree shall be in effect that prohibits consummation of any of
the transactions contemplated by this Agreement;

              (f)     Each delivery contemplated by Section 2.5(c) to be delivered to Sellers shall
have been delivered; and

               (g)     The Bankruptcy Court shall have entered the Bidding Procedures Order,
and no order staying, reversing, modifying or amending the Bidding Procedures Order shall be in
effect on the Closing Date.

       Section 7.3      No Frustration of Closing Conditions. Neither Buyer nor Sellers may rely
on the failure of any condition to their respective obligations to consummate the transactions
contemplated hereby set forth in this Article VII to be satisfied if such failure was primarily caused
by such Party’s or its Affiliates’ failure to comply with the terms of this Agreement in all material
respects.

                                          ARTICLE VIII
                                         TERMINATION

       Section 8.1     Termination of Agreement. The Parties may terminate this Agreement at
any time prior to the Closing as provided below:

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                  (a)   by the mutual written consent of the Parties;

                  (b)   by any Party by giving written notice to the other Parties if:

                        (i)     any court of competent jurisdiction or other competent
Governmental Authority shall have enacted or issued a Law or Decree or taken any other action
permanently restraining, enjoining or otherwise prohibiting the consummation of the transactions
contemplated by this Agreement and such Law or Decree or other action shall have become final
and non-appealable; provided, however, that the right to terminate this Agreement under this
Section 8.1(b)(i) shall not be available to a Party if the failure to consummate the Closing because
of such action by a Governmental Authority shall be due to the failure of such Party to have
fulfilled, in any material respect, any of its obligations under this Agreement; or

                       (ii)  the Closing shall not have occurred on or prior to October 1, 2020,
(the “Outside Date”); provided, that Buyer and Sellers shall use commercially reasonable efforts
to consummate the Closing by September 15, 2020; provided further that Buyer and Sellers shall
cause the Closing to occur as soon as reasonably practicable following the satisfaction of all
conditions to Closing.

                (c)     by Buyer by giving written notice to Sellers if there has been a breach by
any Seller of any representation, warranty, covenant, or agreement contained in this Agreement
that has prevented the satisfaction of the conditions to the obligations of Buyer at Closing set forth
in Section 7.1(a) or Section 7.1(b) and such breach has not been waived by Buyer, or, if such
breach is curable, cured by such Seller prior to the earlier to occur of (A) five (5) days after receipt
of Buyer’s notice of intent to terminate, and (B) one (1) Business Day prior to the Outside Date;
provided that Buyer shall not have a right of termination pursuant to this Section 8.1(c) if Sellers
could, at such time, terminate this Agreement pursuant to Section 8.1(d);

                (d)     by Sellers by giving written notice to Buyer if there has been a breach by
Buyer of any representation, warranty, covenant, or agreement contained in this Agreement that
has prevented the satisfaction of the conditions to the obligations of Sellers at Closing set forth in
Section 7.2(a) or Section 7.2(b), and such breach has not been waived by Sellers, or, if such breach
is curable, cured by Buyer prior to the earlier to occur of (A) five (5) days after receipt of Sellers’
notice of intent to terminate, and (B) one (1) Business Day prior to the Outside Date; provided that
Sellers shall not have a right of termination pursuant to this Section 8.1(d) if Buyer could, at such
time, terminate this Agreement pursuant to Section 8.1(c);

                (e)     by Sellers or Buyer, if the Bankruptcy Court enters a final, non-appealable
order that precludes the consummation of the transactions contemplated hereby on the terms and
conditions set forth in this Agreement;

               (f)    by Sellers or Buyer, if, prior to the Closing, the Bankruptcy Cases are
dismissed or converted to a case or cases under Chapter 7 of the Bankruptcy Code;

             (g)        by Buyer if Sellers withdraw or seek authority to withdraw the Bidding
Procedures Motion;
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               (h)     by Buyer if (i) following entry by the Bankruptcy Court of the Bidding
Procedures Order, such order is (x) amended, modified or supplemented in an adverse way without
Buyer’s prior written consent or (y) voided, reversed or vacated or is subject to a stay, or (B)
following entry by the Bankruptcy Court of the Sale Order, the Sale Order is (x) amended,
modified or supplemented in an adverse way without Buyer’s prior written consent or (y) voided,
reversed or vacated or is subject to a stay;

                  (i)     by Sellers if (i) all of the conditions set forth in Section 7.2 have been
satisfied (other than conditions that by their nature are to be satisfied at the Closing, but subject to
the satisfaction or waiver of such conditions at the Closing) or waived in an irrevocable writing by
Sellers, (ii) at or following the time at which the Closing was required to occur pursuant to Section
2.4, Sellers have irrevocably confirmed in writing to Buyer that Sellers are ready, willing, and able
to consummate the Closing, and (iii) Buyer fails to consummate the Closing within three (3)
Business Days of receipt of the writing described in clause (ii); or

               (j)      by Sellers, if any Seller or the board of directors (or similar governing body)
of any Seller, based on the advice of outside counsel, determines that proceeding with the
transactions contemplated by this Agreement or failing to terminate this Agreement would be
inconsistent with its or such Person’s or body’s fiduciary duties.

         Section 8.2    Effect of Termination.

               (a)     If any Party terminates this Agreement pursuant to Section 8.1, all rights
and obligations of the Parties hereunder shall terminate upon such termination and shall become
null and void (except that Article I, Section 2.3(b), Article IX, and this Section 8.2 shall survive
any such termination) and no Party shall have any Liability to the other Parties hereunder;
provided, however, that nothing in this Section 8.2 shall relieve any Party from Liability for any
willful breach occurring prior to any such termination set forth in this Agreement.

                (b)     Notwithstanding anything contained herein to the contrary, in the event that
the Sellers terminate this Agreement pursuant to Section 8.1(d) or Section 8.1(i), the Deposit,
together with all accrued investment income thereon, if any, shall be delivered to Sellers in
accordance with Section 2.3(b)(ii) (within three (3) Business Day following the date of any such
termination). The Sellers’ receipt of the Deposit, together with all accrued investment income
thereon, if any, shall constitute liquidated damages (and not a penalty) in a reasonable amount that
will compensate Sellers in the circumstances in which this Agreement is terminated pursuant to
Section 8.1(d) or Section 8.1(i).

                                          ARTICLE IX
                                        MISCELLANEOUS

       Section 9.1     Survival. Except for any covenant that by its terms is to be performed (in
whole or in part) by any Party following the Closing, none of the representations, warranties, or
covenants of any Party set forth in this Agreement or in any certificate delivered pursuant to
Section 7.1(c) or Section 7.2(c) shall survive, and each of the same shall terminate and be of no

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further force or effect as of, the Closing. Any covenants or obligations hereunder to be performed
from and after the Closing shall survive until completion in accordance with the terms thereof.

        Section 9.2    Expenses. Each Party will bear its own costs and expenses incurred in
connection with this Agreement and the transactions contemplated hereby, including all fees of
law firms, commercial banks, investment banks, accountants, public relations firms, experts and
consultants. For the avoidance of doubt, Buyer shall pay all recording fees arising from the
transfer of the Acquired Assets.

        Section 9.3     Entire Agreement. This Agreement, the Related Agreements and the
Confidentiality Agreement constitute the entire agreement between the Parties and supersede any
prior understandings, agreements or representations (whether written or oral) by or between the
Parties to the extent they relate in any way to the subject matter hereof.

        Section 9.4 Incorporation of Exhibits and Disclosure Schedule. The Exhibits to this
Agreement and the Disclosure Schedule are incorporated herein by reference and made a part
hereof.

        Section 9.5    Amendments and Waivers. No amendment of any provision of this
Agreement shall be valid unless the same shall be in writing and signed by the Company and the
Buyer. No waiver of any breach of this Agreement shall be construed as an implied amendment
or agreement to amend or modify any provision of this Agreement. No waiver by any Party of
any default, misrepresentation or breach of warranty or covenant hereunder, whether intentional
or not, shall be valid unless the same shall be in writing and signed by the Party making such
waiver, nor shall such waiver be deemed to extend to any prior or subsequent default,
misrepresentation or breach of warranty or covenant hereunder or affect in any way any rights
arising by virtue of any prior or subsequent default, misrepresentation or breach of warranty or
covenant. No conditions, course of dealing or performance, understanding or agreement
purporting to modify, vary, explain, or supplement the terms or conditions of this Agreement shall
be binding unless this Agreement is amended or modified in writing pursuant to the first sentence
of this Section 9.5 except as expressly provided herein. Except where a specific period for action
or inaction is provided herein, no delay on the part of any Party in exercising any right, power or
privilege hereunder shall operate as a waiver thereof.

         Section 9.6    Succession and Assignment.

                 (a)      This Agreement shall be binding upon and inure to the benefit of the Parties
and their respective successors and permitted assigns. No Party may assign either this Agreement
or any of its rights, interests, or obligations hereunder without the prior written consent of the other
Parties.

               (b)     Notwithstanding the foregoing, Buyer may, without the consent of Sellers,
designate, in accordance with the terms of this paragraph and effective as of the Closing, one or
more Affiliates to acquire all, or any portion of, the Acquired Assets and assume all or any portion
of the Assumed Liabilities or pay all or any portion of the Purchase Price; provided that, such
assignment shall not relieve the Buyer of its obligations under this Agreement. The above
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designation may be made by Buyer by written notice to Sellers at any time prior to the Closing
Date. The Parties agree to modify any Closing deliverables in accordance with the foregoing
designation.

        Section 9.7     Notices. All notices, requests, demands, claims and other communications
hereunder shall be in writing except as expressly provided herein. Any notice, request, demand,
claim, or other communication hereunder shall be deemed duly given (a) when delivered
personally to the recipient; (b) one (1) Business Day after being sent to the recipient by reputable
overnight courier service (charges prepaid); (c) on the day such communication was received by
e-mail; or (d) three (3) Business Days after being mailed to the recipient by certified or registered
mail, return receipt requested and postage prepaid, and addressed to the intended recipient as set
forth below:

                        If to any Seller:      330 W. 34th Street
                                               9th Floor
                                               New York, New York 10001
                                               Attention: Sheamus Toal
                                               E-mail: stoal@retailwinds.com

                        With a copy (which shall not constitute notice to Sellers) to:

                                              Cole Schotz P.C.
                                              1325 Avenue of the Americas, 19th Floor
                                              New York, New York 10019
                                              Attention: Michael D. Sirota and
                                              Roger M. Iorio, Esq.
                                              E-mail: msirota@coleschotz.com
                                              riorio@coleschotz.com

                        If to Buyer:           Saadia Group, LLC
                                               1 West 34th Street, 10th Floor
                                                New York, New York 10001
                                               Attention: Arvee Claravali

                        With a copy (which shall not constitute notice to Buyer) to:

                                               Armstrong Teasdale LLP
                                               919 Third Avenue, 37th Floor
                                               New York, N.Y. 10022
                                               Attention: Jeffery D. Dayon
                                               E-mail: Jdayon @Atllp.com

                                               and



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                                              Robinson & Cole LLP
                                              1201 North Market Street
                                              Suite 1406
                                              Wilmington, DE 19801
                                              Attention: Jamie L. Edmonson
                                              E-mail: jedmonson@rc.com


Any Party may change the address to which notices, requests, demands, claims and other
communications hereunder are to be delivered by giving the other Parties notice in the manner set
forth in this Section 9.7.

        Section 9.8     Governing Law. This Agreement shall be governed by and construed in
accordance with the internal Laws of the State of New York (without giving effect to the
principles of conflict of Laws of any jurisdiction that would cause the application of the Law of a
jurisdiction other than New York), except to the extent that the Laws of such state are superseded
by the Bankruptcy Code.

        Section 9.9     Submission to Jurisdiction; Service of Process. Each of the Parties
irrevocably and unconditionally submits to the exclusive jurisdiction of the Bankruptcy Court in
any Litigation arising out of or relating to this Agreement or any Related Agreement or the
transactions contemplated hereby or thereby and agrees that all claims in respect of such Litigation
may be heard and determined in any such court. Each Party also agrees not to (a) attempt to deny
or defeat such exclusive jurisdiction by motion or other request for leave from the Bankruptcy
Court or (b) bring any action or proceeding arising out of or relating to this Agreement or any
Related Agreement or the transactions contemplated hereby or thereby in any other court. Each
of the Parties irrevocably and unconditionally waives any objection to the laying of venue in, and
any defense of inconvenient forum to the maintenance of, any Litigation so brought and waives
any bond, surety or other security that might be required of any other Party with respect thereto.
Any Party may make service on any other Party by sending or delivering a copy of the process to
the Party to be served at the address and in the manner provided for the giving of notices in Section
9.7; provided, however, that nothing in this Section 9.9 shall affect the right of any Party to serve
legal process in any other manner permitted by law or in equity. Each Party agrees that a final
judgment in any Litigation so brought shall be conclusive and may be enforced by Litigation or in
any other manner provided by law or in equity. The Parties intend that all foreign jurisdictions
will enforce any Decree of the Bankruptcy Court in any Litigation arising out of or relating to this
Agreement or any Related Agreement or the transactions contemplated hereby or thereby.

     Section 9.10 Waiver of Jury Trial. EACH PARTY IRREVOCABLY AND
UNCONDITIONALLY WAIVES ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN
RESPECT OF ANY LITIGATION ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR ANY RELATED AGREEMENTS OR THE TRANSACTIONS
CONTEMPLATED HEREBY OR THEREBY.


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        Section 9.11 Specific Performance. The Parties shall be entitled to an injunction or
injunctions to enforce specifically the Parties’ respective covenants and agreements under this
Agreement, without the requirement of posting a bond or other security or making a showing of
irreparable harm.

        Section 9.12 Severability. The invalidity or unenforceability of any provision of this
Agreement shall not affect the validity or enforceability of any other provisions of this Agreement.
In the event that any of the provisions of this Agreement shall be held by any Governmental
Authority to be illegal, invalid or unenforceable, such provisions shall be limited or eliminated
only to the minimum extent necessary so that this Agreement shall otherwise remain in full force
and effect.

       Section 9.13 No Third-Party Beneficiaries. This Agreement shall not confer any rights
or remedies upon any Person other than Buyer, each Seller, and their respective successors and
permitted assigns.

         Section 9.14 Non-Recourse. All claims or causes of action (whether in contract or in
tort, in law or in equity, or granted by statute) that may be based upon, in respect of, arise under,
out or by reason of, be connected with, or related in any manner to this Agreement or the Related
Agreements may be made only against (and are expressly limited to) the Persons that are expressly
identified as parties hereto or thereto (the “Contracting Parties”). In no event shall any Contracting
Party have any shared or vicarious Liability for the actions or omissions of any other Person. No
Person who is not a Contracting Party, including any director, officer, employee, incorporator,
member, partner, manager, stockholder, Affiliate, agent, attorney or representative of, and any
financial advisor or lender to, any of the foregoing (“Non-Party Affiliates”), shall have any
Liability (whether in contract or in tort, in law or in equity, or granted by statute or based upon any
theory that seeks to impose Liability of an entity party against its owners or affiliates) for any
claims, causes of action, obligations or Liabilities arising under, out of, in connection with or
related in any manner to this Agreement or the Related Agreements or based on, in respect of, or
by reason of this Agreement or the Related Agreements or their negotiation, execution,
performance or breach; and, to the maximum extent permitted by Law, each Contracting Party
waives and releases all such Liabilities, claims and obligations against any such Non-Party
Affiliates. Without limiting the foregoing, to the maximum extent permitted by Law, (a) each
Contracting Party hereby waives and releases any and all rights, claims, demands, or causes of
action that may otherwise be available at law or in equity, or granted by statute, to avoid or
disregard the entity form of a Contracting Party or otherwise impose Liability of a Contracting
Party on any Non-Party Affiliate, whether granted by statute or based on theories of equity, agency,
control, instrumentality, alter ego, domination, sham, single business enterprise, piercing the veil,
unfairness, undercapitalization, or otherwise; and (b) each Contracting Party disclaims any reliance
upon any Non-Party Affiliates with respect to the performance of this Agreement or the Related
Agreements or any representation or warranty made in, in connection with, or as an inducement to
this Agreement or the Related Agreements.

       Section 9.15 Mutual Drafting. The Parties have participated jointly in the negotiation
and drafting of this Agreement. In the event an ambiguity or question of intent or interpretation

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arises, this Agreement shall be construed as if drafted jointly by the Parties and no presumption or
burden of proof shall arise favoring or disfavoring any Party by virtue of the authorship of any of
the provisions of this Agreement.

        Section 9.16 Disclosure Schedule. All capitalized terms not defined in the Disclosure
Schedule shall have the meanings ascribed to them in this Agreement. The representations and
warranties of Sellers in this Agreement are made and given, and the covenants are agreed to,
subject to the disclosures and exceptions set forth in the Disclosure Schedule. The listing of any
matter shall expressly not be deemed to constitute an admission by Sellers, or to otherwise imply,
that any such matter is material, is required to be disclosed under this Agreement or falls within
relevant minimum thresholds or materiality standards set forth in this Agreement. No disclosure
in the Disclosure Schedule relating to any possible breach or violation of any Contract or Law
shall be construed as an admission or indication that any such breach or violation exists or has
actually occurred. In no event shall the listing of any matter in the Disclosure Schedule be deemed
or interpreted to expand the scope of Sellers’ representations, warranties, or covenants set forth in
this Agreement. All attachments to the Disclosure Schedule are incorporated by reference into the
applicable section of the Disclosure Schedule in which they are directly or indirectly referenced.
The information contained in the Disclosure Schedule is in all respects provided subject to the
Confidentiality Agreement.

       Section 9.17 Counterparts; Facsimile and Electronic Signatures. This Agreement may
be executed in one or more counterparts, each of which shall be deemed an original but all of
which together will constitute one and the same instrument. This Agreement or any counterpart
may be executed and delivered by facsimile copies or delivered by electronic communications by
portable document format (.pdf), each of which shall be deemed an original.

        Section 9.18 No Right of Set-Off. Buyer, on its own behalf and on behalf of the Buyer
Party Members and its and their respective successors and permitted assigns, hereby waives any
rights of set-off, netting, offset, recoupment, or similar rights that Buyer, any Buyer Party Member
or any of its or their respective successors and permitted assigns has or may have with respect to
the payment of the Purchase Price or any other payments to be made by Buyer pursuant to this
Agreement, any Related Agreement or any other document or instrument delivered by Buyer in
connection herewith.

                           [Remainder of page intentionally left blank.]




                                                 57


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       IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first
above written.

                                               SELLERS:

                                               RTW RETAILWINDS, INC.
                                               LERNER NEW YORK HOLDING, INC.
                                               LERNCO, INC.
                                               LERNER NEW YORK, INC.
                                               NEW YORK & COMPANY, INC.
                                               LERNER NEW YORK GC, LLC
                                               LERNER NEW YORK OUTLET, LLC
                                               NEW YORK & COMPANY STORES, INC.
                                               FTF GC, LLC
                                               LERNER NEW YORK FTF, LLC
                                               FASHION TO FIGURE, LLC
                                               FTF IP COMPANY, INC.



                                               By:
                                               Name: Sheamus Toal
                                               Title: Authorized Signatory

                                               BUYER:

                                               SAADIA GROUP LLC



                                               By:
                                               Name: Arvee Claravall
                                               Title: Chief Financial Officer




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                                     Schedule 1.1(a)

                          Domain Names and Social Media Accounts

Domain Name                          Creation Date     Registrar       Status / Renewal
                                                                       Due
cocoandlolly.com                     2009-04-07        CSC CORPORATE   Active – 2021-04-
                                                       DOMAINS, INC.   07
fashiontofigure.com                  2003-08-19        CSC CORPORATE   Active – 2020-08-
                                                       DOMAINS, INC.   19
ftf.com                              1994-11-16        CSC CORPORATE   Active – 2021-11-
                                                       DOMAINS, INC.   15
ftfcard.com                          2019-03-07        CSC CORPORATE   Active – 2024-03-
                                                       DOMAINS, INC.   07
imagenyandc.com                      2009-04-20        CSC CORPORATE   Active – 2021-04-
                                                       DOMAINS, INC.   20
learnersny.com                       2002-04-27        CSC CORPORATE   Active – 2022-04-
                                                       DOMAINS, INC.   27
lernco.com                           1995-03-01        CSC CORPORATE   Active – 2021-03-
                                                       DOMAINS, INC.   02
lerner-catalog.com                   2002-06-24        CSC CORPORATE   Active – 2022-06-
                                                       DOMAINS, INC.   24
lerner.com.mx                        2004-03-19        CSC CORPORATE   Active – ?
                                                       DOMAINS, INC
lernerandco.com                      2007-06-29        CSC CORPORATE   Active – 2022-06-
                                                       DOMAINS, INC.   29
lernercalalog.com                    2005-09-22        CSC CORPORATE   Active – 2020-09-
                                                       DOMAINS, INC.   22
lernercatalog.biz                    2002-03-08        CSC CORPORATE   Active – 2022-03-
                                                       DOMAINS, INC.   07
lernercatalog.com                    1999-04-06        CSC CORPORATE   Active – 2021-04-
                                                       DOMAINS, INC.   06
lernercatalog.net                    2002-01-08        CSC CORPORATE   Active – 2022-01-
                                                       DOMAINS, INC.   08
lernercatalog.org                    2002-01-08        CSC CORPORATE   Active – 2022-01-
                                                       DOMAINS, INC.   08
lernercataloge.com                   2003-05-28        CSC CORPORATE   Active – 2022-05-
                                                       DOMAINS, INC.   28
lernercatalogue.com                  2001-02-02        CSC CORPORATE   Active – 2022-02-
                                                       DOMAINS, INC.   02
lernercatatlog.com                   2006-03-04        CSC CORPORATE   Active – 2022-03-
                                                       DOMAINS, INC.   04
lernercatelog.com                    2003-05-28        CSC CORPORATE   Active – 2022-05-
                                                       DOMAINS, INC.   28
lernercatelogs.com                   2005-03-09        CSC CORPORATE   Active – 2022-03-
                                                       DOMAINS, INC.   09
lernercatlogue.com                   2007-04-28        CSC CORPORATE   Active – 2021-04-



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Domain Name                         Creation Date   Registrar       Status / Renewal
                                                                    Due
                                                    DOMAINS, INC.   28
lernercreditcard.com                2007-01-22      CSC CORPORATE   Active – 2021-01-
                                                    DOMAINS, INC.   22
lernerdepartmentstore.com           2007-03-28      CSC CORPORATE   Active – 2021-03-
                                                    DOMAINS, INC.   28
lernerdirect.biz                    2002-03-08      CSC CORPORATE   Active – 2022-03-
                                                    DOMAINS, INC.   07
lernerdirect.com                    1999-04-06      CSC CORPORATE   Active – 2022-04-
                                                    DOMAINS, INC.   06
lernerdirect.net                    2002-01-08      CSC CORPORATE   Active – 2022-01-
                                                    DOMAINS, INC.   08
lernerdirect.us                     2004-12-10      CSC CORPORATE   Active – ?
                                                    DOMAINS, INC.
lernerfashion.com                   2005-11-27      CSC CORPORATE   Active – 2020-11-
                                                    DOMAINS, INC.   27
lernerfashions.com                  2005-11-27      CSC CORPORATE   Active – 2021-11-
                                                    DOMAINS, INC.   27
lernerkatalog.com                   2006-02-02      CSC CORPORATE   Active – 2022-02-
                                                    DOMAINS, INC.   02
lernermagazine.com                  2006-03-15      CSC CORPORATE   Active – 2022-03-
                                                    DOMAINS, INC.   15
lernermetrostyle.com                2007-05-27      CSC CORPORATE   Active – 2021-05-
                                                    DOMAINS, INC.   27
lernernewyork.biz                   2001-11-15      CSC CORPORATE   Active – 2021-11-
                                                    DOMAINS, INC.   18
lernernewyork.ca                    2004-04-13      CSC CORPORATE   Active – ?
                                                    DOMAINS
                                                    (CANADA)
                                                    COMPANY
lernernewyork.com.mx                2004-03-19      CSC CORPORATE   Active – ?
                                                    DOMAINS, INC.
lernernewyork.com                   1995-03-06      CSC CORPORATE   Active – 2022-03-
                                                    DOMAINS, INC.   07
lernernewyork.info                  2001-08-10      CSC CORPORATE   Active – 2021-08-
                                                    DOMAINS, INC.   10
lernernewyork.us                    2002-04-19      CSC CORPORATE   Active – ?
                                                    DOMAINS, INC.
lernernewyorkandcompany.com         2005-09-22      CSC CORPORATE   Active – 2020-09-
                                                    DOMAINS, INC.   22
lernernewyorkcompany.com            2007-05-03      CSC CORPORATE   Active – 2021-05-
                                                    DOMAINS, INC.   03
lernerneyyork.com                   2006-08-17      CSC CORPORATE   Active – 2022-08-
                                                    DOMAINS, INC.   17
lernerny.biz                        2001-11-15      CSC CORPORATE   Active – 2021-11-
                                                    DOMAINS, INC.   18


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Domain Name                         Creation Date   Registrar       Status / Renewal
                                                                    Due
lernerny.ca                         2004-04-13      CSC CORPORATE   Active – ?
                                                    DOMAINS
                                                    (CANADA)
                                                    COMPANY
lernerny.com.mx                     2004-03-19      CSC CORPORATE   Active – ?
                                                    DOMAINS, INC.
lernerny.com                        1996-12-17      CSC CORPORATE   Active – 2021-12-
                                                    DOMAINS, INC.   16
lernerny.info                       2003-12-05      CSC CORPORATE   Active – 2020-12-
                                                    DOMAINS, INC.   05
lernerny.us                         2002-04-24      CSC CORPORATE   Active – ?
                                                    DOMAINS, INC.
lernero.com                         2006-08-16      CSC CORPORATE   Active – 2022-08-
                                                    DOMAINS, INC.   16
lernerofny.com                      2007-04-28      CSC CORPORATE   Active – 2022-04-
                                                    DOMAINS, INC.   28
lerneroutlet.com                    2007-08-14      CSC CORPORATE   Active – 2021-08-
                                                    DOMAINS, INC.   14
lerners-catalog.com                 2003-10-21      CSC CORPORATE   Active – 2021-10-
                                                    DOMAINS, INC.   21
lerners.net                         2000-10-16      CSC CORPORATE   Active – 2020-10-
                                                    DOMAINS, INC.   16
lernerscatalog.com                  2001-11-28      CSC CORPORATE   Active – 2021-11-
                                                    DOMAINS, INC.   28
lernerscatalogue.com                2007-05-06      CSC CORPORATE   Active – 2021-05-
                                                    DOMAINS, INC.   06
lernersclothing.com                 2007-05-06      CSC CORPORATE   Active – 2021-05-
                                                    DOMAINS, INC.   06
lernersfashions.com                 2007-05-24      CSC CORPORATE   Active – 2021-05-
                                                    DOMAINS, INC.   24
lernershoes.com                     2007-03-28      CSC CORPORATE   Active – 2021-03-
                                                    DOMAINS, INC.   28
lernershops.com                     2005-11-26      CSC CORPORATE   Active – 2021-11-
                                                    DOMAINS, INC.   26
lernersjewelry.com                  2000-06-21      CSC CORPORATE   Active – 2021-06-
                                                    DOMAINS, INC.   21
lernersnewyork.com                  2002-04-27      CSC CORPORATE   Active – 2022-04-
                                                    DOMAINS, INC.   27
lernersny.com                       2000-03-30      CSC CORPORATE   Active – 2021-03-
                                                    DOMAINS, INC.   30
lernersofny.com                     2006-11-01      CSC CORPORATE   Active – 2020-11-
                                                    DOMAINS, INC.   01
lernersstore.com                    2004-06-09      CSC CORPORATE   Active – 2022-06-
                                                    DOMAINS, INC.   09
lernerstores.com                    1995-03-06      CSC CORPORATE   Active – 2021-03-


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Domain Name                          Creation Date   Registrar       Status / Renewal
                                                                     Due
                                                     DOMAINS, INC.   07
lernerswoman.com                     2007-03-30      CSC CORPORATE   Active – 2021-03-
                                                     DOMAINS, INC.   30
lernerwoman.com                      2005-11-27      CSC CORPORATE   Active – 2020-11-
                                                     DOMAINS, INC.   27
                                     2007-05-07      CSC CORPORATE   Active – 2021-05-
lernerwomen.com
                                                     DOMAINS, INC.   07
                                     2007-10-06      CSC CORPORATE   Active – 2021-10-
lernner.com
                                                     DOMAINS, INC.   06
                                     1995-03-02      CSC CORPORATE   Active – 2021-03-
lny.com
                                                     DOMAINS, INC.   03
                                     2006-05-03      CSC CORPORATE   Active – 2022-05-
lrener.com
                                                     DOMAINS, INC.   03
                                     2006-08-09      CSC CORPORATE   Active – 2022-08-
metrolerners.com
                                                     DOMAINS, INC.   09
                                     2006-08-17      CSC CORPORATE   Active – 2022-08-
metrostylelerner.com
                                                     DOMAINS, INC.   17
                                     2008-07-24      CSC CORPORATE   Active – 2021-07-
mewyorkandcompany.com
                                                     DOMAINS, INC.   24
                                     2009-11-25      CSC CORPORATE   Active – 2021-11-
neworkandcompany.com
                                                     DOMAINS, INC.   25
                                     2008-07-16      CSC CORPORATE   Active – 2022-07-
newtorkandcompany.com
                                                     DOMAINS, INC.   16
                                     2008-11-03      CSC CORPORATE   Active – 2020-11-
newyoekandcompany.com
                                                     DOMAINS, INC.   03
                                     2008-07-16      CSC CORPORATE   Active – 2022-07-
newyokandcompany.com
                                                     DOMAINS, INC.   16
                                     2007-05-02      CSC CORPORATE   Active – 2021-05-
newyorandcompany.com
                                                     DOMAINS, INC.   02
                                     2004-04-13      CSC CORPORATE   Active – ?
                                                     DOMAINS
newyorkaccessories.ca
                                                     (CANADA)
                                                     COMPANY
                                     2004-03-19      CSC CORPORATE   Active – ?
newyorkaccessories.com.mx
                                                     DOMAINS, INC
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
newyorkaccessories.com
                                                     DOMAINS, INC.   24
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
newyorkaccessories.net
                                                     DOMAINS, INC.   24
                                     2010-06-14      CSC CORPORATE   Active – 2022-06-
newyorkamdcompany.com
                                                     DOMAINS, INC.   14
                                     2005-09-26      CSC CORPORATE   Active – 2021-09-
newyorkancompany.com
                                                     DOMAINS, INC.   26
                                     2007-04-27      CSC CORPORATE   Active – 2021-04-
newyorkandcmpany.com
                                                     DOMAINS, INC.   27


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Domain Name                          Creation Date   Registrar       Status / Renewal
                                                                     Due
                                     2004-04-13      CSC CORPORATE   Active – ?
                                                     DOMAINS
newyorkandco.ca
                                                     (CANADA)
                                                     COMPANY
                                     2004-03-19      CSC CORPORATE   Active – ?
newyorkandco.com.mx
                                                     DOMAINS, INC
                                     2000-02-28      CSC CORPORATE   Active – 2022-02-
newyorkandco.net
                                                     DOMAINS, INC.   28
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
newyorkandcoaccessories.com
                                                     DOMAINS, INC.   24
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
newyorkandcoaccessories.net
                                                     DOMAINS, INC.   24
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
newyorkandcoextras.com
                                                     DOMAINS, INC.   24
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
newyorkandcoextras.net
                                                     DOMAINS, INC.   24
                                     2007-05-03      CSC CORPORATE   Active – 2021-05-
newyorkandcomapny.com
                                                     DOMAINS, INC.   03
                                     2005-03-28      CSC CORPORATE   Active – 2021-03-
newyorkandcommpany.com
                                                     DOMAINS, INC.   28
                                     2009-11-10      CSC CORPORATE   Active – 2021-11-
newyorkandcompamy.com
                                                     DOMAINS, INC.   10
                                     2008-01-02      CSC CORPORATE   Active – 2022-01-
newyorkandcompan.com
                                                     DOMAINS, INC.   02
                                     2013-03-10      CSC CORPORATE   Active – 2021-03-
newyorkandcompanny.com
                                                     DOMAINS, INC.   10
                                     2001-11-15      CSC CORPORATE   Active – 2021-11-
newyorkandcompany.biz
                                                     DOMAINS, INC.   18
                                     2004-04-13      CSC CORPORATE   Active – ?
                                                     DOMAINS
newyorkandcompany.ca
                                                     (CANADA)
                                                     COMPANY
                                     2004-03-19      CSC CORPORATE   Active – ?
newyorkandcompany.com.mx
                                                     DOMAINS, INC
                                     1998-06-12      CSC CORPORATE   Active – 2022-06-
newyorkandcompany.com
                                                     DOMAINS, INC.   11
                                     2005-11-07      CSC CORPORATE   Active – 2021-11-
newyorkandcompany.net
                                                     DOMAINS, INC.   07
                                     2002-04-24      CSC CORPORATE   Active – ?
newyorkandcompany.us
                                                     DOMAINS, INC.
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
newyorkandcompanyaccessories.com
                                                     DOMAINS, INC.   24
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
newyorkandcompanyaccessories.net
                                                     DOMAINS, INC.   24
newyorkandcompanycard.com            2011-01-01      CSC CORPORATE   Active – 2021-01-


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Domain Name                         Creation Date   Registrar       Status / Renewal
                                                                    Due
                                                    DOMAINS, INC.   01
                                    2007-03-28      CSC CORPORATE   Active – 2021-03-
newyorkandcompanycatalog.com
                                                    DOMAINS, INC.   28
                                    2005-12-24      CSC CORPORATE   Active – 2021-12-
newyorkandcompanyclothes.com
                                                    DOMAINS, INC.   24
                                    2006-10-16      CSC CORPORATE   Active – 2021-10-
newyorkandcompanyclothing.com
                                                    DOMAINS, INC.   16
                                    2011-06-05      CSC CORPORATE   Active – 2021-06-
newyorkandcompanycoupon.com
                                                    DOMAINS, INC.   05
                                    2011-09-09      CSC CORPORATE   Active – 2021-09-
newyorkandcompanycoupon.org
                                                    DOMAINS, INC.   09
                                    2011-06-05      CSC CORPORATE   Active – 2021-06-
newyorkandcompanycouponcodes.com
                                                    DOMAINS, INC.   05
                                    2007-05-19      CSC CORPORATE   Active – 2021-05-
newyorkandcompanycoupons.com
                                                    DOMAINS, INC.   19
                                    2012-05-26      CSC CORPORATE   Active – 2022-05-
newyorkandcompanycoupons.net
                                                    DOMAINS, INC.   26
                                    2008-02-29      CSC CORPORATE   Active – 2022-02-
newyorkandcompanycreditcard.com
                                                    DOMAINS, INC.   28
                                    2012-02-23      CSC CORPORATE   Active – 2021-02-
newyorkandcompanystore.com
                                                    DOMAINS, INC.   23
                                    2007-11-23      CSC CORPORATE   Active – 2021-11-
newyorkandcompay.com
                                                    DOMAINS, INC.   23
                                    2007-05-06      CSC CORPORATE   Active – 2021-05-
newyorkandcompnay.com
                                                    DOMAINS, INC.   06
                                    2008-07-02      CSC CORPORATE   Active – 2022-07-
newyorkandconpany.com
                                                    DOMAINS, INC.   02
                                    2008-11-03      CSC CORPORATE   Active – 2020-11-
newyorkandompany.com
                                                    DOMAINS, INC.   03
                                    2009-10-12      CSC CORPORATE   Active – 2020-10-
newyorkanscompany.com
                                                    DOMAINS, INC.   12
                                    2007-04-29      CSC CORPORATE   Active – 2021-04-
newyorkcompani.com
                                                    DOMAINS, INC.   29
                                    2010-10-26      CSC CORPORATE   Active – 2020-10-
newyorkcompanycoupons.com
                                                    DOMAINS, INC.   26
                                    2004-02-24      CSC CORPORATE   Active – 2021-02-
newyorkextras.com
                                                    DOMAINS, INC.   24
                                    2004-02-24      CSC CORPORATE   Active – 2021-02-
newyorkextras.net
                                                    DOMAINS, INC.   24
                                    2009-11-04      CSC CORPORATE   Active – 2021-11-
newyorkincompany.com
                                                    DOMAINS, INC.   04
                                    2002-04-27      CSC CORPORATE   Active – 2022-04-
newyorklerner.com
                                                    DOMAINS, INC.   27
                                    2007-03-28      CSC CORPORATE   Active – 2021-03-
newyorkycompany.com
                                                    DOMAINS, INC.   28


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Domain Name                         Creation Date   Registrar       Status / Renewal
                                                                    Due
                                    2007-04-27      CSC CORPORATE   Active – 2021-04-
neyorkandcompany.com
                                                    DOMAINS, INC.   27
                                    2007-01-29      CSC CORPORATE   Active – 2021-01-
nweyorkandcompany.com
                                                    DOMAINS, INC.   29
                                    1999-02-16      CSC CORPORATE   Active – 2021-02-
ny-and-company.com
                                                    DOMAINS, INC.   16
                                    2006-08-29      CSC CORPORATE   Active – 2020-08-
ny-company.com
                                                    DOMAINS, INC.   29
                                    2007-03-30      CSC CORPORATE   Active – 2021-03-
nyanccompany.com
                                                    DOMAINS, INC.   30
                                    2011-10-05      CSC CORPORATE   Active – 2021-10-
nyandccustomerservice.com
                                                    DOMAINS, INC.   05
                                    2006-05-16      CSC CORPORATE   Active – 2022-05-
nyandcfulfillment.com
                                                    DOMAINS, INC.   16
                                    2004-04-13      CSC CORPORATE   Active – ?
                                                    DOMAINS
nyandco.ca
                                                    (CANADA)
                                                    COMPANY
                                    2004-03-19      CSC CORPORATE   Active – ?
nyandco.com.mx
                                                    DOMAINS, INC
                                    1998-05-31      CSC CORPORATE   Active – 2022-05-
nyandco.com
                                                    DOMAINS, INC.   31
                                                    CSC CORPORATE   Active – ?
nyandco.fr
                                                    DOMAINS INC.
                                    2004-02-24      CSC CORPORATE   Active – 2022-02-
nyandcoextras.com
                                                    DOMAINS, INC.   24
                                    2004-02-24      CSC CORPORATE   Active – 2021-02-
nyandcoextras.net
                                                    DOMAINS, INC.   24
                                    2013-04-14      CSC CORPORATE   Active – 2021-04-
nyandcomapany.com
                                                    DOMAINS, INC.   14
                                    2013-04-29      CSC CORPORATE   Active – 2021-04-
nyandcompamy.com
                                                    DOMAINS, INC.   29
                                    2007-09-16      CSC CORPORATE   Active – 2021-09-
nyandcompant.com
                                                    DOMAINS, INC.   16
                                    2004-03-11      CSC CORPORATE   Active – 2022-03-
nyandcompany.biz
                                                    DOMAINS, INC.   10
                                    2004-04-13      CSC CORPORATE   Active – ?
nyandcompany.ca                                     DOMAINS
                                                    (CANADA)
                                    2010-11-17      CSC CORPORATE   Active – ?
nyandcompany.co
                                                    DOMAINS, INC.
                                    2004-03-19      CSC CORPORATE   Active – ?
nyandcompany.com.mx
                                                    DOMAINS, INC
                                    2000-04-28      CSC CORPORATE   Active – 2021-04-
nyandcompany.com
                                                    DOMAINS, INC.   28


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Domain Name                          Creation Date   Registrar       Status / Renewal
                                                                     Due
                                     2012-09-08      CSC CORPORATE   Active – 2020-09-
nyandcompany.mobi
                                                     DOMAINS, INC.   08
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
nyandcompany.net
                                                     DOMAINS, INC.   28
                                     2001-02-01      CSC CORPORATE   Active – 2021-02-
nyandcompany.tv
                                                     DOMAINS, INC.   01
                                     2002-04-24      CSC CORPORATE   Active – ?
nyandcompany.us
                                                     DOMAINS, INC.
                                     2004-04-13      CSC CORPORATE   Active – ?
                                                     DOMAINS
nyandcompanyaccessories.ca
                                                     (CANADA)
                                                     COMPANY
                                     2004-03-19      CSC CORPORATE   Active – ?
nyandcompanyaccessories.com.mx
                                                     DOMAINS, INC
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
nyandcompanyaccessories.com
                                                     DOMAINS, INC.   24
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
nyandcompanyaccessories.net
                                                     DOMAINS, INC.   24
                                     2007-11-06      CSC CORPORATE   Active – 2021-11-
nyandcompanycareers.com
                                                     DOMAINS, INC.   06
                                     2007-04-21      CSC CORPORATE   Active – 2021-04-
nyandcompanycoupons.com
                                                     DOMAINS, INC.   21
                                     2011-08-28      CSC CORPORATE   Active – 2021-08-
nyandcompanycoupons.net
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
nyandcompanyextras.com
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
nyandcompanyextras.net
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
nyandcompanyhome.com
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
nyandcompanyhome.net
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
nyandcompanykids.com
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
nyandcompanykids.net
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2021-04-
nyandcompanymen.com
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2021-04-
nyandcompanymen.net
                                                     DOMAINS, INC.   28
                                     2007-05-06      CSC CORPORATE   Active – 2021-05-
nyandcompay.com
                                                     DOMAINS, INC.   06
                                     2008-05-04      CSC CORPORATE   Active – 2021-05-
nyandcompnay.com
                                                     DOMAINS, INC.   04
nyandcompony.com                     2008-01-12      CSC CORPORATE   Active – 2022-01-


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Domain Name                            Creation Date   Registrar       Status / Renewal
                                                                       Due
                                                       DOMAINS, INC.   12
                                       2008-03-14      CSC CORPORATE   Active – 2022-03-
nyandcomppany.com
                                                       DOMAINS, INC.   14
                                       2004-03-22      CSC CORPORATE   Active – 2022-03-
nyandcquality1st.com
                                                       DOMAINS, INC.   22
                                       2004-08-23      CSC CORPORATE   Active – 2020-08-
nyclerner.com
                                                       DOMAINS, INC.   23
                                       2004-02-24      CSC CORPORATE   Active – 2021-02-
nycoaccessories.com
                                                       DOMAINS, INC.   24
                                       2004-02-24      CSC CORPORATE   Active – 2021-02-
nycoaccessories.net
                                                       DOMAINS, INC.   24
                                       2008-04-14      CSC CORPORATE   Active – 2022-04-
nycofashionlookbook.com
                                                       DOMAINS, INC.   14
                                       2008-07-28      CSC CORPORATE   Active – 2022-07-
nycredlabel.com
                                                       DOMAINS, INC.   28
                                       1999-01-12      CSC CORPORATE   Active – 2021-01-
nyjeans.com
                                                       DOMAINS, INC.   12
                                       2002-04-27      CSC CORPORATE   Active – 2022-04-
nylearner.com
                                                       DOMAINS, INC.   27
                                       2008-07-28      CSC CORPORATE   Active – 2022-07-
nyredlabel.com
                                                       DOMAINS, INC.   28
                                       2008-07-28      CSC CORPORATE   Active – 2022-07-
nyredlabelcollection.com
                                                       DOMAINS, INC.   28
                                       2009-07-24      CSC CORPORATE   Active – 2021-07-
nystyl.com
                                                       DOMAINS, INC.   24
                                       2008-09-12      CSC CORPORATE   Active – 2020-09-
nystyletour.com
                                                       DOMAINS, INC.   12
                                       2008-07-28      CSC CORPORATE   Active – 2022-07-
redlabelny.com
                                                       DOMAINS, INC.   28
                                       2008-07-28      CSC CORPORATE   Active – 2022-07-
redlabelnyc.com
                                                       DOMAINS, INC.   28
                                       2008-11-03      CSC CORPORATE   Active – 2020-11-
shoplerner.com
                                                       DOMAINS, INC.   03
                                       2010-10-07      CSC CORPORATE   Active – 2020-10-
tellusnyandcompany.com
                                                       DOMAINS, INC.   07
                                       2006-05-08      CSC CORPORATE   Active – 2022-05-
thelernercatalog.com
                                                       DOMAINS, INC.   08
                                       2009-09-01      CSC CORPORATE   Active – 2021-09-
thenewyorkandcompany.com
                                                       DOMAINS, INC.   01
                                       2008-09-12      CSC CORPORATE   Active – 2020-09-
thenystyletour.com
                                                       DOMAINS, INC.   12
                                       1997-01-23      CSC CORPORATE   Active – 2021-01-
uncommonsense.com
                                                       DOMAINS, INC.   23
                                       2013-03-09      CSC CORPORATE   Active – 2021-03-
fashiontofigure.com
                                                       DOMAINS, INC.   09


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Domain Name                               Creation Date       Registrar       Status / Renewal
                                                                              Due
                                          2003-08-19          CSC CORPORATE   Active – 2020-08-
ftfstores.com
                                                              DOMAINS, INC.   19
                                          2006-05-16          CSC CORPORATE   Active – 2022-05-
nyandcfulfillment.com
                                                              DOMAINS, INC.   16
                                          2005-09-30          CSC CORPORATE   Active – 2022-10-
nystl.com
                                                              DOMAINS, INC.   01
                                          2017-03-07          CSC CORPORATE   Active – 2021-03-
retailwinds.com
                                                              DOMAINS, INC.   07
                                          2018-09-07          DOMAINS BY      Active – 2020-09-
rtw-retailwinds.com
                                                              PROXY, LLC      07


Social Media Accounts

Instagram

@nyandcompany- https://www.instagram.com/nyandcompany/

@fashiontofigure- https://www.instagram.com/fashiontofigure

Facebook

https://www.facebook.com/NewYorkandCompany/

https://www.facebook.com/fashiontofigure

Twitter

@nyandcompany- https://twitter.com/nyandcompany

@FTFSnaps- https://twitter.com/ftfsnaps

YouTube

New York & Company Channel- https://www.youtube.com/channel/UCDQQQeVNWPHjV3U4GjOpxHA

Fashion to Figure Channel- https://www.youtube.com/user/FTFsnaps

Pinterest

https://www.pinterest.com/nyandcompany/

https://www.pinterest.com/ftfpins/




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                                      Schedule 2.6(a)

                          Executory Contracts and Unexpired Leases



See attached.




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 Fill in this information to identify the case:

 Debtor name         Lerner New York, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)         20-18448
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    125th St Harlem 2016-04-20
             List the contract number of any                                        5 W 125th St
                   government contract                                              New York, NY 10027


 2.2.        State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    125th St Harlem 2016-04-20
             List the contract number of any                                        5 W 125th St
                   government contract                                              New York, NY 10027


 2.3.        State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    125th St Harlem 2016-04-20
             List the contract number of any                                        5 W 125th St
                   government contract                                              New York, NY 10027


 2.4.        State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    125th St Harlem 2016-04-20
             List the contract number of any                                        5 W 125th St
                   government contract                                              New York, NY 10027




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     125th St Harlem 2016-04-20
             List the contract number of any                                         5 W 125th St
                   government contract                                               New York, NY 10027


 2.6.        State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     5TH AVE (BKLYN)
             List the contract number of any                                         5308 FIFTH AVENUE
                   government contract                                               Brooklyn, NY 11220-3111


 2.7.        State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     5TH AVE (BKLYN)
             List the contract number of any                                         5308 FIFTH AVENUE
                   government contract                                               Brooklyn, NY 11220-3111


 2.8.        State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     5TH AVE (BKLYN)
             List the contract number of any                                         5308 FIFTH AVENUE
                   government contract                                               Brooklyn, NY 11220-3111


 2.9.        State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     5TH AVE (BKLYN)
             List the contract number of any                                         5308 FIFTH AVENUE
                   government contract                                               Brooklyn, NY 11220-3111


 2.10.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           5TH AVE (BKLYN)
                                                                                     5308 FIFTH AVENUE
             List the contract number of any                                         Brooklyn, NY 11220-3111
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.11.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     5TH AVE (BKLYN)
             List the contract number of any                                         5308 FIFTH AVENUE
                   government contract                                               Brooklyn, NY 11220-3111


 2.12.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     5TH AVE (BKLYN)
             List the contract number of any                                         5308 FIFTH AVENUE
                   government contract                                               Brooklyn, NY 11220-3111


 2.13.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     5TH AVE (BKLYN)
             List the contract number of any                                         5308 FIFTH AVENUE
                   government contract                                               Brooklyn, NY 11220-3111


 2.14.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     5TH AVE (BKLYN)
             List the contract number of any                                         5308 FIFTH AVENUE
                   government contract                                               Brooklyn, NY 11220-3111


 2.15.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     5TH AVE (BKLYN)
             List the contract number of any                                         5308 FIFTH AVENUE
                   government contract                                               Brooklyn, NY 11220-3111


 2.16.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          5TH AVE (BKLYN)
             the debtor's interest                                                   5308 FIFTH AVENUE
                                                                                     Brooklyn, NY 11220-3111
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     5TH AVE (BKLYN)
             List the contract number of any                                         5308 FIFTH AVENUE
                   government contract                                               Brooklyn, NY 11220-3111


 2.18.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     86TH STREET 1978-05-19
             List the contract number of any                                         515-521 86TH STREET
                   government contract                                               Brooklyn, NY 11209


 2.19.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     86TH STREET 1978-05-19
             List the contract number of any                                         515-521 86TH STREET
                   government contract                                               Brooklyn, NY 11209


 2.20.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     86TH STREET 1978-05-19
             List the contract number of any                                         515-521 86TH STREET
                   government contract                                               Brooklyn, NY 11209


 2.21.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     86TH STREET 1978-05-19
             List the contract number of any                                         515-521 86TH STREET
                   government contract                                               Brooklyn, NY 11209




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.22.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       86TH STREET 1978-05-19
             List the contract number of any                                           515-521 86TH STREET
                   government contract                                                 Brooklyn, NY 11209


 2.23.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       86TH STREET 1978-05-19
             List the contract number of any                                           515-521 86TH STREET
                   government contract                                                 Brooklyn, NY 11209


 2.24.       State what the contract or                   3rd Party Agency
             lease is for and the nature of               Partners Services
             the debtor's interest

                  State the term remaining
                                                                                       A Team Partnership Agency
             List the contract number of any                                           232 Madison Avenue
                   government contract                                                 New York, NY 10016


 2.25.       State what the contract or                   Trademark
             lease is for and the nature of               management servicces
             the debtor's interest

                  State the term remaining                                             AdGooRoo
                                                                                       1140 W Fulton Market
             List the contract number of any                                           Suite 200
                   government contract                                                 Chicago, IL 60607


 2.26.       State what the contract or                   Burglar alarm services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Advanced Project Solutions
             List the contract number of any                                           4501 Femrite Dr.
                   government contract                                                 Madison, WI 53716


 2.27.       State what the contract or                   Insurance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Aflac
                                                                                       PO Box 427
             List the contract number of any                                           Columbia, SC 29202
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.28.       State what the contract or                   Personal Identity
             lease is for and the nature of               Coverage
             the debtor's interest
                                                                                     AIG
                  State the term remaining                                           Sitzmann Morris & Lavis Insurance Agency
                                                                                     Attn: Matthew Sitzman
             List the contract number of any                                         3697 Mt. Diablo Blvd.
                   government contract                                               Lafayette, CA 32114


 2.29.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALAMANCE CROSSING 2007-01-24
             List the contract number of any                                         3189 WALTHAM BLVD
                   government contract                                               Burlington, NC 27215


 2.30.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALAMANCE CROSSING 2007-01-24
             List the contract number of any                                         3189 WALTHAM BLVD
                   government contract                                               Burlington, NC 27215


 2.31.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALAMANCE CROSSING 2007-01-24
             List the contract number of any                                         3189 WALTHAM BLVD
                   government contract                                               Burlington, NC 27215


 2.32.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALAMANCE CROSSING 2007-01-24
             List the contract number of any                                         3189 WALTHAM BLVD
                   government contract                                               Burlington, NC 27215


 2.33.       State what the contract or                   Amended Lease
             lease is for and the nature of                                          ALAMANCE CROSSING 2007-01-24
             the debtor's interest                                                   3189 WALTHAM BLVD
                                                                                     Burlington, NC 27215
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALAMANCE CROSSING 2007-01-24
             List the contract number of any                                         3189 WALTHAM BLVD
                   government contract                                               Burlington, NC 27215


 2.35.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALAMANCE CROSSING 2007-01-24
             List the contract number of any                                         3189 WALTHAM BLVD
                   government contract                                               Burlington, NC 27215


 2.36.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALAMANCE CROSSING 2007-01-24
             List the contract number of any                                         3189 WALTHAM BLVD
                   government contract                                               Burlington, NC 27215


 2.37.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALAMANCE CROSSING 2007-01-24
             List the contract number of any                                         3189 WALTHAM BLVD
                   government contract                                               Burlington, NC 27215


 2.38.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALAMANCE CROSSING 2007-01-24
             List the contract number of any                                         3189 WALTHAM BLVD
                   government contract                                               Burlington, NC 27215




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.39.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALAMANCE CROSSING 2007-01-24
             List the contract number of any                                         3189 WALTHAM BLVD
                   government contract                                               Burlington, NC 27215


 2.40.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALBERTVILLE OUTLET 2010-05-10
             List the contract number of any                                         6415 LABEAUX AVE SP # F030
                   government contract                                               Albertville, MN 55301


 2.41.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALBERTVILLE OUTLET 2010-05-10
             List the contract number of any                                         6415 LABEAUX AVE SP # F030
                   government contract                                               Albertville, MN 55301


 2.42.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALBERTVILLE OUTLET 2010-05-10
             List the contract number of any                                         6415 LABEAUX AVE SP # F030
                   government contract                                               Albertville, MN 55301


 2.43.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALBERTVILLE OUTLET 2010-05-10
             List the contract number of any                                         6415 LABEAUX AVE SP # F030
                   government contract                                               Albertville, MN 55301


 2.44.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           ALBERTVILLE OUTLET 2010-05-10
                                                                                     6415 LABEAUX AVE SP # F030
             List the contract number of any                                         Albertville, MN 55301
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.45.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALBERTVILLE OUTLET 2010-05-10
             List the contract number of any                                         6415 LABEAUX AVE SP # F030
                   government contract                                               Albertville, MN 55301


 2.46.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALGONQUIN COMMONS 2005-05-03
             List the contract number of any                                         1944 S RANDALL RD SP # 4090
                   government contract                                               Algonquin, IL 60102


 2.47.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALGONQUIN COMMONS 2005-05-03
             List the contract number of any                                         1944 S RANDALL RD SP # 4090
                   government contract                                               Algonquin, IL 60102


 2.48.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALGONQUIN COMMONS 2005-05-03
             List the contract number of any                                         1944 S RANDALL RD SP # 4090
                   government contract                                               Algonquin, IL 60102


 2.49.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALGONQUIN COMMONS 2005-05-03
             List the contract number of any                                         1944 S RANDALL RD SP # 4090
                   government contract                                               Algonquin, IL 60102


 2.50.       State what the contract or                   Amended Lease
             lease is for and the nature of                                          ALGONQUIN COMMONS 2005-05-03
             the debtor's interest                                                   1944 S RANDALL RD SP # 4090
                                                                                     Algonquin, IL 60102
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.51.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALGONQUIN COMMONS 2005-05-03
             List the contract number of any                                         1944 S RANDALL RD SP # 4090
                   government contract                                               Algonquin, IL 60102


 2.52.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALGONQUIN COMMONS 2005-05-03
             List the contract number of any                                         1944 S RANDALL RD SP # 4090
                   government contract                                               Algonquin, IL 60102


 2.53.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALLEN PREMIUM 2017-05-03
             List the contract number of any                                         820 WEST STACY RD SP # 346
                   government contract                                               Allen, TX 75013


 2.54.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075


 2.55.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.56.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075


 2.57.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075


 2.58.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075


 2.59.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075


 2.60.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075


 2.61.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           ALMEDA MALL 1992-06-04
                                                                                     242 ALMEDA MALL
             List the contract number of any                                         Houston, TX 77075
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.62.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075


 2.63.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075


 2.64.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075


 2.65.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075


 2.66.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ALMEDA MALL 1992-06-04
             List the contract number of any                                         242 ALMEDA MALL
                   government contract                                               Houston, TX 77075


 2.67.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          ANNAPOLIS MALL 2011-02-16
             the debtor's interest                                                   2002 Annapolis Mall Sp # 17
                                                                                     Annapolis, MD 21401
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.68.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ANNAPOLIS MALL 2011-02-16
             List the contract number of any                                         2002 Annapolis Mall Sp # 17
                   government contract                                               Annapolis, MD 21401


 2.69.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ANTELOPE VALLEY MALL 2001-02-19
             List the contract number of any                                         1233 W. AVE PLACE
                   government contract                                               Palmdale, CA 93551


 2.70.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ANTELOPE VALLEY MALL 2001-02-19
             List the contract number of any                                         1233 W. AVE PLACE
                   government contract                                               Palmdale, CA 93551


 2.71.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ANTELOPE VALLEY MALL 2001-02-19
             List the contract number of any                                         1233 W. AVE PLACE
                   government contract                                               Palmdale, CA 93551


 2.72.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ANTELOPE VALLEY MALL 2001-02-19
             List the contract number of any                                         1233 W. AVE PLACE
                   government contract                                               Palmdale, CA 93551




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.73.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ANTELOPE VALLEY MALL 2001-02-19
             List the contract number of any                                         1233 W. AVE PLACE
                   government contract                                               Palmdale, CA 93551


 2.74.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ANTELOPE VALLEY MALL 2001-02-19
             List the contract number of any                                         1233 W. AVE PLACE
                   government contract                                               Palmdale, CA 93551


 2.75.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           ARBOR PLACE 1999-07-20
                                                                                     6700 DOUGLAS BLVD SP
             List the contract number of any                                         # 11
                   government contract                                               Douglasville, GA 30135


 2.76.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           ARBOR PLACE 1999-07-20
                                                                                     6700 DOUGLAS BLVD SP
             List the contract number of any                                         # 11
                   government contract                                               Douglasville, GA 30135


 2.77.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           ARBOR PLACE 1999-07-20
                                                                                     6700 DOUGLAS BLVD SP
             List the contract number of any                                         # 11
                   government contract                                               Douglasville, GA 30135


 2.78.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                     ARBOR PLACE 1999-07-20
                  State the term remaining                                           6700 DOUGLAS BLVD SP
                                                                                     # 11
             List the contract number of any                                         Douglasville, GA 30135
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.79.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           ARBOR PLACE 1999-07-20
                                                                                     6700 DOUGLAS BLVD SP
             List the contract number of any                                         # 11
                   government contract                                               Douglasville, GA 30135


 2.80.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           ARBOR PLACE 1999-07-20
                                                                                     6700 DOUGLAS BLVD SP
             List the contract number of any                                         # 11
                   government contract                                               Douglasville, GA 30135


 2.81.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           ARBOR PLACE 1999-07-20
                                                                                     6700 DOUGLAS BLVD SP
             List the contract number of any                                         # 11
                   government contract                                               Douglasville, GA 30135


 2.82.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           ARBOR PLACE 1999-07-20
                                                                                     6700 DOUGLAS BLVD SP
             List the contract number of any                                         # 11
                   government contract                                               Douglasville, GA 30135


 2.83.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           ARBOR PLACE 1999-07-20
                                                                                     6700 DOUGLAS BLVD SP
             List the contract number of any                                         # 11
                   government contract                                               Douglasville, GA 30135


 2.84.       State what the contract or                   Amended Lease              ARBOR PLACE 1999-07-20
             lease is for and the nature of                                          6700 DOUGLAS BLVD SP
             the debtor's interest                                                   # 11
                                                                                     Douglasville, GA 30135
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.85.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ARDEN FAIR 2005-12-31
             List the contract number of any                                         1689 ARDEN WAY SP # 1198
                   government contract                                               Sacramento, CA 95815


 2.86.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ARDEN FAIR 2005-12-31
             List the contract number of any                                         1689 ARDEN WAY SP # 1198
                   government contract                                               Sacramento, CA 95815


 2.87.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ARDEN FAIR 2005-12-31
             List the contract number of any                                         1689 ARDEN WAY SP # 1198
                   government contract                                               Sacramento, CA 95815


 2.88.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ARDEN FAIR 2005-12-31
             List the contract number of any                                         1689 ARDEN WAY SP # 1198
                   government contract                                               Sacramento, CA 95815


 2.89.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ARUNDEL MILLS 2013-08-30
             List the contract number of any                                         7000 Arundel Mills Cir
                   government contract                                               Hanover, MD 21076-1282




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.90.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ARUNDEL MILLS 2013-08-30
             List the contract number of any                                         7000 Arundel Mills Cir
                   government contract                                               Hanover, MD 21076-1282


 2.91.       State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ARUNDEL MILLS 2013-08-30
             List the contract number of any                                         7000 Arundel Mills Cir
                   government contract                                               Hanover, MD 21076-1282


 2.92.       State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ARUNDEL MILLS 2013-08-30
             List the contract number of any                                         7000 Arundel Mills Cir
                   government contract                                               Hanover, MD 21076-1282


 2.93.       State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ARUNDEL MILLS 2013-08-30
             List the contract number of any                                         7000 Arundel Mills Cir
                   government contract                                               Hanover, MD 21076-1282


 2.94.       State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ARUNDEL MILLS 2013-08-30
             List the contract number of any                                         7000 Arundel Mills Cir
                   government contract                                               Hanover, MD 21076-1282


 2.95.       State what the contract or                   SARP auditing
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Ary Roepcke Mulchaey, P.C.
                                                                                     P.C. Two Miranova Place Suite 600
             List the contract number of any                                         Columbus, OH 43215
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.96.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ASHEVILLE OUTLETS 2015-03-06
             List the contract number of any                                         800 BREVARD RD SUITE 250
                   government contract                                               Asheville, NC 28806


 2.97.       State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ASHEVILLE OUTLETS 2015-03-06
             List the contract number of any                                         800 BREVARD RD SUITE 250
                   government contract                                               Asheville, NC 28806


 2.98.       State what the contract or                   Equipment Leasing
             lease is for and the nature of               Reporting Svcs
             the debtor's interest

                  State the term remaining                                           Asset Strategies Group
                                                                                     LLC 501 W. Schrock Rd
             List the contract number of any                                         Attn: Steve M
                   government contract                                               Westerville, OH 43081


 2.99.       State what the contract or                   Leasing management
             lease is for and the nature of               support
             the debtor's interest

                  State the term remaining                                           Asset Strategies Group
                                                                                     LLC 501 W. Schrock Rd
             List the contract number of any                                         Attn: Steve M
                   government contract                                               Westerville, OH 43081


 2.100.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AUBURN MALL 2010-12-29
             List the contract number of any                                         385 SOUTH BRIDGE STREET
                   government contract                                               Auburn, MA 01501


 2.101.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          AUBURN MALL 2010-12-29
             the debtor's interest                                                   385 SOUTH BRIDGE STREET
                                                                                     Auburn, MA 01501
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.102.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AUBURN MALL 2010-12-29
             List the contract number of any                                         385 SOUTH BRIDGE STREET
                   government contract                                               Auburn, MA 01501


 2.103.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AUBURN MALL 2010-12-29
             List the contract number of any                                         385 SOUTH BRIDGE STREET
                   government contract                                               Auburn, MA 01501


 2.104.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AUBURN MALL 2010-12-29
             List the contract number of any                                         385 SOUTH BRIDGE STREET
                   government contract                                               Auburn, MA 01501


 2.105.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AUBURN MALL 2010-12-29
             List the contract number of any                                         385 SOUTH BRIDGE STREET
                   government contract                                               Auburn, MA 01501


 2.106.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AUBURN MALL 2010-12-29
             List the contract number of any                                         385 SOUTH BRIDGE STREET
                   government contract                                               Auburn, MA 01501




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.107.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AUGUSTA MALL 2007-03-27
             List the contract number of any                                         3450 WRIGHTBORO ROAD
                   government contract                                               Augusta, GA 30909


 2.108.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AUGUSTA MALL 2007-03-27
             List the contract number of any                                         3450 WRIGHTBORO ROAD
                   government contract                                               Augusta, GA 30909


 2.109.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AUGUSTA MALL 2007-03-27
             List the contract number of any                                         3450 WRIGHTBORO ROAD
                   government contract                                               Augusta, GA 30909


 2.110.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AUGUSTA MALL 2007-03-27
             List the contract number of any                                         3450 WRIGHTBORO ROAD
                   government contract                                               Augusta, GA 30909


 2.111.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AUGUSTA MALL 2007-03-27
             List the contract number of any                                         3450 WRIGHTBORO ROAD
                   government contract                                               Augusta, GA 30909


 2.112.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           AUGUSTA MALL 2007-03-27
                                                                                     3450 WRIGHTBORO ROAD
             List the contract number of any                                         Augusta, GA 30909
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.113.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AVENUE AT MURFREESBORO 2006-08-28
             List the contract number of any                                         2615 MEDICAL CENTER PKWY
                   government contract                                               Murfreesboro, TN 37129


 2.114.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AVENUE AT MURFREESBORO 2006-08-28
             List the contract number of any                                         2615 MEDICAL CENTER PKWY
                   government contract                                               Murfreesboro, TN 37129


 2.115.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AVENUE AT MURFREESBORO 2006-08-28
             List the contract number of any                                         2615 MEDICAL CENTER PKWY
                   government contract                                               Murfreesboro, TN 37129


 2.116.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AVENUE AT MURFREESBORO 2006-08-28
             List the contract number of any                                         2615 MEDICAL CENTER PKWY
                   government contract                                               Murfreesboro, TN 37129


 2.117.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AVENUE AT WEBB GIN 2006-04-28
             List the contract number of any                                         1350 SCENIC HWY 124 SP#332
                   government contract                                               Snellville, GA 30078


 2.118.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          AVENUE AT WEBB GIN 2006-04-28
             the debtor's interest                                                   1350 SCENIC HWY 124 SP#332
                                                                                     Snellville, GA 30078
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.119.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      AVENUE AT WEBB GIN 2006-04-28
             List the contract number of any                                          1350 SCENIC HWY 124 SP#332
                   government contract                                                Snellville, GA 30078


 2.120.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      AVENUE AT WEBB GIN 2006-04-28
             List the contract number of any                                          1350 SCENIC HWY 124 SP#332
                   government contract                                                Snellville, GA 30078


 2.121.      State what the contract or                   Global Bin file w/all
             lease is for and the nature of               credit card types to
             the debtor's interest                        POS Systems.

                  State the term remaining                                            Bank of America Merch Svc
                                                                                      150 North College Street
             List the contract number of any                                          15th Floor
                   government contract                                                Charlotte, NC 28202


 2.122.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      BASSETT PLACE 1995-06-09
             List the contract number of any                                          6101 GATEWAY WEST SP # B-7
                   government contract                                                El Paso, TX 79925


 2.123.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      BASSETT PLACE 1995-06-09
             List the contract number of any                                          6101 GATEWAY WEST SP # B-7
                   government contract                                                El Paso, TX 79925




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.124.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BASSETT PLACE 1995-06-09
             List the contract number of any                                         6101 GATEWAY WEST SP # B-7
                   government contract                                               El Paso, TX 79925


 2.125.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BASSETT PLACE 1995-06-09
             List the contract number of any                                         6101 GATEWAY WEST SP # B-7
                   government contract                                               El Paso, TX 79925


 2.126.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BASSETT PLACE 1995-06-09
             List the contract number of any                                         6101 GATEWAY WEST SP # B-7
                   government contract                                               El Paso, TX 79925


 2.127.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BASSETT PLACE 1995-06-09
             List the contract number of any                                         6101 GATEWAY WEST SP # B-7
                   government contract                                               El Paso, TX 79925


 2.128.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BASSETT PLACE 1995-06-09
             List the contract number of any                                         6101 GATEWAY WEST SP # B-7
                   government contract                                               El Paso, TX 79925


 2.129.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BASSETT PLACE 1995-06-09
                                                                                     6101 GATEWAY WEST SP # B-7
             List the contract number of any                                         El Paso, TX 79925
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.130.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BASSETT PLACE 1995-06-09
             List the contract number of any                                         6101 GATEWAY WEST SP # B-7
                   government contract                                               El Paso, TX 79925


 2.131.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BAY TERRACE AT BAYSIDE 2006-05-16
             List the contract number of any                                         23-92 BELL BLVD SP # 23-92
                   government contract                                               Bayside, NY 11360


 2.132.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BAY TERRACE AT BAYSIDE 2006-05-16
             List the contract number of any                                         23-92 BELL BLVD SP # 23-92
                   government contract                                               Bayside, NY 11360


 2.133.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BAY TERRACE AT BAYSIDE 2006-05-16
             List the contract number of any                                         23-92 BELL BLVD SP # 23-92
                   government contract                                               Bayside, NY 11360


 2.134.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BAY TERRACE AT BAYSIDE 2006-05-16
             List the contract number of any                                         23-92 BELL BLVD SP # 23-92
                   government contract                                               Bayside, NY 11360


 2.135.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          BAYBROOK 2015-07-31
             the debtor's interest                                                   500 BAYBROOK MALL DR
                                                                                     Friendswook, TX 77546
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.136.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Beachwood Place
             List the contract number of any                                         26300 Cedar Rd
                   government contract                                               Beachwood, OH 44122


 2.137.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Beachwood Place
             List the contract number of any                                         26300 Cedar Rd
                   government contract                                               Beachwood, OH 44122


 2.138.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BELDEN VILLAGE 2004-05-26
             List the contract number of any                                         4164 BELDEN VILLAGE SP C13
                   government contract                                               Canton, OH 44718


 2.139.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BELDEN VILLAGE 2004-05-26
             List the contract number of any                                         4164 BELDEN VILLAGE SP C13
                   government contract                                               Canton, OH 44718


 2.140.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BELDEN VILLAGE 2004-05-26
             List the contract number of any                                         4164 BELDEN VILLAGE SP C13
                   government contract                                               Canton, OH 44718




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.141.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BELDEN VILLAGE 2004-05-26
             List the contract number of any                                         4164 BELDEN VILLAGE SP C13
                   government contract                                               Canton, OH 44718


 2.142.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BELDEN VILLAGE 2004-05-26
             List the contract number of any                                         4164 BELDEN VILLAGE SP C13
                   government contract                                               Canton, OH 44718


 2.143.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BELDEN VILLAGE 2004-05-26
             List the contract number of any                                         4164 BELDEN VILLAGE SP C13
                   government contract                                               Canton, OH 44718


 2.144.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BELDEN VILLAGE 2004-05-26
             List the contract number of any                                         4164 BELDEN VILLAGE SP C13
                   government contract                                               Canton, OH 44718


 2.145.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BERGEN MALL 2008-08-05
             List the contract number of any                                         328 BERGEN MALL SP # 318
                   government contract                                               Paramus, NJ 07652


 2.146.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BERGEN MALL 2008-08-05
                                                                                     328 BERGEN MALL SP # 318
             List the contract number of any                                         Paramus, NJ 07652
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.147.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BERGEN MALL 2008-08-05
             List the contract number of any                                         328 BERGEN MALL SP # 318
                   government contract                                               Paramus, NJ 07652


 2.148.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BERGEN MALL 2008-08-05
             List the contract number of any                                         328 BERGEN MALL SP # 318
                   government contract                                               Paramus, NJ 07652


 2.149.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BERGEN MALL 2008-08-05
             List the contract number of any                                         328 BERGEN MALL SP # 318
                   government contract                                               Paramus, NJ 07652


 2.150.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BERGEN MALL 2008-08-05
             List the contract number of any                                         328 BERGEN MALL SP # 318
                   government contract                                               Paramus, NJ 07652


 2.151.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BERGEN MALL 2008-08-05
             List the contract number of any                                         328 BERGEN MALL SP # 318
                   government contract                                               Paramus, NJ 07652


 2.152.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          BERGEN MALL 2008-08-05
             the debtor's interest                                                   328 BERGEN MALL SP # 318
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.153.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BERGENLINE AVE. 2006-05-31
             List the contract number of any                                         3701 BERGENLINE AVENUE
                   government contract                                               Union City, NJ 07087


 2.154.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BERGENLINE AVE. 2006-05-31
             List the contract number of any                                         3701 BERGENLINE AVENUE
                   government contract                                               Union City, NJ 07087


 2.155.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BIRCH RUN PREMIUM OUTLETS 2010-03-12
             List the contract number of any                                         12240 SOUTH BEYER RD SP # V
                   government contract                                               Birch Run, MI 48415


 2.156.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BIRCH RUN PREMIUM OUTLETS 2010-03-12
             List the contract number of any                                         12240 SOUTH BEYER RD SP # V
                   government contract                                               Birch Run, MI 48415


 2.157.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BIRCH RUN PREMIUM OUTLETS 2010-03-12
             List the contract number of any                                         12240 SOUTH BEYER RD SP # V
                   government contract                                               Birch Run, MI 48415




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.158.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      BIRCH RUN PREMIUM OUTLETS 2010-03-12
             List the contract number of any                                          12240 SOUTH BEYER RD SP # V
                   government contract                                                Birch Run, MI 48415


 2.159.      State what the contract or                   Kate Hudson licensing
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining                                            Birdie Licensing
                                                                                      c/o Peter Hess, Creative Artists Agency
             List the contract number of any                                          405 Lexington Floor 19
                   government contract                                                New York, NY 10174


 2.160.      State what the contract or                   Extend to intl rights
             lease is for and the nature of               w/Selfridges
             the debtor's interest

                  State the term remaining                                            Birdie Licensing
                                                                                      c/o Peter Hess, Creative Artists Agency
             List the contract number of any                                          405 Lexington Floor 19
                   government contract                                                New York, NY 10174


 2.161.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      BLAKENEY SHOPPING CENTER 2007-09-13
             List the contract number of any                                          9876 REA ROAD
                   government contract                                                Charlotte, NC 28277


 2.162.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      BLAKENEY SHOPPING CENTER 2007-09-13
             List the contract number of any                                          9876 REA ROAD
                   government contract                                                Charlotte, NC 28277


 2.163.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            BLAKENEY SHOPPING CENTER 2007-09-13
                                                                                      9876 REA ROAD
             List the contract number of any                                          Charlotte, NC 28277
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.164.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BOWIE TOWN CENTER
             List the contract number of any                                         15606 Emerald Way
                   government contract                                               Bowie, MD 20716


 2.165.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BOWIE TOWN CENTER
             List the contract number of any                                         15606 Emerald Way
                   government contract                                               Bowie, MD 20716


 2.166.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BOWIE TOWN CENTER
             List the contract number of any                                         15606 Emerald Way
                   government contract                                               Bowie, MD 20716


 2.167.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BOWIE TOWN CENTER 2008-03-17
             List the contract number of any                                         15443 EMERALD WAY
                   government contract                                               Bowie, MD 20716


 2.168.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BOWIE TOWN CENTER 2008-03-17
             List the contract number of any                                         15443 EMERALD WAY
                   government contract                                               Bowie, MD 20716


 2.169.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          BOYNTON BEACH MALL 2008-04-21
             the debtor's interest                                                   801 NORTH CONGRESS AVE
                                                                                     Boynton Beach, FL 33426
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.170.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BOYNTON BEACH MALL 2008-04-21
             List the contract number of any                                         801 NORTH CONGRESS AVE
                   government contract                                               Boynton Beach, FL 33426


 2.171.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BOYNTON BEACH MALL 2008-04-21
             List the contract number of any                                         801 NORTH CONGRESS AVE
                   government contract                                               Boynton Beach, FL 33426


 2.172.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BOYNTON BEACH MALL 2008-04-21
             List the contract number of any                                         801 NORTH CONGRESS AVE
                   government contract                                               Boynton Beach, FL 33426


 2.173.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BOYNTON BEACH MALL 2008-04-21
             List the contract number of any                                         801 NORTH CONGRESS AVE
                   government contract                                               Boynton Beach, FL 33426


 2.174.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BRANDON TOWN CENTER 2007-04-04
                                                                                     459 BRANDON TOWN CTR
             List the contract number of any                                         # 40
                   government contract                                               Brandon, FL 33511




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.175.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BRANDON TOWN CENTER 2007-04-04
                                                                                     459 BRANDON TOWN CTR
             List the contract number of any                                         # 40
                   government contract                                               Brandon, FL 33511


 2.176.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BRANDON TOWN CENTER 2007-04-04
                                                                                     459 BRANDON TOWN CTR
             List the contract number of any                                         # 40
                   government contract                                               Brandon, FL 33511


 2.177.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BRANDON TOWN CENTER 2007-04-04
                                                                                     459 BRANDON TOWN CTR
             List the contract number of any                                         # 40
                   government contract                                               Brandon, FL 33511


 2.178.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BRANDON TOWN CENTER 2007-04-04
                                                                                     459 BRANDON TOWN CTR
             List the contract number of any                                         # 40
                   government contract                                               Brandon, FL 33511


 2.179.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BRANDON TOWN CENTER 2007-04-04
                                                                                     459 BRANDON TOWN CTR
             List the contract number of any                                         # 40
                   government contract                                               Brandon, FL 33511


 2.180.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BRANSON TANGER OUTLET 2013-09-17
                                                                                     300 Tanger Boulevard
             List the contract number of any                                         Branson, MO 65616
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.181.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRANSON TANGER OUTLET 2013-09-17
             List the contract number of any                                         300 Tanger Boulevard
                   government contract                                               Branson, MO 65616


 2.182.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRANSON TANGER OUTLET 2013-09-17
             List the contract number of any                                         300 Tanger Boulevard
                   government contract                                               Branson, MO 65616


 2.183.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRANSON TANGER OUTLET 2013-09-17
             List the contract number of any                                         300 Tanger Boulevard
                   government contract                                               Branson, MO 65616


 2.184.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRASS MILL CENTER 1998-11-24
             List the contract number of any                                         495 UNION STREET SP 1052
                   government contract                                               Waterbury, CT 06721


 2.185.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRASS MILL CENTER 1998-11-24
             List the contract number of any                                         495 UNION STREET SP 1052
                   government contract                                               Waterbury, CT 06721


 2.186.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          BRASS MILL CENTER 1998-11-24
             the debtor's interest                                                   495 UNION STREET SP 1052
                                                                                     Waterbury, CT 06721
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.187.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRASS MILL CENTER 1998-11-24
             List the contract number of any                                         495 UNION STREET SP 1052
                   government contract                                               Waterbury, CT 06721


 2.188.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRASS MILL CENTER 1998-11-24
             List the contract number of any                                         495 UNION STREET SP 1052
                   government contract                                               Waterbury, CT 06721


 2.189.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRASS MILL CENTER 1998-11-24
             List the contract number of any                                         495 UNION STREET SP 1052
                   government contract                                               Waterbury, CT 06721


 2.190.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRASS MILL CENTER 1998-11-24
             List the contract number of any                                         495 UNION STREET SP 1052
                   government contract                                               Waterbury, CT 06721


 2.191.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRASS MILL CENTER 1998-11-24
             List the contract number of any                                         495 UNION STREET SP 1052
                   government contract                                               Waterbury, CT 06721




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.192.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRASS MILL CENTER 1998-11-24
             List the contract number of any                                         495 UNION STREET SP 1052
                   government contract                                               Waterbury, CT 06721


 2.193.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRIDGE STREET 2007-08-28
             List the contract number of any                                         340 BRIDGE STREET #124
                   government contract                                               Huntsville, AL 35806


 2.194.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRIDGE STREET 2007-08-28
             List the contract number of any                                         340 BRIDGE STREET #124
                   government contract                                               Huntsville, AL 35806


 2.195.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRIDGE STREET 2007-08-28
             List the contract number of any                                         340 BRIDGE STREET #124
                   government contract                                               Huntsville, AL 35806


 2.196.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRIDGE STREET 2007-08-28
             List the contract number of any                                         340 BRIDGE STREET #124
                   government contract                                               Huntsville, AL 35806


 2.197.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BROADWAY MALL 2016-06-27
                                                                                     202 BROADWAY MALL
             List the contract number of any                                         Hicksville, NY 11801
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.198.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BROADWAY MALL 2016-06-27
             List the contract number of any                                         202 BROADWAY MALL
                   government contract                                               Hicksville, NY 11801


 2.199.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BROADWAY MALL 2016-06-27
             List the contract number of any                                         202 BROADWAY MALL
                   government contract                                               Hicksville, NY 11801


 2.200.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BROWARD MALL 2017-03-29
             List the contract number of any                                         8000 BROWARD MALL SP # 1723
                   government contract                                               Plantation, FL 33388


 2.201.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRUNSWICK SQUARE 2015-02-03
             List the contract number of any                                         755 NJ STATE HWY 18
                   government contract                                               East Brunswick, NJ 08816


 2.202.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRUNSWICK SQUARE 2015-02-03
             List the contract number of any                                         755 NJ STATE HWY 18
                   government contract                                               East Brunswick, NJ 08816


 2.203.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          BRUNSWICK SQUARE 2015-02-03
             the debtor's interest                                                   755 NJ STATE HWY 18
                                                                                     East Brunswick, NJ 08816
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.204.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRUNSWICK SQUARE 2015-02-03
             List the contract number of any                                         755 NJ STATE HWY 18
                   government contract                                               East Brunswick, NJ 08816


 2.205.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BRUNSWICK SQUARE 2015-02-03
             List the contract number of any                                         755 NJ STATE HWY 18
                   government contract                                               East Brunswick, NJ 08816


 2.206.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BUCKLAND HILLS, THE SHOPPES AT
                                                                                     2015-03-31
             List the contract number of any                                         194 BUCKLAND HILLS DRIVE
                   government contract                                               Manchester, CT 06040


 2.207.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BUCKLAND HILLS, THE SHOPPES AT
                                                                                     2015-03-31
             List the contract number of any                                         194 BUCKLAND HILLS DRIVE
                   government contract                                               Manchester, CT 06040


 2.208.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURBANK TOWN CENTER 1991-11-25
             List the contract number of any                                         201 E MAGNOLIA AVE
                   government contract                                               Burbank, CA 91502




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.209.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURBANK TOWN CENTER 1991-11-25
             List the contract number of any                                         201 E MAGNOLIA AVE
                   government contract                                               Burbank, CA 91502


 2.210.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURBANK TOWN CENTER 1991-11-25
             List the contract number of any                                         201 E MAGNOLIA AVE
                   government contract                                               Burbank, CA 91502


 2.211.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURBANK TOWN CENTER 1991-11-25
             List the contract number of any                                         201 E MAGNOLIA AVE
                   government contract                                               Burbank, CA 91502


 2.212.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURBANK TOWN CENTER 1991-11-25
             List the contract number of any                                         201 E MAGNOLIA AVE
                   government contract                                               Burbank, CA 91502


 2.213.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURBANK TOWN CENTER 1991-11-25
             List the contract number of any                                         201 E MAGNOLIA AVE
                   government contract                                               Burbank, CA 91502


 2.214.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BURBANK TOWN CENTER 1991-11-25
                                                                                     201 E MAGNOLIA AVE
             List the contract number of any                                         Burbank, CA 91502
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.215.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURBANK TOWN CENTER 1991-11-25
             List the contract number of any                                         201 E MAGNOLIA AVE
                   government contract                                               Burbank, CA 91502


 2.216.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.217.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.218.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.219.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.220.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          BURR RIDGE VILLAGE CENTER 2007-08-10
             the debtor's interest                                                   565 VILLAGE CENTER DRIVE
                                                                                     Burr Ridge, IL 60527
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.221.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.222.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.223.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.224.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.225.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.226.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.227.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.228.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.229.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.230.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.231.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           BURR RIDGE VILLAGE CENTER 2007-08-10
                                                                                     565 VILLAGE CENTER DRIVE
             List the contract number of any                                         Burr Ridge, IL 60527
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.232.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.233.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BURR RIDGE VILLAGE CENTER 2007-08-10
             List the contract number of any                                         565 VILLAGE CENTER DRIVE
                   government contract                                               Burr Ridge, IL 60527


 2.234.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAMBRIDGESIDE GALLERIA 2015-07-31
             List the contract number of any                                         100 CAMBRIDGESIDE PL
                   government contract                                               Cambridge, MA 02141


 2.235.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAMBRIDGESIDE GALLERIA 2015-07-31
             List the contract number of any                                         100 CAMBRIDGESIDE PL
                   government contract                                               Cambridge, MA 02141


 2.236.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAMBRIDGESIDE GALLERIA 2015-07-31
             List the contract number of any                                         100 CAMBRIDGESIDE PL
                   government contract                                               Cambridge, MA 02141


 2.237.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          CAPITAL CITY MALL
             the debtor's interest                                                   3506 CAPITAL CITY MALL DR
                                                                                     Camp Hill, PA 17011
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.238.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAPITAL CITY MALL
             List the contract number of any                                         3506 CAPITAL CITY MALL DR
                   government contract                                               Camp Hill, PA 17011


 2.239.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAPITAL CITY MALL
             List the contract number of any                                         3506 CAPITAL CITY MALL DR
                   government contract                                               Camp Hill, PA 17011


 2.240.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAPITAL CITY MALL
             List the contract number of any                                         3506 CAPITAL CITY MALL DR
                   government contract                                               Camp Hill, PA 17011


 2.241.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAPITAL CITY MALL
             List the contract number of any                                         3506 CAPITAL CITY MALL DR
                   government contract                                               Camp Hill, PA 17011


 2.242.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAPITAL CITY MALL
             List the contract number of any                                         3506 CAPITAL CITY MALL DR
                   government contract                                               Camp Hill, PA 17011




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.243.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAPITAL CITY MALL
             List the contract number of any                                         3506 CAPITAL CITY MALL DR
                   government contract                                               Camp Hill, PA 17011


 2.244.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAPITAL CITY MALL
             List the contract number of any                                         3506 CAPITAL CITY MALL DR
                   government contract                                               Camp Hill, PA 17011


 2.245.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAPITAL CITY MALL
             List the contract number of any                                         3506 CAPITAL CITY MALL DR
                   government contract                                               Camp Hill, PA 17011


 2.246.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAROLINA PLACE 2013-09-12
             List the contract number of any                                         11025 CAROLINA PLACE PWY
                   government contract                                               Pineville, NC 28134


 2.247.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAROLINA PLACE 2013-09-12
             List the contract number of any                                         11025 CAROLINA PLACE PWY
                   government contract                                               Pineville, NC 28134


 2.248.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CAROLINA PLACE 2013-09-12
                                                                                     11025 CAROLINA PLACE PWY
             List the contract number of any                                         Pineville, NC 28134
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.249.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAROLINA PLACE 2013-09-12
             List the contract number of any                                         11025 CAROLINA PLACE PWY
                   government contract                                               Pineville, NC 28134


 2.250.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAROLINA PREMIUM OUTLETS 2010-05-21
             List the contract number of any                                         1025 INDUSTRIAL PARK DRIVE
                   government contract                                               Smithfield, NC 27577


 2.251.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAROLINA PREMIUM OUTLETS 2010-05-21
             List the contract number of any                                         1025 INDUSTRIAL PARK DRIVE
                   government contract                                               Smithfield, NC 27577


 2.252.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CAROLINA PREMIUM OUTLETS 2010-05-21
             List the contract number of any                                         1025 INDUSTRIAL PARK DRIVE
                   government contract                                               Smithfield, NC 27577


 2.253.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CARRIAGE CROSSING 2005-07-28
             List the contract number of any                                         4670 MERCHANT'S PARK SP65
                   government contract                                               Collierville, TN 38017


 2.254.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          CARRIAGE CROSSING 2005-07-28
             the debtor's interest                                                   4670 MERCHANT'S PARK SP65
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.255.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CARRIAGE CROSSING 2005-07-28
             List the contract number of any                                         4670 MERCHANT'S PARK SP65
                   government contract                                               Collierville, TN 38017


 2.256.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CARRIAGE CROSSING 2005-07-28
             List the contract number of any                                         4670 MERCHANT'S PARK SP65
                   government contract                                               Collierville, TN 38017


 2.257.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CARRIAGE CROSSING 2005-07-28
             List the contract number of any                                         4670 MERCHANT'S PARK SP65
                   government contract                                               Collierville, TN 38017


 2.258.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CARRIAGE CROSSING 2005-07-28
             List the contract number of any                                         4670 MERCHANT'S PARK SP65
                   government contract                                               Collierville, TN 38017


 2.259.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CARRIAGE CROSSING 2005-07-28
             List the contract number of any                                         4670 MERCHANT'S PARK SP65
                   government contract                                               Collierville, TN 38017




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.260.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CARY TOWNE CENTER 2004-04-06
             List the contract number of any                                         1105 WALNUT STREET SP #G1120
                   government contract                                               Cary, NC 27511


 2.261.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CARY TOWNE CENTER 2004-04-06
             List the contract number of any                                         1105 WALNUT STREET SP #G1120
                   government contract                                               Cary, NC 27511


 2.262.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CARY TOWNE CENTER 2004-04-06
             List the contract number of any                                         1105 WALNUT STREET SP #G1120
                   government contract                                               Cary, NC 27511


 2.263.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CARY TOWNE CENTER 2004-04-06
             List the contract number of any                                         1105 WALNUT STREET SP #G1120
                   government contract                                               Cary, NC 27511


 2.264.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CARY TOWNE CENTER 2004-04-06
             List the contract number of any                                         1105 WALNUT STREET SP #G1120
                   government contract                                               Cary, NC 27511


 2.265.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CARY TOWNE CENTER 2004-04-06
                                                                                     1105 WALNUT STREET SP #G1120
             List the contract number of any                                         Cary, NC 27511
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.266.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CASTLETON SQUARE 2011-01-04
             List the contract number of any                                         6020 E 82ND ST
                   government contract                                               Indianapolis, IN 46250


 2.267.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CASTLETON SQUARE 2011-01-04
             List the contract number of any                                         6020 E 82ND ST
                   government contract                                               Indianapolis, IN 46250


 2.268.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CASTLETON SQUARE 2011-01-04
             List the contract number of any                                         6020 E 82ND ST
                   government contract                                               Indianapolis, IN 46250


 2.269.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CASTLETON SQUARE 2011-01-04
             List the contract number of any                                         6020 E 82ND ST
                   government contract                                               Indianapolis, IN 46250


 2.270.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CASTLETON SQUARE 2011-01-04
             List the contract number of any                                         6020 E 82ND ST
                   government contract                                               Indianapolis, IN 46250


 2.271.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          CENTRE AT SALISBURY 2006-02-20
             the debtor's interest                                                   2300 N SALISBURY BLD SPD
                                                                                     Salisbury, MD 21801
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.272.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CENTRE AT SALISBURY 2006-02-20
             List the contract number of any                                         2300 N SALISBURY BLD SPD
                   government contract                                               Salisbury, MD 21801


 2.273.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CENTRE AT SALISBURY 2006-02-20
             List the contract number of any                                         2300 N SALISBURY BLD SPD
                   government contract                                               Salisbury, MD 21801


 2.274.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CENTRE AT SALISBURY 2006-02-20
             List the contract number of any                                         2300 N SALISBURY BLD SPD
                   government contract                                               Salisbury, MD 21801


 2.275.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CENTRE AT SALISBURY 2006-02-20
             List the contract number of any                                         2300 N SALISBURY BLD SPD
                   government contract                                               Salisbury, MD 21801


 2.276.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHANDLER FASHION CENTER 2015-04-16
             List the contract number of any                                         3111 W. CHANDLER BLVD SP # 1136
                   government contract                                               Chandler, AZ 85224




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.277.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHARLESTON TANGER OUTLET 2013-07-12
             List the contract number of any                                         4840 Tanger Outlet Blvd.
                   government contract                                               N Charleston, SC 29418


 2.278.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHARLOTTE PREMIUM OUTLETS 2014-06-09
             List the contract number of any                                         Shopton and Steele Creek Rds, Space 125
                   government contract                                               Charlotte, NC 28278


 2.279.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHARLOTTE PREMIUM OUTLETS 2014-06-09
             List the contract number of any                                         Shopton and Steele Creek Rds, Space 125
                   government contract                                               Charlotte, NC 28278


 2.280.      State what the contract or                   Bankcard services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Chase Paymentech
                                                                                     265 Broad Hollow Rd
             List the contract number of any                                         Attn: EVP Operations
                   government contract                                               Melville, FL 33065


 2.281.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Cherry Hill FTF
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.282.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Cherry Hill FTF
                                                                                     2000 RT 38 SPACE # 1865
             List the contract number of any                                         Cherry Hill, NJ 08002
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.283.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.284.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.285.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.286.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.287.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.288.      State what the contract or                   Storage Agreement
             lease is for and the nature of                                          CHERRY HILL MALL 2005-06-02
             the debtor's interest                                                   2000 RT 38 SPACE # 1865
                                                                                     Cherry Hill, NJ 08002
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.289.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.290.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.291.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.292.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.293.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.294.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.295.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.296.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHERRY HILL MALL 2005-06-02
             List the contract number of any                                         2000 RT 38 SPACE # 1865
                   government contract                                               Cherry Hill, NJ 08002


 2.297.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHESAPEAKE SQUARE 2007-08-06
             List the contract number of any                                         4200 PORTSMOUTH BLVD
                   government contract                                               Chesapeake, VA 23321


 2.298.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHESAPEAKE SQUARE 2007-08-06
             List the contract number of any                                         4200 PORTSMOUTH BLVD
                   government contract                                               Chesapeake, VA 23321


 2.299.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CHESAPEAKE SQUARE 2007-08-06
                                                                                     4200 PORTSMOUTH BLVD
             List the contract number of any                                         Chesapeake, VA 23321
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.300.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHESAPEAKE SQUARE 2007-08-06
             List the contract number of any                                         4200 PORTSMOUTH BLVD
                   government contract                                               Chesapeake, VA 23321


 2.301.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHESAPEAKE SQUARE 2007-08-06
             List the contract number of any                                         4200 PORTSMOUTH BLVD
                   government contract                                               Chesapeake, VA 23321


 2.302.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHESTERFIELD TOWNE CENTER (VA)
             List the contract number of any                                         11500 MIDLOTHIAN TPKE
                   government contract                                               Richmond, VA 23235


 2.303.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHESTERFIELD TOWNE CENTER (VA)
             List the contract number of any                                         11500 MIDLOTHIAN TPKE
                   government contract                                               Richmond, VA 23235


 2.304.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHESTERFIELD TOWNE CENTER (VA)
             List the contract number of any                                         11500 MIDLOTHIAN TPKE
                   government contract                                               Richmond, VA 23235


 2.305.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          CHESTERFIELD TOWNE CENTER (VA)
             the debtor's interest                                                   11500 MIDLOTHIAN TPKE
                                                                                     Richmond, VA 23235
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.306.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHESTERFIELD TOWNE CENTER (VA)
             List the contract number of any                                         11500 MIDLOTHIAN TPKE
                   government contract                                               Richmond, VA 23235


 2.307.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHESTERFIELD TOWNE CENTER (VA)
             List the contract number of any                                         11500 MIDLOTHIAN TPKE
                   government contract                                               Richmond, VA 23235


 2.308.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHICAGO OUTLET 2010-06-25
             List the contract number of any                                         1650 PREMIUM OUTLETS SP5
                   government contract                                               Aurora, IL 60502


 2.309.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHICAGO RIDGE MALL 2013-08-30
             List the contract number of any                                         170 CHICAGO RIDGE SP204
                   government contract                                               Chicago Ridge, IL 60415


 2.310.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHICAGO RIDGE MALL 2013-08-30
             List the contract number of any                                         170 CHICAGO RIDGE SP204
                   government contract                                               Chicago Ridge, IL 60415




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.311.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHICAGO RIDGE MALL 2013-08-30
             List the contract number of any                                         170 CHICAGO RIDGE SP204
                   government contract                                               Chicago Ridge, IL 60415


 2.312.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHICAGO RIDGE MALL 2013-08-30
             List the contract number of any                                         170 CHICAGO RIDGE SP204
                   government contract                                               Chicago Ridge, IL 60415


 2.313.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHINO HILLS 2007-10-31
             List the contract number of any                                         13855 CITY CENTER DRIVE
                   government contract                                               Chino Hills, CA 91709


 2.314.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHINO HILLS 2007-10-31
             List the contract number of any                                         13855 CITY CENTER DRIVE
                   government contract                                               Chino Hills, CA 91709


 2.315.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHINO HILLS 2007-10-31
             List the contract number of any                                         13855 CITY CENTER DRIVE
                   government contract                                               Chino Hills, CA 91709


 2.316.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CHINO HILLS 2007-10-31
                                                                                     13855 CITY CENTER DRIVE
             List the contract number of any                                         Chino Hills, CA 91709
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.317.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHINO HILLS 2007-10-31
             List the contract number of any                                         13855 CITY CENTER DRIVE
                   government contract                                               Chino Hills, CA 91709


 2.318.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHINO HILLS 2007-10-31
             List the contract number of any                                         13855 CITY CENTER DRIVE
                   government contract                                               Chino Hills, CA 91709


 2.319.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHINO HILLS 2007-10-31
             List the contract number of any                                         13855 CITY CENTER DRIVE
                   government contract                                               Chino Hills, CA 91709


 2.320.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CHULA VISTA CENTER 2015-10-29
             List the contract number of any                                         555 BROADWAY SP # 1050
                   government contract                                               Chula Vista, CA 91910


 2.321.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CIELO VISTA MALL 2008-05-19
             List the contract number of any                                         8401 GATEWAY WEST SP# R08A
                   government contract                                               El Paso, TX 79925


 2.322.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          CIELO VISTA MALL 2008-05-19
             the debtor's interest                                                   8401 GATEWAY WEST SP# R08A
                                                                                     El Paso, TX 79925
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.323.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CIELO VISTA MALL 2008-05-19
             List the contract number of any                                         8401 GATEWAY WEST SP# R08A
                   government contract                                               El Paso, TX 79925


 2.324.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CIELO VISTA MALL 2008-05-19
             List the contract number of any                                         8401 GATEWAY WEST SP# R08A
                   government contract                                               El Paso, TX 79925


 2.325.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CIELO VISTA MALL 2008-05-19
             List the contract number of any                                         8401 GATEWAY WEST SP# R08A
                   government contract                                               El Paso, TX 79925


 2.326.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CINCINNATI OUTLET 2010-05-10
             List the contract number of any                                         122 PREMIUM OUTLETS DRIVE
                   government contract                                               Monroe, OH 45050


 2.327.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CINCINNATI OUTLET 2010-05-10
             List the contract number of any                                         122 PREMIUM OUTLETS DRIVE
                   government contract                                               Monroe, OH 45050




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.328.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CIRCLE CENTRE 2011-01-04
                                                                                     Circle Centre Mall LLC
             List the contract number of any                                         225 W Washington St
                   government contract                                               Indianapolis, IN 46204


 2.329.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CIRCLE CENTRE 2011-01-04
                                                                                     Circle Centre Mall LLC
             List the contract number of any                                         225 W Washington St
                   government contract                                               Indianapolis, IN 46204


 2.330.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CIRCLE CENTRE 2011-01-04
                                                                                     Circle Centre Mall LLC
             List the contract number of any                                         225 W Washington St
                   government contract                                               Indianapolis, IN 46204


 2.331.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CIRCLE CENTRE 2011-01-04
                                                                                     Circle Centre Mall LLC
             List the contract number of any                                         225 W Washington St
                   government contract                                               Indianapolis, IN 46204


 2.332.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CIRCLE CENTRE 2011-01-04
                                                                                     Circle Centre Mall LLC
             List the contract number of any                                         225 W Washington St
                   government contract                                               Indianapolis, IN 46204


 2.333.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest
                                                                                     CIRCLE CENTRE 2011-01-04
                  State the term remaining                                           Circle Centre Mall LLC
                                                                                     225 W Washington St
             List the contract number of any                                         Indianapolis, IN 46204
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.334.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CITADEL MALL 2006-02-10
             List the contract number of any                                         2070 SAM RITTENBERG SP #C-
                   government contract                                               Charleston, SC 29407


 2.335.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CITADEL MALL 2006-02-10
             List the contract number of any                                         2070 SAM RITTENBERG SP #C-
                   government contract                                               Charleston, SC 29407


 2.336.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CITADEL MALL 2006-02-10
             List the contract number of any                                         2070 SAM RITTENBERG SP #C-
                   government contract                                               Charleston, SC 29407


 2.337.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CITADEL MALL 2006-02-10
             List the contract number of any                                         2070 SAM RITTENBERG SP #C-
                   government contract                                               Charleston, SC 29407


 2.338.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CITADEL MALL 2006-02-10
             List the contract number of any                                         2070 SAM RITTENBERG SP #C-
                   government contract                                               Charleston, SC 29407


 2.339.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          COLONIE CENTER 1991-10-04
             the debtor's interest                                                   131 COLONIE CENTER SP 337
                                                                                     Albany, NY 12205
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.340.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     COLONIE CENTER 1991-10-04
             List the contract number of any                                         131 COLONIE CENTER SP 337
                   government contract                                               Albany, NY 12205


 2.341.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     COLONIE CENTER 1991-10-04
             List the contract number of any                                         131 COLONIE CENTER SP 337
                   government contract                                               Albany, NY 12205


 2.342.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     COLONIE CENTER 1991-10-04
             List the contract number of any                                         131 COLONIE CENTER SP 337
                   government contract                                               Albany, NY 12205


 2.343.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     COLONIE CENTER 1991-10-04
             List the contract number of any                                         131 COLONIE CENTER SP 337
                   government contract                                               Albany, NY 12205


 2.344.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     COLONIE CENTER 1991-10-04
             List the contract number of any                                         131 COLONIE CENTER SP 337
                   government contract                                               Albany, NY 12205




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.345.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     COLONIE CENTER 1991-10-04
             List the contract number of any                                         131 COLONIE CENTER SP 337
                   government contract                                               Albany, NY 12205


 2.346.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     COLONIE CENTER 1991-10-04
             List the contract number of any                                         131 COLONIE CENTER SP 337
                   government contract                                               Albany, NY 12205


 2.347.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     COLUMBIANA CTR 2012-02-03
             List the contract number of any                                         100 COLUMBIANA CIR SP # 122
                   government contract                                               Columbia, SC 29212


 2.348.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONCORD MALL 2004-09-03
             List the contract number of any                                         4737 CONCORD PIKE SP#700
                   government contract                                               Wilmington, DE 19803


 2.349.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONCORD MALL 2004-09-03
             List the contract number of any                                         4737 CONCORD PIKE SP#700
                   government contract                                               Wilmington, DE 19803


 2.350.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CONCORD MALL 2004-09-03
                                                                                     4737 CONCORD PIKE SP#700
             List the contract number of any                                         Wilmington, DE 19803
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.351.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONCORD MALL 2004-09-03
             List the contract number of any                                         4737 CONCORD PIKE SP#700
                   government contract                                               Wilmington, DE 19803


 2.352.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONCORD MALL 2004-09-03
             List the contract number of any                                         4737 CONCORD PIKE SP#700
                   government contract                                               Wilmington, DE 19803


 2.353.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONCORD MILLS 2012-01-10
             List the contract number of any                                         8111 CONCORD MILLS SP # 625
                   government contract                                               Charlotte, NC 28027


 2.354.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONCORD MILLS 2012-01-10
             List the contract number of any                                         8111 CONCORD MILLS SP # 625
                   government contract                                               Charlotte, NC 28027


 2.355.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONCORD MILLS 2012-01-10
             List the contract number of any                                         8111 CONCORD MILLS SP # 625
                   government contract                                               Charlotte, NC 28027


 2.356.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          CONCORD MILLS 2012-01-10
             the debtor's interest                                                   8111 CONCORD MILLS SP # 625
                                                                                     Charlotte, NC 28027
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.357.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONNECTICUT POST 2006-02-07
             List the contract number of any                                         1201 BOSTON POST RD SP#12
                   government contract                                               Milford, CT 06460


 2.358.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONNECTICUT POST 2006-02-07
             List the contract number of any                                         1201 BOSTON POST RD SP#12
                   government contract                                               Milford, CT 06460


 2.359.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONNECTICUT POST 2006-02-07
             List the contract number of any                                         1201 BOSTON POST RD SP#12
                   government contract                                               Milford, CT 06460


 2.360.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONNECTICUT POST 2006-02-07
             List the contract number of any                                         1201 BOSTON POST RD SP#12
                   government contract                                               Milford, CT 06460


 2.361.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CONNECTICUT POST 2006-02-07
             List the contract number of any                                         1201 BOSTON POST RD SP#12
                   government contract                                               Milford, CT 06460




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.362.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CORAL SQUARE 2007-01-22
             List the contract number of any                                         9175 W ATLANTIC BLVD
                   government contract                                               Coral Springs, FL 33071


 2.363.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CORAL SQUARE 2007-01-22
             List the contract number of any                                         9175 W ATLANTIC BLVD
                   government contract                                               Coral Springs, FL 33071


 2.364.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CORAL SQUARE 2007-01-22
             List the contract number of any                                         9175 W ATLANTIC BLVD
                   government contract                                               Coral Springs, FL 33071


 2.365.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CORAL SQUARE 2007-01-22
             List the contract number of any                                         9175 W ATLANTIC BLVD
                   government contract                                               Coral Springs, FL 33071


 2.366.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CORAL SQUARE 2007-01-22
             List the contract number of any                                         9175 W ATLANTIC BLVD
                   government contract                                               Coral Springs, FL 33071


 2.367.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CORAL SQUARE 2007-01-22
                                                                                     9175 W ATLANTIC BLVD
             List the contract number of any                                         Coral Springs, FL 33071
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.368.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CORAL SQUARE 2007-01-22
             List the contract number of any                                         9175 W ATLANTIC BLVD
                   government contract                                               Coral Springs, FL 33071


 2.369.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CORONADO CENTER 2015-06-26
             List the contract number of any                                         6600 MENAUL BLVD NE SP # B12
                   government contract                                               Albuquerque, NM 87110


 2.370.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CORONADO CENTER 2015-06-26
             List the contract number of any                                         6600 MENAUL BLVD NE SP # B12
                   government contract                                               Albuquerque, NM 87110


 2.371.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CRABTREE VALLEY MALL 1995-04-12
             List the contract number of any                                         4325 GLENWOOD AVE SP # U-23
                   government contract                                               Raleigh, NC 27612


 2.372.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CRABTREE VALLEY MALL 1995-04-12
             List the contract number of any                                         4325 GLENWOOD AVE SP # U-23
                   government contract                                               Raleigh, NC 27612


 2.373.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          CRABTREE VALLEY MALL 1995-04-12
             the debtor's interest                                                   4325 GLENWOOD AVE SP # U-23
                                                                                     Raleigh, NC 27612
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.374.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CRABTREE VALLEY MALL 1995-04-12
             List the contract number of any                                         4325 GLENWOOD AVE SP # U-23
                   government contract                                               Raleigh, NC 27612


 2.375.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CRABTREE VALLEY MALL 1995-04-12
             List the contract number of any                                         4325 GLENWOOD AVE SP # U-23
                   government contract                                               Raleigh, NC 27612


 2.376.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CRESTVIEW HILLS TOWN CT 2005-03-08
             List the contract number of any                                         2901 DIXIE HWY SP#3040
                   government contract                                               Crestview Hills, KY 41017


 2.377.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CRESTVIEW HILLS TOWN CT 2005-03-08
             List the contract number of any                                         2901 DIXIE HWY SP#3040
                   government contract                                               Crestview Hills, KY 41017


 2.378.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CRESTVIEW HILLS TOWN CT 2005-03-08
             List the contract number of any                                         2901 DIXIE HWY SP#3040
                   government contract                                               Crestview Hills, KY 41017




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.379.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CROSS COUNTY
             List the contract number of any                                         15-17 Mall Walk
                   government contract                                               Yonkers, NY 10704


 2.380.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CROSS CREEK MALL 2006-06-07
             List the contract number of any                                         Atlanta, GA 30339
                   government contract                                               Fayetteville, NC 28303


 2.381.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CROSS CREEK MALL 2006-06-07
             List the contract number of any                                         211 CROSS CREEK MALL
                   government contract                                               Fayetteville, NC 28303


 2.382.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CROSS CREEK MALL 2006-06-07
             List the contract number of any                                         211 CROSS CREEK MALL
                   government contract                                               Fayetteville, NC 28303


 2.383.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CROSS CREEK MALL 2006-06-07
             List the contract number of any                                         211 CROSS CREEK MALL
                   government contract                                               Fayetteville, NC 28303


 2.384.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CROSSING OUTLET 2010-06-08
                                                                                     1000 ROUTE 611 SP # A-21
             List the contract number of any                                         Tannersville, PA 18372
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.385.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CROSSING OUTLET 2010-06-08
             List the contract number of any                                         1000 ROUTE 611 SP # A-21
                   government contract                                               Tannersville, PA 18372


 2.386.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CROSSING OUTLET 2010-06-08
             List the contract number of any                                         1000 ROUTE 611 SP # A-21
                   government contract                                               Tannersville, PA 18372


 2.387.      State what the contract or                   Corporate gym
             lease is for and the nature of               membership
             the debtor's interest

                  State the term remaining                                           Crunch LLC
                                                                                     Old Chelsea Station
             List the contract number of any                                         PO Box 1918
                   government contract                                               New York, NY 10013


 2.388.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CULVER CITY 2011-04-01
             List the contract number of any                                         167 FOX HILLS MALL
                   government contract                                               Culver City, CA 90230


 2.389.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     CULVER CITY 2011-04-01
             List the contract number of any                                         167 FOX HILLS MALL
                   government contract                                               Culver City, CA 90230


 2.390.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          CUMBERLAND MALL 2015-06-22
             the debtor's interest                                                   1000 CUMBERLAND MALL SP# 249
                                                                                     Atlanta, GA 30339
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.391.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Danbury Fair
                                                                                     7 BACKUS AVENUE
             List the contract number of any                                         C220
                   government contract                                               Danbury, CT 06810


 2.392.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DAYTON MALL 2005-01-11
             List the contract number of any                                         2700 MIAMIBURG CENTERVILLE RD
                   government contract                                               Dayton, OH 45459


 2.393.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DAYTON MALL 2005-01-11
             List the contract number of any                                         2700 MIAMIBURG CENTERVILLE RD
                   government contract                                               Dayton, OH 45459


 2.394.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DAYTON MALL 2005-01-11
             List the contract number of any                                         2700 MIAMIBURG CENTERVILLE RD
                   government contract                                               Dayton, OH 45459


 2.395.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DAYTON MALL 2005-01-11
             List the contract number of any                                         2700 MIAMIBURG CENTERVILLE RD
                   government contract                                               Dayton, OH 45459




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.396.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DAYTON MALL 2005-01-11
             List the contract number of any                                         2700 MIAMIBURG CENTERVILLE RD
                   government contract                                               Dayton, OH 45459


 2.397.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DAYTON MALL 2005-01-11
             List the contract number of any                                         2700 MIAMIBURG CENTERVILLE RD
                   government contract                                               Dayton, OH 45459


 2.398.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DAYTON MALL 2005-01-11
             List the contract number of any                                         2700 MIAMIBURG CENTERVILLE RD
                   government contract                                               Dayton, OH 45459


 2.399.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEERBROOK MALL 2005-03-18
             List the contract number of any                                         20131 HIGHWAY 59 N SP#10
                   government contract                                               Humble, TX 77338


 2.400.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEERBROOK MALL 2005-03-18
             List the contract number of any                                         20131 HIGHWAY 59 N SP#10
                   government contract                                               Humble, TX 77338


 2.401.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           DEERBROOK MALL 2005-03-18
                                                                                     20131 HIGHWAY 59 N SP#10
             List the contract number of any                                         Humble, TX 77338
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.402.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEERBROOK MALL 2005-03-18
             List the contract number of any                                         20131 HIGHWAY 59 N SP#10
                   government contract                                               Humble, TX 77338


 2.403.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEERBROOK MALL 2005-03-18
             List the contract number of any                                         20131 HIGHWAY 59 N SP#10
                   government contract                                               Humble, TX 77338


 2.404.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEL AMO FASHION CENTER 2017-08-30
             List the contract number of any                                         3525 CARSON ST SP # 151
                   government contract                                               Torrance, CA 90503


 2.405.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEL AMO FASHION CENTER 2017-08-30
             List the contract number of any                                         3525 CARSON ST SP # 151
                   government contract                                               Torrance, CA 90503


 2.406.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEL AMO FASHION CENTER 2017-08-30
             List the contract number of any                                         3525 CARSON ST SP # 151
                   government contract                                               Torrance, CA 90503


 2.407.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          DEL NORTE 1993-08-31
             the debtor's interest                                                   5300 SAN DARIO SP 206
                                                                                     Laredo, TX 78041
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.408.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEL NORTE 1993-08-31
             List the contract number of any                                         5300 SAN DARIO SP 206
                   government contract                                               Laredo, TX 78041


 2.409.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEL NORTE 1993-08-31
             List the contract number of any                                         5300 SAN DARIO SP 206
                   government contract                                               Laredo, TX 78041


 2.410.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEL NORTE 1993-08-31
             List the contract number of any                                         5300 SAN DARIO SP 206
                   government contract                                               Laredo, TX 78041


 2.411.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEL NORTE 1993-08-31
             List the contract number of any                                         5300 SAN DARIO SP 206
                   government contract                                               Laredo, TX 78041


 2.412.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEL NORTE 1993-08-31
             List the contract number of any                                         5300 SAN DARIO SP 206
                   government contract                                               Laredo, TX 78041




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.413.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEL NORTE 1993-08-31
             List the contract number of any                                         5300 SAN DARIO SP 206
                   government contract                                               Laredo, TX 78041


 2.414.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEL NORTE 1993-08-31
             List the contract number of any                                         5300 SAN DARIO SP 206
                   government contract                                               Laredo, TX 78041


 2.415.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEPTFORD MALL 2015-07-13
             List the contract number of any                                         1750 DEPTFORD CENTER SP# 207A
                   government contract                                               Deptford, NJ 08096


 2.416.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEPTFORD MALL 2015-07-13
             List the contract number of any                                         1750 DEPTFORD CENTER SP# 207A
                   government contract                                               Deptford, NJ 08096


 2.417.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEPTFORD MALL 2015-07-13
             List the contract number of any                                         1750 DEPTFORD CENTER SP# 207A
                   government contract                                               Deptford, NJ 08096


 2.418.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           DEPTFORD MALL 2015-07-13
                                                                                     1750 DEPTFORD CENTER SP# 207A
             List the contract number of any                                         Deptford, NJ 08096
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.419.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEPTFORD MALL 2015-07-13
             List the contract number of any                                         1750 DEPTFORD CENTER SP# 207A
                   government contract                                               Deptford, NJ 08096


 2.420.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DEPTFORD MALL 2015-07-13
             List the contract number of any                                         1750 DEPTFORD CENTER SP# 207A
                   government contract                                               Deptford, NJ 08096


 2.421.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DESTINY USA 2006-12-15
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290


 2.422.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DESTINY USA 2006-12-15
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290


 2.423.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DESTINY USA 2006-12-15
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290


 2.424.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          DESTINY USA 2006-12-15
             the debtor's interest                                                   1 DESTINY USA DRIVE
                                                                                     Syracuse, NY 13290
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.425.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DESTINY USA 2006-12-15
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290


 2.426.      State what the contract or                   Credit card payment
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining                                           DFS Services LLC (Discover)
                                                                                     2500 Lake Cook Rd
             List the contract number of any                                         Bldg 2-3AA
                   government contract                                               Riverwoods, IL 60015


 2.427.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOGWOOD FESTIVAL MARKET 2006-11-29
             List the contract number of any                                         110 DOGWOOD BLVD. # 2251
                   government contract                                               Flowood, MS 39232


 2.428.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOGWOOD FESTIVAL MARKET 2006-11-29
             List the contract number of any                                         110 DOGWOOD BLVD. # 2251
                   government contract                                               Flowood, MS 39232


 2.429.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOGWOOD FESTIVAL MARKET 2006-11-29
             List the contract number of any                                         110 DOGWOOD BLVD. # 2251
                   government contract                                               Flowood, MS 39232




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.430.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOGWOOD FESTIVAL MARKET 2006-11-29
             List the contract number of any                                         110 DOGWOOD BLVD. # 2251
                   government contract                                               Flowood, MS 39232


 2.431.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOGWOOD FESTIVAL MARKET 2006-11-29
             List the contract number of any                                         110 DOGWOOD BLVD. # 2251
                   government contract                                               Flowood, MS 39232


 2.432.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOGWOOD FESTIVAL MARKET 2006-11-29
             List the contract number of any                                         110 DOGWOOD BLVD. # 2251
                   government contract                                               Flowood, MS 39232


 2.433.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOGWOOD FESTIVAL MARKET 2006-11-29
             List the contract number of any                                         110 DOGWOOD BLVD. # 2251
                   government contract                                               Flowood, MS 39232


 2.434.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOLPHIN MALL OUTLET 2006-08-
             List the contract number of any                                         11404 NW 12 STREET
                   government contract                                               Miami, FL 33172


 2.435.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           DOLPHIN MALL OUTLET 2006-08-04
                                                                                     11404 NW 12 STREET
             List the contract number of any                                         Miami, FL 33172
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.436.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       DOLPHIN MALL OUTLET 2006-08-04
             List the contract number of any                                           11404 NW 12 STREET
                   government contract                                                 Miami, FL 33172


 2.437.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       DOLPHIN MALL OUTLET 2006-08-04
             List the contract number of any                                           11404 NW 12 STREET
                   government contract                                                 Miami, FL 33172


 2.438.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       DOLPHIN MALL OUTLET 2006-08-04
             List the contract number of any                                           11404 NW 12 STREET
                   government contract                                                 Miami, FL 33172


 2.439.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       DOLPHIN MALL OUTLET 2006-08-04
             List the contract number of any                                           11404 NW 12 STREET
                   government contract                                                 Miami, FL 33172


 2.440.      State what the contract or                   w/h & fulfill material
             lease is for and the nature of               orders to stores
             the debtor's interest

                  State the term remaining
                                                                                       Donald Blyler Offset, Inc.
             List the contract number of any                                           1621 Willow Street
                   government contract                                                 Lebanon, PA 17042


 2.441.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                            DOS LAGOS 2005-09-06
             the debtor's interest                                                     2790 CABOT ROAD
                                                                                       Corona, CA 92883
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.442.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOS LAGOS 2005-09-06
             List the contract number of any                                         2790 CABOT ROAD
                   government contract                                               Corona, CA 92883


 2.443.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOS LAGOS 2005-09-06
             List the contract number of any                                         2790 CABOT ROAD
                   government contract                                               Corona, CA 92883


 2.444.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOS LAGOS 2005-09-06
             List the contract number of any                                         2790 CABOT ROAD
                   government contract                                               Corona, CA 92883


 2.445.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOS LAGOS 2005-09-06
             List the contract number of any                                         2790 CABOT ROAD
                   government contract                                               Corona, CA 92883


 2.446.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOS LAGOS 2005-09-06
             List the contract number of any                                         2790 CABOT ROAD
                   government contract                                               Corona, CA 92883




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.447.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOS LAGOS 2005-09-06
             List the contract number of any                                         2790 CABOT ROAD
                   government contract                                               Corona, CA 92883


 2.448.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOS LAGOS 2005-09-06
             List the contract number of any                                         2790 CABOT ROAD
                   government contract                                               Corona, CA 92883


 2.449.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOS LAGOS 2005-09-06
             List the contract number of any                                         2790 CABOT ROAD
                   government contract                                               Corona, CA 92883


 2.450.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOS LAGOS 2005-09-06
             List the contract number of any                                         2790 CABOT ROAD
                   government contract                                               Corona, CA 92883


 2.451.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOS LAGOS 2005-09-06
             List the contract number of any                                         2790 CABOT ROAD
                   government contract                                               Corona, CA 92883


 2.452.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           DOS LAGOS 2005-09-06
                                                                                     2790 CABOT ROAD
             List the contract number of any                                         Corona, CA 92883
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.453.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOS LAGOS 2005-09-06
             List the contract number of any                                         2790 CABOT ROAD
                   government contract                                               Corona, CA 92883


 2.454.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOWNTOWN SILVER SPRINGS 2008-02-04
             List the contract number of any                                         937 ELLSWORTH DRIVE # C2B
                   government contract                                               Silver Springs, MD 20910


 2.455.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOWNTOWN SILVER SPRINGS 2008-02-04
             List the contract number of any                                         937 ELLSWORTH DRIVE # C2B
                   government contract                                               Silver Springs, MD 20910


 2.456.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DOWNTOWN SILVER SPRINGS 2008-02-04
             List the contract number of any                                         937 ELLSWORTH DRIVE # C2B
                   government contract                                               Silver Springs, MD 20910


 2.457.      State what the contract or                   Credit research
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Dun & Bradstreet
             List the contract number of any                                         P.O. Box 75434, Chicago, IL 60675
                   government contract                                               Chicago, IL 60675


 2.458.      State what the contract or                   Wireless network
             lease is for and the nature of               services                   Earthlink, LLC
             the debtor's interest                                                   4263 Trappe Rock Court
                                                                                     Ashburn, VA 20148
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.459.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN HILLS 1992-10-08
             List the contract number of any                                         4545 TRANSIT RD
                   government contract                                               Williamsville, NY 14221


 2.460.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN HILLS 1992-10-08
             List the contract number of any                                         4545 TRANSIT RD
                   government contract                                               Williamsville, NY 14221


 2.461.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN HILLS 1992-10-08
             List the contract number of any                                         4545 TRANSIT RD
                   government contract                                               Williamsville, NY 14221


 2.462.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN HILLS 1992-10-08
             List the contract number of any                                         4545 TRANSIT RD
                   government contract                                               Williamsville, NY 14221


 2.463.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN HILLS 1992-10-08
             List the contract number of any                                         4545 TRANSIT RD
                   government contract                                               Williamsville, NY 14221




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.464.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN HILLS 1992-10-08
             List the contract number of any                                         4545 TRANSIT RD
                   government contract                                               Williamsville, NY 14221


 2.465.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN HILLS 1992-10-08
             List the contract number of any                                         4545 TRANSIT RD
                   government contract                                               Williamsville, NY 14221


 2.466.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN HILLS 1992-10-08
             List the contract number of any                                         4545 TRANSIT RD
                   government contract                                               Williamsville, NY 14221


 2.467.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.468.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.469.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           EASTERN SHORE CENTRE 2006-05-31
                                                                                     30500 State Highway 181, Suite 451
             List the contract number of any                                         Spanish Fort, AL 36527
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.470.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.471.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.472.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.473.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.474.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.475.      State what the contract or                   Remove
             lease is for and the nature of                                          EASTERN SHORE CENTRE 2006-05-31
             the debtor's interest                                                   30500 State Highway 181, Suite 451
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.476.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.477.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.478.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.479.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.480.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.481.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.482.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTERN SHORE CENTRE 2006-05-31
             List the contract number of any                                         30500 State Highway 181, Suite 451
                   government contract                                               Spanish Fort, AL 36527


 2.483.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTON TOWN CENTER 2011-12-19
             List the contract number of any                                         4074 NEW BOND STREET SP33
                   government contract                                               Columbus, OH 43219


 2.484.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTRIDGE MALL 2005-05-25
             List the contract number of any                                         2200 EASTRIDGE LOOP SP#1036
                   government contract                                               San Jose, CA 95122


 2.485.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTRIDGE MALL 2005-05-25
             List the contract number of any                                         2200 EASTRIDGE LOOP SP#1036
                   government contract                                               San Jose, CA 95122


 2.486.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           EASTRIDGE MALL 2005-05-25
                                                                                     2200 EASTRIDGE LOOP SP#1036
             List the contract number of any                                         San Jose, CA 95122
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.487.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTRIDGE MALL 2005-05-25
             List the contract number of any                                         2200 EASTRIDGE LOOP SP#1036
                   government contract                                               San Jose, CA 95122


 2.488.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTRIDGE MALL 2005-05-25
             List the contract number of any                                         2200 EASTRIDGE LOOP SP#1036
                   government contract                                               San Jose, CA 95122


 2.489.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTRIDGE MALL 2005-05-25
             List the contract number of any                                         2200 EASTRIDGE LOOP SP#1036
                   government contract                                               San Jose, CA 95122


 2.490.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTRIDGE NC 2007-04-12
             List the contract number of any                                         246 NORTH NEW HOPE RD #13
                   government contract                                               Gastonia, NC 28053


 2.491.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTRIDGE NC 2007-04-12
             List the contract number of any                                         246 NORTH NEW HOPE RD #13
                   government contract                                               Gastonia, NC 28053


 2.492.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          EASTRIDGE NC 2007-04-12
             the debtor's interest                                                   246 NORTH NEW HOPE RD #13
                                                                                     Gastonia, NC 28053
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.493.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTRIDGE NC 2007-04-12
             List the contract number of any                                         246 NORTH NEW HOPE RD #13
                   government contract                                               Gastonia, NC 28053


 2.494.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTRIDGE NC 2007-04-12
             List the contract number of any                                         246 NORTH NEW HOPE RD #13
                   government contract                                               Gastonia, NC 28053


 2.495.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTRIDGE NC 2007-04-12
             List the contract number of any                                         246 NORTH NEW HOPE RD #13
                   government contract                                               Gastonia, NC 28053


 2.496.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTRIDGE NC 2007-04-12
             List the contract number of any                                         246 NORTH NEW HOPE RD #13
                   government contract                                               Gastonia, NC 28053


 2.497.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTVIEW MALL 2001-12-20
             List the contract number of any                                         P.O.BOX 8000 DEPT 976
                   government contract                                               BUFFALO, NY 14267




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.498.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTVIEW MALL 2001-12-20
             List the contract number of any                                         P.O.BOX 8000 DEPT 976
                   government contract                                               BUFFALO, NY 14267


 2.499.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTVIEW MALL 2001-12-20
             List the contract number of any                                         P.O.BOX 8000 DEPT 976
                   government contract                                               BUFFALO, NY 14267


 2.500.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTVIEW MALL 2001-12-20
             List the contract number of any                                         P.O.BOX 8000 DEPT 976
                   government contract                                               BUFFALO, NY 14267


 2.501.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTVIEW MALL 2001-12-20
             List the contract number of any                                         P.O.BOX 8000 DEPT 976
                   government contract                                               BUFFALO, NY 14267


 2.502.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EASTVIEW MALL 2001-12-20
             List the contract number of any                                         P.O.BOX 8000 DEPT 976
                   government contract                                               BUFFALO, NY 14267


 2.503.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           EDISON MALL 2007-03-23
                                                                                     4125 CLEVELAND AVE SP#14
             List the contract number of any                                         Fort Myers, FL 33901
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.504.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EDISON MALL 2007-03-23
             List the contract number of any                                         4125 CLEVELAND AVE SP#14
                   government contract                                               Fort Myers, FL 33901


 2.505.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EDISON MALL 2007-03-23
             List the contract number of any                                         4125 CLEVELAND AVE SP#14
                   government contract                                               Fort Myers, FL 33901


 2.506.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EDISON MALL 2007-03-23
             List the contract number of any                                         4125 CLEVELAND AVE SP#14
                   government contract                                               Fort Myers, FL 33901


 2.507.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EDISON MALL 2007-03-23
             List the contract number of any                                         4125 CLEVELAND AVE SP#14
                   government contract                                               Fort Myers, FL 33901


 2.508.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EDISON MALL 2007-03-23
             List the contract number of any                                         4125 CLEVELAND AVE SP#14
                   government contract                                               Fort Myers, FL 33901


 2.509.      State what the contract or                   Sales & Use tax
             lease is for and the nature of               consulting                 Eisner Amper LLP
             the debtor's interest                                                   111 Wood Avenue
                                                                                     South Iselin, NJ 08830
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.510.      State what the contract or                   Sales & Use tax
             lease is for and the nature of               consulting
             the debtor's interest

                  State the term remaining
                                                                                     Eisner Amper LLP
             List the contract number of any                                         111 Wood Avenue
                   government contract                                               South Iselin, NJ 08830


 2.511.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ELLENTON PREMIUM OUTLETS 2010-03-12
             List the contract number of any                                         5431 FACTORY SHOP BLVD SP
                   government contract                                               Ellenton, FL 34222


 2.512.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ELLENTON PREMIUM OUTLETS 2010-03-12
             List the contract number of any                                         5431 FACTORY SHOP BLVD SP
                   government contract                                               Ellenton, FL 34222


 2.513.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ELLENTON PREMIUM OUTLETS 2010-03-12
             List the contract number of any                                         5431 FACTORY SHOP BLVD SP
                   government contract                                               Ellenton, FL 34222


 2.514.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ELLENTON PREMIUM OUTLETS 2010-03-12
             List the contract number of any                                         5431 FACTORY SHOP BLVD SP
                   government contract                                               Ellenton, FL 34222




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.515.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EMPIRE MALL 2012-12-18
             List the contract number of any                                         P.O. BOX 83388
                   government contract                                               CHICAGO, IL 60691-3388


 2.516.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EMPIRE MALL 2012-12-18
             List the contract number of any                                         P.O. BOX 83388
                   government contract                                               CHICAGO, IL 60691-3388


 2.517.      State what the contract or                   Utilities aggregator
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining                                           Engie Insigt Services Inc.
                                                                                     1313 N. Atlantic St
             List the contract number of any                                         Suite 500
                   government contract                                               Spokane, WA 99201


 2.518.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ENGLEWOOD TOWN CENTRE 2005-07-18
             List the contract number of any                                         22 W. PALISADE AVENUE
                   government contract                                               Englewood, NJ 07631


 2.519.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ENGLEWOOD TOWN CENTRE 2005-07-18
             List the contract number of any                                         22 W. PALISADE AVENUE
                   government contract                                               Englewood, NJ 07631


 2.520.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           ENGLEWOOD TOWN CENTRE 2005-07-18
                                                                                     22 W. PALISADE AVENUE
             List the contract number of any                                         Englewood, NJ 07631
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.521.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ENGLEWOOD TOWN CENTRE 2005-07-18
             List the contract number of any                                         22 W. PALISADE AVENUE
                   government contract                                               Englewood, NJ 07631


 2.522.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ESPLANADE 2006-07-25
             List the contract number of any                                         1401 ESPLANADE AVENUE # 16
                   government contract                                               Kenner, LA 70065


 2.523.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ESPLANADE 2006-07-25
             List the contract number of any                                         1401 ESPLANADE AVENUE # 16
                   government contract                                               Kenner, LA 70065


 2.524.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ESPLANADE 2006-07-25
             List the contract number of any                                         1401 ESPLANADE AVENUE # 16
                   government contract                                               Kenner, LA 70065


 2.525.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ESPLANADE 2006-07-25
             List the contract number of any                                         1401 ESPLANADE AVENUE # 16
                   government contract                                               Kenner, LA 70065


 2.526.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          ESPLANADE 2006-07-25
             the debtor's interest                                                   1401 ESPLANADE AVENUE # 16
                                                                                     Kenner, LA 70065
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.527.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ESPLANADE 2006-07-25
             List the contract number of any                                         1401 ESPLANADE AVENUE # 16
                   government contract                                               Kenner, LA 70065


 2.528.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ESPLANADE 2006-07-25
             List the contract number of any                                         1401 ESPLANADE AVENUE # 16
                   government contract                                               Kenner, LA 70065


 2.529.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FAIR OAKS 2006-02-03
             List the contract number of any                                         11750 FAIR OAKS SP#G-110
                   government contract                                               Fairfax, VA 22033


 2.530.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FAIR OAKS 2006-02-03
             List the contract number of any                                         11750 FAIR OAKS SP#G-110
                   government contract                                               Fairfax, VA 22033


 2.531.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FAIR OAKS 2006-02-03
             List the contract number of any                                         11750 FAIR OAKS SP#G-110
                   government contract                                               Fairfax, VA 22033




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.532.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FAIR OAKS 2006-02-03
             List the contract number of any                                         11750 FAIR OAKS SP#G-110
                   government contract                                               Fairfax, VA 22033


 2.533.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FAIR OAKS 2006-02-03
             List the contract number of any                                         11750 FAIR OAKS SP#G-110
                   government contract                                               Fairfax, VA 22033


 2.534.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           FASHION CENTRE AT PENTAGON CITY
                                                                                     2017-03-02
             List the contract number of any                                         1100 S Hayes St
                   government contract                                               Arlington, VA 22202


 2.535.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           FASHION CENTRE AT PENTAGON CITY
                                                                                     2017-03-02
             List the contract number of any                                         1100 S Hayes St
                   government contract                                               Arlington, VA 22202


 2.536.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           FASHION CENTRE AT PENTAGON CITY
                                                                                     2017-03-02
             List the contract number of any                                         1100 S Hayes St
                   government contract                                               Arlington, VA 22202


 2.537.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest
                                                                                     FASHION CENTRE AT PENTAGON CITY
                  State the term remaining                                           2017-03-02
                                                                                     1100 S Hayes St
             List the contract number of any                                         Arlington, VA 22202
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.538.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FASHION OUTLETS OF CHICAGO 2017-03-14
             List the contract number of any                                         5220 Fashion Outlets Way,
                   government contract                                               Rosemont, IL 60018


 2.539.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FASHION OUTLETS OF CHICAGO 2017-03-14
             List the contract number of any                                         5220 Fashion Outlets Way,
                   government contract                                               Rosemont, IL 60018


 2.540.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FASHION OUTLETS OF CHICAGO 2017-03-14
             List the contract number of any                                         5220 Fashion Outlets Way,
                   government contract                                               Rosemont, IL 60018


 2.541.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FASHION OUTLETS OF CHICAGO 2017-03-14
             List the contract number of any                                         5220 Fashion Outlets Way,
                   government contract                                               Rosemont, IL 60018


 2.542.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FASHION OUTLETS OF NIAGARA 2014-04-08
             List the contract number of any                                         1900 Military Road, Space #276
                   government contract                                               Niagara Falls, NY 14304


 2.543.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          FASHION OUTLETS OF NIAGARA 2014-04-08
             the debtor's interest                                                   1900 Military Road, Space #276
                                                                                     Niagara Falls, NY 14304
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.544.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FASHION OUTLETS OF NIAGARA 2014-04-08
             List the contract number of any                                         1900 Military Road, Space #276
                   government contract                                               Niagara Falls, NY 14304


 2.545.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FASHION OUTLETS OF NIAGARA 2014-04-08
             List the contract number of any                                         1900 Military Road, Space #276
                   government contract                                               Niagara Falls, NY 14304


 2.546.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FASHION OUTLETS OF NIAGARA 2014-04-08
             List the contract number of any                                         1900 Military Road, Space #276
                   government contract                                               Niagara Falls, NY 14304


 2.547.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                     FASHION SQUARE
                  State the term remaining                                           SHERMAN OAKS FASHION ASSOCIATES, LP
                                                                                     2049 CENTURY PARK EAST
             List the contract number of any                                         41ST FLOOR
                   government contract                                               Los Angeles, CA 90067


 2.548.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest
                                                                                     FASHION SQUARE
                  State the term remaining                                           SHERMAN OAKS FASHION ASSOCIATES, LP
                                                                                     2049 CENTURY PARK EAST
             List the contract number of any                                         41ST FLOOR
                   government contract                                               Los Angeles, CA 90067




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.549.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest
                                                                                      FASHION SQUARE
                  State the term remaining                                            SHERMAN OAKS FASHION ASSOCIATES, LP
                                                                                      2049 CENTURY PARK EAST
             List the contract number of any                                          41ST FLOOR
                   government contract                                                Los Angeles, CA 90067


 2.550.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      FAYETTE MALL 2013-12-27
             List the contract number of any                                          3401 NICHOLASVILLE ROAD
                   government contract                                                Lexington, KY 40503


 2.551.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      FAYETTE MALL 2013-12-27
             List the contract number of any                                          3401 NICHOLASVILLE ROAD
                   government contract                                                Lexington, KY 40503


 2.552.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      FAYETTE MALL 2013-12-27
             List the contract number of any                                          3401 NICHOLASVILLE ROAD
                   government contract                                                Lexington, KY 40503


 2.553.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      FAYETTE MALL 2013-12-27
             List the contract number of any                                          3401 NICHOLASVILLE ROAD
                   government contract                                                Lexington, KY 40503


 2.554.      State what the contract or                   Lerner New York, Inc.
             lease is for and the nature of               Savings and
             the debtor's interest                        Retirement Plan             Fidelity
                                                                                      Strategic Advisers, Inc.
                  State the term remaining                                            c/o B2B Risk Management
                                                                                      245 Summer Street
             List the contract number of any                                          Boston, MA 02210
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 Debtor 1 Lerner New York, Inc.                                                                Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.555.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       FIREWHEEL TOWN CENTER 2005-06-14
             List the contract number of any                                           205 CEDAR SAGE DRIVE SP#E
                   government contract                                                 Garland, TX 75040


 2.556.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       FIREWHEEL TOWN CENTER 2005-06-14
             List the contract number of any                                           205 CEDAR SAGE DRIVE SP#E
                   government contract                                                 Garland, TX 75040


 2.557.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       FIREWHEEL TOWN CENTER 2005-06-14
             List the contract number of any                                           205 CEDAR SAGE DRIVE SP#E
                   government contract                                                 Garland, TX 75040


 2.558.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       First Colony
             List the contract number of any                                           16535 SOUTHWEST PARKWAY
                   government contract                                                 Sugarland, TX 77479


 2.559.      State what the contract or                   Smart routing services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             First Data Services (BofA Merch Svcs)
                                                                                       150 North College Street
             List the contract number of any                                           15th Floor
                   government contract                                                 Charlotte, NC 28202


 2.560.      State what the contract or                   Store Lease Agreement     FLATIRON CROSSING 2015-08-13
             lease is for and the nature of                                         Flatiron Property Holding, LLC
             the debtor's interest                                                  P.O. Box 2172, 401 Wilshire Blvd
                                                                                    Suite 700
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                                                                                     Unexpired     CA 90407
                                                                                               Leases                                 Page 99 of 357
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 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.561.      State what the contract or                   Gabrielle Union brand
             lease is for and the nature of               licensing (extended via
             the debtor's interest                        option letter)

                  State the term remaining                                              Flawless Style LLC
                                                                                        c/o Peter Hess, Creative Artists Agency
             List the contract number of any                                            405 Lexington Floor 19
                   government contract                                                  New York, NY 10174


 2.562.      State what the contract or                   GU for FTF (extended
             lease is for and the nature of               via option letter)
             the debtor's interest

                  State the term remaining                                              Flawless Style LLC
                                                                                        c/o Peter Hess, Creative Artists Agency
             List the contract number of any                                            405 Lexington Floor 19
                   government contract                                                  New York, NY 10174


 2.563.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        FLORIDA MALL 2015-03-13
             List the contract number of any                                            8001 S ORANGE TRAIL SP # 11
                   government contract                                                  Orlando, FL 32809


 2.564.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        FLORIDA MALL 2015-03-13
             List the contract number of any                                            8001 S ORANGE TRAIL SP # 11
                   government contract                                                  Orlando, FL 32809


 2.565.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        FOLEY TANGER OUTLET 2013-07-12
             List the contract number of any                                            2601 S McKenzie Street
                   government contract                                                  Foley, AL 36535




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.566.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOLEY TANGER OUTLET 2013-07-12
             List the contract number of any                                         2601 S McKenzie Street
                   government contract                                               Foley, AL 36535


 2.567.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOLEY TANGER OUTLET 2013-07-12
             List the contract number of any                                         2601 S McKenzie Street
                   government contract                                               Foley, AL 36535


 2.568.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOUR SEASONS TOWN CENTRE 2004-12-23
             List the contract number of any                                         400 FOUR SEASONS TOWN CEN
                   government contract                                               Greensboro, NC 27407


 2.569.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOUR SEASONS TOWN CENTRE 2004-12-23
             List the contract number of any                                         400 FOUR SEASONS TOWN CEN
                   government contract                                               Greensboro, NC 27407


 2.570.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOUR SEASONS TOWN CENTRE 2004-12-23
             List the contract number of any                                         400 FOUR SEASONS TOWN CEN
                   government contract                                               Greensboro, NC 27407


 2.571.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           FOUR SEASONS TOWN CENTRE 2004-12-23
                                                                                     400 FOUR SEASONS TOWN CEN
             List the contract number of any                                         Greensboro, NC 27407
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.572.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOUR SEASONS TOWN CENTRE 2004-12-23
             List the contract number of any                                         400 FOUR SEASONS TOWN CEN
                   government contract                                               Greensboro, NC 27407


 2.573.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOX VALLEY MALL 2013-03-19
             List the contract number of any                                         2038 FOX VALLEY CTR
                   government contract                                               Aurora, IL 60504


 2.574.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOX VALLEY MALL 2013-03-19
             List the contract number of any                                         2038 FOX VALLEY CTR
                   government contract                                               Aurora, IL 60504


 2.575.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOX VALLEY MALL 2013-03-19
             List the contract number of any                                         2038 FOX VALLEY CTR
                   government contract                                               Aurora, IL 60504


 2.576.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOX VALLEY MALL 2013-03-19
             List the contract number of any                                         2038 FOX VALLEY CTR
                   government contract                                               Aurora, IL 60504


 2.577.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          FOX VALLEY MALL 2013-03-19
             the debtor's interest                                                   2038 FOX VALLEY CTR
                                                                                     Aurora, IL 60504
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.578.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOX VALLEY MALL 2013-03-19
             List the contract number of any                                         2038 FOX VALLEY CTR
                   government contract                                               Aurora, IL 60504


 2.579.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FOX VALLEY MALL 2013-03-19
             List the contract number of any                                         2038 FOX VALLEY CTR
                   government contract                                               Aurora, IL 60504


 2.580.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FREEHOLD RACEWAY 2015-04-23
             List the contract number of any                                         3710 ROUTE 9 # E120
                   government contract                                               Freehold, NJ 07728


 2.581.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FREEHOLD RACEWAY 2015-04-23
             List the contract number of any                                         3710 ROUTE 9 # E120
                   government contract                                               Freehold, NJ 07728


 2.582.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FREEHOLD RACEWAY 2015-04-23
             List the contract number of any                                         3710 ROUTE 9 # E120
                   government contract                                               Freehold, NJ 07728




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.583.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FREEHOLD RACEWAY 2015-04-23
             List the contract number of any                                         3710 ROUTE 9 # E120
                   government contract                                               Freehold, NJ 07728


 2.584.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FREEHOLD RACEWAY 2015-04-23
             List the contract number of any                                         3710 ROUTE 9 # E120
                   government contract                                               Freehold, NJ 07728


 2.585.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FREEHOLD RACEWAY 2015-04-23
             List the contract number of any                                         3710 ROUTE 9 # E120
                   government contract                                               Freehold, NJ 07728


 2.586.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FREEHOLD RACEWAY 2015-04-23
             List the contract number of any                                         3710 ROUTE 9 # E120
                   government contract                                               Freehold, NJ 07728


 2.587.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FRESNO FASHION FAIR 2005-10-26
             List the contract number of any                                         701 EAST SHAW AVE SP # 101
                   government contract                                               Fresno, CA 93710


 2.588.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           FRESNO FASHION FAIR 2005-10-26
                                                                                     701 EAST SHAW AVE SP # 101
             List the contract number of any                                         Fresno, CA 93710
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.589.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FRESNO FASHION FAIR 2005-10-26
             List the contract number of any                                         701 EAST SHAW AVE SP # 101
                   government contract                                               Fresno, CA 93710


 2.590.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FRESNO FASHION FAIR 2005-10-26
             List the contract number of any                                         701 EAST SHAW AVE SP # 101
                   government contract                                               Fresno, CA 93710


 2.591.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FRESNO FASHION FAIR 2005-10-26
             List the contract number of any                                         701 EAST SHAW AVE SP # 101
                   government contract                                               Fresno, CA 93710


 2.592.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FRIENDLY CENTER 1991-02-28
             List the contract number of any                                         3100 KATHLEEN AVE
                   government contract                                               Greensboro, NC 27408


 2.593.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FRIENDLY CENTER 1991-02-28
             List the contract number of any                                         3100 KATHLEEN AVE
                   government contract                                               Greensboro, NC 27408


 2.594.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          FRIENDLY CENTER 1991-02-28
             the debtor's interest                                                   3100 KATHLEEN AVE
                                                                                     Greensboro, NC 27408
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.595.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FRIENDLY CENTER 1991-02-28
             List the contract number of any                                         3100 KATHLEEN AVE
                   government contract                                               Greensboro, NC 27408


 2.596.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FRIENDLY CENTER 1991-02-28
             List the contract number of any                                         3100 KATHLEEN AVE
                   government contract                                               Greensboro, NC 27408


 2.597.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FRIENDLY CENTER 1991-02-28
             List the contract number of any                                         3100 KATHLEEN AVE
                   government contract                                               Greensboro, NC 27408


 2.598.      State what the contract or                   Gabi Fresh brand
             lease is for and the nature of               services
             the debtor's interest
                                                                                     Gabrielle Gregg (Gabi Fresh)
                  State the term remaining                                           c/o Digital Brand Products
                                                                                     750 N. San Vicenete Blvd.
             List the contract number of any                                         Suite 950
                   government contract                                               West Hollywood, CA 90069


 2.599.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GAFFNEY OUTLET 2010-03-12
             List the contract number of any                                         1 FACTORY SHOPS BLVD SP # 6
                   government contract                                               Gaffney, SC 29341




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.600.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GAFFNEY OUTLET 2010-03-12
             List the contract number of any                                         1 FACTORY SHOPS BLVD SP # 6
                   government contract                                               Gaffney, SC 29341


 2.601.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GAFFNEY OUTLET 2010-03-12
             List the contract number of any                                         1 FACTORY SHOPS BLVD SP # 6
                   government contract                                               Gaffney, SC 29341


 2.602.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GAFFNEY OUTLET 2010-03-12
             List the contract number of any                                         1 FACTORY SHOPS BLVD SP # 6
                   government contract                                               Gaffney, SC 29341


 2.603.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GAFFNEY OUTLET 2010-03-12
             List the contract number of any                                         1 FACTORY SHOPS BLVD SP # 6
                   government contract                                               Gaffney, SC 29341


 2.604.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GALLERIA AT CRYSTAL RUN 2005-07-01
                                                                                     1 GALLERIA DR
             List the contract number of any                                         A-105
                   government contract                                               Middletown, NY 10940


 2.605.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                     GALLERIA AT CRYSTAL RUN 2005-07-01
                  State the term remaining                                           1 GALLERIA DR
                                                                                     A-105
             List the contract number of any                                         Middletown, NY 10940
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.606.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GALLERIA AT CRYSTAL RUN 2005-07-01
                                                                                     1 GALLERIA DR
             List the contract number of any                                         A-105
                   government contract                                               Middletown, NY 10940


 2.607.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GALLERIA AT CRYSTAL RUN 2005-07-01
                                                                                     1 GALLERIA DR
             List the contract number of any                                         A-105
                   government contract                                               Middletown, NY 10940


 2.608.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GALLERIA AT CRYSTAL RUN 2005-07-01
                                                                                     1 GALLERIA DR
             List the contract number of any                                         A-105
                   government contract                                               Middletown, NY 10940


 2.609.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GALLERIA AT CRYSTAL RUN 2005-07-01
                                                                                     1 GALLERIA DR
             List the contract number of any                                         A-105
                   government contract                                               Middletown, NY 10940


 2.610.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678


 2.611.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          GALLERIA AT ROSEVILLE 2006-04-20
             the debtor's interest                                                   1151 HARDING AVE SP # 109
                                                                                     Roseville, CA 95678
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.612.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678


 2.613.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678


 2.614.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678


 2.615.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678


 2.616.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.617.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678


 2.618.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678


 2.619.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678


 2.620.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678


 2.621.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678


 2.622.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GALLERIA AT ROSEVILLE 2006-04-20
                                                                                     1151 HARDING AVE SP # 109
             List the contract number of any                                         Roseville, CA 95678
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.623.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT ROSEVILLE 2006-04-20
             List the contract number of any                                         1151 HARDING AVE SP # 109
                   government contract                                               Roseville, CA 95678


 2.624.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT SUNSET
             List the contract number of any                                         1300 SUNSET BLVD #137
                   government contract                                               Henderson, NV 89014


 2.625.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT TYLER 2009-12-31
             List the contract number of any                                         1235 GALLERIA AT TYLER
                   government contract                                               Riverside, CA 92503


 2.626.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GALLERIA AT TYLER 2009-12-31
             List the contract number of any                                         1235 GALLERIA AT TYLER
                   government contract                                               Riverside, CA 92503


 2.627.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GATEWAY CENTER 2014-10-23
             List the contract number of any                                         409 Gateway Drive
                   government contract                                               Brooklyn, NY 11239


 2.628.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          GATEWAY CENTER 2014-10-23
             the debtor's interest                                                   409 Gateway Drive
                                                                                     Brooklyn, NY 11239
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.629.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GATEWAY CENTER 2014-10-23
             List the contract number of any                                         409 Gateway Drive
                   government contract                                               Brooklyn, NY 11239


 2.630.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GEORGIA SQUARE 1991-03-11
             List the contract number of any                                         3700 ATLANTA HIGHWAY SP 1
                   government contract                                               Athens, GA 30606


 2.631.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GEORGIA SQUARE 1991-03-11
             List the contract number of any                                         3700 ATLANTA HIGHWAY SP 1
                   government contract                                               Athens, GA 30606


 2.632.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GEORGIA SQUARE 1991-03-11
             List the contract number of any                                         3700 ATLANTA HIGHWAY SP 1
                   government contract                                               Athens, GA 30606


 2.633.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GEORGIA SQUARE 1991-03-11
             List the contract number of any                                         3700 ATLANTA HIGHWAY SP 1
                   government contract                                               Athens, GA 30606




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.634.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GEORGIA SQUARE 1991-03-11
             List the contract number of any                                         3700 ATLANTA HIGHWAY SP 1
                   government contract                                               Athens, GA 30606


 2.635.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GEORGIA SQUARE 1991-03-11
             List the contract number of any                                         3700 ATLANTA HIGHWAY SP 1
                   government contract                                               Athens, GA 30606


 2.636.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GEORGIA SQUARE 1991-03-11
             List the contract number of any                                         3700 ATLANTA HIGHWAY SP 1
                   government contract                                               Athens, GA 30606


 2.637.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GEORGIA SQUARE 1991-03-11
             List the contract number of any                                         3700 ATLANTA HIGHWAY SP 1
                   government contract                                               Athens, GA 30606


 2.638.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GEORGIA SQUARE 1991-03-11
             List the contract number of any                                         3700 ATLANTA HIGHWAY SP 1
                   government contract                                               Athens, GA 30606


 2.639.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GEORGIA SQUARE 1991-03-11
                                                                                     3700 ATLANTA HIGHWAY SP 1
             List the contract number of any                                         Athens, GA 30606
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.640.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GEORGIA SQUARE 1991-03-11
             List the contract number of any                                         3700 ATLANTA HIGHWAY SP 1
                   government contract                                               Athens, GA 30606


 2.641.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GEORGIA SQUARE 1991-03-11
             List the contract number of any                                         3700 ATLANTA HIGHWAY SP 1
                   government contract                                               Athens, GA 30606


 2.642.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GILROY PREMIUM 2012-02-01
             List the contract number of any                                         681 LEAVESLEY ROAD
                   government contract                                               Gilroy, CA 95020


 2.643.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GILROY PREMIUM 2012-02-01
             List the contract number of any                                         681 LEAVESLEY ROAD
                   government contract                                               Gilroy, CA 95020


 2.644.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GILROY PREMIUM 2012-02-01
             List the contract number of any                                         681 LEAVESLEY ROAD
                   government contract                                               Gilroy, CA 95020


 2.645.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          GILROY PREMIUM 2012-02-01
             the debtor's interest                                                   681 LEAVESLEY ROAD
                                                                                     Gilroy, CA 95020
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.646.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GILROY PREMIUM 2012-02-01
             List the contract number of any                                         681 LEAVESLEY ROAD
                   government contract                                               Gilroy, CA 95020


 2.647.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GILROY PREMIUM 2012-02-01
             List the contract number of any                                         681 LEAVESLEY ROAD
                   government contract                                               Gilroy, CA 95020


 2.648.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GLENBROOK 2004-12-23
             List the contract number of any                                         4201 COLDWATER RD SP # G02
                   government contract                                               Fort Wayne, IN 46805


 2.649.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GLENBROOK 2004-12-23
             List the contract number of any                                         4201 COLDWATER RD SP # G02
                   government contract                                               Fort Wayne, IN 46805


 2.650.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GLENBROOK 2004-12-23
             List the contract number of any                                         4201 COLDWATER RD SP # G02
                   government contract                                               Fort Wayne, IN 46805




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.651.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GLENBROOK 2004-12-23
             List the contract number of any                                         4201 COLDWATER RD SP # G02
                   government contract                                               Fort Wayne, IN 46805


 2.652.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GLENBROOK 2004-12-23
             List the contract number of any                                         4201 COLDWATER RD SP # G02
                   government contract                                               Fort Wayne, IN 46805


 2.653.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GLENBROOK 2004-12-23
             List the contract number of any                                         4201 COLDWATER RD SP # G02
                   government contract                                               Fort Wayne, IN 46805


 2.654.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GLENBROOK 2004-12-23
             List the contract number of any                                         4201 COLDWATER RD SP # G02
                   government contract                                               Fort Wayne, IN 46805


 2.655.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GLENBROOK 2004-12-23
             List the contract number of any                                         4201 COLDWATER RD SP # G02
                   government contract                                               Fort Wayne, IN 46805


 2.656.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GLENBROOK 2004-12-23
                                                                                     4201 COLDWATER RD SP # G02
             List the contract number of any                                         Fort Wayne, IN 46805
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.657.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       GLENBROOK 2004-12-23
             List the contract number of any                                           4201 COLDWATER RD SP # G02
                   government contract                                                 Fort Wayne, IN 46805


 2.658.      State what the contract or                   Paycard solutions
             lease is for and the nature of               provider
             the debtor's interest
                                                                                       Global Cash Card
                  State the term remaining                                             7 Corporate Park
                                                                                       Suite 130
             List the contract number of any                                           Attn: Business Services
                   government contract                                                 Irvine, CA 09260


 2.659.      State what the contract or                   Exclusive right to buy
             lease is for and the nature of               excess merchandise
             the debtor's interest

                  State the term remaining                                             Global Traders Network and NEJ, Inc.
                                                                                       875 Mamaroneck Ave
             List the contract number of any                                           Suite 300
                   government contract                                                 Mamaroneck, NY 10543-1976


 2.660.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       GLOUCESTER OUTLET 2015-06-03
             List the contract number of any                                           100 Premium Outlets Drive
                   government contract                                                 Blackwood, NJ 08012


 2.661.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       GLOUCESTER OUTLET 2015-06-03
             List the contract number of any                                           100 Premium Outlets Drive
                   government contract                                                 Blackwood, NJ 08012


 2.662.      State what the contract or                   Storage Agreement
             lease is for and the nature of                                            GLOUCESTER OUTLET 2015-06-03
             the debtor's interest                                                     100 Premium Outlets Drive
                                                                                       Blackwood, NJ 08012
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.663.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GLOUCESTER OUTLET 2015-06-03
             List the contract number of any                                         100 Premium Outlets Drive
                   government contract                                               Blackwood, NJ 08012


 2.664.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GLOUCESTER OUTLET 2015-06-03
             List the contract number of any                                         100 Premium Outlets Drive
                   government contract                                               Blackwood, NJ 08012


 2.665.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GONZALES 2011-12-31
             List the contract number of any                                         2400 TANGLER BLVD SP # 153
                   government contract                                               Gonzales, LA 70707


 2.666.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GOVERNOR'S SQUARE 2004-09-21
             List the contract number of any                                         1500 APALACHEE PKWY # 2102
                   government contract                                               Tallahassee, FL 32301


 2.667.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GOVERNOR'S SQUARE 2004-09-21
             List the contract number of any                                         1500 APALACHEE PKWY # 2102
                   government contract                                               Tallahassee, FL 32301




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.668.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GOVERNOR'S SQUARE 2004-09-21
             List the contract number of any                                         1500 APALACHEE PKWY # 2102
                   government contract                                               Tallahassee, FL 32301


 2.669.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GOVERNOR'S SQUARE 2004-09-21
             List the contract number of any                                         1500 APALACHEE PKWY # 2102
                   government contract                                               Tallahassee, FL 32301


 2.670.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GOVERNOR'S SQUARE 2004-09-21
             List the contract number of any                                         1500 APALACHEE PKWY # 2102
                   government contract                                               Tallahassee, FL 32301


 2.671.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GRAPEVINE MILLS OUTLET 2007-02-28
             List the contract number of any                                         3000 GRAPEVINE MILL PKWY
                   government contract                                               Grapevine, TX 76051


 2.672.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GRAPEVINE MILLS OUTLET 2007-02-28
             List the contract number of any                                         3000 GRAPEVINE MILL PKWY
                   government contract                                               Grapevine, TX 76051


 2.673.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GRAPEVINE MILLS OUTLET 2007-02-28
                                                                                     3000 GRAPEVINE MILL PKWY
             List the contract number of any                                         Grapevine, TX 76051
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.674.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT LAKES 2008-03-11
             List the contract number of any                                         7850 MENTOR AVE
                   government contract                                               Mentor, OH 44060


 2.675.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT LAKES 2008-03-11
             List the contract number of any                                         7850 MENTOR AVE
                   government contract                                               Mentor, OH 44060


 2.676.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT LAKES 2008-03-11
             List the contract number of any                                         7850 MENTOR AVE
                   government contract                                               Mentor, OH 44060


 2.677.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT LAKES 2008-03-11
             List the contract number of any                                         7850 MENTOR AVE
                   government contract                                               Mentor, OH 44060


 2.678.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT LAKES CROSSING 2005-04-11
             List the contract number of any                                         4032 BALDWIN RD SP # 303
                   government contract                                               Auburn Hills, MI 48326


 2.679.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          GREAT LAKES CROSSING 2005-04-11
             the debtor's interest                                                   4032 BALDWIN RD SP # 303
                                                                                     Auburn Hills, MI 48326
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.680.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT LAKES CROSSING 2005-04-11
             List the contract number of any                                         4032 BALDWIN RD SP # 303
                   government contract                                               Auburn Hills, MI 48326


 2.681.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT LAKES CROSSING 2005-04-11
             List the contract number of any                                         4032 BALDWIN RD SP # 303
                   government contract                                               Auburn Hills, MI 48326


 2.682.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT LAKES CROSSING 2005-04-11
             List the contract number of any                                         4032 BALDWIN RD SP # 303
                   government contract                                               Auburn Hills, MI 48326


 2.683.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT LAKES CROSSING 2005-04-11
             List the contract number of any                                         4032 BALDWIN RD SP # 303
                   government contract                                               Auburn Hills, MI 48326


 2.684.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT LAKES CROSSING 2005-04-11
             List the contract number of any                                         4032 BALDWIN RD SP # 303
                   government contract                                               Auburn Hills, MI 48326




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.685.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT MALL OF THE BAY AREA 2012-01-03
             List the contract number of any                                         406 GREAT MALL DR SP # 406
                   government contract                                               Milpitas, CA 95035


 2.686.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT NORTHERN, OH 2004-09-24
             List the contract number of any                                         4954 GREAT NORTHERN SP # 35
                   government contract                                               North Olmsted, OH 44070


 2.687.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT NORTHERN, OH 2004-09-24
             List the contract number of any                                         4954 GREAT NORTHERN SP # 35
                   government contract                                               North Olmsted, OH 44070


 2.688.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT NORTHERN, OH 2004-09-24
             List the contract number of any                                         4954 GREAT NORTHERN SP # 35
                   government contract                                               North Olmsted, OH 44070


 2.689.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREAT NORTHERN, OH 2004-09-24
             List the contract number of any                                         4954 GREAT NORTHERN SP # 35
                   government contract                                               North Olmsted, OH 44070


 2.690.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GREAT NORTHERN, OH 2004-09-24
                                                                                     4954 GREAT NORTHERN SP # 35
             List the contract number of any                                         North Olmsted, OH 44070
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.691.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Great South Bay
             List the contract number of any                                         835 WEST MONTAUK HIGHWAY
                   government contract                                               Babylon, NY 11704


 2.692.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Great South Bay
             List the contract number of any                                         835 WEST MONTAUK HIGHWAY
                   government contract                                               Babylon, NY 11704


 2.693.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Great South Bay
             List the contract number of any                                         835 WEST MONTAUK HIGHWAY
                   government contract                                               Babylon, NY 11704


 2.694.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Great South Bay
             List the contract number of any                                         835 WEST MONTAUK HIGHWAY
                   government contract                                               Babylon, NY 11704


 2.695.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Great South Bay
             List the contract number of any                                         835 WEST MONTAUK HIGHWAY
                   government contract                                               Babylon, NY 11704


 2.696.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          Great South Bay
             the debtor's interest                                                   835 WEST MONTAUK HIGHWAY
                                                                                     Babylon, NY 11704
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.697.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Great South Bay
             List the contract number of any                                         835 WEST MONTAUK HIGHWAY
                   government contract                                               Babylon, NY 11704


 2.698.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREEN ACRES
             List the contract number of any                                         1072 GREEN ACRES MALL
                   government contract                                               Valley Stream, NY 11581


 2.699.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREEN ACRES
             List the contract number of any                                         1072 GREEN ACRES MALL
                   government contract                                               Valley Stream, NY 11581


 2.700.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREEN ACRES
             List the contract number of any                                         1072 GREEN ACRES MALL
                   government contract                                               Valley Stream, NY 11581


 2.701.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREEN ACRES
             List the contract number of any                                         1072 GREEN ACRES MALL
                   government contract                                               Valley Stream, NY 11581




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.702.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREEN ACRES (FTF)
             List the contract number of any                                         1072 GREEN ACRES MALL
                   government contract                                               Valley Stream, NY 11581


 2.703.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREEN ACRES (FTF)
             List the contract number of any                                         1072 GREEN ACRES MALL
                   government contract                                               Valley Stream, NY 11581


 2.704.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREEN ACRES (FTF)
             List the contract number of any                                         1072 GREEN ACRES MALL
                   government contract                                               Valley Stream, NY 11581


 2.705.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREEN ACRES (FTF)
             List the contract number of any                                         1072 GREEN ACRES MALL
                   government contract                                               Valley Stream, NY 11581


 2.706.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREEN ACRES (FTF)
             List the contract number of any                                         1072 GREEN ACRES MALL
                   government contract                                               Valley Stream, NY 11581


 2.707.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GREEN ACRES (FTF)
                                                                                     1072 GREEN ACRES MALL
             List the contract number of any                                         Valley Stream, NY 11581
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.708.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENBRIER 2004-09-14
             List the contract number of any                                         1401 GREENBRIER PKWY
                   government contract                                               Chesapeake, VA 23320


 2.709.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENBRIER 2004-09-14
             List the contract number of any                                         1401 GREENBRIER PKWY
                   government contract                                               Chesapeake, VA 23320


 2.710.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENBRIER 2004-09-14
             List the contract number of any                                         1401 GREENBRIER PKWY
                   government contract                                               Chesapeake, VA 23320


 2.711.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENBRIER 2004-09-14
             List the contract number of any                                         1401 GREENBRIER PKWY
                   government contract                                               Chesapeake, VA 23320


 2.712.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENBRIER 2004-09-14
             List the contract number of any                                         1401 GREENBRIER PKWY
                   government contract                                               Chesapeake, VA 23320


 2.713.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          GREENBRIER 2004-09-14
             the debtor's interest                                                   1401 GREENBRIER PKWY
                                                                                     Chesapeake, VA 23320
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.714.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENBRIER 2004-09-14
             List the contract number of any                                         1401 GREENBRIER PKWY
                   government contract                                               Chesapeake, VA 23320


 2.715.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENVILLE MALL 1990-07-25
             List the contract number of any                                         1651 HWY 1 SOUTH SP 29
                   government contract                                               Greenville, NC 27858


 2.716.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENVILLE MALL 1990-07-25
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290


 2.717.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENVILLE MALL 1990-07-25
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290


 2.718.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENVILLE MALL 1990-07-25
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.719.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENVILLE MALL 1990-07-25
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290


 2.720.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENVILLE MALL 1990-07-25
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290


 2.721.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENVILLE MALL 1990-07-25
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290


 2.722.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENVILLE MALL 1990-07-25
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290


 2.723.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENVILLE MALL 1990-07-25
             List the contract number of any                                         1 DESTINY USA DRIVE
                   government contract                                               Syracuse, NY 13290


 2.724.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           GREENVILLE MALL 1990-07-25
                                                                                     1 DESTINY USA DRIVE
             List the contract number of any                                         Syracuse, NY 13290
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.725.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENWOOD MALL 2005-02-23
             List the contract number of any                                         2625 SCOTTSVILLE RD SP # 129
                   government contract                                               Bowling Green, KY 42104


 2.726.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENWOOD MALL 2005-02-23
             List the contract number of any                                         2625 SCOTTSVILLE RD SP # 129
                   government contract                                               Bowling Green, KY 42104


 2.727.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENWOOD MALL 2005-02-23
             List the contract number of any                                         2625 SCOTTSVILLE RD SP # 129
                   government contract                                               Bowling Green, KY 42104


 2.728.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENWOOD MALL 2005-02-23
             List the contract number of any                                         2625 SCOTTSVILLE RD SP # 129
                   government contract                                               Bowling Green, KY 42104


 2.729.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENWOOD MALL 2005-02-23
             List the contract number of any                                         2625 SCOTTSVILLE RD SP # 129
                   government contract                                               Bowling Green, KY 42104


 2.730.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          GREENWOOD MALL 2005-02-23
             the debtor's interest                                                   2625 SCOTTSVILLE RD SP # 129
                                                                                     Bowling Green, KY 42104
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.731.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENWOOD MALL 2005-02-23
             List the contract number of any                                         2625 SCOTTSVILLE RD SP # 129
                   government contract                                               Bowling Green, KY 42104


 2.732.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENWOOD MALL 2005-02-23
             List the contract number of any                                         2625 SCOTTSVILLE RD SP # 129
                   government contract                                               Bowling Green, KY 42104


 2.733.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENWOOD MALL 2005-02-23
             List the contract number of any                                         2625 SCOTTSVILLE RD SP # 129
                   government contract                                               Bowling Green, KY 42104


 2.734.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENWOOD PARK MALL 2008-05-13
             List the contract number of any                                         1251 US HIGHWAY 31N
                   government contract                                               Greenwood, IN 46142


 2.735.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GREENWOOD PARK MALL 2008-05-13
             List the contract number of any                                         1251 US HIGHWAY 31N
                   government contract                                               Greenwood, IN 46142




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.736.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GROVE CITY PREMIUM OUTLET 2010-03-12
             List the contract number of any                                         1911 LEESBURG RD SP # 1015
                   government contract                                               Grove City, PA 16127


 2.737.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GROVE CITY PREMIUM OUTLET 2010-03-12
             List the contract number of any                                         1911 LEESBURG RD SP # 1015
                   government contract                                               Grove City, PA 16127


 2.738.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GROVE CITY PREMIUM OUTLET 2010-03-12
             List the contract number of any                                         1911 LEESBURG RD SP # 1015
                   government contract                                               Grove City, PA 16127


 2.739.      State what the contract or                   ECM product
             lease is for and the nature of               photography vendor
             the debtor's interest

                  State the term remaining
                                                                                     GSI Commerce South, Inc.
             List the contract number of any                                         1075 First Avenue
                   government contract                                               King of Prussia, PA 19406


 2.740.      State what the contract or                   ECM product
             lease is for and the nature of               photography vendor -
             the debtor's interest                        Amended & Restated
                                                          MSA
                  State the term remaining
                                                                                     GSI Commerce South, Inc.(MSA)
             List the contract number of any                                         1075 First Avenue
                   government contract                                               King of Prussia, PA 19406


 2.741.      State what the contract or                   Ecommerce IT Support
             lease is for and the nature of               Amended & Restated
             the debtor's interest                        MSA

                  State the term remaining                                           GSI IT Support
                                                                                     1075 First Avenue
             List the contract number of any                                         King of Prussia, PA 19406
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.742.      State what the contract or                   Ecommerce IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GSI IT Support
             List the contract number of any                                         1076 First Avenue
                   government contract                                               King of Prussia, PA 19406


 2.743.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GURNEE MILLS 2014-06-11
             List the contract number of any                                         6170 Grand Ave, Space 513
                   government contract                                               Gurnee, IL 60031


 2.744.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GURNEE MILLS 2014-06-11
             List the contract number of any                                         6170 Grand Ave, Space 513
                   government contract                                               Gurnee, IL 60031


 2.745.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GURNEE MILLS 2014-06-11
             List the contract number of any                                         6170 Grand Ave, Space 513
                   government contract                                               Gurnee, IL 60031


 2.746.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     GURNEE MILLS 2014-06-11
             List the contract number of any                                         6170 Grand Ave, Space 513
                   government contract                                               Gurnee, IL 60031


 2.747.      State what the contract or                   Storage Agreement
             lease is for and the nature of                                          GURNEE MILLS 2014-06-11
             the debtor's interest                                                   6170 Grand Ave, Space 513
                                                                                     Gurnee, IL 60031
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.748.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       GWB Marketplace
             List the contract number of any                                           George Washington Bridge
                   government contract                                                 New York, NY 10001


 2.749.      State what the contract or                   Rental subscription
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining                                             Gwynnie Bee, Inc. dba CaaStle
                                                                                       5 Pennsylvania Plaza
             List the contract number of any                                           4th Floor
                   government contract                                                 New York, NY 10001


 2.750.      State what the contract or                   Platform agreement for
             lease is for and the nature of               rentals
             the debtor's interest

                  State the term remaining                                             Gwynnie Bee, Inc. dba CaaStle
                                                                                       5 Pennsylvania Plaza
             List the contract number of any                                           4th Floor
                   government contract                                                 New York, NY 10001


 2.751.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       HAGERSTOWN OUTLET 2010-03-12
             List the contract number of any                                           495 PREMIUM OUTLET BLVD
                   government contract                                                 Hagerstown, MD 21740


 2.752.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       HAGERSTOWN OUTLET 2010-03-12
             List the contract number of any                                           495 PREMIUM OUTLET BLVD
                   government contract                                                 Hagerstown, MD 21740




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.753.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAMILTON MALL 1999-01-06
             List the contract number of any                                         100 W BLACKHORSE PIKE SP#
                   government contract                                               Mays Landing, NJ 08330


 2.754.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAMILTON MALL 1999-01-06
             List the contract number of any                                         100 W BLACKHORSE PIKE SP#
                   government contract                                               Mays Landing, NJ 08330


 2.755.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAMILTON MALL 1999-01-06
             List the contract number of any                                         100 W BLACKHORSE PIKE SP#
                   government contract                                               Mays Landing, NJ 08330


 2.756.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAMILTON MALL 1999-01-06
             List the contract number of any                                         100 W BLACKHORSE PIKE SP#
                   government contract                                               Mays Landing, NJ 08330


 2.757.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAMILTON MALL 1999-01-06
             List the contract number of any                                         100 W BLACKHORSE PIKE SP#
                   government contract                                               Mays Landing, NJ 08330


 2.758.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           HAMILTON MALL 1999-01-06
                                                                                     100 W BLACKHORSE PIKE SP#
             List the contract number of any                                         Mays Landing, NJ 08330
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.759.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAMILTON MALL 1999-01-06
             List the contract number of any                                         100 W BLACKHORSE PIKE SP#
                   government contract                                               Mays Landing, NJ 08330


 2.760.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAMILTON MALL 1999-01-06
             List the contract number of any                                         100 W BLACKHORSE PIKE SP#
                   government contract                                               Mays Landing, NJ 08330


 2.761.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAMILTON MALL 1999-01-06
             List the contract number of any                                         100 W BLACKHORSE PIKE SP#
                   government contract                                               Mays Landing, NJ 08330


 2.762.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAMILTON MALL 1999-01-06
             List the contract number of any                                         100 W BLACKHORSE PIKE SP#
                   government contract                                               Mays Landing, NJ 08330


 2.763.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HANES MALL
             List the contract number of any                                         3320 SILAS CREEK PKW ST 5
                   government contract                                               Winston Salem, NC 27103


 2.764.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          HANES MALL
             the debtor's interest                                                   3320 SILAS CREEK PKW ST 5
                                                                                     Winston Salem, NC 27103
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.765.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HANES MALL
             List the contract number of any                                         3320 SILAS CREEK PKW ST 5
                   government contract                                               Winston Salem, NC 27103


 2.766.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HANES MALL
             List the contract number of any                                         3320 SILAS CREEK PKW ST 5
                   government contract                                               Winston Salem, NC 27103


 2.767.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HANES MALL
             List the contract number of any                                         3320 SILAS CREEK PKW ST 5
                   government contract                                               Winston Salem, NC 27103


 2.768.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HANES MALL
             List the contract number of any                                         3320 SILAS CREEK PKW ST 5
                   government contract                                               Winston Salem, NC 27103


 2.769.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HANES MALL
             List the contract number of any                                         3320 SILAS CREEK PKW ST 5
                   government contract                                               Winston Salem, NC 27103




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.770.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HANES MALL
             List the contract number of any                                         3320 SILAS CREEK PKW ST 5
                   government contract                                               Winston Salem, NC 27103


 2.771.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HANES MALL
             List the contract number of any                                         3320 SILAS CREEK PKW ST 5
                   government contract                                               Winston Salem, NC 27103


 2.772.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HANES MALL
             List the contract number of any                                         3320 SILAS CREEK PKW ST 5
                   government contract                                               Winston Salem, NC 27103


 2.773.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARFORD MALL 2004-12-03
             List the contract number of any                                         696A BEL AIR RD SP # W12
                   government contract                                               Bel Air, MD 21014


 2.774.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARFORD MALL 2004-12-03
             List the contract number of any                                         696A BEL AIR RD SP # W12
                   government contract                                               Bel Air, MD 21014


 2.775.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           HARFORD MALL 2004-12-03
                                                                                     696A BEL AIR RD SP # W12
             List the contract number of any                                         Bel Air, MD 21014
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.776.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARFORD MALL 2004-12-03
             List the contract number of any                                         696A BEL AIR RD SP # W12
                   government contract                                               Bel Air, MD 21014


 2.777.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARFORD MALL 2004-12-03
             List the contract number of any                                         696A BEL AIR RD SP # W12
                   government contract                                               Bel Air, MD 21014


 2.778.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARFORD MALL 2004-12-03
             List the contract number of any                                         696A BEL AIR RD SP # W12
                   government contract                                               Bel Air, MD 21014


 2.779.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARLEM IRVING 2007-02-28
             List the contract number of any                                         4190 NORTH HARLEM AVENUE
                   government contract                                               Norridge, IL 60706


 2.780.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARLEM IRVING 2007-02-28
             List the contract number of any                                         4190 NORTH HARLEM AVENUE
                   government contract                                               Norridge, IL 60706


 2.781.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          HARLEM IRVING 2007-02-28
             the debtor's interest                                                   4190 NORTH HARLEM AVENUE
                                                                                     Norridge, IL 60706
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.782.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.783.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.784.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.785.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.786.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.787.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.788.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.789.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.790.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.791.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.792.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           HARRISBURG MALL 1991-10-01
                                                                                     3201 PAXTON STREET
             List the contract number of any                                         Harrisburg, PA 17111
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.793.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.794.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.795.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HARRISBURG MALL 1991-10-01
             List the contract number of any                                         3201 PAXTON STREET
                   government contract                                               Harrisburg, PA 17111


 2.796.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAYWOOD MALL 2014-04-01
             List the contract number of any                                         700 HAYWOOD MALL -SP # 1028
                   government contract                                               Greenville, SC 29606


 2.797.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAYWOOD MALL 2014-04-01
             List the contract number of any                                         700 HAYWOOD MALL -SP # 1028
                   government contract                                               Greenville, SC 29606


 2.798.      State what the contract or                   Storage Agreement
             lease is for and the nature of                                          HAYWOOD MALL 2014-04-01
             the debtor's interest                                                   700 HAYWOOD MALL -SP # 1028
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.799.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAYWOOD MALL 2014-04-01
             List the contract number of any                                         700 HAYWOOD MALL -SP # 1028
                   government contract                                               Greenville, SC 29606


 2.800.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HAYWOOD MALL 2014-04-01
             List the contract number of any                                         700 HAYWOOD MALL -SP # 1028
                   government contract                                               Greenville, SC 29606


 2.801.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HILTON HEAD 2011-12-29
             List the contract number of any                                         1414 FORDING ISLAND RD, #C
                   government contract                                               Bluffton, SC 29910


 2.802.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HILTON HEAD 2011-12-29
             List the contract number of any                                         1414 FORDING ISLAND RD, #C
                   government contract                                               Bluffton, SC 29910


 2.803.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HILTON HEAD 2011-12-29
             List the contract number of any                                         1414 FORDING ISLAND RD, #C
                   government contract                                               Bluffton, SC 29910




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.804.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HILTON HEAD 2011-12-29
             List the contract number of any                                         1414 FORDING ISLAND RD, #C
                   government contract                                               Bluffton, SC 29910


 2.805.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HOLYOKE MALL 2011-03-17
             List the contract number of any                                         50 HOLYOKE ST. SP # B225
                   government contract                                               Holyoke, MA 01040


 2.806.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HOUSTON OUTLET 2010-09-21
             List the contract number of any                                         29300 HEMPSTEAD RD SP # 121
                   government contract                                               Cypress, TX 77433


 2.807.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HOUSTON OUTLET 2010-09-21
             List the contract number of any                                         29300 HEMPSTEAD RD SP # 121
                   government contract                                               Cypress, TX 77433


 2.808.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HULEN MALL 2004-12-13
             List the contract number of any                                         4800 SOUTH HULEN STREET
                   government contract                                               Ft. Worth, TX 76132


 2.809.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           HULEN MALL 2004-12-13
                                                                                     4800 SOUTH HULEN STREET
             List the contract number of any                                         Ft. Worth, TX 76132
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.810.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HULEN MALL 2004-12-13
             List the contract number of any                                         4800 SOUTH HULEN STREET
                   government contract                                               Ft. Worth, TX 76132


 2.811.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HULEN MALL 2004-12-13
             List the contract number of any                                         4800 SOUTH HULEN STREET
                   government contract                                               Ft. Worth, TX 76132


 2.812.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HULEN MALL 2004-12-13
             List the contract number of any                                         4800 SOUTH HULEN STREET
                   government contract                                               Ft. Worth, TX 76132


 2.813.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HULEN MALL 2004-12-13
             List the contract number of any                                         4800 SOUTH HULEN STREET
                   government contract                                               Ft. Worth, TX 76132


 2.814.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HULEN MALL 2004-12-13
             List the contract number of any                                         4800 SOUTH HULEN STREET
                   government contract                                               Ft. Worth, TX 76132


 2.815.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          HULEN MALL 2004-12-13
             the debtor's interest                                                   4800 SOUTH HULEN STREET
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.816.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HULEN MALL 2004-12-13
             List the contract number of any                                         4800 SOUTH HULEN STREET
                   government contract                                               Ft. Worth, TX 76132


 2.817.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HYLAN COMMONS
             List the contract number of any                                         430 NEW DORP LANE
                   government contract                                               Staten Island, NY 10306


 2.818.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HYLAN COMMONS
             List the contract number of any                                         430 NEW DORP LANE
                   government contract                                               Staten Island, NY 10306


 2.819.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HYLAN COMMONS
             List the contract number of any                                         430 NEW DORP LANE
                   government contract                                               Staten Island, NY 10306


 2.820.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           IMPERIAL VALLEY 2004-12-06
                                                                                     3451 SOUTH DOGWOOD SP
             List the contract number of any                                         #11
                   government contract                                               El Centro, CA 92243




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.821.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           IMPERIAL VALLEY 2004-12-06
                                                                                     3451 SOUTH DOGWOOD SP
             List the contract number of any                                         #11
                   government contract                                               El Centro, CA 92243


 2.822.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           IMPERIAL VALLEY 2004-12-06
                                                                                     3451 SOUTH DOGWOOD SP
             List the contract number of any                                         #11
                   government contract                                               El Centro, CA 92243


 2.823.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           IMPERIAL VALLEY 2004-12-06
                                                                                     3451 SOUTH DOGWOOD SP
             List the contract number of any                                         #11
                   government contract                                               El Centro, CA 92243


 2.824.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           IMPERIAL VALLEY 2004-12-06
                                                                                     3451 SOUTH DOGWOOD SP
             List the contract number of any                                         #11
                   government contract                                               El Centro, CA 92243


 2.825.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           IMPERIAL VALLEY 2004-12-06
                                                                                     3451 SOUTH DOGWOOD SP
             List the contract number of any                                         #11
                   government contract                                               El Centro, CA 92243


 2.826.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest
                                                                                     IMPERIAL VALLEY 2004-12-06
                  State the term remaining                                           3451 SOUTH DOGWOOD SP
                                                                                     #11
             List the contract number of any                                         El Centro, CA 92243
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.827.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           IMPERIAL VALLEY 2004-12-06
                                                                                     3451 SOUTH DOGWOOD SP
             List the contract number of any                                         #11
                   government contract                                               El Centro, CA 92243


 2.828.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     INDEPENDENCE MALL 1989-06-16
             List the contract number of any                                         100 INDEPENDENCE MALL SPB
                   government contract                                               Kingston, MA 02364


 2.829.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     INDEPENDENCE MALL 1989-06-16
             List the contract number of any                                         100 INDEPENDENCE MALL SPB
                   government contract                                               Kingston, MA 02364


 2.830.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     INDEPENDENCE MALL 1989-06-16
             List the contract number of any                                         100 INDEPENDENCE MALL SPB
                   government contract                                               Kingston, MA 02364


 2.831.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     INDEPENDENCE MALL 1989-06-16
             List the contract number of any                                         100 INDEPENDENCE MALL SPB
                   government contract                                               Kingston, MA 02364


 2.832.      State what the contract or                   Personal internet &       InfoArmor Inc.
             lease is for and the nature of               identity coverage         Allstate Identity Protection
             the debtor's interest                        master policy             7350 N. Dobson Rd.
                                                                                    Suite 101
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                                                                                     Unexpired Leases                               Page 147 of 357
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.833.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     INGRAM PARK
             List the contract number of any                                         6301 NW LOOP 410
                   government contract                                               San Antonio, TX 78238


 2.834.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     INGRAM PARK
             List the contract number of any                                         6301 NW LOOP 410
                   government contract                                               San Antonio, TX 78238


 2.835.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     INGRAM PARK 2006-01-06
             List the contract number of any                                         P.O. BOX 402936
                   government contract                                               ATLANTA, GA 30384-2936


 2.836.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     INGRAM PARK 2006-01-06
             List the contract number of any                                         P.O. BOX 402936
                   government contract                                               ATLANTA, GA 30384-2936


 2.837.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     INGRAM PARK 2006-01-06
             List the contract number of any                                         P.O. BOX 402936
                   government contract                                               ATLANTA, GA 30384-2936




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.838.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     JACKSON PREMIUM 2012-02-01
             List the contract number of any                                         537 MONMOUTH ROAD
                   government contract                                               Jackson, NJ 08527


 2.839.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Jamaica Center
             List the contract number of any                                         159-10 Jamaica Ave
                   government contract                                               Jamaica, NY 11432


 2.840.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     JEFFERSON VALLEY 2007-10-04
             List the contract number of any                                         650 LEE BOULEVARD
                   government contract                                               Yorktown Heights, NY 10598


 2.841.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     JEFFERSON VALLEY 2007-10-04
             List the contract number of any                                         650 LEE BOULEVARD
                   government contract                                               Yorktown Heights, NY 10598


 2.842.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     JEFFERSON VALLEY 2007-10-04
             List the contract number of any                                         650 LEE BOULEVARD
                   government contract                                               Yorktown Heights, NY 10598


 2.843.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           JEFFERSON VALLEY 2007-10-04
                                                                                     650 LEE BOULEVARD
             List the contract number of any                                         Yorktown Heights, NY 10598
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.844.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     JEFFERSON VALLEY 2007-10-04
             List the contract number of any                                         650 LEE BOULEVARD
                   government contract                                               Yorktown Heights, NY 10598


 2.845.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     JEFFERSON VALLEY 2007-10-04
             List the contract number of any                                         650 LEE BOULEVARD
                   government contract                                               Yorktown Heights, NY 10598


 2.846.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     JERSEY GARDENS OUTLET 2017-09-12
             List the contract number of any                                         651 KAPKOWSKI RD SP #1081
                   government contract                                               ELIZABETH, NJ 07201


 2.847.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     JERSEY GARDENS OUTLET 2017-09-12
             List the contract number of any                                         KAPKOWSKI RD SP # 1018
                   government contract                                               ELIZABETH, NJ 07201


 2.848.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     JERSEY SHORE 2012-02-01
             List the contract number of any                                         ONE PREMIUM OUTLET BLVD
                   government contract                                               Tinton Falls, NJ 07753


 2.849.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          JERSEY SHORE 2012-02-01
             the debtor's interest                                                   ONE PREMIUM OUTLET BLVD
                                                                                     Tinton Falls, NJ 07753
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.850.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           KATY MILLS 2007-02-28
                                                                                     5000 KATY MILLS DR
             List the contract number of any                                         # 226
                   government contract                                               Katy, TX 77494


 2.851.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           KATY MILLS 2007-02-28
                                                                                     5000 KATY MILLS DR
             List the contract number of any                                         # 226
                   government contract                                               Katy, TX 77494


 2.852.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           KATY MILLS 2007-02-28
                                                                                     5000 KATY MILLS DR
             List the contract number of any                                         # 226
                   government contract                                               Katy, TX 77494


 2.853.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           KATY MILLS 2007-02-28
                                                                                     5000 KATY MILLS DR
             List the contract number of any                                         # 226
                   government contract                                               Katy, TX 77494


 2.854.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           KENDALL TOWN & COUNTRY 2006-02-26
                                                                                     8500 MILLS DRIVE SP
             List the contract number of any                                         C-12, Palms at Town & Country
                   government contract                                               Miami, FL 33183




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.855.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           KENDALL TOWN & COUNTRY 2006-02-26
                                                                                     8500 MILLS DRIVE SP
             List the contract number of any                                         C-12, Palms at Town & Country
                   government contract                                               Miami, FL 33183


 2.856.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           KENDALL TOWN & COUNTRY 2006-02-26
                                                                                     8500 MILLS DRIVE SP
             List the contract number of any                                         C-12, Palms at Town & Country
                   government contract                                               Miami, FL 33183


 2.857.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     KINGS PLAZA (FTF)
             List the contract number of any                                         5100 KINGS PLAZA BLVD #21
                   government contract                                               Brooklyn, NY 11234


 2.858.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     KINGS PLAZA (FTF)
             List the contract number of any                                         5100 KINGS PLAZA BLVD #21
                   government contract                                               Brooklyn, NY 11234


 2.859.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     KINGS PLAZA (FTF)
             List the contract number of any                                         5100 KINGS PLAZA BLVD #21
                   government contract                                               Brooklyn, NY 11234


 2.860.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           KINGS PLAZA (FTF)
                                                                                     5100 KINGS PLAZA BLVD #21
             List the contract number of any                                         Brooklyn, NY 11234
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.861.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             KINGS PLAZA 2014-11-25
                                                                                       5100 KINGS PLAZA BLVD
             List the contract number of any                                           21
                   government contract                                                 Brooklyn, NY 11234


 2.862.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             KINGS PLAZA 2014-11-25
                                                                                       5100 KINGS PLAZA BLVD
             List the contract number of any                                           21
                   government contract                                                 Brooklyn, NY 11234


 2.863.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             KINGS PLAZA 2014-11-25
                                                                                       5100 KINGS PLAZA BLVD
             List the contract number of any                                           21
                   government contract                                                 Brooklyn, NY 11234


 2.864.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             KINGS PLAZA 2014-11-25
                                                                                       5100 KINGS PLAZA BLVD
             List the contract number of any                                           21
                   government contract                                                 Brooklyn, NY 11234


 2.865.      State what the contract or                   Transitions Services
             lease is for and the nature of               Agreement-
             the debtor's interest                        Distribution Center
                                                          (and all corresponding
                                                          amendments)
                  State the term remaining                                             L Brands ( Limited Logistics Services)
                                                                                       Three Limited Parkway
             List the contract number of any                                           Attn: General Counsel
                   government contract                                                 Columbus, OH 48230




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.866.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LA PLAZA MALL 2008-05-07
             List the contract number of any                                         2200 S. 10TH STREET SP # H-5
                   government contract                                               Mcallen, TX 78503


 2.867.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LA PLAZA MALL 2008-05-07
             List the contract number of any                                         2200 S. 10TH STREET SP # H-5
                   government contract                                               Mcallen, TX 78503


 2.868.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LA PLAZA MALL 2008-05-07
             List the contract number of any                                         2200 S. 10TH STREET SP # H-5
                   government contract                                               Mcallen, TX 78503


 2.869.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKE SUCCESS 2007-07-26
             List the contract number of any                                         1436 UNION TURNPIKE
                   government contract                                               New Hyde Park, NY 11040


 2.870.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKE SUCCESS 2007-07-26
             List the contract number of any                                         1436 UNION TURNPIKE
                   government contract                                               New Hyde Park, NY 11040


 2.871.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           LAKESIDE MALL 2002-04-17
                                                                                     14600 LAKE CIRCLE
             List the contract number of any                                         Sterling Heights, MI 48313
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.872.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKESIDE MALL 2002-04-17
             List the contract number of any                                         14600 LAKE CIRCLE
                   government contract                                               Sterling Heights, MI 48313


 2.873.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKESIDE MALL 2002-04-17
             List the contract number of any                                         14600 LAKE CIRCLE
                   government contract                                               Sterling Heights, MI 48313


 2.874.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKESIDE MALL 2002-04-17
             List the contract number of any                                         14600 LAKE CIRCLE
                   government contract                                               Sterling Heights, MI 48313


 2.875.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKESIDE MALL 2002-04-17
             List the contract number of any                                         14600 LAKE CIRCLE
                   government contract                                               Sterling Heights, MI 48313


 2.876.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKESIDE MALL 2002-04-17
             List the contract number of any                                         14600 LAKE CIRCLE
                   government contract                                               Sterling Heights, MI 48313


 2.877.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          LAKESIDE MALL 2002-04-17
             the debtor's interest                                                   14600 LAKE CIRCLE
                                                                                     Sterling Heights, MI 48313
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.878.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKESIDE MALL 2002-04-17
             List the contract number of any                                         14600 LAKE CIRCLE
                   government contract                                               Sterling Heights, MI 48313


 2.879.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKESIDE VILLAGE 2006-09-01
             List the contract number of any                                         1473 TOWN CENTER DRIVE
                   government contract                                               Lakeland, FL 33803


 2.880.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKESIDE VILLAGE 2006-09-01
             List the contract number of any                                         1473 TOWN CENTER DRIVE
                   government contract                                               Lakeland, FL 33803


 2.881.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKESIDE VILLAGE 2006-09-01
             List the contract number of any                                         1473 TOWN CENTER DRIVE
                   government contract                                               Lakeland, FL 33803


 2.882.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKESIDE VILLAGE 2006-09-01
             List the contract number of any                                         1473 TOWN CENTER DRIVE
                   government contract                                               Lakeland, FL 33803




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.883.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAKESIDE VILLAGE 2006-09-01
             List the contract number of any                                         1473 TOWN CENTER DRIVE
                   government contract                                               Lakeland, FL 33803


 2.884.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.885.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.886.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.887.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.888.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           LAS AGUILAS MALL 1982-03-08
                                                                                     455 SOUTH BIBB ST.
             List the contract number of any                                         Eagle Pass, TX 78852
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.889.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.890.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.891.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.892.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.893.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.894.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          LAS AGUILAS MALL 1982-03-08
             the debtor's interest                                                   455 SOUTH BIBB ST.
                                                                                     Eagle Pass, TX 78852
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.895.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.896.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.897.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AGUILAS MALL 1982-03-08
             List the contract number of any                                         455 SOUTH BIBB ST.
                   government contract                                               Eagle Pass, TX 78852


 2.898.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AMERICAS 2011-12-21
             List the contract number of any                                         4211 CAMINO DE LAPLAZA
                   government contract                                               San Diego, CA 92173


 2.899.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS AMERICAS 2011-12-21
             List the contract number of any                                         4211 CAMINO DE LAPLAZA
                   government contract                                               San Diego, CA 92173




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.900.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LAS VEGAS PREMIUM SOUTH 2012-02-01
             List the contract number of any                                         7400 LAS VEGAS BLVD SO.
                   government contract                                               Las Vegas, NV 89123


 2.901.      State what the contract or                   Real estate tax
             lease is for and the nature of               consulting services
             the debtor's interest

                  State the term remaining                                           Lawrence J. Berger
                                                                                     200 Madison Ave
             List the contract number of any                                         #1902
                   government contract                                               New York, NY 10016


 2.902.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LEESBURG CORNER 2015-05-14
             List the contract number of any                                         240 Fort Evans Road NE
                   government contract                                               Leesburg, VA 20176


 2.903.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LEESBURG CORNER 2015-05-14
             List the contract number of any                                         240 Fort Evans Road NE
                   government contract                                               Leesburg, VA 20176


 2.904.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LEHIGH VALLEY 2017-09-11
             List the contract number of any                                         153 LEHIGH VALLEY MALL
                   government contract                                               Whitehall, PA 18052


 2.905.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           LEHIGH VALLEY 2017-09-11
                                                                                     153 LEHIGH VALLEY MALL
             List the contract number of any                                         Whitehall, PA 18052
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.906.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LEHIGH VALLEY 2017-09-11
             List the contract number of any                                         153 LEHIGH VALLEY MALL
                   government contract                                               Whitehall, PA 18052


 2.907.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LEHIGH VALLEY 2017-09-11
             List the contract number of any                                         153 LEHIGH VALLEY MALL
                   government contract                                               Whitehall, PA 18052


 2.908.      State what the contract or                   Insurance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Lincoln Financial Group
                                                                                     9901 Indian Hills Dr.
             List the contract number of any                                         Attn: Vice President of Claims
                   government contract                                               Omaha, NE 68114


 2.909.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LINCOLNWOOD 2011-01-04
             List the contract number of any                                         3401 TOUHY SP # D-11
                   government contract                                               Lincolnwood, IL 60712


 2.910.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LINCOLNWOOD 2011-01-04
             List the contract number of any                                         3401 TOUHY SP # D-11
                   government contract                                               Lincolnwood, IL 60712


 2.911.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          LINCOLNWOOD 2011-01-04
             the debtor's interest                                                   3401 TOUHY SP # D-11
                                                                                     Lincolnwood, IL 60712
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.912.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LINCOLNWOOD 2011-01-04
             List the contract number of any                                         3401 TOUHY SP # D-11
                   government contract                                               Lincolnwood, IL 60712


 2.913.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LINCOLNWOOD 2011-01-04
             List the contract number of any                                         3401 TOUHY SP # D-11
                   government contract                                               Lincolnwood, IL 60712


 2.914.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LINCOLNWOOD 2011-01-04
             List the contract number of any                                         3401 TOUHY SP # D-11
                   government contract                                               Lincolnwood, IL 60712


 2.915.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LINCOLNWOOD 2011-01-04
             List the contract number of any                                         3401 TOUHY SP # D-11
                   government contract                                               Lincolnwood, IL 60712


 2.916.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LIVINGSTON MALL 2011-01-03
             List the contract number of any                                         38 LIVINGSTON MALL
                   government contract                                               Livingston, NJ 07039




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.917.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LIVINGSTON MALL 2011-01-03
             List the contract number of any                                         38 LIVINGSTON MALL
                   government contract                                               Livingston, NJ 07039


 2.918.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LIVINGSTON MALL 2011-01-03
             List the contract number of any                                         38 LIVINGSTON MALL
                   government contract                                               Livingston, NJ 07039


 2.919.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LIVINGSTON MALL 2011-01-03
             List the contract number of any                                         38 LIVINGSTON MALL
                   government contract                                               Livingston, NJ 07039


 2.920.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOCUST GROVE TANGER 2013-08-
             List the contract number of any                                         1000 Tanger Drive
                   government contract                                               Locust Grove, GA 30248


 2.921.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOS CERRITOS CENTER 2016-01-13
             List the contract number of any                                         434 LOS CERRITOS CTR SP # E05
                   government contract                                               Cerritos, CA 90703


 2.922.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           LOS CERRITOS CENTER 2016-01-13
                                                                                     434 LOS CERRITOS CTR SP # E05
             List the contract number of any                                         Cerritos, CA 90703
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.923.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOS CERRITOS CENTER 2016-01-13
             List the contract number of any                                         434 LOS CERRITOS CTR SP # E05
                   government contract                                               Cerritos, CA 90703


 2.924.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOS CERRITOS CENTER 2016-01-13
             List the contract number of any                                         434 LOS CERRITOS CTR SP # E05
                   government contract                                               Cerritos, CA 90703


 2.925.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOS CERRITOS CENTER 2016-01-13
             List the contract number of any                                         434 LOS CERRITOS CTR SP # E05
                   government contract                                               Cerritos, CA 90703


 2.926.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOS CERRITOS CENTER 2016-01-13
             List the contract number of any                                         434 LOS CERRITOS CTR SP # E05
                   government contract                                               Cerritos, CA 90703


 2.927.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOS CERRITOS CENTER 2016-01-13
             List the contract number of any                                         434 LOS CERRITOS CTR SP # E05
                   government contract                                               Cerritos, CA 90703


 2.928.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          LOUIS JOLIET 1990-09-13
             the debtor's interest                                                   1132 LOUIS JOLIET MALL
                                                                                     Joliet, IL 60435-1099
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.929.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOUIS JOLIET 1990-09-13
             List the contract number of any                                         1132 LOUIS JOLIET MALL
                   government contract                                               Joliet, IL 60435-1099


 2.930.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOUIS JOLIET 1990-09-13
             List the contract number of any                                         1132 LOUIS JOLIET MALL
                   government contract                                               Joliet, IL 60435-1099


 2.931.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOUIS JOLIET 1990-09-13
             List the contract number of any                                         1132 LOUIS JOLIET MALL
                   government contract                                               Joliet, IL 60435-1099


 2.932.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOUIS JOLIET 1990-09-13
             List the contract number of any                                         1132 LOUIS JOLIET MALL
                   government contract                                               Joliet, IL 60435-1099


 2.933.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOUIS JOLIET 1990-09-13
             List the contract number of any                                         1132 LOUIS JOLIET MALL
                   government contract                                               Joliet, IL 60435-1099




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              First Name               Middle Name                   Last Name



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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.934.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOUISIANA, MALL OF 2011-06-28
             List the contract number of any                                         6401 BLUEBONNET BLVD SP# 2180
                   government contract                                               Baton Rouge, LA 70809


 2.935.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOUISIANA, MALL OF 2011-06-28
             List the contract number of any                                         6401 BLUEBONNET BLVD SP# 2180
                   government contract                                               Baton Rouge, LA 70809


 2.936.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LOUISIANA, MALL OF 2011-06-28
             List the contract number of any                                         6401 BLUEBONNET BLVD SP# 2180
                   government contract                                               Baton Rouge, LA 70809


 2.937.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     LYNNHAVEN MALL 2016-04-01
             List the contract number of any                                         LYNNHAVEN MALL SP # E058
                   government contract                                               Virginia Beach, VA 23452


 2.938.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MACARTHUR CENTER 2006-05-09
             List the contract number of any                                         300 MONTICELLO AVE SP#174
                   government contract                                               Norfolk, VA 23510


 2.939.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MACARTHUR CENTER 2006-05-09
                                                                                     300 MONTICELLO AVE SP#174
             List the contract number of any                                         Norfolk, VA 23510
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.940.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MACARTHUR CENTER 2006-05-09
             List the contract number of any                                         300 MONTICELLO AVE SP#174
                   government contract                                               Norfolk, VA 23510


 2.941.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MACARTHUR CENTER 2006-05-09
             List the contract number of any                                         300 MONTICELLO AVE SP#174
                   government contract                                               Norfolk, VA 23510


 2.942.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MAINPLACE 2015-09-18
             List the contract number of any                                         2800 N. MAIN ST SP# 603
                   government contract                                               Santa Ana, CA 92705


 2.943.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL @ STONE CREST 2000-06-28
             List the contract number of any                                         8000 MALL PARKWAY SP1560
                   government contract                                               Lithonia, GA 30038


 2.944.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL @ STONE CREST 2000-06-28
             List the contract number of any                                         8000 MALL PARKWAY SP1560
                   government contract                                               Lithonia, GA 30038


 2.945.      State what the contract or                   Amended Lease
             lease is for and the nature of                                          MALL @ STONE CREST 2000-06-28
             the debtor's interest                                                   8000 MALL PARKWAY SP1560
                                                                                     Lithonia, GA 30038
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.946.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL @ STONE CREST 2000-06-28
             List the contract number of any                                         8000 MALL PARKWAY SP1560
                   government contract                                               Lithonia, GA 30038


 2.947.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL @ STONE CREST 2000-06-28
             List the contract number of any                                         8000 MALL PARKWAY SP1560
                   government contract                                               Lithonia, GA 30038


 2.948.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL @ STONECREST (FTF)
             List the contract number of any                                         8000 MALL PARKWAY SP1560
                   government contract                                               Lithonia, GA 30038


 2.949.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL @ STONECREST (FTF)
             List the contract number of any                                         8000 MALL PARKWAY SP1560
                   government contract                                               Lithonia, GA 30038


 2.950.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL @ STONECREST (FTF)
             List the contract number of any                                         8000 MALL PARKWAY SP1560
                   government contract                                               Lithonia, GA 30038




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.951.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL @ WELLINGTON 2006-06-08
             List the contract number of any                                         10300 W FOREST HILL BLVD
                   government contract                                               Wellington, FL 33414


 2.952.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL @ WELLINGTON 2006-06-08
             List the contract number of any                                         10300 W FOREST HILL BLVD
                   government contract                                               Wellington, FL 33414


 2.953.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL @ WELLINGTON 2006-06-08
             List the contract number of any                                         10300 W FOREST HILL BLVD
                   government contract                                               Wellington, FL 33414


 2.954.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL @ WELLINGTON 2006-06-08
             List the contract number of any                                         10300 W FOREST HILL BLVD
                   government contract                                               Wellington, FL 33414


 2.955.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL In COLUMBIA, THE (MD) 2011-12-27
             List the contract number of any                                         10300 LITTLE PATUXENT PKWY
                   government contract                                               Columbia, MD 21044


 2.956.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MALL In COLUMBIA, THE (MD) 2011-12-27
                                                                                     10300 LITTLE PATUXENT PKWY
             List the contract number of any                                         Columbia, MD 21044
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.957.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL In COLUMBIA, THE (MD) 2011-12-27
             List the contract number of any                                         10300 LITTLE PATUXENT PKWY
                   government contract                                               Columbia, MD 21044


 2.958.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL In COLUMBIA, THE (MD) 2011-12-27
             List the contract number of any                                         10300 LITTLE PATUXENT PKWY
                   government contract                                               Columbia, MD 21044


 2.959.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL In COLUMBIA, THE (MD) 2011-12-27
             List the contract number of any                                         10300 LITTLE PATUXENT PKWY
                   government contract                                               Columbia, MD 21044


 2.960.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL In COLUMBIA, THE (MD) 2011-12-27
             List the contract number of any                                         10300 LITTLE PATUXENT PKWY
                   government contract                                               Columbia, MD 21044


 2.961.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL OF AMERICA 2011-02-25
             List the contract number of any                                         276 SOUTH AVE SP # S276
                   government contract                                               Bloomington, MN 55425


 2.962.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of                                          MALL OF AMERICA 2011-02-25
             the debtor's interest                                                   276 SOUTH AVE SP # S276
                                                                                     Bloomington, MN 55425
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.963.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MALL OF GEORGIA 2011-12-27
                                                                                     3333 BUFORD MALL SP
             List the contract number of any                                         # 2010
                   government contract                                               Buford, GA 30519


 2.964.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MALL OF GEORGIA 2011-12-27
                                                                                     3333 BUFORD MALL SP
             List the contract number of any                                         # 2010
                   government contract                                               Buford, GA 30519


 2.965.      State what the contract or                   Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MALL OF GEORGIA 2011-12-27
                                                                                     3333 BUFORD MALL SP
             List the contract number of any                                         # 2010
                   government contract                                               Buford, GA 30519


 2.966.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL ST VINCENT 2004-10-22
             List the contract number of any                                         1133 ST VINCENT AVE SP # 18
                   government contract                                               Shreveport, LA 71104


 2.967.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL ST VINCENT 2004-10-22
             List the contract number of any                                         1133 ST VINCENT AVE SP # 18
                   government contract                                               Shreveport, LA 71104




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.968.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL ST VINCENT 2004-10-22
             List the contract number of any                                         1133 ST VINCENT AVE SP # 18
                   government contract                                               Shreveport, LA 71104


 2.969.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL ST VINCENT 2004-10-22
             List the contract number of any                                         1133 ST VINCENT AVE SP # 18
                   government contract                                               Shreveport, LA 71104


 2.970.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL ST VINCENT 2004-10-22
             List the contract number of any                                         1133 ST VINCENT AVE SP # 18
                   government contract                                               Shreveport, LA 71104


 2.971.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL ST VINCENT 2004-10-22
             List the contract number of any                                         1133 ST VINCENT AVE SP # 18
                   government contract                                               Shreveport, LA 71104


 2.972.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL ST VINCENT 2004-10-22
             List the contract number of any                                         1133 ST VINCENT AVE SP # 18
                   government contract                                               Shreveport, LA 71104


 2.973.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MALL ST VINCENT 2004-10-22
                                                                                     1133 ST VINCENT AVE SP # 18
             List the contract number of any                                         Shreveport, LA 71104
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.974.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MALL ST VINCENT 2004-10-22
             List the contract number of any                                         1133 ST VINCENT AVE SP # 18
                   government contract                                               Shreveport, LA 71104


 2.975.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MANASSAS MALL 2007-06-20
             List the contract number of any                                         8300 SUDLEY ROAD E-16
                   government contract                                               Manassas, VA 20109


 2.976.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MANASSAS MALL 2007-06-20
             List the contract number of any                                         8300 SUDLEY ROAD E-16
                   government contract                                               Manassas, VA 20109


 2.977.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MANASSAS MALL 2007-06-20
             List the contract number of any                                         8300 SUDLEY ROAD E-16
                   government contract                                               Manassas, VA 20109


 2.978.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MANASSAS MALL 2007-06-20
             List the contract number of any                                         8300 SUDLEY ROAD E-16
                   government contract                                               Manassas, VA 20109


 2.979.      State what the contract or                   Remove
             lease is for and the nature of                                          MANASSAS MALL 2007-06-20
             the debtor's interest                                                   8300 SUDLEY ROAD E-16
                                                                                     Manassas, VA 20109
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.980.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MANASSAS MALL 2007-06-20
             List the contract number of any                                         8300 SUDLEY ROAD E-16
                   government contract                                               Manassas, VA 20109


 2.981.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MANASSAS MALL 2007-06-20
             List the contract number of any                                         8300 SUDLEY ROAD E-16
                   government contract                                               Manassas, VA 20109


 2.982.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MANASSAS MALL 2007-06-20
             List the contract number of any                                         8300 SUDLEY ROAD E-16
                   government contract                                               Manassas, VA 20109


 2.983.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MANASSAS MALL 2007-06-20
             List the contract number of any                                         8300 SUDLEY ROAD E-16
                   government contract                                               Manassas, VA 20109


 2.984.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MANHATTAN MALL 2017-09-30
             List the contract number of any                                         1275 Broadway
                   government contract                                               New York, NY 10001




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.985.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MANHATTAN MALL 2017-09-30
             List the contract number of any                                         1275 Broadway
                   government contract                                               New York, NY 10001


 2.986.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MANHATTAN MALL 2017-09-30
             List the contract number of any                                         1275 Broadway
                   government contract                                               New York, NY 10001


 2.987.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MARKETPLACE 2008-06-05
             List the contract number of any                                         1 MIRACLE MILE DRIVE
                   government contract                                               Rochester, NY 14624


 2.988.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MARKETPLACE 2008-06-05
             List the contract number of any                                         1 MIRACLE MILE DRIVE
                   government contract                                               Rochester, NY 14624


 2.989.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MARKETPLACE 2008-06-05
             List the contract number of any                                         1 MIRACLE MILE DRIVE
                   government contract                                               Rochester, NY 14624


 2.990.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                     MARKETPLACE AT SMYRNA SHOPPING CENTER
                  State the term remaining                                           2007-12-19
                                                                                     815 INDUSTRIAL BLVD
             List the contract number of any                                         Smyrna, TN 37167
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.991.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MARKETPLACE AT SMYRNA SHOPPING CENTER
                                                                                     2007-12-19
             List the contract number of any                                         815 INDUSTRIAL BLVD
                   government contract                                               Smyrna, TN 37167


 2.992.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MARKETPLACE AT SMYRNA SHOPPING CENTER
                                                                                     2007-12-19
             List the contract number of any                                         815 INDUSTRIAL BLVD
                   government contract                                               Smyrna, TN 37167


 2.993.      State what the contract or                   Remove
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MARKETPLACE AT SMYRNA SHOPPING CENTER
                                                                                     2007-12-19
             List the contract number of any                                         815 INDUSTRIAL BLVD
                   government contract                                               Smyrna, TN 37167


 2.994.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MARKETPLACE AT SMYRNA SHOPPING CENTER
                                                                                     2007-12-19
             List the contract number of any                                         815 INDUSTRIAL BLVD
                   government contract                                               Smyrna, TN 37167


 2.995.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MARKETPLACE AT SMYRNA SHOPPING CENTER
                                                                                     2007-12-19
             List the contract number of any                                         815 INDUSTRIAL BLVD
                   government contract                                               Smyrna, TN 37167


 2.996.      State what the contract or                   Amended Lease              MARKETPLACE AT SMYRNA SHOPPING CENTER
             lease is for and the nature of                                          2007-12-19
             the debtor's interest                                                   815 INDUSTRIAL BLVD
                                                                                     Smyrna, TN 37167
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.997.      State what the contract or                   Store Lease Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MARKETPLACE AT SMYRNA SHOPPING CENTER
                                                                                     2007-12-19
             List the contract number of any                                         815 INDUSTRIAL BLVD
                   government contract                                               Smyrna, TN 37167


 2.998.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MARKETPLACE AT SMYRNA SHOPPING CENTER
                                                                                     2007-12-19
             List the contract number of any                                         815 INDUSTRIAL BLVD
                   government contract                                               Smyrna, TN 37167


 2.999.      State what the contract or                   Amended Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MARKETPLACE AT SMYRNA SHOPPING CENTER
                                                                                     2007-12-19
             List the contract number of any                                         815 INDUSTRIAL BLVD
                   government contract                                               Smyrna, TN 37167


 2.1000. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MARKETPLACE AT SMYRNA SHOPPING CENTER
                                                                                     2007-12-19
             List the contract number of any                                         815 INDUSTRIAL BLVD
                   government contract                                               Smyrna, TN 37167


 2.1001. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MARKETPLACE AT SMYRNA SHOPPING CENTER
                                                                                     2007-12-19
             List the contract number of any                                         815 INDUSTRIAL BLVD
                   government contract                                               Smyrna, TN 37167




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1002. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MARLEY STATION MALL 2005-01-19
                                                                                     7900 GOV RITCHIE HWY
             List the contract number of any                                         E20
                   government contract                                               Glen Burnie, MD 21061


 2.1003. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MARLEY STATION MALL 2005-01-19
                                                                                     7900 GOV RITCHIE HWY
             List the contract number of any                                         E20
                   government contract                                               Glen Burnie, MD 21061


 2.1004. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MARLEY STATION MALL 2005-01-19
                                                                                     7900 GOV RITCHIE HWY
             List the contract number of any                                         E20
                   government contract                                               Glen Burnie, MD 21061


 2.1005. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MARLEY STATION MALL 2005-01-19
                                                                                     7900 GOV RITCHIE HWY
             List the contract number of any                                         E20
                   government contract                                               Glen Burnie, MD 21061


 2.1006. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MARLEY STATION MALL 2005-01-19
                                                                                     7900 GOV RITCHIE HWY
             List the contract number of any                                         E20
                   government contract                                               Glen Burnie, MD 21061


 2.1007. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest
                                                                                     MARLEY STATION MALL 2005-01-19
                  State the term remaining                                           7900 GOV RITCHIE HWY
                                                                                     E20
             List the contract number of any                                         Glen Burnie, MD 21061
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1008. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MAYFAIR 2006-10-23
             List the contract number of any                                         132-138 JERICHO TNPKE
                   government contract                                               Commack, NY 11725


 2.1009. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MAYFAIR 2006-10-23
             List the contract number of any                                         132-138 JERICHO TNPKE
                   government contract                                               Commack, NY 11725


 2.1010. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MAYFAIR 2006-10-23
             List the contract number of any                                         132-138 JERICHO TNPKE
                   government contract                                               Commack, NY 11725


 2.1011. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MAYFAIRE TOWN CENTER 2007-03-28
             List the contract number of any                                         6869 MAIN STREET
                   government contract                                               Wilmington, NC 28405


 2.1012. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MAYFAIRE TOWN CENTER 2007-03-28
             List the contract number of any                                         6869 MAIN STREET
                   government contract                                               Wilmington, NC 28405


 2.1013. State what the contract or                       Amended Lease
         lease is for and the nature of                                              MAYFAIRE TOWN CENTER 2007-03-28
         the debtor's interest                                                       6869 MAIN STREET
                                                                                     Wilmington, NC 28405
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1014. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MAYFAIRE TOWN CENTER 2007-03-28
             List the contract number of any                                         6869 MAIN STREET
                   government contract                                               Wilmington, NC 28405


 2.1015. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1016. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1017. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1018. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1019. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1020. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1021. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1022. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1023. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1024. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MCKINLEY MALL 1986-07-17
                                                                                     BOX 730 OR 732
             List the contract number of any                                         Blasdell, NY 14219
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1025. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1026. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1027. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1028. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1029. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MCKINLEY MALL 1986-07-17
             List the contract number of any                                         BOX 730 OR 732
                   government contract                                               Blasdell, NY 14219


 2.1030. State what the contract or                       Amended Lease
         lease is for and the nature of                                              MCKINLEY MALL 1986-07-17
         the debtor's interest                                                       BOX 730 OR 732
                                                                                     Blasdell, NY 14219
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1031. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MEADOWS, THE 2007-09-25
             List the contract number of any                                         4300 MEADOWS LANE
                   government contract                                               Las Vegas, NV 89107


 2.1032. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MEADOWS, THE 2007-09-25
             List the contract number of any                                         4300 MEADOWS LANE
                   government contract                                               Las Vegas, NV 89107


 2.1033. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MEADOWS, THE 2007-09-25
             List the contract number of any                                         4300 MEADOWS LANE
                   government contract                                               Las Vegas, NV 89107


 2.1034. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MEADOWS, THE 2007-09-25
             List the contract number of any                                         4300 MEADOWS LANE
                   government contract                                               Las Vegas, NV 89107


 2.1035. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MEADOWS, THE 2007-09-25
             List the contract number of any                                         4300 MEADOWS LANE
                   government contract                                               Las Vegas, NV 89107




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1036. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MEADOWS, THE 2007-09-25
             List the contract number of any                                         4300 MEADOWS LANE
                   government contract                                               Las Vegas, NV 89107


 2.1037. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MEMORIAL CITY 2001-06-29
             List the contract number of any                                         257 MEMORIAL CITY
                   government contract                                               Houston, TX 77024


 2.1038. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MEMORIAL CITY 2001-06-29
             List the contract number of any                                         257 MEMORIAL CITY
                   government contract                                               Houston, TX 77024


 2.1039. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MEMORIAL CITY 2001-06-29
             List the contract number of any                                         257 MEMORIAL CITY
                   government contract                                               Houston, TX 77024


 2.1040. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MEMORIAL CITY 2001-06-29
             List the contract number of any                                         257 MEMORIAL CITY
                   government contract                                               Houston, TX 77024


 2.1041. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MEMORIAL CITY 2001-06-29
                                                                                     257 MEMORIAL CITY
             List the contract number of any                                         Houston, TX 77024
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1042. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MEMORIAL CITY 2001-06-29
             List the contract number of any                                         257 MEMORIAL CITY
                   government contract                                               Houston, TX 77024


 2.1043. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MENLO PARK 2017-09-14
                                                                                     100 MENLO PARK SP
             List the contract number of any                                         2030A
                   government contract                                               Edison, NJ 08837


 2.1044. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1045. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1046. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1047. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              MERCED MALL 1991-03-07
         the debtor's interest                                                       264 MERCED MALL
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1048. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1049. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1050. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1051. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1052. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1053. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1054. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1055. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1056. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1057. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERCED MALL 1991-03-07
             List the contract number of any                                         264 MERCED MALL
                   government contract                                               Merced, CA 95348


 2.1058. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MERCED MALL 1991-03-07
                                                                                     264 MERCED MALL
             List the contract number of any                                         Merced, CA 95348
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1059. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERIDIAN MALL 2004-03-29
             List the contract number of any                                         1982 GRAND RIVER AVE SP #5
                   government contract                                               Okemos, MI 48864


 2.1060. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERIDIAN MALL 2004-03-29
             List the contract number of any                                         1982 GRAND RIVER AVE SP #5
                   government contract                                               Okemos, MI 48864


 2.1061. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERIDIAN MALL 2004-03-29
             List the contract number of any                                         1982 GRAND RIVER AVE SP #5
                   government contract                                               Okemos, MI 48864


 2.1062. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERIDIAN MALL 2004-03-29
             List the contract number of any                                         1982 GRAND RIVER AVE SP #5
                   government contract                                               Okemos, MI 48864


 2.1063. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERIDIAN MALL 2004-03-29
             List the contract number of any                                         1982 GRAND RIVER AVE SP #5
                   government contract                                               Okemos, MI 48864


 2.1064. State what the contract or                       Amended Lease
         lease is for and the nature of                                              MERIDIAN MALL 2004-03-29
         the debtor's interest                                                       1982 GRAND RIVER AVE SP #5
                                                                                     Okemos, MI 48864
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1065. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERIDIAN MALL 2004-03-29
             List the contract number of any                                         1982 GRAND RIVER AVE SP #5
                   government contract                                               Okemos, MI 48864


 2.1066. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MERIDIAN MALL 2004-03-29
             List the contract number of any                                         1982 GRAND RIVER AVE SP #5
                   government contract                                               Okemos, MI 48864


 2.1067. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MIAMI INTERNATIONAL 2017-03-02
                                                                                     Mall at Miami International, LLC
             List the contract number of any                                         225 W Washington St
                   government contract                                               Indianapolis, IN 46204


 2.1068. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MIAMI INTERNATIONAL 2017-03-02
                                                                                     Mall at Miami International, LLC
             List the contract number of any                                         225 W Washington St
                   government contract                                               Indianapolis, IN 46204


 2.1069. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MIAMI INTERNATIONAL 2017-03-02
                                                                                     Mall at Miami International, LLC
             List the contract number of any                                         225 W Washington St
                   government contract                                               Indianapolis, IN 46204




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1070. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MIAMI INTERNATIONAL 2017-03-02
                                                                                     Mall at Miami International, LLC
             List the contract number of any                                         225 W Washington St
                   government contract                                               Indianapolis, IN 46204


 2.1071. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MID RIVERS MALL 2007-09-12
             List the contract number of any                                         1600 MID RIVERS MALL
                   government contract                                               St Peters, MO 63376


 2.1072. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MID RIVERS MALL 2007-09-12
             List the contract number of any                                         1600 MID RIVERS MALL
                   government contract                                               St Peters, MO 63376


 2.1073. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MID RIVERS MALL 2007-09-12
             List the contract number of any                                         1600 MID RIVERS MALL
                   government contract                                               St Peters, MO 63376


 2.1074. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MID RIVERS MALL 2007-09-12
             List the contract number of any                                         1600 MID RIVERS MALL
                   government contract                                               St Peters, MO 63376


 2.1075. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MID RIVERS MALL 2007-09-12
                                                                                     1600 MID RIVERS MALL
             List the contract number of any                                         St Peters, MO 63376
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1076. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MID RIVERS MALL 2007-09-12
             List the contract number of any                                         1600 MID RIVERS MALL
                   government contract                                               St Peters, MO 63376


 2.1077. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MID RIVERS MALL 2007-09-12
             List the contract number of any                                         1600 MID RIVERS MALL
                   government contract                                               St Peters, MO 63376


 2.1078. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MID RIVERS MALL 2007-09-12
             List the contract number of any                                         1600 MID RIVERS MALL
                   government contract                                               St Peters, MO 63376


 2.1079. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MID RIVERS MALL 2007-09-12
             List the contract number of any                                         1600 MID RIVERS MALL
                   government contract                                               St Peters, MO 63376


 2.1080. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MID RIVERS MALL 2007-09-12
             List the contract number of any                                         1600 MID RIVERS MALL
                   government contract                                               St Peters, MO 63376


 2.1081. State what the contract or                       Amended Lease
         lease is for and the nature of                                              MID RIVERS MALL 2007-09-12
         the debtor's interest                                                       1600 MID RIVERS MALL
                                                                                     St Peters, MO 63376
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1082. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MILLCREEK 2006-10-06
             List the contract number of any                                         480 MILLCREEK MALL
                   government contract                                               Erie, PA 16509


 2.1083. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MILLCREEK 2006-10-06
             List the contract number of any                                         480 MILLCREEK MALL
                   government contract                                               Erie, PA 16509


 2.1084. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MILLCREEK 2006-10-06
             List the contract number of any                                         480 MILLCREEK MALL
                   government contract                                               Erie, PA 16509


 2.1085. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MILLCREEK 2006-10-06
             List the contract number of any                                         480 MILLCREEK MALL
                   government contract                                               Erie, PA 16509


 2.1086. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MILLCREEK 2006-10-06
             List the contract number of any                                         480 MILLCREEK MALL
                   government contract                                               Erie, PA 16509




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1087. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MILLCREEK 2006-10-06
             List the contract number of any                                         480 MILLCREEK MALL
                   government contract                                               Erie, PA 16509


 2.1088. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MIROMAR OUTLETS 2013-08-21
             List the contract number of any                                         10801 Corkscrew Road
                   government contract                                               Estero, FL 33928


 2.1089. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MIROMAR OUTLETS 2013-08-21
             List the contract number of any                                         10801 Corkscrew Road
                   government contract                                               Estero, FL 33928


 2.1090. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MIROMAR OUTLETS 2013-08-21
             List the contract number of any                                         10801 Corkscrew Road
                   government contract                                               Estero, FL 33928


 2.1091. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MIROMAR OUTLETS 2013-08-21
             List the contract number of any                                         10801 Corkscrew Road
                   government contract                                               Estero, FL 33928


 2.1092. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MISSION VALLEY 2015-09-18
                                                                                     1640 CAMINO DEL RIO N SP# 230
             List the contract number of any                                         San Diego, CA 92108
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1093. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest
                                                                                     MONDAWMIN MALL (FTF)
                  State the term remaining                                           Mondawmin Business Trust
                                                                                     350 N. Orleans St.
             List the contract number of any                                         Suite 300
                   government contract                                               Chicago, IL 60654


 2.1094. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONROEVILLE 2004-07-01
             List the contract number of any                                         290 MONROEVILLE MALL SP#59
                   government contract                                               Monroeville, PA 15146


 2.1095. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONROEVILLE 2004-07-01
             List the contract number of any                                         290 MONROEVILLE MALL SP#59
                   government contract                                               Monroeville, PA 15146


 2.1096. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONROEVILLE 2004-07-01
             List the contract number of any                                         290 MONROEVILLE MALL SP#59
                   government contract                                               Monroeville, PA 15146


 2.1097. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONROEVILLE 2004-07-01
             List the contract number of any                                         290 MONROEVILLE MALL SP#59
                   government contract                                               Monroeville, PA 15146


 2.1098. State what the contract or                       Amended Lease
         lease is for and the nature of                                              MONROEVILLE 2004-07-01
         the debtor's interest                                                       290 MONROEVILLE MALL SP#59
                                                                                     Monroeville, PA 15146
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1099. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONROEVILLE 2004-07-01
             List the contract number of any                                         290 MONROEVILLE MALL SP#59
                   government contract                                               Monroeville, PA 15146


 2.1100. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONROEVILLE 2004-07-01
             List the contract number of any                                         290 MONROEVILLE MALL SP#59
                   government contract                                               Monroeville, PA 15146


 2.1101. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONROEVILLE 2004-07-01
             List the contract number of any                                         290 MONROEVILLE MALL SP#59
                   government contract                                               Monroeville, PA 15146


 2.1102. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763


 2.1103. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1104. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763


 2.1105. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763


 2.1106. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763


 2.1107. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763


 2.1108. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763


 2.1109. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MONTCLAIR PLAZA 1993-10-28
                                                                                     2138 MONTCLAIR PLAZA SP# 2138
             List the contract number of any                                         Montclair, CA 91763
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1110. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763


 2.1111. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763


 2.1112. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763


 2.1113. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763


 2.1114. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTCLAIR PLAZA 1993-10-28
             List the contract number of any                                         2138 MONTCLAIR PLAZA SP# 2138
                   government contract                                               Montclair, CA 91763


 2.1115. State what the contract or                       Amended Lease
         lease is for and the nature of                                              MONTCLAIR PLAZA 1993-10-28
         the debtor's interest                                                       2138 MONTCLAIR PLAZA SP# 2138
                                                                                     Montclair, CA 91763
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1116. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTEBELLO TOWN CENTER 2017-07-24
             List the contract number of any                                         2147 MONTEBELLO TOWN CENTER
                   government contract                                               Montebello, CA 90640


 2.1117. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTEBELLO TOWN CENTER 2017-07-24
             List the contract number of any                                         2147 MONTEBELLO TOWN CENTER
                   government contract                                               Montebello, CA 90640


 2.1118. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTEBELLO TOWN CENTER 2017-07-24
             List the contract number of any                                         2147 MONTEBELLO TOWN CENTER
                   government contract                                               Montebello, CA 90640


 2.1119. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MONTEBELLO TOWN CENTER 2017-07-24
             List the contract number of any                                         2147 MONTEBELLO TOWN CENTER
                   government contract                                               Montebello, CA 90640


 2.1120. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MORENO VALLEY 2008-02-25
             List the contract number of any                                         22500 TOWN CIRCLE
                   government contract                                               Moreno Valley, CA 92553




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1121. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MORENO VALLEY 2008-02-25
             List the contract number of any                                         22500 TOWN CIRCLE
                   government contract                                               Moreno Valley, CA 92553


 2.1122. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MORENO VALLEY 2008-02-25
             List the contract number of any                                         22500 TOWN CIRCLE
                   government contract                                               Moreno Valley, CA 92553


 2.1123. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MORENO VALLEY 2008-02-25
             List the contract number of any                                         22500 TOWN CIRCLE
                   government contract                                               Moreno Valley, CA 92553


 2.1124. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MORENO VALLEY 2008-02-25
             List the contract number of any                                         22500 TOWN CIRCLE
                   government contract                                               Moreno Valley, CA 92553


 2.1125. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MORENO VALLEY 2008-02-25
             List the contract number of any                                         22500 TOWN CIRCLE
                   government contract                                               Moreno Valley, CA 92553


 2.1126. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MORENO VALLEY 2008-02-25
                                                                                     22500 TOWN CIRCLE
             List the contract number of any                                         Moreno Valley, CA 92553
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1127. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MORENO VALLEY 2008-02-25
             List the contract number of any                                         22500 TOWN CIRCLE
                   government contract                                               Moreno Valley, CA 92553


 2.1128. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MORENO VALLEY 2008-02-25
             List the contract number of any                                         22500 TOWN CIRCLE
                   government contract                                               Moreno Valley, CA 92553


 2.1129. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MORENO VALLEY 2008-02-25
             List the contract number of any                                         22500 TOWN CIRCLE
                   government contract                                               Moreno Valley, CA 92553


 2.1130. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MUSIC CITY HALL AT VISTA RIDGE
                                                                                     2002-12-11
             List the contract number of any                                         VISTA RIDGE MALL SPACE 14
                   government contract                                               Lewisville, TX 75067


 2.1131. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MUSIC CITY HALL AT VISTA RIDGE
                                                                                     2002-12-11
             List the contract number of any                                         VISTA RIDGE MALL SPACE 14
                   government contract                                               Lewisville, TX 75067


 2.1132. State what the contract or                       Store Lease Agreement      MUSIC CITY HALL AT VISTA RIDGE
         lease is for and the nature of                                              2002-12-11
         the debtor's interest                                                       VISTA RIDGE MALL SPACE 14
                                                                                     Lewisville, TX 75067
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1133. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MUSIC CITY HALL AT VISTA RIDGE
                                                                                     2002-12-11
             List the contract number of any                                         VISTA RIDGE MALL SPACE 14
                   government contract                                               Lewisville, TX 75067


 2.1134. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MUSIC CITY HALL AT VISTA RIDGE
                                                                                     2002-12-11
             List the contract number of any                                         VISTA RIDGE MALL SPACE 14
                   government contract                                               Lewisville, TX 75067


 2.1135. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MUSIC CITY HALL AT VISTA RIDGE
                                                                                     2002-12-11
             List the contract number of any                                         VISTA RIDGE MALL SPACE 14
                   government contract                                               Lewisville, TX 75067


 2.1136. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MUSIC CITY HALL AT VISTA RIDGE
                                                                                     2002-12-11
             List the contract number of any                                         VISTA RIDGE MALL SPACE 14
                   government contract                                               Lewisville, TX 75067


 2.1137. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MUSIC CITY HALL AT VISTA RIDGE
                                                                                     2002-12-11
             List the contract number of any                                         VISTA RIDGE MALL SPACE 14
                   government contract                                               Lewisville, TX 75067




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1138. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MUSIC CITY HALL AT VISTA RIDGE
                                                                                     2002-12-11
             List the contract number of any                                         VISTA RIDGE MALL SPACE 14
                   government contract                                               Lewisville, TX 75067


 2.1139. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           MUSIC CITY HALL AT VISTA RIDGE
                                                                                     2002-12-11
             List the contract number of any                                         VISTA RIDGE MALL SPACE 14
                   government contract                                               Lewisville, TX 75067


 2.1140. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest
                                                                                     MYRTLE AVE
                  State the term remaining                                           c/o Cedot Realty Corp.
                                                                                     21 West 38Th Street
             List the contract number of any                                         8th Floor
                   government contract                                               New York, NY 10018


 2.1141. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest
                                                                                     MYRTLE AVE
                  State the term remaining                                           c/o Cedot Realty Corp.
                                                                                     21 West 38Th Street
             List the contract number of any                                         8th Floor
                   government contract                                               New York, NY 10018


 2.1142. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest
                                                                                     MYRTLE AVE
                  State the term remaining                                           c/o Cedot Realty Corp.
                                                                                     21 West 38Th Street
             List the contract number of any                                         8th Floor
                   government contract                                               New York, NY 10018


 2.1143. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest                                                       MYRTLE AVE
                                                                                     c/o Cedot Realty Corp.
                  State the term remaining                                           21 West 38Th Street
                                                                                     8th Floor
             List the contract number of any                                         New York, NY 10018
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1144. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest
                                                                                     MYRTLE AVE
                  State the term remaining                                           c/o Cedot Realty Corp.
                                                                                     21 West 38Th Street
             List the contract number of any                                         8th Floor
                   government contract                                               New York, NY 10018


 2.1145. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MYRTLE BEACH OUTLET 2010-07-09
             List the contract number of any                                         10835 KINGS RD SP # 830
                   government contract                                               Myrtle Beach, SC 29572


 2.1146. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MYRTLE BEACH OUTLET 2010-07-09
             List the contract number of any                                         10835 KINGS RD SP # 830
                   government contract                                               Myrtle Beach, SC 29572


 2.1147. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     MYRTLE BEACH OUTLET 2010-07-09
             List the contract number of any                                         10835 KINGS RD SP # 830
                   government contract                                               Myrtle Beach, SC 29572


 2.1148. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NATIONAL HARBOR 2013-05-14
             List the contract number of any                                         Oxon Hill Road and Harborview Ave
                   government contract                                               National Harbor, MD 20745


 2.1149. State what the contract or                       Amended Lease
         lease is for and the nature of                                              NATIONAL HARBOR 2013-05-14
         the debtor's interest                                                       Oxon Hill Road and Harborview Ave
                                                                                     National Harbor, MD 20745
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1150. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NESHAMINY 2007-01-23
             List the contract number of any                                         320 NESHAMINY MALL
                   government contract                                               Bensalem, PA 19020


 2.1151. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NESHAMINY 2007-01-23
             List the contract number of any                                         320 NESHAMINY MALL
                   government contract                                               Bensalem, PA 19020


 2.1152. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NESHAMINY 2007-01-23
             List the contract number of any                                         320 NESHAMINY MALL
                   government contract                                               Bensalem, PA 19020


 2.1153. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NESHAMINY 2007-01-23
             List the contract number of any                                         320 NESHAMINY MALL
                   government contract                                               Bensalem, PA 19020


 2.1154. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NESHAMINY 2007-01-23
             List the contract number of any                                         320 NESHAMINY MALL
                   government contract                                               Bensalem, PA 19020




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1155. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NESHAMINY 2007-01-23
             List the contract number of any                                         320 NESHAMINY MALL
                   government contract                                               Bensalem, PA 19020


 2.1156. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NESHAMINY 2007-01-23
             List the contract number of any                                         320 NESHAMINY MALL
                   government contract                                               Bensalem, PA 19020


 2.1157. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWBURGH MALL 1979-07-10
             List the contract number of any                                         1401 ROUTE 300 SUITE 111
                   government contract                                               Newburgh, NY 12550


 2.1158. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWBURGH MALL 1979-07-10
             List the contract number of any                                         1401 ROUTE 300 SUITE 111
                   government contract                                               Newburgh, NY 12550


 2.1159. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWBURGH MALL 1979-07-10
             List the contract number of any                                         1401 ROUTE 300 SUITE 111
                   government contract                                               Newburgh, NY 12550


 2.1160. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NEWBURGH MALL 1979-07-10
                                                                                     1401 ROUTE 300 SUITE 111
             List the contract number of any                                         Newburgh, NY 12550
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1161. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWBURGH MALL 1979-07-10
             List the contract number of any                                         1401 ROUTE 300 SUITE 111
                   government contract                                               Newburgh, NY 12550


 2.1162. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWBURGH MALL 1979-07-10
             List the contract number of any                                         1401 ROUTE 300 SUITE 111
                   government contract                                               Newburgh, NY 12550


 2.1163. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWBURGH MALL 1979-07-10
             List the contract number of any                                         1401 ROUTE 300 SUITE 111
                   government contract                                               Newburgh, NY 12550


 2.1164. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWBURGH MALL 1979-07-10
             List the contract number of any                                         1401 ROUTE 300 SUITE 111
                   government contract                                               Newburgh, NY 12550


 2.1165. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWBURGH MALL 1979-07-10
             List the contract number of any                                         1401 ROUTE 300 SUITE 111
                   government contract                                               Newburgh, NY 12550


 2.1166. State what the contract or                       Amended Lease
         lease is for and the nature of                                              NEWBURGH MALL 1979-07-10
         the debtor's interest                                                       1401 ROUTE 300 SUITE 111
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1167. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWBURGH MALL 1979-07-10
             List the contract number of any                                         1401 ROUTE 300 SUITE 111
                   government contract                                               Newburgh, NY 12550


 2.1168. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWBURGH MALL 1979-07-10
             List the contract number of any                                         1401 ROUTE 300 SUITE 111
                   government contract                                               Newburgh, NY 12550


 2.1169. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWPORT CENTRE 2008-05-16
             List the contract number of any                                         30-148 MALL DRIVE WEST
                   government contract                                               Jersey City, NJ 07302


 2.1170. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWPORT CENTRE 2008-05-16
             List the contract number of any                                         30-148 MALL DRIVE WEST
                   government contract                                               Jersey City, NJ 07302


 2.1171. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NEWPORT CENTRE 2008-05-16
             List the contract number of any                                         30-148 MALL DRIVE WEST
                   government contract                                               Jersey City, NJ 07302




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1172. State what the contract or                       Utilities services
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Next Era - CT Stores
             List the contract number of any                                         626 Lafayette Rd
                   government contract                                               Seabrook, NH 03874


 2.1173. State what the contract or                       Influencer for GU
         lease is for and the nature of                   collection
         the debtor's interest

                  State the term remaining                                           Nia Sioux
                                                                                     838 N Doheny Dr.
             List the contract number of any                                         #1107
                   government contract                                               West Holywood, CA 90069


 2.1174. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORFOLK PREMIUM OUTLET 2015-09-11
             List the contract number of any                                         1600 Premium Outlets Blvd.
                   government contract                                               Norfolk, VA 23502


 2.1175. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORFOLK PREMIUM OUTLET 2015-09-11
             List the contract number of any                                         1600 Premium Outlets Blvd.
                   government contract                                               Norfolk, VA 23502


 2.1176. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORFOLK PREMIUM OUTLET 2015-09-11
             List the contract number of any                                         1600 Premium Outlets Blvd.
                   government contract                                               Norfolk, VA 23502


 2.1177. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest
                                                                                     NORTH EAST MALL 2005-08-25
                  State the term remaining                                           1101 MELBOURNE ST
                                                                                     D05-A
             List the contract number of any                                         Hurst, TX 76053
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1178. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH EAST MALL 2005-08-25
                                                                                     1101 MELBOURNE ST
             List the contract number of any                                         D05-A
                   government contract                                               Hurst, TX 76053


 2.1179. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH EAST MALL 2005-08-25
                                                                                     1101 MELBOURNE ST
             List the contract number of any                                         D05-A
                   government contract                                               Hurst, TX 76053


 2.1180. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH EAST MALL 2005-08-25
                                                                                     1101 MELBOURNE ST
             List the contract number of any                                         D05-A
                   government contract                                               Hurst, TX 76053


 2.1181. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH EAST MALL 2005-08-25
                                                                                     1101 MELBOURNE ST
             List the contract number of any                                         D05-A
                   government contract                                               Hurst, TX 76053


 2.1182. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH STAR 2004-09-02
                                                                                     7400 SAN PEDRO
             List the contract number of any                                         # 860
                   government contract                                               San Antonio, TX 78216


 2.1183. State what the contract or                       Store Lease Agreement      NORTH STAR 2004-09-02
         lease is for and the nature of                                              7400 SAN PEDRO
         the debtor's interest                                                       # 860
                                                                                     San Antonio, TX 78216
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1184. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH STAR 2004-09-02
                                                                                     7400 SAN PEDRO
             List the contract number of any                                         # 860
                   government contract                                               San Antonio, TX 78216


 2.1185. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH STAR 2004-09-02
                                                                                     7400 SAN PEDRO
             List the contract number of any                                         # 860
                   government contract                                               San Antonio, TX 78216


 2.1186. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH STAR 2004-09-02
                                                                                     7400 SAN PEDRO
             List the contract number of any                                         # 860
                   government contract                                               San Antonio, TX 78216


 2.1187. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH STAR 2004-09-02
                                                                                     7400 SAN PEDRO
             List the contract number of any                                         # 860
                   government contract                                               San Antonio, TX 78216


 2.1188. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH STAR 2004-09-02
                                                                                     7400 SAN PEDRO
             List the contract number of any                                         # 860
                   government contract                                               San Antonio, TX 78216




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1189. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH STAR 2004-09-02
                                                                                     7400 SAN PEDRO
             List the contract number of any                                         # 860
                   government contract                                               San Antonio, TX 78216


 2.1190. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH STAR 2004-09-02
                                                                                     7400 SAN PEDRO
             List the contract number of any                                         # 860
                   government contract                                               San Antonio, TX 78216


 2.1191. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH STAR 2004-09-02
                                                                                     7400 SAN PEDRO
             List the contract number of any                                         # 860
                   government contract                                               San Antonio, TX 78216


 2.1192. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTH. RIVERSIDE PARK
             List the contract number of any                                         7501 W CERMAK RD SP # G-10
                   government contract                                               N Riverside, IL 60546


 2.1193. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTH. RIVERSIDE PARK
             List the contract number of any                                         7501 W CERMAK RD SP # G-10
                   government contract                                               N Riverside, IL 60546


 2.1194. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTH. RIVERSIDE PARK
                                                                                     7501 W CERMAK RD SP # G-10
             List the contract number of any                                         N Riverside, IL 60546
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1195. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHFIELD AT STAPLETON 2006-01-27
             List the contract number of any                                         8340 Northfield Boulevard
                   government contract                                               Denver, CO 80238


 2.1196. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHFIELD AT STAPLETON 2006-01-27
             List the contract number of any                                         8340 Northfield Boulevard
                   government contract                                               Denver, CO 80238


 2.1197. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHFIELD AT STAPLETON 2006-01-27
             List the contract number of any                                         8340 Northfield Boulevard
                   government contract                                               Denver, CO 80238


 2.1198. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHFIELD AT STAPLETON 2006-01-27
             List the contract number of any                                         8340 Northfield Boulevard
                   government contract                                               Denver, CO 80238


 2.1199. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHFIELD AT STAPLETON 2006-01-27
             List the contract number of any                                         8340 Northfield Boulevard
                   government contract                                               Denver, CO 80238


 2.1200. State what the contract or                       Amended Lease
         lease is for and the nature of                                              NORTHFIELD AT STAPLETON 2006-01-27
         the debtor's interest                                                       8340 Northfield Boulevard
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1201. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHFIELD AT STAPLETON 2006-01-27
             List the contract number of any                                         8340 Northfield Boulevard
                   government contract                                               Denver, CO 80238


 2.1202. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHFIELD AT STAPLETON 2006-01-27
             List the contract number of any                                         8340 Northfield Boulevard
                   government contract                                               Denver, CO 80238


 2.1203. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHFIELD AT STAPLETON 2006-01-27
             List the contract number of any                                         8340 Northfield Boulevard
                   government contract                                               Denver, CO 80238


 2.1204. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHFIELD AT STAPLETON 2006-01-27
             List the contract number of any                                         8340 Northfield Boulevard
                   government contract                                               Denver, CO 80238


 2.1205. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHGATE MALL 1993-06-24
             List the contract number of any                                         9501 COLERAIN AVE SP # 166
                   government contract                                               Cincinnati, OH 45251




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1206. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHGATE MALL 1993-06-24
             List the contract number of any                                         9501 COLERAIN AVE SP # 166
                   government contract                                               Cincinnati, OH 45251


 2.1207. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHGATE MALL 1993-06-24
             List the contract number of any                                         9501 COLERAIN AVE SP # 166
                   government contract                                               Cincinnati, OH 45251


 2.1208. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHGATE MALL 1993-06-24
             List the contract number of any                                         9501 COLERAIN AVE SP # 166
                   government contract                                               Cincinnati, OH 45251


 2.1209. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHGATE MALL 1993-06-24
             List the contract number of any                                         9501 COLERAIN AVE SP # 166
                   government contract                                               Cincinnati, OH 45251


 2.1210. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHGATE MALL 1993-06-24
             List the contract number of any                                         9501 COLERAIN AVE SP # 166
                   government contract                                               Cincinnati, OH 45251


 2.1211. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTHGATE MALL 1993-06-24
                                                                                     9501 COLERAIN AVE SP # 166
             List the contract number of any                                         Cincinnati, OH 45251
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1212. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHGATE MALL 1993-06-24
             List the contract number of any                                         9501 COLERAIN AVE SP # 166
                   government contract                                               Cincinnati, OH 45251


 2.1213. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHLAKE MALL (GA) 2010-12-29
             List the contract number of any                                         1401 NORTHLAKE MALL
                   government contract                                               Atlanta, GA 30345-2715


 2.1214. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHLAKE MALL (GA) 2010-12-29
             List the contract number of any                                         1401 NORTHLAKE MALL
                   government contract                                               Atlanta, GA 30345-2715


 2.1215. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHLAKE MALL (GA) 2010-12-29
             List the contract number of any                                         1401 NORTHLAKE MALL
                   government contract                                               Atlanta, GA 30345-2715


 2.1216. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHLAKE MALL (GA) 2010-12-29
             List the contract number of any                                         1401 NORTHLAKE MALL
                   government contract                                               Atlanta, GA 30345-2715


 2.1217. State what the contract or                       Amended Lease
         lease is for and the nature of                                              NORTHLAKE MALL (GA) 2010-12-29
         the debtor's interest                                                       1401 NORTHLAKE MALL
                                                                                     Atlanta, GA 30345-2715
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1218. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHLAKE MALL (GA) 2010-12-29
             List the contract number of any                                         1401 NORTHLAKE MALL
                   government contract                                               Atlanta, GA 30345-2715


 2.1219. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHLAKE MALL 2004-12-24
             List the contract number of any                                         6801 NORTHLAKE MALL SP # 140
                   government contract                                               Charlotte, NC 28216


 2.1220. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHLAKE MALL 2004-12-24
             List the contract number of any                                         6801 NORTHLAKE MALL SP # 140
                   government contract                                               Charlotte, NC 28216


 2.1221. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHRIDGE MALL 2014-10-10
             List the contract number of any                                         566 NORTHRIDGE MALL SP #E11A
                   government contract                                               Salinas, CA 93906


 2.1222. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHRIDGE MALL 2014-10-10
             List the contract number of any                                         566 NORTHRIDGE MALL SP #E11A
                   government contract                                               Salinas, CA 93906




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1223. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHSHORE SHOPPING CTR 2015-03-10
             List the contract number of any                                         RTS 114 & 128 SP#W115
                   government contract                                               Peabody, MA 01960


 2.1224. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHWOODS MALL 1998-01-28
             List the contract number of any                                         2150 NORTHWOODS BLVD UNIT E10
                   government contract                                               North Charleston, SC 29406


 2.1225. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHWOODS MALL 1998-01-28
             List the contract number of any                                         2150 NORTHWOODS BLVD UNIT E10
                   government contract                                               North Charleston, SC 29406


 2.1226. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHWOODS MALL 1998-01-28
             List the contract number of any                                         2150 NORTHWOODS BLVD UNIT E10
                   government contract                                               North Charleston, SC 29406


 2.1227. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHWOODS MALL 1998-01-28
             List the contract number of any                                         2150 NORTHWOODS BLVD UNIT E10
                   government contract                                               North Charleston, SC 29406


 2.1228. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           NORTHWOODS MALL 1998-01-28
                                                                                     2150 NORTHWOODS BLVD UNIT E10
             List the contract number of any                                         North Charleston, SC 29406
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1229. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHWOODS MALL 1998-01-28
             List the contract number of any                                         2150 NORTHWOODS BLVD UNIT E10
                   government contract                                               North Charleston, SC 29406


 2.1230. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHWOODS MALL 1998-01-28
             List the contract number of any                                         2150 NORTHWOODS BLVD UNIT E10
                   government contract                                               North Charleston, SC 29406


 2.1231. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NORTHWOODS MALL 1998-01-28
             List the contract number of any                                         2150 NORTHWOODS BLVD UNIT E10
                   government contract                                               North Charleston, SC 29406


 2.1232. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     NYC Apt - Paula Lentini
             List the contract number of any                                         330 WEST 34TH STREET
                   government contract                                               New York, NY 10001


 2.1233. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAK COURT MALL 2015-01-12
             List the contract number of any                                         4465 POPLAR AVE SP #2315B
                   government contract                                               Memphis, TN 38117


 2.1234. State what the contract or                       Amended Lease
         lease is for and the nature of                                              OAK COURT MALL 2015-01-12
         the debtor's interest                                                       4465 POPLAR AVE SP #2315B
                                                                                     Memphis, TN 38117
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1235. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAK COURT MALL 2015-01-12
             List the contract number of any                                         4465 POPLAR AVE SP #2315B
                   government contract                                               Memphis, TN 38117


 2.1236. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAK COURT MALL 2015-01-12
             List the contract number of any                                         4465 POPLAR AVE SP #2315B
                   government contract                                               Memphis, TN 38117


 2.1237. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAK COURT MALL 2015-01-12
             List the contract number of any                                         4465 POPLAR AVE SP #2315B
                   government contract                                               Memphis, TN 38117


 2.1238. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKLAND MALL 1990-05-18
             List the contract number of any                                         630 W 14 MILE RD
                   government contract                                               Troy, MI 48083


 2.1239. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKLAND MALL 1990-05-18
             List the contract number of any                                         630 W 14 MILE RD
                   government contract                                               Troy, MI 48083




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1240. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKLAND MALL 1990-05-18
             List the contract number of any                                         630 W 14 MILE RD
                   government contract                                               Troy, MI 48083


 2.1241. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKLAND MALL 1990-05-18
             List the contract number of any                                         630 W 14 MILE RD
                   government contract                                               Troy, MI 48083


 2.1242. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKLAND MALL 1990-05-18
             List the contract number of any                                         630 W 14 MILE RD
                   government contract                                               Troy, MI 48083


 2.1243. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKLAND MALL 1990-05-18
             List the contract number of any                                         630 W 14 MILE RD
                   government contract                                               Troy, MI 48083


 2.1244. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKLAND MALL 1990-05-18
             List the contract number of any                                         630 W 14 MILE RD
                   government contract                                               Troy, MI 48083


 2.1245. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           OAKLAND MALL 1990-05-18
                                                                                     630 W 14 MILE RD
             List the contract number of any                                         Troy, MI 48083
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1246. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKLAND MALL 1990-05-18
             List the contract number of any                                         630 W 14 MILE RD
                   government contract                                               Troy, MI 48083


 2.1247. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKLAND MALL 1990-05-18
             List the contract number of any                                         630 W 14 MILE RD
                   government contract                                               Troy, MI 48083


 2.1248. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKLAND MALL 1990-05-18
             List the contract number of any                                         630 W 14 MILE RD
                   government contract                                               Troy, MI 48083


 2.1249. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKLAND MALL 1990-05-18
             List the contract number of any                                         630 W 14 MILE RD
                   government contract                                               Troy, MI 48083


 2.1250. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKRIDGE 2014-04-14
             List the contract number of any                                         925 BLOSSOM HILL RD SU 14
                   government contract                                               San Jose, CA 95123


 2.1251. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              OAKRIDGE 2014-04-14
         the debtor's interest                                                       925 BLOSSOM HILL RD SU 14
                                                                                     San Jose, CA 95123
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1252. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKWOOD CENTER 2007-12-17
             List the contract number of any                                         197 W. BANK EXPRESSWAY
                   government contract                                               Gretna, LA 70056


 2.1253. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKWOOD CENTER 2007-12-17
             List the contract number of any                                         197 W. BANK EXPRESSWAY
                   government contract                                               Gretna, LA 70056


 2.1254. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKWOOD CENTER 2007-12-17
             List the contract number of any                                         197 W. BANK EXPRESSWAY
                   government contract                                               Gretna, LA 70056


 2.1255. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKWOOD CENTER 2007-12-17
             List the contract number of any                                         197 W. BANK EXPRESSWAY
                   government contract                                               Gretna, LA 70056


 2.1256. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKWOOD CENTER 2007-12-17
             List the contract number of any                                         197 W. BANK EXPRESSWAY
                   government contract                                               Gretna, LA 70056




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1257. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKWOOD CENTER 2007-12-17
             List the contract number of any                                         197 W. BANK EXPRESSWAY
                   government contract                                               Gretna, LA 70056


 2.1258. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKWOOD CENTER 2007-12-17
             List the contract number of any                                         197 W. BANK EXPRESSWAY
                   government contract                                               Gretna, LA 70056


 2.1259. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OAKWOOD CENTER 2007-12-17
             List the contract number of any                                         197 W. BANK EXPRESSWAY
                   government contract                                               Gretna, LA 70056


 2.1260. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OCEAN COUNTY MALL 2004-12-15
             List the contract number of any                                         1201 HOOPER AVE SP # 1008A
                   government contract                                               Toms River, NJ 08753


 2.1261. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OCEAN COUNTY MALL 2004-12-15
             List the contract number of any                                         1201 HOOPER AVE SP # 1008A
                   government contract                                               Toms River, NJ 08753


 2.1262. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           OCEAN COUNTY MALL 2004-12-15
                                                                                     1201 HOOPER AVE SP # 1008A
             List the contract number of any                                         Toms River, NJ 08753
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1263. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OCEAN COUNTY MALL 2004-12-15
             List the contract number of any                                         1201 HOOPER AVE SP # 1008A
                   government contract                                               Toms River, NJ 08753


 2.1264. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OCEAN COUNTY MALL 2004-12-15
             List the contract number of any                                         1201 HOOPER AVE SP # 1008A
                   government contract                                               Toms River, NJ 08753


 2.1265. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OCEAN COUNTY MALL 2004-12-15
             List the contract number of any                                         1201 HOOPER AVE SP # 1008A
                   government contract                                               Toms River, NJ 08753


 2.1266. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ONTARIO MILLS 2014-04-01
             List the contract number of any                                         1 Mills Circle, # 633B
                   government contract                                               Ontario, CA 91764-5207


 2.1267. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ONTARIO MILLS 2014-04-01
             List the contract number of any                                         1 Mills Circle, # 633B
                   government contract                                               Ontario, CA 91764-5207


 2.1268. State what the contract or                       Amended Lease
         lease is for and the nature of                                              ONTARIO MILLS 2014-04-01
         the debtor's interest                                                       1 Mills Circle, # 633B
                                                                                     Ontario, CA 91764-5207
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              First Name               Middle Name                   Last Name



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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1269. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OPRY MILLS 2012-01-03
             List the contract number of any                                         172 OPRY MILLS DR SP # 526A
                   government contract                                               Nashville, TN 37214


 2.1270. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OPRY MILLS 2012-01-03
             List the contract number of any                                         172 OPRY MILLS DR SP # 526A
                   government contract                                               Nashville, TN 37214


 2.1271. State what the contract or                       Oracle Hosting
         lease is for and the nature of                   Services
         the debtor's interest

                  State the term remaining                                           Oracle (ATG) Web Hosting
                                                                                     Oracle America, Inc. 500 Oracle Parkway
             List the contract number of any                                         Attention: General Counsel, Legal Dept
                   government contract                                               Redwood Shores, CA 94065


 2.1272. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORANGE PARK MALL 2008-03-13
             List the contract number of any                                         1910 WELLS ROAD
                   government contract                                               Orange Park, FL 32073


 2.1273. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORANGE PARK MALL 2008-03-13
             List the contract number of any                                         1910 WELLS ROAD
                   government contract                                               Orange Park, FL 32073




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1274. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORANGE PARK MALL 2008-03-13
             List the contract number of any                                         1910 WELLS ROAD
                   government contract                                               Orange Park, FL 32073


 2.1275. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORANGE PARK MALL 2008-03-13
             List the contract number of any                                         1910 WELLS ROAD
                   government contract                                               Orange Park, FL 32073


 2.1276. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORANGE PARK MALL 2008-03-13
             List the contract number of any                                         1910 WELLS ROAD
                   government contract                                               Orange Park, FL 32073


 2.1277. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORANGE PARK MALL 2008-03-13
             List the contract number of any                                         1910 WELLS ROAD
                   government contract                                               Orange Park, FL 32073


 2.1278. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORANGE PARK MALL 2008-03-13
             List the contract number of any                                         1910 WELLS ROAD
                   government contract                                               Orange Park, FL 32073


 2.1279. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           ORANGE PARK MALL 2008-03-13
                                                                                     1910 WELLS ROAD
             List the contract number of any                                         Orange Park, FL 32073
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1280. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORANGE PARK MALL 2008-03-13
             List the contract number of any                                         1910 WELLS ROAD
                   government contract                                               Orange Park, FL 32073


 2.1281. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORLAND SQUARE 2011-12-29
             List the contract number of any                                         636 ORLAND SQUARE MALL
                   government contract                                               Orland Park, IL 60462


 2.1282. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORLAND SQUARE 2011-12-29
             List the contract number of any                                         636 ORLAND SQUARE MALL
                   government contract                                               Orland Park, IL 60462


 2.1283. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORLAND SQUARE 2011-12-29
             List the contract number of any                                         636 ORLAND SQUARE MALL
                   government contract                                               Orland Park, IL 60462


 2.1284. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORLANDO OUTLET 2010-03-12
             List the contract number of any                                         4967 INTERNATIONAL DR SP3
                   government contract                                               Orlando, FL 32819


 2.1285. State what the contract or                       Remove
         lease is for and the nature of                                              ORLANDO OUTLET 2010-03-12
         the debtor's interest                                                       4967 INTERNATIONAL DR SP3
                                                                                     Orlando, FL 32819
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1286. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORLANDO OUTLET 2010-03-12
             List the contract number of any                                         4967 INTERNATIONAL DR SP3
                   government contract                                               Orlando, FL 32819


 2.1287. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORLANDO OUTLET 2010-03-12
             List the contract number of any                                         4967 INTERNATIONAL DR SP3
                   government contract                                               Orlando, FL 32819


 2.1288. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ORLANDO OUTLET 2010-03-12
             List the contract number of any                                         4967 INTERNATIONAL DR SP3
                   government contract                                               Orlando, FL 32819


 2.1289. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OUTLET SHOPPES AT ATLANTA 2018-06-04
             List the contract number of any                                         915 Ridgewalk Pkwy
                   government contract                                               Woodstock, GA 30188


 2.1290. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OUTLET SHOPPES AT ATLANTA 2018-06-04
             List the contract number of any                                         915 Ridgewalk Pkwy
                   government contract                                               Woodstock, GA 30188




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1291. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OUTLET SHOPPES AT EL PASO 2013-12-02
             List the contract number of any                                         7051 S Desert Blvd
                   government contract                                               Canutillo, TX 79835-8557


 2.1292. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OUTLET SHOPPES AT EL PASO 2013-12-02
             List the contract number of any                                         7051 S Desert Blvd
                   government contract                                               Canutillo, TX 79835-8557


 2.1293. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OUTLET SHOPPES AT EL PASO 2013-12-02
             List the contract number of any                                         7051 S Desert Blvd
                   government contract                                               Canutillo, TX 79835-8557


 2.1294. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OUTLET SHOPPES AT LAREDO 2015-04-01
             List the contract number of any                                         1600 Water Street
                   government contract                                               Laredo, TX 78040


 2.1295. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OUTLET SHOPPES AT LAREDO 2015-04-01
             List the contract number of any                                         1600 Water Street
                   government contract                                               Laredo, TX 78040


 2.1296. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           OUTLET SHOPPES AT LAREDO 2015-04-01
                                                                                     1600 Water Street
             List the contract number of any                                         Laredo, TX 78040
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1297. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OUTLET SHOPPES AT LAREDO 2015-04-01
             List the contract number of any                                         1600 Water Street
                   government contract                                               Laredo, TX 78040


 2.1298. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           OUTLET SHOPPES OF THE BLUEGRASS
                                                                                     2013-12-02
             List the contract number of any                                         OUTLETS SHOPPES AT LOUISVILLE
                   government contract                                               Simpsonville, KY 40067


 2.1299. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           OUTLET SHOPPES OF THE BLUEGRASS
                                                                                     2013-12-02
             List the contract number of any                                         OUTLETS SHOPPES AT LOUISVILLE
                   government contract                                               Simpsonville, KY 40067


 2.1300. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           OUTLET SHOPPES OF THE BLUEGRASS
                                                                                     2013-12-02
             List the contract number of any                                         OUTLETS SHOPPES AT LOUISVILLE
                   government contract                                               Simpsonville, KY 40067


 2.1301. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           OUTLET SHOPPES OF THE BLUEGRASS
                                                                                     2013-12-02
             List the contract number of any                                         OUTLETS SHOPPES AT LOUISVILLE
                   government contract                                               Simpsonville, KY 40067


 2.1302. State what the contract or                       Amended Lease              OUTLET SHOPPES OF THE BLUEGRASS
         lease is for and the nature of                                              2013-12-02
         the debtor's interest                                                       OUTLETS SHOPPES AT LOUISVILLE
                                                                                     Simpsonville, KY 40067
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1303. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OUTLETS AT TEJON RANCH 2014-06-12
             List the contract number of any                                         5701 Outlets at Tejon Parkway, Space 865
                   government contract                                               Arvin, CA 93203


 2.1304. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OUTLETS AT TEJON RANCH 2014-06-12
             List the contract number of any                                         5701 Outlets at Tejon Parkway, Space 865
                   government contract                                               Arvin, CA 93203


 2.1305. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     OUTLETS AT TEJON RANCH 2014-06-12
             List the contract number of any                                         5701 Outlets at Tejon Parkway, Space 865
                   government contract                                               Arvin, CA 93203


 2.1306. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALISADES 2005-03-23
             List the contract number of any                                         1000 PALISADES CTR SP #C2
                   government contract                                               West Nyack, NY 10994


 2.1307. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALISADES 2005-03-23
             List the contract number of any                                         1000 PALISADES CTR SP #C2
                   government contract                                               West Nyack, NY 10994




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1308. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALISADES 2005-03-23
             List the contract number of any                                         1000 PALISADES CTR SP #C2
                   government contract                                               West Nyack, NY 10994


 2.1309. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALISADES 2005-03-23
             List the contract number of any                                         1000 PALISADES CTR SP #C2
                   government contract                                               West Nyack, NY 10994


 2.1310. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALISADES 2005-03-23
             List the contract number of any                                         1000 PALISADES CTR SP #C2
                   government contract                                               West Nyack, NY 10994


 2.1311. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALISADES 2005-03-23
             List the contract number of any                                         1000 PALISADES CTR SP #C2
                   government contract                                               West Nyack, NY 10994


 2.1312. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALISADES 2005-03-23
             List the contract number of any                                         1000 PALISADES CTR SP #C2
                   government contract                                               West Nyack, NY 10994


 2.1313. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PALISADES 2005-03-23
                                                                                     1000 PALISADES CTR SP #C2
             List the contract number of any                                         West Nyack, NY 10994
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1314. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM BEACH OUTLET 2013-11-27
             List the contract number of any                                         1801 Palm Beach Lakes Boulevard
                   government contract                                               West Palm Beach, FL 33401


 2.1315. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM BEACH OUTLET 2013-11-27
             List the contract number of any                                         1801 Palm Beach Lakes Boulevard
                   government contract                                               West Palm Beach, FL 33401


 2.1316. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM BEACH OUTLET 2013-11-27
             List the contract number of any                                         1801 Palm Beach Lakes Boulevard
                   government contract                                               West Palm Beach, FL 33401


 2.1317. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM DESERT TOWN CENTER 2006-04-25
             List the contract number of any                                         72-840 HIGHWAY 11 SP # 109
                   government contract                                               Palm Desert, CA 92260


 2.1318. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM DESERT TOWN CENTER 2006-04-25
             List the contract number of any                                         72-840 HIGHWAY 11 SP # 109
                   government contract                                               Palm Desert, CA 92260


 2.1319. State what the contract or                       Remove
         lease is for and the nature of                                              PALM DESERT TOWN CENTER 2006-04-25
         the debtor's interest                                                       72-840 HIGHWAY 11 SP # 109
                                                                                     Palm Desert, CA 92260
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1320. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM DESERT TOWN CENTER 2006-04-25
             List the contract number of any                                         72-840 HIGHWAY 11 SP # 109
                   government contract                                               Palm Desert, CA 92260


 2.1321. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM DESERT TOWN CENTER 2006-04-25
             List the contract number of any                                         72-840 HIGHWAY 11 SP # 109
                   government contract                                               Palm Desert, CA 92260


 2.1322. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM DESERT TOWN CENTER 2006-04-25
             List the contract number of any                                         72-840 HIGHWAY 11 SP # 109
                   government contract                                               Palm Desert, CA 92260


 2.1323. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM DESERT TOWN CENTER 2006-04-25
             List the contract number of any                                         72-840 HIGHWAY 11 SP # 109
                   government contract                                               Palm Desert, CA 92260


 2.1324. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM DESERT TOWN CENTER 2006-04-25
             List the contract number of any                                         72-840 HIGHWAY 11 SP # 109
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1325. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM DESERT TOWN CENTER 2006-04-25
             List the contract number of any                                         72-840 HIGHWAY 11 SP # 109
                   government contract                                               Palm Desert, CA 92260


 2.1326. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM DESERT TOWN CENTER 2006-04-25
             List the contract number of any                                         72-840 HIGHWAY 11 SP # 109
                   government contract                                               Palm Desert, CA 92260


 2.1327. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PALM DESERT TOWN CENTER 2006-04-25
             List the contract number of any                                         72-840 HIGHWAY 11 SP # 109
                   government contract                                               Palm Desert, CA 92260


 2.1328. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARADISE VALLEY 2004-09-16
             List the contract number of any                                         4568 E. CACTUS RD SP # 246
                   government contract                                               Phoenix, AZ 85032


 2.1329. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARADISE VALLEY 2004-09-16
             List the contract number of any                                         4568 E. CACTUS RD SP # 246
                   government contract                                               Phoenix, AZ 85032


 2.1330. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PARADISE VALLEY 2004-09-16
                                                                                     4568 E. CACTUS RD SP # 246
             List the contract number of any                                         Phoenix, AZ 85032
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1331. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARADISE VALLEY 2004-09-16
             List the contract number of any                                         4568 E. CACTUS RD SP # 246
                   government contract                                               Phoenix, AZ 85032


 2.1332. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARADISE VALLEY 2004-09-16
             List the contract number of any                                         4568 E. CACTUS RD SP # 246
                   government contract                                               Phoenix, AZ 85032


 2.1333. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARADISE VALLEY 2004-09-16
             List the contract number of any                                         4568 E. CACTUS RD SP # 246
                   government contract                                               Phoenix, AZ 85032


 2.1334. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARADISE VALLEY 2004-09-16
             List the contract number of any                                         4568 E. CACTUS RD SP # 246
                   government contract                                               Phoenix, AZ 85032


 2.1335. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARAGON AT TWIN CITIES OUTLET 2014-06-03
             List the contract number of any                                         3965 Eagan Outlets Parkway, Space 820
                   government contract                                               Eagan, MN 55122


 2.1336. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              PARAGON AT TWIN CITIES OUTLET 2014-06-03
         the debtor's interest                                                       3965 Eagan Outlets Parkway, Space 820
                                                                                     Eagan, MN 55122
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1337. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARAMUS PARK 2014-11-25
             List the contract number of any                                         700 PARAMUS PARK SP#1580
                   government contract                                               Paramus, NJ 07652


 2.1338. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK CITY CENTER 2006-04-10
             List the contract number of any                                         775 PARK CITY CENTER
                   government contract                                               Lancaster, PA 17601


 2.1339. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK CITY CENTER 2006-04-10
             List the contract number of any                                         775 PARK CITY CENTER
                   government contract                                               Lancaster, PA 17601


 2.1340. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK CITY CENTER 2006-04-10
             List the contract number of any                                         775 PARK CITY CENTER
                   government contract                                               Lancaster, PA 17601


 2.1341. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK CITY CENTER 2006-04-10
             List the contract number of any                                         775 PARK CITY CENTER
                   government contract                                               Lancaster, PA 17601




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1342. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK CITY CENTER 2006-04-10
             List the contract number of any                                         775 PARK CITY CENTER
                   government contract                                               Lancaster, PA 17601


 2.1343. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK PLACE 2005-01-24
             List the contract number of any                                         5870 E. BROADWAY BLVD SP# 409
                   government contract                                               Tucson, AZ 85711


 2.1344. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK PLACE 2005-01-24
             List the contract number of any                                         5870 E. BROADWAY BLVD SP# 409
                   government contract                                               Tucson, AZ 85711


 2.1345. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK PLACE 2005-01-24
             List the contract number of any                                         5870 E. BROADWAY BLVD SP# 409
                   government contract                                               Tucson, AZ 85711


 2.1346. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK PLACE 2005-01-24
             List the contract number of any                                         5870 E. BROADWAY BLVD SP# 409
                   government contract                                               Tucson, AZ 85711


 2.1347. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PARK PLACE 2005-01-24
                                                                                     5870 E. BROADWAY BLVD SP# 409
             List the contract number of any                                         Tucson, AZ 85711
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1348. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK PLACE 2005-01-24
             List the contract number of any                                         5870 E. BROADWAY BLVD SP# 409
                   government contract                                               Tucson, AZ 85711


 2.1349. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK PLACE 2005-01-24
             List the contract number of any                                         5870 E. BROADWAY BLVD SP# 409
                   government contract                                               Tucson, AZ 85711


 2.1350. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK PLACE 2005-01-24
             List the contract number of any                                         5870 E. BROADWAY BLVD SP# 409
                   government contract                                               Tucson, AZ 85711


 2.1351. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARK PLACE 2005-01-24
             List the contract number of any                                         5870 E. BROADWAY BLVD SP# 409
                   government contract                                               Tucson, AZ 85711


 2.1352. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARKCHESTER 2003-07-08
             List the contract number of any                                         1453 METROPOLITAN AVE SP-
                   government contract                                               Bronx, NY 10462


 2.1353. State what the contract or                       Amended Lease
         lease is for and the nature of                                              PARKCHESTER 2003-07-08
         the debtor's interest                                                       1453 METROPOLITAN AVE SP-
                                                                                     Bronx, NY 10462
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1354. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARKCHESTER 2003-07-08
             List the contract number of any                                         1453 METROPOLITAN AVE SP-
                   government contract                                               Bronx, NY 10462


 2.1355. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARKS @ ARLINGTON 2014-09-04
             List the contract number of any                                         3811 SOUTH COOPER SP # 1118
                   government contract                                               Arlington, TX 76015


 2.1356. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARKS @ ARLINGTON 2014-09-04
             List the contract number of any                                         3811 SOUTH COOPER SP # 1118
                   government contract                                               Arlington, TX 76015


 2.1357. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARKS @ ARLINGTON 2014-09-04
             List the contract number of any                                         3811 SOUTH COOPER SP # 1118
                   government contract                                               Arlington, TX 76015


 2.1358. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARKWAY PLAZA 2001-02-23
             List the contract number of any                                         415 PARKWAY PLAZA SP # 651
                   government contract                                               El Cajon, CA 92020




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1359. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARKWAY PLAZA 2001-02-23
             List the contract number of any                                         415 PARKWAY PLAZA SP # 651
                   government contract                                               El Cajon, CA 92020


 2.1360. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARKWAY PLAZA 2001-02-23
             List the contract number of any                                         415 PARKWAY PLAZA SP # 651
                   government contract                                               El Cajon, CA 92020


 2.1361. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARKWAY PLAZA 2001-02-23
             List the contract number of any                                         415 PARKWAY PLAZA SP # 651
                   government contract                                               El Cajon, CA 92020


 2.1362. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARKWAY PLAZA 2001-02-23
             List the contract number of any                                         415 PARKWAY PLAZA SP # 651
                   government contract                                               El Cajon, CA 92020


 2.1363. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PARKWAY PLAZA 2001-02-23
             List the contract number of any                                         415 PARKWAY PLAZA SP # 651
                   government contract                                               El Cajon, CA 92020


 2.1364. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PARKWAY PLAZA 2001-02-23
                                                                                     415 PARKWAY PLAZA SP # 651
             List the contract number of any                                         El Cajon, CA 92020
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.1365. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       PARKWAY PLAZA 2001-02-23
             List the contract number of any                                           415 PARKWAY PLAZA SP # 651
                   government contract                                                 El Cajon, CA 92020


 2.1366. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       PARKWAY PLAZA 2001-02-23
             List the contract number of any                                           415 PARKWAY PLAZA SP # 651
                   government contract                                                 El Cajon, CA 92020


 2.1367. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       PARKWAY PLAZA 2001-02-23
             List the contract number of any                                           415 PARKWAY PLAZA SP # 651
                   government contract                                                 El Cajon, CA 92020


 2.1368. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       Patrick Henry
             List the contract number of any                                           12300 JEFFERSON AVE SP#10
                   government contract                                                 Newport News, VA 23602


 2.1369. State what the contract or                       Digital brand products
         lease is for and the nature of                   vendor
         the debtor's interest
                                                                                       Patrick Starrr Inc.
                  State the term remaining                                             c/o Digital Brand Products, LLC
                                                                                       750 N. San Vicenete Blvd.
             List the contract number of any                                           Suite 950
                   government contract                                                 West Hollywood, CA 90069


 2.1370. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                                PEACHTREE MALL 2014-10-20
         the debtor's interest                                                         3131 MANCHESTER EXPRESSWA
                                                                                       Columbus, GA 31909
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1371. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEACHTREE MALL 2014-10-20
             List the contract number of any                                         3131 MANCHESTER EXPRESSWA
                   government contract                                               Columbus, GA 31909


 2.1372. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEACHTREE MALL 2014-10-20
             List the contract number of any                                         3131 MANCHESTER EXPRESSWA
                   government contract                                               Columbus, GA 31909


 2.1373. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEARLAND TOWN CENTER 2007-12-28
             List the contract number of any                                         11200 BROADWAY STREET
                   government contract                                               Pearland, TX 77584


 2.1374. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEARLAND TOWN CENTER 2007-12-28
             List the contract number of any                                         11200 BROADWAY STREET
                   government contract                                               Pearland, TX 77584


 2.1375. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEMBROKE LAKES MALL 2013-10-01
             List the contract number of any                                         11401 PINES BLVD
                   government contract                                               Pembroke Pines, FL 33026




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1376. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEMBROKE LAKES MALL 2013-10-01
             List the contract number of any                                         11401 PINES BLVD
                   government contract                                               Pembroke Pines, FL 33026


 2.1377. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEMBROKE LAKES MALL 2013-10-01
             List the contract number of any                                         11401 PINES BLVD
                   government contract                                               Pembroke Pines, FL 33026


 2.1378. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEMBROKE LAKES MALL 2013-10-01
             List the contract number of any                                         11401 PINES BLVD
                   government contract                                               Pembroke Pines, FL 33026


 2.1379. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEMBROKE LAKES MALL 2013-10-01
             List the contract number of any                                         11401 PINES BLVD
                   government contract                                               Pembroke Pines, FL 33026


 2.1380. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEMBROKE LAKES MALL 2013-10-01
             List the contract number of any                                         11401 PINES BLVD
                   government contract                                               Pembroke Pines, FL 33026


 2.1381. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PEMBROKE LAKES MALL 2013-10-01
                                                                                     11401 PINES BLVD
             List the contract number of any                                         Pembroke Pines, FL 33026
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1382. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEMBROKE LAKES MALL 2017-06-01
             List the contract number of any                                         11401 PINES BLVD
                   government contract                                               Pembroke Pines, FL 33026


 2.1383. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PEMBROKE LAKES MALL 2017-06-01
             List the contract number of any                                         11401 PINES BLVD
                   government contract                                               Pembroke Pines, FL 33026


 2.1384. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PENINSULA TOWN CENTER 2009-12-09
             List the contract number of any                                         1450 MERCHANT LANE SP #B-1
                   government contract                                               Hampton, VA 23666


 2.1385. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PENINSULA TOWN CENTER 2009-12-09
             List the contract number of any                                         1450 MERCHANT LANE SP #B-1
                   government contract                                               Hampton, VA 23666


 2.1386. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PENINSULA TOWN CENTER 2009-12-09
             List the contract number of any                                         1450 MERCHANT LANE SP #B-1
                   government contract                                               Hampton, VA 23666


 2.1387. State what the contract or                       Remove
         lease is for and the nature of                                              PENINSULA TOWN CENTER 2009-12-09
         the debtor's interest                                                       1450 MERCHANT LANE SP #B-1
                                                                                     Hampton, VA 23666
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1388. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PENINSULA TOWN CENTER 2009-12-09
             List the contract number of any                                         1450 MERCHANT LANE SP #B-1
                   government contract                                               Hampton, VA 23666


 2.1389. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PENINSULA TOWN CENTER 2009-12-09
             List the contract number of any                                         1450 MERCHANT LANE SP #B-1
                   government contract                                               Hampton, VA 23666


 2.1390. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PENN SQUARE 2013-08-21
             List the contract number of any                                         1901 NW EXPRESSWAY SP # 201
                   government contract                                               Oklahoma City, OK 73118


 2.1391. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PENN SQUARE 2013-08-21
             List the contract number of any                                         1901 NW EXPRESSWAY SP # 201
                   government contract                                               Oklahoma City, OK 73118


 2.1392. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PENN SQUARE 2013-08-21
             List the contract number of any                                         1901 NW EXPRESSWAY SP # 201
                   government contract                                               Oklahoma City, OK 73118




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1393. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PERIMETER MALL 2015-09-28
             List the contract number of any                                         4400 ASHFORD DUNOODY SP#2020
                   government contract                                               Atlanta, GA 30346


 2.1394. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PHEASANT LANE MALL 2014-05-14
             List the contract number of any                                         310 DANIEL WEBSTER HWY SP
                   government contract                                               Nashua, NH 03060


 2.1395. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PHEASANT LANE MALL 2014-05-14
             List the contract number of any                                         310 DANIEL WEBSTER HWY SP
                   government contract                                               Nashua, NH 03060


 2.1396. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PHEASANT LANE MALL 2014-05-14
             List the contract number of any                                         310 DANIEL WEBSTER HWY SP
                   government contract                                               Nashua, NH 03060


 2.1397. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PHILADELPHIA MILLS 2012-01-09
             List the contract number of any                                         1455 FRANKLIN MILLS SP # 22
                   government contract                                               Philadelphia, PA 19154


 2.1398. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PHILADELPHIA MILLS 2012-01-09
                                                                                     1455 FRANKLIN MILLS SP # 22
             List the contract number of any                                         Philadelphia, PA 19154
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1399. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PHILADELPHIA MILLS 2012-01-09
             List the contract number of any                                         1455 FRANKLIN MILLS SP # 22
                   government contract                                               Philadelphia, PA 19154


 2.1400. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PHILADELPHIA MILLS 2012-01-09
             List the contract number of any                                         1455 FRANKLIN MILLS SP # 22
                   government contract                                               Philadelphia, PA 19154


 2.1401. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PHILADELPHIA MILLS 2012-01-09
             List the contract number of any                                         1455 FRANKLIN MILLS SP # 22
                   government contract                                               Philadelphia, PA 19154


 2.1402. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PHILADELPHIA PREMIUM OUTLETS 2010-07-22
             List the contract number of any                                         18 WEST LIGHTCAP RD SP # 11
                   government contract                                               Limerick, PA 19464


 2.1403. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PINNACLE AT TUTWILER FARM 2006-05-18
             List the contract number of any                                         5012 PINNACLE SQ #320
                   government contract                                               Birmingham, AL 35235


 2.1404. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              PINNACLE AT TUTWILER FARM 2006-05-18
         the debtor's interest                                                       5012 PINNACLE SQ #320
                                                                                     Birmingham, AL 35235
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1405. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PINNACLE AT TUTWILER FARM 2006-05-18
             List the contract number of any                                         5012 PINNACLE SQ #320
                   government contract                                               Birmingham, AL 35235


 2.1406. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PINNACLE AT TUTWILER FARM 2006-05-18
             List the contract number of any                                         5012 PINNACLE SQ #320
                   government contract                                               Birmingham, AL 35235


 2.1407. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PINNACLE AT TUTWILER FARM 2006-05-18
             List the contract number of any                                         5012 PINNACLE SQ #320
                   government contract                                               Birmingham, AL 35235


 2.1408. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PINNACLE AT TUTWILER FARM 2006-05-18
             List the contract number of any                                         5012 PINNACLE SQ #320
                   government contract                                               Birmingham, AL 35235


 2.1409. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PINNACLE AT TUTWILER FARM 2006-05-18
             List the contract number of any                                         5012 PINNACLE SQ #320
                   government contract                                               Birmingham, AL 35235




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1410. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PINNACLE AT TUTWILER FARM 2006-05-18
             List the contract number of any                                         5012 PINNACLE SQ #320
                   government contract                                               Birmingham, AL 35235


 2.1411. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PINNACLE AT TUTWILER FARM 2006-05-18
             List the contract number of any                                         5012 PINNACLE SQ #320
                   government contract                                               Birmingham, AL 35235


 2.1412. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PINNACLE AT TUTWILER FARM 2006-05-18
             List the contract number of any                                         5012 PINNACLE SQ #320
                   government contract                                               Birmingham, AL 35235


 2.1413. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PINNACLE AT TUTWILER FARM 2006-05-18
             List the contract number of any                                         5012 PINNACLE SQ #320
                   government contract                                               Birmingham, AL 35235


 2.1414. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PLAZA AT KING OF PRUSSIA 2012-12-20
                                                                                     160 N GULPH RD SP
             List the contract number of any                                         # 3108
                   government contract                                               King Of Prussia, PA 19406


 2.1415. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest
                                                                                     PLAZA AT KING OF PRUSSIA 2012-12-20
                  State the term remaining                                           160 N GULPH RD SP
                                                                                     # 3108
             List the contract number of any                                         King Of Prussia, PA 19406
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1416. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PLAZA BONITA 2015-04-24
             List the contract number of any                                         3030 PLAZA BONITA SP # 1144
                   government contract                                               National City, CA 91950


 2.1417. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PLEASANT PRAIRIE PREMIUM OUTLETS
                                                                                     2010-03-12
             List the contract number of any                                         11211 120TH AVE I-94 SPA0
                   government contract                                               Pleasant Praire, WI 53158


 2.1418. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PLEASANT PRAIRIE PREMIUM OUTLETS
                                                                                     2010-03-12
             List the contract number of any                                         11211 120TH AVE I-94 SPA0
                   government contract                                               Pleasant Praire, WI 53158


 2.1419. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PLYMOUTH MALL 2016-01-27
             List the contract number of any                                         500 GERMANTOWN PIKE SP 1
                   government contract                                               Plymouth Meeting, PA 19462


 2.1420. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PLYMOUTH MALL 2016-01-27
             List the contract number of any                                         500 GERMANTOWN PIKE SP 1
                   government contract                                               Plymouth Meeting, PA 19462


 2.1421. State what the contract or                       Amended Lease
         lease is for and the nature of                                              PLYMOUTH MALL 2016-01-27
         the debtor's interest                                                       500 GERMANTOWN PIKE SP 1
                                                                                     Plymouth Meeting, PA 19462
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1422. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     PLYMOUTH MALL 2016-01-27
             List the contract number of any                                         500 GERMANTOWN PIKE SP 1
                   government contract                                               Plymouth Meeting, PA 19462


 2.1423. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Polaris Fashion Place
             List the contract number of any                                         1500 Polaris Pkwy
                   government contract                                               Columbus, OH 43240


 2.1424. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     POTOMAC MILLS 2012-01-10
             List the contract number of any                                         2700 POTOMAC MILLS CIR SP
                   government contract                                               Woodbridge, VA 22192


 2.1425. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     POTOMAC MILLS 2012-01-10
             List the contract number of any                                         2700 POTOMAC MILLS CIR SP
                   government contract                                               Woodbridge, VA 22192


 2.1426. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     POTOMAC YARD 2005-02-28
             List the contract number of any                                         3631 JEFFERSON DAVIS SP3
                   government contract                                               Alexandria, VA 22305




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1427. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     POTOMAC YARD 2005-02-28
             List the contract number of any                                         3631 JEFFERSON DAVIS SP3
                   government contract                                               Alexandria, VA 22305


 2.1428. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     POTOMAC YARD 2005-02-28
             List the contract number of any                                         3631 JEFFERSON DAVIS SP3
                   government contract                                               Alexandria, VA 22305


 2.1429. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     POTOMAC YARD 2005-02-28
             List the contract number of any                                         3631 JEFFERSON DAVIS SP3
                   government contract                                               Alexandria, VA 22305


 2.1430. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PROMENADE IN TEMECULA, THE 2004-01-29
                                                                                     40820 WINCHESTER RD
             List the contract number of any                                         Unit # 1910
                   government contract                                               Temecula, CA 92591


 2.1431. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PROMENADE IN TEMECULA, THE 2004-01-29
                                                                                     40820 WINCHESTER RD
             List the contract number of any                                         Unit # 1910
                   government contract                                               Temecula, CA 92591


 2.1432. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest
                                                                                     PROMENADE IN TEMECULA, THE 2004-01-29
                  State the term remaining                                           40820 WINCHESTER RD
                                                                                     Unit # 1910
             List the contract number of any                                         Temecula, CA 92591
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1433. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PROMENADE IN TEMECULA, THE 2004-01-29
                                                                                     40820 WINCHESTER RD
             List the contract number of any                                         Unit # 1910
                   government contract                                               Temecula, CA 92591


 2.1434. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PROMENADE SHOPPES AT SAUCON VALLEY
                                                                                     2006-05-26
             List the contract number of any                                         2960 CENTER VALLEY PKWY #740
                   government contract                                               Center Valley, PA 18034


 2.1435. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PROMENADE SHOPPES AT SAUCON VALLEY
                                                                                     2006-05-26
             List the contract number of any                                         2960 CENTER VALLEY PKWY #740
                   government contract                                               Center Valley, PA 18034


 2.1436. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PROMENADE SHOPPES AT SAUCON VALLEY
                                                                                     2006-05-26
             List the contract number of any                                         2960 CENTER VALLEY PKWY #740
                   government contract                                               Center Valley, PA 18034


 2.1437. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           PROMENADE SHOPPES AT SAUCON VALLEY
                                                                                     2006-05-26
             List the contract number of any                                         2960 CENTER VALLEY PKWY #740
                   government contract                                               Center Valley, PA 18034


 2.1438. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              PROVIDENCE PLACE 2016-01-25
         the debtor's interest                                                       1 PROVIDENCE PLACE SP# 3210
                                                                                     Providence, RI 02903
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1439. State what the contract or                       Temp staffing agency
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                             Pyramid Consulting Group
                                                                                       1001 Avenue of the Americas
             List the contract number of any                                           24th Floor
                   government contract                                                 New York, NY 00010-0018


 2.1440. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       QUEENS CENTER 2014-11-25
             List the contract number of any                                           90-15 QUEENS BLVD SP # 2060
                   government contract                                                 Elmhurst, NY 11373


 2.1441. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       QUEENS CENTER 2014-11-25
             List the contract number of any                                           90-15 QUEENS BLVD SP # 2060
                   government contract                                                 Elmhurst, NY 11373


 2.1442. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       QUEENS CENTER 2014-11-25
             List the contract number of any                                           90-15 QUEENS BLVD SP # 2060
                   government contract                                                 Elmhurst, NY 11373


 2.1443. State what the contract or                       Ecommerce fulfillment,
         lease is for and the nature of                   customer service, &
         the debtor's interest                            shipping service

                  State the term remaining                                             Radial
                                                                                       Radial Inc. 935 First Avenue
             List the contract number of any                                           Attention: Kim Smith Glisson
                   government contract                                                 King of Prussia, PA 19406




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1444. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     REHOBOTH BEACH 2011-12-29
             List the contract number of any                                         36470 SEASIDE OUTLET DR 1
                   government contract                                               Rehoboth Beach, DE 19971


 2.1445. State what the contract or                       Leasing consultant
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           Ricki S. Friedman
                                                                                     Law Firm of Ricki S. Friedman PLLC
             List the contract number of any                                         1 Huckleberry Lane
                   government contract                                               Hewlett Harbor, NY 11557


 2.1446. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIO GRANDE VALLEY OUTLE 2010-05-27
             List the contract number of any                                         5001 E EXPRESSWAY 83 SP # 6
                   government contract                                               Mercedes, TX 78570


 2.1447. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIO GRANDE VALLEY OUTLE 2010-05-27
             List the contract number of any                                         5001 E EXPRESSWAY 83 SP # 6
                   government contract                                               Mercedes, TX 78570


 2.1448. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           RIVER CROSSING, THE SHOPPES AT
                                                                                     2007-12-17
             List the contract number of any                                         5080 RIVERSIDE DRIVE # 224
                   government contract                                               Macon, GA 31210


 2.1449. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest
                                                                                     RIVER CROSSING, THE SHOPPES AT
                  State the term remaining                                           2007-12-17
                                                                                     5080 RIVERSIDE DRIVE # 224
             List the contract number of any                                         Macon, GA 31210
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1450. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           RIVER CROSSING, THE SHOPPES AT
                                                                                     2007-12-17
             List the contract number of any                                         5080 RIVERSIDE DRIVE # 224
                   government contract                                               Macon, GA 31210


 2.1451. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           RIVER CROSSING, THE SHOPPES AT
                                                                                     2007-12-17
             List the contract number of any                                         5080 RIVERSIDE DRIVE # 224
                   government contract                                               Macon, GA 31210


 2.1452. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER OAKS 2011-01-04
             List the contract number of any                                         RIVER OAKS CENTER RD. SP
                   government contract                                               Calumet City, IL 60409


 2.1453. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER OAKS 2011-01-04
             List the contract number of any                                         RIVER OAKS CENTER RD. SP
                   government contract                                               Calumet City, IL 60409


 2.1454. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER OAKS 2011-01-04
             List the contract number of any                                         RIVER OAKS CENTER RD. SP
                   government contract                                               Calumet City, IL 60409


 2.1455. State what the contract or                       Amended Lease
         lease is for and the nature of                                              RIVER OAKS 2011-01-04
         the debtor's interest                                                       RIVER OAKS CENTER RD. SP
                                                                                     Calumet City, IL 60409
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1456. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER OAKS 2011-01-04
             List the contract number of any                                         RIVER OAKS CENTER RD. SP
                   government contract                                               Calumet City, IL 60409


 2.1457. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER OAKS 2011-01-04
             List the contract number of any                                         RIVER OAKS CENTER RD. SP
                   government contract                                               Calumet City, IL 60409


 2.1458. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER OAKS 2011-01-04
             List the contract number of any                                         RIVER OAKS CENTER RD. SP
                   government contract                                               Calumet City, IL 60409


 2.1459. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER RIDGE MALL 1994-09-12
             List the contract number of any                                         3405 CANDLERS MOUNTAIN RD
                   government contract                                               Lynchburg, VA 24502


 2.1460. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER RIDGE MALL 1994-09-12
             List the contract number of any                                         3405 CANDLERS MOUNTAIN RD
                   government contract                                               Lynchburg, VA 24502




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1461. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER RIDGE MALL 1994-09-12
             List the contract number of any                                         3405 CANDLERS MOUNTAIN RD
                   government contract                                               Lynchburg, VA 24502


 2.1462. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER RIDGE MALL 1994-09-12
             List the contract number of any                                         3405 CANDLERS MOUNTAIN RD
                   government contract                                               Lynchburg, VA 24502


 2.1463. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER RIDGE MALL 1994-09-12
             List the contract number of any                                         3405 CANDLERS MOUNTAIN RD
                   government contract                                               Lynchburg, VA 24502


 2.1464. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVER RIDGE MALL 1994-09-12
             List the contract number of any                                         3405 CANDLERS MOUNTAIN RD
                   government contract                                               Lynchburg, VA 24502


 2.1465. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERCHASE GALLERIA 2007-03-05
             List the contract number of any                                         2000-182 RIVERCHASE GALLE
                   government contract                                               Birmingham, AL 35244


 2.1466. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           RIVERCHASE GALLERIA 2007-03-05
                                                                                     2000-182 RIVERCHASE GALLE
             List the contract number of any                                         Birmingham, AL 35244
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1467. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERCHASE GALLERIA 2007-03-05
             List the contract number of any                                         2000-182 RIVERCHASE GALLE
                   government contract                                               Birmingham, AL 35244


 2.1468. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERCHASE GALLERIA 2007-03-05
             List the contract number of any                                         2000-182 RIVERCHASE GALLE
                   government contract                                               Birmingham, AL 35244


 2.1469. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERCHASE GALLERIA 2007-03-05
             List the contract number of any                                         2000-182 RIVERCHASE GALLE
                   government contract                                               Birmingham, AL 35244


 2.1470. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERCHASE GALLERIA 2007-03-05
             List the contract number of any                                         2000-182 RIVERCHASE GALLE
                   government contract                                               Birmingham, AL 35244


 2.1471. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERHEAD 2011-12-29
             List the contract number of any                                         200 TANGER MALL DR SP # 101
                   government contract                                               Riverhead, NY 11901


 2.1472. State what the contract or                       Amended Lease
         lease is for and the nature of                                              RIVERHEAD 2011-12-29
         the debtor's interest                                                       200 TANGER MALL DR SP # 101
                                                                                     Riverhead, NY 11901
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1473. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERHEAD 2011-12-29
             List the contract number of any                                         200 TANGER MALL DR SP # 101
                   government contract                                               Riverhead, NY 11901


 2.1474. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERHEAD 2011-12-29
             List the contract number of any                                         200 TANGER MALL DR SP # 101
                   government contract                                               Riverhead, NY 11901


 2.1475. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERTOWN CROSSINGS 1999-08-13
             List the contract number of any                                         4700 WILSON SPACE # 2208
                   government contract                                               Grandville, MI 49418


 2.1476. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERTOWN CROSSINGS 1999-08-13
             List the contract number of any                                         4700 WILSON SPACE # 2208
                   government contract                                               Grandville, MI 49418


 2.1477. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERTOWN CROSSINGS 1999-08-13
             List the contract number of any                                         4700 WILSON SPACE # 2208
                   government contract                                               Grandville, MI 49418




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1478. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERTOWN CROSSINGS 1999-08-13
             List the contract number of any                                         4700 WILSON SPACE # 2208
                   government contract                                               Grandville, MI 49418


 2.1479. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERTOWN CROSSINGS 1999-08-13
             List the contract number of any                                         4700 WILSON SPACE # 2208
                   government contract                                               Grandville, MI 49418


 2.1480. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERTOWN CROSSINGS 1999-08-13
             List the contract number of any                                         4700 WILSON SPACE # 2208
                   government contract                                               Grandville, MI 49418


 2.1481. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERTOWN CROSSINGS 1999-08-13
             List the contract number of any                                         4700 WILSON SPACE # 2208
                   government contract                                               Grandville, MI 49418


 2.1482. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     RIVERTOWN CROSSINGS 1999-08-13
             List the contract number of any                                         4700 WILSON SPACE # 2208
                   government contract                                               Grandville, MI 49418


 2.1483. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           RIVERTOWN CROSSINGS 1999-08-13
                                                                                     4700 WILSON SPACE # 2208
             List the contract number of any                                         Grandville, MI 49418
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1484. State what the contract or                       Local legal counsel
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Robert J. Bard, Esq
             List the contract number of any                                         114 Old Country Road
                   government contract                                               Mineola, NY 11501


 2.1485. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROCKAWAY TOWN SQUARE 2015-01-26
             List the contract number of any                                         301 MOUNT HOPE AVE SP # 108
                   government contract                                               Rockaway, NJ 07866


 2.1486. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROCKAWAY TOWN SQUARE 2015-01-26
             List the contract number of any                                         301 MOUNT HOPE AVE SP # 108
                   government contract                                               Rockaway, NJ 07866


 2.1487. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROCKAWAY TOWN SQUARE 2015-01-26
             List the contract number of any                                         301 MOUNT HOPE AVE SP # 108
                   government contract                                               Rockaway, NJ 07866


 2.1488. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROCKAWAY TOWN SQUARE 2015-01-26
             List the contract number of any                                         301 MOUNT HOPE AVE SP # 108
                   government contract                                               Rockaway, NJ 07866


 2.1489. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              ROCKVALE OUTLETS LANCASTER 2012-05-07
         the debtor's interest                                                       33 SOUTH WILLOWDALE DR #1
                                                                                     Lancaster, PA 17602
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1490. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROCKVALE OUTLETS LANCASTER 2012-05-07
             List the contract number of any                                         33 SOUTH WILLOWDALE DR #1
                   government contract                                               Lancaster, PA 17602


 2.1491. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROCKVALE OUTLETS LANCASTER 2012-05-07
             List the contract number of any                                         33 SOUTH WILLOWDALE DR #1
                   government contract                                               Lancaster, PA 17602


 2.1492. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROLLING OAKS 2012-01-17
             List the contract number of any                                         6909 NORTH LOOP 1604 E.
                   government contract                                               San Antonio, TX 78247


 2.1493. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROLLING OAKS 2012-01-17
             List the contract number of any                                         6909 NORTH LOOP 1604 E.
                   government contract                                               San Antonio, TX 78247


 2.1494. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROLLING OAKS 2012-01-17
             List the contract number of any                                         6909 NORTH LOOP 1604 E.
                   government contract                                               San Antonio, TX 78247




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1495. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROLLING OAKS 2012-01-17
             List the contract number of any                                         6909 NORTH LOOP 1604 E.
                   government contract                                               San Antonio, TX 78247


 2.1496. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROLLING OAKS 2012-01-17
             List the contract number of any                                         6909 NORTH LOOP 1604 E.
                   government contract                                               San Antonio, TX 78247


 2.1497. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROLLING OAKS 2012-01-17
             List the contract number of any                                         6909 NORTH LOOP 1604 E.
                   government contract                                               San Antonio, TX 78247


 2.1498. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROOKWOOD COMMONS 2005-01-04
             List the contract number of any                                         2675 EDMONDSON RD SP# B4
                   government contract                                               Cincinnati, OH 45209


 2.1499. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROOKWOOD COMMONS 2005-01-04
             List the contract number of any                                         2675 EDMONDSON RD SP# B4
                   government contract                                               Cincinnati, OH 45209


 2.1500. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           ROOKWOOD COMMONS 2005-01-04
                                                                                     2675 EDMONDSON RD SP# B4
             List the contract number of any                                         Cincinnati, OH 45209
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1501. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROOKWOOD COMMONS 2005-01-04
             List the contract number of any                                         2675 EDMONDSON RD SP# B4
                   government contract                                               Cincinnati, OH 45209


 2.1502. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROOKWOOD COMMONS 2005-01-04
             List the contract number of any                                         2675 EDMONDSON RD SP# B4
                   government contract                                               Cincinnati, OH 45209


 2.1503. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           ROOSEVELT FIELD 2018-03-13
                                                                                     630 OLD COUNTRY RD
             List the contract number of any                                         SP#103
                   government contract                                               Garden City, NY 11530


 2.1504. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROOSEVELT MALL 2004-02-13
             List the contract number of any                                         2311 COTTMAN AVE SP#22
                   government contract                                               Philadelphia, PA 19149


 2.1505. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROOSEVELT MALL 2004-02-13
             List the contract number of any                                         2311 COTTMAN AVE SP#22
                   government contract                                               Philadelphia, PA 19149


 2.1506. State what the contract or                       Amended Lease
         lease is for and the nature of                                              ROOSEVELT MALL 2004-02-13
         the debtor's interest                                                       2311 COTTMAN AVE SP#22
                                                                                     Philadelphia, PA 19149
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1507. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROOSEVELT MALL 2004-02-13
             List the contract number of any                                         2311 COTTMAN AVE SP#22
                   government contract                                               Philadelphia, PA 19149


 2.1508. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROSS PARK MALL 2010-12-29
             List the contract number of any                                         1000 ROSS PARK DR SP # L11
                   government contract                                               Pittsburgh, PA 15237


 2.1509. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROSS PARK MALL 2010-12-29
             List the contract number of any                                         1000 ROSS PARK DR SP # L11
                   government contract                                               Pittsburgh, PA 15237


 2.1510. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROSS PARK MALL 2010-12-29
             List the contract number of any                                         1000 ROSS PARK DR SP # L11
                   government contract                                               Pittsburgh, PA 15237


 2.1511. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROSS PARK MALL 2010-12-29
             List the contract number of any                                         1000 ROSS PARK DR SP # L11
                   government contract                                               Pittsburgh, PA 15237




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1512. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROUND ROCK OUTLET 2010-05-10
             List the contract number of any                                         4401 IH-35 NORTH SP # 149
                   government contract                                               Roundrock, TX 78664


 2.1513. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROUND ROCK OUTLET 2010-05-10
             List the contract number of any                                         4401 IH-35 NORTH SP # 149
                   government contract                                               Roundrock, TX 78664


 2.1514. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ROUND ROCK OUTLET 2010-05-10
             List the contract number of any                                         4401 IH-35 NORTH SP # 149
                   government contract                                               Roundrock, TX 78664


 2.1515. State what the contract or                       Company car program
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Runzheimer Int'l Ltd.
             List the contract number of any                                         1 Runzheimer Parkway
                   government contract                                               Waterford, WI 53185


 2.1516. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SAINT LOUIS GALLERIA 2008-08-07
             List the contract number of any                                         1155 ST LOUIS GALLERIA
                   government contract                                               Richmond Heights, MO 63117


 2.1517. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SAINT LOUIS GALLERIA 2008-08-07
                                                                                     1155 ST LOUIS GALLERIA
             List the contract number of any                                         Richmond Heights, MO 63117
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1518. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SAINT LOUIS GALLERIA 2008-08-07
             List the contract number of any                                         1155 ST LOUIS GALLERIA
                   government contract                                               Richmond Heights, MO 63117


 2.1519. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SAINT LOUIS GALLERIA 2008-08-07
             List the contract number of any                                         1155 ST LOUIS GALLERIA
                   government contract                                               Richmond Heights, MO 63117


 2.1520. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SAINT LOUIS GALLERIA 2008-08-07
             List the contract number of any                                         1155 ST LOUIS GALLERIA
                   government contract                                               Richmond Heights, MO 63117


 2.1521. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SAINT LOUIS GALLERIA 2008-08-07
             List the contract number of any                                         1155 ST LOUIS GALLERIA
                   government contract                                               Richmond Heights, MO 63117


 2.1522. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SAINT LOUIS GALLERIA 2008-08-07
             List the contract number of any                                         1155 ST LOUIS GALLERIA
                   government contract                                               Richmond Heights, MO 63117


 2.1523. State what the contract or                       Amended Lease
         lease is for and the nature of                                              SAINT LOUIS GALLERIA 2008-08-07
         the debtor's interest                                                       1155 ST LOUIS GALLERIA
                                                                                     Richmond Heights, MO 63117
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1524. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SAN MARCOS PREMIUM OUTLETS 2010-03-12
             List the contract number of any                                         3939 IH-35 SOUTH SP #302
                   government contract                                               San Marcos, TX 78666


 2.1525. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SAN MARCOS PREMIUM OUTLETS 2010-03-12
             List the contract number of any                                         3939 IH-35 SOUTH SP #302
                   government contract                                               San Marcos, TX 78666


 2.1526. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANGERTOWN SQUARE 2008-10-09
             List the contract number of any                                         COMMERCIAL DRIVE SP # A05
                   government contract                                               New Hartford, NY 13413


 2.1527. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANGERTOWN SQUARE 2008-10-09
             List the contract number of any                                         COMMERCIAL DRIVE SP # A05
                   government contract                                               New Hartford, NY 13413


 2.1528. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTA ANITA 2005-08-05
             List the contract number of any                                         400 S BALDWIN AVE, SUITE 321
                   government contract                                               Arcadia, CA 91007




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1529. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTA ANITA 2005-08-05
             List the contract number of any                                         400 S BALDWIN AVE, SUITE 321
                   government contract                                               Arcadia, CA 91007


 2.1530. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTA ANITA 2005-08-05
             List the contract number of any                                         400 S BALDWIN AVE, SUITE 321
                   government contract                                               Arcadia, CA 91007


 2.1531. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTA ANITA 2005-08-05
             List the contract number of any                                         400 S BALDWIN AVE, SUITE 321
                   government contract                                               Arcadia, CA 91007


 2.1532. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTA ANITA 2005-08-05
             List the contract number of any                                         400 S BALDWIN AVE, SUITE 321
                   government contract                                               Arcadia, CA 91007


 2.1533. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTA ANITA 2005-08-05
             List the contract number of any                                         400 S BALDWIN AVE, SUITE 321
                   government contract                                               Arcadia, CA 91007


 2.1534. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SANTAN VILLAGE 2007-08-14
                                                                                     2174 E. WILLIAMS FIELD RD
             List the contract number of any                                         Gilbert, AZ 85295
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1535. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTAN VILLAGE 2007-08-14
             List the contract number of any                                         2174 E. WILLIAMS FIELD RD
                   government contract                                               Gilbert, AZ 85295


 2.1536. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTAN VILLAGE 2007-08-14
             List the contract number of any                                         2174 E. WILLIAMS FIELD RD
                   government contract                                               Gilbert, AZ 85295


 2.1537. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTAN VILLAGE 2007-08-14
             List the contract number of any                                         2174 E. WILLIAMS FIELD RD
                   government contract                                               Gilbert, AZ 85295


 2.1538. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTAN VILLAGE 2007-08-14
             List the contract number of any                                         2174 E. WILLIAMS FIELD RD
                   government contract                                               Gilbert, AZ 85295


 2.1539. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTAN VILLAGE 2007-08-14
             List the contract number of any                                         2174 E. WILLIAMS FIELD RD
                   government contract                                               Gilbert, AZ 85295


 2.1540. State what the contract or                       Remove
         lease is for and the nature of                                              SANTAN VILLAGE 2007-08-14
         the debtor's interest                                                       2174 E. WILLIAMS FIELD RD
                                                                                     Gilbert, AZ 85295
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1541. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTAN VILLAGE 2007-08-14
             List the contract number of any                                         2174 E. WILLIAMS FIELD RD
                   government contract                                               Gilbert, AZ 85295


 2.1542. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTAN VILLAGE 2007-08-14
             List the contract number of any                                         2174 E. WILLIAMS FIELD RD
                   government contract                                               Gilbert, AZ 85295


 2.1543. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTAN VILLAGE 2007-08-14
             List the contract number of any                                         2174 E. WILLIAMS FIELD RD
                   government contract                                               Gilbert, AZ 85295


 2.1544. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SANTAN VILLAGE 2007-08-14
             List the contract number of any                                         2174 E. WILLIAMS FIELD RD
                   government contract                                               Gilbert, AZ 85295


 2.1545. State what the contract or                       Brand marketing
         lease is for and the nature of                   services
         the debtor's interest

                  State the term remaining
                                                                                     Sarah Rae Vargas
             List the contract number of any                                         2646 Pecos Circle
                   government contract                                               Montgomery, IL 60538




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1546. State what the contract or                       Security guard services
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           Security Resources Inc.
                                                                                     dba Honor Guard Security
             List the contract number of any                                         1155 Marlkress Road,
                   government contract                                               Cherry Hill, NJ 08003


 2.1547. State what the contract or                       Technology service
         lease is for and the nature of                   maintenance
         the debtor's interest                            agreement

                  State the term remaining
                                                                                     Sensormatic EAS Service
             List the contract number of any                                         10405 Crosspoint Boulevard
                   government contract                                               Indianapolis, IN 46256


 2.1548. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SERRAMONTE 2006-08-25 A
             List the contract number of any                                         64 SERRAMONTE BLVD
                   government contract                                               Daly City, CA 94015


 2.1549. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SERRAMONTE 2006-08-25 A
             List the contract number of any                                         64 SERRAMONTE BLVD
                   government contract                                               Daly City, CA 94015


 2.1550. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SERRAMONTE 2006-08-25 A
             List the contract number of any                                         64 SERRAMONTE BLVD
                   government contract                                               Daly City, CA 94015


 2.1551. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SERRAMONTE 2006-08-25 A
                                                                                     64 SERRAMONTE BLVD
             List the contract number of any                                         Daly City, CA 94015
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1552. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES @ WYOMISSING 2007-02-26
             List the contract number of any                                         770 WOODLAND ROAD
                   government contract                                               Wyomissing, PA 19610


 2.1553. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES @ WYOMISSING 2007-02-26
             List the contract number of any                                         770 WOODLAND ROAD
                   government contract                                               Wyomissing, PA 19610


 2.1554. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES @ WYOMISSING 2007-02-26
             List the contract number of any                                         770 WOODLAND ROAD
                   government contract                                               Wyomissing, PA 19610


 2.1555. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES @ WYOMISSING 2007-02-26
             List the contract number of any                                         770 WOODLAND ROAD
                   government contract                                               Wyomissing, PA 19610


 2.1556. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES @ WYOMISSING 2007-02-26
             List the contract number of any                                         770 WOODLAND ROAD
                   government contract                                               Wyomissing, PA 19610


 2.1557. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              SHOPPES AT CROSS KEYS 2007-08-24
         the debtor's interest                                                       611 BERLIN CROSS KEY RD D
                                                                                     Sicklerville, NJ 08081
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1558. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT CROSS KEYS 2007-08-24
             List the contract number of any                                         611 BERLIN CROSS KEY RD D
                   government contract                                               Sicklerville, NJ 08081


 2.1559. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT CROSS KEYS 2007-08-24
             List the contract number of any                                         611 BERLIN CROSS KEY RD D
                   government contract                                               Sicklerville, NJ 08081


 2.1560. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT CROSS KEYS 2007-08-24
             List the contract number of any                                         611 BERLIN CROSS KEY RD D
                   government contract                                               Sicklerville, NJ 08081


 2.1561. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT CROSS KEYS 2007-08-24
             List the contract number of any                                         611 BERLIN CROSS KEY RD D
                   government contract                                               Sicklerville, NJ 08081


 2.1562. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT CROSS KEYS 2007-08-24
             List the contract number of any                                         611 BERLIN CROSS KEY RD D
                   government contract                                               Sicklerville, NJ 08081




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1563. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT CROSS KEYS 2007-08-24
             List the contract number of any                                         611 BERLIN CROSS KEY RD D
                   government contract                                               Sicklerville, NJ 08081


 2.1564. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT MONTAGE 2007-01-04
             List the contract number of any                                         2251 SHOPPES BLVD #2251
                   government contract                                               Moosic, PA 18507


 2.1565. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT MONTAGE 2007-01-04
             List the contract number of any                                         2251 SHOPPES BLVD #2251
                   government contract                                               Moosic, PA 18507


 2.1566. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT MONTAGE 2007-01-04
             List the contract number of any                                         2251 SHOPPES BLVD #2251
                   government contract                                               Moosic, PA 18507


 2.1567. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT MONTAGE 2007-01-04
             List the contract number of any                                         2251 SHOPPES BLVD #2251
                   government contract                                               Moosic, PA 18507


 2.1568. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SHOPPES AT OLD BRIDGE 2005-12-10
                                                                                     3813 US HIGHWAY 9
             List the contract number of any                                         Old Bridge, NJ 08857
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1569. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT OLD BRIDGE 2005-12-10
             List the contract number of any                                         3813 US HIGHWAY 9
                   government contract                                               Old Bridge, NJ 08857


 2.1570. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT OLD BRIDGE 2005-12-10
             List the contract number of any                                         3813 US HIGHWAY 9
                   government contract                                               Old Bridge, NJ 08857


 2.1571. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT OLD BRIDGE 2005-12-10
             List the contract number of any                                         3813 US HIGHWAY 9
                   government contract                                               Old Bridge, NJ 08857


 2.1572. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT SUSQUEHANNA 2005-02-18
             List the contract number of any                                         2541 BRINDLE RD SP # T
                   government contract                                               Harrisburg, PA 17110


 2.1573. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT SUSQUEHANNA 2005-02-18
             List the contract number of any                                         2541 BRINDLE RD SP # T
                   government contract                                               Harrisburg, PA 17110


 2.1574. State what the contract or                       Amended Lease
         lease is for and the nature of                                              SHOPPES AT SUSQUEHANNA 2005-02-18
         the debtor's interest                                                       2541 BRINDLE RD SP # T
                                                                                     Harrisburg, PA 17110
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1575. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPPES AT SUSQUEHANNA 2005-02-18
             List the contract number of any                                         2541 BRINDLE RD SP # T
                   government contract                                               Harrisburg, PA 17110


 2.1576. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPS AT LA CANTERA 2015-07-17
             List the contract number of any                                         15900 LA CANTERA PKWY SP# 1
                   government contract                                               San Antonio, TX 78256


 2.1577. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPS AT LA CANTERA 2015-07-17
             List the contract number of any                                         15900 LA CANTERA PKWY SP# 1
                   government contract                                               San Antonio, TX 78256


 2.1578. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPS AT PEMBROKE GARDENS 2007-08-09
             List the contract number of any                                         417 SW 145TH TERRACE
                   government contract                                               Pembroke Pines, FL 33027


 2.1579. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHOPS AT PEMBROKE GARDENS 2007-08-09
             List the contract number of any                                         417 SW 145TH TERRACE
                   government contract                                               Pembroke Pines, FL 33027




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1580. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHORT PUMP TOWN CENTER 2017-11-30
             List the contract number of any                                         11800 W BROAD ST # 1028
                   government contract                                               Richmond, VA 23233


 2.1581. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHORT PUMP TOWN CENTER 2017-11-30
             List the contract number of any                                         11800 W BROAD ST # 1028
                   government contract                                               Richmond, VA 23233


 2.1582. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHORT PUMP TOWN CENTER 2017-11-30
             List the contract number of any                                         11800 W BROAD ST # 1028
                   government contract                                               Richmond, VA 23233


 2.1583. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SHORT PUMP TOWN CENTER 2017-11-30
             List the contract number of any                                         11800 W BROAD ST # 1028
                   government contract                                               Richmond, VA 23233


 2.1584. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1585. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SIERRA VISTA 1988-11-02
                                                                                     1050 SHAW AVE
             List the contract number of any                                         Clovis, CA 93612
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1586. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1587. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1588. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1589. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1590. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1591. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              SIERRA VISTA 1988-11-02
         the debtor's interest                                                       1050 SHAW AVE
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1592. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1593. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1594. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1595. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1596. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1597. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1598. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SIERRA VISTA 1988-11-02
             List the contract number of any                                         1050 SHAW AVE
                   government contract                                               Clovis, CA 93612


 2.1599. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SMITH HAVEN 2007-04-11
             List the contract number of any                                         468 MIDDLE COUNTY ROAD
                   government contract                                               Lake Grove, NY 11755


 2.1600. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SMITH HAVEN 2007-04-11
             List the contract number of any                                         468 MIDDLE COUNTY ROAD
                   government contract                                               Lake Grove, NY 11755


 2.1601. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOLANO TOWN CENTER 2006-08-31
                                                                                     1350 TRAVIS BLVD
             List the contract number of any                                         R-5
                   government contract                                               Fairfield, CA 94533


 2.1602. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest
                                                                                     SOLANO TOWN CENTER 2006-08-31
                  State the term remaining                                           1350 TRAVIS BLVD
                                                                                     R-5
             List the contract number of any                                         Fairfield, CA 94533
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1603. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOLANO TOWN CENTER 2006-08-31
                                                                                     1350 TRAVIS BLVD
             List the contract number of any                                         R-5
                   government contract                                               Fairfield, CA 94533


 2.1604. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOLANO TOWN CENTER 2006-08-31
                                                                                     1350 TRAVIS BLVD
             List the contract number of any                                         R-5
                   government contract                                               Fairfield, CA 94533


 2.1605. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOLANO TOWN CENTER 2006-08-31
                                                                                     1350 TRAVIS BLVD
             List the contract number of any                                         R-5
                   government contract                                               Fairfield, CA 94533


 2.1606. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOLANO TOWN CENTER 2006-08-31
                                                                                     1350 TRAVIS BLVD
             List the contract number of any                                         R-5
                   government contract                                               Fairfield, CA 94533


 2.1607. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOLANO TOWN CENTER 2006-08-31
                                                                                     1350 TRAVIS BLVD
             List the contract number of any                                         R-5
                   government contract                                               Fairfield, CA 94533


 2.1608. State what the contract or                       Amended Lease              SOLANO TOWN CENTER 2006-08-31
         lease is for and the nature of                                              1350 TRAVIS BLVD
         the debtor's interest                                                       R-5
                                                                                     Fairfield, CA 94533
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1609. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOLANO TOWN CENTER 2006-08-31
                                                                                     1350 TRAVIS BLVD
             List the contract number of any                                         R-5
                   government contract                                               Fairfield, CA 94533


 2.1610. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOLANO TOWN CENTER 2006-08-31
                                                                                     1350 TRAVIS BLVD
             List the contract number of any                                         R-5
                   government contract                                               Fairfield, CA 94533


 2.1611. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOMERSET SHOPPING CENTER 2013-05-06
             List the contract number of any                                         US HIGHWAY 202-206
                   government contract                                               Bridgewater, NJ 08807


 2.1612. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOMERSET SHOPPING CENTER 2013-05-06
             List the contract number of any                                         US HIGHWAY 202-206
                   government contract                                               Bridgewater, NJ 08807


 2.1613. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOMERSET SHOPPING CENTER 2013-05-06
             List the contract number of any                                         US HIGHWAY 202-206
                   government contract                                               Bridgewater, NJ 08807




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1614. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOMERSET SHOPPING CENTER 2013-05-06
             List the contract number of any                                         US HIGHWAY 202-206
                   government contract                                               Bridgewater, NJ 08807


 2.1615. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTH HILLS VILLAGE 2012-03-06
             List the contract number of any                                         260 SOUTH HILLS VILLAGE
                   government contract                                               Pittsburgh, PA 15241


 2.1616. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOUTH PLAINS 2007-05-30
                                                                                     Macerich Lubbock Limited Partnership
             List the contract number of any                                         PO Box 68208
                   government contract                                               Lubbock, TX 79414


 2.1617. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHERN PARK 2005-05-02
             List the contract number of any                                         7401 MARKET ST SP#803A
                   government contract                                               Youngstown, OH 44512


 2.1618. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHERN PARK 2005-05-02
             List the contract number of any                                         7401 MARKET ST SP#803A
                   government contract                                               Youngstown, OH 44512


 2.1619. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOUTHERN PARK 2005-05-02
                                                                                     7401 MARKET ST SP#803A
             List the contract number of any                                         Youngstown, OH 44512
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1620. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHERN PARK 2005-05-02
             List the contract number of any                                         7401 MARKET ST SP#803A
                   government contract                                               Youngstown, OH 44512


 2.1621. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHERN PARK 2005-05-02
             List the contract number of any                                         7401 MARKET ST SP#803A
                   government contract                                               Youngstown, OH 44512


 2.1622. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHERN PARK 2005-05-02
             List the contract number of any                                         7401 MARKET ST SP#803A
                   government contract                                               Youngstown, OH 44512


 2.1623. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLAKE MALL 2011-03-01
             List the contract number of any                                         1916 SOUTHLAKE MALL
                   government contract                                               Merrillville, IN 46410


 2.1624. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLAKE, GA 1994-04-15
             List the contract number of any                                         GA 54 & I-75 SOUTH SP 24
                   government contract                                               Morrow, GA 30260


 2.1625. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              SOUTHLAKE, GA 1994-04-15
         the debtor's interest                                                       GA 54 & I-75 SOUTH SP 24
                                                                                     Morrow, GA 30260
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1626. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLAKE, GA 1994-04-15
             List the contract number of any                                         GA 54 & I-75 SOUTH SP 24
                   government contract                                               Morrow, GA 30260


 2.1627. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLAKE, GA 1994-04-15
             List the contract number of any                                         GA 54 & I-75 SOUTH SP 24
                   government contract                                               Morrow, GA 30260


 2.1628. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLAKE, GA 1994-04-15
             List the contract number of any                                         GA 54 & I-75 SOUTH SP 24
                   government contract                                               Morrow, GA 30260


 2.1629. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLAKE, GA 1994-04-15
             List the contract number of any                                         GA 54 & I-75 SOUTH SP 24
                   government contract                                               Morrow, GA 30260


 2.1630. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLAKE, GA 1994-04-15
             List the contract number of any                                         GA 54 & I-75 SOUTH SP 24
                   government contract                                               Morrow, GA 30260




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1631. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLAKE, GA 1994-04-15
             List the contract number of any                                         GA 54 & I-75 SOUTH SP 24
                   government contract                                               Morrow, GA 30260


 2.1632. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLAKE, GA 1994-04-15
             List the contract number of any                                         GA 54 & I-75 SOUTH SP 24
                   government contract                                               Morrow, GA 30260


 2.1633. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1634. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1635. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1636. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           Southland Center (MI) 2000-06-12
                                                                                     23000 EUREKA
             List the contract number of any                                         Taylor, MI 48180
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1637. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1638. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1639. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1640. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1641. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1642. State what the contract or                       Amended Lease
         lease is for and the nature of                                              Southland Center (MI) 2000-06-12
         the debtor's interest                                                       23000 EUREKA
                                                                                     Taylor, MI 48180
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1643. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1644. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1645. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1646. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180


 2.1647. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Southland Center (MI) 2000-06-12
             List the contract number of any                                         23000 EUREKA
                   government contract                                               Taylor, MI 48180




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1648. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLANDS 2006-07-24
             List the contract number of any                                         6240 S. MAIN STREET # 110
                   government contract                                               Aurora, CO 80016


 2.1649. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLANDS 2006-07-24
             List the contract number of any                                         6240 S. MAIN STREET # 110
                   government contract                                               Aurora, CO 80016


 2.1650. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLANDS 2006-07-24
             List the contract number of any                                         6240 S. MAIN STREET # 110
                   government contract                                               Aurora, CO 80016


 2.1651. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLANDS 2006-07-24
             List the contract number of any                                         6240 S. MAIN STREET # 110
                   government contract                                               Aurora, CO 80016


 2.1652. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLANDS 2006-07-24
             List the contract number of any                                         6240 S. MAIN STREET # 110
                   government contract                                               Aurora, CO 80016


 2.1653. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOUTHLANDS 2006-07-24
                                                                                     6240 S. MAIN STREET # 110
             List the contract number of any                                         Aurora, CO 80016
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1654. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLANDS 2006-07-24
             List the contract number of any                                         6240 S. MAIN STREET # 110
                   government contract                                               Aurora, CO 80016


 2.1655. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLANDS 2006-07-24
             List the contract number of any                                         6240 S. MAIN STREET # 110
                   government contract                                               Aurora, CO 80016


 2.1656. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHLANDS 2006-07-24
             List the contract number of any                                         6240 S. MAIN STREET # 110
                   government contract                                               Aurora, CO 80016


 2.1657. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOUTHPARK CENTER 2006-07-05
                                                                                     736 SOUTHPARK CENTER
             List the contract number of any                                         #AU7
                   government contract                                               Strongsville, OH 44136


 2.1658. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOUTHPARK CENTER 2006-07-05
                                                                                     736 SOUTHPARK CENTER
             List the contract number of any                                         #AU7
                   government contract                                               Strongsville, OH 44136


 2.1659. State what the contract or                       Amended Lease              SOUTHPARK CENTER 2006-07-05
         lease is for and the nature of                                              736 SOUTHPARK CENTER
         the debtor's interest                                                       #AU7
                                                                                     Strongsville, OH 44136
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1660. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SOUTHPARK CENTER 2006-07-05
                                                                                     736 SOUTHPARK CENTER
             List the contract number of any                                         #AU7
                   government contract                                               Strongsville, OH 44136


 2.1661. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHRIDGE MALL 2012-12-19
             List the contract number of any                                         5300 S 76TH STREET SP # 172
                   government contract                                               Greendale, WI 53129


 2.1662. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHRIDGE MALL 2012-12-19
             List the contract number of any                                         5300 S 76TH STREET SP # 172
                   government contract                                               Greendale, WI 53129


 2.1663. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SOUTHRIDGE MALL 2012-12-19
             List the contract number of any                                         5300 S 76TH STREET SP # 172
                   government contract                                               Greendale, WI 53129


 2.1664. State what the contract or                       Eva Mendes brand
         lease is for and the nature of                   licensing services
         the debtor's interest
                                                                                     Spooky, Inc.
                  State the term remaining                                           c/o Peter Hess, Creative Artists Agency
                                                                                     162 Fifth Avenue
             List the contract number of any                                         6th Floor
                   government contract                                               New York, NY 10010




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1665. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SPOTSYLVANIA MALL 2006-02-24
             List the contract number of any                                         190 SPOTSYLVANIA MALL SP # 190
                   government contract                                               Fredericksburg, VA 22407


 2.1666. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SPOTSYLVANIA MALL 2006-02-24
             List the contract number of any                                         190 SPOTSYLVANIA MALL SP # 190
                   government contract                                               Fredericksburg, VA 22407


 2.1667. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SPRINGFIELD MALL 2000-02-25
             List the contract number of any                                         1200 BALTIMORE PIKE
                   government contract                                               Springfield, PA 19064


 2.1668. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SPRINGFIELD MALL 2000-02-25
             List the contract number of any                                         1200 BALTIMORE PIKE
                   government contract                                               Springfield, PA 19064


 2.1669. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SPRINGFIELD MALL 2000-02-25
             List the contract number of any                                         1200 BALTIMORE PIKE
                   government contract                                               Springfield, PA 19064


 2.1670. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SPRINGFIELD MALL 2000-02-25
                                                                                     1200 BALTIMORE PIKE
             List the contract number of any                                         Springfield, PA 19064
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1671. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SPRINGFIELD MALL 2000-02-25
             List the contract number of any                                         1200 BALTIMORE PIKE
                   government contract                                               Springfield, PA 19064


 2.1672. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SPRINGFIELD MALL 2000-02-25
             List the contract number of any                                         1200 BALTIMORE PIKE
                   government contract                                               Springfield, PA 19064


 2.1673. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SPRINGFIELD MALL 2000-02-25
             List the contract number of any                                         1200 BALTIMORE PIKE
                   government contract                                               Springfield, PA 19064


 2.1674. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SPRINGFIELD TOWN CENTER 2014-08-19
             List the contract number of any                                         6500 SPRINGFIELD MALL
                   government contract                                               Springfield, VA 22150


 2.1675. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SPRINGFIELD TOWN CENTER 2014-08-19
             List the contract number of any                                         6500 SPRINGFIELD MALL
                   government contract                                               Springfield, VA 22150


 2.1676. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              SPRINGFIELD TOWN CENTER 2014-08-19
         the debtor's interest                                                       6500 SPRINGFIELD MALL
                                                                                     Springfield, VA 22150
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1677. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SPRINGFIELD TOWN CENTER 2014-08-19
             List the contract number of any                                         6500 SPRINGFIELD MALL
                   government contract                                               Springfield, VA 22150


 2.1678. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SQUARE ONE MALL 2005-01-28
                                                                                     12777 BROADWAY
             List the contract number of any                                         SP # 208
                   government contract                                               Saugus, MA 01906


 2.1679. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SQUARE ONE MALL 2005-01-28
                                                                                     12777 BROADWAY
             List the contract number of any                                         SP # 208
                   government contract                                               Saugus, MA 01906


 2.1680. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ST. AUGUSTINE OUTLET 2010-03-12
             List the contract number of any                                         500 PRIME OUTLET BLVD SP
                   government contract                                               St Augustine, FL 32084


 2.1681. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ST. AUGUSTINE OUTLET 2010-03-12
             List the contract number of any                                         500 PRIME OUTLET BLVD SP
                   government contract                                               St Augustine, FL 32084




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1682. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ST. AUGUSTINE OUTLET 2010-03-12
             List the contract number of any                                         500 PRIME OUTLET BLVD SP
                   government contract                                               St Augustine, FL 32084


 2.1683. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ST. AUGUSTINE OUTLET 2010-03-12
             List the contract number of any                                         500 PRIME OUTLET BLVD SP
                   government contract                                               St Augustine, FL 32084


 2.1684. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ST. AUGUSTINE OUTLET 2010-03-12
             List the contract number of any                                         500 PRIME OUTLET BLVD SP
                   government contract                                               St Augustine, FL 32084


 2.1685. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ST. CHARLES TOWN CENTER 2017-08-29
             List the contract number of any                                         11110 MALL CIRCLE SP # F02A
                   government contract                                               Waldorf, MD 20603


 2.1686. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ST. MATTHEWS, MALL AT 2008-07-16
             List the contract number of any                                         5000 SHELBYVILLE ROAD
                   government contract                                               Louisville, KY 40207


 2.1687. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           ST. MATTHEWS, MALL AT 2008-07-16
                                                                                     5000 SHELBYVILLE ROAD
             List the contract number of any                                         Louisville, KY 40207
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1688. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ST. MATTHEWS, MALL AT 2008-07-16
             List the contract number of any                                         5000 SHELBYVILLE ROAD
                   government contract                                               Louisville, KY 40207


 2.1689. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ST. MATTHEWS, MALL AT 2008-07-16
             List the contract number of any                                         5000 SHELBYVILLE ROAD
                   government contract                                               Louisville, KY 40207


 2.1690. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           STATE STREET (THE PALMER HOUSE)
                                                                                     2018-05-31
             List the contract number of any                                         17 East Monroe Street
                   government contract                                               Chicago, IL 60603


 2.1691. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STATEN ISLAND MALL 2011-01-27
             List the contract number of any                                         2655 RICHMOND AVE SP 1
                   government contract                                               Staten Island, NY 10314


 2.1692. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STATEN ISLAND MALL 2011-01-27
             List the contract number of any                                         2655 RICHMOND AVE SP 1
                   government contract                                               Staten Island, NY 10314


 2.1693. State what the contract or                       Storage Agreement
         lease is for and the nature of                                              STATEN ISLAND MALL 2011-01-27
         the debtor's interest                                                       2655 RICHMOND AVE SP 1
                                                                                     Staten Island, NY 10314
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1694. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STATEN ISLAND MALL 2011-01-27
             List the contract number of any                                         2655 RICHMOND AVE SP 1
                   government contract                                               Staten Island, NY 10314


 2.1695. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STATEN ISLAND MALL 2011-01-27
             List the contract number of any                                         2655 RICHMOND AVE SP 1
                   government contract                                               Staten Island, NY 10314


 2.1696. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STATEN ISLAND MALL 2011-01-27
             List the contract number of any                                         2655 RICHMOND AVE SP 1
                   government contract                                               Staten Island, NY 10314


 2.1697. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STATEN ISLAND MALL 2011-01-27
             List the contract number of any                                         2655 RICHMOND AVE SP 1
                   government contract                                               Staten Island, NY 10314


 2.1698. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STATEN ISLAND MALL 2011-01-27
             List the contract number of any                                         2655 RICHMOND AVE SP 1
                   government contract                                               Staten Island, NY 10314




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1699. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STEINWAY STREET 1997-03-04
             List the contract number of any                                         30-37 STEINWAY ST. SPACE
                   government contract                                               Astoria, NY 11103


 2.1700. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STEINWAY STREET 1997-03-04
             List the contract number of any                                         30-37 STEINWAY ST. SPACE
                   government contract                                               Astoria, NY 11103


 2.1701. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STEINWAY STREET 1997-03-04
             List the contract number of any                                         30-37 STEINWAY ST. SPACE
                   government contract                                               Astoria, NY 11103


 2.1702. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STEINWAY STREET 1997-03-04
             List the contract number of any                                         30-37 STEINWAY ST. SPACE
                   government contract                                               Astoria, NY 11103


 2.1703. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STEINWAY STREET 1997-03-04
             List the contract number of any                                         30-37 STEINWAY ST. SPACE
                   government contract                                               Astoria, NY 11103


 2.1704. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           STONERIDGE 2011-01-04
                                                                                     2329 STONERIDGE MALL SP#-
             List the contract number of any                                         Pleasanton, CA 94588
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1705. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1706. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1707. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1708. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1709. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1710. State what the contract or                       Amended Lease
         lease is for and the nature of                                              STONERIDGE 2011-01-04
         the debtor's interest                                                       2329 STONERIDGE MALL SP#-
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1711. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1712. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1713. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1714. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1715. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1716. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1717. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1718. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONERIDGE 2011-01-04
             List the contract number of any                                         2329 STONERIDGE MALL SP#-
                   government contract                                               Pleasanton, CA 94588


 2.1719. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONEWOOD CENTER 2005-03-31
             List the contract number of any                                         251 STONEWOOD SP# C17, 19, 21
                   government contract                                               Downey, CA 90241


 2.1720. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STONEWOOD CENTER 2005-03-31
             List the contract number of any                                         251 STONEWOOD SP# C17, 19, 21
                   government contract                                               Downey, CA 90241


 2.1721. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           STREETS AT SOUTHPOINT, THE 2014-05-29
                                                                                     6910 FAYETTEVILLE RD SP#1
             List the contract number of any                                         Durham, NC 27713
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1722. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STREETS AT SOUTHPOINT, THE 2014-05-29
             List the contract number of any                                         6910 FAYETTEVILLE RD SP#1
                   government contract                                               Durham, NC 27713


 2.1723. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STREETS AT SOUTHPOINT, THE 2014-05-29
             List the contract number of any                                         6910 FAYETTEVILLE RD SP#1
                   government contract                                               Durham, NC 27713


 2.1724. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STREETS OF INDIAN LAKE 2007-05-17
             List the contract number of any                                         300 INDIAN LAKE BLVD
                   government contract                                               Hendersonville, TN 37075


 2.1725. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STREETS OF INDIAN LAKE 2007-05-17
             List the contract number of any                                         300 INDIAN LAKE BLVD
                   government contract                                               Hendersonville, TN 37075


 2.1726. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STREETS OF INDIAN LAKE 2007-05-17
             List the contract number of any                                         300 INDIAN LAKE BLVD
                   government contract                                               Hendersonville, TN 37075


 2.1727. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              STREETS OF INDIAN LAKE 2007-05-17
         the debtor's interest                                                       300 INDIAN LAKE BLVD
                                                                                     Hendersonville, TN 37075
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1728. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STREETS OF INDIAN LAKE 2007-05-17
             List the contract number of any                                         300 INDIAN LAKE BLVD
                   government contract                                               Hendersonville, TN 37075


 2.1729. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STREETS OF INDIAN LAKE 2007-05-17
             List the contract number of any                                         300 INDIAN LAKE BLVD
                   government contract                                               Hendersonville, TN 37075


 2.1730. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     STREETS OF INDIAN LAKE 2007-05-17
             List the contract number of any                                         300 INDIAN LAKE BLVD
                   government contract                                               Hendersonville, TN 37075


 2.1731. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SUMMIT MALL 2007-01-22
                                                                                     3265 W. MARKET ST.
             List the contract number of any                                         #580A
                   government contract                                               Akron, OH 44333


 2.1732. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SUMMIT MALL 2007-01-22
                                                                                     3265 W. MARKET ST.
             List the contract number of any                                         #580A
                   government contract                                               Akron, OH 44333




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1733. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SUMMIT MALL 2007-01-22
                                                                                     3265 W. MARKET ST.
             List the contract number of any                                         #580A
                   government contract                                               Akron, OH 44333


 2.1734. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SUMMIT MALL 2007-01-22
                                                                                     3265 W. MARKET ST.
             List the contract number of any                                         #580A
                   government contract                                               Akron, OH 44333


 2.1735. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1736. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1737. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1738. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SUMTER MALL 1979-08-30
                                                                                     1057-10 BROAD STREET
             List the contract number of any                                         Sumter, SC 29150
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1739. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1740. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1741. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1742. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1743. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1744. State what the contract or                       Amended Lease
         lease is for and the nature of                                              SUMTER MALL 1979-08-30
         the debtor's interest                                                       1057-10 BROAD STREET
                                                                                     Sumter, SC 29150
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1745. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1746. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1747. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1748. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUMTER MALL 1979-08-30
             List the contract number of any                                         1057-10 BROAD STREET
                   government contract                                               Sumter, SC 29150


 2.1749. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SUNLAND 2014-03-28
                                                                                     750 SUNLAND PARK DRIVE
             List the contract number of any                                         # OD08A
                   government contract                                               El Paso, TX 79912




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1750. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SUNLAND 2014-03-28
                                                                                     750 SUNLAND PARK DRIVE
             List the contract number of any                                         # OD08A
                   government contract                                               El Paso, TX 79912


 2.1751. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SUNLAND 2014-03-28
                                                                                     750 SUNLAND PARK DRIVE
             List the contract number of any                                         # OD08A
                   government contract                                               El Paso, TX 79912


 2.1752. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SUNLAND 2014-03-28
                                                                                     750 SUNLAND PARK DRIVE
             List the contract number of any                                         # OD08A
                   government contract                                               El Paso, TX 79912


 2.1753. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SUNLAND 2014-03-28
                                                                                     750 SUNLAND PARK DRIVE
             List the contract number of any                                         # OD08A
                   government contract                                               El Paso, TX 79912


 2.1754. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUNRISE MALL 2011-06-07
             List the contract number of any                                         320 SUNRISE HIGHWAY
                   government contract                                               Massapequa, NY 11758


 2.1755. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           SUNRISE MALL 2011-06-07
                                                                                     320 SUNRISE HIGHWAY
             List the contract number of any                                         Massapequa, NY 11758
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1756. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUNRISE MALL 2011-06-07
             List the contract number of any                                         320 SUNRISE HIGHWAY
                   government contract                                               Massapequa, NY 11758


 2.1757. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUNRISE MALL 2011-06-07
             List the contract number of any                                         320 SUNRISE HIGHWAY
                   government contract                                               Massapequa, NY 11758


 2.1758. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUNRISE MALL 2011-06-07
             List the contract number of any                                         320 SUNRISE HIGHWAY
                   government contract                                               Massapequa, NY 11758


 2.1759. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUNRISE MALL 2011-06-07
             List the contract number of any                                         320 SUNRISE HIGHWAY
                   government contract                                               Massapequa, NY 11758


 2.1760. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUNRISE MALL 2011-06-07
             List the contract number of any                                         320 SUNRISE HIGHWAY
                   government contract                                               Massapequa, NY 11758


 2.1761. State what the contract or                       Amended Lease
         lease is for and the nature of                                              SUNRISE MALL 2011-06-07
         the debtor's interest                                                       320 SUNRISE HIGHWAY
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1762. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUNRISE MALL TX 2005-02-23
             List the contract number of any                                         2370 N. EXPRESSWAY
                   government contract                                               Brownsville, TX 78526


 2.1763. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     SUNRISE MALL TX 2005-02-23
             List the contract number of any                                         2370 N. EXPRESSWAY
                   government contract                                               Brownsville, TX 78526


 2.1764. State what the contract or                       Insurance
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           Symetra Life Ins. Co.
                                                                                     c/o Brown & Brown, 3697 Mt. Diablo Blvd.
             List the contract number of any                                         Suite 100
                   government contract                                               Lafayette, CA 94549


 2.1765. State what the contract or                       Brand marketing
         lease is for and the nature of                   services
         the debtor's interest
                                                                                     Tabria Majors
                  State the term remaining                                           c/o Natural Models LLC
                                                                                     1120 N. El Centro Ave., Suite 9
             List the contract number of any                                         Attn: Nikki Mann
                   government contract                                               Los Angeles, CA 90038


 2.1766. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TAMPA PREMIUM OUTLETS 2015-08-27
             List the contract number of any                                         2398 GRAND CYPRESS DRIVE
                   government contract                                               Lutz, FL 33559




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1767. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TAMPA PREMIUM OUTLETS 2015-08-27
             List the contract number of any                                         2398 GRAND CYPRESS DRIVE
                   government contract                                               Lutz, FL 33559


 2.1768. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER ATLANTIC CITY OUTLET 2012-12-03
             List the contract number of any                                         2121 Atlantic Ave
                   government contract                                               Atlantic City, NJ 08401


 2.1769. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER ATLANTIC CITY OUTLET 2012-12-03
             List the contract number of any                                         2121 Atlantic Ave
                   government contract                                               Atlantic City, NJ 08401


 2.1770. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER FOXWOODS 2014-10-02
             List the contract number of any                                         350 Trolley Line Boulevard
                   government contract                                               Ledyard, CT 06338-3777


 2.1771. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER FOXWOODS 2014-10-02
             List the contract number of any                                         350 Trolley Line Boulevard
                   government contract                                               Ledyard, CT 06338-3777


 2.1772. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           TANGER OUTLET AT HOUSTON 2012-07-03
                                                                                     5885 GULF FREEWAY
             List the contract number of any                                         Texas City, TX 77591
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1773. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER OUTLET AT HOUSTON 2012-07-03
             List the contract number of any                                         5885 GULF FREEWAY
                   government contract                                               Texas City, TX 77591


 2.1774. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER OUTLET AT HOUSTON 2012-07-03
             List the contract number of any                                         5885 GULF FREEWAY
                   government contract                                               Texas City, TX 77591


 2.1775. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER OUTLET AT HOUSTON 2012-07-03
             List the contract number of any                                         5885 GULF FREEWAY
                   government contract                                               Texas City, TX 77591


 2.1776. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER OUTLET AT HOUSTON 2012-07-03
             List the contract number of any                                         5885 GULF FREEWAY
                   government contract                                               Texas City, TX 77591


 2.1777. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER OUTLETS OF SAVANNAH 2014-01-09
             List the contract number of any                                         I-95 and Pooler Parkway
                   government contract                                               Pooler, GA 31322


 2.1778. State what the contract or                       Amended Lease
         lease is for and the nature of                                              TANGER OUTLETS OF SAVANNAH 2014-01-09
         the debtor's interest                                                       I-95 and Pooler Parkway
                                                                                     Pooler, GA 31322
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1779. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER OUTLETS OF SAVANNAH 2014-01-09
             List the contract number of any                                         I-95 and Pooler Parkway
                   government contract                                               Pooler, GA 31322


 2.1780. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER OUTLETS OF SAVANNAH 2014-01-09
             List the contract number of any                                         I-95 and Pooler Parkway
                   government contract                                               Pooler, GA 31322


 2.1781. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TANGER OUTLETS SEVIERVILLE 2014-09-08
             List the contract number of any                                         1645 Pkwy Ste 1195
                   government contract                                               Sevierville, TN 37863


 2.1782. State what the contract or                       Check verification
         lease is for and the nature of                   services
         the debtor's interest

                  State the term remaining
                                                                                     Telecheck Services, Inc.
             List the contract number of any                                         5565 Glenridge Connector, N.E.
                   government contract                                               Atlanta, GA 30342


 2.1783. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE ARCHES OUTLET 2010-07-13
             List the contract number of any                                         152 THE ARCHES CIRCLE SP
                   government contract                                               Deer Park, NY 11729




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1784. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE ARCHES OUTLET 2010-07-13
             List the contract number of any                                         152 THE ARCHES CIRCLE SP
                   government contract                                               Deer Park, NY 11729


 2.1785. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE AVENUES 2014-12-17
             List the contract number of any                                         10300 SOUTHSIDE BLVD SP#1
                   government contract                                               Jacksonville, FL 32256


 2.1786. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE AVENUES 2014-12-17
             List the contract number of any                                         10300 SOUTHSIDE BLVD SP#1
                   government contract                                               Jacksonville, FL 32256


 2.1787. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE AVENUES 2014-12-17
             List the contract number of any                                         10300 SOUTHSIDE BLVD SP#1
                   government contract                                               Jacksonville, FL 32256


 2.1788. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE MALL AT BAY PLAZA (FTF)
             List the contract number of any                                         The Mall at Bay Plaza
                   government contract                                               Bronx, NY 10475


 2.1789. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE MALL AT BAY PLAZA (FTF)
                                                                                     The Mall at Bay Plaza
             List the contract number of any                                         Bronx, NY 10475
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1790. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE MALL AT BAY PLAZA (FTF)
             List the contract number of any                                         The Mall at Bay Plaza
                   government contract                                               Bronx, NY 10475


 2.1791. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE MALL AT BAY PLAZA (FTF)
             List the contract number of any                                         The Mall at Bay Plaza
                   government contract                                               Bronx, NY 10475


 2.1792. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE MALL AT BAY PLAZA (FTF)
             List the contract number of any                                         The Mall at Bay Plaza
                   government contract                                               Bronx, NY 10475


 2.1793. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE MALL AT BAY PLAZA 2013-11-04
             List the contract number of any                                         The Mall at Bay Plaza
                   government contract                                               Bronx, NY 10475


 2.1794. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE MALL AT BAY PLAZA 2013-11-04
             List the contract number of any                                         The Mall at Bay Plaza
                   government contract                                               Bronx, NY 10475


 2.1795. State what the contract or                       Amended Lease
         lease is for and the nature of                                              THE MALL AT BAY PLAZA 2013-11-04
         the debtor's interest                                                       The Mall at Bay Plaza
                                                                                     Bronx, NY 10475
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1796. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE MALL AT BAY PLAZA 2013-11-04
             List the contract number of any                                         The Mall at Bay Plaza
                   government contract                                               Bronx, NY 10475


 2.1797. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE MALL AT BAY PLAZA 2013-11-04
             List the contract number of any                                         The Mall at Bay Plaza
                   government contract                                               Bronx, NY 10475


 2.1798. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE MALL AT BAY PLAZA 2013-11-04
             List the contract number of any                                         The Mall at Bay Plaza
                   government contract                                               Bronx, NY 10475


 2.1799. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE PROMENADE AT BOLINGBROOK 2007-01-05
             List the contract number of any                                         639 E. BOUGHTON RD # 650
                   government contract                                               Bolingbrook, IL 60440


 2.1800. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE PROMENADE AT BOLINGBROOK 2007-01-05
             List the contract number of any                                         639 E. BOUGHTON RD # 650
                   government contract                                               Bolingbrook, IL 60440




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1801. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE PROMENADE AT BOLINGBROOK 2007-01-05
             List the contract number of any                                         639 E. BOUGHTON RD # 650
                   government contract                                               Bolingbrook, IL 60440


 2.1802. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE PROMENADE AT COCONUT CREEK
                                                                                     2007-02-28
             List the contract number of any                                         4451 LYONS ROAD
                   government contract                                               Coconut Creek, FL 33063


 2.1803. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE PROMENADE AT COCONUT CREEK
                                                                                     2007-02-28
             List the contract number of any                                         4451 LYONS ROAD
                   government contract                                               Coconut Creek, FL 33063


 2.1804. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE PROMENADE AT COCONUT CREEK
                                                                                     2007-02-28
             List the contract number of any                                         4451 LYONS ROAD
                   government contract                                               Coconut Creek, FL 33063


 2.1805. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE PROMENADE AT COCONUT CREEK
                                                                                     2007-02-28
             List the contract number of any                                         4451 LYONS ROAD
                   government contract                                               Coconut Creek, FL 33063


 2.1806. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest
                                                                                     THE PROMENADE AT COCONUT CREEK
                  State the term remaining                                           2007-02-28
                                                                                     4451 LYONS ROAD
             List the contract number of any                                         Coconut Creek, FL 33063
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1807. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE PROMENADE AT COCONUT CREEK
                                                                                     2007-02-28
             List the contract number of any                                         4451 LYONS ROAD
                   government contract                                               Coconut Creek, FL 33063


 2.1808. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE PROMENADE AT COCONUT CREEK
                                                                                     2007-02-28
             List the contract number of any                                         4451 LYONS ROAD
                   government contract                                               Coconut Creek, FL 33063


 2.1809. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE PROMENADE AT COCONUT CREEK
                                                                                     2007-02-28
             List the contract number of any                                         4451 LYONS ROAD
                   government contract                                               Coconut Creek, FL 33063


 2.1810. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           The Promenade Temecula RELO
                                                                                     40820 WINCHESTER RD
             List the contract number of any                                         Unit # 1910
                   government contract                                               Temecula, CA 92591


 2.1811. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           The Promenade Temecula RELO
                                                                                     40820 WINCHESTER RD
             List the contract number of any                                         Unit # 1910
                   government contract                                               Temecula, CA 92591


 2.1812. State what the contract or                       Amended Lease              The Promenade Temecula RELO
         lease is for and the nature of                                              40820 WINCHESTER RD
         the debtor's interest                                                       Unit # 1910
                                                                                     Temecula, CA 92591
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1813. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           The Promenade Temecula RELO
                                                                                     40820 WINCHESTER RD
             List the contract number of any                                         Unit # 1910
                   government contract                                               Temecula, CA 92591


 2.1814. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           The Promenade Temecula RELO
                                                                                     40820 WINCHESTER RD
             List the contract number of any                                         Unit # 1910
                   government contract                                               Temecula, CA 92591


 2.1815. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE SHOPPES AT EASTCHASE 2005-10-15
             List the contract number of any                                         7274 EASTCHASE PKY SP # C18
                   government contract                                               Montgomery, AL 36117


 2.1816. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE SHOPPES AT EASTCHASE 2005-10-15
             List the contract number of any                                         7274 EASTCHASE PKY SP # C18
                   government contract                                               Montgomery, AL 36117


 2.1817. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     THE SHOPPES AT EASTCHASE 2005-10-15
             List the contract number of any                                         7274 EASTCHASE PKY SP # C18
                   government contract                                               Montgomery, AL 36117




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1818. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE SHOPPES AT NORTH BRUNSWICK
                                                                                     2006-09-27
             List the contract number of any                                         757 SHOPPES BOULEVARD
                   government contract                                               North Brunswick, NJ 08902


 2.1819. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE SHOPPES AT NORTH BRUNSWICK
                                                                                     2006-09-27
             List the contract number of any                                         757 SHOPPES BOULEVARD
                   government contract                                               North Brunswick, NJ 08902


 2.1820. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE SHOPPES AT NORTH BRUNSWICK
                                                                                     2006-09-27
             List the contract number of any                                         757 SHOPPES BOULEVARD
                   government contract                                               North Brunswick, NJ 08902


 2.1821. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           THE SHOPPES AT NORTH BRUNSWICK
                                                                                     2006-09-27
             List the contract number of any                                         757 SHOPPES BOULEVARD
                   government contract                                               North Brunswick, NJ 08902


 2.1822. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest
                                                                                     TOPANGA PLAZA 2006-05-25
                  State the term remaining                                           Westfield Topanga Owner LLC
                                                                                     2049 Century Park East
             List the contract number of any                                         41st Floor
                   government contract                                               Los Angeles, CA 90067


 2.1823. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest                                                       TOPANGA PLAZA 2006-05-25
                                                                                     Westfield Topanga Owner LLC
                  State the term remaining                                           2049 Century Park East
                                                                                     41st Floor
             List the contract number of any                                         Los Angeles, CA 90067
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1824. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest
                                                                                     TOPANGA PLAZA 2006-05-25
                  State the term remaining                                           Westfield Topanga Owner LLC
                                                                                     2049 Century Park East
             List the contract number of any                                         41st Floor
                   government contract                                               Los Angeles, CA 90067


 2.1825. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN CENTER @ LEVIS COM 2004-07-07
             List the contract number of any                                         3150 LEVIS COMM BLVD SP #8
                   government contract                                               Perrysburg, OH 43551


 2.1826. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN CENTER @ LEVIS COM 2004-07-07
             List the contract number of any                                         3150 LEVIS COMM BLVD SP #8
                   government contract                                               Perrysburg, OH 43551


 2.1827. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN CENTER @ LEVIS COM 2004-07-07
             List the contract number of any                                         3150 LEVIS COMM BLVD SP #8
                   government contract                                               Perrysburg, OH 43551


 2.1828. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN CENTER @ LEVIS COM 2004-07-07
             List the contract number of any                                         3150 LEVIS COMM BLVD SP #8
                   government contract                                               Perrysburg, OH 43551


 2.1829. State what the contract or                       Amended Lease
         lease is for and the nature of                                              TOWN CENTER @ LEVIS COM 2004-07-07
         the debtor's interest                                                       3150 LEVIS COMM BLVD SP #8
                                                                                     Perrysburg, OH 43551
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1830. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN CENTER @ LEVIS COM 2004-07-07
             List the contract number of any                                         3150 LEVIS COMM BLVD SP #8
                   government contract                                               Perrysburg, OH 43551


 2.1831. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN CENTER @ LEVIS COM 2004-07-07
             List the contract number of any                                         3150 LEVIS COMM BLVD SP #8
                   government contract                                               Perrysburg, OH 43551


 2.1832. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN CENTER @ LEVIS COM 2004-07-07
             List the contract number of any                                         3150 LEVIS COMM BLVD SP #8
                   government contract                                               Perrysburg, OH 43551


 2.1833. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN CENTER AT COBB 2005-04-18
             List the contract number of any                                         400 ERNEST W BARRETT SU
                   government contract                                               Kennesaw, GA 30144


 2.1834. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN CENTER AT COBB 2005-04-18
             List the contract number of any                                         400 ERNEST W BARRETT SU
                   government contract                                               Kennesaw, GA 30144




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1835. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN CENTER AT COBB 2005-04-18
             List the contract number of any                                         400 ERNEST W BARRETT SU
                   government contract                                               Kennesaw, GA 30144


 2.1836. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN EAST MALL 2005-05-25
             List the contract number of any                                         2063 TOWN EAST MALL SP # 2010
                   government contract                                               Mesquite, TX 75150


 2.1837. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN EAST MALL 2005-05-25
             List the contract number of any                                         2063 TOWN EAST MALL SP # 2010
                   government contract                                               Mesquite, TX 75150


 2.1838. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN EAST MALL 2005-05-25
             List the contract number of any                                         2063 TOWN EAST MALL SP # 2010
                   government contract                                               Mesquite, TX 75150


 2.1839. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN EAST MALL 2005-05-25
             List the contract number of any                                         2063 TOWN EAST MALL SP # 2010
                   government contract                                               Mesquite, TX 75150


 2.1840. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           TOWN EAST MALL 2005-05-25
                                                                                     2063 TOWN EAST MALL SP # 2010
             List the contract number of any                                         Mesquite, TX 75150
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1841. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN EAST MALL 2005-05-25
             List the contract number of any                                         2063 TOWN EAST MALL SP # 2010
                   government contract                                               Mesquite, TX 75150


 2.1842. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN MALL OF WESTMINSTER 2004-01-31
             List the contract number of any                                         400 NORTH CENTER ST SP # 1453
                   government contract                                               Westminster, MD 21157


 2.1843. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN MALL OF WESTMINSTER 2004-01-31
             List the contract number of any                                         400 NORTH CENTER ST SP # 1453
                   government contract                                               Westminster, MD 21157


 2.1844. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN MALL OF WESTMINSTER 2004-01-31
             List the contract number of any                                         400 NORTH CENTER ST SP # 1453
                   government contract                                               Westminster, MD 21157


 2.1845. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN MALL OF WESTMINSTER 2004-01-31
             List the contract number of any                                         400 NORTH CENTER ST SP # 1453
                   government contract                                               Westminster, MD 21157


 2.1846. State what the contract or                       Amended Lease
         lease is for and the nature of                                              TOWN MALL OF WESTMINSTER 2004-01-31
         the debtor's interest                                                       400 NORTH CENTER ST SP # 1453
                                                                                     Westminster, MD 21157
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1847. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN MALL OF WESTMINSTER 2004-01-31
             List the contract number of any                                         400 NORTH CENTER ST SP # 1453
                   government contract                                               Westminster, MD 21157


 2.1848. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN MALL OF WESTMINSTER 2004-01-31
             List the contract number of any                                         400 NORTH CENTER ST SP # 1453
                   government contract                                               Westminster, MD 21157


 2.1849. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWN MALL OF WESTMINSTER 2004-01-31
             List the contract number of any                                         400 NORTH CENTER ST SP # 1453
                   government contract                                               Westminster, MD 21157


 2.1850. State what the contract or                       Corporate health and
         lease is for and the nature of                   wellness membership
         the debtor's interest                            program

                  State the term remaining                                           Town Sports International
                                                                                     d/b/a NY Sports Club
             List the contract number of any                                         10001 US North Highway 1, Suite 201
                   government contract                                               Jupiter, FL 33477


 2.1851. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWSON TOWN CENTER 2007-11-27
             List the contract number of any                                         825 DULANEY VALLEY RD SP# 4310
                   government contract                                               Towson, MD 21204




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1852. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWSON TOWN CENTER 2007-11-27
             List the contract number of any                                         825 DULANEY VALLEY RD SP# 4310
                   government contract                                               Towson, MD 21204


 2.1853. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWSON TOWN CENTER 2007-11-27
             List the contract number of any                                         825 DULANEY VALLEY RD SP# 4310
                   government contract                                               Towson, MD 21204


 2.1854. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TOWSON TOWN CENTER 2007-11-27
             List the contract number of any                                         825 DULANEY VALLEY RD SP# 4310
                   government contract                                               Towson, MD 21204


 2.1855. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TRIANGLE TOWN CENTER 2002-01-11
             List the contract number of any                                         5959 TRIANGLE TOWN SP #10
                   government contract                                               Raleigh, NC 27616


 2.1856. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TRIANGLE TOWN CENTER 2002-01-11
             List the contract number of any                                         5959 TRIANGLE TOWN SP #10
                   government contract                                               Raleigh, NC 27616


 2.1857. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           TRIANGLE TOWN CENTER 2002-01-11
                                                                                     5959 TRIANGLE TOWN SP #10
             List the contract number of any                                         Raleigh, NC 27616
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1858. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TRIANGLE TOWN CENTER 2002-01-11
             List the contract number of any                                         5959 TRIANGLE TOWN SP #10
                   government contract                                               Raleigh, NC 27616


 2.1859. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TRIANGLE TOWN CENTER 2002-01-11
             List the contract number of any                                         5959 TRIANGLE TOWN SP #10
                   government contract                                               Raleigh, NC 27616


 2.1860. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TRIANGLE TOWN CENTER 2002-01-11
             List the contract number of any                                         5959 TRIANGLE TOWN SP #10
                   government contract                                               Raleigh, NC 27616


 2.1861. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           TRUMBULL PARK 2005-02-14
                                                                                     5065 MAIN STREET SP
             List the contract number of any                                         # 216
                   government contract                                               Trumbull, CT 06611


 2.1862. State what the contract or                       Storage Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           TRUMBULL PARK 2005-02-14
                                                                                     5065 MAIN STREET SP
             List the contract number of any                                         # 216
                   government contract                                               Trumbull, CT 06611


 2.1863. State what the contract or                       Amended Lease              TRUMBULL PARK 2005-02-14
         lease is for and the nature of                                              5065 MAIN STREET SP
         the debtor's interest                                                       # 216
                                                                                     Trumbull, CT 06611
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1864. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           TRUMBULL PARK 2005-02-14
                                                                                     5065 MAIN STREET SP
             List the contract number of any                                         # 216
                   government contract                                               Trumbull, CT 06611


 2.1865. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           TRUMBULL PARK 2005-02-14
                                                                                     5065 MAIN STREET SP
             List the contract number of any                                         # 216
                   government contract                                               Trumbull, CT 06611


 2.1866. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TUCSON PREMIUM 2015-07-24
             List the contract number of any                                         6401 W MARANA CENTER BLVD
                   government contract                                               Marana, AZ 85742


 2.1867. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TUCSON PREMIUM 2015-07-24
             List the contract number of any                                         6401 W MARANA CENTER BLVD
                   government contract                                               Marana, AZ 85742


 2.1868. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TUTTLE CROSSING 1996-02-27
             List the contract number of any                                         5043 TUTTLE CROSSING BLVD
                   government contract                                               Dublin, OH 43016




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1869. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TUTTLE CROSSING 1996-02-27
             List the contract number of any                                         5043 TUTTLE CROSSING BLVD
                   government contract                                               Dublin, OH 43016


 2.1870. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TUTTLE CROSSING 1996-02-27
             List the contract number of any                                         5043 TUTTLE CROSSING BLVD
                   government contract                                               Dublin, OH 43016


 2.1871. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TUTTLE CROSSING 1996-02-27
             List the contract number of any                                         5043 TUTTLE CROSSING BLVD
                   government contract                                               Dublin, OH 43016


 2.1872. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     TUTTLE CROSSING 1996-02-27
             List the contract number of any                                         5043 TUTTLE CROSSING BLVD
                   government contract                                               Dublin, OH 43016


 2.1873. State what the contract or                       Freight services
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     United Parcel Service (UPS)
             List the contract number of any                                         1261 Aviation Blvd.
                   government contract                                               Hebrom, KY 41048


 2.1874. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           VALENCIA TOWN CENTER 2015-09-18
                                                                                     24201 VALENCIA BLVD SP # 11
             List the contract number of any                                         Valencia, CA 91355
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1875. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY PLAZA 2016-04-06
             List the contract number of any                                         2701 Ming Avenue
                   government contract                                               Bakersfield, CA 93304


 2.1876. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976


 2.1877. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976


 2.1878. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976


 2.1879. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976


 2.1880. State what the contract or                       Remove
         lease is for and the nature of                                              VALLEY SQUARE 2007-07-09
         the debtor's interest                                                       1580 MAIN STREET
                                                                                     Warrington, PA 18976
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1881. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976


 2.1882. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976


 2.1883. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976


 2.1884. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976


 2.1885. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1886. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976


 2.1887. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976


 2.1888. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VALLEY SQUARE 2007-07-09
             List the contract number of any                                         1580 MAIN STREET
                   government contract                                               Warrington, PA 18976


 2.1889. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           VICTORIA GARDENS MALL 2014-09-05
                                                                                     12561 SOUTH MAIN ST
             List the contract number of any                                         SP1620
                   government contract                                               Rancho Cucamonga, CA 91730


 2.1890. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           VICTORIA GARDENS MALL 2014-09-05
                                                                                     12561 SOUTH MAIN ST
             List the contract number of any                                         SP1620
                   government contract                                               Rancho Cucamonga, CA 91730


 2.1891. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           VILLAGE AT SANDHILL 2005-05-31
                                                                                     470-11 TOWN CENTER SPB11
             List the contract number of any                                         Columbia, SC 29229
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1892. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VILLAGE AT SANDHILL 2005-05-31
             List the contract number of any                                         470-11 TOWN CENTER SPB11
                   government contract                                               Columbia, SC 29229


 2.1893. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VILLAGE AT SANDHILL 2005-05-31
             List the contract number of any                                         470-11 TOWN CENTER SPB11
                   government contract                                               Columbia, SC 29229


 2.1894. State what the contract or                       Loyalty marketing
         lease is for and the nature of                   merchant programs
         the debtor's interest

                  State the term remaining
                                                                                     Visa Merchant Partnership
             List the contract number of any                                         PO Box 8999
                   government contract                                               San Francisco, CA 94128


 2.1895. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VOLUSIA MALL 2007-04-05
             List the contract number of any                                         1700 INTERNATIONAL SPEEDWAY
                   government contract                                               Daytona Beach, FL 32114


 2.1896. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VOLUSIA MALL 2007-04-05
             List the contract number of any                                         1700 INTERNATIONAL SPEEDWAY
                   government contract                                               Daytona Beach, FL 32114


 2.1897. State what the contract or                       Amended Lease
         lease is for and the nature of                                              VOLUSIA MALL 2007-04-05
         the debtor's interest                                                       1700 INTERNATIONAL SPEEDWAY
                                                                                     Daytona Beach, FL 32114
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1898. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VOLUSIA MALL 2007-04-05
             List the contract number of any                                         1700 INTERNATIONAL SPEEDWAY
                   government contract                                               Daytona Beach, FL 32114


 2.1899. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     VOLUSIA MALL 2007-04-05
             List the contract number of any                                         1700 INTERNATIONAL SPEEDWAY
                   government contract                                               Daytona Beach, FL 32114


 2.1900. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WALDEN GALLERIA 2008-10-09
             List the contract number of any                                         1 WALDEN GALLERIA SP # A103
                   government contract                                               Buffalo, NY 14225


 2.1901. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WALDEN GALLERIA 2008-10-09
             List the contract number of any                                         1 WALDEN GALLERIA SP # A103
                   government contract                                               Buffalo, NY 14225


 2.1902. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WARWICK MALL 2005-11-01
                                                                                     c/o Warwick Mall LLC
             List the contract number of any                                         P.O. Box 2513
                   government contract                                               Providence, RI 02906




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1903. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WARWICK MALL 2005-11-01
             List the contract number of any                                         P.O. BOX 2513
                   government contract                                               PROVIDENCE, RI 02906


 2.1904. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WARWICK MALL 2005-11-01
             List the contract number of any                                         P.O. BOX 2513
                   government contract                                               PROVIDENCE, RI 02906


 2.1905. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WARWICK MALL 2005-11-01
             List the contract number of any                                         P.O. BOX 2513
                   government contract                                               PROVIDENCE, RI 02906


 2.1906. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WARWICK MALL 2005-11-01
             List the contract number of any                                         P.O. BOX 2513
                   government contract                                               PROVIDENCE, RI 02906


 2.1907. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WARWICK MALL 2005-11-01
             List the contract number of any                                         P.O. BOX 2513
                   government contract                                               PROVIDENCE, RI 02906


 2.1908. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WARWICK MALL 2005-11-01
                                                                                     P.O. BOX 2513
             List the contract number of any                                         PROVIDENCE, RI 02906
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1909. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WARWICK MALL 2005-11-01
             List the contract number of any                                         P.O. BOX 2513
                   government contract                                               PROVIDENCE, RI 02906


 2.1910. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WASHINGTON 2011-12-29
             List the contract number of any                                         2200 TANGER BLVD SP # 728
                   government contract                                               Washington, PA 15301


 2.1911. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WASHINGTON 2011-12-29
             List the contract number of any                                         2200 TANGER BLVD SP # 728
                   government contract                                               Washington, PA 15301


 2.1912. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WASHINGTON 2011-12-29
             List the contract number of any                                         2200 TANGER BLVD SP # 728
                   government contract                                               Washington, PA 15301


 2.1913. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WASHINGTON 2011-12-29
             List the contract number of any                                         2200 TANGER BLVD SP # 728
                   government contract                                               Washington, PA 15301


 2.1914. State what the contract or                       Amended Lease
         lease is for and the nature of                                              WASHINGTON 2011-12-29
         the debtor's interest                                                       2200 TANGER BLVD SP # 728
                                                                                     Washington, PA 15301
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1915. State what the contract or                       Trash management
         lease is for and the nature of                   services
         the debtor's interest

                  State the term remaining                                           Waste Mgmt fka Oakleaf Waste Mgmt
                                                                                     Oakleaf Waste Management, LLC
             List the contract number of any                                         415 Day Hill Road
                   government contract                                               Windsor, CT 06095


 2.1916. State what the contract or                       Trash management
         lease is for and the nature of                   services
         the debtor's interest

                  State the term remaining                                           Waste Mgmt fka Oakleaf Waste Mgmt
                                                                                     Oakleaf Waste Management, LLC
             List the contract number of any                                         415 Day Hill Road
                   government contract                                               Windsor, CT 06095


 2.1917. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WAYSIDE COMMONS 2007-08-28
                                                                                     Eckert Seamans Cherin & Mellott LLC
             List the contract number of any                                         Two International Place
                   government contract                                               Boston, MA 02110


 2.1918. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WAYSIDE COMMONS 2007-08-28
                                                                                     Eckert Seamans Cherin & Mellott LLC
             List the contract number of any                                         Two International Place
                   government contract                                               Boston, MA 02110


 2.1919. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WAYSIDE COMMONS 2007-08-28
                                                                                     Eckert Seamans Cherin & Mellott LLC
             List the contract number of any                                         Two International Place
                   government contract                                               Boston, MA 02110




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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1920. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WAYSIDE COMMONS 2007-08-28
                                                                                     Eckert Seamans Cherin & Mellott LLC
             List the contract number of any                                         Two International Place
                   government contract                                               Boston, MA 02110


 2.1921. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WEST TOWN, TN 2005-04-08
                                                                                     9805 West Town Mall
             List the contract number of any                                         P.O. Box 5460
                   government contract                                               Indianapolis, IN 46255


 2.1922. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WEST TOWN, TN 2005-04-08
                                                                                     9805 West Town Mall
             List the contract number of any                                         P.O. Box 5460
                   government contract                                               Indianapolis, IN 46255


 2.1923. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WEST TOWN, TN 2005-04-08
                                                                                     9805 West Town Mall
             List the contract number of any                                         P.O. Box 5460
                   government contract                                               Indianapolis, IN 46255


 2.1924. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WEST TOWN, TN 2005-04-08
                                                                                     9805 West Town Mall
             List the contract number of any                                         P.O. Box 5460
                   government contract                                               Indianapolis, IN 46255


 2.1925. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest
                                                                                     WEST TOWN, TN 2005-04-08
                  State the term remaining                                           9805 West Town Mall
                                                                                     P.O. Box 5460
             List the contract number of any                                         Indianapolis, IN 46255
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1926. State what the contract or                       Remove
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WEST TOWN, TN 2005-04-08
                                                                                     9805 West Town Mall
             List the contract number of any                                         P.O. Box 5460
                   government contract                                               Indianapolis, IN 46255


 2.1927. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1928. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1929. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1930. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1931. State what the contract or                       Store Lease Agreement
         lease is for and the nature of                                              WEST VALLEY MALL 1995-06-26
         the debtor's interest                                                       3200 NAGLEE RD. SUITE 510
                                                                                     Tracy, CA 95304
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1932. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1933. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1934. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1935. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1936. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1937. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1938. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1939. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1940. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1941. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WEST VALLEY MALL 1995-06-26
             List the contract number of any                                         3200 NAGLEE RD. SUITE 510
                   government contract                                               Tracy, CA 95304


 2.1942. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WESTLAND CENTER 2000-12-26
                                                                                     35000 WEST WARREN ROAD
             List the contract number of any                                         Westland, MI 48185
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1943. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND CENTER 2000-12-26
             List the contract number of any                                         35000 WEST WARREN ROAD
                   government contract                                               Westland, MI 48185


 2.1944. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND CENTER 2000-12-26
             List the contract number of any                                         35000 WEST WARREN ROAD
                   government contract                                               Westland, MI 48185


 2.1945. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND CENTER 2000-12-26
             List the contract number of any                                         35000 WEST WARREN ROAD
                   government contract                                               Westland, MI 48185


 2.1946. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND CENTER 2000-12-26
             List the contract number of any                                         35000 WEST WARREN ROAD
                   government contract                                               Westland, MI 48185


 2.1947. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND CENTER 2000-12-26
             List the contract number of any                                         35000 WEST WARREN ROAD
                   government contract                                               Westland, MI 48185


 2.1948. State what the contract or                       Amended Lease
         lease is for and the nature of                                              WESTLAND CENTER 2000-12-26
         the debtor's interest                                                       35000 WEST WARREN ROAD
                                                                                     Westland, MI 48185
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1949. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND CENTER 2000-12-26
             List the contract number of any                                         35000 WEST WARREN ROAD
                   government contract                                               Westland, MI 48185


 2.1950. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND MALL 2011-02-16
             List the contract number of any                                         1685 W. 49TH ST SP# 1112
                   government contract                                               Hialeah, FL 33012


 2.1951. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND MALL 2011-02-16
             List the contract number of any                                         1685 W. 49TH ST SP# 1112
                   government contract                                               Hialeah, FL 33012


 2.1952. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND MALL 2011-02-16
             List the contract number of any                                         1685 W. 49TH ST SP# 1112
                   government contract                                               Hialeah, FL 33012


 2.1953. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND MALL 2011-02-16
             List the contract number of any                                         1685 W. 49TH ST SP# 1112
                   government contract                                               Hialeah, FL 33012




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1954. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND MALL 2011-02-16
             List the contract number of any                                         1685 W. 49TH ST SP# 1112
                   government contract                                               Hialeah, FL 33012


 2.1955. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND MALL 2011-02-16
             List the contract number of any                                         1685 W. 49TH ST SP# 1112
                   government contract                                               Hialeah, FL 33012


 2.1956. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTLAND MALL 2011-02-16
             List the contract number of any                                         1685 W. 49TH ST SP# 1112
                   government contract                                               Hialeah, FL 33012


 2.1957. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTMINSTER MALL 2012-12-31
             List the contract number of any                                         1025 WESTMINSTER SP # 2016
                   government contract                                               Westminster, CA 92683


 2.1958. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTMINSTER MALL 2012-12-31
             List the contract number of any                                         1025 WESTMINSTER SP # 2016
                   government contract                                               Westminster, CA 92683


 2.1959. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WESTMINSTER MALL 2012-12-31
                                                                                     1025 WESTMINSTER SP # 2016
             List the contract number of any                                         Westminster, CA 92683
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1960. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTMINSTER MALL 2012-12-31
             List the contract number of any                                         1025 WESTMINSTER SP # 2016
                   government contract                                               Westminster, CA 92683


 2.1961. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTMINSTER MALL 2012-12-31
             List the contract number of any                                         1025 WESTMINSTER SP # 2016
                   government contract                                               Westminster, CA 92683


 2.1962. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTMINSTER MALL 2012-12-31
             List the contract number of any                                         1025 WESTMINSTER SP # 2016
                   government contract                                               Westminster, CA 92683


 2.1963. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WESTMORELAND 2003-10-31
                                                                                     CBL #0825
             List the contract number of any                                         P.O. BOX 955607
                   government contract                                               ST. LOUIS, MO 63195-5607


 2.1964. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WESTMORELAND 2003-10-31
                                                                                     CBL #0825
             List the contract number of any                                         P.O. BOX 955607
                   government contract                                               ST. LOUIS, MO 63195-5607


 2.1965. State what the contract or                       Amended Lease              WESTMORELAND 2003-10-31
         lease is for and the nature of                                              CBL #0825
         the debtor's interest                                                       P.O. BOX 955607
                                                                                     ST. LOUIS, MO 63195-5607
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1966. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WESTMORELAND 2003-10-31
                                                                                     CBL #0825
             List the contract number of any                                         P.O. BOX 955607
                   government contract                                               ST. LOUIS, MO 63195-5607


 2.1967. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WESTMORELAND 2003-10-31
                                                                                     CBL #0825
             List the contract number of any                                         P.O. BOX 955607
                   government contract                                               ST. LOUIS, MO 63195-5607


 2.1968. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTSHORE PLAZA 2007-08-24
             List the contract number of any                                         253 WEST SHORE PLAZA
                   government contract                                               Tampa, FL 33609


 2.1969. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTSHORE PLAZA 2007-08-24
             List the contract number of any                                         253 WEST SHORE PLAZA
                   government contract                                               Tampa, FL 33609


 2.1970. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WESTSHORE PLAZA 2007-08-24
             List the contract number of any                                         253 WEST SHORE PLAZA
                   government contract                                               Tampa, FL 33609




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1971. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     Westview Center FTF
             List the contract number of any                                         5748 Baltimore National Pike
                   government contract                                               Catonsville, MD 21228


 2.1972. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WHEATON PLAZA 2004-12-28
             List the contract number of any                                         11160 VIERS MILL ROAD SP1
                   government contract                                               Wheaton, MD 20902


 2.1973. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WHEATON PLAZA 2004-12-28
             List the contract number of any                                         11160 VIERS MILL ROAD SP1
                   government contract                                               Wheaton, MD 20902


 2.1974. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WHEATON PLAZA 2004-12-28
             List the contract number of any                                         11160 VIERS MILL ROAD SP1
                   government contract                                               Wheaton, MD 20902


 2.1975. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WHEATON PLAZA 2004-12-28
             List the contract number of any                                         11160 VIERS MILL ROAD SP1
                   government contract                                               Wheaton, MD 20902


 2.1976. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           WHEATON PLAZA 2004-12-28
                                                                                     11160 VIERS MILL ROAD SP1
             List the contract number of any                                         Wheaton, MD 20902
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1977. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WHEATON PLAZA 2004-12-28
             List the contract number of any                                         11160 VIERS MILL ROAD SP1
                   government contract                                               Wheaton, MD 20902


 2.1978. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WHEATON PLAZA 2004-12-28
             List the contract number of any                                         11160 VIERS MILL ROAD SP1
                   government contract                                               Wheaton, MD 20902


 2.1979. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WHITE MARSH 2013-02-06
             List the contract number of any                                         8200 PERRY HALL BLVD
                   government contract                                               Baltimore, MD 21236


 2.1980. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WILLOW BEND MALL 2006-02-03
             List the contract number of any                                         6121 W PARK BLVD SP#B-214
                   government contract                                               Plano, TX 75093


 2.1981. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WILLOW BEND MALL 2006-02-03
             List the contract number of any                                         6121 W PARK BLVD SP#B-214
                   government contract                                               Plano, TX 75093


 2.1982. State what the contract or                       Amended Lease
         lease is for and the nature of                                              WILLOW BEND MALL 2006-02-03
         the debtor's interest                                                       6121 W PARK BLVD SP#B-214
                                                                                     Plano, TX 75093
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.1983. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WILLOW BEND MALL 2006-02-03
             List the contract number of any                                         6121 W PARK BLVD SP#B-214
                   government contract                                               Plano, TX 75093


 2.1984. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining                                           Willow Grove RELO
                                                                                     2500 Moreland Road
             List the contract number of any                                         Unit 1045
                   government contract                                               Willow Grove, PA 19090


 2.1985. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WILLOWBROOK 2015-05-06
             List the contract number of any                                         1400 Willowbrook Mall
                   government contract                                               Wayne, NJ 07470


 2.1986. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WILLOWBROOK 2015-05-06
             List the contract number of any                                         1400 Willowbrook Mall
                   government contract                                               Wayne, NJ 07470


 2.1987. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WILLOWBROOK MALL-TX 2016-03-31
             List the contract number of any                                         1644 WILLOWBROOK MALL 16
                   government contract                                               Houston, TX 77070




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1988. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WILLOWBROOK MALL-TX 2016-03-31
             List the contract number of any                                         1644 WILLOWBROOK MALL 16
                   government contract                                               Houston, TX 77070


 2.1989. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WINTER GARDEN VILLAGE 2007-04-30
             List the contract number of any                                         3251 DANIELS ROAD
                   government contract                                               Winter Garden, FL 34787


 2.1990. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WINTER GARDEN VILLAGE 2007-04-30
             List the contract number of any                                         3251 DANIELS ROAD
                   government contract                                               Winter Garden, FL 34787


 2.1991. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WINTER GARDEN VILLAGE 2007-04-30
             List the contract number of any                                         3251 DANIELS ROAD
                   government contract                                               Winter Garden, FL 34787


 2.1992. State what the contract or                       Inventory Services
         lease is for and the nature of                   Agreement
         the debtor's interest
                                                                                     WIS International
                  State the term remaining                                           2560 Boulevard of the Generals
                                                                                     Building 200, Suite 224
             List the contract number of any                                         Attn: Tom Deane
                   government contract                                               Norristown, PA 19403


 2.1993. State what the contract or                       Inventory Services
         lease is for and the nature of                   Agreement
         the debtor's interest                                                       WIS International
                                                                                     2560 Boulevard of the Generals
                  State the term remaining                                           Building 200, Suite 224
                                                                                     Attn: Tom Deane
             List the contract number of any                                         Norristown, PA 19403
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.1994. State what the contract or                       Store construction
         lease is for and the nature of                   services
         the debtor's interest

                  State the term remaining
                                                                                     WJCA, Inc.
             List the contract number of any                                         763 Susquehanna Ave
                   government contract                                               Franklin, NJ 07417


 2.1995. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WOLFCHASE GALLERIA 2014-12-11
             List the contract number of any                                         2760 GERMANTOWN PKWY SP# 179
                   government contract                                               Memphis, TN 38133


 2.1996. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WOLFCHASE GALLERIA 2014-12-11
             List the contract number of any                                         2760 GERMANTOWN PKWY SP# 179
                   government contract                                               Memphis, TN 38133


 2.1997. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WOLFCHASE GALLERIA 2014-12-11
             List the contract number of any                                         2760 GERMANTOWN PKWY SP# 179
                   government contract                                               Memphis, TN 38133


 2.1998. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WOODBRIDGE 2017-04-13
             List the contract number of any                                         250 WOODBRIDGE CENTER DR SPACE 1680
                   government contract                                               Woodbridge, NJ 07095


 2.1999. State what the contract or                       Amended Lease
         lease is for and the nature of                                              WOODBRIDGE 2017-04-13
         the debtor's interest                                                       250 WOODBRIDGE CENTER DR SPACE 1680
                                                                                     Woodbridge, NJ 07095
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.2000. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WOODFIELD 2015-01-26
             List the contract number of any                                         WOODFIELD MALL SP# F-112
                   government contract                                               Schaumburg, IL 60173


 2.2001. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WOODFIELD 2015-01-26
             List the contract number of any                                         WOODFIELD MALL SP# F-112
                   government contract                                               Schaumburg, IL 60173


 2.2002. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WOODFIELD 2015-01-26
             List the contract number of any                                         WOODFIELD MALL SP# F-112
                   government contract                                               Schaumburg, IL 60173


 2.2003. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WOODFIELD 2015-01-26
             List the contract number of any                                         WOODFIELD MALL SP# F-112
                   government contract                                               Schaumburg, IL 60173


 2.2004. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     WOODLANDS, THE 2014-03-03
             List the contract number of any                                         1201 LAKE WOODLANDS SP#1023
                   government contract                                               The Woodlands, TX 77380




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 Debtor 1 Lerner New York, Inc.                                                                Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.2005. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       WOODLANDS, THE 2014-03-03
             List the contract number of any                                           1201 LAKE WOODLANDS SP#1023
                   government contract                                                 The Woodlands, TX 77380


 2.2006. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       WOODLANDS, THE 2014-03-03
             List the contract number of any                                           1201 LAKE WOODLANDS SP#1023
                   government contract                                                 The Woodlands, TX 77380


 2.2007. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       YONKERS GATEWAY 2005-08-18
             List the contract number of any                                           2500 CENTRAL PARK AVENUE
                   government contract                                                 Yonkers, NY 10710


 2.2008. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       YONKERS GATEWAY 2005-08-18
             List the contract number of any                                           2500 CENTRAL PARK AVENUE
                   government contract                                                 Yonkers, NY 10710


 2.2009. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                       YONKERS GATEWAY 2005-08-18
             List the contract number of any                                           2500 CENTRAL PARK AVENUE
                   government contract                                                 Yonkers, NY 10710


 2.2010. State what the contract or                       Insurance provider for
         lease is for and the nature of                   store associates
         the debtor's interest
                                                                                       YouDecide.com
                  State the term remaining                                             4450 River Green Pkwy
                                                                                       STE. 100-A
             List the contract number of any                                           Duluth, GA 30096
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.2011. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ZONA ROSA 2004-08-17
             List the contract number of any                                         7240 NW 86TH PLACE SP # 181
                   government contract                                               Kansas City, MO 64153


 2.2012. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ZONA ROSA 2004-08-17
             List the contract number of any                                         7240 NW 86TH PLACE SP # 181
                   government contract                                               Kansas City, MO 64153


 2.2013. State what the contract or                       Store Lease Agreement
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ZONA ROSA 2004-08-17
             List the contract number of any                                         7240 NW 86TH PLACE SP # 181
                   government contract                                               Kansas City, MO 64153


 2.2014. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ZONA ROSA 2004-08-17
             List the contract number of any                                         7240 NW 86TH PLACE SP # 181
                   government contract                                               Kansas City, MO 64153


 2.2015. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ZONA ROSA 2004-08-17
             List the contract number of any                                         7240 NW 86TH PLACE SP # 181
                   government contract                                               Kansas City, MO 64153


 2.2016. State what the contract or                       Amended Lease
         lease is for and the nature of                                              ZONA ROSA 2004-08-17
         the debtor's interest                                                       7240 NW 86TH PLACE SP # 181
                                                                                     Kansas City, MO 64153
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 Debtor 1 Lerner New York, Inc.                                                              Case number (if known)   20-18448
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.2017. State what the contract or                       Amended Lease
         lease is for and the nature of
         the debtor's interest

                  State the term remaining
                                                                                     ZONA ROSA 2004-08-17
             List the contract number of any                                         7240 NW 86TH PLACE SP # 181
                   government contract                                               Kansas City, MO 64153




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 Fill in this information to identify the case:

 Debtor name         Lerner New York GC, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)         20-18450
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Prepaid gift cards
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining
                                                                                    CPP North America, LLC
             List the contract number of any                                        5100 Gamble Dr
                   government contract                                              Minneapolis, MN 55416




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 Fill in this information to identify the case:

 Debtor name         RTW Retailwinds, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)         20-18445
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          330 WEST 34TH STREET - SLR ONLY
                                                                                    Vornado Realty Trust
             List the contract number of any                                        210 Route 4 East
                   government contract                                              Paramus, NJ 07652


 2.2.        State what the contract or                   Original Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    330 WEST 34TH STREET 2014-02-25
             List the contract number of any                                        330 WEST 34TH STREET
                   government contract                                              New York, NY 10001


 2.3.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    330 WEST 34TH STREET 2014-02-25
             List the contract number of any                                        330 WEST 34TH STREET
                   government contract                                              New York, NY 10001


 2.4.        State what the contract or                   HVAC maintenance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          ABM Systems, Inc.
                                                                                    147 West 35th Street
             List the contract number of any                                        Suite 605
                   government contract                                              New York, NY 10001




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 Debtor 1 RTW Retailwinds, Inc.                                                                Case number (if known)   20-18445
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Installment payment
             lease is for and the nature of               option
             the debtor's interest
                                                                                       AfterPay
                  State the term remaining                                             222 Kearny Street
                                                                                       Suite 600
             List the contract number of any                                           Attn: Legal
                   government contract                                                 San Fransico, CA 94108


 2.6.        State what the contract or                   Extended repayment
             lease is for and the nature of               plan online
             the debtor's interest
                                                                                       Afterpay US
                  State the term remaining                                             222 Kearny Street
                                                                                       Suite 600
             List the contract number of any                                           Attn: Legal
                   government contract                                                 San Fransico, CA 94108


 2.7.        State what the contract or                   Extended repayment
             lease is for and the nature of               plan online
             the debtor's interest
                                                                                       Afterpay US
                  State the term remaining                                             222 Kearny Street
                                                                                       Suite 600
             List the contract number of any                                           Attn: Legal
                   government contract                                                 San Fransico, CA 94108


 2.8.        State what the contract or                   LP exception reporting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Agilence
                                                                                       1020 Briggs Rd.
             List the contract number of any                                           Suite 110
                   government contract                                                 Mount Laurel, NJ 08054


 2.9.        State what the contract or                   Integrate to receipt
             lease is for and the nature of               entry type
             the debtor's interest

                  State the term remaining                                             Agilence
                                                                                       1020 Briggs Rd.
             List the contract number of any                                           Suite 110
                   government contract                                                 Mount Laurel, NJ 08054


 2.10.       State what the contract or                   SSL certificates purch
             lease is for and the nature of               for KH/LB
             the debtor's interest                        websites-serve as
                                                          secure comm on
                                                          websites                     Akamai Technologies, Inc.
                  State the term remaining                                             150 Broadway Cambridge
                                                                                       Cambridge, MA 02142
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 Debtor 1 RTW Retailwinds, Inc.                                                              Case number (if known)   20-18445
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.11.       State what the contract or                   Recruitment of a
             lease is for and the nature of               non-executive director
             the debtor's interest                        for the audit committee

                  State the term remaining                                           Allegis Partners
                                                                                     1 South Wacker Drive
             List the contract number of any                                         Suite 1750
                   government contract                                               Chicago, IL 60606


 2.12.       State what the contract or                   Set up of
             lease is for and the nature of               infrastructure/operation
             the debtor's interest                        s for SME's
                                                                                     ANSR
                  State the term remaining                                           ANSR Consulting India Private Ltd.
                                                                                     1st Floor Sunriver B Block
             List the contract number of any                                         Bangalore 560071 India
                   government contract


 2.13.       State what the contract or                   Set up of
             lease is for and the nature of               infrastructure/operation
             the debtor's interest                        s for SME's
                                                                                     ANSR Consulting India Private Ltd.
                  State the term remaining                                           Embassy Golf Links Business Park
                                                                                     1st Floor
             List the contract number of any                                         Bangalore 560071 India
                   government contract


 2.14.       State what the contract or                   Automate monitoring &
             lease is for and the nature of               alerting tasks
             the debtor's interest
                                                                                     AppDynamics
                  State the term remaining                                           AppDynamics, 303 Second Street
                                                                                     North Tower, 8th Floor
             List the contract number of any                                         Attn: Legal Department.
                   government contract                                               San Francisco, CA 94107


 2.15.       State what the contract or                   Automate monitoring &
             lease is for and the nature of               alerting tasks
             the debtor's interest

                  State the term remaining                                           AppDynamics LLC
                                                                                     303 Second Street
             List the contract number of any                                         Attn: Legal Department
                   government contract                                               San Francisco, CA 94107




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 Debtor 1 RTW Retailwinds, Inc.                                                              Case number (if known)   20-18445
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.16.       State what the contract or                   Recruiting tool for
             lease is for and the nature of               stores
             the debtor's interest

                  State the term remaining
                                                                                     Apploi Inc.
             List the contract number of any                                         26 Broadway
                   government contract                                               New York, NY 10004


 2.17.       State what the contract or                   Web design
             lease is for and the nature of               enhancement services
             the debtor's interest

                  State the term remaining
                                                                                     Army X Co LLC
             List the contract number of any                                         Army x Co LLC 5903 Tobias Ave.
                   government contract                                               Sherman Oaks, CA 91411


 2.18.       State what the contract or                   SMS/MMS Services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Attentive
                                                                                     Attentive Mobile Inc. 156 5th Ave
             List the contract number of any                                         Suite 303
                   government contract                                               New York, NY 10010


 2.19.       State what the contract or                   Influencer collaboration
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Attentive Mobile Inc.
                                                                                     Attentive Mobile Inc. 156 5th Ave
             List the contract number of any                                         Suite 303
                   government contract                                               New York, NY 10010


 2.20.       State what the contract or                   SMS/MMS Services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Attentive Mobile, Inc.
                                                                                     Attentive Mobile Inc. 156 5th Ave
             List the contract number of any                                         Suite 303
                   government contract                                               New York, NY 10010


 2.21.       State what the contract or                   Extension of MSA
             lease is for and the nature of
             the debtor's interest                                                   Axsium Group Ltd
                                                                                     77 Mowat Avenue Suite 400
                  State the term remaining                                           Attn: Legal Dept.
                                                                                     Toronto, ON M6K 3E3 Canada
             List the contract number of any
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.22.       State what the contract or                   Subj matter expertise
             lease is for and the nature of               on Ceridian Auto
             the debtor's interest                        scheduling
                                                                                      Axsium Group Ltd
                  State the term remaining                                            77 Mowat Avenue Suite 400
                                                                                      Attn: Legal Dept.
             List the contract number of any                                          Toronto, ON M6K 3E3 Canada
                   government contract


 2.23.       State what the contract or                   MSA
             lease is for and the nature of
             the debtor's interest
                                                                                      Axsium Group Ltd
                  State the term remaining                                            77 Mowat Avenue Suite 400
                                                                                      Attn: Legal Dept.
             List the contract number of any                                          Toronto, ON M6K 3E3 Canada
                   government contract


 2.24.       State what the contract or                   Financial advisor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            B. Riley FBR
                                                                                      11100 Santa Monica Blvd.
             List the contract number of any                                          Ste. 800
                   government contract                                                Los Angeles, CA 90025


 2.25.       State what the contract or                   Financial auditing
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            BDO USA, LLC
                                                                                      622 Third Ave
             List the contract number of any                                          Suite 3100
                   government contract                                                New York, NY 10017


 2.26.       State what the contract or                   Financial advisor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Berkeley Research Group
                                                                                      70 West Madison Street
             List the contract number of any                                          Suite 5000
                   government contract                                                Chicago, IL 60602


 2.27.       State what the contract or                   CRO                         Berkeley Research Group
             lease is for and the nature of                                           70 West Madison Street
             the debtor's interest                                                    Suite 5000
                                                                                      Chicago, IL 60602
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.28.       State what the contract or                   Execute media buys
             lease is for and the nature of
             the debtor's interest
                                                                                      Bliss Point Media
                  State the term remaining                                            Attn: Matt Cohen
                                                                                      233 Wilshire Blvd
             List the contract number of any                                          Suite 720
                   government contract                                                Santa Monica, CA 90401


 2.29.       State what the contract or                   Execute media buys
             lease is for and the nature of               obo company
             the debtor's interest

                  State the term remaining                                            Bliss Point Media Inc.
                                                                                      233 Wilshire Blvd
             List the contract number of any                                          Suite 720
                   government contract                                                Santa Monica, CA 90401


 2.30.       State what the contract or                   Email program
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            BlueCore
                                                                                      116 Nassau St.
             List the contract number of any                                          7th Floor
                   government contract                                                New York, NY 10038


 2.31.       State what the contract or                   Email program
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Bluecore, Inc.
                                                                                      116 Nassau St.
             List the contract number of any                                          7th Floor
                   government contract                                                New York, NY 10038


 2.32.       State what the contract or                   Renewal of emails and
             lease is for and the nature of               addition of FTF
             the debtor's interest

                  State the term remaining                                            Bluecore, Inc.
                                                                                      116 Nassau St.
             List the contract number of any                                          7th Floor
                   government contract                                                New York, NY 10038




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 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.33.       State what the contract or                   Expand trigger emails
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Bluecore, Inc.
                                                                                       116 Nassau St.
             List the contract number of any                                           7th Floor
                   government contract                                                 New York, NY 10038


 2.34.       State what the contract or                   MSA
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Bluecore, Inc.
                                                                                       116 Nassau St.
             List the contract number of any                                           7th Floor
                   government contract                                                 New York, NY 10038


 2.35.       State what the contract or                   Renew software maint
             lease is for and the nature of               & tech support svc for
             the debtor's interest                        BMC / work flow
                                                          automation &
                                                          scheduling
                  State the term remaining
                                                                                       BMC Software, Inc.
             List the contract number of any                                           2103 CityWest Blvd.
                   government contract                                                 Houston, TX 77042


 2.36.       State what the contract or                   MSA
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             BORN Group
                                                                                       Born Group, Inc. 114 West 26th Street
             List the contract number of any                                           2nd Floor
                   government contract                                                 New York, NY 10011


 2.37.       State what the contract or                   Order Form - systems
             lease is for and the nature of               integrator for discovery
             the debtor's interest                        phase

                  State the term remaining                                             BORN Group
                                                                                       Born Group, Inc. 114 West 26th Street
             List the contract number of any                                           2nd Floor
                   government contract                                                 New York, NY 10011


 2.38.       State what the contract or                   Card sorting & tree
             lease is for and the nature of               testing exercisee
             the debtor's interest                                                     BORN Group
                                                                                       Born Group, Inc. 114 West 26th Street
                  State the term remaining                                             2nd Floor
                                                                                       New York, NY 10011
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 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

             List the contract number of any
                   government contract


 2.39.       State what the contract or                   Prelim work for design
             lease is for and the nature of               and build of site
             the debtor's interest                        replatform

                  State the term remaining                                             BORN Group
                                                                                       Born Group, Inc. 114 West 26th Street
             List the contract number of any                                           2nd Floor
                   government contract                                                 New York, NY 10011


 2.40.       State what the contract or                   MSA - Digital
             lease is for and the nature of               transformation agency
             the debtor's interest

                  State the term remaining
                                                                                       Born Group Inc.
             List the contract number of any                                           114 West 26th Street
                   government contract                                                 New York, NY 10011


 2.41.       State what the contract or                   Order Form - systems
             lease is for and the nature of               integrator for discovery
             the debtor's interest                        phase

                  State the term remaining
                                                                                       Born Group Inc.
             List the contract number of any                                           114 West 26th Street
                   government contract                                                 New York, NY 10011


 2.42.       State what the contract or                   Card sorting & tree
             lease is for and the nature of               testing exercise
             the debtor's interest

                  State the term remaining
                                                                                       Born Group Inc.
             List the contract number of any                                           114 West 26th Street
                   government contract                                                 New York, NY 10011


 2.43.       State what the contract or                   Prelim work for design
             lease is for and the nature of               and build of site
             the debtor's interest                        replatform

                  State the term remaining
                                                                                       Born Group Inc.
             List the contract number of any                                           114 West 26th Street
                   government contract                                                 New York, NY 10011




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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.44.       State what the contract or                   Mobile app smart
             lease is for and the nature of               banner
             the debtor's interest

                  State the term remaining
                                                                                      Branch
             List the contract number of any                                          1400B Seaport Blvd
                   government contract                                                Redwood City, CA 94063


 2.45.       State what the contract or                   Facilitate mobile app
             lease is for and the nature of               downloads
             the debtor's interest

                  State the term remaining
                                                                                      Branch Metrics, Inc.
             List the contract number of any                                          1400B Seaport Blvd
                   government contract                                                Redwood City, CA 94063


 2.46.       State what the contract or                   Provide value-added
             lease is for and the nature of               products in ECM orders
             the debtor's interest

                  State the term remaining
                                                                                      Brandshare
             List the contract number of any                                          1125 Lancaster Ave
                   government contract                                                Berwyn, PA 19312


 2.47.       State what the contract or                   Insurance broker
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Brown & Brown Ins Svcs
             List the contract number of any                                          3697 Mt. Diablo Blvd.
                   government contract                                                Lafayette, CA 94579


 2.48.       State what the contract or                   Manpower labor for
             lease is for and the nature of               copy center/mailroom
             the debtor's interest

                  State the term remaining
                                                                                      Canon Solutions America Inc
             List the contract number of any                                          One Canon Park
                   government contract                                                Mentor, OH 44060


 2.49.       State what the contract or                   Development/configura
             lease is for and the nature of               tions of needed reports
             the debtor's interest                        for modules and
                                                          entitlements
                  State the term remaining                                            Ceridian HCM
                                                                                      3311 East Old Shakopee Road
             List the contract number of any                                          Minneapolis, MN 55425
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.50.       State what the contract or                   Amendment
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Ceridian HCM
             List the contract number of any                                         3311 East Old Shakopee Road
                   government contract                                               Minneapolis, MN 55425


 2.51.       State what the contract or                   MSA for ELM
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Ceridian HCM
             List the contract number of any                                         3311 East Old Shakopee Road
                   government contract                                               Minneapolis, MN 55425


 2.52.       State what the contract or                   eMarketing services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Cheetah Digital
                                                                                     222 Broadway
             List the contract number of any                                         17th Floor
                   government contract                                               New York, NY 60173


 2.53.       State what the contract or                   eMarketing services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Cheetah Digital
                                                                                     222 Broadway
             List the contract number of any                                         17th Floor
                   government contract                                               New York, NY 10038


 2.54.       State what the contract or                   Maint on HVAC &
             lease is for and the nature of               heating equipment -
             the debtor's interest                        various NY locations

                  State the term remaining
                                                                                     Coil Techs HVAC Svcs
             List the contract number of any                                         76 Midland Avenue.
                   government contract                                               Staten Island, NY 10306


 2.55.       State what the contract or                   Maint on HVAC &
             lease is for and the nature of               heating equipment -        Coil Techs HVAC Svcs
             the debtor's interest                        various NY locations       76 Midland Avenue.
                                                                                     Staten Island, NY 10306
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                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.56.       State what the contract or                   General water
             lease is for and the nature of               treatment services for
             the debtor's interest                        cooling tower

                  State the term remaining
                                                                                       Coil Techs/Clarity Water tech
             List the contract number of any                                           76 Midland Avenue.
                   government contract                                                 Staten Island, NY 10306


 2.57.       State what the contract or                   Legal counsel
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Cole Schotz
                                                                                       1325 Ave. of the Americas
             List the contract number of any                                           19th FL
                   government contract                                                 New York, NY 10019


 2.58.       State what the contract or                   vPayment account
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Comdata Inc.
                                                                                       5301 Maryland Way
             List the contract number of any                                           Attn: President
                   government contract                                                 Brentwood, TN 37027


 2.59.       State what the contract or                   Bonus Pymts
             lease is for and the nature of               Commission
             the debtor's interest

                  State the term remaining                                             Comenity Bank
                                                                                       Comenity Bank One Righter Parkway
             List the contract number of any                                           Suite 100
                   government contract                                                 Wilmington, OH 43219-3673


 2.60.       State what the contract or                   CJ Affiliate Service
             lease is for and the nature of               Order & Svcs
             the debtor's interest                        Agreement
                                                                                       Commission Junction, LLC
                  State the term remaining                                             Attn: Legal Affairs
                                                                                       30699 Russell Ranch Road
             List the contract number of any                                           Suite 250
                   government contract                                                 Westlake Village, CA 91362




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 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.61.       State what the contract or                   Advertiser's program
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Commission Junction, LLC
                                                                                         530 E Montecito St
             List the contract number of any                                             Suite 250
                   government contract                                                   Santa Barbra, CA 93103


 2.62.       State what the contract or                   Extended payment
             lease is for and the nature of               terms
             the debtor's interest

                  State the term remaining                                               Commission Junction, LLC
                                                                                         530 E Montecito St
             List the contract number of any                                             Suite 250
                   government contract                                                   Santa Barbra, CA 93103


 2.63.       State what the contract or                   CJ Affiliate Service
             lease is for and the nature of               Order & Svcs
             the debtor's interest                        Agreement

                  State the term remaining                                               Commission Junction, LLC
                                                                                         530 E Montecito St
             List the contract number of any                                             Suite 250
                   government contract                                                   Santa Barbra, CA 93103


 2.64.       State what the contract or                   Required local, state &
             lease is for and the nature of               fed posters to all store
             the debtor's interest                        locations

                  State the term remaining
                                                                                         ComplyRight, Inc.
             List the contract number of any                                             3300 Gateway Drive Pompano Beach
                   government contract                                                   Pompano Beach, FL 33069


 2.65.       State what the contract or                   File design for ESPP
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Computershare
                                                                                         118 Fernwood Avenue
             List the contract number of any                                             Attn: John C. Lusk
                   government contract                                                   Edison, NJ 08837


 2.66.       State what the contract or                   Marketing project mgmt
             lease is for and the nature of               tool
             the debtor's interest
                                                                                         Concrete Media Limited
                  State the term remaining                                               Concrete Media Ltd. 9 Northburgh Street
                                                                                         London EC1V 0AH United Kingdom
             List the contract number of any
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.67.       State what the contract or                   software used for
             lease is for and the nature of               invoice/exp report
             the debtor's interest                        processing

                  State the term remaining
                                                                                       Concur Technologies, Inc.
             List the contract number of any                                           3999 West Chester Pike
                   government contract                                                 Newtown Square, PA 19073


 2.68.       State what the contract or                   MSA - software used
             lease is for and the nature of               for invoice/exp report
             the debtor's interest                        processing

                  State the term remaining
                                                                                       Concur Technologies, Inc.
             List the contract number of any                                           3999 West Chester Pike
                   government contract                                                 Newtown Square, PA 19073


 2.69.       State what the contract or                   Execute new card
             lease is for and the nature of               member acq thru
             the debtor's interest                        display mktg
                                                          campaigns
                  State the term remaining                                             Conversant LLC
                                                                                       101 N. Wacker Dr.
             List the contract number of any                                           Ste. 2300
                   government contract                                                 Chicago, IL 60606


 2.70.       State what the contract or                   Enterprise as primary
             lease is for and the nature of               rental car provider
             the debtor's interest

                  State the term remaining                                             CoreTrust
                                                                                       1100 Dr. Martin Luther King Jr. Blvd.
             List the contract number of any                                           10th Floor
                   government contract                                                 Nashville, TN 37203


 2.71.       State what the contract or                   Apparel products /
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining
                                                                                       Corey Lynn Calter
             List the contract number of any                                           719 South Los Angeles Street #807
                   government contract                                                 Los Angeles, CA 90014


 2.72.       State what the contract or                   Ecommerce paid               Crealytics
             lease is for and the nature of               search channel               433 Broadway
             the debtor's interest                                                     Attn: Andreas Reiffen
                                                                                       New York, NY 10001
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 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.73.       State what the contract or                   Support the paid
             lease is for and the nature of               search channel
             the debtor's interest

                  State the term remaining                                              Crealytics, Inc.
                                                                                        433 Broadway
             List the contract number of any                                            Attn: Andreas Reiffen
                   government contract                                                  New York, NY 10001


 2.74.       State what the contract or                   Amendment
             lease is for and the nature of               non-solicitation of
             the debtor's interest                        hiring of Anurag Doma

                  State the term remaining                                              DataFactZ
                                                                                        22260 Haggerty Road
             List the contract number of any                                            Ste. 285
                   government contract                                                  Northville, MI 48167


 2.75.       State what the contract or                   Direct to store courier
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining
                                                                                        DHL Express USA
             List the contract number of any                                            15-31 Papetti Plaza
                   government contract                                                  Elizabeth, NJ 07206


 2.76.       State what the contract or                   Zip code locator
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Digital Envoy
                                                                                        155 Technology Parkway
             List the contract number of any                                            Suite 800
                   government contract                                                  Norcross, GA 30092


 2.77.       State what the contract or                   Online services - buy
             lease is for and the nature of               online ISPU -
             the debtor's interest                        customers' closest
                                                          location to store
                  State the term remaining                                              Digital Envoy, Inc.
                                                                                        155 Technology Parkway
             List the contract number of any                                            Suite 800
                   government contract                                                  Norcross, GA 30092




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 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.78.       State what the contract or                   Customer decision
             lease is for and the nature of               journey work
             the debtor's interest

                  State the term remaining
                                                                                       Digital Prophets Network
             List the contract number of any                                           56 Squaw Road
                   government contract                                                 East Hampton, NY 11937


 2.79.       State what the contract or                   Customer decision
             lease is for and the nature of               journey work
             the debtor's interest

                  State the term remaining
                                                                                       Digital Prophets Network LLC
             List the contract number of any                                           56 Squaw Road
                   government contract                                                 East Hampton, NY 11937


 2.80.       State what the contract or                   In-store music svc for
             lease is for and the nature of               all store locations
             the debtor's interest

                  State the term remaining                                             DMX, LLC (dba Mood Media)
                                                                                       2100 S IH 35 Frontage Rd.
             List the contract number of any                                           Suite 200
                   government contract                                                 Austin, TX 78704


 2.81.       State what the contract or                   Picks up swatches &
             lease is for and the nature of               recycles
             the debtor's interest

                  State the term remaining
                                                                                       Fabscrap
             List the contract number of any                                           PO Box 7559
                   government contract                                                 New York, NY 10150


 2.82.       State what the contract or                   Executive development
             lease is for and the nature of               - T. Inglis
             the debtor's interest
                                                                                       G.H. Smart & Company, Inc.
                  State the term remaining                                             Attn: Contracting Department
                                                                                       203 North LaSalle Street
             List the contract number of any                                           Suite 2100
                   government contract                                                 Chicago, IL 60601


 2.83.       State what the contract or                   Renewal of legal
             lease is for and the nature of               database
             the debtor's interest

                  State the term remaining                                             Gartner, Inc.
                                                                                       56 Top Gallant Road
             List the contract number of any                                           Stamford, CT 06904
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.84.       State what the contract or                   SOW - migration of
             lease is for and the nature of               VPN
             the debtor's interest
                                                                                       Gotham Technology Group
                  State the term remaining                                             Attn: Kenneth W. Phelan
                                                                                       1 Paragon Drive
             List the contract number of any                                           Suite 200
                   government contract                                                 Montvale, NJ 07645


 2.85.       State what the contract or                   Provides app
             lease is for and the nature of               whitelisting & CB
             the debtor's interest                        response
                                                                                       Gotham Technology Group
                  State the term remaining                                             Attn: Kenneth W. Phelan
                                                                                       1 Paragon Drive
             List the contract number of any                                           Suite 200
                   government contract                                                 Montvale, NJ 07645


 2.86.       State what the contract or                   Support contract
             lease is for and the nature of               renewal for Vmware
             the debtor's interest                        virtual infrastructure
                                                                                       Gotham Technology Group
                  State the term remaining                                             Attn: Kenneth W. Phelan
                                                                                       1 Paragon Drive
             List the contract number of any                                           Suite 200
                   government contract                                                 Montvale, NJ 07645


 2.87.       State what the contract or                   MSA
             lease is for and the nature of
             the debtor's interest
                                                                                       Gotham Technology Group
                  State the term remaining                                             Attn: Kenneth W. Phelan
                                                                                       1 Paragon Drive
             List the contract number of any                                           Suite 200
                   government contract                                                 Montvale, NJ 07645


 2.88.       State what the contract or                   Manage personal
             lease is for and the nature of               property tax
             the debtor's interest                        compliance

                  State the term remaining                                             Grant Thornton LLP
                                                                                       171 North Clark
             List the contract number of any                                           Suite 200
                   government contract                                                 Chicago, IL 60601


 2.89.       State what the contract or                   Exclusive agent for       Great American Group
             lease is for and the nature of               liquidating store         Attention: Scott K. Carpenter and
             the debtor's interest                        merchandise & FFE         Marina Fineman
                                                                                    21255 Burbank Blvd., Suite 400
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.90.       State what the contract or                   Handyman services for
             lease is for and the nature of               BHQ
             the debtor's interest

                  State the term remaining                                            Guardian Building Services
                                                                                      280 Madison Avenue
             List the contract number of any                                          Suite 710
                   government contract                                                New York, NY 10016


 2.91.       State what the contract or                   Devlop/support of IBM
             lease is for and the nature of               Sterling OMS
             the debtor's interest

                  State the term remaining
                                                                                      HCL America, Inc.
             List the contract number of any                                          330 Potrero Avenue
                   government contract                                                Sunnyvale, CA 94085


 2.92.       State what the contract or                   MSA
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      HCL America, Inc.
             List the contract number of any                                          330 Potrero Avenue
                   government contract                                                Sunnyvale, CA 94085


 2.93.       State what the contract or                   Compliance contract
             lease is for and the nature of               advisor
             the debtor's interest

                  State the term remaining                                            Henries, PLLC
                                                                                      60 West 23rd Street
             List the contract number of any                                          No. 438
                   government contract                                                New York, NY 10010


 2.94.       State what the contract or                   Amended lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            HP Inc.
                                                                                      200 Connell Drive
             List the contract number of any                                          Suite 5000
                   government contract                                                Berkeley Heights, NJ 07922




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.95.       State what the contract or                   Mail & production
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining                                           Innovative Service Technology
                                                                                     Management Services, Inc.
             List the contract number of any                                         934 Glenwood Ave., Suite 250
                   government contract                                               Atlanta, GA 30316


 2.96.       State what the contract or                   Insurance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Insurance Office of America
                                                                                     15A Melanie Lane
             List the contract number of any                                         Suite 1
                   government contract                                               East Hanover, NJ 07936


 2.97.       State what the contract or                   Class action settlement
             lease is for and the nature of
             the debtor's interest
                                                                                     KCC Class Action Svcs
                  State the term remaining                                           c/o Meegan Brooks, Steptoe & Johnson LLP
                                                                                     1 Market Street
             List the contract number of any                                         Suite 1800
                   government contract                                               San Fransico, CA 94105


 2.98.       State what the contract or                   Conflicts counsel
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Kenneth L. Baum LLC
             List the contract number of any                                         167 Main Street
                   government contract                                               Hackensack, NJ 07601


 2.99.       State what the contract or                   Software upgrade
             lease is for and the nature of               consulting
             the debtor's interest
                                                                                     Kentico Software, LLC
                  State the term remaining                                           15 Constitution Drive,
                                                                                     Attn: Legal Counsel
             List the contract number of any                                         Suite 2G
                   government contract                                               Bedford, NH 03110


 2.100.      State what the contract or                   Annual
             lease is for and the nature of               inspection/maint of
             the debtor's interest                        elevator at Jamaica
                                                          store
                  State the term remaining                                           Kone Inc.
                                                                                     47-36th Street
             List the contract number of any                                         Long Island, NY 11101
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.101.      State what the contract or                   Annual income tax
             lease is for and the nature of               returns consultant
             the debtor's interest

                  State the term remaining                                           KPMG LLP
                                                                                     345 Park Ave.
             List the contract number of any                                         Attn: Jeffrey Stagg
                   government contract                                               New York, NY 10154


 2.102.      State what the contract or                   Vehicle Lease
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                           Lease Plan USA
                                                                                     1165 Sanctuary Pkwy
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               Alpharetta, GA 30004


 2.103.      State what the contract or                   1st amend- leasing &
             lease is for and the nature of               mgmt of field assoc
             the debtor's interest                        vehicle fleet

                  State the term remaining                                           Lease Plan USA
                                                                                     1165 Sanctuary Pkwy
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               Alpharetta, GA 30004


 2.104.      State what the contract or                   2nd amend- leasing &
             lease is for and the nature of               mgmt of field assoc
             the debtor's interest                        vehicle fleet

                  State the term remaining                                           Lease Plan USA
                                                                                     1165 Sanctuary Pkwy
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               Alpharetta, GA 30004


 2.105.      State what the contract or                   3rd Amend- leasing &
             lease is for and the nature of               mgmt of Field assoc
             the debtor's interest                        vehicle fleet

                  State the term remaining                                           Lease Plan USA
                                                                                     1165 Sanctuary Pkwy
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               Alpharetta, GA 30004


 2.106.      State what the contract or                   extends payment date       Lease Plan USA, Inc.
             lease is for and the nature of                                          1165 Sanctuary Pkwy
             the debtor's interest                                                   Attn: General Counsel
                                                                                     Alpharetta, GA 30004
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 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.107.      State what the contract or                   Corporate Subscription
             lease is for and the nature of               Agreement (primary
             the debtor's interest                        talent acquisition tool)

                  State the term remaining                                              LinkedIn
                                                                                        1000 West Maude Avenue
             List the contract number of any                                            Attn: Johanna Treffy
                   government contract                                                  Sunnyvale, CA 94085


 2.108.      State what the contract or                   Renewal
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              LinkedIn
                                                                                        1000 West Maude Avenue
             List the contract number of any                                            Attn: Johanna Treffy
                   government contract                                                  Sunnyvale, CA 94085


 2.109.      State what the contract or                   IT Contingency based
             lease is for and the nature of               recruiting
             the debtor's interest

                  State the term remaining                                              MEA Strategic Solutions
                                                                                        5847 San Felipe St.
             List the contract number of any                                            #1700
                   government contract                                                  Houston, TX 77057


 2.110.      State what the contract or                   Direct mail advertising
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining
                                                                                        Media Horizons LLC
             List the contract number of any                                            800 Connecticut Avenue
                   government contract                                                  Norwalk, CT 06854


 2.111.      State what the contract or                   Media deployment to
             lease is for and the nature of               Hearst audience
             the debtor's interest

                  State the term remaining
                                                                                        Media Horizons LLC
             List the contract number of any                                            800 Connecticut Avenue
                   government contract                                                  Norwalk, CT 06854




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 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.112.      State what the contract or                   Order Confirmation and
             lease is for and the nature of               MSA
             the debtor's interest

                  State the term remaining                                               Meltwater News US Inc.
                                                                                         225 Bush St.
             List the contract number of any                                             Suite 1000
                   government contract                                                   San Fransico, CA 94104


 2.113.      State what the contract or                   Extension
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Meltwater News US Inc.
                                                                                         225 Bush St.
             List the contract number of any                                             Suite 1000
                   government contract                                                   San Fransico, CA 94104


 2.114.      State what the contract or                   Order Confirmation-
             lease is for and the nature of               social media
             the debtor's interest                        scheduling

                  State the term remaining                                               Meltwater News US Inc.
                                                                                         225 Bush St.
             List the contract number of any                                             Suite 1000
                   government contract                                                   San Fransico, CA 94104


 2.115.      State what the contract or                   PR monitoring
             lease is for and the nature of               tool/social influencer
             the debtor's interest                        contact mgr tool

                  State the term remaining                                               Meltwater News US Inc.
                                                                                         225 Bush St.
             List the contract number of any                                             Suite 1000
                   government contract                                                   San Fransico, CA 94104


 2.116.      State what the contract or                   Direct mail database
             lease is for and the nature of               platform
             the debtor's interest

                  State the term remaining                                               Merkle Inc.
                                                                                         7001 Columbia Gateway Drive
             List the contract number of any                                             Attn: Chief Financial Officer
                   government contract                                                   Columbia, MD 21046


 2.117.      State what the contract or                   Verification integration
             lease is for and the nature of               w/our 3rd party service
             the debtor's interest                        provider, OneTrust
                                                                                         Merkle Inc.
                  State the term remaining                                               7001 Columbia Gateway Drive
                                                                                         Attn: Chief Financial Officer
             List the contract number of any                                             Columbia, MD 21046
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 Debtor 1 RTW Retailwinds, Inc.                                                                Case number (if known)   20-18445
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.118.      State what the contract or                   Extended payment
             lease is for and the nature of               terms
             the debtor's interest

                  State the term remaining                                             Merkle Inc.
                                                                                       7001 Columbia Gateway Drive
             List the contract number of any                                           Attn: Chief Financial Officer
                   government contract                                                 Columbia, MD 21046


 2.119.      State what the contract or                   reduce commission for
             lease is for and the nature of               sale/purchase of RTWI
             the debtor's interest                        stock
                                                                                       Merrill Lynch
                  State the term remaining                                             65 East State Street
                                                                                       Suite 2600
             List the contract number of any                                           Attn: Cindy Elmore
                   government contract                                                 Columbus, OH 43215


 2.120.      State what the contract or                   Software license keys
             lease is for and the nature of               for all purchased
             the debtor's interest                        licenses

                  State the term remaining
                                                                                       MicroStrategy Services Corp
             List the contract number of any                                           1861 International Drive
                   government contract                                                 McLean, VA 22102


 2.121.      State what the contract or                   Add Hyperintelligence
             lease is for and the nature of               licenses
             the debtor's interest

                  State the term remaining
                                                                                       MicroStrategy Services Corp
             List the contract number of any                                           1861 International Drive
                   government contract                                                 McLean, VA 22102


 2.122.      State what the contract or                   Add transactional svcs
             lease is for and the nature of               to to suite of tools
             the debtor's interest

                  State the term remaining
                                                                                       MicroStrategy Services Corp
             List the contract number of any                                           1861 International Drive
                   government contract                                                 McLean, VA 22102


 2.123.      State what the contract or                   Dev/support svcs for
             lease is for and the nature of               mulesoft ESB/omni            Miracle Software Systems
             the debtor's interest                        systems                      45625 Grand River Avenue
                                                                                       Novi, MI 48374
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.124.      State what the contract or                   Dev/support svcs for
             lease is for and the nature of               mulesoft ESB/omni
             the debtor's interest                        systems

                  State the term remaining
                                                                                       Miracle Software Systems, Inc.
             List the contract number of any                                           45625 Grand River Avenue
                   government contract                                                 Novi, MI 48374


 2.125.      State what the contract or                   MA
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Miracle Software Systems, Inc.
             List the contract number of any                                           45625 Grand River Avenue
                   government contract                                                 Novi, MI 48374


 2.126.      State what the contract or                   Renewal of licenses
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Mulesoft - Licenses
                                                                                       Mulesoft LLC, 50 Freemont Street
             List the contract number of any                                           Suite 300
                   government contract                                                 San Francisco, CA 94105


 2.127.      State what the contract or                   Original agreement-
             lease is for and the nature of               training platfrom for
             the debtor's interest                        field team

                  State the term remaining                                             Multimedia Plus, Inc.
                                                                                       853 Broadway
             List the contract number of any                                           Suite 1605
                   government contract                                                 New York, NY 10003


 2.128.      State what the contract or                   Renewal- training
             lease is for and the nature of               platform for the field
             the debtor's interest                        team

                  State the term remaining                                             Multimedia Plus, Inc.
                                                                                       853 Broadway
             List the contract number of any                                           Suite 1605
                   government contract                                                 New York, NY 10003




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.129.      State what the contract or                   MSA- implementation
             lease is for and the nature of               and configuration of
             the debtor's interest                        new ediscovery and
                                                          compliance software
                                                          suite and provide
                                                          training
                  State the term remaining                                           NetX Information Systems, Inc.
                                                                                     13 North Union Street
             List the contract number of any                                         Attn: Keith Saltstein
                   government contract                                               Lamertville, NJ 08530


 2.130.      State what the contract or                   Load testing svc for
             lease is for and the nature of               Ecom site
             the debtor's interest
                                                                                     Neustar (Security Services LLC)
                  State the term remaining                                           Security Services, LLC
                                                                                     21575 Ridgetop Circle
             List the contract number of any                                         Attention: General Consel
                   government contract                                               Sterling, VA 20166


 2.131.      State what the contract or                   MSA-overnight site
             lease is for and the nature of               operations and support
             the debtor's interest
                                                                                     nvizion solutions, inc.
                  State the term remaining                                           100 Illinois Street
                                                                                     Suite 200
             List the contract number of any                                         Attn: Manoj Bubna
                   government contract                                               Charles, IL 60174


 2.132.      State what the contract or                   SOW- perform
             lease is for and the nature of               overnight processing
             the debtor's interest                        of ECM content
                                                          updates                    nvizion solutions, inc.
                  State the term remaining                                           100 Illinois Street
                                                                                     Suite 200
             List the contract number of any                                         Attn: Manoj Bubna
                   government contract                                               Charles, IL 60174


 2.133.      State what the contract or                   Cloud Deployment
             lease is for and the nature of               Order Form and
             the debtor's interest                        Implementation and
                                                          Vendor Chasing SOW
                  State the term remaining
                                                                                     OneTrust LLC
             List the contract number of any                                         1200 Abernathy RD NE
                   government contract                                               Atlanta, GA 30328


 2.134.      State what the contract or                   Extension of license for
             lease is for and the nature of               vendor risk
             the debtor's interest                        management services        OneTrust LLC
                                                                                     1200 Abernathy RD NE
                  State the term remaining                                           Atlanta, GA 30328
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


 2.135.      State what the contract or                   perform POC on an
             lease is for and the nature of               alternative cloud-based
             the debtor's interest                        data w/h solution

                  State the term remaining                                           Onica Group, LLC
                                                                                     1618 Stanford Street
             List the contract number of any                                         Attn: Legal Department
                   government contract                                               Santa Monica, CA 90404


 2.136.      State what the contract or                   A/B testing and
             lease is for and the nature of               personalization
             the debtor's interest                        platform
                                                                                     Optimizely, Inc.
                  State the term remaining                                           Optimizely, Inc. 631 Howard Street
                                                                                     Suite 100
             List the contract number of any                                         Attn: Legal Department
                   government contract                                               San Francisco, CA 94105


 2.137.      State what the contract or                   DXO Services
             lease is for and the nature of
             the debtor's interest
                                                                                     Optimizely, Inc.
                  State the term remaining                                           Attn: Legal Department
                                                                                     631 Howard Street
             List the contract number of any                                         Suite 100
                   government contract                                               San Fransico, CA 94065


 2.138.      State what the contract or                   License and services
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining                                           Oracle America, Inc.
                                                                                     500 Oracle Parkway
             List the contract number of any                                         Attn: General Counsel, Legal Department
                   government contract                                               Redwood Shores, CA 94065


 2.139.      State what the contract or                   Implement a new
             lease is for and the nature of               cloud-based fin rptg
             the debtor's interest                        tool

                  State the term remaining                                           Oracle America, Inc.
                                                                                     500 Oracle Parkway
             List the contract number of any                                         Attn: General Counsel, Legal Department
                   government contract                                               Redwood Shores, CA 94065




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.140.      State what the contract or                   Ongoing
             lease is for and the nature of               features/support of the
             the debtor's interest                        POS sys

                  State the term remaining                                              Oracle America, Inc.
                                                                                        500 Oracle Parkway
             List the contract number of any                                            Attn: General Counsel, Legal Department
                   government contract                                                  Redwood Shores, CA 94065


 2.141.      State what the contract or                   Renewal of Oracle
             lease is for and the nature of               Hosting Services
             the debtor's interest

                  State the term remaining                                              Oracle America, Inc.
                                                                                        500 Oracle Parkway
             List the contract number of any                                            Attn: General Counsel, Legal Department
                   government contract                                                  Redwood Shores, CA 94065


 2.142.      State what the contract or                   Amend w/Mobile App
             lease is for and the nature of               SAAS platform provider
             the debtor's interest
                                                                                        PredictSpring
                  State the term remaining                                              Attn: Nitin Mangtani
                                                                                        5050 El Camino Real
             List the contract number of any                                            Suite 116
                   government contract                                                  Los Altos, CA 94022


 2.143.      State what the contract or                   Customer Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                        PredictSpring
                  State the term remaining                                              Attn: Nitin Mangtani
                                                                                        5050 El Camino Real
             List the contract number of any                                            Suite 116
                   government contract                                                  Los Altos, CA 94022


 2.144.      State what the contract or                   Amend w/Mobile App
             lease is for and the nature of               SAAS platform provider
             the debtor's interest
                                                                                        PredictSpring
                  State the term remaining                                              Attn: Nitin Mangtani
                                                                                        5050 El Camino Real
             List the contract number of any                                            Suite 116
                   government contract                                                  Los Altos, CA 94022


 2.145.      State what the contract or                   Claims agent
             lease is for and the nature of
             the debtor's interest                                                      Prime Clerk LLC
                                                                                        60 East 42nd Street
                  State the term remaining                                              Suite 1440
                                                                                        Attn: Shai Waisman
             List the contract number of any                                            New York, NY 10165
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.146.      State what the contract or                   MSA- ECM website
             lease is for and the nature of               enhancements and
             the debtor's interest                        support svcs
                                                                                     Professional Access Ltd
                  State the term remaining                                           55 Broad Street
                                                                                     30th Floor
             List the contract number of any                                         Attn: Ashu Chalal
                   government contract                                               New York, NY 10004


 2.147.      State what the contract or                   SOW- ECM website
             lease is for and the nature of               enhancements &
             the debtor's interest                        support svcs
                                                                                     Professional Access Ltd
                  State the term remaining                                           55 Broad Street
                                                                                     30th Floor
             List the contract number of any                                         Attn: Ashu Chalal
                   government contract                                               New York, NY 10004


 2.148.      State what the contract or                   Maint. For data room
             lease is for and the nature of               equipment
             the debtor's interest

                  State the term remaining
                                                                                     Quality Uptime Svcs
             List the contract number of any                                         50 Pocono Road
                   government contract                                               Brookfield, CT 06804


 2.149.      State what the contract or                   live chat
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Radial, Inc.
                                                                                     935 First Avenue
             List the contract number of any                                         Attn: Kim Smith Glisson
                   government contract                                               King of Prussia, PA 19406


 2.150.      State what the contract or                   SOW for Shipping
             lease is for and the nature of               Services
             the debtor's interest

                  State the term remaining                                           Radial, Inc.
                                                                                     935 First Avenue
             List the contract number of any                                         Attn: Kim Smith Glisson
                   government contract                                               King of Prussia, PA 19406


 2.151.      State what the contract or                   SOW- ecommerce             Radial, Inc.
             lease is for and the nature of               fulfillment,               935 First Avenue
             the debtor's interest                        customer/shipping          Attn: Kim Smith Glisson
                                                          service                    King of Prussia, PA 19406
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.152.      State what the contract or                   MSA- ecommerce
             lease is for and the nature of               fulfillment,
             the debtor's interest                        customer/shipping
                                                          service
                  State the term remaining                                             Radial, Inc.
                                                                                       935 First Avenue
             List the contract number of any                                           Attn: Kim Smith Glisson
                   government contract                                                 King of Prussia, PA 19406


 2.153.      State what the contract or                   Renewal of all
             lease is for and the nature of               agreements-
             the debtor's interest                        ecommerce fulfillment,
                                                          customer/shipping
                                                          service
                  State the term remaining                                             Radial, Inc.
                                                                                       935 First Avenue
             List the contract number of any                                           Attn: Kim Smith Glisson
                   government contract                                                 King of Prussia, PA 19406


 2.154.      State what the contract or                   Switch from UPS to
             lease is for and the nature of               FedEx
             the debtor's interest

                  State the term remaining                                             Radial, Inc.
                                                                                       935 First Avenue
             List the contract number of any                                           Attn: Kim Smith Glisson
                   government contract                                                 King of Prussia, PA 19406


 2.155.      State what the contract or                   HxN campaign-donate
             lease is for and the nature of               portion of sales to the
             the debtor's interest                        wildfires in the Amazon

                  State the term remaining
                                                                                       Rainforest Trust, Inc.
             List the contract number of any                                           PO Box 841
                   government contract                                                 Warrenton, VA 20188


 2.156.      State what the contract or                   Subject matter experts
             lease is for and the nature of               to assist with system
             the debtor's interest                        moves

                  State the term remaining                                             Retail Processing Engineering, LLC
                                                                                       20537 Amberfield Dr.
             List the contract number of any                                           Attn: Robert A. Henneke
                   government contract                                                 Land O' Lakes, FL 34638


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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.157.      State what the contract or                   Support of JDA app,
             lease is for and the nature of               enterprise plng, & IP
             the debtor's interest

                  State the term remaining                                             Retail Processing Engineering, LLC
                                                                                       20537 Amberfield Dr.
             List the contract number of any                                           Attn: Robert A. Henneke
                   government contract                                                 Land O' Lakes, FL 34638


 2.158.      State what the contract or                   Support of JDA app,
             lease is for and the nature of               enterprise plng, & IP
             the debtor's interest

                  State the term remaining                                             Retail Processing Engineering, LLC
                                                                                       20537 Amberfield Dr.
             List the contract number of any                                           Attn: Robert A. Henneke
                   government contract                                                 Land O' Lakes, FL 34638


 2.159.      State what the contract or                   MSA- provide 3rd party
             lease is for and the nature of               ind inv acct'g svcs
             the debtor's interest

                  State the term remaining                                             RGIS, LLC
                                                                                       2000 East Taylor Road
             List the contract number of any                                           Attn: Office of General Counsel
                   government contract                                                 Auburn Hills, MI 48326


 2.160.      State what the contract or                   Provide 3rd party ind
             lease is for and the nature of               inv acct'g svcs
             the debtor's interest

                  State the term remaining                                             RGIS, LLC
                                                                                       2000 East Taylor Road
             List the contract number of any                                           Attn: Office of General Counsel
                   government contract                                                 Auburn Hills, MI 48326


 2.161.      State what the contract or                   tech support of lotus
             lease is for and the nature of               notes enterprise
             the debtor's interest

                  State the term remaining                                             RockTeam
                                                                                       PO Box 57
             List the contract number of any                                           Attn: Doug Morrison
                   government contract                                                 Exton, PA 19341


 2.162.      State what the contract or                   Email service provider
             lease is for and the nature of
             the debtor's interest
                                                                                       Sailthru
                  State the term remaining                                             Sailthru, Inc., One World Trade Center
                                                                                       Suite 48A
             List the contract number of any                                           New York, NY 10007
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.163.      State what the contract or                   Order Form-email
             lease is for and the nature of               service provider
             the debtor's interest
                                                                                     Sailthru, Inc.
                  State the term remaining                                           One World Trade Center
                                                                                     Suite 48A
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               New York, NY 10007


 2.164.      State what the contract or                   SOW-email service
             lease is for and the nature of               provider to replace
             the debtor's interest                        Cheetah mail
                                                                                     Sailthru, Inc.
                  State the term remaining                                           One World Trade Center
                                                                                     Suite 48A
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               New York, NY 10007


 2.165.      State what the contract or                   MSA- email service
             lease is for and the nature of               provider to replace
             the debtor's interest                        Cheetah mail
                                                                                     Sailthru, Inc.
                  State the term remaining                                           One World Trade Center
                                                                                     Suite 48A
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               New York, NY 10007


 2.166.      State what the contract or                   Commerce cloud
             lease is for and the nature of               platform training
             the debtor's interest
                                                                                     salesforce.com
                  State the term remaining                                           Attn: Sales Operations
                                                                                     415 Mission Street
             List the contract number of any                                         3rd Floor
                   government contract                                               San Francisco, CA 94105


 2.167.      State what the contract or                   commerce cloud
             lease is for and the nature of               platform training
             the debtor's interest
                                                                                     salesforce.com
                  State the term remaining                                           415 Mission Street
                                                                                     3rd Floor
             List the contract number of any                                         Attn: Sales Operations
                   government contract                                               San Fransico, CA 94105


 2.168.      State what the contract or                   Shift from data center    salesforce.com, inc.
             lease is for and the nature of               to cloud-based solution   Attn: Sales Operations
             the debtor's interest                                                  415 Mission Street
                                                                                    3rd Floor
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                                                                                     Unexpired      CA 94105
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.169.      State what the contract or                   Shifting to a
             lease is for and the nature of               cloud-based solution
             the debtor's interest
                                                                                      salesforce.com, Inc.
                  State the term remaining                                            Attn: Sales Operations
                                                                                      415 Mission Street
             List the contract number of any                                          3rd Floor
                   government contract                                                San Francisco, CA 94105


 2.170.      State what the contract or                   MSA - shift from data
             lease is for and the nature of               center to cloud-based
             the debtor's interest                        solution
                                                                                      salesforce.com, Inc.
                  State the term remaining                                            Attn: Sales Operations
                                                                                      415 Mission Street
             List the contract number of any                                          3rd Floor
                   government contract                                                San Francisco, CA 94105


 2.171.      State what the contract or                   Shift from data center
             lease is for and the nature of               to cloud-based solution
             the debtor's interest
                                                                                      salesforce.com, inc.
                  State the term remaining                                            415 Mission Street
                                                                                      3rd Floor
             List the contract number of any                                          Attn: Sales Operations
                   government contract                                                San Fransico, CA 94105


 2.172.      State what the contract or                   Shifting to a
             lease is for and the nature of               cloud-based solution
             the debtor's interest
                                                                                      salesforce.com, Inc.
                  State the term remaining                                            415 Mission Street
                                                                                      3rd Floor
             List the contract number of any                                          Attn: Sales Operations
                   government contract                                                San Fransico, CA 94105


 2.173.      State what the contract or                   MSA - shift from data
             lease is for and the nature of               center to cloud-based
             the debtor's interest                        solution
                                                                                      salesforce.com, Inc.
                  State the term remaining                                            415 Mission Street
                                                                                      3rd Floor
             List the contract number of any                                          Attn: Sales Operations
                   government contract                                                San Fransico, CA 94105




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 Debtor 1 RTW Retailwinds, Inc.                                                               Case number (if known)   20-18445
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.174.      State what the contract or                   Security/compliance
             lease is for and the nature of               evaluation of our
             the debtor's interest                        systems, policies

                  State the term remaining                                            Secureworks, Inc.
                                                                                      One Concourse Parkway
             List the contract number of any                                          Suite 500
                   government contract                                                Atlanta, GA 30328


 2.175.      State what the contract or                   MSA- load testing svc
             lease is for and the nature of               for Ecom site
             the debtor's interest

                  State the term remaining                                            Security Services, LLC (Neustar)
                                                                                      21575 Ridgetop Circle
             List the contract number of any                                          Attn: General Counsel
                   government contract                                                Sterling, VA 20166


 2.176.      State what the contract or                   Load testing svc for
             lease is for and the nature of               Ecom site
             the debtor's interest

                  State the term remaining                                            Security Services, LLC (Neustar)
                                                                                      21575 Ridgetop Circle
             List the contract number of any                                          Attn: General Counsel
                   government contract                                                Sterling, VA 20166


 2.177.      State what the contract or                   Optimized solution
             lease is for and the nature of               implementation
             the debtor's interest

                  State the term remaining
                                                                                      Selechnick Computer Consulting
             List the contract number of any                                          746 Chestnut Str.
                   government contract                                                Twp of Washington, NJ 07676


 2.178.      State what the contract or                   Original MSA-
             lease is for and the nature of               emergency comm
             the debtor's interest                        when email/phone not
                                                          working
                  State the term remaining
                                                                                      Send Word Now (SWN) Comm
             List the contract number of any                                          780 West Grenada Boulevard
                   government contract                                                Ormond Beach, FL 32174


 2.179.      State what the contract or                   emergency comm
             lease is for and the nature of               when email/phone not
             the debtor's interest                        working

                  State the term remaining                                            Send Word Now (SWN) Comm
                                                                                      780 West Grenada Boulevard
             List the contract number of any                                          Ormond Beach, FL 32174
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 Debtor 1 RTW Retailwinds, Inc.                                                               Case number (if known)   20-18445
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.180.      State what the contract or                   MSA-web portal for
             lease is for and the nature of               store repairs
             the debtor's interest

                  State the term remaining
                                                                                      Service Channel.com Inc.
             List the contract number of any                                          18 E 16th St.
                   government contract                                                New York, NY 10003


 2.181.      State what the contract or                   MSA-web portal for
             lease is for and the nature of               store repairs
             the debtor's interest

                  State the term remaining
                                                                                      Service Channel.com Inc.
             List the contract number of any                                          18 E 16th St.
                   government contract                                                New York, NY 10003


 2.182.      State what the contract or                   Allow use of FB's msg
             lease is for and the nature of               app to advertise &
             the debtor's interest                        converse with
                                                          perspective customers       Shop Message
                  State the term remaining                                            Fanrock LLC dba ShopMessage
                                                                                      845 Market St.
             List the contract number of any                                          STE 450
                   government contract                                                San Francisco, CA 94103


 2.183.      State what the contract or                   Facebook msg app to
             lease is for and the nature of               advertise & converse
             the debtor's interest                        with perspective
                                                          customers
                  State the term remaining                                            Shop Message
                                                                                      845 Market St.
             List the contract number of any                                          Ste. 450
                   government contract                                                San Francisco, CA 94103


 2.184.      State what the contract or                   Lend tv host clothing in
             lease is for and the nature of               turn for social/media
             the debtor's interest                        exposure

                  State the term remaining
                                                                                      SJ Entertainment
             List the contract number of any                                          2135 Bent Creek Mnr
                   government contract                                                Alpharetta, GA 30005


 2.185.      State what the contract or                   Social media campaign     Social Code
             lease is for and the nature of               services                  1133 15th Street, NW
             the debtor's interest                                                  9th Floor
                                                                                    Attn: General Counsel
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.186.      State what the contract or                   Social media campaign
             lease is for and the nature of               services
             the debtor's interest
                                                                                     SocialCode
                  State the term remaining                                           SocialCode, LLC, 1133 15th Street, NW
                                                                                     9th Floor
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               Washington, DC 20005


 2.187.      State what the contract or                   Social media
             lease is for and the nature of               monitoring tool
             the debtor's interest

                  State the term remaining                                           Stackla
                                                                                     33 New Montgomery Street
             List the contract number of any                                         Suite 360
                   government contract                                               San Francisco, CA 94105


 2.188.      State what the contract or                   Social media
             lease is for and the nature of               monitoring tool
             the debtor's interest
                                                                                     Stackla Inc.
                  State the term remaining                                           33 New Montgomery Street
                                                                                     Suit 360
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               San Francisco, CA 94105


 2.189.      State what the contract or                   Criminal Background
             lease is for and the nature of               screening provider
             the debtor's interest

                  State the term remaining                                           Sterling Talent Solutions
                                                                                     1 State Street Plaza
             List the contract number of any                                         24th Floor
                   government contract                                               New York, NY 10004


 2.190.      State what the contract or                   Renewal of GC and
             lease is for and the nature of               loyalty reward provider
             the debtor's interest
                                                                                     Store Value Solutions
                  State the term remaining                                           101 Bullitt Lane
                                                                                     Suite 305
             List the contract number of any                                         Attn: General Manager
                   government contract                                               Louisville, KY 40222




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.191.      State what the contract or                   GC and loyalty reward
             lease is for and the nature of               provider
             the debtor's interest
                                                                                      Store Value Solutions
                  State the term remaining                                            101 Bullitt Lane
                                                                                      Suite 305
             List the contract number of any                                          Attn: General Manager
                   government contract                                                Louisville, KY 40222


 2.192.      State what the contract or                   Programmatic video
             lease is for and the nature of               ads on paid social
             the debtor's interest
                                                                                      SundaySky
                  State the term remaining                                            SundaySky Inc. 229 West 36th Street
                                                                                      2nd Floor
             List the contract number of any                                          Attn: Chief Operating Officer
                   government contract                                                New York, NY 10018


 2.193.      State what the contract or                   programmatic video
             lease is for and the nature of               ads on paid social
             the debtor's interest
                                                                                      SundaySky Ltd.
                  State the term remaining                                            229 West 36th Street
                                                                                      2nd Floor
             List the contract number of any                                          Attn: Chief Operating Officer
                   government contract                                                New York, NY 10018


 2.194.      State what the contract or                   MSA-disaster recovery
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining
                                                                                      Sungard, AS
             List the contract number of any                                          680 East Swedesford Road
                   government contract                                                Wayne, PA 19087


 2.195.      State what the contract or                   Disaster recovery
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining
                                                                                      Sungard, AS
             List the contract number of any                                          680 East Swedesford Road
                   government contract                                                Wayne, PA 19087


 2.196.      State what the contract or                   Universal Service
             lease is for and the nature of               Agreement-
             the debtor's interest                        employment
                                                          verification services       TALX Corp (Equifax)
                  State the term remaining                                            11432 Lackland Road
                                                                                      Attn: William Canfield
             List the contract number of any                                          St. Louis, MO 63146
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 Debtor 1 RTW Retailwinds, Inc.                                                               Case number (if known)   20-18445
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.197.      State what the contract or                   Amendment/renewal-
             lease is for and the nature of               employment
             the debtor's interest                        verification services

                  State the term remaining                                            TALX Corp (Equifax)
                                                                                      11432 Lackland Road
             List the contract number of any                                          Attn: William Canfield
                   government contract                                                St. Louis, MO 63146


 2.198.      State what the contract or                   Doiscovery of system
             lease is for and the nature of               capability
             the debtor's interest
                                                                                      Tata Consultancy Svcs Ltd
                  State the term remaining                                            Tata Consultancy Services Limited
                                                                                      101 Park Avenue
             List the contract number of any                                          26th Floor
                   government contract                                                New York, NY 10017


 2.199.      State what the contract or                   3rd party to assist
             lease is for and the nature of               w/data processing &
             the debtor's interest                        data feed development

                  State the term remaining
                                                                                      Teradata Operations, Inc.
             List the contract number of any                                          10000 Innovation Dr.
                   government contract                                                Miamisburg, OH 45342


 2.200.      State what the contract or                   Support Services-
             lease is for and the nature of               renewal form
             the debtor's interest

                  State the term remaining
                                                                                      Teradata Operations, Inc.
             List the contract number of any                                          10000 Innovation Dr.
                   government contract                                                Miamisburg, OH 45342


 2.201.      State what the contract or                   Master Agreement-
             lease is for and the nature of               data warehouse
             the debtor's interest                        support & mgmt

                  State the term remaining
                                                                                      Teradata Operations, Inc.
             List the contract number of any                                          10000 Innovation Dr.
                   government contract                                                Miamisburg, OH 45342


 2.202.      State what the contract or                   Extermination for           The Terminix International Company
             lease is for and the nature of               stores                      150 Peabody Place
             the debtor's interest                                                    Attn: Legal Department
                                                                                      Memphis, TN 38103
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.203.      State what the contract or                   IT network for stores
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Think Time
                                                                                       11 East Illinois Street
             List the contract number of any                                           Suite 200
                   government contract                                                 Chicago, IL 60611


 2.204.      State what the contract or                   Provider of bank
             lease is for and the nature of               deposit bags & tickets
             the debtor's interest

                  State the term remaining                                             TranSource (Harland Clarke)
                                                                                       Harland Clarke Corp.
             List the contract number of any                                           15955 La Cantera Parkway
                   government contract                                                 San Antonio, TX 78256


 2.205.      State what the contract or                   Provide Managed
             lease is for and the nature of               security testing to pymt
             the debtor's interest                        card industry data
                                                          security
                  State the term remaining                                             TrustWave Holdings, Inc.
                                                                                       70 W. Madison
             List the contract number of any                                           Suite 600
                   government contract                                                 Chicago, IL 60602


 2.206.      State what the contract or                   Insurance
             lease is for and the nature of               underwritting
             the debtor's interest

                  State the term remaining
                                                                                       United Healthcare Services Inc. (UHC)
             List the contract number of any                                           450 Columbus Blvd.
                   government contract                                                 Hartford, CT 06115


 2.207.      State what the contract or                   Insurance - adjusted
             lease is for and the nature of               terms
             the debtor's interest

                  State the term remaining
                                                                                       United HealthCare Services, Inc. (UHC)
             List the contract number of any                                           450 Columbus Blvd.
                   government contract                                                 Hartford, CT 06115




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.208.      State what the contract or                   Credit card payment
             lease is for and the nature of               terminals in stores
             the debtor's interest

                  State the term remaining                                              Verifone, Inc.
                                                                                        88 West Plumeria Drive
             List the contract number of any                                            Attn: General Counsel
                   government contract                                                  San Jose, CA 95134


 2.209.      State what the contract or                   Tax research software
             lease is for and the nature of               via CCH internet
             the debtor's interest                        platform

                  State the term remaining
                                                                                        Wolters Kluwer
             List the contract number of any                                            CCH 2700 Lake Cook Road
                   government contract                                                  Riverwoods, IL 60015


 2.210.      State what the contract or                   Civil recovery for LP
             lease is for and the nature of               internal theft cases
             the debtor's interest
                                                                                        Zellman
                  State the term remaining                                              The Zellman Group, LLC
                                                                                        2200 Northern Boulevard
             List the contract number of any                                            Suite 103
                   government contract                                                  Greenvale, NY 11548


 2.211.      State what the contract or                   Digital content creation
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Zmags
             List the contract number of any                                            332 Congress Street
                   government contract                                                  Boston, MA 02210


 2.212.      State what the contract or                   Master Subscription
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                        Zmags Corporation
             List the contract number of any                                            332 Congress Street
                   government contract                                                  Boston, MA 02210


 2.213.      State what the contract or                   Services Order Form-
             lease is for and the nature of               create engaging digital
             the debtor's interest                        content with no coding

                  State the term remaining                                              Zmags Corporation
                                                                                        332 Congress Street
             List the contract number of any                                            Boston, MA 02210
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.214.      State what the contract or                   Audio/video
             lease is for and the nature of               conferencing
             the debtor's interest

                  State the term remaining
                                                                                     Zoom Video Communications
             List the contract number of any                                         55 Almaden Blvd
                   government contract                                               San Jose, CA 95113




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 Fill in this information to identify the case:

 Debtor name         New York & Company, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)         20-18449
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Staffing agency
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            24 Seven
                                                                                      41 Madison Avenue
             List the contract number of any                                          37th Floor
                   government contract                                                New York, NY 10010


 2.2.        State what the contract or                   Licesne the rights to
             lease is for and the nature of               use the LYCRA
             the debtor's interest                        trademark

                  State the term remaining                                            A&AT LLC (Invista)
                                                                                      Three Little Falls Centre
             List the contract number of any                                          2801 Centerville Road
                   government contract                                                Wilmington, DE 19808


 2.3.        State what the contract or                   SEO management
             lease is for and the nature of               services - MSA
             the debtor's interest

                  State the term remaining                                            Acronym
                                                                                      Empire State Building 350 5th Ave.
             List the contract number of any                                          Suite 6520
                   government contract                                                New York, NY 10118


 2.4.        State what the contract or                   SEO Management
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining                                            Acronym - Omniture (Consulting)
                                                                                      Empire State Building 350 5th Ave.
             List the contract number of any                                          Suite 6520
                   government contract                                                New York, NY 10118




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 Debtor 1 New York & Company, Inc.                                                           Case number (if known)   20-18449
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Ecommerce analytic
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining
                                                                                     Adobe - Omniture
             List the contract number of any                                         345 Park Avenue
                   government contract                                               San Jose, CA 95110


 2.6.        State what the contract or                   Renewal of ecommerce
             lease is for and the nature of               software
             the debtor's interest

                  State the term remaining
                                                                                     Adobe Systems / Scene 7
             List the contract number of any                                         345 Park Avenue
                   government contract                                               San Jose, CA 95110


 2.7.        State what the contract or                   Primary server calls
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Adobe Systems Inc.
             List the contract number of any                                         345 Park Avenue
                   government contract                                               San Jose, CA 95110


 2.8.        State what the contract or                   Primary server calls
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Adobe Systems Inc.
             List the contract number of any                                         345 Park Avenue
                   government contract                                               San Jose, CA 95110


 2.9.        State what the contract or                   Renewal of Scene7
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Adobe Systems Inc.
             List the contract number of any                                         345 Park Avenue
                   government contract                                               San Jose, CA 95110


 2.10.       State what the contract or                   Software License
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                     AirWatch
                  State the term remaining                                           1155 Perimeter Center West
                                                                                     Suite 100
             List the contract number of any                                         Atlanta, GA 30338
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.11.       State what the contract or                   Security Store Guards
             lease is for and the nature of               and Detectives
             the debtor's interest

                  State the term remaining
                                                                                       AJ Squared Security Inc
             List the contract number of any                                           110-20 Jamaica Ave Suite G2
                   government contract                                                 Richmond Hill, NY 11418


 2.12.       State what the contract or                   Content delivery
             lease is for and the nature of               network servies
             the debtor's interest

                  State the term remaining
                                                                                       Akamai Ion
             List the contract number of any                                           352 Park Ave South
                   government contract                                                 New York, NY 10010


 2.13.       State what the contract or                   Free trial extension
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Akamai Technologies Inc.
             List the contract number of any                                           352 Park Ave South
                   government contract                                                 New York, NY 10010


 2.14.       State what the contract or                   SSL certificates purch
             lease is for and the nature of               for KH/LB
             the debtor's interest                        websites-serve as
                                                          secure comm on
                                                          websites
                  State the term remaining
                                                                                       Akamai Technologies Inc.
             List the contract number of any                                           150 Broadway
                   government contract                                                 Cambridge, MA 02142


 2.15.       State what the contract or                   Image manager
             lease is for and the nature of               provides enhanced
             the debtor's interest                        dynamic acceleration
                                                          for mobile devices
                  State the term remaining
                                                                                       Akamai Technologies Inc.
             List the contract number of any                                           352 Park Ave South
                   government contract                                                 New York, NY 10010




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.16.       State what the contract or                   Co-branded
             lease is for and the nature of               MasterCard agreement
             the debtor's interest
                                                                                        Alliance Data
                  State the term remaining                                              Comenity Bank One Righter Parkway
                                                                                        Suite 100
             List the contract number of any                                            ATTN: Law Department
                   government contract                                                  Wilmington, OH 43219-3673


 2.17.       State what the contract or                   Legal counsel - USEI
             lease is for and the nature of               patent litigation
             the debtor's interest

                  State the term remaining
                                                                                        Alston & Bird LLC
             List the contract number of any                                            90 Park Avenue
                   government contract                                                  New York, NY 10016


 2.18.       State what the contract or                   Legal docket/manage
             lease is for and the nature of               trademark registrations
             the debtor's interest

                  State the term remaining
                                                                                        Alt Legal, Inc.
             List the contract number of any                                            415 Madison Avenue 4th Floor
                   government contract                                                  New York, NY 10017


 2.19.       State what the contract or                   Travel management
             lease is for and the nature of               company
             the debtor's interest

                  State the term remaining
                                                                                        Altour Int'l Inc.
             List the contract number of any                                            1270 Avenue of the Americas
                   government contract                                                  New York, NY 10020


 2.20.       State what the contract or                   Online selling platform
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Amazon Services LLC
             List the contract number of any                                            FAM LLC 5553 Bandini Blvd Bell
                   government contract                                                  Los Angeles, CA 90201


 2.21.       State what the contract or                   vPayment account
             lease is for and the nature of
             the debtor's interest
                                                                                        AMEX
                  State the term remaining                                              Corporate Services Operations AESC-P
                                                                                        2002 North 31st Street
             List the contract number of any                                            New York, NY 10285
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.22.       State what the contract or                   Affinity co-branded
             lease is for and the nature of               card program
             the debtor's interest

                  State the term remaining                                             AmSouth Bank
                                                                                       201 Milan Parkway
             List the contract number of any                                           Attn: General Counsel's Office
                   government contract                                                 Birmingham, AL 35211


 2.23.       State what the contract or                   Upgraded Lawson
             lease is for and the nature of               software
             the debtor's interest

                  State the term remaining                                             Analysts Int'l Corp.
                                                                                       7700 France Avene South
             List the contract number of any                                           Suite 200
                   government contract                                                 Minneapolis, MN 55435


 2.24.       State what the contract or                   Workers compensation
             lease is for and the nature of               consultants
             the debtor's interest

                  State the term remaining
                                                                                       AON Global Risk Consulting, Inc.
             List the contract number of any                                           200 E Randolph Street Chicago
                   government contract                                                 Chicago, IL 60601


 2.25.       State what the contract or                   contingent recruitment
             lease is for and the nature of               for denim design
             the debtor's interest                        position

                  State the term remaining                                             Apparel Resource Professional
                                                                                       Recruitment
             List the contract number of any                                           E6597 N. Dewey Avenue
                   government contract                                                 Reedsburg, WI 53959


 2.26.       State what the contract or                   Color development /
             lease is for and the nature of               Sampling / Production
             the debtor's interest                        services

                  State the term remaining
                                                                                       Archroma Global Color Svcs
             List the contract number of any                                           4000 Monroe Road
                   government contract                                                 Charlotte, NC 28205


 2.27.       State what the contract or                   Color development /
             lease is for and the nature of               Sampling / Production        Archroma Global Color Svcs
             the debtor's interest                        services                     4000 Monroe Road
                                                                                       Charlotte, NC 28205
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.28.       State what the contract or                   Automatic transfer
             lease is for and the nature of               switch maintenance
             the debtor's interest

                  State the term remaining
                                                                                        Asco Services
             List the contract number of any                                            50 Hanover Road
                   government contract                                                  Florham Park, NJ 07932


 2.29.       State what the contract or                   Background
             lease is for and the nature of               investigations services
             the debtor's interest

                  State the term remaining
                                                                                        Asurint
             List the contract number of any                                            1111 Superior Ave
                   government contract                                                  Cleveland, OH 44114


 2.30.       State what the contract or                   Temp staffing agency
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Atrium Staffing
                                                                                        71 Fifth Avenue
             List the contract number of any                                            Third Floor
                   government contract                                                  New York, NY 10003


 2.31.       State what the contract or                   Unclaimed property tax
             lease is for and the nature of               returns consultants
             the debtor's interest

                  State the term remaining                                              Bailey Cavalieri LLC
                                                                                        One Columbus 10 West Broad Street
             List the contract number of any                                            Suite 2100
                   government contract                                                  Columbus, OH 03422


 2.32.       State what the contract or                   Corporate organization
             lease is for and the nature of               consulting
             the debtor's interest

                  State the term remaining
                                                                                        BAK Advisors
             List the contract number of any                                            626 South State St.
                   government contract                                                  Newtown, PA 18940




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.33.       State what the contract or                   Ecommerce product
             lease is for and the nature of               review services
             the debtor's interest

                  State the term remaining
                                                                                     Bazaarvoice - Product Reviews
             List the contract number of any                                         10901 Stonelake Blvd.
                   government contract                                               Austin, TX 78759


 2.34.       State what the contract or                   Ecommerce product
             lease is for and the nature of               review services
             the debtor's interest

                  State the term remaining
                                                                                     BazaarVoice, Inc.
             List the contract number of any                                         10901 Stonelake Blvd. Austin
                   government contract                                               Austin, TX 78759


 2.35.       State what the contract or                   MSA Ecom services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BazaarVoice, Inc.
             List the contract number of any                                         10901 Stonelake Blvd. Austin
                   government contract                                               Austin, TX 78759


 2.36.       State what the contract or                   Executive staffing
             lease is for and the nature of               agency
             the debtor's interest

                  State the term remaining                                           Berglass & Associates
                                                                                     399 Park Avenue
             List the contract number of any                                         39th Floor
                   government contract                                               New York, NY 10022


 2.37.       State what the contract or                   Meeting logistics
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining
                                                                                     Broadridge Investor Comm Solutions Inc.
             List the contract number of any                                         51 Mercedes Way
                   government contract                                               Edgewood, NY 11717


 2.38.       State what the contract or                   Marketing database
             lease is for and the nature of               development services
             the debtor's interest
                                                                                     Bullseye Analytics Group
                  State the term remaining                                           P.O. Box 565
                                                                                     Attn: Ellen M. Casey
             List the contract number of any                                         Croton Falls, NY 10519
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.39.       State what the contract or                   Corporate emergency
             lease is for and the nature of               network services
             the debtor's interest

                  State the term remaining                                           Business Network of Emergency
                                                                                     Resources, Inc.
             List the contract number of any                                         117 Cayuga St
                   government contract                                               Fulton, NY 13069


 2.40.       State what the contract or                   Software license
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining                                           Cardinal Commerce Corporation
                                                                                     6119 Heisley Road Mentor
             List the contract number of any                                         Attn: Michael A. Keresman
                   government contract                                               Mentor, OH 44060


 2.41.       State what the contract or                   Internet circuits to RTW
             lease is for and the nature of               apps/systems in NJ &
             the debtor's interest                        VA Data Centers &
                                                          RTW Stores
                  State the term remaining
                                                                                     Century Link Communications, LLC
             List the contract number of any                                         546 Fifth Avenue
                   government contract                                               New York, NY 10036


 2.42.       State what the contract or                   Alliance Data provides
             lease is for and the nature of               rewards certificate data
             the debtor's interest                        to SVS

                  State the term remaining                                           Ceridian Store Valued Solutions (SVS)
                                                                                     101 Bullitt Lane
             List the contract number of any                                         Suite 305
                   government contract                                               Louisville, KY 40222


 2.43.       State what the contract or                   Ecommerce
             lease is for and the nature of               recommendations
             the debtor's interest                        services

                  State the term remaining                                           Certona
                                                                                     10431 Wateridge Cir
             List the contract number of any                                         Suite 200
                   government contract                                               San Diego, CA 92121


 2.44.       State what the contract or                   MSA Ecom services          Certona
             lease is for and the nature of                                          10432 Wateridge Cir
             the debtor's interest                                                   Suite 201
                                                                                     San Diego, CA 92121
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.45.       State what the contract or                   Automated
             lease is for and the nature of               recommendations for
             the debtor's interest                        the FTF site

                  State the term remaining                                           Certona Corporation
                                                                                     10431 Wateridge Cir
             List the contract number of any                                         Suite 200
                   government contract                                               San Diego, CA 92121


 2.46.       State what the contract or                   Automated
             lease is for and the nature of               recommendations for
             the debtor's interest                        the FTF site

                  State the term remaining                                           Certona Corporation
                                                                                     10431 Wateridge Cir
             List the contract number of any                                         Suite 200
                   government contract                                               San Diego, CA 92121


 2.47.       State what the contract or                   MSA - Ecommerce
             lease is for and the nature of               search enhancement
             the debtor's interest

                  State the term remaining                                           Cirrus10
                                                                                     Cirrus 10 LLC 901 Fifth Avenue
             List the contract number of any                                         Suite 2320
                   government contract                                               Seattle, WA 98164


 2.48.       State what the contract or                   IBM OMS development
             lease is for and the nature of               services
             the debtor's interest
                                                                                     Cognizant Worldwide Limited
                  State the term remaining                                           1 Kingdom Street, Paddington Central
                                                                                     Attn: General Counsel
             List the contract number of any                                         London W3 6B0 United Kindom
                   government contract


 2.49.       State what the contract or                   Insurance
             lease is for and the nature of               underwritting
             the debtor's interest

                  State the term remaining
                                                                                     Cohn-UIC
             List the contract number of any                                         1301 Avenue of the Americas
                   government contract                                               New York, NY 10036




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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.50.       State what the contract or                   BoardWorks portal
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining
                                                                                      Computershare Governance Svcs Inc
             List the contract number of any                                          100 Beard Sawmill Road
                   government contract                                                Shelton, CT 06484


 2.51.       State what the contract or                   Legal counsel Watters
             lease is for and the nature of               Creek Litigation
             the debtor's interest

                  State the term remaining                                            Condon, Tobin, Sladek
                                                                                      8080 Park Lane
             List the contract number of any                                          Suite 700
                   government contract                                                Dallas, TX 75231


 2.52.       State what the contract or                   Visa/MC payment card
             lease is for and the nature of               interchange fees
             the debtor's interest

                  State the term remaining
                                                                                      Constantine Cannon, LLP
             List the contract number of any                                          335 Madison Avenue
                   government contract                                                New York, NY 10017


 2.53.       State what the contract or                   Anonymous &
             lease is for and the nature of               confidential hotline
             the debtor's interest                        svcs

                  State the term remaining
                                                                                      Convercent
             List the contract number of any                                          929 Broadway
                   government contract                                                Denver, CO 80203


 2.54.       State what the contract or                   Security card access to
             lease is for and the nature of               BHQ
             the debtor's interest

                  State the term remaining
                                                                                      Corporate Emergency Access System (CEAS)
             List the contract number of any                                          117 Cayuga Street
                   government contract                                                Fulton, NY 13069


 2.55.       State what the contract or                   Temp staffing agency
             lease is for and the nature of
             the debtor's interest
                                                                                      Creative Mgmt Agency(CMA)
                  State the term remaining                                            149 West 27th St
                                                                                      2nd Floor
             List the contract number of any                                          New York, NY 10001
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                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.56.       State what the contract or                   Predictive search
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining                                             Criteo
                                                                                       60 State Street
             List the contract number of any                                           14th Floor
                   government contract                                                 Boston, MA 02109


 2.57.       State what the contract or                   IT support services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Crowdstrike Services Inc.
                                                                                       Drew Bagley
             List the contract number of any                                           150 Mathilda Place
                   government contract                                                 Sunnyvale, CA 94068


 2.58.       State what the contract or                   Consulting on Prop 65
             lease is for and the nature of               matters
             the debtor's interest

                  State the term remaining                                             Crowell & Moring LLP
                                                                                       515 South Flower St
             List the contract number of any                                           40th Floor
                   government contract                                                 Los Angeles, CA 02258


 2.59.       State what the contract or                   Ecommerce credit card
             lease is for and the nature of               processing, fraud
             the debtor's interest                        detection, and sales tax
                                                          calculation services
                  State the term remaining
                                                                                       Cybersource
             List the contract number of any                                           900 Metro Center Blvd
                   government contract                                                 Foster City, CA 94404


 2.60.       State what the contract or                   Data secruity services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Datavantage (aka Micros)
             List the contract number of any                                           305500 Bruce Industrial Parkway
                   government contract                                                 Cleveland, OH 44139


 2.61.       State what the contract or                   Supplemental
             lease is for and the nature of               trademark/advertising        Davis & Gilbert LLP
             the debtor's interest                        counsel                      1740 Broadway
                                                                                       New York, NY 10019
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.62.       State what the contract or                   Ecommerce staffing
             lease is for and the nature of               agency
             the debtor's interest
                                                                                      DeBellis, Catherine & Morreale
                  State the term remaining                                            Centerpointe Corporate Park
                                                                                      400 Essjay Road
             List the contract number of any                                          Suite 220
                   government contract                                                Williamsville, NY 14221


 2.63.       State what the contract or                   Legal counsel
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Debevoise & Plimpton LLP
             List the contract number of any                                          919 Third Avenue
                   government contract                                                New York, NY 00010-0222


 2.64.       State what the contract or                   Supplies distribution
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Diversified Distribution Svcs
                                                                                      7351 Boone Avenue
             List the contract number of any                                          Attn: Jim Murphy
                   government contract                                                North Brooklyn Park, MN 55428


 2.65.       State what the contract or                   Network support,
             lease is for and the nature of               configuration &
             the debtor's interest                        optimization

                  State the term remaining                                            DNB Services, LLC
                                                                                      17 Winthrop Rd
             List the contract number of any                                          Attention: Dennis Bailey
                   government contract                                                Bethel, CT 06801


 2.66.       State what the contract or                   Network outage
             lease is for and the nature of               servicing
             the debtor's interest

                  State the term remaining                                            Dynamic Network Services
                                                                                      150 Dow Street
             List the contract number of any                                          Tower 2
                   government contract                                                Manchester, NH 03101




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                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.67.       State what the contract or                   Construction
             lease is for and the nature of               management
             the debtor's interest

                  State the term remaining
                                                                                      Eagles Point Solutions
             List the contract number of any                                          PO Box 476
                   government contract                                                Belcamp, MD 21017


 2.68.       State what the contract or                   Recruiting agency for
             lease is for and the nature of               creative talent
             the debtor's interest                        placement

                  State the term remaining
                                                                                      Emerging Blue
             List the contract number of any                                          1 Market Street
                   government contract                                                San Francisco, CA 94105


 2.69.       State what the contract or                   Front end website
             lease is for and the nature of               devleopment
             the debtor's interest

                  State the term remaining                                            EmpathyLab
                                                                                      100 Four Falls Corportation
             List the contract number of any                                          Suite 602
                   government contract                                                Consocken, PA 19428


 2.70.       State what the contract or                   Corporate phone and
             lease is for and the nature of               vm services
             the debtor's interest

                  State the term remaining
                                                                                      Empire Technologies
             List the contract number of any                                          3 Industrial Ct
                   government contract                                                Freehold, NJ 07728


 2.71.       State what the contract or                   Tax services - MSA
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Ernst & Young
             List the contract number of any                                          5 Times Square
                   government contract                                                New York, NY 10036


 2.72.       State what the contract or                   Contingent agency to
             lease is for and the nature of               assist w/IT searches
             the debtor's interest
                                                                                      Execu-Sys,Ltd.
                  State the term remaining                                            1411 Broadway
                                                                                      Suite 1220
             List the contract number of any                                          New York, NY 10018
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.73.       State what the contract or                   Marketing referals
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Experian Marketing Solutions, Inc.
             List the contract number of any                                           955 American Ln
                   government contract                                                 Schaumburg, IL 60173


 2.74.       State what the contract or                   Marketing referals
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Experian Marketing Solutions, Inc.
             List the contract number of any                                           955 American Ln
                   government contract                                                 Schaumburg, IL 60173


 2.75.       State what the contract or                   Store repair &
             lease is for and the nature of               maintenance
             the debtor's interest                        management

                  State the term remaining                                             FacilitySource, LLC
                                                                                       200 East Campus View Blvd
             List the contract number of any                                           Suite 301
                   government contract                                                 Columbus, OH 43235


 2.76.       State what the contract or                   Refund of TX sales tax
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Farias, Inc.
             List the contract number of any                                           5832 Star Ln
                   government contract                                                 Houston, TX 77057


 2.77.       State what the contract or                   Content creation - MSA
             lease is for and the nature of
             the debtor's interest
                                                                                       Flashstock Technology Inc.
                  State the term remaining                                             82 Peter Street
                                                                                       2nd Floor
             List the contract number of any                                           Toronto, ON M5V 2G5 CA
                   government contract


 2.78.       State what the contract or                   Mobile website
             lease is for and the nature of               enhancements - MSA           Fluid, Inc.
             the debtor's interest                                                     222 Sutter Street
                                                                                       San Francisco, CA 94108
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.79.       State what the contract or                   Licensed services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Forrester Research, Inc.
             List the contract number of any                                         60 Acorn Park Drive
                   government contract                                               Cambridge, MA 02140


 2.80.       State what the contract or                   FT & PT placement
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining                                           Fourth Floor
                                                                                     1212 Avenue of the Americas
             List the contract number of any                                         17th Floor
                   government contract                                               New York, NY 10036


 2.81.       State what the contract or                   Email services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FreshAddress, Inc.
             List the contract number of any                                         36 Crafts Street
                   government contract                                               Newtown, MA 02458


 2.82.       State what the contract or                   Candidate screening
             lease is for and the nature of               services
             the debtor's interest
                                                                                     G.I.S. Screening Services
                  State the term remaining                                           12770 Colt Rd.
                                                                                     Suite 1200
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               Dallas, TX 77271


 2.83.       State what the contract or                   Candidate screening
             lease is for and the nature of               services
             the debtor's interest
                                                                                     G.I.S. Screening Services
                  State the term remaining                                           12770 Colt Rd.
                                                                                     Suite 1200
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               Dallas, TX 77271




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.84.       State what the contract or                   Marketing analyitic
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining
                                                                                     Gasner Analytics
             List the contract number of any                                         108 4th Ave
                   government contract                                               Safety Harbor, FL 34695


 2.85.       State what the contract or                   Licenses for WebPDM
             lease is for and the nature of               system
             the debtor's interest

                  State the term remaining                                           Gerber Terchnology, Inc.
                                                                                     1359 Broadway #1200 New York, NY 10018
             List the contract number of any                                         #1200
                   government contract                                               New York, NY 10018


 2.86.       State what the contract or                   Affiliate marketing
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining                                           Google, Inc.
                                                                                     Google Affiliate Network Inc.
             List the contract number of any                                         Department CH 10858
                   government contract                                               Palatine, IL 60055-0858


 2.87.       State what the contract or                   Kidnap & ransom
             lease is for and the nature of               coverage insurance
             the debtor's interest

                  State the term remaining
                                                                                     HCC Specialty
             List the contract number of any                                         37 Radio Circle Drive
                   government contract                                               Mount Kisco, NY 10549


 2.88.       State what the contract or                   Development, support
             lease is for and the nature of               of IBM Sterling OMS
             the debtor's interest

                  State the term remaining
                                                                                     HCL
             List the contract number of any                                         330 Potrero Avenue
                   government contract                                               Sunnyvale, CA 94085


 2.89.       State what the contract or                   MSA - IBM Sterling
             lease is for and the nature of               OMS support
             the debtor's interest

                  State the term remaining                                           HCL
                                                                                     330 Potrero Avenue
             List the contract number of any                                         Sunnyvale, CA 94085
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.90.       State what the contract or                   Subrogation and
             lease is for and the nature of               recovery services
             the debtor's interest

                  State the term remaining
                                                                                      HH Subrogation & Recovery Inc.
             List the contract number of any                                          860 State Highway 10 West
                   government contract                                                Randolph, NJ 07869


 2.91.       State what the contract or                   Lease acceptance of
             lease is for and the nature of               handheld scanner h/w,
             the debtor's interest                        staging, shipping &
                                                          maint.
                  State the term remaining                                            HP Financial Svcs Company
                                                                                      200 Connell Drive
             List the contract number of any                                          Suite 5000
                   government contract                                                Berkeley Heights, NJ 07922


 2.92.       State what the contract or                   Lease acceptance of
             lease is for and the nature of               handheld scanner h/w,
             the debtor's interest                        staging, shipping &
                                                          maint.
                  State the term remaining                                            HP Financial Svcs Company
                                                                                      200 Connell Drive
             List the contract number of any                                          Suite 5000
                   government contract                                                Berkeley Heights, NJ 07922


 2.93.       State what the contract or                   Investor relations
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining                                            ICR, LLC
                                                                                      7612 Main Avenue
             List the contract number of any                                          Building H
                   government contract                                                Norwalk, CT 06851


 2.94.       State what the contract or                   Paid search and search
             lease is for and the nature of               engine optimization
             the debtor's interest
                                                                                      iCrossing, Inc.
                  State the term remaining                                            iCrossing, Inc. 300 West 57th St
                                                                                      29th Floor
             List the contract number of any                                          Attn: General Counsel
                   government contract                                                New York, NY 10019


 2.95.       State what the contract or                   Data integration tool       Informatica LLC
             lease is for and the nature of                                           2100 Seaport Boulevard
             the debtor's interest                                                    Attn: Legal Department
                                                                                      Rewood City, CA 94063
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.96.       State what the contract or                   Audio conferencing
             lease is for and the nature of               service
             the debtor's interest
                                                                                     InterCall
                  State the term remaining                                           8420 W. Bryn Mawr Ave.
                                                                                     Suite 400
             List the contract number of any                                         Attn: Legal Department
                   government contract                                               Chicago, IL 60631


 2.97.       State what the contract or                   AS400 (IP) Data backup
             lease is for and the nature of               Tape pickup and
             the debtor's interest                        storage

                  State the term remaining
                                                                                     Iron Mountain
             List the contract number of any                                         One Federal Street
                   government contract                                               Boston, MA 02110


 2.98.       State what the contract or                   Software support
             lease is for and the nature of               agreement
             the debtor's interest
                                                                                     Island Pacific
                  State the term remaining                                           19800 MacArthur Blvd., 12th Floor
                                                                                     12th Floor
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               Irvine, Ca 92612


 2.99.       State what the contract or                   Escrow agreement
             lease is for and the nature of
             the debtor's interest
                                                                                     Island Pacific
                  State the term remaining                                           19800 MacArthur Blvd., 12th Floor
                                                                                     12th Floor
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               Irvine, Ca 92612


 2.100.      State what the contract or                   Software licensing
             lease is for and the nature of               agreement
             the debtor's interest
                                                                                     Island Pacific (SVI Solutions)
                  State the term remaining                                           19800 MacArthur Blvd., 12th Floor
                                                                                     12th Floor
             List the contract number of any                                         Attn: General Counsel
                   government contract                                               Irvine, Ca 92612




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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.101.      State what the contract or                   Contingent agency to
             lease is for and the nature of               assist with searches
             the debtor's interest

                  State the term remaining                                            Janou Pakter LLC.
                                                                                      108 W. 39th street
             List the contract number of any                                          7th Floor
                   government contract                                                New York, NY 10018


 2.102.      State what the contract or                   Planning & allocation
             lease is for and the nature of               software
             the debtor's interest

                  State the term remaining
                                                                                      JDA Software, Inc.
             List the contract number of any                                          14400 N. 87th Street
                   government contract                                                Scottsdale, AZ 85260


 2.103.      State what the contract or                   Artwork license for
             lease is for and the nature of               photoshoot
             the debtor's interest

                  State the term remaining                                            Jennifer Rae Ochs
                                                                                      5419 Hollywood Blvd
             List the contract number of any                                          Suite C345
                   government contract                                                Los Angeles, CA 90027


 2.104.      State what the contract or                   Contingency search
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Julie Stern's Retail Roster
             List the contract number of any                                          28 Partridge Run
                   government contract                                                Montvale, NJ 07645


 2.105.      State what the contract or                   Music license for
             lease is for and the nature of               behind the scenes
             the debtor's interest                        video

                  State the term remaining
                                                                                      Kanis Music, LLC
             List the contract number of any                                          1800 NE 114th St. 11001
                   government contract                                                Miami, FL 33181


 2.106.      State what the contract or                   Temp staffing agency
             lease is for and the nature of
             the debtor's interest
                                                                                      Kforce, Inc.
                  State the term remaining                                            101 East Palm Avenue
                                                                                      Attn: Contracts Management
             List the contract number of any                                          Tampa, FL 33605
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 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.107.      State what the contract or                   Compensation
             lease is for and the nature of               consultants
             the debtor's interest

                  State the term remaining                                             Korn Ferry/Hay Group
                                                                                       233 South Wacker
             List the contract number of any                                           Suite 700
                   government contract                                                 Chicago, IL 60606


 2.108.      State what the contract or                   Transitions Services
             lease is for and the nature of               Agreement -
             the debtor's interest                        Distribution Center
                                                          (and all corresponding
                                                          amendments)
                  State the term remaining                                             L Brands ( Limited Logistics Services)
                                                                                       Three Limited Parkway
             List the contract number of any                                           Attn: General Counsel
                   government contract                                                 Columbus, OH 48230


 2.109.      State what the contract or                   license of patents for
             lease is for and the nature of               use of EDI technology
             the debtor's interest
                                                                                       Landmark Technology, LLC
                  State the term remaining                                             Jeffer Mangels Butler & Mitchell LLP
                                                                                       1900 Avenue of the Stars
             List the contract number of any                                           7th Floor
                   government contract                                                 Los Angeles, CA 90067


 2.110.      State what the contract or                   Software license
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Lawson Software Americas, Inc.
                                                                                       380 St. Peter Street
             List the contract number of any                                           Attn: Chief Operating Officer
                   government contract                                                 St. Paul, MN 55102


 2.111.      State what the contract or                   New s/w licenses to
             lease is for and the nature of               streamline the
             the debtor's interest                        workflow

                  State the term remaining                                             Lectra USA Inc.
                                                                                       5000 Highlands PKWY SE
             List the contract number of any                                           Suite 250
                   government contract                                                 Smyrna, GA 30082




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                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.112.      State what the contract or                   HVAC R&M for stores
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Lennox Nat'l Account Svcs
             List the contract number of any                                             2140 Lake Park Blvd.
                   government contract                                                   Richardson, TX 75080


 2.113.      State what the contract or                   Employee health plan
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining                                               Matrix Integ Psych Svcs
                                                                                         2 Easton Oval
             List the contract number of any                                             Suite 450
                   government contract                                                   Columbus, OH 43219


 2.114.      State what the contract or                   Refund of TX sales tax
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Melek Corp
             List the contract number of any                                             2931 Central Ave
                   government contract                                                   El Paso, TX 79905


 2.115.      State what the contract or                   Cloud-based platform
             lease is for and the nature of               for drafting SEC filings
             the debtor's interest

                  State the term remaining
                                                                                         Merrill Communications
             List the contract number of any                                             One Merrill Circle
                   government contract                                                   St. Paul, MN 55108


 2.116.      State what the contract or                   Renew MS license for
             lease is for and the nature of               all s/w used by
             the debtor's interest                        company

                  State the term remaining                                               Microsoft Licensing GP
                                                                                         Dept 551, Volume Licensing,
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511


 2.117.      State what the contract or                   Software license keys
             lease is for and the nature of               for all purchased
             the debtor's interest                        licenses

                  State the term remaining                                               MicroStrategy Services Corp.
                                                                                         1861 International Drive
             List the contract number of any                                             McLean, VA 22102
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                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.118.      State what the contract or                   Cloud based email
             lease is for and the nature of               management
             the debtor's interest

                  State the term remaining
                                                                                       Mimecast North America
             List the contract number of any                                           191 Spring Street
                   government contract                                                 Lexington, MA 02421


 2.119.      State what the contract or                   Mule Soft Connectivity
             lease is for and the nature of               API platform support
             the debtor's interest

                  State the term remaining                                             Mountain State Software, LLC
                                                                                       1884 Kabletown Rd.
             List the contract number of any                                           Attn: Legal
                   government contract                                                 Charles Town, WV 25414


 2.120.      State what the contract or                   ESB Platform
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Mulesoft
                                                                                       50 Fremont Street
             List the contract number of any                                           Suite 300
                   government contract                                                 San Fransico, CA 94105


 2.121.      State what the contract or                   ESB Platform
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Mulesoft
                                                                                       50 Fremont Street
             List the contract number of any                                           Suite 300
                   government contract                                                 San Fransico, CA 94105


 2.122.      State what the contract or                   IT Support for ESB
             lease is for and the nature of               Platform
             the debtor's interest

                  State the term remaining                                             Mulesoft ESB Maintenance and Support
                                                                                       Mulesoft LLC, 50 Freemont Street
             List the contract number of any                                           Suite 300
                   government contract                                                 San Francisco, CA 94105


 2.123.      State what the contract or                   IT roadmap &              Nisum Technologies
             lease is for and the nature of               implementation            500 S. Kramer Blvd.
             the debtor's interest                        services                  Suite 301
                                                                                    Attn: Contracts Department
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                                                                                     Unexpired Leases                                   Page 22 of 30
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.124.      State what the contract or                   Customer payment
             lease is for and the nature of               solutions
             the debtor's interest

                  State the term remaining                                           PayPal, Inc
                                                                                     eBay Park North, 2211 North First Street
             List the contract number of any                                         2211 North First Street
                   government contract                                               San Jose, CA 95131


 2.125.      State what the contract or                   IT platform for
             lease is for and the nature of               phishing, testing &
             the debtor's interest                        education

                  State the term remaining
                                                                                     PhishMe, Inc.
             List the contract number of any                                         1608 Village Market Boulevard SE, #200
                   government contract                                               Leesburg, VA 20175


 2.126.      State what the contract or                   Temp staffing agency
             lease is for and the nature of
             the debtor's interest
                                                                                     Pivotal Search Group
                  State the term remaining                                           Haley Stuart, LLC
                                                                                     dba Pivotal Search Group
             List the contract number of any                                         75 Chestnut Ridge Road
                   government contract                                               Montvale, NJ 07645


 2.127.      State what the contract or                   Social shopping lead
             lease is for and the nature of               generation
             the debtor's interest

                  State the term remaining
                                                                                     Pronto.com
             List the contract number of any                                         555 West 18th Street
                   government contract                                               New York, NY 10011


 2.128.      State what the contract or                   Retailer-based Cyber
             lease is for and the nature of               threat community
             the debtor's interest                        membership
                                                                                     R-CISC
                  State the term remaining                                           Attn: Member Services
                                                                                     2101 L Street NW
             List the contract number of any                                         Ste 800
                   government contract                                               Washington, DC 20037




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            Additional Page if You Have More Contracts or Leases

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                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.129.      State what the contract or                   Sweepstakes vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Real Time Media
                                                                                     1060 First Ave.
             List the contract number of any                                         Suite 901
                   government contract                                               King of Prussia, PA 19406


 2.130.      State what the contract or                   Agency agreement for
             lease is for and the nature of               stock transfers
             the debtor's interest

                  State the term remaining
                                                                                     Registrar & Transfer Co.
             List the contract number of any                                         10-12 Commerce Dr
                   government contract                                               Cranford, NJ 07016


 2.131.      State what the contract or                   Corporate
             lease is for and the nature of               telecommunications
             the debtor's interest                        support at BHQ

                  State the term remaining
                                                                                     SATTech Antenna Systems
             List the contract number of any                                         PO Box 90693
                   government contract                                               Brooklyn, NY 11209


 2.132.      State what the contract or                   PCI compliance &
             lease is for and the nature of               payment processing
             the debtor's interest                        safety

                  State the term remaining
                                                                                     ScanAlert, Inc.
             List the contract number of any                                         16 Maiden Ln
                   government contract                                               San Fransico, CA 94108


 2.133.      State what the contract or                   Monitoring & service
             lease is for and the nature of               maintenance
             the debtor's interest

                  State the term remaining
                                                                                     Scarsdale Security Systems
             List the contract number of any                                         132 Montgomery Avenue
                   government contract                                               Scarsdale, NY 10583


 2.134.      State what the contract or                   Elevator maintenance
             lease is for and the nature of               for Green Acres
             the debtor's interest
                                                                                     Schindler Elevator Corporation
                  State the term remaining                                           620 12th Avenue
                                                                                     4th Floor
             List the contract number of any                                         New York, NY 10583
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 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.135.      State what the contract or                   Elevator maintenance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Schindler Elevator Corporation
                                                                                        620 12th Avenue
             List the contract number of any                                            4th Floor
                   government contract                                                  New York, NY 10583


 2.136.      State what the contract or                   Workers comp
             lease is for and the nature of               administrator for state
             the debtor's interest                        of OH

                  State the term remaining
                                                                                        Sheakley Uniservice, Inc.
             List the contract number of any                                            One Sheakley Way
                   government contract                                                  Cincinnati, OH 45246


 2.137.      State what the contract or                   VPN traffic data
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining                                              ShopperTrak RCT Corp
                                                                                        233 S. Wackher Dr.
             List the contract number of any                                            41st Floor
                   government contract                                                  Chicago, IL 60606


 2.138.      State what the contract or                   Ecommerce analytic
             lease is for and the nature of               services
             the debtor's interest
                                                                                        Smarter (Mezi Media)
                  State the term remaining                                              103 E. Lemon Ave.
                                                                                        Suite 200
             List the contract number of any                                            Attn: Contracts Admin
                   government contract                                                  Monrovia, CA 91001


 2.139.      State what the contract or                   Enhanced product
             lease is for and the nature of               listing w/logo
             the debtor's interest

                  State the term remaining                                              SortPrice
                                                                                        44 Wall Street
             List the contract number of any                                            12th Floor
                   government contract                                                  New York, NY 10005


 2.140.      State what the contract or                   SEC legal counsel             Squire Sanders LLP
             lease is for and the nature of                                             1200 19th Street, NW
             the debtor's interest                                                      Suite 300
                                                                                        Washington, DC 20036
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                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.141.      State what the contract or                   Non profit fundraising
             lease is for and the nature of               partnership
             the debtor's interest
                                                                                       St. Judes (ALSAC)
                  State the term remaining                                             American Lebanase Syrian
                                                                                       Associated Charities Inc.
             List the contract number of any                                           501 St. Jude Place
                   government contract                                                 Memphis, TN 38105


 2.142.      State what the contract or                   Financial advisor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Stifel, Nicolaus & Co., Inc.
             List the contract number of any                                           One Financial Plaza, 501 North Broadway
                   government contract                                                 St. Louis, MO 63102


 2.143.      State what the contract or                   Advertising agreement
             lease is for and the nature of               - student database
             the debtor's interest

                  State the term remaining                                             Student Rate, LLC
                                                                                       500 W Cummings Park
             List the contract number of any                                           Suite 2500
                   government contract                                                 Woburn, MA 01801


 2.144.      State what the contract or                   Rebate services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Talon Int'l. inc.
             List the contract number of any                                           21900 Burbank Blvd. Suite 270
                   government contract                                                 Woodland Hills, CA 91367


 2.145.      State what the contract or                   Ecommerce workshops
             lease is for and the nature of               & UAT usage
             the debtor's interest

                  State the term remaining
                                                                                       Tellus, LLC
             List the contract number of any                                           394 Wards Corner Road
                   government contract                                                 Loveland, OH 45140




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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.146.      State what the contract or                   Staffing agency
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            The Agency Worx
                                                                                      129 West 29th Street
             List the contract number of any                                          Third Floor
                   government contract                                                New York, NY 10001


 2.147.      State what the contract or                   Case & Aduit Mgmt
             lease is for and the nature of               software
             the debtor's interest
                                                                                      Think LP
                  State the term remaining                                            Anderson Oxford Inc. dba ThinkLP
                                                                                      180 Northfield Drive West Unit 4
             List the contract number of any                                          Waterloo, ON N2L0C7 Canada
                   government contract


 2.148.      State what the contract or                   Telecom services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Thinking Phone Networks, Inc.
                                                                                      10 Wilson Road
             List the contract number of any                                          Attn: CFO
                   government contract                                                Combridge, MA 02138


 2.149.      State what the contract or                   Fashion stylist for
             lease is for and the nature of               Gabrielle Union
             the debtor's interest
                                                                                      Thomas Kikis (The Wall Grp)
                  State the term remaining                                            Thomas Christos Kikis
                                                                                      c/o The Wall Group LA, LLC
             List the contract number of any                                          700 North San Vincente Blvd., Suite G600
                   government contract                                                Los Angeles, CA 90069


 2.150.      State what the contract or                   Subscription to
             lease is for and the nature of               database
             the debtor's interest

                  State the term remaining                                            Thomson Reuters
                                                                                      610 Opperman Drive
             List the contract number of any                                          P.O. Box 64833
                   government contract                                                Eagan, MN 55123


 2.151.      State what the contract or                   MSA- Software license
             lease is for and the nature of
             the debtor's interest
                                                                                      Tradestone Software
                  State the term remaining                                            17 Rogers Street
                                                                                      Attn: Chief Financial Officer
             List the contract number of any                                          Gloucester, MA 01930
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 Debtor 1 New York & Company, Inc.                                                           Case number (if known)   20-18449
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.152.      State what the contract or                   Financial software
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Trintech, Inc.
                                                                                     Attn: Contract Administrator
             List the contract number of any                                         15851 Dallas Parkway, Suite 855
                   government contract                                               Addison, TX 75001


 2.153.      State what the contract or                   Staffing agency
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           TTS Staffing, LLC
                                                                                     60 East 42nd Street
             List the contract number of any                                         Suite 858
                   government contract                                               New York, NY 10165


 2.154.      State what the contract or                   Tuition support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Univ of Phoenix, Inc.
             List the contract number of any                                         4025 South Riverpoint Parkway
                   government contract                                               Phienix, AZ 85040


 2.155.      State what the contract or                   Ecommerce
             lease is for and the nature of               development services
             the debtor's interest

                  State the term remaining                                           Upromise, Inc.
                                                                                     117 Kendrick Street
             List the contract number of any                                         Suite 200
                   government contract                                               Needham, MA 02494


 2.156.      State what the contract or                   Bankruptcy
             lease is for and the nature of               supplemental SOW
             the debtor's interest
                                                                                     Vatic Outsourcing, LLC
                  State the term remaining                                           1827 Powers Ferry Road
                                                                                     SE Building 3
             List the contract number of any                                         Attn: Doug Sammak
                   government contract                                               Atlanta, GA 30339


 2.157.      State what the contract or                   TEM Stores Broadband,     Vatic Outsourcing, LLC
             lease is for and the nature of               Store Telecom, BHQ        1827 Powers Ferry Road
             the debtor's interest                        Fuze, Cellphones          SE Building 3
                                                                                    Attn: Doug Sammak
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 Debtor 1 New York & Company, Inc.                                                            Case number (if known)   20-18449
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.158.      State what the contract or                   Temp staffing agency
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Veradus Corp., dba Hays
                                                                                      4300 West Cypress Street
             List the contract number of any                                          Suite 900
                   government contract                                                Tampa, FL 33607


 2.159.      State what the contract or                   Licensed patents
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Webvention (IPMG AG)
                                                                                      Grabenstrasse 25
             List the contract number of any                                          Baar 6340 Switzerland
                   government contract


 2.160.      State what the contract or                   Revolving loan credit
             lease is for and the nature of               facility
             the debtor's interest

                  State the term remaining                                            Wells Fargo N.A.
                                                                                      One Boston Place
             List the contract number of any                                          19th Floor
                   government contract                                                Boston, MA 02108


 2.161.      State what the contract or                   Renewal-fashion and
             lease is for and the nature of               color trend program
             the debtor's interest

                  State the term remaining                                            WGSN
                                                                                      WGSN, Inc., 229 West 43rd Street
             List the contract number of any                                          7th Floor
                   government contract                                                New York, NY 10036


 2.162.      State what the contract or                   HR training
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Workplace Answers, Inc.
                                                                                      4030 W. Braker Lane
             List the contract number of any                                          Suite 205
                   government contract                                                Austin, TX 78759




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 Debtor 1 New York & Company, Inc.                                                             Case number (if known)   20-18449
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.163.      State what the contract or                   Renewal- copier rental
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Xerox Corporation
                                                                                       Attn: Office of General Counsel
             List the contract number of any                                           45 Glover Avenue
                   government contract                                                 Norwalk, CT 06856


 2.164.      State what the contract or                   Renewal- copier rental
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Xerox Corporation
                                                                                       Attn: Office of General Counsel
             List the contract number of any                                           45 Glover Avenue
                   government contract                                                 Norwalk, CT 06856




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                                      Schedule 2.6(b)

                          Transferred Contracts and Assumed Leases




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RTW - Cure Noticing List
Vendor                           Title of Contract/Description    Estimated Cure   Address1                         Additional Notice Address        Additional Notice Address
BANK OF AMERICA                 Merchant Services Bankcard        $           -    150 North College Street, 15th   Banc of America Services, LLC
MERCHANT SERVICES             Agreement including addenda and                      Floor                            7000 Goodlett Farms Parkway
                                      amendments                                   Charlotte, NC 28202              Suite 2
                                                                                                                    Cordova, TN 38016
                                                                                                                    Attn: Contract Management
COMENITY BANK                  Second Amended and Restated        $           -    One Righter Parkway, Suite 100   3100 Easton Square Place         Burr & Forman LLP
                              Private Label Credit Card Program                    Wilmington, DE 19803             Columbus, OH 43219               420 North 20th Street, Suite
                              Agreement including amendments                                                        Attn: Law Department             3400
                                                                                                                                                     Birmingham, AL 35203
Radial, Inc.                   Amended and Restated Master     $              -    935 First Avenue                 307 Hollie Drive                 BlankRome
                                Services Agreement including                       King of Prussia, PA 19406        Martinsville, VA 24112           1201 N. Market Street, Suite 800
                                statements of work, addenda,                       Attn: General Counsel            Attn: Kim Glisson, Director of   Wilmington, DE 19801
                             amendments, and letter agreements                                                      Operations                       Attn: Victoria A. Guilfoyle
AFTERPAY U.S.                 Afterpay Merchant Agreement and $               -    222 Kearny Street, Suite 600
                                      Letter Agreement                             San Francisco, CA 94108
                                                                                   Attn: Legal
BlueCore                         Master Services Agreement;      $            -    116 Nassau St., 7th Floor
                               Statement of Work dated October                     New York, NY 10038
                              17, 2018; Statement of Work dated
                             May 15, 2019; Bluecore Statement of
                              Work dated May 14, 2020; Master
                               Amendment dated May 12, 2020
Zmags, Inc.                    Master Subscription Agreement;    $            -    332 Congress Street
                                     Services Order Form                           Boston, MA 02210
Airwatch                         End User License Agreement      $            -    1155 Perimeter Center West,
                                                                                   Suite 100
AppDynamics LLC              End User License Agreement; Order $              -    303 Second Street
                                           Form                                    San Francisco, CA 94104
                                                                                   Attn: Legal Department
Archroma Global Color Services Color Services Agreement; First    $           -    4000 Monroe Road
                               Amendment to Archroma Color                         Charlotte, NC 28205
                                     Services Agreement
Atlassian                            Online Subscription          $           -    350 Bush St., 13th Floor
                                                                                   San Francisco, CA 94104
                                                                                   Attn: Legal Department
Experian Marketing Solutions, Inc.Experian Standard Terms and     $           -    955 American Ln
                              Conditions; Statement of Work dated                  Schaumburg, IL 06173
                               May 9, 2013; Experian Data Quality
                                Software and Services Schedule;
                                           Order Form
Gerber Technology, Inc.          Agreement Regarding Standard     $           -    1359 Broadway, #1200
                                  Terms and Condtions of Sale                      New York, NY 10018
                                 License of Computer Programs;
                                      Purchase Agreement
JDA Software, Inc.                  Customer Agreement and        $           -    14400 N. 87th Street
                                     subsequent Schedules                          Scottsdale, AZ 85260
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Lectra USA Inc.                  Equipment Purchase, Software       $   -   5000 Highlands PKWY SE, Suite
                                License, and Services Agreement             250
Manhattan Associates           Software License, Services Support   $   -   2300 Windy Ridge Parkway
                                 and Enhancements Agreement;                Atlanta, GA 30339
                                 Addendum to Software License,
                             Services Support and Enhancements
Mulesoft LLC                     Master Subscription Agreement;     $   -   50 Fremont Street, Suite 300
                                           Order Form                       San Francisco, CA 94105
NetX Information Systems, Inc.     Master Services Agreement;       $   -   310 SW 4th Avenue, Suite 1120
                                       Statement of Work                    Portland, OR 97204
PCM Sales, Inc.                 Statement of Work for HP Server     $   -   PCM Sales, Inc.
                                    Storage and Virtualization              8337A Green Meadows Drive N.
                                          Assessment                        Lewis Center, OH 43035
Predict Spring, Inc.           Customer Agreement; Amendment        $   -   5050 El Camino Real, Suite 116
                                to Customer Agreement; Second               Los Altos, CA 94022
                                    Amendment to Customer                   Attn: Nitin Mangtani
                                Agreement; Third Amendment to
                                  Customer Agreement; Fourth
                                    Amendment to Customer
Secureworks, Inc.              Security Services Customer Master    $   -   One Concourse Parkway, Suite
                               Services Agreement; Statement of             500
SHI                               Mimecast General Terms and        $   -   290 Davidson Avenue
                               Conditions; Customer Confirmation            Somerset, NJ 08873
Sungard, AS                    MSA - Disaster Recovery Services     $   -   680 East Swedesford Road
                                                                            Wayne, PA 19087
Total Estimate                                                      $   -
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                                             Schedule 3.5

                        Defaults under Transferred Contracts and Assumed Leases



None, other than related to non-payment of amounts due as a result of the COVID-19 pandemic
and/or the Sellers’ bankruptcy filing.




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                                           Schedule 3.6

                        Location of Distribution Center and corporate office.



Corporate Office

330 W. 34th St., 9th Floor
New York, NY 10001
Distribution Center

Radial
307 Hollie Drive
Martinsville, VA 24112




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                                      Schedule 3.7

                                       Litigation



See attached.




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SOFA Part 3, Question 7 - Legal actions, administrative proceedings, etc. to which the debtor is or was a party within one year of commencement of this case

       Case Title and Case Number                                Nature of Case                             Court or Agency and Location         Status of Case
4 Pillar Dynasty LLC and Reflex
Performance Resources Inc. v. New         Trademark infringement lawsuit alleging that the
York & Company, Inc. and New York &       Company’s use of the NY&C Velocity name in connection
Company Stores, Inc., Case No. 16-cv-     with the promotion and sale of active wear infringed on       United States District Court For The
2823                                      plaintiffs’ “Velocity” trademark.                             Southern District Of New York          Settled

                                        Amber Thomas, a former Sales Associate with the
                                        Company, filed a verified complaint with the New York City
                                        Commission on Human Rights, in which she alleged that the
                                        Company and several individually-named Company
Amber Thomas v. New York &              representatives unlawfully discriminated against her on the New York City Commission on
Company, Inc., et al., Complaint No. M- basis of race by creating a hostile work environment and    Human Rights, Law Enforcement
E-R-19-69812-E                          constructively terminating her employment.                  Bureau                                     Concluded

                                          Ms. Smith, a former store associate, filed a charge claiming
Asia A. Smith v. RTW Retailwinds, LLC     that she had been discriminated and retaliated against
d/b/a/ New York & Co., EEOC Charge        because of her disability as defined by the Americans with U.S. Equal Employment Opportunity
No.: 460-2020-02205                       Disabilities Act of 1990 ( “ADA”).                           Commission Houston District Office Pending

Hedrick v. RTW Retailwinds, Inc. f/k/a    The complaint was a purported class action lawsuit alleging
New York & Company, Inc. and New          that since June 13, 2013, the Company has engaged in
York &                                    deceptive price advertising in violation of California law by
Company Stores, Inc., Case No. 3:17-cv-   advertising merchandise in its outlet stores using false and United States District Court,
01153-BAS-JMA                             misleading “Our Price” prices.                                Southern District of California        Settled

                                          Putative nationwide class action lawsuit alleging that the
Michelle Childers v. New York &           Company violated Florida law by failing to honor the          In the Circuit Court of the Sixth
Company, Inc. n/k/a RTW Retailwinds,      “EVERYTHING 50%-78% OFF” and “All jewelry $7.99”              Judicial Circuit in and for Pinellas
Inc., CASE NO. 19-001573-CI-20            discounts advertised as part of a sale on May 13-14, 2018.    County, Florida                        Pending




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      Case Title and Case Number                                    Nature of Case                           Court or Agency and Location      Status of Case
                                          Plaintiff alleges he is visually impaired and physically
                                          disabled and that the Company’s website contains access
Nelson Fernandez v. Lerner New York,      barriers that prevent free and full use by visually disabled
Inc. d/b/a New York & Company and         individuals using keyboards and available screen reader
RTW Retailwinds, Inc., Case 9:20-cv-      software in violation of Title III of the Americans with       United States District Court,
80907-RKA                                 Disabilities Act.                                              Southern District of Florida        Concluded

                                          Administrative charge of discrimination filed by former
                                          associate Alicia Pastora against New York & Company with
                                          the Office of Human Rights and Equity Programs in Fairfax
Pastora v. New York Company, Inc.         County, VA. Ms. Pastora alleges that she was discriminated
d/b/a New York & Company, HRC             against on the basis of her race (Hispanic) in violation of Office of Human Rights and Equity
#2018078E/EEOC #10D201800082C             Chapter 11 of the Code of the County of Fairfax, VA.        Programs in Fairfax County, Virginia   Concluded

                                        Putative class action alleging that, since February 2012, the
Rael v. RTW Retailwinds, Inc. f/k/a New Company has engaged in deceptive price advertising in
York & Company, Inc. and New York &     violation of California law by selling merchandise in New
Company Stores, Inc., Case No. 3:16-cv- York & Company retail stores using sales tickets which           United States District Court,
00369-BAS-JMA                           referenced allegedly false prices.                               Southern District of California     Settled
                                        This charge alleged that the Company engaged in age
                                        discrimination against Ms. Sainato in violation of the New       Equal Employment Opportunity
Sahida Sainato v. RTW Retailwinds, Inc. York State Human Rights Law.                                     Commission, New York District Office Pending




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      Case Title and Case Number                                  Nature of Case                            Court or Agency and Location         Status of Case


                                         On March 18, 2016, plaintiffs Ana Cisneros and Faranak
                                         Safa, former associates of the Company, filed this
                                         purported wage and hour class action lawsuit against the
                                         Company in Los Angeles Superior Court alleging a number
                                         of wage-related claims under California law, including (1)
                                         failure to provide accurate wage statements to its
                                         California associates; (2) failure to pay overtime; (3) failure
                                         to timely pay wages; and (4) failure to reimburse
                                         employees for required business expenses.        Plaintiffs
                                         claim that the purported class consists of current and
                                         former California associates of the Company who since
Ana Cisneros, et al. v. Lerner New York, March 18, 2012 were required to make “off-the-clock”
Inc. Case No.: BC614197                  bank deposits on the Company’s behalf.                                                                Pending

                                          Plaintiff alleges he is physically handicapped and that while
                                          visiting the Company’s store in Conga Park, California in
                                          August 2019, he was unable to fully access the store
                                          because the aisles were not wide enough in violation of in
                                          violation of the American with Disability Act as Amended
Gary Scherer vs. Lerner New York, Inc.    on March 15, 2012 (“ADA”) and California’s Unruh Civil        United State District Court, Central
CASE NO. 2:19-cv-07367-TJH-JC             Rights Act (“UCRA”).                                          District Of California                 Pending

LERNER NEW YORK, INC. v. NEWELL D.
NORMAND, SHERIFF AND EX-OFFICIO
TAX COLLECTOR FOR JEFFERSON
PARISH; JEFFERSON PARISH SHERIFF’S
OFFICE, BUREAU OF REVENUE AND             Jefferson Parish claimed that the Company is liable for local
TAXATION, SALES AND USE TAX               sales taxes collected and previously remitted in full to
DIVISION, NO. 19-CA-350                   Louisiana DOR since 2010 on Direct Marketers’ Tax returns Fifth Circuit Court of Appeal              Concluded



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      Case Title and Case Number                                   Nature of Case                           Court or Agency and Location          Status of Case
                                         Plaintiff alleges he is visually impaired and physically
                                         disabled and that the Company’s website contains access
Nelson Fernandez v. Lerner New York,     barriers that prevent free and full use by visually disabled
Inc. d/b/a New York & Company and        individuals using keyboards and available screen reader
RTW Retailwinds, Inc., Case 9:20-cv-     software in violation of Title III of the Americans with       United States District Court,
80907-RKA                                Disabilities Act.                                              Southern District of Florida            Concluded

                                         Plaintiff Faranak Safa, a former Store Manager at the
                                         Company’s Topanga store in the Los Angeles-area, filed the
                                         lawsuit against the Company in Los Angeles Superior Court,
                                         alleging claims for (1) age discrimination, (2) national origin
                                         discrimination, (3) race discrimination, (4) sexual
                                         orientation discrimination, (5) wrongful termination in         Superior Court of the State of
Safa v. Lerner New York, Inc. CASE NO.   violation of public policy, (6) unfair business practices, and California for the County of Los
BC614196                                 (7) retaliation in violation of California law.                 Angeles                                Settled

                                         The complaint alleges various violations of the California
                                         Labor and Government Codes against the Company,
                                         including the Company’s failure to: (i) reimburse expenses
                                         incurred as a result of alleged requirements to use personal
                                         cell phones for work related purposes, including in
                                         connection with the download and use of the Dayforce
                                         mobile applicable, and when to text managers and
                                         supervisors; (ii) provide required meal and rest breaks; (iii)
                                         pay overtime wages at the proper amount; and (iv) issue
                                         wage statements under California law. Ms. Sanchez
                                         purports to bring these claims on behalf of herself and
Susie Sanchez v. New York & Company      other similarly situated current and former employees in
Stores, Inc. et al. CASE NO. 2:20-CV-    California from approximately September 2015 to the            United States District Court, Central
02380-RGK-GJS                            present.                                                       District of California                  Pending




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     Case Title and Case Number                               Nature of Case                            Court or Agency and Location         Status of Case

Watters Creek Owner LLC v. Lerner      Landlord filed a lawsuit against the Company alleging that
New York, Inc. Case No.:18-cv-769-     the Company breached its lease with landlord by              401ST District Court, Collin County,
ALKM-KPJ                               improperly exercising its right to cancel the lease.         Texas                                  Settled




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      Case Title and Case Number                                  Nature of Case                            Court or Agency and Location           Status of Case
                                          The complaint alleged the lack of an accessible path of
                                          travel through [a] store operated by the Company
Gabriela Cabrera v. New York &            constitutes a violation of the Americans with Disabilities
Company Stores, Inc., Case No. CIVDS      Act (“ADA”) and, in turn, California’s Unruh Civil Rights Act Superior Court of California, County
1918299                                   and Disabled Persons Act                                      of San Bernardino                        Concluded

Hedrick v. RTW Retailwinds, Inc. f/k/a    The complaint was a purported class action lawsuit alleging
New York & Company, Inc. and New          that since June 13, 2013, the Company has engaged in
York &                                    deceptive price advertising in violation of California law by
Company Stores, Inc., Case No. 3:17-cv-   advertising merchandise in its outlet stores using false and United States District Court,
01153-BAS-JMA                             misleading “Our Price” prices.                                Southern District of California          Settled

                                        Putative class action alleging that, since February 2012, the
Rael v. RTW Retailwinds, Inc. f/k/a New Company has engaged in deceptive price advertising in
York & Company, Inc. and New York & violation of California law by selling merchandise in New
Company Stores, Inc., Case No. 3:16-cv- York & Company retail stores using sales tickets which        United States District Court,
00369-BAS-JMA                           referenced allegedly false prices.                            Southern District of California            Settled

                                          The complaint alleges various violations of the California
                                          Labor and Government Codes against the Company,
                                          including the Company’s failure to: (i) reimburse expenses
                                          incurred as a result of alleged requirements to use personal
                                          cell phones for work related purposes, including in
                                          connection with the download and use of the Dayforce
                                          mobile applicable, and when to text managers and
                                          supervisors; (ii) provide required meal and rest breaks; (iii)
                                          pay overtime wages at the proper amount; and (iv) issue
                                          wage statements under California law. Ms. Sanchez
                                          purports to bring these claims on behalf of herself and
Susie Sanchez v. New York & Company       other similarly situated current and former employees in
Stores, Inc. et al. CASE NO. 2:20-CV-     California from approximately September 2015 to the            United States District Court, Central
02380-RGK-GJS                             present.                                                       District of California                  Pending


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                                           Schedule 3.8

                  Collective Bargaining Agreements / Mass Layoffs or Plant Closing



1.      Collective Bargaining Agreements (as may have been amended from time to time, the
“CBAs”) with Local 1102 RWDSU UFCW (the “Union”). There are three separate CBAs for
in-store associates with the Union depending upon the following geographic locations: (i)
Maryland and Pennsylvania; (ii) upstate New York, north of Westchester County in the State of
New York; and (iii) the City of New York, and in the counties of Westchester, Nassau and
Suffolk in the State of New York.

2.      Effective as of May 2, 2020, the Sellers executed a reduction in force at its corporate
office impacting 191 employees which was considered a “mass Layoff” or “plant closing” as
defined by WARN and applicable state law.




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                                     Schedule 3.8(d)

                                       Employees



[To be provided]




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                                              Schedule 3.12

                                         Employee Benefit Plans

   Title/Category         Part-Time Employee             Full-Time Employee            Union – Local 1102
Eligibility             Variable hour associates       All full-time associates are   Associates are eligible
                        are subject to a 12-month      eligible for the below         for benefits following a
                        measurement period that        benefits on the first of the   trial period, unless
                        begins the 1st of the          month following one full       otherwise noted: (i)
                        month following date of        calendar month of service      Regular FT employees
                        hire. If the associate is      or the first of the month      (work 32+ hours/wk) -
                        deemed eligible after the      following promotion to         60 calendar day trial
                        initial measurement            full time status, unless       period; (ii) Regular PT
                        period (measures 30            otherwise stated.              employees (work 15-32
                        hours per week on                                             hours/wk) - 60 working
                        average during the 12-                                        day trial period, not to
                        month measurement                                             exceed 4 months; and
                        period) they become                                           (iii) Extras (work less
                        benefit eligible.                                             than 15 hours/wk) - 60
                        Following the                                                 working day trial
                        measurement period is the                                     period, not to exceed 4
                        12-month stability period.                                    months.
                        The variable hour
                        associate will be eligible
                        for benefits during this
                        stability period, but if
                        they average less than 30
                        hours calculated for the
                        total stability period, they
                        will lose their benefit
                        eligibility at the end of
                        the stability period and
                        they will begin a new
                        one-year measurement
                        period.
Health & Welfare        None, unless the variable      The Debtors offer Full-        Employees who satisfy
Benefits Coverage       hour associate is ACA          Time Associates a medical      ACA requirements are
                        eligible. If so, they would    plan, prescription drug        eligible to join the
                        be eligible for the            plan, dental plan, vision      RTW Retailwinds, Inc.
                        Debtors’ medical plan,         plan, group term life          self-insured medical
                        prescription drug plan,        insurance, Employee            plan. 2 employees
                        vision plan and group          Assistance Program and         hired prior to 1992 are
                        term life insurance, under     business travel life           grandfathered at 15
                        the same rules as Full-        insurance. For the medical     hours - 4 employees
                        time Associates. In            program, the Debtors offer     hired from 1992-2013
                        addition, they would be        four health programs           are grandfathered at 20
                        eligible to enroll for         through United Healthcare      hours. Dental benefits
                        voluntary benefits             - the Choice Plus Network,     and vision benefits are
                        through Aflac,                 Choice “Network Only”,         provided through a
                        Nationwide VPI Pet             HDHP Health Savings            multi-employer plan


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   Title/Category         Part-Time Employee           Full-Time Employee           Union – Local 1102
                        Insurance and InfoArmor      Plan, and Indemnity Plan.     with Local 1102. In
                        ID Theft Plan.               The dental program            addition, they would be
                                                     offered is through MetLife    eligible to enroll for
                                                     and pays benefits in an       voluntary benefits
                                                     amount equal to the           through Aflac,
                                                     covered percentages for       Nationwide VPI Pet
                                                     charges incurred subject to   Insurance and
                                                     a maximum benefit             InfoArmor ID Theft
                                                     amount. The vision            Plan.
                                                     program is offered through
                                                     EyeMed Vision Care. The
                                                     Employee Assistance
                                                     Program is offered through
                                                     Matrix Psychological
                                                     Services. In addition, they
                                                     would be eligible to enroll
                                                     for voluntary benefits
                                                     through Aflac, Nationwide
                                                     VPI Pet Insurance and
                                                     InfoArmor ID Theft Plan.
Flexible Spending       None, unless the variable    The Debtors offer Full-       None, unless the
Accounts and Health     hour associate is ACA        time Associates the           associate is enrolled in
Savings Account         eligible. The ACA            participation in two          the HDHP Health
                        eligible associate would     different options for         Savings Plan. Then
                        be eligible to participate   flexible spending accounts    they would be eligible
                        in the Company’s Health      and one Health Savings        to enroll in the Health
                        Care Flexible Spending       Account option. The           Savings Account
                        Account, the Dependent       Health Care Flexible          option under the same
                        Care Flexible Spending       Spending Account allows       rules as Full Time
                        Account and the Health       you to pay for eligible       Associates.
                        Savings Account (if they     medical, pharmacy, dental
                        are enrolled in the HDHP     and vision expenses that
                        Health Savings Medical       are typically not paid for
                        Plan), under the same        by these plans on a pre-tax
                        rules as Full Time           basis. The Full-time
                        Associates.                  Associate may elect to
                                                     withhold up to $2,750 in
                                                     2020 into a Health Care
                                                     Flexible Spending
                                                     Account. The Health Care
                                                     FSA offers a $500 rollover
                                                     provision, which permits a
                                                     remaining balance of up to
                                                     $500 in the account at year
                                                     end to be rolled over into
                                                     the following year’s
                                                     Health Care FSA account
                                                     for use throughout the
                                                     following year. The


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   Title/Category         Part-Time Employee           Full-Time Employee           Union – Local 1102
                                                     Dependent Care Flexible
                                                     Spending Account allows
                                                     an associate to pay for
                                                     eligible daycare/eldercare
                                                     expenses on a pre-tax
                                                     basis. The Full-time
                                                     Associate may elect to
                                                     withhold up to $5,000 per
                                                     year. This maximum may
                                                     be reduced to $2,500 each
                                                     if the Associate is married
                                                     and they and their spouse
                                                     file separate federal
                                                     income tax returns. The
                                                     Health Savings Account
                                                     allows the Associate to
                                                     pay for eligible medical,
                                                     pharmacy, dental and
                                                     vision expenses on a
                                                     pretax basis, once the plan
                                                     deductible has been met.
                                                     In 2020, the associate may
                                                     elect to withhold up to
                                                     $3,550 for an individual
                                                     and $7,100 for a family.
                                                     Associates and their
                                                     spouses who are between
                                                     the ages of 55 and 64 may
                                                     each make a catch-up
                                                     contribution of $1,000.
PTO                     Part-time Assistant          Full-time Associates are      None.
                        Managers with one            eligible for PTO. PTO
                        continuous year of           hours available is based on
                        management service who       a sliding scale based on
                        work a minimum of 20         calendar years of service.
                        hours per week are           One day of PTO may be
                        eligible for paid-time off   carried over from one
                        (“PTO”). Rather than         calendar year to the next;
                        providing traditional        any additional remaining
                        vacation, sick and           days are forfeited. Full-
                        personal days, PTO           Time Associates will be
                        provides the employee        paid 8 hours for each PTO
                        with a “bank” of paid        day.
                        time off that the employee
                        can use however he/she
                        wishes, including
                        personal or family needs.
                        PTO hours available is
                        based on a sliding scale


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   Title/Category         Part-Time Employee           Full-Time Employee            Union – Local 1102
                        based on calendar years
                        of service. One day of
                        PTO may be carried over
                        from one calendar year to
                        the next; any additional
                        remaining days are
                        forfeited. Part Time
                        Assistant Managers who
                        are ACA eligible will
                        receive PTO under the
                        same rules as Full Time
                        Associates, except that
                        hours paid for one day of
                        PTO will be calculated
                        based on a rolling 13-
                        week average.
Savings &               If an employee is 21 years   If an employee is 21 years     Covered under a single
Retirement Plan         of age with one full year    of age with one full year of   employer defined
                        of full-time or part-time    full-time or part-time         benefit plan through
                        employment with the          employment with the            Local 1102.
                        Debtors and at least 1,000   Debtors and at least 1,000
                        hours worked over a 12       hours worked over a 12
                        month period, the            month period, the
                        employee is entitled to      employee is entitled to
                        participate in the savings   participate in the savings
                        and retirement plan,         and retirement plan, which
                        which includes: (i) 401(k)   includes: (i) 401(k) pre-tax
                        pre-tax savings; (ii)        savings; (ii) 401(k) Roth
                        401(k) Roth post-tax         post-tax savings; (iii) a
                        savings; (iii) a 100%        100% company match of
                        company match of the         the first 4% of the
                        first 4% of the              employee’s pay; (iv)
                        employee’s pay; (iv)         access to Brokerage Link;
                        access to Brokerage Link;    and (v) portfolio advisory
                        and (v) portfolio advisory   services. The 401(k)
                        services. The 401(k)         Company Match was
                        Company Match was            suspended against all
                        suspended against all        compensation beginning
                        compensation beginning       May 10, 2020.
                        May 10, 2020.
Leaves of Absence       Part-Time Associates         A Full-Time Associate is       After the trial period,
                        working less than 30         eligible for leave time        union associates are
                        hours per week are           (with or without pay) for      eligible for funeral
                        eligible for leave time      the following                  leave. In addition, they
                        (with or without pay) for    circumstances, all of which    are eligible for state
                        the following                are based on a 12-month        mandated disability and
                        circumstances, all of        rolling period: (i)            paid family leave, if
                        which are based on a 12-     bereavement; (ii)              applicable, based on



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   Title/Category         Part-Time Employee             Full-Time Employee             Union – Local 1102
                        month rolling period: (i)     emergency absence; (iii)         the state’s guidelines.
                        jury and witness duty; (ii)   jury and witness duty; (iv)
                        family and medical leave      family and medical leave
                        act; (iii) workers            act; (v) personal leave; (vi)
                        compensation leave; (iv)      workers compensation
                        military training; (v)        leave; (vii) medical leave;
                        military leave; (vi) paid     (viii) military training; (ix)
                        family leave; and (vii)       military leave; and (x) paid
                        disability. In addition,      family leave. In addition,
                        they are eligible for state   they are eligible for state
                        mandated sick leave,          mandated sick leave,
                        disability and paid family    disability and paid family
                        leave, if applicable, based   leave, if applicable, based
                        on the state’s guidelines.    on the state’s guidelines.
Sick Leave              None, except in certain       None – included in PTO           Six days of sick pay per
                        States where sick pay is      and in certain states where      year. Unused sick
                        mandated.                     sick pay is mandated, e.g.,      leave from prior year to
                                                      Covid-19 sick pay.               be take as vacation in
                                                                                       January and February.
                                                                                       Also, in certain states
                                                                                       where sick pay is
                                                                                       mandated, e.g., Covid-
                                                                                       19 sick pay.
Disability              None, except for state        All full-time associates are     None, except for state
                        mandated disability, if       covered by both short-term       mandated disability, if
                        applicable, based on the      and long-term disability,        applicable, based on
                        state’s guidelines. ACA       entirely paid by the             the state’s guidelines.
                        eligible Part Time            Debtors. Coverage begins
                        associates will receive       on the first of the month
                        disability under the same     following one full calendar
                        rules as Full Time            month of service.
                        Associates.
Holidays                None for associates who       Full-time field associates       Union members are
                        are not ACA eligible. If      are provided six holidays        provided between 6-7
                        the variable hour             per year. Full-time              holidays per year
                        associate is ACA eligible,    associates in Brand              depending upon
                        they would be provided        Headquarters receive eight       location as well as 2-3
                        with the same holiday         holidays per year. Full-         additional days per
                        schedule as Full-time         time associates receive one      year. They would
                        field and/or Brand            full day’s pay equal to 8        receive pay for the
                        Headquarters associates.      hours for each holiday           benefit day equaling
                        They would receive pay        after the 1st of the month       the average daily hours
                        for the benefit day           following one full calendar      they worked over a
                        equaling the average daily    month of service or 1st of       rolling 13-week period.
                        hours they worked over a      the month following a
                        rolling 13-week period.       change to Full-Time
                                                      benefit eligible status.



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   Title/Category         Part-Time Employee             Full-Time Employee           Union – Local 1102
Vacation                None.                          None.                         During first year of
                                                                                     employment, vacation
                                                                                     is determined based on
                                                                                     month of hire. In an
                                                                                     employee's second
                                                                                     through fifth year of
                                                                                     employment, the
                                                                                     employee is eligible for
                                                                                     2 weeks, and is scaled
                                                                                     up based on length of
                                                                                     service from there.
                                                                                     They would receive
                                                                                     pay for the benefit day
                                                                                     equaling the average
                                                                                     daily hours they
                                                                                     worked over a rolling
                                                                                     13-week period.
Other Benefits          The Debtors also offer         The Debtors also offer        The Debtors also offer
                        other benefits such as an      other benefits such as an     other benefits such as
                        associate stock purchase       associate stock purchase      an associate stock
                        plan, group discounts and      plan, merchandise             purchase plan, group
                        merchandise discounts.         discounts, group discounts,   discounts and
                        All eligible Employee          commuter expense              merchandise discounts.
                        discounts under an             reimbursement assistance,     All eligible Employee
                        Employee discount              tuition assistance and        discounts under an
                        program will be reduced        adoption assistance. All      Employee discount
                        to fifteen percent (15%)       eligible Employee             program will be
                        after the Petition Date.       discounts under an            reduced to fifteen
                                                       Employee discount             percent (15%) after the
                                                       program will be reduced to    Petition Date.
                                                       fifteen percent (15%) after
                                                       the Petition Date.
Loss Prevention         The Debtors offer a loss       Same as Part-Time.            Same as Part-Time.
Reward Program          prevention reward
                        program, which rewards
                        associates in the Field
                        with up to a $2,000
                        reward for information
                        that leads to identification
                        and resolution of
                        dishonest activity by
                        associates within the
                        company. The reward is
                        based on 25% of the loss
                        identified by the
                        investigation with a $100
                        minimum payment and a
                        maximum payout of



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   Title/Category         Part-Time Employee            Full-Time Employee        Union – Local 1102
                        $2,000. Associates with
                        information regarding
                        dishonest activity or
                        security violations against
                        the Debtors are asked to
                        call the toll-free hotline
                        and speak to the loss
                        prevention department.
Silent Witness          The Debtors offer a silent    Same as Part-Time.         Same as Part-Time.
Program                 witness program whereby
                        employees can call a
                        hotline and report
                        knowledge or suspicion
                        of dishonest employee
                        activity. A reward can be
                        offered up to $1,000 for
                        information that leads to
                        the successful closure of
                        an investigation that lead
                        to the admission of theft
                        of Retailwinds
                        merchandise, cash or
                        credits.
Executive Medical       None.                         The Debtors offer and       None.
Plan                                                  fully pay for the Executive
                                                      Medical Plan, which is
                                                      provided through United
                                                      Healthcare to Executive
                                                      Committee Members
                                                      (Executive Vice President
                                                      and above). The plan is
                                                      fully insured and
                                                      reimburses 100% of
                                                      eligible expenses normally
                                                      not covered under the
                                                      RTW Retailwinds, Inc.
                                                      Medical, Dental and
                                                      Prescription Drug Plans,
                                                      such as deductibles and co-
                                                      payments, as well as dental
                                                      expenses in excess of
                                                      annual or lifetime
                                                      maximums. The
                                                      maximum benefit is
                                                      unlimited per year, per
                                                      family.




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                                     Schedule 3.13(a)(i)

                          Ownership of Licensed Intellectual Property



None.




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                                           Schedule 3.13(a)(ii)

                        Intellectual Property that is not part of the Acquired Assets



1.       Name and likeness of Eva Mendes
2.       Name and likeness of Gabrielle Union
3.       Name and likeness of Tess Holliday
4.       Trademarks “EFF YOUR BEAUTY STANDARDS”,
         “EFFYOURBEAUTYSTANDARDS”, and “#EFFYOURBEAUTYSTANDARDS”
5.       Name and likeness of Tabria Majors
6.       Name and likeness of Sarah Rae Vargas
7.       Name and likeness of Gabrielle Gregg (aka Gabi Fresh) and all trademarks, service
         marks, design marks, logos, trade names, copyrights, moral rights and trade secrets
         associated with the “Gabi Fresh” brand
8.       Name and likeness of Patrick Simondac (aka Patrick Starrr) and all trademarks, service
         marks, design marks, logos, trade names, copyrights, moral rights and trade secrets
         associated with the “Patrick Starrr” brand




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                                          Schedule 3.13(b)(i)

                                              Trademarks



Trademarks registered with the USPTO and owned by Lernco, Inc.

    1.    NY&C (logo) – Registration Number 4534159
    2.    New York Romance – Registration Number 4553400
    3.    NYC (logo) – Registration Number 4655094
    4.    Dream New York – Registration Number 4730364
    5.    NY&C Rewards – Registration Number 4007146
    6.    Soho New York & Company Jeans (logo) – Registration Number 4801321
    7.    New York & Company – Registration Number 2507567
    8.    NY Style – Registration Number 4089208
    9.    NY Style – Registration Number 4108956
    10.   New York & Company Outlet – Registration Number 4160559
    11.   New York & Company – Registration Number 2629986
    12.   NY&C Beauty – Registration Number 4492234
    13.   NY@Work – Registration Number 5530422
    14.   New York & Company – Registration Number 3026644
    15.   Lerner – Registration Number 1431895
    16.   NY&C Style System – Serial Number 88703464 (Application) / Registration Number 6094489
    17.   S Uncommon Sense (logo) – Registration Number 5963045
    18.   US (logo) – Serial Number 88253448 (Application)
    19.   Magic Crepe – Registration Number 5856636
    20.   Shape & Chic – Registration Number 5839620
    21.   Sleek & Chic – Registration Number 5839619
    22.   RTW Retailwinds – Serial Number 88187096 (Application)
    23.   RTW Retailwinds – Serial Number 88187073 (Application)
    24.   NY (pocket stitch) – Registration Number 3317524
    25.   New York & Company – Registration Number 3446405
    26.   NY&C (logo) – Registration Number 3382726
    27.   NY&C (logo) – Registration Number 3755542

Trademarks registered with the USPTO and owned by Lerner New York, Inc.

    1. Some Gifts Count More Than Others – Registration Number 3805887
    2. City Slim – Registration Number 4653838

Trademarks registered with the USPTO and owned by FTF IP Company, Inc.

    1.    Fashion to Figure Fashion for Figures 12-26 – Registration Number 3940340
    2.    Fashion is a State of Mind, Not a Size Range – Registration Number 4753367
    3.    FTF Fashion to Figure (logo) – Registration Number 4753335
    4.    FTF (logo) – Registration Number 4753336


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    5.   FTF Fashion to Figure (logo) – Registration Number 4753334
    6.   Fashion to Figure – Registration Number 3252188
    7.   FTF (logo) – Registration Number 3261711
    8.   FTF – Registration Number 3268915

Trademarks registered with state offices and owned by Lerner New York, Inc.

    1. Alabama
           a. New York & Company – Registration Number 112146
    2. Arizona
           a. New York & Company – Registration Number 548613
    3. Louisiana
           a. New York & Company – Registration Number 567693
    4. Nebraska
           a. New York & Company – Registration Number 10058514
    5. North Dakota
           a. New York & Company – Registration Number 16014200
    6. Ohio
           a. New York & Company – Registration Number 1259326
    7. Wisconsin
           a. New York & Company – Registration Number 20105200052
    8. Wyoming
           a. New York & Company – Registration Number 2000-000407518

Trademarks registered with state offices and owned by Lerner New York Outlet, LLC

    1. Alabama
           a. New York & Company Outlet – Registration Number 112147
    2. Wisconsin
           a. New York & Company – Registration Number 20200079938
           b. New York & Company Outlet – Registration Number 20105100051

Trademarks registered internationally and owned by Lernco, Inc.

Andorra

    1. LERNER NEW YORK – Registration Number 6876
    2. NY & CO AND DESIGN – Registration Number 14355

Argentina

    3.   LERNER NEW YORK – Registration Number 2531622
    4.   NY & CO AND DESIGN – Registration Number 2537639
    5.   NY & CO NEW YORK & COMPANY AND DESIGN 02 – Registration Number 2605334
    6.   NY & CO AND DESIGN – Registration Number 2031616

Australia




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    7. NEW YORK & COMPANY – Registration Number 926844
    8. NY & CO AND DESIGN – Registration Number A826672

Austria

    9. NY & CO AND DESIGN – Registration Number 189173
    10. NEW YORK & COMPANY – Registration Number 926844

Bahamas

    11. LERNER NEW YORK – Registration Number 16594

Bahrain

    12.   NY & CO. AND RECTANGULAR DESIGN – Registration Number 27599
    13.   NY & CO AND DESIGN – Registration Number SM3627
    14.   NEW YORK & COMPANY – Registration Number TM61030
    15.   NEW YORK & COMPANY – Registration Number TM61031
    16.   NEW YORK & COMPANY – Registration Number 61029
    17.   NEW YORK & COMPANY – Registration Number 61028

Bangladesh

    18. NY & CO AND DESIGN – Application Number 64231
    19. NY & CO AND DESIGN – Registration Number 64232
    20. NY & CO AND DESIGN – Application Number 64227

Barbados

    21. NY & CO AND DESIGN – Registration Number 81/15099
    22. NY & CO AND DESIGN – Registration Number 81/015100
    23. NY & CO AND DESIGN – Registration Number 81/015098

Benelux

    24.   LERNER – Registration Number 418590
    25.   NEW YORK & COMPANY – Registration Number 926844
    26.   LERNER – Registration Number 424555
    27.   NY & CO AND DESIGN – Registration Number 682310

Bolivia

    28.   NY & CO AND DESIGN – Registration Number 78519
    29.   NY & CO AND DESIGN – Registration Number 78518
    30.   NY & CO AND DESIGN – Registration Number 78520
    31.   LERNER – Registration Number 81959-A

Brazil

    32. LERNER – Registration Number 812694384


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    33.   NY & CO – Registration Number 822421747
    34.   NY & CO – Registration Number 822421763
    35.   LERNER – Registration Number 812694376
    36.   NEW YORK & COMPANY02 – Registration Number 831247070
    37.   NEW YORK & COMPANY02 – Registration Number 831247053

Bulgaria

    38.   LERNER NEW YORK – Registration Number 4341Y
    39.   LERNER NEW YORK – Registration Number 26627
    40.   NEW YORK & COMPANY – Registration Number 926844
    41.   NY & CO AND DESIGN – Registration Number 40296

Cambodia

    42. NEW YORK & COMPANY – Registration Number KH/20237/04
    43. NEW YORK & COMPANY – Registration Number KH/20238/04

Canada

    44. NEW YORK & COMPANY – Registration Number 880324
    45. CITY STRETCH – Registration Number 882661
    46. S UNCOMMON SENSE – Application Number 1945036

Chile

    47.   NY & CO AND DESIGN – Registration Number 1046869
    48.   NY & CO AND DESIGN – Registration Number 1079159
    49.   LERNER – Registration Number 777132
    50.   LERNER – Registration Number 778705
    51.   LERNER – Registration Number 798392

China

    52. NY & CO AND DESIGN – Registration Number 1589200
    53. NY & CO AND DESIGN – Registration Number 1595953
    54. NY & C AND DESIGN02 – Application Number 12965761

Colombia

    55.   NY & CO AND DESIGN – Registration Number 233702
    56.   NY & CO AND DESIGN – Registration Number 233703
    57.   NY & CO AND DESIGN – Registration Number 233704
    58.   LERNER NEW YORK – Registration Number 173073
    59.   NY & CO AND DESIGN – Registration Number 383092

Costa Rica

    60. NY & CO AND DESIGN – Registration Number 170195



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Czech Republic

    61. NEW YORK & COMPANY – Registration Number 926844
    62. NY & CO AND DESIGN – Registration Number 234336

Denmark

    63. NY & CO AND DESIGN – Registration Number VR 200002381
    64. NEW YORK & COMPANY – Registration Number 926844

Dominican Republic

    65.   NY & CO AND DESIGN – Registration Number 114278
    66.   NY & CO AND DESIGN – Registration Number 114250
    67.   NY & CO AND DESIGN – Registration Number 114334
    68.   LERNER NEW YORK – Registration Number 74353
    69.   NEW YORK & COMPANY – Registration Number 161627

Ecuador

    70.   NY & CO AND DESIGN – Registration Number 3021-IEPI
    71.   NY & CO AND DESIGN – Registration Number 3022-IEPI
    72.   NY & CO AND DESIGN – Registration Number 3023-IEPI
    73.   LERNER NEW YORK – Registration Number 699-IEPI
    74.   LERNER NEW YORK – Registration Number 705-IEPI

Egypt

    75.   NY & CO AND DESIGN – Registration Number 132739
    76.   NY & CO AND DESIGN – Registration Number 132740
    77.   NEW YORK & COMPANY – Registration Number 195561
    78.   NEW YORK & COMPANY – Registration Number 195562
    79.   NEW YORK & COMPANY – Registration Number 203434
    80.   NEW YORK & COMPANY – Registration Number 203433

El Salvador

    81.   LERNER NEW YORK – Registration Number 105 Book104
    82.   LERNER NEW YORK – Registration Number 237 Book 104 P
    83.   LERNER NEW YORK – Registration Number 69 Book 107
    84.   NY & CO AND DESIGN – Registration Number 109 Book 187
    85.   NY & CO AND DESIGN – Registration Number 108 Book 187
    86.   LERNER NEW YORK – Registration Number 3 Book 49 Pages

European Union

    87. LERNER NEW YORK – Registration Number 325431
    88. NEW YORK & COMPANY – Registration Number 926844



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Finland

    89. NY & CO AND DESIGN – Registration Number 219910
    90. NEW YORK & COMPANY – Registration Number 926844

France

    91.   LERNER – Registration Number 1355689
    92.   LERNER – Registration Number 1386464
    93.   NEW YORK & COMPANY – Registration Number 926844
    94.   NY & CO AND DESIGN – Registration Number 00 3015839

Germany

    95. NEW YORK & COMPANY – Registration Number 926844
    96. NY & CO AND DESIGN – Registration Number 300 19 077

Greece

    97. LERNER – Registration Number 83091
    98. NEW YORK & COMPANY – Registration Number 926844

Guatemala

    99. NY & CO AND DESIGN – Registration Number 108877
    100.       NY & CO AND DESIGN – Registration Number 108908
    101.       NY & CO AND DESIGN – Registration Number 108906
    102.       LERNER – Registration Number 115671
    103.       CITY STRETCH – Registration Number 134501
    104.       NEW YORK & COMPANY – Registration Number 153288
    105.       NEW YORK & COMPANY – Registration Number 153277

Haiti

    106.          LERNER NEW YORK – Registration Number 39/152
    107.          LERNER NEW YORK – Registration Number 40/152

Hong Kong

    108.          NY & CO AND DESIGN – Registration Number 300126116AA
    109.          LEARNER – Registration Number 1989B0781

Hungary

    110.          NEW YORK & COMPANY – Registration Number 926844
    111.          NY & CO AND DESIGN – Registration Number 172142

India

    112.          LERNER NEW YORK – Registration Number 625620



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    113.          NY & CO AND DESIGN – Registration Number 1250055
    114.          NY & CO AND DESIGN – Registration Number 912079
    115.          NY & CO AND DESIGN – Registration Number 912077
    116.          NY & CO AND DESIGN – Registration Number 912078

Indonesia

    117.          NY & CO AND DESIGN – Registration Number IDM000243515
    118.          NY & CO AND DESIGN – Registration Number IDM000308812
    119.          NY & CO and Design – Registration Number IDM000243517
    120.          LERNER NEW YORK – Registration Number IDM000050333
    121.          LERNER – Registration Number IDM000113209
    122.          NEW YORK & COMPANY – Registration Number IDM000172992
    123.          NEW YORK & COMPANY – Registration Number IDM000172991

Ireland

    124.          LERNER NEW YORK – Registration Number 161697
    125.          NEW YORK & COMPANY – Registration Number 926844
    126.          NY & CO AND DESIGN – Registration Number 222496

Israel

    127.          NY & CO AND DESIGN – Registration Number 136076
    128.          NY & CO AND DESIGN – Registration Number 136077
    129.          NY & CO AND DESIGN – Registration Number 136075

Italy

    130.          LERNER – Registration Number 1215532
    131.          NEW YORK & COMPANY – Registration Number 926844
    132.          NY & CO AND DESIGN – Registration Number 1291543

Jordan

    133.          NY & CO AND DESIGN – Registration Number 57893
    134.          NY & CO AND DESIGN – Registration Number 57894
    135.          LERNER NEW YORK – Registration Number 61905
    136.          NY & CO AND DESIGN – Registration Number 61448
    137.          LERNER NEW YORK – Registration Number 35872
    138.          NEW YORK & COMPANY – Registration Number 94188
    139.          NEW YORK & COMPANY – Registration Number 93878
    140.          NEW YORK & COMPANY – Registration Number 94189
    141.          NEW YORK & COMPANY – Registration Number 94230

Kenya

    142.          NEW YORK & COMPANY – Registration Number 926844



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Kosovo

    143.          LERNER – Registration Number 1811
    144.          NEW YORK & COMPANY – Registration Number 5914
    145.          NY & CO AND DESIGN – Registration Number 3353

Kuwait

    146.          NY & CO AND DESIGN – Registration Number 44249
    147.          NY & CO. AND RECTANGULAR DESIGN – Registration Number 44247
    148.          NY & CO AND DESIGN – Registration Number 44248

Lebanon

    149.          NEW YORK & COMPANY IN LATIN CHARACTERS – Registration Number 111931

Lesotho

    150.          NEW YORK & COMPANY – Registration Number LS/M/04/00156

Macao

    151.          NEW YORK & COMPANY – Registration Number N/28945
    152.          NEW YORK & COMPANY – Registration Number N/28944

Malaysia

    153.          LERNER NEW YORK – Registration Number 94/07748
    154.          LERNER NEW YORK – Registration Number 97018386

Mexico

    155.          NEW YORK & COMPANY – Registration Number 1288383
    156.          NY & CO NEW YORK & COMPANY AND DESIGN02 – Registration Number 1346867
    157.          NY & CO NEW YORK & COMPANY AND DESIGN – Registration Number 1430148
    158.          NEW YORK & COMPANY AND DESIGN – Registration Number 1369770
    159.          NY & CO – Registration Number 1774999
    160.          NY & CO – Registration Number 1128806
    161.          NEW YORK & COMPANY – Registration Number 1175364
    162.          NEW YORK & COMPANY – Registration Number 1205548
    163.          S UNCOMMON SENSE – Registration Number 1987541
    164.          S UNCOMMON SENSE – Registration Number 1996252
    165.          S UNCOMMON SENSE – Application

Monaco

    166.          NY & CO AND DESIGN – Registration Number R00.21473

Montenegro




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    167.          LERNER – Registration Number 04145PP
    168.          NY & CO AND DESIGN – Registration Number 06006PP

Morocco

    169.          NEW YORK & COMPANY – Registration Number 926844
    170.          NY & CO AND DESIGN – Registration Number 72818

Nepal

    171.          LERNER NEW YORK – Registration Number 11377/052
    172.          LERNER NEW YORK – Registration Number 11519/052
    173.          LERNER NEW YORK – Registration Number 11518/052

New Zealand

    174.          NY & CO AND DESIGN – Registration Number 610338
    175.          NY & CO AND DESIGN – Registration Number 610337
    176.          NY & CO AND DESIGN – Registration Number 610336

Nicaragua

    177.          NY & CO AND DESIGN – Registration Number 51053
    178.          NY & CO AND DESIGN – Registration Number 51052
    179.          NY & CO AND DESIGN – Registration Number 51054

Norway

    180.          LERNER – Registration Number 129602
    181.          NEW YORK & COMPANY – Registration Number 926844
    182.          NY & CO AND DESIGN – Registration Number 206761

Oman

    183.          NY & CO AND DESIGN – Registration Number 22476
    184.          NY & CO AND DESIGN – Registration Number 22479
    185.          NY & CO AND DESIGN – Registration Number 22477
    186.          NY & CO AND DESIGN – Registration Number 22478

Pakistan

    187.          NY & CO AND DESIGN – Application Number 161735
    188.          NY & CO AND DESIGN – Application Number 161736

Panama

    189.          NY & CO AND DESIGN – Registration Number 109369
    190.          NY & CO AND DESIGN – Registration Number 109371
    191.          NY & CO AND DESIGN – Registration Number 109370
    192.          LERNER – Registration Number 43689-02


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    193.          LERNER – Registration Number 43691
    194.          LERNER – Registration Number 43690
    195.          LERNER – Registration Number 43695

Paraguay

    196.          NY & CO and Design – Registration Number 355641
    197.          NY & CO and Design – Registration Number 355642
    198.          NY & CO and Design – Registration Number 355640
    199.          LERNER – Registration Number 292154
    200.          LERNER – Registration Number 292153

Peru

    201.          NY & CO AND DESIGN – Registration Number 66068
    202.          LERNER NEW YORK – Registration Number 28269
    203.          NY & CO AND DESIGN – Registration Number 78796
    204.          NEW YORK & COMPANY – Registration Number 47353
    205.          NEW YORK & COMPANY – Registration Number 135225

Philippines

    206.          NEW YORK & COMPANY – Registration Number 4-2006-005756
    207.          NEW YORK & COMPANY – Registration Number 4-2007-00037
    208.          LERNER – Registration Number 4-2008-008883

Poland

    209.          NEW YORK & COMPANY – Registration Number 926844
    210.          NY & CO AND DESIGN – Registration Number 149292

Portugal

    211.          NY & CO AND DESIGN – Registration Number 344857
    212.          LERNER – Registration Number 234715
    213.          LERNER – Registration Number 234716
    214.          NEW YORK & COMPANY – Registration Number 926844

Puerto Rico

    215.          LERNER – Registration Number 202118
    216.          LERNER – Registration Number 201937
    217.          NEW YORK & COMPANY – Registration Number 200353
    218.          NEW YORK & COMPANY – Registration Number 200354
    219.          NEW YORK & COMPANY – Registration Number 200352
    220.          NEW YORK & COMPANY – Registration Number 203840
    221.          NEW YORK & COMPANY – Registration Number 208371
    222.          NEW YORK & COMPANY – Registration Number 203839



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    223.          NEW YORK & COMPANY – Registration Number 203838
    224.          NEW YORK & COMPANY – Registration Number 203837
    225.          LERNER – Registration Number 27285
    226.          LERNER – Registration Number 27286

Qatar

    227.          NEW YORK & COMPANY – Registration Number 43198
    228.          NEW YORK & COMPANY – Registration Number 43197
    229.          NEW YORK & COMPANY – Registration Number 45644
    230.          NEW YORK & COMPANY – Registration Number 45645
    231.          NY & CO AND DESIGN – Registration Number 22570
    232.          NY & CO AND DESIGN – Registration Number 22572
    233.          NY & CO AND DESIGN – Registration Number 22571

Romania

    234.          NEW YORK & COMPANY – Registration Number 926844
    235.          NY & CO AND DESIGN – Registration Number R042317

Russia

    236.          LERNER NEW YORK – Registration Number 134936

Saudi Arabia

    237.          NEW YORK & COMPANY – Registration Number 1322/20
    238.          NEW YORK & COMPANY – Registration Number 1322/21
    239.          NEW YORK & COMPANY – Registration Number 1322/22
    240.          NEW YORK & COMPANY – Registration Number 1322/19

Serbia

    241.          LERNER – Registration Number 32063
    242.          NEW YORK & COMPANY – Registration Number 926844
    243.          NY & CO AND DESIGN – Registration Number 46538

Singapore

    244.          NY & CO AND DESIGN – Registration Number T00/04987Z
    245.          NY & CO AND DESIGN – Registration Number T00/04988H
    246.          LERNER NEW YORK – Registration Number T96/10330G
    247.          LERNER NEW YORK AND LADY DESIGN – Registration Number T97/00448E
    248.          NEW YORK & COMPANY – Registration Number 926844
    249.          NY & CO AND DESIGN – Registration Number T00/04986A

Slovakia

    250.          NEW YORK & COMPANY – Registration Number 926844



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    251.          NY & CO AND DESIGN – Registration Number 196141

South Africa

    252.          NY & CO AND DESIGN – Registration Number 2000/04510
    253.          NY & CO AND DESIGN – Registration Number 2000/04509
    254.          NY & CO AND DESIGN – Registration Number 2000/04511

South Korea

    255.          NEW YORK & COMPANY – Registration Number 926844

Spain

    256.          LERNER NEW YORK – Registration Number 1910655
    257.          NEW YORK & COMPANY – Registration Number 926844
    258.          LERNER – Registration Number 1188761
    259.          NY & CO AND DESIGN – Registration Number 2302983
    260.          NY & CO AND DESIGN – Registration Number 2302984
    261.          NY & CO AND DESIGN – Registration Number 2302982

Sri Lanka

    262.          LERNER – Registration Number 51353
    263.          LERNER – Registration Number 51351
    264.          NEW YORK & COMPANY – Registration Number 137091
    265.          NEW YORK & COMPANY – Registration Number 137090
    266.          NY & CO AND DESIGN – Registration Number 96999
    267.          NY & CO AND DESIGN – Registration Number 96996
    268.          NY & CO AND DESIGN – Registration Number 96998

Sweden

    269.          NY & CO AND DESIGN – Registration Number 348299
    270.          LERNER NEW YORK – Registration Number 302523
    271.          NEW YORK & COMPANY – Registration Number 926844

Switzerland

    272.          NY & CO AND DESIGN – Registration Number 477497
    273.          NEW YORK & COMPANY – Registration Number 926844

Taiwan

    274.           LERNER – Registration Number 492681
    275.          LERNER – Registration Number 942268
    276.          NY & CO AND DESIGN – Registration Number 150290
    277.          NY & CO AND DESIGN – Registration Number 991763
    278.          LERNER NEW YORK – Registration Number 91398



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    279.          LERNER – Registration Number 774403
    280.          LERNER – Registration Number 783341
    281.          NEW YORK & COMPANY – Registration Number 1388626
    282.          NEW YORK & COMPANY – Registration Number 1388625
    283.          NEW YORK & COMPANY – Registration Number 1388624

Turkey

    284.          NEW YORK & COMPANY – Registration Number 2004/01330
    285.          LERNER – Registration Number 100004

Ukraine

    286.          NEW YORK & COMPANY – Registration Number 926844

United Arab Emirates

    287.          LERNER NEW YORK – Registration Number 8166
    288.          LERNER NEW YORK – Registration Number 7442
    289.          NEW YORK & COMPANY – Registration Number 95256
    290.          NEW YORK & COMPANY – Registration Number 95259
    291.          NEW YORK & COMPANY – Registration Number 95258
    292.          NEW YORK & COMPANY – Registration Number 95257

United Kingdom

    293.          NEW YORK & COMPANY – Registration Number 926844
    294.          NY & CO AND DESIGN – Registration Number 2225601

Uruguay

    295.          NY & CO AND DESIGN – Registration Number 321188

Venezuela

    296.          NY & CO AND DESIGN – Application Number 2000-001739
    297.          NY & CO AND DESIGN – Application Number 2000-001738
    298.          NY & CO AND DESIGN – Application Number 2000-001737

Vietnam

    299.          NEW YORK & COMPANY – Registration Number 926844
    300.          NY & CO AND DESIGN – Registration Number 37733

West Bank

    301.          NY & CO AND DESIGN – Registration Number 8056
    302.          NY & CO AND DESIGN – Registration Number 8057
    303.          NY & CO AND DESIGN – Registration Number 8058




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WIPO

    304.          NEW YORK & COMPANY – Registration Number 926844



Trademarks registered internationally and owned by Lerner New York, Inc.

China

    1. CITY STRETCH – Registration Number 844335

Germany

    2. CITY STRETCH – Registration Number 844335

Hong Kong

    3. CITY STRETCH – Registration Number 300135044

Indonesia

    4. CITY SPA – Registration Number IDM000229840
    5. CITY CREPE – Registration Number IDM000199862
    6. CITY STRETCH – Registration Number IDM000154282

Italy

    7. CITY STRETCH – Registration Number 844335

Japan

    8. CITY STRETCH – Registration Number 844335

Mexico

    9. CITY STRETCH – Registration Number 1283147

Nicaragua

    10. CITY STRETCH – Registration Number 83716

Puerto Rico

    11. CITY STRETCH – Registration Number 203984-25-0

South Africa

    12. CITY STRETCH – Registration Number 844335

Spain

    13. CITY STRETCH – Registration Number 844335


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Taiwan

    14. CITY SPA – Registration Number 1175834
    15. CITY STRETCH – Registration Number 1175832
    16. CITY CREPE – Registration Number 1175833

United Kingdom

    17. CITY STRETCH – Registration Number 844335

Vietnam

    18. CITY STRETCH – Registration Number 62940
    19. CITY CREPE – Registration Number 75950
    20. CITY SPA – Registration Number 75951

WIPO

    21. CITY STRETCH – Registration Number 844335



Trademarks registered internationally, owner not known

Aruba

    1. NY & CO AND DESIGN – Registration Number 20455

Bahamas

    2. NY & CO AND DESIGN – Registration Number 22703
    3. NY & CO AND DESIGN – Registration Number 22702
    4. NY & CO AND DESIGN – Registration Number 22701

Bahrain

    5. NY & CO AND DESIGN – Registration Number 27598

Bermuda

    6. NY & CO AND DESIGN – Registration Number 31617
    7. NY & CO AND DESIGN – Registration Number 31619
    8. NY & CO AND DESIGN – Registration Number 31618

China

    9. LERNER – Registration Number 288874
    10. NY & CO AND DESIGN – Registration Number 1596375
    11. NY & CO AND DESIGN02 – Application Number 12965762

Costa Rica



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    12. LERNER – Registration Number 90099
    13. LERNER NEW YORK AND DESIGN – Registration Number 90104

Egypt

    14. NY & CO AND DESIGN – Registration Number 132741
    15. LERNER NEW YORK – Registration Number 144516

Gaza

    16. NY & CO AND DESIGN – Registration Number 6992
    17. NY & CO AND DESIGN – Registration Number 6991
    18. NY & CO AND DESIGN – Registration Number 6993

Haiti

    19. NY & CO AND DESIGN – Registration Number 101/171
    20. NY & CO AND DESIGN – Registration Number 102/171
    21. NY & CO AND DESIGN – Registration Number 103/171

Honduras

    22. NY & CO. AND DESIGN – Registration Number 80064
    23. NY & CO. AND DESIGN – Registration Number 7341
    24. NY & CO AND DESIGN – Registration Number 80240

Jamaica

    25.   NY & CO AND DESIGN – Registration Number 41390
    26.   NY & CO and Design – Registration Number 38769
    27.   NY & CO and Design – Registration Number 38732
    28.   NY & CO and Design – Registration Number 38708

Japan

    29.   NY & CO AND DESIGN – Registration Number 4446389
    30.   NY & CO AND DESIGN – Registration Number 4477894
    31.   NEW YORK & COMPANY – Registration Number 926844
    32.   LERNER NEW YORK – Registration Number 3352532
    33.   LERNER NEW YORK – Registration Number 3357873

Madagascar

    34. NEW YORK & COMPANY – Registration Number 0292/13

Mauritius

    35. LERNER – Registration Number A/27 No. 112
    36. NY & CO AND DESIGN – Registration Number A/47 No. 235




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Mongolia

    37. NEW YORK & COMPANY – Registration Number 4870

Nepal

    38. NY & CO. – Registration Number 15414/057

Pakistan

    39. NY & CO AND DESIGN – Registration Number 162207
    40. NY & CO AND DESIGN – Registration Number 201229

Russia

    41. NY & CO AND DESIGN – Registration Number 217209

Saudi Arabia

    42. NY & CO AND DESIGN – Registration Number 742/33
    43. NY & CO AND DESIGN – Registration Number 742/34
    44. NY & CO AND DESIGN – Registration Number 572/64

South Africa

    45. NEW YORK & COMPANY – Registration Number 2007/00438
    46. NEW YORK & COMPANY – Registration Number 2007/00437

South Korea

    47. NY & CO AND DESIGN – Registration Number 5471
    48. LERNER – Registration Number 7100
    49. LERNER – Registration Number 143701

Thailand

    50. NY & CO AND DESIGN – Registration Number 148214
    51. LERNER – Registration Number 46404

Ukraine

    52. NY & CO AND DESIGN – Registration Number 26696

United Arab Emirates

    53. NY & CO AND DESIGN – Registration Number 28861
    54. NY & CO AND DESIGN – Registration Number 28862
    55. NY & CO AND DESIGN – Registration Number 28860

Uruguay




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    56. LERNER – Registration Number 381580

Zimbabwe

    57. NY & CO AND DESIGN – Registration Number 376/2000
    58. NY & CO AND DESIGN – Registration Number 375/2000
    59. NY & CO AND DESIGN – Registration Number 377/2000




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                                   Schedule 3.13(b)(ii)

                              Trademark Ownership Exceptions



None.




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                                   Schedule 3.13(b)(iii)

                                  Trademark Oppositions



None.




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                                           Schedule 3.13(c)(i)

                                                Copyrights



Copyrights owned by Lernco, Inc.

    1. New York & Company
           a. Registration Number: VAu000506749
           b. Registration Date: 10/03/2000
           c. Description: Photoprint on credit card
    2. NY&C and Skyline all within a Heart Design.
           a. Registration Number: VA0001901240
           b. Registration Date: 01/09/2014
           c. Description: Electronic File
    3. Skyline Design, Heart Design, and Poodle
           a. Document Number: V9922D112
           b. Date of Recordation: 11/10/2014
           c. Notes: Copyright collateral assignment and security agreement. Parties are Lernco, Inc.
               New York & Company, Inc., and Wells Fargo Bank, NA

Copyrights owned by RTW Retailwinds, Inc.

    1. Poodle
          a.      Registration Number: VA0001671205
          b.      Registration Date: 06/12/2009
          c.      Description: Electronic file
          d.      NOTE: Registration is still listed under New York & Company, Inc.




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                                   Schedule 3.13(c)(ii)

                              Copyright Ownership Exceptions

None.




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                                   Schedule 3.13(c)(iii)

                                  Copyright Oppositions



None.




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                                         Schedule 3.13(e)(i)

                                               Patents



Patents owned by Lerner New York, Inc.

    1. Spray Container
           a. Patent Number: US D569,735
           b. Date of Patent: 05/27/2008
    2. Pump Container
           a. Patent Number: US D583,254
           b. Date of Patent: 12/23/2008
    3. Jar
           a. Patent Number D582,283
           b. Date of Patent: 12/09/2008
    4. Bottle
           a. Patent Number: D588,920
           b. Date of Patent: 03/24/2009




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                                   Schedule 3.13(e)(ii)

                               Patent Ownership Exceptions

None.




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                                   Schedule 3.13(e)(iii)

                                    Patent Oppositions



None.




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                                       Schedule 3.13(f)

     Unauthorized use, infringement or misappropriation of any Owned Intellectual Property.



1.     Use of “Fashion to Figure” by Stitch Fix in connection with Class 25 product in Google
Ad copy. Company filed a Google Ads Trademark Complaint with Google on 6/24/20 and ad
was taken down by Google on 7/1/20.




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                                     Schedule 3.13(h)

                               Intellectual Property Licenses



None.




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                                       Schedule 3.13(i)

                          Transferred Intellectual Property Contracts



1.     Trademark Co-Existence/Consent Agreement between New York Styles Jewelry, Inc.
and Lernco, Inc. dated September 3, 2013.

2.     Settlement Agreement and Release between 4 Pillar Dynasty LLC and Reflex
Performance Resources Inc. on one hand, and RTW Retailwinds, Inc. and New York and
Company Stores, Inc. on the other hand, dated September 16, 2019.




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                                      Schedule 3.15

                                  Affiliated Transactions



None.




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                                   Schedule 5.2(b)(ix)

                                    Rejected Contracts



None.




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                                       Schedule 5.9

                                 Standby Letters of Credit



Hartford Fire Insurance Co.                      $1,600,000

The Travellers Indemnity Co.                     $25,000

American Alternative Insurance Corporation       $4,500,000




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                                            EXHIBIT A

                                    ESCROW AGREEMENT

This Escrow Agreement dated this ___ day of August, 2020 (the “Escrow Agreement”), is entered
into by and among RTW Retailwinds, Inc., a Delaware corporation (the “Seller”), Saadia Group
LLC, a New York limited liability company (the “Purchaser”) and together with the Purchaser,
each a “Party” and collectively, the “Parties”), and Wilmington Trust, National Association, as
escrow agent (“Escrow Agent”). All capitalized terms not defined herein shall have the meanings
prescribed to them in the Purchase Agreement.

                                             RECITALS

       WHEREAS, Seller is a debtor in possession in a chapter 11 proceeding before the United States
Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”) which is being jointly
administered under the case name, RTW Retailwinds, Inc., et al., Case No. 20-18445 (JKS);

        WHEREAS, Seller and Purchaser are parties to that certain Asset Purchase Agreement dated
August 28, 2020 (the “Purchase Agreement”) pursuant to which, among other things, Purchaser is required
to deposit into escrow Four Million Dollars ($4,000,000) (the “Deposit”); and

       WHEREAS, pursuant to the Purchase Agreement, the Parties desire that the Escrow Agent hold
the Deposit in escrow, and Escrow Agent is willing to do so, on the terms and conditions hereinafter set
forth.

                           ARTICLE I.         ESCROW DEPOSIT

       Receipt of Escrow Property.

        (a)     Upon execution of this Escrow Agreement by each of the parties hereto, Purchaser
shall deposit the Deposit into a United States Dollar denominated account (the “Escrow Account”)
established by the Escrow Agent. The Escrow Account is set forth below:

       Wilmington Trust
       Wilmington, DE
       ABA No. 031100092
       Account No.
       Re: RTW Retailwinds Escrow Account
       Attn: Corporate Capital Markets/Joseph Clark

        (b)    The Escrow Agent will hold the deposit in the Escrow Account, together with all
investments thereof and all interest accumulated thereon and proceeds therefrom (the “Escrow
Property”), in escrow upon the terms and conditions set forth in this Escrow Agreement and shall
not disburse funds from the Escrow Account except as provided herein.




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       Investments.

        (a)     The Escrow Agent shall invest the Escrow Property in accordance with the written
instructions provided to the Escrow Agent and signed by the Parties in such investments (i) as shall
from time to time be selected by the Parties and (ii) be investments the Escrow Agent is able to
hold. In the absence of written investment instructions from the Parties, the Escrow Agent shall
hold the Escrow Property un-invested, without interest thereon. For the avoidance of doubt, any
investment earnings and income on the Escrow Property shall become part of the Escrow Property
and shall be disbursed in accordance with Section 1.3 below. The Escrow Agent shall make no
disbursement, investment or other use of funds until and unless it has collected funds. The Escrow
Agent shall not be liable for collection items until such proceeds have been received or the Federal
Reserve has given the Escrow Agent credit for the funds.

          (b)    The Escrow Agent is hereby authorized and directed to sell or redeem any such
investments as it deems necessary to make any payments or distributions required under this
Escrow Agreement. The Escrow Agent shall have no responsibility or liability for any loss which
may result from any investment or sale of investment made pursuant to this Escrow Agreement.
The Escrow Agent is hereby authorized, in making or disposing of any investment permitted by
this Escrow Agreement, to deal with itself (in its individual capacity) or with any one or more of
its affiliates, whether it or any such affiliate is acting as agent of the Escrow Agent or for any third
person or dealing as principal for its own account. The Parties acknowledge that the Escrow Agent
is not providing investment supervision, recommendations, or advice.

       Disbursements.

        (a)     The Escrow Agent shall deliver the Escrow Property to (i) such person(s) or
entity(ies) pursuant to and within 1 Business Day of receipt of the joint written direction signed
by an Authorized Representative of each of the Parties in substantially the form attached hereto as
Exhibit A (the “Written Directions”); or (ii) to the person(s) or entity(ies) directed pursuant to a
non-appealable order or judgment of the Bankruptcy Court (“Court Order”) delivered to the
Escrow Agent by either Party, within 1 Business Day of delivery of such order or judgment. The
Party delivering a Court Order pursuant to (ii) above shall certify to the Escrow Agent that such
order or judgement of the Bankruptcy Court is non-appealable and the Escrow Agent shall be able
to conclusively rely on such certification without liability.

        (b)     In the event that Escrow Agent makes any payment to any other party pursuant to
this Escrow Agreement and for any reason such payment (or any portion thereof) is required to be
returned to the Escrow Account or another party or is subsequently invalidated, declared to be
fraudulent or preferential, set aside and/or required to be repaid to a receiver, trustee or other party
under any bankruptcy or insolvency law, other federal or state law, common law or equitable
doctrine, then the recipient shall repay to the Escrow Agent upon written request the amount so
paid to it.

        (c)      The Escrow Agent shall, in its sole discretion, comply with judgments or orders
issued or process entered by any court with respect to the Escrow Property, including without
limitation any attachment, levy or garnishment, without any obligation to determine such court's
jurisdiction in the matter and in accordance with its normal business practices. If the Escrow Agent

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complies with any such judgment, order or process, then Escrow Agent shall not be liable to either
Party or any other person by reason of such compliance, regardless of the final disposition of any
such judgment, order or process.

       (d)     Each Party understands and agrees that the Escrow Agent shall have no obligation
or duty to act upon a Written Direction delivered to the Escrow Agent for the disbursement of
Escrow Property under this Escrow Agreement if such Written Direction is not (i) in writing, (ii)
signed by, any individual designated by such Party (each such individual an “Authorized
Representative” of such Party) on a certificate substantially in the form of Exhibit B hereto (each,
a “Certificate of Authorized Signers”), and (iii) delivered to, and able to be authenticated by, the
Escrow Agent in accordance with Section 1.5.

        (e)     Upon request, the Escrow Agent will furnish monthly statements to each Party
setting forth the activity in the Escrow Account.

       (f)     A party may specify in a Written Direction whether the Escrow Property shall be
disbursed by way of wire transfer or check. If the written notice for the disbursement of funds
does not so specify the disbursement means, the Escrow Agent may disburse the Escrow Property
by any means chosen by the Escrow Agent.

       Written Direction and Other Instruction.

        (a)    With respect to any Written Direction or any other notice, direction or other
instruction required to be delivered by a Party to the Escrow Agent under this Escrow Agreement,
the Escrow Agent is authorized to follow and rely upon any and all such instructions given to it
from time to time if the Escrow Agent believes, in good faith, that such instruction is genuine and
to have been signed by an Authorized Representative of such Party. The Escrow Agent shall have
no duty or obligation to verify that the person who sent such instruction is, in fact, a person duly
authorized to give instructions on behalf of a Party, other than to verify that the signature of the
Authorized Representative on any such instruction appears to be the signature of such person. Each
Party acknowledges and agrees that it is fully informed of the protections and risks associated with
the various methods of transmitting instructions to the Escrow Agent, and that there may be more
secure methods of transmitting instructions other than the method selected by such Party. The
Escrow Agent shall have no responsibility or liability for any loss which may result from:

                      any action taken or not taken by the Escrow Agent in good faith reliance on
any such signatures or instructions;

                       as a result of a Party’s reliance upon or use of any particular method of
delivering instructions to the Escrow Agent, including the risk of interception of such instruction
and misuse by third parties; or

                      any officer or Authorized Representative of a Party named in a Certificate
of Authorized Signers delivered hereunder prior to actual receipt by the Escrow Agent of a more
current or updated Certificate of Authorized Signers and a reasonable time for the Escrow Agent
to act upon such updated or more current Certificate of Authorized Signers.



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        (b)     Purchaser or Seller may, at any time, update its respective Certificate of Authorized
Signers by signing and submitting to the Escrow Agent an updated Certificate substantially in the
form of Exhibit B. Any updated Certificate of Authorized Signers shall not be effective unless the
Escrow Agent countersigns a copy thereof. The Escrow Agent shall be entitled to a reasonable
time to act to implement any changes on an updated Certificate of Authorized Signers.

       Delivery and Authentication of Written Direction.

      (a)      A Written Direction must be delivered to the Escrow Agent by one of the delivery
methods set forth in Section 4.3.

       (b)    Each Party and the Escrow Agent hereby agree that the following security
procedures will be used to verify the authenticity of a Written Direction delivered by any Party to
the Escrow Agent under this Escrow Agreement:

                       The Written Direction must include the name and signature of the person
delivering the disbursement request to the Escrow Agent. The Escrow Agent will check that the
name and signature of the person identified on the Written Direction appears to be the same as the
name and signature of an Authorized Representative of such Party;

                       The Escrow Agent will make a telephone call to an Authorized
Representative of the Party purporting to deliver the Written Direction (which Authorized
Representative may be the same as the Authorized Representative who delivered the Written
Direction) at any telephone number for such Authorized Representative as set forth on a Certificate
of Authorized Signers, to obtain oral confirmation of delivery of the Written Direction. If the
Written Direction is a joint written notice of the Parties, the Escrow Agent shall call back an
Authorized Representative of both of those Parties; and

                       If the Written Direction is sent by email to the Escrow Agent, the Escrow
Agent also shall review such email address to verify that it appears to have been sent from an email
address for an Authorized Representative of such Party as set forth on a Certificate of Authorized
Signers or from an email address for a person authorized under a Certificate of Authorized Signers
to email a Written Direction to the Escrow Agent on behalf of the Authorized Representative).

        (c)     Each Party acknowledges and agrees that given its particular circumstances,
including the nature of its business, the size, type and frequency of its instructions, transactions
and files, internal procedures and systems, the alternative security procedures offered by the
Escrow Agent and the security procedures in general use by other customers and banks similarly
situated, the security procedures set forth in this Section 1.5 are a commercially reasonable method
of verifying the authenticity of a payment order in a Written Direction.

        (d)      The Escrow Agent is authorized to execute, and each Party expressly agrees to be
bound by any payment order in a Written Direction issued in its name (and associated funds
transfer) (i) that is accepted by the Escrow Agent in accordance with the security procedures set
forth in this Section 1.5, whether or not authorized by such Party and/or (ii) that is authorized by
or on behalf of such Party or for which such Party is otherwise bound under the law of agency,
whether or not the security procedures set forth in this Section 1.5 were followed, and to debit the
Escrow Account for the amount of the payment order. Notwithstanding anything else, the Escrow
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Agent shall be deemed to have acted in good faith and without negligence, gross negligence or
misconduct if the Escrow Agent is authorized to execute the payment order under this Section 1.5.
Any action taken by the Escrow Agent pursuant to this Section 1.5 prior to the Escrow Agent’s
actual receipt and acknowledgement of a notice of revocation, cancellation or amendment of a
Written Direction shall not be affected by such notice of revocation, cancellation or amendment
of a Written Direction.

        (e)     The security procedures set forth in this Section 1.5 are intended to verify the
authenticity of payment orders provided to the Escrow Agent and are not designed to, and do not,
detect errors in the transmission or content of any payment order. The Escrow Agent is not
responsible for detecting an error in the payment order, regardless of whether either Party believes
the error was apparent, and the Escrow Agent is not liable for any losses arising from any failure
to detect an error.

        (f)     When instructed to credit or pay a party by both name and a unique numeric or
alpha-numeric identifier (e.g. ABA number or account number), the Escrow Agent, and any other
banks participating in the funds transfer, may rely solely on the unique identifier, even if it
identifies a party different than the party named. Each Party agrees to be bound by the rules of any
funds transfer network used in connection with any payment order accepted by the Escrow Agent
hereunder.

        (g)      The Escrow Agent shall not be obliged to make any payment requested under this
Escrow Agreement if it is unable to validate the authenticity of the request by the security
procedures set forth in this Section 1.5. The Escrow Agent’s inability to confirm a payment order
may result in a delay or failure to act on that payment order. Notwithstanding anything else in this
Escrow Agreement, the Escrow Agent shall not be required to treat a payment order as having
been received until the Escrow Agent has authenticated it pursuant to the security procedures in
this Section 1.5 and shall not be liable or responsible for any losses arising in relation to such delay
or failure to act.

       Income Tax Allocation and Reporting.

        (a)     Each Party agrees that, for tax reporting purposes, the Escrow Property shall be
deemed to be the property of Purchaser, unless either Party provides the Escrow Agent with an
order from the Bankruptcy Court directing otherwise, and all interest and other income from
investment of the Escrow Property shall, as of the end of each calendar year and to the extent
required by the Internal Revenue Service, be reported as having been earned by such Party,
whether or not such income was disbursed during such calendar year. Notwithstanding anything
to the contrary herein, the Escrow Agent shall have no duty to prepare or file any Federal or state
tax report or return with respect to the Escrow Property, except for the delivery and filing of tax
information reporting forms required to be delivered and filed with the Internal Revenue Service.
With respect to the preparation, delivery and filing of such required tax information reporting
forms and all matters pertaining to the reporting of earnings on the Escrow Property, the Escrow
Agent shall be entitled to request and receive written instructions from Purchaser, and the Escrow
Agent shall be entitled to rely conclusively and without further inquiry on such written instructions.
With respect to any other payments made under this Escrow Agreement, the Escrow Agent shall
not be deemed the payer and shall have no responsibility for performing tax reporting. The Escrow

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Agent’s function of making such payments is solely ministerial and upon express direction of the
Parties.

        (b)     Prior to the execution of this Escrow Agreement, or within two days thereafter,
each Party shall provide the Escrow Agent with certified tax identification numbers by furnishing
appropriate forms W-9 or W-8 and such other forms and documents that the Escrow Agent may
request. Each Party understands that if such tax reporting documentation is not provided and
certified to the Escrow Agent, the Escrow Agent may be required by the Internal Revenue Code
of 1986, as amended, and the regulations promulgated thereunder, to withhold a portion of any
interest or other income earned on the investment of the Escrow Property.

         (c)    To the extent that the Escrow Agent becomes liable for the payment of any taxes in
respect of income derived from the investment of the Escrow Property, the Escrow Agent shall
satisfy such liability to the extent possible from the Escrow Property. The Parties, jointly and
severally, hereby indemnify, defend and hold the Escrow Agent harmless from and against any
tax, late payment, interest, penalty or other cost or expense that may be assessed against the Escrow
Agent on or with respect to the Escrow Property and the investment thereof unless such tax, late
payment, interest, penalty or other expense was finally adjudicated to have been directly caused
by the gross negligence or willful misconduct of the Escrow Agent. The indemnification provided
by this Section 1.6(c) is in addition to the indemnification provided in Section 3.1 and shall survive
the resignation or removal of the Escrow Agent and the termination of this Escrow Agreement.

       Termination.

        This Escrow Agreement shall terminate upon the date on which all of the Escrow Property
is disbursed in accordance with Section 1.3(a), at which time this Escrow Agreement shall be of
no further force and effect, except that the provisions of Sections 1.6 (Tax Allocation and
Reporting), 3.1(Indemnification) and 3.2 (Limitation of Liability) hereof shall survive termination.

                  ARTICLE II.       DUTIES OF THE ESCROW AGENT

       Scope of Responsibility.

 Notwithstanding any provision to the contrary, the Escrow Agent is obligated only to perform the
duties expressly and specifically set forth in this Escrow Agreement, which shall be deemed purely
ministerial in nature. Under no circumstances will the Escrow Agent be deemed to be a fiduciary
to either Party or any other person under this Escrow Agreement or otherwise. The Escrow Agent
will not be responsible or liable for the failure of either Party to perform in accordance with this
Escrow Agreement. The Escrow Agent shall neither be responsible for, nor chargeable with,
knowledge of the terms and conditions of any other agreement, instrument, or document other than
this Escrow Agreement, whether or not an original or a copy of such agreement has been provided
to the Escrow Agent; and the Escrow Agent shall have no duty to know or inquire as to the
performance or nonperformance of any provision of any such agreement, instrument, or document.
References in this Escrow Agreement to any other agreement, instrument, or document are for the
convenience of the parties and the Escrow Agent has no duties or obligations with respect thereto.
The Escrow Agent acts hereunder as escrow agent only, and is not responsible or liable in any
manner whatsoever for the sufficiency, correctness, applicability or validity of the subject matter

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of this Escrow Agreement or any part thereof. The Escrow Agent shall have no responsibilities
(except as expressly set forth herein) as to the validity, sufficiency, value, genuineness, ownership
or transferability of the Escrow Property, written instructions, or any other documents in
connection therewith, and will not be regarded as making nor be required to make, any
representations thereto. This Escrow Agreement sets forth all matters pertinent to the escrow
contemplated hereunder, and no additional obligations of the Escrow Agent shall be inferred or
implied from the terms of this Escrow Agreement, any other agreement or otherwise.

       Rights of the Escrow Agent.

No provision of this Escrow Agreement shall require the Escrow Agent to expend or risk its own
funds or otherwise incur any financial liability or potential financial liability in the performance of
its duties or the exercise of its rights under this Escrow Agreement. The Escrow Agent shall not
be required to take any action which, in the Escrow Agent's sole and absolute judgment, could
involve it in expense or liability unless furnished with security and indemnity which it deems, in
its sole and absolute discretion, to be satisfactory. The Escrow Agent shall not be obligated to take
any legal action or to commence any proceedings in connection with this Escrow Agreement or
any property held hereunder or to appear in, prosecute or defend in any such legal action or
proceedings. The Escrow Agent shall be protected in acting upon any written instruction, notice,
request, waiver, consent, certificate, receipt, authorization, power of attorney or other paper or
document which the Escrow Agent in good faith believes to be genuine and what it purports, to
be, including, but not limited to, items directing investment or non-investment of funds, items
requesting or authorizing release, disbursement or retainage of the subject matter of this Escrow
Agreement and items amending the terms of this Escrow Agreement.

       Attorneys and Agents.

The Escrow Agent shall be entitled to consult with legal counsel in the event that a question or
dispute arises with regard to the construction of any of the provisions hereof. The Escrow Agent
shall be entitled to rely on and shall not be liable for any action taken or omitted to be taken by the
Escrow Agent in accordance with the advice of counsel or other professionals retained or consulted
by the Escrow Agent. The Escrow Agent shall be reimbursed as set forth in Section 3.1 for any
and all compensation (fees, expenses and other costs) paid and/or reimbursed to such counsel
and/or professionals. The Escrow Agent may perform any and all of its duties through its agents,
representatives, attorneys, custodians, and/or nominees and shall not be responsible for the acts or
omissions of such agents, representatives, attorneys, custodians and/or nominees appointed with
due care.

       Right Not Duty Undertaken.

The permissive rights of the Escrow Agent to do things enumerated in this Escrow Agreement
shall not be construed as duties.




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       ARTICLE III.       PROVISIONS CONCERNING THE ESCROW AGENT

       Indemnification.

The Parties, jointly and severally, hereby indemnify and defend the Escrow Agent and its directors,
officers, employees and agents (collectively, the “Indemnified Parties”), and hold the
Indemnified Parties harmless from any and against all liabilities, losses, actions, suits or
proceedings at law or in equity, and any other expenses, fees or charges of any character or nature,
(including, without limitation, documented out-of-pocket attorney's fees and expenses and the
costs of enforcement of this Escrow Agreement or any provision thereof), which an Indemnified
Party may incur or with which it may be threatened by reason of acting as or on behalf of the
Escrow Agent under this Escrow Agreement or arising out of the existence of the Escrow Account,
except to the extent the same shall be have been finally adjudicated to have been directly caused
by the Escrow Agent's gross negligence or willful misconduct. The Escrow Agent shall have a
first lien against the Escrow Account to secure the obligations of the parties hereunder. The terms
of this paragraph shall survive termination of this Escrow Agreement.

       Limitation of Liability.

THE ESCROW AGENT SHALL NOT BE LIABLE, DIRECTLY OR INDIRECTLY, FOR ANY
(I) DAMAGES, LOSSES OR EXPENSES ARISING OUT OF OR IN CONNECTION WITH
THIS ESCROW AGREEMENT, THE ESCROW ACCOUNT, THE ESCROW PROPERTY, OR
THE SERVICES PROVIDED HEREUNDER, OTHER THAN DAMAGES, LOSSES OR
EXPENSES WHICH HAVE BEEN FINALLY ADJUDICATED TO HAVE DIRECTLY
RESULTED FROM THE ESCROW AGENT’S GROSS NEGLIGENCE OR WILLFUL
MISCONDUCT, (II) SPECIAL, INDIRECT OR CONSEQUENTIAL DAMAGES OR LOSSES
OF ANY KIND WHATSOEVER (INCLUDING WITHOUT LIMITATION LOST PROFITS),
EVEN IF THE ESCROW AGENT HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH
LOSSES OR DAMAGES AND REGARDLESS OF THE FORM OF ACTION, OR (III) ANY
AMOUNT IN EXCESS OF THE VALUE OF THE ESCROW PROPERTY.

        Resignation or Removal.

The Escrow Agent may, at any time, resign as escrow agent hereunder by furnishing written notice
of its resignation to each Party. At such time, all fees and expenses to which the Escrow Agent is
entitled shall be immediately due and payable to Escrow Agent. The Parties may remove the
Escrow Agent by furnishing to the Escrow Agent a joint written notice of its removal along with
payment of all fees and expenses to which it is entitled through the date of termination. Such
resignation or removal, as the case may be, shall be effective thirty (30) days after the delivery of
such notice or upon the earlier appointment of a successor, and the Escrow Agent’s sole
responsibility thereafter shall be to safely keep the Escrow Property and to deliver the same to a
successor escrow agent as shall be appointed by the Parties, as evidenced by a joint written notice
delivered to the Escrow Agent or in accordance with a court order. If the Parties have failed to
appoint a successor escrow agent prior to the expiration of thirty (30) days following the delivery
of such notice of resignation or removal, the Escrow Agent may petition any court of competent
jurisdiction for the appointment of a successor escrow agent or for other appropriate relief, and
any such resulting appointment shall be binding upon the Parties.

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        Compensation.

         (a) The Escrow Agent shall be entitled to compensation for its services as stated in the fee
schedule attached hereto as Exhibit C, which compensation shall be paid by Purchaser. Such
compensation is intended for the Escrow Agent's services as contemplated by this Escrow
Agreement. In addition to such compensation, in the event that the conditions for the disbursement
of funds under this Escrow Agreement are not fulfilled, or the Escrow Agent renders any service
not contemplated in this Escrow Agreement, or there is any assignment of interest in the subject
matter of this Escrow Agreement, or any material modification hereof, or if any material
controversy arises hereunder, or the Escrow Agent is made a party to any litigation pertaining to
this Escrow Agreement or the subject matter hereof, then the Escrow Agent shall be compensated
for such extraordinary services and any services or work performed by Escrow Agent in connection
with any delay, controversy, litigation or event, and reimbursed for all costs and expenses,
including reasonable attorneys’ fees and expenses, occasioned by any such delay, controversy,
litigation or event. If any amount due to the Escrow Agent hereunder is not paid within thirty (30)
days of the date due, the Escrow Agent in its sole discretion may charge interest on such amount
up to the highest rate permitted by applicable law.

        (b) As security for the due and punctual performance of any and all of the Parties’
obligations to the Escrow Agent hereunder, now or hereafter arising, the Parties, individually and
collectively, hereby pledge, assign and grant to the Escrow Agent a continuing security interest in,
and a lien on and right of setoff against, the Escrow Property and all distributions thereon,
investments thereof or additions thereto (whether such additions are the result of deposits by the
Parties or the investment of Escrow Property or otherwise). If any fees, expenses or costs incurred
by, or any obligations owed to, the Escrow Agent hereunder are not promptly paid when due, the
Escrow Agent may reimburse itself therefor from the Escrow Property, and may sell, convey or
otherwise dispose of any Escrow Property for such purpose. The security interest and setoff rights
of the Escrow Agent shall at all times be valid, perfected and enforceable by the Escrow Agent
against the Parties and all third parties in accordance with the terms of this Escrow Agreement.
        The terms of this Section 3.4 shall survive termination of this Escrow Agreement.

       Disagreements.

If any conflict, disagreement or dispute arises between, among, or involving any of the parties
hereto concerning the meaning or validity of any provision hereunder or concerning any other
matter relating to this Escrow Agreement, or the Escrow Agent is in doubt as to the action to be
taken hereunder, the Escrow Agent may, at its option, refuse to act until the Escrow Agent (a)
receives a final non-appealable order of a court of competent jurisdiction directing delivery of the
Escrow Property or (b) receives a written instruction, executed by each of the parties involved in
such disagreement or dispute, in a form reasonably acceptable to the Escrow Agent, directing
delivery of the Escrow Property. The Escrow Agent will be entitled to act on any such written
instruction or final, non-appealable order of a court of competent jurisdiction without further
question, inquiry or consent. The Escrow Agent may file an interpleader action in a state or federal
court, and upon the filing thereof, the Escrow Agent will be relieved of all liability as to the Escrow
Property and will be entitled to recover reasonable and documented out-of-pocket attorneys’ fees,
expenses and other costs incurred in commencing and maintaining any such interpleader action.
In the event the Escrow Agent receives conflicting instructions hereunder, the Escrow Agent shall

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be fully protected in refraining from acting until such conflict is resolved to the satisfaction of the
Escrow Agent.

       Merger or Consolidation.

Any corporation or association into which the Escrow Agent may be converted or merged, or with
which it may be consolidated, or to which it may sell or transfer all or substantially all of its
corporate trust business and assets as a whole or substantially as a whole, or any corporation or
association resulting from any such conversion, sale, merger, consolidation or transfer to which
the Escrow Agent is a party, shall be and become the successor escrow agent under this Escrow
Agreement and shall have and succeed to the rights, powers, duties, immunities and privileges as
its predecessor, without the execution or filing of any instrument or paper or the performance of
any further act.

       Attachment of Escrow Property; Compliance with Legal Orders.

In the event that any Escrow Property shall be attached, garnished or levied upon by any court
order, or the delivery thereof shall be stayed or enjoined by an order of a court, or any order,
judgment or decree shall be made or entered by any court order affecting the Escrow Property, the
Escrow Agent is hereby expressly authorized, in its sole discretion, to respond as it deems
appropriate or to comply with all writs, orders or decrees so entered or issued, or which it is advised
by legal counsel of its own choosing is binding upon it, whether with or without jurisdiction. In
the event that the Escrow Agent obeys or complies with any such writ, order or decree it shall not
be liable to any Party or to any other person, firm or corporation, should, by reason of such
compliance notwithstanding, such writ, order or decree be subsequently reversed, modified,
annulled, set aside or vacated.

       Force Majeure.

The Escrow Agent shall not be responsible or liable for any failure or delay in the performance of
its obligation under this Escrow Agreement arising out of or caused, directly or indirectly, by
circumstances beyond its reasonable control, including, without limitation, acts of God;
earthquakes; fire; flood; wars; acts of terrorism; civil or military disturbances; sabotage; epidemic;
riots; interruptions; loss or malfunctions of utilities including but not limited to, computer
(hardware or software), payment systems, or communications services; accidents; labor disputes;
acts of civil or military authority or governmental action; it being understood that the Escrow
Agent shall use commercially reasonable efforts which are consistent with accepted practices in
the banking industry to resume performance as soon as reasonably practicable under the
circumstances.
                           ARTICLE IV.         MISCELLANEOUS

       Successors and Assigns.

This Escrow Agreement shall be binding on and inure to the benefit of each Party and the Escrow
Agent and their respective successors and permitted assigns. No other persons shall have any rights
under this Escrow Agreement. No assignment of the interest of any of the Parties and the Escrow
Agent shall be binding unless and until written notice of such assignment shall be delivered to the

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other Party and the Escrow Agent and shall require the prior written consent of the other Party and
the Escrow Agent (such consent not to be unreasonably withheld).

       Escheat.

Each Party is aware that under applicable state law, property which is presumed abandoned may
under certain circumstances escheat to the applicable state. The Escrow Agent shall have no
liability to either Party or any other party, should any or all of the Escrow Property escheat by
operation of law.

       Notices.

All notices, requests, demands, and other communications required under this Escrow Agreement
shall be in writing, in English, and shall be deemed to have been duly given if delivered (i)
personally, (ii) by facsimile transmission with written confirmation of receipt, (iii) by overnight
delivery with a reputable national overnight delivery service, (iv) by mail or by certified mail,
return receipt requested, and postage prepaid, or (v) by electronic transmission; including by way
of e-mail (as long as such email is accompanied by a PDF or similar version of the relevant
document bearing the signature of an Authorized Representative for the Party sending the notice)
with email confirmation of receipt. If any notice is mailed, it shall be deemed given five business
days after the date such notice is deposited in the United States mail. If notice is given to a party,
it shall be given at the address for such party set forth below. It shall be the responsibility of each
Party to notify the Escrow Agent in writing of any name or address changes. In the case of
communications delivered to the Escrow Agent, such communications shall be deemed to have
been given on the date received by the Escrow Agent.

       If to Purchaser:

               Saadia Group LLC
               1 W. 34th Street, 10th Floor
               New York, New York 10001
               Attn: Arvee Claravali
               Email: arvee@tfxny.com

       With a copy (which shall not constitute notice to Buyer) to:

               Armstrong Teasdale LLP
               919 Third Avenue, 37th Fllor
               New York, New York 10022
               Attn: Jeffery D. Dayon
               Email: jdayon@atllp.com

               And

               Robinson & Cole LLP
               1201 North Market Street, Suite 1406
               Wilmington, Delaware 19801

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                Attn: Jamie L. Edmonson
                Email: jedmonson@rc.com

       If to Seller:

                330 W. 34th Street
                9th Floor
                New York, New York 10001
                Attention: Sheamus Toal
                E-mail: stoal@retailwinds.com

       With a copy (which shall not constitute notice to Sellers) to:

                Cole Schotz P.C.
                1325 Avenue of the Americas, 19th Floor
                New York, New York 10019
                Attention: Roger M. Iorio, Esq.
                E-mail: riorio@coleschotz.com

       If to the Escrow Agent:

                Wilmington Trust, National Association
                Corporate Client Services
                1100 N. Market Street
                Wilmington, DE 19890
                Attn: [________________]
                Facsimile: (___) ___-____
                Email address: [________________]

       Governing Law.

This Escrow Agreement shall be governed by and construed in accordance with the laws of the
State of Delaware without regard to any laws relating to choice of laws (whether of the State of
Delaware or any other jurisdiction) that would cause the application of the laws of any jurisdiction
other than the State of Delaware.

       Venue.

        Each Party and the Escrow Agent hereby consent to the exclusive personal jurisdiction of
the federal or state courts of the State of Delaware which each Party and the Escrow Agent agree
will have sole jurisdiction over any and all disputes between or among the Parties and the Escrow
Agent, whether in law or equity. Each Party and the Escrow Agent hereby irrevocably waives any
objection to the laying of the venue of any suit, action or proceeding and irrevocably submits to
the exclusive jurisdiction of such court in such suit, action or proceeding. With respect to any
dispute arising under this Escrow Agreement solely as between the Parties, not affecting the rights
and obligations of the Escrow Agent, the Parties consent to the exclusive personal jurisdiction of
the Bankruptcy Court.

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       Entire Agreement.

This Escrow Agreement and the exhibits hereto set forth the entire agreement and understanding
of the parties related to the Escrow Property and supersedes all prior agreements and
understandings, oral or written. If a court of competent jurisdiction declares a provision invalid,
it will be ineffective only to the extent of the invalidity, so that the remainder of the provision and
Escrow Agreement will continue in full force and effect. In the event of any direct conflict of the
terms of this Escrow Agreement with the terms of the Purchase Agreement, with respect to the
rights of the Purchaser and Seller, the terms of the Purchase Agreement shall control and prevail
provided, in no event shall the Escrow Agent be bound by the terms of the Purchase Agreement.
This Escrow Agreement is not intended to confer upon any person other than the parties hereto
any rights or remedies.

       Amendment.

This Escrow Agreement may be amended, modified, supplemented, superseded, rescinded, or
canceled only by a written instrument executed by the Parties and the Escrow Agent; provided that
any Certificate of Authorized Signers may be amended at any time in accordance with Section 1.4.

       Waivers.

The failure of any party to this Escrow Agreement at any time or times to require performance of
any provision under this Escrow Agreement shall in no manner affect the right at a later time to
enforce the same performance. A waiver by any party to this Escrow Agreement of any such
condition or breach of any term, covenant, representation, or warranty contained in this Escrow
Agreement, in any one or more instances, shall neither be construed as a further or continuing
waiver of any such condition or breach nor a waiver of any other condition or breach of any other
term, covenant, representation, or warranty contained in this Escrow Agreement.

       Interpretation.

Section headings of this Escrow Agreement have been inserted for convenience of reference only
and shall in no way restrict or otherwise modify any of the terms or provisions of this Escrow
Agreement. Unless otherwise indicated by the context, the singular shall include the plural and the
plural shall include the singular. Any references to an Exhibit is a reference to an Exhibit of this
Escrow Agreement.

       Electronic Signatures; Facsimile Signatures; Counterparts.

       This Agreement may be executed in any number of counterparts, each of which when so
executed and delivered shall constitute an original, but such counterparts together shall constitute
one and the same Agreement. This Agreement may be executed in one or more counterparts. Such
execution of counterparts may occur by manual signature, electronic signature, facsimile signature,
manual signature transmitted by means of facsimile transmission or manual signature contained in
an imaged document attached to an email transmission, and any such execution that is not by
manual signature shall have the same legal effect, validity and enforceability as a manual signature.
Each such counterpart executed in accordance with the foregoing shall be deemed an original, with

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all such counterparts together constituting one and the same instrument. The exchange of executed
copies of this Agreement or of executed signature pages to this Agreement by electronic
transmission, facsimile transmission or as an imaged document attached to an email transmission
shall constitute effective execution and delivery hereof. Any copy of this Agreement which is fully
executed and transmitted in accordance with the terms hereof may be used for all purposes in lieu
of a manually executed copy of this Agreement and shall have the same legal effect, validity and
enforceability as if executed by manual signature

       Waiver of Jury Trial.

EACH OF THE PARTIES HERETO EXPRESSLY WAIVES THE RIGHT TO TRIAL BY JURY
IN RESOLVING ANY CLAIM OR COUNTERCLAIM RELATING TO OR ARISING OUT OF
THIS ESCROW AGREEMENT.

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IN WITNESS WHEREOF, this Escrow Agreement has been duly executed as of the date first
written above.
                                    Purchaser
                                    SAADIA GROUP LLC

                                        By: ________________________________
                                        Name:
                                        Title:
                                        Date:

                                        Seller
                                        RTW RETAILWINDS, INC.




                                        By:

                                        Name Sheamus Toal
                                        Title: Authorized Signatory

                                        Dated:

                                        WILMINGTON TRUST, NATIONAL
                                        ASSOCIATION, as Escrow Agent
                                        By: ________________________________
                                        Name:
                                        Title:
                                        Date:
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                                             EXHIBIT A

                                     Form of Written Direction
[date]
Wilmington Trust, National Association
Corporate Client Services
1100 N. Market Street
Wilmington, DE 19890
Attention: [name]
                         Re: Escrow Account No.: , RTW Retailwinds, Inc.

Ladies and Gentlemen:

Reference is made to the Escrow Agreement, dated as of August ___, 2020 entered into by and among
Saadia Group LLC (“Purchaser”), RTW Retailwinds, Inc., a Delaware corporation (“Seller”) and
Wilmington Trust, National Association, a national banking association, as escrow agent (the “Escrow
Agent”). Capitalized terms defined in the Escrow Agreement shall have the same meanings when used
herein. This letter is a Joint Written Direction referred to in Section 1.3 of the Escrow Agreement.

Each of the undersigned hereby jointly instruct the Escrow Agent to release the funds in the Escrow
Account in the amounts, and to the account(s), as follows:

  Amount:

  Beneficiary Bank Name:

  Beneficiary Bank Address
  Line 1:
  Beneficiary Bank Address
  Line 2:
  Beneficiary Bank Address
  Line 3:
  ABA#:

  SWIFT#:

  Beneficiary Account Title:

  Beneficiary Account No./IBAN:

  Beneficiary Address
  Line 1:
  Beneficiary Address
  Line 2:
  Beneficiary Address
  Line 3:
  Additional Information:
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                                    PURCHASER


                                    SAADIA GROUP LLC


                                    By:
                                    Name:
                                    Title:
                                    Date:

                                    SELLER


                                    RTW RETAILWINDS, INC.




                                    By:

                                    Name: Sheamus Toal
                                    Title: Authorized Signatory

                                    Date:
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                                              EXHIBIT B

              CERTIFICATE AS TO AUTHORIZED SIGNATURES OF [__________]

        The undersigned hereby certifies that he/she is the duly elected and acting [Title] of [Full name of
Party] (the "[_______]"), and further certifies that the following officers or employees (each, an
“Authorized Representative”) of the [_______] have been duly authorized to deliver Written Instructions
to Wilmington Trust, National Association ("WTNA") pursuant to the Escrow Agreement between the
_____________ and WTNA dated _______________, and confirms that the title, contact information and
specimen signature of each such person as set forth below is true and correct.

  Name (print):
  Specimen Signature:

  Title:
  Telephone Number               Office:
 (required):                     Cell:
  If more than one, list all     Home:
                                 Other:
  E-mail (required):             Email 1:
  If more than one, list all     Email 2:
  Facsimile:

  Name (print):
  Specimen Signature:

  Title:
  Telephone Number               Office:
 (required):                     Cell:
  If more than one, list all     Home:
                                 Other:
  E-mail (required):             Email 1:
  If more than one, list all     Email 2:
  Facsimile:

  Name (print):
  Specimen Signature:

  Title:
  Telephone Number               Office:
 (required):                     Cell:
  If more than one, list all     Home:
                                 Other:
  E-mail (required):             Email 1:
  If more than one, list all     Email 2:
  Facsimile:
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       COMPLETE BELOW TO UPDATE CERTIFICATE OF AUTHORIZED SIGNERS

       In order to change the names or details of any of its Authorized Representatives, [_______] must
complete, sign and send to Escrow Agent an updated copy of this Certificate with such changes. Any
updated Certificate shall be effective once signed by the Party submitting it and countersigned by the
Escrow Agent and shall entirely supersede and replace any prior Certificate delivered pursuant to this
Escrow Agreement or submitted to Escrow Agent.

[Full Name of Party]
By:
Name:
Title:
Date:
WILMINGTON TRUST, NATIONAL ASSOCIATION
By:
Name:
Title:
Date:
INTERNAL USE ONLY:

□    UPDATED DETAILS OF AUTHORIZED REPRESENTATIVES COMPLETED IN
FULL
□    SIGNED BY A REPRESENTATIVE OF PARTY PER RELEVANT BOARD
RESOLUTIONS/CERTIFICATE OF INCUMBENCY ON FILE (IF RELEVANT).
□    CALL-BACK PERFORMED TO PARTY TO CONFIRM AUTHENTICITY OF
UPDATED CERTIFICATE:

PERSON CALLED:                          DATE OF CALL:                  TIME OF CALL:
                                       AM/PM

REVIEWED BY (NAME):                        SIGNATURE:                          DATE:
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                                            EXHIBIT C

                                      Fees of Escrow Agent

Acceptance Fee:                                                                           Waived

Initial Fees as they relate to Wilmington Trust, N.A. acting in the capacity of Escrow Agent –
includes review of the Escrow Agreement; acceptance of the Escrow appointment; setting up of
Escrow Account(s) and accounting records; and coordination of receipt of funds for deposit to the
Escrow Account(s). Acceptance Fee payable prior to, or within one business day after, the
Escrow Agreement is executed by all parties.

Escrow Agent Administration Fee:                                                           $4,500

For ordinary administrative services by Escrow Agent – includes daily routine account
management; investment transactions; cash transaction processing (including wire and check
processing); monitoring claim notices pursuant to the agreement; disbursement of funds in
accordance with the agreement; and mailing of trust account statements to all applicable parties.
This fee shall be payable annually.

Wilmington Trust, N.A.’s fees are based on the following assumptions:

      Number of Escrow Accounts to be established: One (1)
      Estimated Term of Escrow Agreement: TBD
      Investment of Escrow Property in: TBD


Out-of-Pocket Expenses:                                                            Billed At Cost
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                                            EXHIBIT B

                                          BILL OF SALE

        RTW Retailwinds, Inc., a Delaware corporation (the “Company”), and the other direct and
indirect wholly-owned Subsidiaries or Affiliates of the Company that are signatories hereto
(together with the Company, the “Seller”) for and in consideration of the amount set forth in that
certain Asset Purchase Agreement dated August 25, 2020 by and between Saadia Group LLC, a
New York limited liability company (“Purchaser”) and Seller (as amended, the “Asset Purchase
Agreement”) and other good and valuable consideration receipt and sufficiency of which is hereby
acknowledged, hereby absolutely SELLS, TRANSFERS, ASSIGNS, CONVEYS and DELIVERS
to Purchaser, all of Seller’s rights, title and interest in, to and under the Acquired Assets on
__________, 2020. Unless otherwise defined herein, all capitalized terms used in this Bill of Sale
shall have the meanings set forth in the Asset Purchase Agreement.

        This Bill of Sale is subject in all respects to the terms and conditions of the Asset Purchase
Agreement all of which shall survive the execution and delivery of this Bill of Sale in accordance
with the terms of the Asset Purchase Agreement. The Acquired Assets are being delivered pursuant
to the terms and conditions contained in the Asset Purchase Agreement. Nothing contained herein
shall supersede, amend, alter or modify (nor shall it be deemed or construed to supersede, amend,
alter or modify) any of the terms or conditions of the Asset Purchase Agreement in any manner
whatsoever. In the event of any conflict between the provisions of this Bill of Sale and the provisions
of the Asset Purchase Agreement, the provisions of the Asset Purchase Agreement shall control and
prevail.

        OTHER THAN AS SET FORTH IN THE ASSET PURCHASE AGREEMENT, THE
SALE OF THE ACQUIRED ASSETS IS MADE WITHOUT REPRESENTATION OR
WARRANTY OF ANY KIND OR NATURE WHATSOEVER. Purchaser shall unconditionally
accept the Acquired Assets “AS-IS, WHERE-IS” and, except as set forth in the Asset Purchase
Agreement, neither Seller nor any affiliate of Seller shall be deemed to have made, and Seller
hereby expressly disclaims, any representation or warranty, express or implied, as to the value,
condition, design, operation, merchantability, quality of materials or workmanship, fitness for use
or a particular purpose, manufacture or marketability, of the Acquired Assets, against infringement
of any patent or copyright or the like, or freedom from any latent or patent defect (whether or not
discoverable), or compliance with law, including, without limitation, any representation or
warranty that arises or may be deemed to arise out of any course of performance, course of dealing,
or usage of trade, all of which representations and warranties are hereby expressly disclaimed and
waived by the parties hereto. This Bill of Sale may be executed (by facsimile or PDF signature) in
any number of counterparts, each of which shall be deemed an original, but all of which together
shall constitute one and the same instrument.
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        This Bill of Sale shall be binding upon Purchaser and Seller, and inure to the benefit of each
party and its respective successors and permitted assigns.

        This Bill of Sale is to be governed by and construed in accordance with federal bankruptcy
law, to the extent applicable and where state law is implicated, the laws of the State of New Jersey
shall govern, without giving effect to the choice of law principles thereof, including all matters of
construction, validity and performance. The Bankruptcy Court will have jurisdiction over the
parties hereto and any and all disputes between or among the parties, whether in law or equity,
arising out of or relating to this bill of sale or any agreement contemplated hereby; provided,
however, that if the Bankruptcy Court is unwilling or unable to hear any such dispute, the federal
or state courts of the State of New Jersey will have sole jurisdiction over any and all disputes
between or among the parties, whether in law or equity, arising out of or relating to this Bill of Sale
or any agreement contemplated hereby. Each of the parties hereto hereby irrevocably waives any
and all right to trial by jury in any legal proceeding arising out of or related to this Bill of Sale or
the transactions contemplated hereby.



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        IN WITNESS WHEREOF, the undersigned have caused this Bill of Sale to be executed
by their respective duly authorized officers as of the date first above written.

                                        PURCHASER:


                                        SAADIA GROUP LLC



                                        By: ___________________________
                                        Name:
                                        Title:


                                        SELLER:

                                        RTW RETAILWINDS, INC.
                                        LERNER NEW YORK HOLDING, INC.
                                        LERNCO, INC.
                                        LERNER NEW YORK, INC.
                                        NEW YORK & COMPANY, INC.
                                        LERNER NEW YORK GC, LLC
                                        LERNER NEW YORK OUTLET, LLC
                                        NEW YORK & COMPANY STORES, INC.
                                        FTF GC, LLC
                                        LERNER NEW YORK FTF, LLC
                                        FASHION TO FIGURE, LLC
                                        FTF IP COMPANY, INC.



                                        By: ___________________________
                                        Name: Sheamus Toal
                                        Title: Authorized Signatory
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                    ASSIGNMENT AND ASSUMPTION AGREEMENT

       THIS ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Assignment”) is
entered into as of the ____ day of _________, 2020, by and between RTW Retailwinds, Inc., a
Delaware corporation (the “Company”), and the other direct and indirect wholly-owned
Subsidiaries or Affiliates of the Company that are signatories hereto (together with the Company,
the “Assignor”) and Saadia Group LLC, a New York limited liability company (“Assignee”).

                                       W I T N E S SETH

       WHEREAS, Assignor desires to sell, transfer and assign to Assignee, and Assignee desires
to purchase and acquire from Assignor various of its assets pursuant to an Asset Purchase
Agreement dated August 3, 2020, by and between Assignor and Assignee (the “Purchase
Agreement”); and

      WHEREAS, the Purchase Agreement provides that Assignor will assign, and Assignee will
assume, the Assumed Liabilities.

        NOW, THEREFORE, in consideration of the mutual covenants contained herein and other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
the parties agree as follows:

      1.     Definitions. Unless otherwise defined herein, all capitalized terms used in this
Assignment shall have the meanings set forth in the Purchase Agreement.

        2.    Assignment. Assignor hereby grants, sells, conveys, assigns, transfers and delivers
to the Assignee all of Assignor's right, obligation, liability, and interest in and to the Assumed
Liabilities.

        3.     Acceptance and Assumption of Obligations. Assignee hereby accepts and
assumes the foregoing assignment; covenants and agrees to faithfully perform the covenants,
stipulations, agreements, and obligations related to the Assumed Liabilities as set forth in the
Purchase Agreement.

      4.      Binding Effect; Assignment. This Assignment shall be binding upon Assignee and
Assignor, and inure to the benefit of each party and its respective successors and permitted assigns.

        5.    Notices. All notices, requests and other communications hereunder must be in
writing and shall be deemed to have been duly given only if delivered in accordance with the terms
of the Purchase Agreement.

       6.    Subject to the Purchase Agreement. This Assignment is subject in all respects to
the terms and conditions of the Purchase Agreement, and all of the representations, warranties,
covenants and agreements of Assignor and Assignee contained therein, all of which shall survive
the execution and delivery of this Assignment in accordance with the terms of the Purchase
Agreement. Nothing in this Assignment shall supersede, amend, alter or modify (nor shall it be
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 deemed or construed to supersede, amend, alter or modify) any of the terms or conditions of the
 Purchase Agreement in any manner whatsoever. In the event of any conflict between the
 provisions of this Assignment and the provisions of the Purchase Agreement, the provisions of the
 Purchase Agreement shall control and prevail.

        7.     Amendment. This Assignment may be amended, supplemented or modified only
 by a written instrument duly executed by or on behalf of each party hereto.

        8.     No Third Party Beneficiary. The terms and provisions of this Assignment are
 intended solely for the benefit of the parties hereto and their respective successors or permitted
 assigns, and it is not the intention of the parties hereto to confer third party beneficiary rights upon
 any other person.

         9.    Headings. The headings used in this Assignment have been inserted for convenience
 of reference only and do not define or limit the provisions hereof.

         10. Counterparts. This Assignment may be executed (by facsimile or PDF signature)
 in any number of counterparts, each of which shall be deemed an original, but all of which together
 shall constitute one and the same instrument.

         11.   Governing Law; Jurisdiction.

                This Assignment is to be governed by and construed in accordance with federal
 bankruptcy law, to the extent applicable and where state law is implicated, the laws of the State of
 New Jersey shall govern, without giving effect to the choice of law principles thereof, including
 all matters of construction, validity and performance.

              The Bankruptcy Court will have jurisdiction over the parties hereto and any and all
 disputes between or among the parties, whether in law or equity, arising out of or relating to this
 Assignment or any agreement contemplated hereby; provided, however, that if the Bankruptcy
 Court is unwilling or unable to hear any such dispute, the federal or state courts of the State of
 New Jersey will have sole jurisdiction over any and all disputes between or among the parties,
 whether in law or equity, arising out of or relating to this Assignment or any agreement
 contemplated hereby.

                Each of the parties hereto hereby irrevocably waives any and all right to trial by jury
 in any legal proceeding arising out of or related to this Assignment or the transactions contemplated
 hereby.

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        IN WITNESS WHEREOF, the undersigned have caused this Assignment and
Assumption Agreement to be executed by their respective duly authorized officers as of the date
first above written.
                                           ASSIGNEE:


                                           SAADIA GROUP LLC



                                           By: ___________________________
                                           Name:
                                           Title:


                                           ASSIGNOR:

                                           RTW RETAILWINDS, INC.
                                           LERNER NEW YORK HOLDING, INC.
                                           LERNCO, INC.
                                           LERNER NEW YORK, INC.
                                           NEW YORK & COMPANY, INC.
                                           LERNER NEW YORK GC, LLC
                                           LERNER NEW YORK OUTLET, LLC
                                           NEW YORK & COMPANY STORES, INC.
                                           FTF GC, LLC
                                           LERNER NEW YORK FTF, LLC
                                           FASHION TO FIGURE, LLC
                                           FTF IP COMPANY, INC.



                                           By: ___________________________
                                           Name: Sheamus Toal
                                           Title: Authorized Signatory




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                                            EXHIBIT C



                                 TRADEMARK ASSIGNMENT

        This Trademark Assignment (this “Trademark Assignment”) is effective as of _______,
2020.

        WHEREAS, RTW Retailwinds, Inc., a Delaware corporation (the “Company”), and the
other direct and indirect wholly-owned Subsidiaries or Affiliates of the Company that are
signatories hereto (together with the Company, the “Assignor”) and Saadia Group LLC, a New
York limited liability company (“Assignee”), are parties to an Asset Purchase Agreement, dated
as of August 25, 2020, as amended (the “Purchase Agreement”), governing the purchase and sale
of the Acquired Assets. All capitalized terms used but not defined herein shall have the meaning
attributed to them in the Purchase Agreement;

         WHEREAS, pursuant to the Purchase Agreement, Assignor has agreed to transfer all right,
title and interest in and to the trademarks set forth on Schedule A hereto, together with the goodwill
of the business associated therewith (collectively referred to as the “Marks”) to Assignee;

       WHEREAS, the parties wish herein to memorialize said assignment, transfer and sale of
the Assignor’s right, title and interest in and to the Marks to Assignee.

       NOW, THEREFORE, for good and valuable consideration set forth in the Purchase
Agreement, the receipt and sufficiency of which is hereby acknowledged, the Assignor and
Assignee hereby agree as follows:

        1.      Subject to the terms of the Purchase Agreement, Assignor hereby sells, assigns,
transfers, and conveys to Assignee, its successors and assigns, all right, title and interest, in and to
the Marks, together with the goodwill of the business symbolized by them throughout the world,
and all registrations and pending applications therefor, any renewals of the registrations, for
Assignee’s own use and enjoyment, and for the use and enjoyment of Assignee’s successors,
assigns or other legal representatives, together with all causes of action for any and all previously
occurring infringement of the rights being assigned and the right to receive and retain the proceeds
relating to those infringements.

        2.      This Trademark Assignment shall be binding upon and shall inure to the benefit of
the respective successors and permitted assigns of the Assignor and Assignee.

       3.      This Trademark Assignment is in all respects subject to the provisions of the
Purchase Agreement and is not intended in any way to supersede, limit, qualify or expand any
provision of the Purchase Agreement.

       4.      This Trademark Assignment may be executed in one or more counterparts, each of
which shall be considered an original instrument, but all of which shall be considered one and the
same agreement, and shall become binding when one or more counterparts have been signed by
each of the parties hereto and delivered to the Assignor and Assignee. Delivery of an executed
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counterpart of a signature page to this Trademark Assignment by electronic transmission
(including email or facsimile) shall be as effective as delivery of a manually executed counterpart
of this Trademark Assignment.

        5.      This Trademark Assignment shall be governed by and construed in accordance with
the internal laws (without regard to the conflicts of law provisions) of the State of New Jersey.

       6.     No waiver, modification or change of any of the provisions of this Trademark
Assignment shall be valid unless in writing and signed by the party against whom such claimed
waiver, modification or change is sought to be enforced.

                                              * * *
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      IN WITNESS WHEREOF, the Assignor and Assignee have caused this Trademark
Assignment to be executed as of the date first set forth above.

                                    ASSIGNEE:

                                    SAADIA GROUP LLC

                                    By: ___________________________
                                    Name:
                                    Title:


                                    ASSIGNOR:

                                    RTW RETAILWINDS, INC.
                                    LERNER NEW YORK HOLDING, INC.
                                    LERNCO, INC.
                                    LERNER NEW YORK, INC.
                                    NEW YORK & COMPANY, INC.
                                    LERNER NEW YORK GC, LLC
                                    LERNER NEW YORK OUTLET, LLC
                                    NEW YORK & COMPANY STORES, INC.
                                    FTF GC, LLC
                                    LERNER NEW YORK FTF, LLC
                                    FASHION TO FIGURE, LLC
                                    FTF IP COMPANY, INC.



                                    By: ___________________________
                                    Name: Sheamus Toal
                                    Title: Authorized Signatory
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                                        Schedule A

Trademarks registered with the USPTO and owned by Lernco, Inc.
   1. NY&C (logo) – Registration Number 4534159
   2. New York Romance – Registration Number 4553400
   3. NYC (logo) – Registration Number 4655094
   4. Dream New York – Registration Number 4730364
   5. NY&C Rewards – Registration Number 4007146
   6. Soho New York & Company Jeans (logo) – Registration Number 4801321
   7. New York & Company – Registration Number 2507567
   8. NY Style – Registration Number 4089208
   9. NY Style – Registration Number 4108956
   10. New York & Company Outlet – Registration Number 4160559
   11. New York & Company – Registration Number 2629986
   12. NY&C Beauty – Registration Number 4492234
   13. NY@Work – Registration Number 5530422
   14. New York & Company – Registration Number 3026644
   15. Lerner – Registration Number 1431895
   16. NY&C Style System – Serial Number 88703464 (Application) / Registration Number
       6094489
   17. S Uncommon Sense (logo) – Registration Number 5963045
   18. US (logo) – Serial Number 88253448 (Application)
   19. Magic Crepe – Registration Number 5856636
   20. Shape & Chic – Registration Number 5839620
   21. Sleek & Chic – Registration Number 5839619
   22. RTW Retailwinds – Serial Number 88187096 (Application)
   23. RTW Retailwinds – Serial Number 88187073 (Application)
   24. NY (pocket stitch) – Registration Number 3317524
   25. New York & Company – Registration Number 3446405
   26. NY&C (logo) – Registration Number 3382726
   27. NY&C (logo) – Registration Number 3755542
Trademarks registered with the USPTO and owned by Lerner New York, Inc.
   1. Some Gifts Count More Than Others – Registration Number 3805887
   2. City Slim – Registration Number 4653838
Trademarks registered with the USPTO and owned by FTF IP Company, Inc.
   1. Fashion to Figure Fashion for Figures 12-26 – Registration Number 3940340
   2. Fashion is a State of Mind, Not a Size Range – Registration Number 4753367
   3. FTF Fashion to Figure (logo) – Registration Number 4753335
   4. FTF (logo) – Registration Number 4753336
   5. FTF Fashion to Figure (logo) – Registration Number 4753334
   6. Fashion to Figure – Registration Number 3252188
   7. FTF (logo) – Registration Number 3261711
   8. FTF – Registration Number 3268915
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Trademarks registered with state offices and owned by Lerner New York, Inc.
   1. Alabama
         a. New York & Company – Registration Number 112146
   2. Arizona
         a. New York & Company – Registration Number 548613
   3. Louisiana
         a. New York & Company – Registration Number 567693
   4. Nebraska
         a. New York & Company – Registration Number 10058514
   5. North Dakota
         a. New York & Company – Registration Number 16014200
   6. Ohio
         a. New York & Company – Registration Number 1259326
   7. Wisconsin
         a. New York & Company – Registration Number 20105200052
   8. Wyoming
         a. New York & Company – Registration Number 2000-000407518
Trademarks registered with state offices and owned by Lerner New York Outlet, LLC
   1. Alabama
         a. New York & Company Outlet – Registration Number 112147
   2. Wisconsin
         a. New York & Company – Registration Number 20200079938
         b. New York & Company Outlet – Registration Number 20105100051
Trademarks registered internationally and owned by Lernco, Inc.
Andorra
   1. LERNER NEW YORK – Registration Number 6876
   2. NY & CO AND DESIGN – Registration Number 14355
Argentina
   3. LERNER NEW YORK – Registration Number 2531622
   4. NY & CO AND DESIGN – Registration Number 2537639
   5. NY & CO NEW YORK & COMPANY AND DESIGN 02 – Registration Number
       2605334
   6. NY & CO AND DESIGN – Registration Number 2031616
Australia
   7. NEW YORK & COMPANY – Registration Number 926844
   8. NY & CO AND DESIGN – Registration Number A826672
Austria
   9. NY & CO AND DESIGN – Registration Number 189173
   10. NEW YORK & COMPANY – Registration Number 926844
Bahamas
   11. LERNER NEW YORK – Registration Number 16594
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Bahrain
   12. NY & CO. AND RECTANGULAR DESIGN – Registration Number 27599
   13. NY & CO AND DESIGN – Registration Number SM3627
   14. NEW YORK & COMPANY – Registration Number TM61030
   15. NEW YORK & COMPANY – Registration Number TM61031
   16. NEW YORK & COMPANY – Registration Number 61029
   17. NEW YORK & COMPANY – Registration Number 61028
Bangladesh
   18. NY & CO AND DESIGN – Application Number 64231
   19. NY & CO AND DESIGN – Registration Number 64232
   20. NY & CO AND DESIGN – Application Number 64227
Barbados
   21. NY & CO AND DESIGN – Registration Number 81/15099
   22. NY & CO AND DESIGN – Registration Number 81/015100
   23. NY & CO AND DESIGN – Registration Number 81/015098
Benelux
   24. LERNER – Registration Number 418590
   25. NEW YORK & COMPANY – Registration Number 926844
   26. LERNER – Registration Number 424555
   27. NY & CO AND DESIGN – Registration Number 682310
Bolivia
   28. NY & CO AND DESIGN – Registration Number 78519
   29. NY & CO AND DESIGN – Registration Number 78518
   30. NY & CO AND DESIGN – Registration Number 78520
   31. LERNER    – Registration Number 81959-A
Brazil
   32. LERNER      – Registration Number 812694384
   33. NY & CO – Registration Number 822421747
   34. NY & CO – Registration Number 822421763
   35. LERNER – Registration Number 812694376
   36. NEW YORK & COMPANY02 – Registration Number 831247070
   37. NEW YORK & COMPANY02 – Registration Number 831247053
Bulgaria
   38. LERNER NEW YORK – Registration Number 4341Y
   39. LERNER NEW YORK – Registration Number 26627
   40. NEW YORK & COMPANY – Registration Number 926844
   41. NY & CO AND DESIGN – Registration Number 40296
Cambodia
   42. NEW YORK & COMPANY – Registration Number KH/20237/04
   43. NEW YORK & COMPANY – Registration Number KH/20238/04
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Canada
   44. NEW YORK & COMPANY – Registration Number 880324
   45. CITY STRETCH – Registration Number 882661
   46. S UNCOMMON SENSE – Application Number 1945036
Chile
   47. NY & CO AND DESIGN – Registration Number 1046869
   48. NY & CO AND DESIGN – Registration Number 1079159
   49. LERNER    – Registration Number 777132
   50. LERNER    – Registration Number 778705
   51. LERNER    – Registration Number 798392
China
   52. NY & CO AND DESIGN – Registration Number 1589200
   53. NY & CO AND DESIGN – Registration Number 1595953
   54. NY & C AND DESIGN02 – Application Number 12965761
Colombia
   55. NY & CO AND DESIGN – Registration Number 233702
   56. NY & CO AND DESIGN – Registration Number 233703
   57. NY & CO AND DESIGN – Registration Number 233704
   58. LERNER NEW YORK – Registration Number 173073
   59. NY & CO AND DESIGN – Registration Number 383092
Costa Rica
   60. NY & CO AND DESIGN – Registration Number 170195
Czech Republic
   61. NEW YORK & COMPANY – Registration Number 926844
   62. NY & CO AND DESIGN – Registration Number 234336
Denmark
   63. NY & CO AND DESIGN – Registration Number VR 200002381
   64. NEW YORK & COMPANY – Registration Number 926844
Dominican Republic
  65. NY & CO AND DESIGN – Registration Number 114278
  66. NY & CO AND DESIGN – Registration Number 114250
  67. NY & CO AND DESIGN – Registration Number 114334
  68. LERNER NEW YORK – Registration Number 74353
  69. NEW YORK & COMPANY – Registration Number 161627
Ecuador
   70. NY & CO AND DESIGN – Registration Number 3021-IEPI
   71. NY & CO AND DESIGN – Registration Number 3022-IEPI
   72. NY & CO AND DESIGN – Registration Number 3023-IEPI
   73. LERNER NEW YORK – Registration Number 699-IEPI
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   74. LERNER NEW YORK – Registration Number 705-IEPI
Egypt
   75. NY & CO AND DESIGN – Registration Number 132739
   76. NY & CO AND DESIGN – Registration Number 132740
   77. NEW YORK & COMPANY – Registration Number 195561
   78. NEW YORK & COMPANY – Registration Number 195562
   79. NEW YORK & COMPANY – Registration Number 203434
   80. NEW YORK & COMPANY – Registration Number 203433
El Salvador
    81. LERNER NEW YORK – Registration Number 105 Book104
    82. LERNER NEW YORK – Registration Number 237 Book 104 P
    83. LERNER NEW YORK – Registration Number 69 Book 107
    84. NY & CO AND DESIGN – Registration Number 109 Book 187
    85. NY & CO AND DESIGN – Registration Number 108 Book 187
    86. LERNER NEW YORK – Registration Number 3 Book 49 Pages
European Union
   87. LERNER NEW YORK – Registration Number 325431
   88. NEW YORK & COMPANY – Registration Number 926844
Finland
    89. NY & CO AND DESIGN – Registration Number 219910
    90. NEW YORK & COMPANY – Registration Number 926844
France
   91. LERNER – Registration Number 1355689
   92. LERNER – Registration Number 1386464
   93. NEW YORK & COMPANY – Registration Number 926844
   94. NY & CO AND DESIGN – Registration Number 00 3015839
Germany
   95. NEW YORK & COMPANY – Registration Number 926844
   96. NY & CO AND DESIGN – Registration Number 300 19 077
Greece
   97. LERNER – Registration Number 83091
   98. NEW YORK & COMPANY – Registration Number 926844
Guatemala
   99. NY & CO AND DESIGN – Registration Number 108877
   100.     NY & CO AND DESIGN – Registration Number 108908
   101.     NY & CO AND DESIGN – Registration Number 108906
   102.     LERNER – Registration Number 115671
   103.     CITY STRETCH – Registration Number 134501
   104.     NEW YORK & COMPANY – Registration Number 153288
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   105.     NEW YORK & COMPANY – Registration Number 153277
Haiti
   106.     LERNER NEW YORK – Registration Number 39/152
   107.     LERNER NEW YORK – Registration Number 40/152
Hong Kong
   108.     NY & CO AND DESIGN – Registration Number 300126116AA
   109.     LEARNER – Registration Number 1989B0781
Hungary
   110.     NEW YORK & COMPANY – Registration Number 926844
   111.     NY & CO AND DESIGN – Registration Number 172142
India
    112.    LERNER NEW YORK – Registration Number 625620
    113.    NY & CO AND DESIGN – Registration Number 1250055
    114.    NY & CO AND DESIGN – Registration Number 912079
    115.    NY & CO AND DESIGN – Registration Number 912077
    116.    NY & CO AND DESIGN – Registration Number 912078
Indonesia
   117.     NY & CO AND DESIGN – Registration Number IDM000243515
   118.     NY & CO AND DESIGN – Registration Number IDM000308812
   119.     NY & CO and Design – Registration Number IDM000243517
   120.     LERNER NEW YORK – Registration Number IDM000050333
   121.     LERNER – Registration Number IDM000113209
   122.     NEW YORK & COMPANY – Registration Number IDM000172992
   123.     NEW YORK & COMPANY – Registration Number IDM000172991
Ireland
    124.    LERNER NEW YORK – Registration Number 161697
    125.    NEW YORK & COMPANY – Registration Number 926844
    126.    NY & CO AND DESIGN – Registration Number 222496
Israel
    127.    NY & CO AND DESIGN – Registration Number 136076
    128.    NY & CO AND DESIGN – Registration Number 136077
    129.    NY & CO AND DESIGN – Registration Number 136075
Italy
    130.    LERNER – Registration Number 1215532
    131.    NEW YORK & COMPANY – Registration Number 926844
    132.    NY & CO AND DESIGN – Registration Number 1291543
Jordan
    133.    NY & CO AND DESIGN – Registration Number 57893
    134.    NY & CO AND DESIGN – Registration Number 57894
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   135.     LERNER NEW YORK – Registration Number 61905
   136.     NY & CO AND DESIGN – Registration Number 61448
   137.     LERNER NEW YORK – Registration Number 35872
   138.     NEW YORK & COMPANY – Registration Number 94188
   139.     NEW YORK & COMPANY – Registration Number 93878
   140.     NEW YORK & COMPANY – Registration Number 94189
   141.     NEW YORK & COMPANY – Registration Number 94230
Kenya
   142.     NEW YORK & COMPANY – Registration Number 926844
Kosovo
   143.     LERNER – Registration Number 1811
   144.     NEW YORK & COMPANY – Registration Number 5914
   145.     NY & CO AND DESIGN – Registration Number 3353
Kuwait
  146.      NY & CO AND DESIGN – Registration Number 44249
  147.      NY & CO. AND RECTANGULAR DESIGN – Registration Number 44247
  148.      NY & CO AND DESIGN – Registration Number 44248
Lebanon
   149.      NEW YORK & COMPANY IN LATIN CHARACTERS – Registration Number
      111931
Lesotho
   150.     NEW YORK & COMPANY – Registration Number LS/M/04/00156
Macao
  151.      NEW YORK & COMPANY – Registration Number N/28945
  152.      NEW YORK & COMPANY – Registration Number N/28944
Malaysia
   153.     LERNER NEW YORK – Registration Number 94/07748
   154.     LERNER NEW YORK – Registration Number 97018386
Mexico
  155.      NEW YORK & COMPANY – Registration Number 1288383
  156.      NY & CO NEW YORK & COMPANY AND DESIGN02 – Registration Number
      1346867
  157.      NY & CO NEW YORK & COMPANY AND DESIGN – Registration Number
      1430148
  158.      NEW YORK & COMPANY AND DESIGN – Registration Number 1369770
  159.      NY & CO – Registration Number 1774999
  160.      NY & CO – Registration Number 1128806
  161.      NEW YORK & COMPANY – Registration Number 1175364
  162.      NEW YORK & COMPANY – Registration Number 1205548
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   163.      S UNCOMMON SENSE – Registration Number 1987541
   164.      S UNCOMMON SENSE – Registration Number 1996252
   165.      S UNCOMMON SENSE – Application
Monaco
  166.       NY & CO AND DESIGN – Registration Number R00.21473
Montenegro
  167.       LERNER – Registration Number 04145PP
  168.       NY & CO AND DESIGN – Registration Number 06006PP
Morocco
  169.       NEW YORK & COMPANY – Registration Number 926844
  170.       NY & CO AND DESIGN – Registration Number 72818
Nepal
   171.      LERNER NEW YORK – Registration Number 11377/052
   172.      LERNER NEW YORK – Registration Number 11519/052
   173.      LERNER NEW YORK – Registration Number 11518/052
New Zealand
  174.      NY & CO AND DESIGN – Registration Number 610338
  175.      NY & CO AND DESIGN – Registration Number 610337
  176.      NY & CO AND DESIGN – Registration Number 610336
Nicaragua
   177.      NY & CO AND DESIGN – Registration Number 51053
   178.      NY & CO AND DESIGN – Registration Number 51052
   179.      NY & CO AND DESIGN – Registration Number 51054
Norway
   180.      LERNER – Registration Number 129602
   181.      NEW YORK & COMPANY – Registration Number 926844
   182.      NY & CO AND DESIGN – Registration Number 206761
Oman
  183.       NY & CO AND DESIGN – Registration Number 22476
  184.       NY & CO AND DESIGN – Registration Number 22479
  185.       NY & CO AND DESIGN – Registration Number 22477
  186.       NY & CO AND DESIGN – Registration Number 22478
Pakistan
   187.      NY & CO AND DESIGN – Application Number 161735
   188.      NY & CO AND DESIGN – Application Number 161736
Panama
   189.      NY & CO AND DESIGN – Registration Number 109369
   190.      NY & CO AND DESIGN – Registration Number 109371
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   191.       NY & CO AND DESIGN – Registration Number 109370
   192.       LERNER    – Registration Number 43689-02
   193.       LERNER    – Registration Number 43691
   194.       LERNER    – Registration Number 43690
   195.       LERNER    – Registration Number 43695
Paraguay
   196.       NY & CO and Design – Registration Number 355641
   197.       NY & CO and Design – Registration Number 355642
   198.       NY & CO and Design – Registration Number 355640
   199.       LERNER – Registration Number 292154
   200.       LERNER – Registration Number 292153
Peru
   201.       NY & CO AND DESIGN – Registration Number 66068
   202.       LERNER NEW YORK – Registration Number 28269
   203.       NY & CO AND DESIGN – Registration Number 78796
   204.       NEW YORK & COMPANY – Registration Number 47353
   205.       NEW YORK & COMPANY – Registration Number 135225
Philippines
    206.      NEW YORK & COMPANY – Registration Number 4-2006-005756
    207.      NEW YORK & COMPANY – Registration Number 4-2007-00037
    208.      LERNER – Registration Number 4-2008-008883
Poland
   209.       NEW YORK & COMPANY – Registration Number 926844
   210.       NY & CO AND DESIGN – Registration Number 149292
Portugal
   211.       NY & CO AND DESIGN – Registration Number 344857
   212.       LERNER    – Registration Number 234715
   213.       LERNER    – Registration Number 234716
   214.       NEW YORK & COMPANY – Registration Number 926844
Puerto Rico
   215.       LERNER    – Registration Number 202118
   216.       LERNER    – Registration Number 201937
   217.       NEW YORK & COMPANY – Registration Number 200353
   218.       NEW YORK & COMPANY – Registration Number 200354
   219.       NEW YORK & COMPANY – Registration Number 200352
   220.       NEW YORK & COMPANY – Registration Number 203840
   221.       NEW YORK & COMPANY – Registration Number 208371
   222.       NEW YORK & COMPANY – Registration Number 203839
   223.       NEW YORK & COMPANY – Registration Number 203838
   224.       NEW YORK & COMPANY – Registration Number 203837
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   225.        LERNER – Registration Number 27285
   226.        LERNER – Registration Number 27286
Qatar
   227.        NEW YORK & COMPANY – Registration Number 43198
   228.        NEW YORK & COMPANY – Registration Number 43197
   229.        NEW YORK & COMPANY – Registration Number 45644
   230.        NEW YORK & COMPANY – Registration Number 45645
   231.        NY & CO AND DESIGN – Registration Number 22570
   232.        NY & CO AND DESIGN – Registration Number 22572
   233.        NY & CO AND DESIGN – Registration Number 22571
Romania
  234.         NEW YORK & COMPANY – Registration Number 926844
  235.         NY & CO AND DESIGN – Registration Number R042317
Russia
   236.        LERNER NEW YORK – Registration Number 134936
Saudi Arabia
   237.        NEW YORK & COMPANY – Registration Number 1322/20
   238.        NEW YORK & COMPANY – Registration Number 1322/21
   239.        NEW YORK & COMPANY – Registration Number 1322/22
   240.        NEW YORK & COMPANY – Registration Number 1322/19
Serbia
   241.        LERNER – Registration Number 32063
   242.        NEW YORK & COMPANY – Registration Number 926844
   243.        NY & CO AND DESIGN – Registration Number 46538
Singapore
   244.     NY & CO AND DESIGN – Registration Number T00/04987Z
   245.     NY & CO AND DESIGN – Registration Number T00/04988H
   246.     LERNER NEW YORK – Registration Number T96/10330G
   247.     LERNER NEW YORK AND LADY DESIGN – Registration Number
      T97/00448E
   248.     NEW YORK & COMPANY – Registration Number 926844
   249.     NY & CO AND DESIGN – Registration Number T00/04986A
Slovakia
   250.        NEW YORK & COMPANY – Registration Number 926844
   251.        NY & CO AND DESIGN – Registration Number 196141
South Africa
   252.      NY & CO AND DESIGN – Registration Number 2000/04510
   253.      NY & CO AND DESIGN – Registration Number 2000/04509
   254.      NY & CO AND DESIGN – Registration Number 2000/04511
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South Korea
   255.     NEW YORK & COMPANY – Registration Number 926844
Spain
   256.       LERNER NEW YORK – Registration Number 1910655
   257.       NEW YORK & COMPANY – Registration Number 926844
   258.       LERNER – Registration Number 1188761
   259.       NY & CO AND DESIGN – Registration Number 2302983
   260.       NY & CO AND DESIGN – Registration Number 2302984
   261.       NY & CO AND DESIGN – Registration Number 2302982
Sri Lanka
    262.      LERNER    – Registration Number 51353
    263.      LERNER    – Registration Number 51351
    264.      NEW YORK & COMPANY – Registration Number 137091
    265.      NEW YORK & COMPANY – Registration Number 137090
    266.      NY & CO AND DESIGN – Registration Number 96999
    267.      NY & CO AND DESIGN – Registration Number 96996
    268.      NY & CO AND DESIGN – Registration Number 96998
Sweden
   269.       NY & CO AND DESIGN – Registration Number 348299
   270.       LERNER NEW YORK – Registration Number 302523
   271.       NEW YORK & COMPANY – Registration Number 926844
Switzerland
   272.       NY & CO AND DESIGN – Registration Number 477497
   273.       NEW YORK & COMPANY – Registration Number 926844
Taiwan
   274.       LERNER – Registration Number 492681
   275.       LERNER – Registration Number 942268
   276.       NY & CO AND DESIGN – Registration Number 150290
   277.       NY & CO AND DESIGN – Registration Number 991763
   278.       LERNER NEW YORK – Registration Number 91398
   279.       LERNER – Registration Number 774403
   280.       LERNER – Registration Number 783341
   281.       NEW YORK & COMPANY – Registration Number 1388626
   282.       NEW YORK & COMPANY – Registration Number 1388625
   283.       NEW YORK & COMPANY – Registration Number 1388624
Turkey
   284.       NEW YORK & COMPANY – Registration Number 2004/01330
   285.       LERNER – Registration Number 100004
Ukraine
   286.       NEW YORK & COMPANY – Registration Number 926844
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United Arab Emirates
   287.      LERNER NEW YORK – Registration Number 8166
   288.      LERNER NEW YORK – Registration Number 7442
   289.      NEW YORK & COMPANY – Registration Number 95256
   290.      NEW YORK & COMPANY – Registration Number 95259
   291.      NEW YORK & COMPANY – Registration Number 95258
   292.      NEW YORK & COMPANY – Registration Number 95257
United Kingdom
   293.      NEW YORK & COMPANY – Registration Number 926844
   294.      NY & CO AND DESIGN – Registration Number 2225601
Uruguay
   295.       NY & CO AND DESIGN – Registration Number 321188
Venezuela
   296.       NY & CO AND DESIGN – Application Number 2000-001739
   297.       NY & CO AND DESIGN – Application Number 2000-001738
   298.       NY & CO AND DESIGN – Application Number 2000-001737
Vietnam
   299.       NEW YORK & COMPANY – Registration Number 926844
   300.       NY & CO AND DESIGN – Registration Number 37733
West Bank
  301.        NY & CO AND DESIGN – Registration Number 8056
  302.        NY & CO AND DESIGN – Registration Number 8057
  303.        NY & CO AND DESIGN – Registration Number 8058
WIPO
  304.        NEW YORK & COMPANY – Registration Number 926844


Trademarks registered internationally and owned by Lerner New York, Inc.
China
   1. CITY STRETCH – Registration Number 844335
Germany
   2. CITY STRETCH – Registration Number 844335
Hong Kong
   3. CITY STRETCH – Registration Number 300135044
Indonesia
   4. CITY SPA – Registration Number IDM000229840
   5. CITY CREPE – Registration Number IDM000199862
   6. CITY STRETCH – Registration Number IDM000154282
Italy
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   7. CITY STRETCH – Registration Number 844335
Japan
   8. CITY STRETCH – Registration Number 844335
Mexico
  9. CITY STRETCH – Registration Number 1283147
Nicaragua
   10. CITY STRETCH – Registration Number 83716
Puerto Rico
   11. CITY STRETCH – Registration Number 203984-25-0
South Africa
   12. CITY STRETCH – Registration Number 844335
Spain
   13. CITY STRETCH – Registration Number 844335
Taiwan
   14. CITY SPA – Registration Number 1175834
   15. CITY STRETCH – Registration Number 1175832
   16. CITY CREPE – Registration Number 1175833
United Kingdom
   17. CITY STRETCH – Registration Number 844335
Vietnam
   18. CITY STRETCH – Registration Number 62940
   19. CITY CREPE – Registration Number 75950
   20. CITY SPA – Registration Number 75951
WIPO
  21. CITY STRETCH – Registration Number 844335


Trademarks registered internationally, owner not known
Aruba
   1. NY & CO AND DESIGN – Registration Number 20455
Bahamas
   2. NY & CO AND DESIGN – Registration Number 22703
   3. NY & CO AND DESIGN – Registration Number 22702
   4. NY & CO AND DESIGN – Registration Number 22701
Bahrain
   5. NY & CO AND DESIGN – Registration Number 27598
Bermuda
   6. NY & CO AND DESIGN – Registration Number 31617
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   7. NY & CO AND DESIGN – Registration Number 31619
   8. NY & CO AND DESIGN – Registration Number 31618
China
   9. LERNER     – Registration Number 288874
   10. NY & CO AND DESIGN – Registration Number 1596375
   11. NY & CO AND DESIGN02 – Application Number 12965762
Costa Rica
   12. LERNER    – Registration Number 90099
   13. LERNER NEW YORK AND DESIGN – Registration Number 90104
Egypt
   14. NY & CO AND DESIGN – Registration Number 132741
   15. LERNER NEW YORK – Registration Number 144516
Gaza
   16. NY & CO AND DESIGN – Registration Number 6992
   17. NY & CO AND DESIGN – Registration Number 6991
   18. NY & CO AND DESIGN – Registration Number 6993
Haiti
   19. NY & CO AND DESIGN – Registration Number 101/171
   20. NY & CO AND DESIGN – Registration Number 102/171
   21. NY & CO AND DESIGN – Registration Number 103/171
Honduras
   22. NY & CO. AND DESIGN – Registration Number 80064
   23. NY & CO. AND DESIGN – Registration Number 7341
   24. NY & CO AND DESIGN – Registration Number 80240
Jamaica
   25. NY & CO AND DESIGN – Registration Number 41390
   26. NY & CO and Design – Registration Number 38769
   27. NY & CO and Design – Registration Number 38732
   28. NY & CO and Design – Registration Number 38708
Japan
   29. NY & CO AND DESIGN – Registration Number 4446389
   30. NY & CO AND DESIGN – Registration Number 4477894
   31. NEW YORK & COMPANY – Registration Number 926844
   32. LERNER NEW YORK – Registration Number 3352532
   33. LERNER NEW YORK – Registration Number 3357873
Madagascar
  34. NEW YORK & COMPANY – Registration Number 0292/13
Mauritius
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   35. LERNER – Registration Number A/27 No. 112
   36. NY & CO AND DESIGN – Registration Number A/47 No. 235
Mongolia
  37. NEW YORK & COMPANY – Registration Number 4870
Nepal
   38. NY & CO. – Registration Number 15414/057
Pakistan
   39. NY & CO AND DESIGN – Registration Number 162207
   40. NY & CO AND DESIGN – Registration Number 201229
Russia
   41. NY & CO AND DESIGN – Registration Number 217209
Saudi Arabia
   42. NY & CO AND DESIGN – Registration Number 742/33
   43. NY & CO AND DESIGN – Registration Number 742/34
   44. NY & CO AND DESIGN – Registration Number 572/64
South Africa
   45. NEW YORK & COMPANY – Registration Number 2007/00438
   46. NEW YORK & COMPANY – Registration Number 2007/00437
South Korea
   47. NY & CO AND DESIGN – Registration Number 5471
   48. LERNER – Registration Number 7100
   49. LERNER – Registration Number 143701
Thailand
   50. NY & CO AND DESIGN – Registration Number 148214
   51. LERNER – Registration Number 46404
Ukraine
   52. NY & CO AND DESIGN – Registration Number 26696
United Arab Emirates
   53. NY & CO AND DESIGN – Registration Number 28861
   54. NY & CO AND DESIGN – Registration Number 28862
   55. NY & CO AND DESIGN – Registration Number 28860
Uruguay
   56. LERNER – Registration Number 381580
Zimbabwe
   57. NY & CO AND DESIGN – Registration Number 376/2000
   58. NY & CO AND DESIGN – Registration Number 375/2000
   59. NY & CO AND DESIGN – Registration Number 377/2000
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                                           EXHIBIT D

                      DOMAIN NAME ASSIGNMENT AGREEMENT

        This Domain Name Assignment Agreement (the “Assignment”), dated as of _______,
2020 (the “Effective Date”), is made by and among RTW Retailwinds, Inc., a Delaware
corporation (the “Company”), and the other direct and indirect wholly-owned Subsidiaries or
Affiliates of the Company that are signatories hereto (together with the Company, the “Assignor”),
and Saadia Group LLC, a New York limited liability company (“Assignee”).


                                       W I T N E S S E T H:

       WHEREAS, Assignor and Assignee entered into a certain Asset Purchase Agreement,
dated as of August 3, 2020 (the “Asset Purchase Agreement”); and

        WHEREAS, pursuant to the Asset Purchase Agreement, Assignee shall purchase and
accept and Assignor shall transfer and assign to Assignee all of Assignor’s right, title and interest
in, to and under certain domain name registrations, as listed on Schedule A hereto (the “Domain
Names”).

        NOW, THEREFORE, in consideration of the premises and covenants set forth herein and
in the Asset Purchase Agreement and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the parties agree as follows:

        1.      Assignment. Assignor hereby sells, transfers, conveys, assigns and delivers to
Assignee, and Assignee hereby purchases and accepts from Assignor, all of Assignor’s right, title
and interest in and to the Domain Names, including, but not limited to, the exclusive rights to (a)
bring actions, defend against or otherwise recover for infringements, and the right to the profits or
damages due or accrued, arising out of or in connection with any and all past, present or future
infringements of the Domain Names, (b) apply for, make filings with respect to and maintain all
registrations, renewals and extensions thereof, and (c) all other rights of any kind whatsoever of
Assignor accruing thereunder.

        2.      General Provisions. This Assignment and the Asset Purchase Agreement constitute
the entire understanding and agreement of the parties hereto with respect to the subject matter
hereof and supersede all prior and contemporaneous agreements or understandings, inducements
or conditions, express or implied, written or oral, between and among the parties with respect
hereto. Nothing contained in this Assignment supersedes, alters or modifies any of the obligations,
agreements, covenants or warranties of Assignor or Assignee under the Asset Purchase Agreement
(all of which survive the execution and delivery of this Assignment as provided and subject to the
limitations set forth in the Asset Purchase Agreement). In the event of any conflict between the
terms of this Assignment and the terms of the Asset Purchase Agreement, the terms of the Asset
Purchase Agreement shall control. This Assignment shall not be interpreted to broaden the scope
of Assignee’s rights with respect to the Domain Names beyond those rights provided in the Asset
Purchase Agreement. This Assignment may not be supplemented, altered, or modified in any
manner except by a writing signed by all parties hereto. The failure of any party to enforce any
terms or provisions of this Assignment shall not waive any of its rights under such terms or
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provisions. This Assignment shall bind and inure to the benefit of the respective parties and their
assigns, transferees and successors.         Assignee acknowledges that Assignor makes no
representation or warranty with respect to the Domain Names being conveyed hereby except as
specifically set forth in the Asset Purchase Agreement.

       3.      Governing Law. This Assignment shall be governed by, and construed in
accordance with, the laws of the State of New Jersey, without regard to any conflict of laws
provisions thereof that would result in the application of the laws of another jurisdiction.

        4.      Counterparts. This Assignment may be executed in counterparts, each of which
will be an original as regards any party whose signature appears thereon and both of which together
will constitute one and the same instrument.


                                   [Signature Page Follows.]
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        IN WITNESS WHEREOF, the undersigned have caused this Assignment to be executed
as of the date first above written.



                                        ASSIGNEE:


                                        SAADIA GROUP LLC



                                              By: ___________________________

                                              Name:
                                              Title:


                                        ASSIGNOR:

                                              RTW RETAILWINDS, INC.
                                              LERNER NEW YORK HOLDING, INC.
                                              LERNCO, INC.
                                              LERNER NEW YORK, INC.
                                              NEW YORK & COMPANY, INC.
                                              LERNER NEW YORK GC, LLC
                                              LERNER NEW YORK OUTLET, LLC
                                              NEW YORK & COMPANY STORES, INC.
                                              FTF GC, LLC
                                              LERNER NEW YORK FTF, LLC
                                              FASHION TO FIGURE, LLC
                                              FTF IP COMPANY, INC.




                                              By: ___________________________

                                              Name: Sheamus Toal
                                              Title: Authorized Signatory
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                                     Schedule A

                              Domain Name Registrations

 Domain Name                        Creation Date   Registrar       Status / Renewal
                                                                    Due
 cocoandlolly.com                   2009-04-07      CSC CORPORATE   Active – 2021-04-
                                                    DOMAINS, INC.   07
 fashiontofigure.com                2003-08-19      CSC CORPORATE   Active – 2020-08-
                                                    DOMAINS, INC.   19
 ftf.com                            1994-11-16      CSC CORPORATE   Active – 2021-11-
                                                    DOMAINS, INC.   15
 ftfcard.com                        2019-03-07      CSC CORPORATE   Active – 2024-03-
                                                    DOMAINS, INC.   07
 imagenyandc.com                    2009-04-20      CSC CORPORATE   Active – 2021-04-
                                                    DOMAINS, INC.   20
 learnersny.com                     2002-04-27      CSC CORPORATE   Active – 2022-04-
                                                    DOMAINS, INC.   27
 lernco.com                         1995-03-01      CSC CORPORATE   Active – 2021-03-
                                                    DOMAINS, INC.   02
 lerner-catalog.com                 2002-06-24      CSC CORPORATE   Active – 2022-06-
                                                    DOMAINS, INC.   24
 lerner.com.mx                      2004-03-19      CSC CORPORATE   Active – ?
                                                    DOMAINS, INC
 lernerandco.com                    2007-06-29      CSC CORPORATE   Active – 2022-06-
                                                    DOMAINS, INC.   29
 lernercalalog.com                  2005-09-22      CSC CORPORATE   Active – 2020-09-
                                                    DOMAINS, INC.   22
 lernercatalog.biz                  2002-03-08      CSC CORPORATE   Active – 2022-03-
                                                    DOMAINS, INC.   07
 lernercatalog.com                  1999-04-06      CSC CORPORATE   Active – 2021-04-
                                                    DOMAINS, INC.   06
 lernercatalog.net                  2002-01-08      CSC CORPORATE   Active – 2022-01-
                                                    DOMAINS, INC.   08
 lernercatalog.org                  2002-01-08      CSC CORPORATE   Active – 2022-01-
                                                    DOMAINS, INC.   08
 lernercataloge.com                 2003-05-28      CSC CORPORATE   Active – 2022-05-
                                                    DOMAINS, INC.   28
 lernercatalogue.com                2001-02-02      CSC CORPORATE   Active – 2022-02-
                                                    DOMAINS, INC.   02
 lernercatatlog.com                 2006-03-04      CSC CORPORATE   Active – 2022-03-
                                                    DOMAINS, INC.   04
 lernercatelog.com                  2003-05-28      CSC CORPORATE   Active – 2022-05-
                                                    DOMAINS, INC.   28
 lernercatelogs.com                 2005-03-09      CSC CORPORATE   Active – 2022-03-
                                                    DOMAINS, INC.   09
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 Domain Name                         Creation Date   Registrar       Status / Renewal
                                                                     Due
 lernercatlogue.com                  2007-04-28      CSC CORPORATE   Active – 2021-04-
                                                     DOMAINS, INC.   28
 lernercreditcard.com                2007-01-22      CSC CORPORATE   Active – 2021-01-
                                                     DOMAINS, INC.   22
 lernerdepartmentstore.com           2007-03-28      CSC CORPORATE   Active – 2021-03-
                                                     DOMAINS, INC.   28
 lernerdirect.biz                    2002-03-08      CSC CORPORATE   Active – 2022-03-
                                                     DOMAINS, INC.   07
 lernerdirect.com                    1999-04-06      CSC CORPORATE   Active – 2022-04-
                                                     DOMAINS, INC.   06
 lernerdirect.net                    2002-01-08      CSC CORPORATE   Active – 2022-01-
                                                     DOMAINS, INC.   08
 lernerdirect.us                     2004-12-10      CSC CORPORATE   Active – ?
                                                     DOMAINS, INC.
 lernerfashion.com                   2005-11-27      CSC CORPORATE   Active – 2020-11-
                                                     DOMAINS, INC.   27
 lernerfashions.com                  2005-11-27      CSC CORPORATE   Active – 2021-11-
                                                     DOMAINS, INC.   27
 lernerkatalog.com                   2006-02-02      CSC CORPORATE   Active – 2022-02-
                                                     DOMAINS, INC.   02
 lernermagazine.com                  2006-03-15      CSC CORPORATE   Active – 2022-03-
                                                     DOMAINS, INC.   15
 lernermetrostyle.com                2007-05-27      CSC CORPORATE   Active – 2021-05-
                                                     DOMAINS, INC.   27
 lernernewyork.biz                   2001-11-15      CSC CORPORATE   Active – 2021-11-
                                                     DOMAINS, INC.   18
 lernernewyork.ca                    2004-04-13      CSC CORPORATE   Active – ?
                                                     DOMAINS
                                                     (CANADA)
                                                     COMPANY
 lernernewyork.com.mx                2004-03-19      CSC CORPORATE   Active – ?
                                                     DOMAINS, INC.
 lernernewyork.com                   1995-03-06      CSC CORPORATE   Active – 2022-03-
                                                     DOMAINS, INC.   07
 lernernewyork.info                  2001-08-10      CSC CORPORATE   Active – 2021-08-
                                                     DOMAINS, INC.   10
 lernernewyork.us                    2002-04-19      CSC CORPORATE   Active – ?
                                                     DOMAINS, INC.
 lernernewyorkandcompany.com         2005-09-22      CSC CORPORATE   Active – 2020-09-
                                                     DOMAINS, INC.   22
 lernernewyorkcompany.com            2007-05-03      CSC CORPORATE   Active – 2021-05-
                                                     DOMAINS, INC.   03
 lernerneyyork.com                   2006-08-17      CSC CORPORATE   Active – 2022-08-
                                                     DOMAINS, INC.   17
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 Domain Name                         Creation Date   Registrar       Status / Renewal
                                                                     Due
 lernerny.biz                        2001-11-15      CSC CORPORATE   Active – 2021-11-
                                                     DOMAINS, INC.   18
 lernerny.ca                         2004-04-13      CSC CORPORATE   Active – ?
                                                     DOMAINS
                                                     (CANADA)
                                                     COMPANY
 lernerny.com.mx                     2004-03-19      CSC CORPORATE   Active – ?
                                                     DOMAINS, INC.
 lernerny.com                        1996-12-17      CSC CORPORATE   Active – 2021-12-
                                                     DOMAINS, INC.   16
 lernerny.info                       2003-12-05      CSC CORPORATE   Active – 2020-12-
                                                     DOMAINS, INC.   05
 lernerny.us                         2002-04-24      CSC CORPORATE   Active – ?
                                                     DOMAINS, INC.
 lernero.com                         2006-08-16      CSC CORPORATE   Active – 2022-08-
                                                     DOMAINS, INC.   16
 lernerofny.com                      2007-04-28      CSC CORPORATE   Active – 2022-04-
                                                     DOMAINS, INC.   28
 lerneroutlet.com                    2007-08-14      CSC CORPORATE   Active – 2021-08-
                                                     DOMAINS, INC.   14
 lerners-catalog.com                 2003-10-21      CSC CORPORATE   Active – 2021-10-
                                                     DOMAINS, INC.   21
 lerners.net                         2000-10-16      CSC CORPORATE   Active – 2020-10-
                                                     DOMAINS, INC.   16
 lernerscatalog.com                  2001-11-28      CSC CORPORATE   Active – 2021-11-
                                                     DOMAINS, INC.   28
 lernerscatalogue.com                2007-05-06      CSC CORPORATE   Active – 2021-05-
                                                     DOMAINS, INC.   06
 lernersclothing.com                 2007-05-06      CSC CORPORATE   Active – 2021-05-
                                                     DOMAINS, INC.   06
 lernersfashions.com                 2007-05-24      CSC CORPORATE   Active – 2021-05-
                                                     DOMAINS, INC.   24
 lernershoes.com                     2007-03-28      CSC CORPORATE   Active – 2021-03-
                                                     DOMAINS, INC.   28
 lernershops.com                     2005-11-26      CSC CORPORATE   Active – 2021-11-
                                                     DOMAINS, INC.   26
 lernersjewelry.com                  2000-06-21      CSC CORPORATE   Active – 2021-06-
                                                     DOMAINS, INC.   21
 lernersnewyork.com                  2002-04-27      CSC CORPORATE   Active – 2022-04-
                                                     DOMAINS, INC.   27
 lernersny.com                       2000-03-30      CSC CORPORATE   Active – 2021-03-
                                                     DOMAINS, INC.   30
 lernersofny.com                     2006-11-01      CSC CORPORATE   Active – 2020-11-
                                                     DOMAINS, INC.   01
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 Domain Name                           Creation Date   Registrar       Status / Renewal
                                                                       Due
 lernersstore.com                      2004-06-09      CSC CORPORATE   Active – 2022-06-
                                                       DOMAINS, INC.   09
 lernerstores.com                      1995-03-06      CSC CORPORATE   Active – 2021-03-
                                                       DOMAINS, INC.   07
 lernerswoman.com                      2007-03-30      CSC CORPORATE   Active – 2021-03-
                                                       DOMAINS, INC.   30
 lernerwoman.com                       2005-11-27      CSC CORPORATE   Active – 2020-11-
                                                       DOMAINS, INC.   27
                                       2007-05-07      CSC CORPORATE   Active – 2021-05-
 lernerwomen.com
                                                       DOMAINS, INC.   07
                                       2007-10-06      CSC CORPORATE   Active – 2021-10-
 lernner.com
                                                       DOMAINS, INC.   06
                                       1995-03-02      CSC CORPORATE   Active – 2021-03-
 lny.com
                                                       DOMAINS, INC.   03
                                       2006-05-03      CSC CORPORATE   Active – 2022-05-
 lrener.com
                                                       DOMAINS, INC.   03
                                       2006-08-09      CSC CORPORATE   Active – 2022-08-
 metrolerners.com
                                                       DOMAINS, INC.   09
                                       2006-08-17      CSC CORPORATE   Active – 2022-08-
 metrostylelerner.com
                                                       DOMAINS, INC.   17
                                       2008-07-24      CSC CORPORATE   Active – 2021-07-
 mewyorkandcompany.com
                                                       DOMAINS, INC.   24
                                       2009-11-25      CSC CORPORATE   Active – 2021-11-
 neworkandcompany.com
                                                       DOMAINS, INC.   25
                                       2008-07-16      CSC CORPORATE   Active – 2022-07-
 newtorkandcompany.com
                                                       DOMAINS, INC.   16
                                       2008-11-03      CSC CORPORATE   Active – 2020-11-
 newyoekandcompany.com
                                                       DOMAINS, INC.   03
                                       2008-07-16      CSC CORPORATE   Active – 2022-07-
 newyokandcompany.com
                                                       DOMAINS, INC.   16
                                       2007-05-02      CSC CORPORATE   Active – 2021-05-
 newyorandcompany.com
                                                       DOMAINS, INC.   02
                                       2004-04-13      CSC CORPORATE   Active – ?
                                                       DOMAINS
 newyorkaccessories.ca
                                                       (CANADA)
                                                       COMPANY
                                       2004-03-19      CSC CORPORATE   Active – ?
 newyorkaccessories.com.mx
                                                       DOMAINS, INC
                                       2004-02-24      CSC CORPORATE   Active – 2021-02-
 newyorkaccessories.com
                                                       DOMAINS, INC.   24
                                       2004-02-24      CSC CORPORATE   Active – 2021-02-
 newyorkaccessories.net
                                                       DOMAINS, INC.   24
                                       2010-06-14      CSC CORPORATE   Active – 2022-06-
 newyorkamdcompany.com
                                                       DOMAINS, INC.   14
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 Domain Name                        Creation Date   Registrar       Status / Renewal
                                                                    Due
                                    2005-09-26      CSC CORPORATE   Active – 2021-09-
 newyorkancompany.com
                                                    DOMAINS, INC.   26
                                    2007-04-27      CSC CORPORATE   Active – 2021-04-
 newyorkandcmpany.com
                                                    DOMAINS, INC.   27
                                    2004-04-13      CSC CORPORATE   Active – ?
                                                    DOMAINS
 newyorkandco.ca
                                                    (CANADA)
                                                    COMPANY
                                    2004-03-19      CSC CORPORATE   Active – ?
 newyorkandco.com.mx
                                                    DOMAINS, INC
                                    2000-02-28      CSC CORPORATE   Active – 2022-02-
 newyorkandco.net
                                                    DOMAINS, INC.   28
                                    2004-02-24      CSC CORPORATE   Active – 2021-02-
 newyorkandcoaccessories.com
                                                    DOMAINS, INC.   24
                                    2004-02-24      CSC CORPORATE   Active – 2021-02-
 newyorkandcoaccessories.net
                                                    DOMAINS, INC.   24
                                    2004-02-24      CSC CORPORATE   Active – 2021-02-
 newyorkandcoextras.com
                                                    DOMAINS, INC.   24
                                    2004-02-24      CSC CORPORATE   Active – 2021-02-
 newyorkandcoextras.net
                                                    DOMAINS, INC.   24
                                    2007-05-03      CSC CORPORATE   Active – 2021-05-
 newyorkandcomapny.com
                                                    DOMAINS, INC.   03
                                    2005-03-28      CSC CORPORATE   Active – 2021-03-
 newyorkandcommpany.com
                                                    DOMAINS, INC.   28
                                    2009-11-10      CSC CORPORATE   Active – 2021-11-
 newyorkandcompamy.com
                                                    DOMAINS, INC.   10
                                    2008-01-02      CSC CORPORATE   Active – 2022-01-
 newyorkandcompan.com
                                                    DOMAINS, INC.   02
                                    2013-03-10      CSC CORPORATE   Active – 2021-03-
 newyorkandcompanny.com
                                                    DOMAINS, INC.   10
                                    2001-11-15      CSC CORPORATE   Active – 2021-11-
 newyorkandcompany.biz
                                                    DOMAINS, INC.   18
                                    2004-04-13      CSC CORPORATE   Active – ?
                                                    DOMAINS
 newyorkandcompany.ca
                                                    (CANADA)
                                                    COMPANY
                                    2004-03-19      CSC CORPORATE   Active – ?
 newyorkandcompany.com.mx
                                                    DOMAINS, INC
                                    1998-06-12      CSC CORPORATE   Active – 2022-06-
 newyorkandcompany.com
                                                    DOMAINS, INC.   11
                                    2005-11-07      CSC CORPORATE   Active – 2021-11-
 newyorkandcompany.net
                                                    DOMAINS, INC.   07
                                    2002-04-24      CSC CORPORATE   Active – ?
 newyorkandcompany.us
                                                    DOMAINS, INC.
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 Domain Name                        Creation Date   Registrar       Status / Renewal
                                                                    Due
                                    2004-02-24      CSC CORPORATE   Active – 2021-02-
 newyorkandcompanyaccessories.com
                                                    DOMAINS, INC.   24
                                    2004-02-24      CSC CORPORATE   Active – 2021-02-
 newyorkandcompanyaccessories.net
                                                    DOMAINS, INC.   24
                                    2011-01-01      CSC CORPORATE   Active – 2021-01-
 newyorkandcompanycard.com
                                                    DOMAINS, INC.   01
                                    2007-03-28      CSC CORPORATE   Active – 2021-03-
 newyorkandcompanycatalog.com
                                                    DOMAINS, INC.   28
                                    2005-12-24      CSC CORPORATE   Active – 2021-12-
 newyorkandcompanyclothes.com
                                                    DOMAINS, INC.   24
                                    2006-10-16      CSC CORPORATE   Active – 2021-10-
 newyorkandcompanyclothing.com
                                                    DOMAINS, INC.   16
                                    2011-06-05      CSC CORPORATE   Active – 2021-06-
 newyorkandcompanycoupon.com
                                                    DOMAINS, INC.   05
                                    2011-09-09      CSC CORPORATE   Active – 2021-09-
 newyorkandcompanycoupon.org
                                                    DOMAINS, INC.   09
                                    2011-06-05      CSC CORPORATE   Active – 2021-06-
 newyorkandcompanycouponcodes.com
                                                    DOMAINS, INC.   05
                                    2007-05-19      CSC CORPORATE   Active – 2021-05-
 newyorkandcompanycoupons.com
                                                    DOMAINS, INC.   19
                                    2012-05-26      CSC CORPORATE   Active – 2022-05-
 newyorkandcompanycoupons.net
                                                    DOMAINS, INC.   26
                                    2008-02-29      CSC CORPORATE   Active – 2022-02-
 newyorkandcompanycreditcard.com
                                                    DOMAINS, INC.   28
                                    2012-02-23      CSC CORPORATE   Active – 2021-02-
 newyorkandcompanystore.com
                                                    DOMAINS, INC.   23
                                    2007-11-23      CSC CORPORATE   Active – 2021-11-
 newyorkandcompay.com
                                                    DOMAINS, INC.   23
                                    2007-05-06      CSC CORPORATE   Active – 2021-05-
 newyorkandcompnay.com
                                                    DOMAINS, INC.   06
                                    2008-07-02      CSC CORPORATE   Active – 2022-07-
 newyorkandconpany.com
                                                    DOMAINS, INC.   02
                                    2008-11-03      CSC CORPORATE   Active – 2020-11-
 newyorkandompany.com
                                                    DOMAINS, INC.   03
                                    2009-10-12      CSC CORPORATE   Active – 2020-10-
 newyorkanscompany.com
                                                    DOMAINS, INC.   12
                                    2007-04-29      CSC CORPORATE   Active – 2021-04-
 newyorkcompani.com
                                                    DOMAINS, INC.   29
                                    2010-10-26      CSC CORPORATE   Active – 2020-10-
 newyorkcompanycoupons.com
                                                    DOMAINS, INC.   26
                                    2004-02-24      CSC CORPORATE   Active – 2021-02-
 newyorkextras.com
                                                    DOMAINS, INC.   24
                                    2004-02-24      CSC CORPORATE   Active – 2021-02-
 newyorkextras.net
                                                    DOMAINS, INC.   24
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 Domain Name                          Creation Date   Registrar       Status / Renewal
                                                                      Due
                                      2009-11-04      CSC CORPORATE   Active – 2021-11-
 newyorkincompany.com
                                                      DOMAINS, INC.   04
                                      2002-04-27      CSC CORPORATE   Active – 2022-04-
 newyorklerner.com
                                                      DOMAINS, INC.   27
                                      2007-03-28      CSC CORPORATE   Active – 2021-03-
 newyorkycompany.com
                                                      DOMAINS, INC.   28
                                      2007-04-27      CSC CORPORATE   Active – 2021-04-
 neyorkandcompany.com
                                                      DOMAINS, INC.   27
                                      2007-01-29      CSC CORPORATE   Active – 2021-01-
 nweyorkandcompany.com
                                                      DOMAINS, INC.   29
                                      1999-02-16      CSC CORPORATE   Active – 2021-02-
 ny-and-company.com
                                                      DOMAINS, INC.   16
                                      2006-08-29      CSC CORPORATE   Active – 2020-08-
 ny-company.com
                                                      DOMAINS, INC.   29
                                      2007-03-30      CSC CORPORATE   Active – 2021-03-
 nyanccompany.com
                                                      DOMAINS, INC.   30
                                      2011-10-05      CSC CORPORATE   Active – 2021-10-
 nyandccustomerservice.com
                                                      DOMAINS, INC.   05
                                      2006-05-16      CSC CORPORATE   Active – 2022-05-
 nyandcfulfillment.com
                                                      DOMAINS, INC.   16
                                      2004-04-13      CSC CORPORATE   Active – ?
                                                      DOMAINS
 nyandco.ca
                                                      (CANADA)
                                                      COMPANY
                                      2004-03-19      CSC CORPORATE   Active – ?
 nyandco.com.mx
                                                      DOMAINS, INC
                                      1998-05-31      CSC CORPORATE   Active – 2022-05-
 nyandco.com
                                                      DOMAINS, INC.   31
                                                      CSC CORPORATE   Active – ?
 nyandco.fr
                                                      DOMAINS INC.
                                      2004-02-24      CSC CORPORATE   Active – 2022-02-
 nyandcoextras.com
                                                      DOMAINS, INC.   24
                                      2004-02-24      CSC CORPORATE   Active – 2021-02-
 nyandcoextras.net
                                                      DOMAINS, INC.   24
                                      2013-04-14      CSC CORPORATE   Active – 2021-04-
 nyandcomapany.com
                                                      DOMAINS, INC.   14
                                      2013-04-29      CSC CORPORATE   Active – 2021-04-
 nyandcompamy.com
                                                      DOMAINS, INC.   29
                                      2007-09-16      CSC CORPORATE   Active – 2021-09-
 nyandcompant.com
                                                      DOMAINS, INC.   16
                                      2004-03-11      CSC CORPORATE   Active – 2022-03-
 nyandcompany.biz
                                                      DOMAINS, INC.   10
                                      2004-04-13      CSC CORPORATE   Active – ?
 nyandcompany.ca                                      DOMAINS
                                                      (CANADA)
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 Domain Name                         Creation Date   Registrar       Status / Renewal
                                                                     Due
                                     2010-11-17      CSC CORPORATE   Active – ?
 nyandcompany.co
                                                     DOMAINS, INC.
                                     2004-03-19      CSC CORPORATE   Active – ?
 nyandcompany.com.mx
                                                     DOMAINS, INC
                                     2000-04-28      CSC CORPORATE   Active – 2021-04-
 nyandcompany.com
                                                     DOMAINS, INC.   28
                                     2012-09-08      CSC CORPORATE   Active – 2020-09-
 nyandcompany.mobi
                                                     DOMAINS, INC.   08
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
 nyandcompany.net
                                                     DOMAINS, INC.   28
                                     2001-02-01      CSC CORPORATE   Active – 2021-02-
 nyandcompany.tv
                                                     DOMAINS, INC.   01
                                     2002-04-24      CSC CORPORATE   Active – ?
 nyandcompany.us
                                                     DOMAINS, INC.
                                     2004-04-13      CSC CORPORATE   Active – ?
                                                     DOMAINS
 nyandcompanyaccessories.ca
                                                     (CANADA)
                                                     COMPANY
                                     2004-03-19      CSC CORPORATE   Active – ?
 nyandcompanyaccessories.com.mx
                                                     DOMAINS, INC
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
 nyandcompanyaccessories.com
                                                     DOMAINS, INC.   24
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
 nyandcompanyaccessories.net
                                                     DOMAINS, INC.   24
                                     2007-11-06      CSC CORPORATE   Active – 2021-11-
 nyandcompanycareers.com
                                                     DOMAINS, INC.   06
                                     2007-04-21      CSC CORPORATE   Active – 2021-04-
 nyandcompanycoupons.com
                                                     DOMAINS, INC.   21
                                     2011-08-28      CSC CORPORATE   Active – 2021-08-
 nyandcompanycoupons.net
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
 nyandcompanyextras.com
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
 nyandcompanyextras.net
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
 nyandcompanyhome.com
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
 nyandcompanyhome.net
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
 nyandcompanykids.com
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2022-04-
 nyandcompanykids.net
                                                     DOMAINS, INC.   28
                                     2000-04-28      CSC CORPORATE   Active – 2021-04-
 nyandcompanymen.com
                                                     DOMAINS, INC.   28
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                                                                     Due
                                     2000-04-28      CSC CORPORATE   Active – 2021-04-
 nyandcompanymen.net
                                                     DOMAINS, INC.   28
                                     2007-05-06      CSC CORPORATE   Active – 2021-05-
 nyandcompay.com
                                                     DOMAINS, INC.   06
                                     2008-05-04      CSC CORPORATE   Active – 2021-05-
 nyandcompnay.com
                                                     DOMAINS, INC.   04
                                     2008-01-12      CSC CORPORATE   Active – 2022-01-
 nyandcompony.com
                                                     DOMAINS, INC.   12
                                     2008-03-14      CSC CORPORATE   Active – 2022-03-
 nyandcomppany.com
                                                     DOMAINS, INC.   14
                                     2004-03-22      CSC CORPORATE   Active – 2022-03-
 nyandcquality1st.com
                                                     DOMAINS, INC.   22
                                     2004-08-23      CSC CORPORATE   Active – 2020-08-
 nyclerner.com
                                                     DOMAINS, INC.   23
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
 nycoaccessories.com
                                                     DOMAINS, INC.   24
                                     2004-02-24      CSC CORPORATE   Active – 2021-02-
 nycoaccessories.net
                                                     DOMAINS, INC.   24
                                     2008-04-14      CSC CORPORATE   Active – 2022-04-
 nycofashionlookbook.com
                                                     DOMAINS, INC.   14
                                     2008-07-28      CSC CORPORATE   Active – 2022-07-
 nycredlabel.com
                                                     DOMAINS, INC.   28
                                     1999-01-12      CSC CORPORATE   Active – 2021-01-
 nyjeans.com
                                                     DOMAINS, INC.   12
                                     2002-04-27      CSC CORPORATE   Active – 2022-04-
 nylearner.com
                                                     DOMAINS, INC.   27
                                     2008-07-28      CSC CORPORATE   Active – 2022-07-
 nyredlabel.com
                                                     DOMAINS, INC.   28
                                     2008-07-28      CSC CORPORATE   Active – 2022-07-
 nyredlabelcollection.com
                                                     DOMAINS, INC.   28
                                     2009-07-24      CSC CORPORATE   Active – 2021-07-
 nystyl.com
                                                     DOMAINS, INC.   24
                                     2008-09-12      CSC CORPORATE   Active – 2020-09-
 nystyletour.com
                                                     DOMAINS, INC.   12
                                     2008-07-28      CSC CORPORATE   Active – 2022-07-
 redlabelny.com
                                                     DOMAINS, INC.   28
                                     2008-07-28      CSC CORPORATE   Active – 2022-07-
 redlabelnyc.com
                                                     DOMAINS, INC.   28
                                     2008-11-03      CSC CORPORATE   Active – 2020-11-
 shoplerner.com
                                                     DOMAINS, INC.   03
                                     2010-10-07      CSC CORPORATE   Active – 2020-10-
 tellusnyandcompany.com
                                                     DOMAINS, INC.   07
                                     2006-05-08      CSC CORPORATE   Active – 2022-05-
 thelernercatalog.com
                                                     DOMAINS, INC.   08
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 Domain Name                          Creation Date    Registrar       Status / Renewal
                                                                       Due
                                      2009-09-01       CSC CORPORATE   Active – 2021-09-
 thenewyorkandcompany.com
                                                       DOMAINS, INC.   01
                                      2008-09-12       CSC CORPORATE   Active – 2020-09-
 thenystyletour.com
                                                       DOMAINS, INC.   12
                                      1997-01-23       CSC CORPORATE   Active – 2021-01-
 uncommonsense.com
                                                       DOMAINS, INC.   23
                                      2013-03-09       CSC CORPORATE   Active – 2021-03-
 fashiontofigure.com
                                                       DOMAINS, INC.   09
                                      2003-08-19       CSC CORPORATE   Active – 2020-08-
 ftfstores.com
                                                       DOMAINS, INC.   19
                                      2006-05-16       CSC CORPORATE   Active – 2022-05-
 nyandcfulfillment.com
                                                       DOMAINS, INC.   16
                                      2005-09-30       CSC CORPORATE   Active – 2022-10-
 nystl.com
                                                       DOMAINS, INC.   01
                                      2017-03-07       CSC CORPORATE   Active – 2021-03-
 retailwinds.com
                                                       DOMAINS, INC.   07
                                      2018-09-07       DOMAINS BY      Active – 2020-09-
 rtw-retailwinds.com
                                                       PROXY, LLC      07

Social Media Accounts
Instagram
@nyandcompany- https://www.instagram.com/nyandcompany/
@fashiontofigure- https://www.instagram.com/fashiontofigure

Facebook
https://www.facebook.com/NewYorkandCompany/
https://www.facebook.com/fashiontofigure


Twitter
@nyandcompany- https://twitter.com/nyandcompany
@FTFSnaps- https://twitter.com/ftfsnaps

YouTube
New York & Company Channel-
https://www.youtube.com/channel/UCDQQQeVNWPHjV3U4GjOpxHA
Fashion to Figure Channel- https://www.youtube.com/user/FTFsnaps

Pinterest
https://www.pinterest.com/nyandcompany/
https://www.pinterest.com/ftfpins/
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                                             EXHIBIT E

                          COPYRIGHT ASSIGNMENT AGREEMENT

        This COPYRIGHT ASSIGNMENT AGREEMENT, is effective as of [ ] (this
“Assignment”), is made and entered into by and among RTW Retailwinds, Inc., a Delaware
corporation (the “Company”), and the other direct or indirect wholly-owned Subsidiaries or
Affiliates of the Company that are signatories hereto (together with the Company, the “Assignor”),
and Saadia Group LLC, a New York limited liability company (the “Assignee”). Assignor and
Assignee are sometimes herein referred to collectively as the “Parties” and individually as a
“Party.” Capitalized terms used but not defined herein shall have the meanings given to such terms
in the Purchase Agreement (as defined herein).

        WHEREAS, Assignor and Assignee are parties to an Asset Purchase Agreement dated as
of August 25, 2020 (the “Purchase Agreement”), governing the purchase and sale of the Acquired
Assets;

         WHEREAS, pursuant to the Purchase Agreement, Assignor has agreed to transfer all right,
title, and interest in and to the copyrights set forth on Schedule A hereto, together with the goodwill
of the business associated therewith (collectively referred to as the “Copyrights”) to Assignee; and

       WHEREAS, the Parties wish herein to memorialize said assignment, transfer, and sale of
the Assignor’s right, title, and interest in and to the Copyrights to Assignee.

       NOW, THEREFORE, for good and valuable consideration set forth in the Purchase
Agreement, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as
follows:

        1.       Subject to the terms of the Purchase Agreement, Assignor hereby sells, assigns,
transfers, and conveys to Assignee, its successors and assigns, all right, title, and interest of every
kind and nature whatsoever of Assignor, if any, in and to the Copyrights, including without
limitation: (a) all rights of Assignor, if any, to obtain registrations, renewals, and extensions of the
Copyrights, individually or collectively, that may be secured under the laws now or hereafter in
force and effect in the United States, or in any other country or countries; and (b) all rights of
Assignor, if any, to sue for all past infringements of the Copyrights, both at common law and under
the statutes of the United States or any other country. Assignor does further consent to the
recordation of this Assignment with any governmental agency.

        2.      Assignor shall promptly, upon the request and at the expense of Assignee, execute
and deliver to Assignee, its successors and assigns, such other instruments of conveyance as
Assignee may reasonably request to permit Assignee to record the assignment made by this
instrument and for the purpose of effecting the transfer of Assignor’s rights, title, and interest, if
any, in and to the Copyrights in accordance with this Assignment.

        3.      Assignor hereby authorizes and requests the United States Copyright Office, or
with respect to any foreign Copyrights, if any, the foreign equivalent as the case may be, to record
Assignee as owner of the Copyrights and to issue any and all registrations, including renewals
thereof, to Assignee, its successors, assigns, nominees or other legal representatives.
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       4.      All rights and any income, royalties or payments otherwise due or payable to
Assignor with respect to any Copyrights as of the date hereof or thereafter, will be held and enjoyed
by Assignee, its successors, executors and permitted assigns.

       5.     This Assignment shall be binding upon and inure to the benefit of Assignor,
Assignee and their respective successors and permitted assigns.

       6.     This Assignment is in all respect subject to the provisions of the Purchase
Agreement and is not intended in any way to supersede, limit, qualify, or expand any provision of
the Purchase Agreement.

        7.      The Assignment may be executed in one or more counterparts, each of which shall
be considered an original instrument, but all of which shall be considered one and the same
agreement, and shall become binding when one or more counterparts have been signed by each of
the Parties hereto and delivered to the Assignor and Assignee. Delivery of an executed counterpart
of a signature page to this Assignment by electronic transmission (include email or facsimile) shall
be as effective as delivery of a manually executed counterpart of this Assignment.

        8.     This Assignment shall be governed by and construed in accordance with the
internal laws (without regard to the conflict of laws provisions) of the State of New Jersey.

       9.      No waiver, modification, or change of any of the provisions of this Assignment
shall be valid unless in writing and signed by the Party against whom such claimed waiver,
modification, or change is sought to be enforced.

                                               * * *
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IN WITNESS WHEREOF, the Assignor and Assignee have caused this Assignment to be
executed as of the date first set forth above.

                                      ASSIGNEE:

                                      SAADIA GROUP LLC

                                      By: _______________________________
                                      Name: _____________________________
                                      Title: ______________________________




                                      ASSIGNOR:

                                      RTW RETAILWINDS, INC.
                                      LERNER NEW YORK HOLDING, INC.
                                      LERNCO, INC.
                                      LERNER NEW YORK, INC.
                                      NEW YORK & COMPANY, INC.
                                      LERNER NEW YORK GC, LLC
                                      LERNER NEW YORK OUTLET, LLC
                                      NEW YORK & COMPANY STORES, INC.
                                      FTF GC, LLC
                                      LERNER NEW YORK FTF, LLC
                                      FASHION TO FIGURE, LLC
                                      FTF IP COMPANY, INC.

                                      By: _______________________________
                                      Name: _____________________________
                                      Title: ______________________________
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                                       SCHEDULE A

Copyrights owned by Lernco, Inc.
   1. New York & Company
          a. Registration Number: VAu000506749
          b. Registration Date: 10/03/2000
          c. Description: Photoprint on credit card
   2. NY&C and Skyline all within a Heart Design.
          a. Registration Number: VA0001901240
          b. Registration Date: 01/09/2014
          c. Description: Electronic File
   3. Skyline Design, Heart Design, and Poodle
          a. Document Number: V9922D112
          b. Date of Recordation: 11/10/2014
          c. Notes: Copyright collateral assignment and security agreement. Parties are
             Lernco, Inc. New York & Company, Inc., and Wells Fargo Bank, NA
Copyrights owned by RTW Retailwinds, Inc.
   1. Poodle
          a. Registration Number: VA0001671205
          b. Registration Date: 06/12/2009
          c. Description: Electronic file
          d. NOTE: Registration is still listed under New York & Company, Inc.
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                                             EXHIBIT F

                             PATENT ASSIGNMENT AGREEMENT

       This PATENT ASSIGNMENT AGREEMENT, is effective as of [ ] (this “Assignment”),
is made and entered into by and among RTW Retailwinds, Inc., a Delaware corporation (the
“Company”), and the other direct or indirect wholly-owned Subsidiaries or Affiliates of the
Company that are signatories hereto (together with the Company, the “Assignor”), and Saadia
Group LLC, a New York limited liability company (the “Assignee”). Assignor and Assignee are
sometimes herein referred to collectively as the “Parties” and individually as a “Party.”
Capitalized terms used but not defined herein shall have the meanings given to such terms in the
Purchase Agreement (as defined herein).

        WHEREAS, Assignor and Assignee are parties to an Asset Purchase Agreement dated as
of [ ] (the “Purchase Agreement”), governing the purchase and sale of the Acquired Assets;

         WHEREAS, pursuant to the Purchase Agreement, Assignor has agreed to transfer all right,
title, and interest in and to the patents set forth on Schedule A hereto, together with the goodwill
of the business associated therewith (collectively referred to as the “Patents”) to Assignee; and

       WHEREAS, the Parties wish herein to memorialize said assignment, transfer, and sale of
the Assignor’s right, title, and interest in and to the Patents to Assignee.

       NOW, THEREFORE, for good and valuable consideration set forth in the Purchase
Agreement, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as
follows:

        1.      Subject to the terms of the Purchase Agreement, Assignor hereby sells, assigns,
transfers, and conveys to Assignee, its successors and assigns, all right, title, and interest of every
kind and nature whatsoever of Assignor, if any, in and to the Patents, including without limitation:
(a) all continuations, divisions, reissues, reexaminations, and extensions thereof; (b) all
applications for patents, utility models, copyright, and designs which may hereafter be filed under
the laws now or hereafter in force and effect in the United States, or in any other country or
countries, together with the right to claim for the same the priority rights derived from the Patents
under the patent laws of the United States, the International Convention for the Protection of
Industrial Property, or any other international agreement or the domestic laws of the country in
which any such application is filed, as may be applicable; (c) all forms of industrial property
protection, including, without limitation, patents, utility models, inventors’ certificates, copyrights,
and designs which may be granted for said Patent in any country or countries and all extensions,
renewals, and reissues thereof; and (d) all rights of Assignor, if any, to sue for all past
infringements of the Patents, both at common law and under the statutes of the United States or
any other country. Assignor does further consent to the recordation of this Assignment with any
governmental agency.

       2.     Assignor shall promptly, upon the request and at the expense of Assignee, execute
and deliver to Assignee, its successors and assigns, such other instruments of conveyance as
Assignee may reasonably request to permit Assignee to record the assignment made by this
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instrument and for the purpose of effecting the transfer of Assignor’s rights, title, and interest, if
any, in and to the Patents in accordance with this Assignment.

        3.      Assignor hereby authorizes and requests the United States Patent and Trademark
Office, or with respect to any foreign Patents, if any, the foreign equivalent as the case may be, to
record Assignee as owner of the Patents and to issue any and all registrations, including renewals
thereof, to Assignee, its successors, assigns, nominees or other legal representatives.

       4.      All rights and any income, royalties or payments otherwise due or payable to
Assignor with respect to any Patents as of the date hereof or thereafter, will be held and enjoyed
by Assignee, its successors, executors and permitted assigns.

       5.     This Assignment shall be binding upon and inure to the benefit of Assignor,
Assignee and their respective successors and permitted assigns.

       6.     This Assignment is in all respect subject to the provisions of the Purchase
Agreement and is not intended in any way to supersede, limit, qualify, or expand any provision of
the Purchase Agreement.

        7.      The Assignment may be executed in one or more counterparts, each of which shall
be considered an original instrument, but all of which shall be considered one and the same
agreement, and shall become binding when one or more counterparts have been signed by each of
the Parties hereto and delivered to the Assignor and Assignee. Delivery of an executed counterpart
of a signature page to this Assignment by electronic transmission (include email or facsimile) shall
be as effective as delivery of a manually executed counterpart of this Assignment.

        8.     This Assignment shall be governed by and construed in accordance with the
internal laws (without regard to the conflict of laws provisions) of the State of New Jersey.

       9.      No waiver, modification, or change of any of the provisions of this Assignment
shall be valid unless in writing and signed by the Party against whom such claimed waiver,
modification, or change is sought to be enforced.

                                               * * *
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IN WITNESS WHEREOF, the Assignor and Assignee have caused this Assignment to be
executed as of the date first set forth above.

                                      ASSIGNEE:

                                      SAADIA GROUP LLC

                                      By: _______________________________
                                      Name: _____________________________
                                      Title: ______________________________




                                      ASSIGNOR:

                                      RTW RETAILWINDS, INC.
                                      LERNER NEW YORK HOLDING, INC.
                                      LERNCO, INC.
                                      LERNER NEW YORK, INC.
                                      NEW YORK & COMPANY, INC.
                                      LERNER NEW Y77ORK GC, LLC
                                      LERNER NEW YORK OUTLET, LLC
                                      NEW YORK & COMPANY STORES, INC.
                                      FTF GC, LLC
                                      LERNER NEW YORK FTF, LLC
                                      FASHION TO FIGURE, LLC
                                      FTF IP COMPANY, INC.

                                      By: _______________________________
                                      Name: _____________________________
                                      Title: ______________________________
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                                  SCHEDULE A

Patents owned by Lerner New York, Inc.
   1. Spray Container
          a. Patent Number: US D569,735
          b. Date of Patent: 05/27/2008
   2. Pump Container
          a. Patent Number: US D583,254
          b. Date of Patent: 12/23/2008
   3. Jar
          a. Patent Number D582,283
          b. Date of Patent: 12/09/2008
   4. Bottle
          a. Patent Number: D588,920
          b. Date of Patent: 03/24/2009
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                                  EXHIBIT G

See attached.
                                       Case 20-18445-JKS                                         Doc 319 Filed 09/04/20 Entered 09/08/20 15:38:59                                                                                       Desc Main
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                                                                                Q3                                                                         Q4                                                                   FALL
                                                           SALES                                RECEIPTS                                SALES                            RECEIPTS                            SALES                           RECEIPTS                               BOP
                                             TY             LY         COMP          TY            LY         COMP          TY           LY       COMP           TY         LY         COMP        TY         LY       COMP            TY       LY       COMP         TY             LY         COMP
      TOTAL                              $   37,750    $    64,938     -41.9%    $   90,606    $ 210,541      -57.0%   $   52,148   $   77,091    -32.4%    $   82,690   $   96,238    -14.1%   $ 89,898   $142,028    -36.7%     $173,296   $306,779    -43.5%   $   80,855    $    75,693      6.8%
21    ECM TOPS/SWEATERS                  $      -      $     5,567    -100.0%    $      -      $ 21,935      -100.0%   $      -     $    6,415   -100.0%    $      -     $    7,705   -100.0%   $    -     $ 11,983   -100.0%     $    -     $ 29,640   -100.0%   $      -      $     3,109    -100.0%
42    UPTOWN WOV TOPS                    $    2,950    $     3,676     -19.7%    $    1,700    $    8,386     -79.7%   $    2,450   $    3,281    -25.3%    $    5,700   $    6,439    -11.5%   $ 5,400    $ 6,957     -22.4%     $ 7,400    $ 14,825    -50.1%   $    7,850    $     4,659     68.5%
44    UPTOWN KNIT TOPS                   $      450    $     1,353     -66.7%    $    1,500    $    3,228     -53.5%   $    1,275   $    1,374     -7.2%    $    2,350   $    2,427     -3.2%   $ 1,725    $ 2,727     -36.7%     $ 3,850    $ 5,655     -31.9%   $    1,584    $     1,544       2.6%
43    DOWNTOWN WOV TOPS                  $    2,500    $     2,163     15.6%     $    1,200    $    5,132     -76.6%   $    1,250   $    1,450    -13.8%    $    1,750   $    1,915     -8.6%   $ 3,750    $ 3,612       3.8%     $ 2,950    $ 7,047     -58.1%   $    5,304    $     2,137     148.2%
47    DOWNTOWN KNIT TOPS                 $    3,000    $       774     287.6%    $    1,971    $    2,020      -2.4%   $      815   $      768      6.1%    $      950   $    1,303    -27.1%   $ 3,815    $ 1,542     147.4%     $ 2,921    $ 3,323     -12.1%   $    5,667    $       713     694.9%
67    BODY SHAPERS                       $    1,380    $       509     171.0%    $    2,235    $    1,512     47.8%    $    1,020   $      756    34.8%     $    1,900   $    1,828     4.0%    $ 2,400    $ 1,266     89.6%      $ 4,135    $ 3,340     23.8%    $    2,403    $       774     210.5%
68    NY&C FASHION TOPS                  $    1,250    $     1,233       1.4%    $    1,507    $    1,759     -14.3%   $      550   $      557     -1.3%    $    1,550   $    1,462     6.0%    $ 1,800    $ 1,790       0.6%     $ 3,057    $ 3,221      -5.1%   $    2,503    $     2,368       5.7%
      TOPS                               $   11,530    $    15,275     -24.5%    $   10,114    $ 43,972       -77.0%   $    7,360   $   14,602    -49.6%    $   14,200   $   23,079    -38.5%   $ 18,890   $ 29,877    -36.8%     $ 24,314   $ 67,051    -63.7%   $   25,311    $    15,303     65.4%
46    DOWNTOWN SWEATERS                  $    1,750    $     3,595     -51.3%    $   19,987    $ 20,870        -4.2%   $    8,450   $    6,645    27.2%     $    4,820   $    3,428    40.6%    $ 10,200   $ 10,240     -0.4%     $ 24,807   $ 24,297     2.1%    $        97   $       430     -77.4%
48    UPTOWN SWEATERS                    $      725    $     1,959     -63.0%    $    4,225    $ 10,910       -61.3%   $    2,200   $    2,806    -21.6%    $    3,150   $    2,910     8.3%    $ 2,925    $ 4,765     -38.6%     $ 7,375    $ 13,820    -46.6%   $      468    $       554     -15.4%
      SWEATERS                           $    2,475    $     5,554     -55.4%    $   24,212    $ 31,780       -23.8%   $   10,650   $    9,451    12.7%     $    7,970   $    6,338    25.8%    $ 13,125   $ 15,005    -12.5%     $ 32,182   $ 38,117    -15.6%   $      565    $       983     -42.5%
      TOTAL TOPS (TOPS + SWEATERS)       $   14,005    $    20,829     -32.8%    $   34,325    $ 75,752       -54.7%   $   18,010   $   24,053    -25.1%    $   22,170   $   29,417    -24.6%   $ 32,015   $ 44,882    -28.7%     $ 56,495   $105,168    -46.3%   $   25,876    $    16,286     58.9%
22    ECM BOTTOMS                        $      -      $     4,731    -100.0%    $      -      $    9,509    -100.0%   $      -     $    2,985   -100.0%    $      -     $    6,340   -100.0%   $    -     $ 7,717    -100.0%     $    -     $ 15,849   -100.0%   $      -      $     4,685    -100.0%
52    UPTOWN KNIT PANTS                  $      250    $     1,942     -87.1%    $    9,329    $    6,124     52.3%    $    3,500   $    2,165    61.7%     $      -     $    2,951   -100.0%   $ 3,750    $ 4,107      -8.7%     $ 9,329    $ 9,075      2.8%    $         1   $       696     -99.9%
53    EVERYDAY ESSENTIALBOTTOMS          $      905    $       888       1.9%    $      960    $    2,280     -57.9%   $      935   $      995     -6.1%    $    1,800   $    1,889     -4.7%   $ 1,840    $ 1,884      -2.3%     $ 2,760    $ 4,169     -33.8%   $    2,429    $       854     184.3%
55    UPTOWN WOV PANTS/SHORTS            $    4,700    $     7,158     -34.3%    $    7,389    $ 14,932       -50.5%   $    5,350   $    5,863     -8.8%    $   13,800   $   13,056     5.7%    $ 10,050   $ 13,022    -22.8%     $ 21,189   $ 27,988    -24.3%   $   11,530    $     8,876     29.9%
50    DOWNTOWN WOV PANTS                 $        86   $       384     -77.7%    $      -      $    1,531    -100.0%   $      -     $      485   -100.0%    $      -     $      369   -100.0%   $     86   $    869    -90.2%     $    -     $ 1,900    -100.0%   $      309    $       312      -0.8%
51    LONG LEG DENIM                     $    1,950    $     3,603     -45.9%    $    3,203    $    6,958     -54.0%   $    5,750   $    3,599    59.8%     $   16,000   $    4,476    257.5%   $ 7,700    $ 7,203       6.9%     $ 19,203   $ 11,434    68.0%    $    3,500    $     6,513     -46.3%
59    DOWNTOWN WOV SHORTS                $    1,050    $       118     786.4%    $      247    $      -      #DIV/0!   $      -     $        0   -100.0%    $      -     $      -     #DIV/0!   $ 1,050    $    119    784.4%     $    247   $    -     #DIV/0!   $    2,721    $       368     639.1%
      PANTS                              $    8,941    $    18,826     -52.5%    $   21,128    $ 41,335       -48.9%   $   15,535   $   16,093     -3.5%    $   31,600   $   29,081     8.7%    $ 24,476   $ 34,919    -29.9%     $ 52,728   $ 70,415    -25.1%   $   20,490    $    22,304      -8.1%
56    DOWNTOWN WOV SKIRTS                $      140    $       102     37.7%     $      -      $      182    -100.0%   $       45   $       52    -14.2%    $      -     $       56   -100.0%   $    185   $    154    20.0%      $    -     $    239   -100.0%   $      290    $       148     96.3%
57    UPTOWN WOV SKIRTS                  $      480    $       569     -15.7%    $         0   $    1,312    -100.0%   $      520   $      624    -16.6%    $    1,050   $    1,146     -8.3%   $ 1,000    $ 1,193     -16.2%     $ 1,050    $ 2,458     -57.3%   $    1,464    $       879     66.6%
      SKIRTS                             $      620    $       671      -7.6%    $         0   $    1,495    -100.0%   $      565   $      676    -16.4%    $    1,050   $    1,202    -12.6%   $ 1,185    $ 1,347     -12.0%     $ 1,050    $ 2,697     -61.1%   $    1,754    $     1,027     70.9%
      TOTAL BOTTOMS (PANTS + SKIRTS)     $    9,561    $    19,497     -51.0%    $   21,128    $ 42,829       -50.7%   $   16,100   $   16,769     -4.0%    $   32,650   $   30,283     7.8%    $ 25,661   $ 36,266    -29.2%     $ 53,778   $ 73,112    -26.4%   $   22,244    $    23,331      -4.7%
45    LOUNGE TOPS                        $    1,600    $     1,607      -0.4%    $    7,115    $ 10,374       -31.4%   $    4,100   $    4,392     -6.6%    $    4,550   $    3,609    26.1%    $ 5,700    $ 5,999      -5.0%     $ 11,665   $ 13,982    -16.6%   $    3,092    $     1,179     162.2%
58    LOUNGE BOTTOMS                     $    1,025    $     2,077     -50.7%    $    7,699    $ 10,633       -27.6%   $    3,935   $    3,761      4.6%    $    5,600   $    4,037    38.7%    $ 4,960    $ 5,838     -15.0%     $ 13,299   $ 14,670     -9.3%   $    1,832    $     1,404     30.5%
       LOUNGE                            $    2,625    $     3,684     -28.8%    $   14,814    $ 21,007       -29.5%   $    8,035   $    8,152     -1.4%    $   10,150   $    7,645    32.8%    $ 10,660   $ 11,837     -9.9%     $ 24,964   $ 28,652    -12.9%   $    4,924    $     2,583     90.6%
20    ECM JACKETS                        $      -      $       575    -100.0%    $      -      $    1,116    -100.0%   $      -     $      320   -100.0%    $      -     $      941   -100.0%   $    -     $    895   -100.0%     $    -     $ 2,057    -100.0%   $      -      $       339    -100.0%
41    UPTOWN WOV JACKETS                 $    1,100    $     1,270     -13.4%    $      666    $    2,463     -73.0%   $      560   $      815    -31.3%    $    1,320   $    1,394     -5.3%   $ 1,660    $ 2,085     -20.4%     $ 1,986    $ 3,857     -48.5%   $    1,676    $       978     71.4%
49    DOWNTOWN JACKETS                   $      270    $       289      -6.5%    $        58   $      706     -91.8%   $       52   $      178    -70.8%    $      -     $      108   -100.0%   $    322   $    467    -31.1%     $     58   $    814    -92.9%   $      479    $       230     108.4%
24    ECM OUTERWEAR                      $      -      $       578    -100.0%    $      -      $    2,943    -100.0%   $      -     $      875   -100.0%    $      -     $      -     #DIV/0!   $    -     $ 1,453    -100.0%     $    -     $ 2,943    -100.0%   $      -      $     1,057    -100.0%
63    OUTERWEAR                          $    1,450    $     2,125     -31.8%    $   12,863    $ 12,537        2.6%    $    4,320   $    4,361     -0.9%    $    3,100   $    1,325    134.0%   $ 5,770    $ 6,486     -11.0%     $ 15,963   $ 13,861    15.2%    $        78   $     4,412     -98.2%
      JACKET + OUTERWEAR                 $    2,820    $     4,837     -41.7%    $   13,587    $ 19,764       -31.3%   $    4,932   $    6,549    -24.7%    $    4,420   $    3,768    17.3%    $ 7,752    $ 11,386    -31.9%     $ 18,007   $ 23,532    -23.5%   $    2,233    $     7,016     -68.2%
23    ECM DRESSES                        $      -      $     3,369    -100.0%    $      -      $    9,641    -100.0%   $      -     $    3,106   -100.0%    $      -     $    6,187   -100.0%   $    -     $ 6,475    -100.0%     $    -     $ 15,828   -100.0%   $      -      $     3,942    -100.0%
62    DRESSES                            $    4,100    $     3,721     10.2%     $    3,625    $    7,431     -51.2%   $    2,480   $    2,688     -7.7%    $    5,400   $    4,675    15.5%    $ 6,580    $ 6,409       2.7%     $ 9,025    $ 12,106    -25.4%   $   10,598    $     5,282     100.7%
      DRESSES                            $    4,100    $     7,090     -42.2%    $    3,625    $ 17,072       -78.8%   $    2,480   $    5,794    -57.2%    $    5,400   $   10,862    -50.3%   $ 6,580    $ 12,884    -48.9%     $ 9,025    $ 27,934    -67.7%   $   10,598    $     9,223     14.9%
69    GABRIELLE UNION APPAREL            $    1,500    $     2,411     -37.8%    $    3,126    $    6,344     -50.7%   $      825   $    3,427    -75.9%    $    2,500   $    3,171    -21.2%   $ 2,325    $ 5,838     -60.2%     $ 5,626    $ 9,516     -40.9%   $    1,526    $     2,423     -37.0%
70    GABRIELLE UNION ACCESSORY          $      -      $         12   -100.0%    $      -      $      -      #DIV/0!   $      -     $        2   -100.0%    $      -     $      -     #DIV/0!   $    -     $     14   -100.0%     $    -     $    -     #DIV/0!   $      -      $         39   -100.0%
71    GABRIELLE UNION JWLRY/BAG          $      -      $       -      #DIV/0!    $      -      $      -      #DIV/0!   $      -     $      -     #DIV/0!    $      -     $      -     #DIV/0!   $    -     $    -     #DIV/0!     $    -     $    -     #DIV/0!   $    2,424    $       -      #DIV/0!
93    GABRIELLE UNION PLUS APRL          $      -      $       -      #DIV/0!    $      -      $      -      #DIV/0!   $      -     $      -     #DIV/0!    $      -     $      -     #DIV/0!   $    -     $    -     #DIV/0!     $    -     $    -     #DIV/0!   $      -      $          0   -100.0%
      GU                                 $    1,500    $     2,423     -38.1%    $    3,126    $    6,344     -50.7%   $      825   $    3,428    -75.9%    $    2,500   $    3,171    -21.2%   $ 2,325    $ 5,852     -60.3%     $ 5,626    $ 9,516     -40.9%   $    3,950    $     2,462     60.4%
76    EVA MENDES APPAREL                 $    1,550    $     2,600     -40.4%    $      -      $    6,213    -100.0%   $      -     $    4,026   -100.0%    $    1,500   $    4,458    -66.4%   $ 1,550    $ 6,626     -76.6%     $ 1,500    $ 10,670    -85.9%   $    5,939    $     2,811     111.3%
77    EVA MENDES ACCESSORY/FOOT          $        98   $         82    19.1%     $      -      $        72   -100.0%   $       36   $       43    -16.1%    $      -     $      -     #DIV/0!   $    134   $    125      7.1%     $    -     $     72   -100.0%   $      372    $         65    470.6%
78    EVA MENDES JEWELRY/BAGS            $        30   $          0   6404.9%    $      -      $        46   -100.0%   $      -     $       34   -100.0%    $      -     $      -     #DIV/0!   $     30   $     35    -13.9%     $    -     $     46   -100.0%   $        70   $          1   9947.2%
79    EVA MENDES PARTY APPAREL           $      215    $       520     -58.6%    $      -      $    1,524    -100.0%   $      -     $      855   -100.0%    $      500   $    1,141    -56.2%   $    215   $ 1,375     -84.4%     $    500   $ 2,665     -81.2%   $      824    $     1,032     -20.1%
80    EVA MENDES PARTY ACC/FOOT          $      -      $       -      #DIV/0!    $      -      $      -      #DIV/0!   $      -     $      -     #DIV/0!    $      -     $      -     #DIV/0!   $    -     $    -     #DIV/0!     $    -     $    -     #DIV/0!   $      -      $       -      #DIV/0!
89    EVA MENDES PARTY JWL/BAGS          $      -      $       -      #DIV/0!    $      -      $      -      #DIV/0!   $      -     $      -     #DIV/0!    $      -     $      -     #DIV/0!   $    -     $    -     #DIV/0!     $    -     $    -     #DIV/0!   $      -      $       -      #DIV/0!
92    EVA MENDES PLUS APPAREL            $      -      $          0   -100.0%    $      -      $      -      #DIV/0!   $      -     $      -     #DIV/0!    $      -     $      -     #DIV/0!   $    -     $      0   -100.0%     $    -     $    -     #DIV/0!   $      -      $          2   -100.0%
      EVA                                $    1,893    $     3,203     -40.9%    $      -      $    7,854    -100.0%   $       36   $    4,958    -99.3%    $    2,000   $    5,599    -64.3%   $ 1,929    $ 8,160     -76.4%     $ 2,000    $ 13,453    -85.1%   $    7,205    $     3,910     84.3%
25    ECM ACCESSORIES                    $      -      $       104    -100.0%    $      -      $    1,964    -100.0%   $      -     $    1,104   -100.0%    $      -     $      186   -100.0%   $    -     $ 1,208    -100.0%     $    -     $ 2,150    -100.0%   $      -      $       547    -100.0%
81    FRAGRANCE/COLOR                    $        16   $         32    -50.3%    $      -      $        85   -100.0%   $       25   $       89    -71.8%    $      -     $       21   -100.0%   $     41   $    121    -66.1%     $    -     $    106   -100.0%   $      106    $       170     -37.5%
82    SUNGLASSES                         $        50   $         39    28.3%     $      -      $        14   -100.0%   $       30   $       29      4.9%    $      100   $       76    32.4%    $     80   $     68    18.4%      $    100   $     90    11.2%    $      207    $       135     52.5%
83    BELTS                              $      245    $         69    254.9%    $      -      $        77   -100.0%   $      150   $       48    213.7%    $      150   $       86    73.7%    $    395   $    117    238.0%     $    150   $    163     -8.1%   $      562    $       163     245.8%
84    BAGS AND SLGS                      $      -      $         73   -100.0%    $      -      $        31   -100.0%   $      -     $       25   -100.0%    $      -     $      -     #DIV/0!   $    -     $     98   -100.0%     $    -     $     31   -100.0%   $         6   $       130     -95.3%
85    WINTERWEAR                         $      -      $          6   -100.0%    $      -      $    2,480    -100.0%   $    1,190   $    1,385    -14.1%    $    2,400   $      105   2187.9%   $ 1,190    $ 1,390     -14.4%     $ 2,400    $ 2,585      -7.1%   $        10   $          1   1707.9%
86    FOOTWEAR                           $      625    $       761     -17.9%    $      -      $    1,597    -100.0%   $      120   $      718    -83.3%    $      500   $      850    -41.2%   $    745   $ 1,479     -49.6%     $    500   $ 2,447     -79.6%   $    1,410    $       576     145.0%
87    SOFT ACCESSORIES                   $        65   $       651     -90.0%    $      -      $    1,950    -100.0%   $      -     $      540   -100.0%    $      250   $      297    -15.8%   $     65   $ 1,191     -94.5%     $    250   $ 2,247     -88.9%   $      220    $       173     27.3%
88    SOCKS AND TIGHTS                   $      -      $         60   -100.0%    $      -      $      627    -100.0%   $      -     $      264   -100.0%    $      -     $      -     #DIV/0!   $    -     $    323   -100.0%     $    -     $    627   -100.0%   $        18   $          7    167.0%
      ACCESSORIES                        $    1,001    $     1,795     -44.2%    $      -      $    8,826    -100.0%   $    1,515   $    4,200    -63.9%    $    3,400   $    1,620   109.8%    $ 2,516    $ 5,995     -58.0%     $ 3,400    $ 10,446    -67.5%   $    2,540    $     1,902     33.6%
72    EARRINGS                           $      110    $       227     -51.5%    $      -      $      855    -100.0%   $      100   $      525    -81.0%    $      -     $      557   -100.0%   $    210   $    752    -72.1%     $    -     $ 1,413    -100.0%   $      462    $       482      -4.2%
73    NECKLACES                          $        80   $       183     -56.2%    $      -      $      767    -100.0%   $       50   $      342    -85.4%    $      -     $      334   -100.0%   $    130   $    524    -75.2%     $    -     $ 1,102    -100.0%   $      299    $       471     -36.5%
74    OTHER JEWELRY                      $        55   $         78    -29.9%    $      -      $      257    -100.0%   $       65   $      197    -67.0%    $      -     $      346   -100.0%   $    120   $    275    -56.4%     $    -     $    602   -100.0%   $      313    $       399     -21.5%
75    MISC GIFTS                         $      -      $         26   -100.0%    $      -      $        90   -100.0%   $      -     $       42   -100.0%    $      -     $       77   -100.0%   $    -     $     68   -100.0%     $    -     $    167   -100.0%   $        25   $         31    -19.7%
      JEWELRY                            $      245    $       514     -52.3%    $      -      $    1,969    -100.0%   $      215   $    1,106    -80.6%    $      -     $    1,314   -100.0%   $    460   $ 1,620     -71.6%     $    -     $ 3,284    -100.0%   $    1,099    $     1,383     -20.5%
131   LINGERIE                           $      -      $       246    -100.0%    $      -      $    4,656    -100.0%   $      -     $      562   -100.0%    $      -     $       79   -100.0%   $    -     $    808   -100.0%     $    -     $ 4,735    -100.0%   $        42   $     6,264     -99.3%
91    MISC GIFTS                         $      -      $       -      #DIV/0!    $      -      $      -      #DIV/0!   $      -     $      -     #DIV/0!    $      -     $      -     #DIV/0!   $    -     $    -     #DIV/0!     $    -     $    -     #DIV/0!   $      -      $       -      #DIV/0!
27    KATE HUDSON                        $      -      $       820    -100.0%    $      -      $    4,467    -100.0%   $      -     $    1,519   -100.0%    $      -     $    2,480   -100.0%   $    -     $ 2,340    -100.0%     $    -     $ 6,946    -100.0%   $      142    $     1,333     -89.4%
      MISC/USL/HXN                       $      -      $     1,067    -100.0%    $      -      $    9,123    -100.0%   $      -     $    2,081   -100.0%    $      -     $    2,559   -100.0%   $    -     $ 3,147    -100.0%     $    -     $ 11,682   -100.0%   $      184    $     7,597     -97.6%
                                                    Case 20-18445-JKS                                       Doc 319 Filed 09/04/20 Entered 09/08/20 15:38:59                                                                                                Desc Main
                                                                                                                  Document    Page 655 of 691


                AUGUST                                                                                                          SEPTEMBER                                                                                                      OCTOBER
                 SALES                               RECEIPTS                                 BOP                                  SALES                            RECEIPTS                                 BOP                                SALES                               RECEIPTS                                 BOP
    TY            LY         COMP         TY            LY         COMP         TY             LY         COMP          TY          LY        COMP          TY         LY         COMP         TY             LY         COMP          TY         LY          COMP          TY         LY           COMP         TY           LY
$   12,395    $ 15,696       -21.0%   $    5,499    $ 63,281       -91.3%   $   68,503    $   107,846     -36.5%   $   13,099   $   25,721    -49.1%   $   36,226   $   75,844    -52.2%   $   73,470    $   123,774     -40.6%   $   12,256   $   23,521     -47.9%   $   48,881   $   71,417      -31.6%   $   95,180    $ 147,409
$      -      $      849    -100.0%   $      -      $    3,779    -100.0%   $      -      $     5,235    -100.0%   $      -     $    2,135   -100.0%   $      -     $    8,739   -100.0%   $      -      $     9,603    -100.0%   $      -     $    2,583    -100.0%   $      -     $    9,416     -100.0%   $      -      $ 13,354
$      950    $    1,208     -21.4%   $      -      $    3,582    -100.0%   $    6,613    $     5,793     14.1%    $    1,350   $    1,653    -18.4%   $      -     $    1,944   -100.0%   $    3,440    $     3,988     -13.7%   $      650   $      814     -20.1%   $    1,700   $    2,860      -40.6%   $    3,515    $   4,949
$      250    $      431     -42.0%   $      -      $    1,214    -100.0%   $      987    $     1,894     -47.9%   $      100   $      564    -82.3%   $      -     $      725   -100.0%   $      722    $     1,547     -53.3%   $      100   $      358     -72.1%   $    1,500   $    1,288      16.4%    $    2,001    $   2,102
$      800    $      572      39.9%   $      -      $    2,356    -100.0%   $    5,966    $     3,675     62.3%    $      950   $      922      3.1%   $      -     $    1,403   -100.0%   $    3,734    $     3,400       9.8%   $      750   $      669     12.1%    $    1,200   $    1,372      -12.6%   $    3,059    $   3,267
$    1,350    $      200     576.0%   $    1,390    $      908      53.0%   $    5,392    $     1,191     352.8%   $    1,000   $      331    202.0%   $      282   $      675    -58.2%   $    3,074    $     1,165     163.9%   $      650   $      243     167.3%   $      300   $      437      -31.4%   $    1,749    $   1,036
$      500    $      117     328.1%   $      937    $      234     300.2%   $    3,023    $       756     299.7%   $      500   $      212    136.2%   $      398   $      469    -15.0%   $    2,297    $     1,000     129.8%   $      380   $      181     110.2%   $      900   $      810      11.2%    $    2,351    $   1,426
$      400    $      397       0.7%   $      -      $      102    -100.0%   $    1,663    $     1,682      -1.2%   $      400   $      390      2.6%   $    1,507   $    1,139    32.4%    $    2,256    $     1,937     16.5%    $      450   $      445      1.0%    $      -     $      519     -100.0%   $    1,243    $   1,292
$    4,250    $    3,774     12.6%    $    2,326    $ 12,176       -80.9%   $   23,644    $    20,227     16.9%    $    4,300   $    6,207    -30.7%   $    2,187   $   15,094    -85.5%   $   15,522    $    22,639     -31.4%   $    2,980   $    5,293     -43.7%   $    5,600   $   16,703      -66.5%   $   13,918    $ 27,426
$      -      $      129    -100.0%   $      -      $    3,763    -100.0%   $      138    $     3,964     -96.5%   $      -     $    1,165   -100.0%   $   14,987   $   10,148    47.7%    $   15,124    $    11,409     32.6%    $    1,750   $    2,301     -23.9%   $    5,000   $    6,958      -28.1%   $   16,616    $ 13,894
$        50   $      313     -84.0%   $        25   $    3,232     -99.2%   $      591    $     3,003     -80.3%   $       25   $      924    -97.3%   $      -     $    4,210   -100.0%   $      528    $     4,918     -89.3%   $      650   $      722     -10.0%   $    4,200   $    3,468      21.1%    $    3,363    $   7,057
$        50   $      442     -88.7%   $        25   $    6,996     -99.6%   $      728    $     6,967     -89.5%   $       25   $    2,089    -98.8%   $   14,987   $   14,358     4.4%    $   15,652    $    16,327      -4.1%   $    2,400   $    3,023     -20.6%   $    9,200   $   10,426      -11.8%   $   19,979    $ 20,951
$    4,300    $    4,216      2.0%    $    2,351    $ 19,172       -87.7%   $   24,372    $    27,194     -10.4%   $    4,325   $    8,297    -47.9%   $   17,174   $   29,452    -41.7%   $   31,174    $    38,966     -20.0%   $    5,380   $    8,316     -35.3%   $   14,800   $   27,129      -45.4%   $   33,897    $ 48,377
$      -      $    1,311    -100.0%   $      -      $    3,432    -100.0%   $      -      $     5,464    -100.0%   $      -     $    2,097   -100.0%   $      -     $    4,310   -100.0%   $      -      $     5,087    -100.0%   $      -     $    1,323    -100.0%   $      -     $    1,767     -100.0%   $      -      $   3,832
$      -      $      384    -100.0%   $      -      $    2,538    -100.0%   $         1   $     2,870    -100.0%   $      -     $      923   -100.0%   $      -     $      903   -100.0%   $         1   $     1,792    -100.0%   $      250   $      635     -60.6%   $    9,329   $    2,683      247.7%   $    8,806    $   3,351
$      250    $      228       9.7%   $      -      $      410    -100.0%   $    2,227    $       946     135.5%   $      375   $      358      4.9%   $      210   $      738    -71.5%   $    1,594    $     1,249     27.6%    $      280   $      303      -7.6%   $      750   $    1,131      -33.7%   $    1,740    $   1,737
$    1,550    $    2,047     -24.3%   $      923    $    5,477     -83.2%   $    9,886    $    10,901      -9.3%   $    1,650   $    2,843    -42.0%   $    2,466   $    4,638    -46.8%   $    8,607    $    10,293     -16.4%   $    1,500   $    2,268     -33.9%   $    4,000   $    4,817      -17.0%   $    9,226    $ 10,323
$        25   $        64    -60.7%   $      -      $      430    -100.0%   $      254    $       638     -60.2%   $       46   $      153    -70.3%   $      -     $      817   -100.0%   $      159    $     1,251     -87.3%   $       15   $      167     -91.0%   $      -     $      284     -100.0%   $      127    $   1,211
$      450    $    1,037     -56.6%   $      175    $    3,653     -95.2%   $    2,775    $     8,023     -65.4%   $      750   $    1,485    -49.5%   $    3,028   $    1,114    171.8%   $    4,303    $     6,441     -33.2%   $      750   $    1,081     -30.6%   $      -     $    2,191     -100.0%   $    2,724    $   7,090
$      600    $        98    513.6%   $      247    $      -      #DIV/0!   $    1,643    $         96   1619.3%   $      400   $       20   1874.7%   $      -     $      -     #DIV/0!   $      243    $          8   3078.4%   $       50   $        0   11719.8%   $      -     $      -       #DIV/0!   $        68   $        4
$    2,875    $    5,169     -44.4%   $    1,345    $ 15,941       -91.6%   $   16,786    $    28,937     -42.0%   $    3,221   $    7,879    -59.1%   $    5,704   $   12,521    -54.4%   $   14,905    $    26,121     -42.9%   $    2,845   $    5,778     -50.8%   $   14,079   $   12,872       9.4%    $   22,691    $ 27,548
$        60   $        37     60.2%   $      -      $      107    -100.0%   $      341    $       204      67.4%   $       50   $       39    26.9%    $      -     $       49   -100.0%   $      229    $       209       9.6%   $       30   $       25     20.8%    $      -     $       26     -100.0%   $      161    $     187
$      200    $      195       2.7%   $         0   $      553    -100.0%   $    1,250    $       883      41.5%   $      180   $      209    -13.9%   $      -     $      335   -100.0%   $      815    $       678     20.2%    $      100   $      165     -39.5%   $      -     $      424     -100.0%   $      594    $     771
$      260    $      232      12.0%   $         0   $      660    -100.0%   $    1,591    $     1,087     46.4%    $      230   $      248     -7.4%   $      -     $      385   -100.0%   $    1,044    $       887     17.7%    $      130   $      190     -31.7%   $      -     $      450     -100.0%   $      755    $     958
$    3,135    $    5,401     -42.0%   $    1,345    $ 16,602       -91.9%   $   18,377    $    30,024     -38.8%   $    3,451   $    8,128    -57.5%   $    5,704   $   12,905    -55.8%   $   15,949    $    27,008     -40.9%   $    2,975   $    5,968     -50.2%   $   14,079   $   13,322       5.7%    $   23,446    $ 28,506
$      500    $      396      26.4%   $      115    $    1,056     -89.1%   $    3,377    $     1,605     110.4%   $      850   $      608    39.7%    $      -     $    4,310   -100.0%   $    1,651    $     5,037     -67.2%   $      250   $      603     -58.6%   $    7,000   $    5,008      39.8%    $    8,108    $   8,867
$      250    $      438     -42.9%   $      115    $    1,566     -92.7%   $    1,793    $     2,173     -17.5%   $      325   $      821    -60.4%   $       84   $    4,193    -98.0%   $    1,173    $     4,915     -76.1%   $      450   $      819     -45.0%   $    7,500   $    4,875      53.9%    $    7,696    $   8,357
$      750    $      833     -10.0%   $      230    $    2,622     -91.2%   $    5,170    $     3,779     36.8%    $    1,175   $    1,429    -17.8%   $       84   $    8,502    -99.0%   $    2,824    $     9,952     -71.6%   $      700   $    1,422     -50.8%   $   14,500   $    9,883      46.7%    $   15,805    $ 17,224
$      -      $      171    -100.0%   $      -      $      895    -100.0%   $      -      $       902    -100.0%   $      -     $      283   -100.0%   $      -     $      104   -100.0%   $      -      $       456    -100.0%   $      -     $      122    -100.0%   $      -     $      116     -100.0%   $      -      $     312
$      250    $      331     -24.4%   $      -      $    1,168    -100.0%   $    2,051    $     1,584     29.5%    $      450   $      539    -16.4%   $      516   $    1,138    -54.7%   $    1,599    $     1,874     -14.6%   $      400   $      400      -0.1%   $      150   $      157       -4.4%   $      947    $   1,360
$      100    $        77     29.3%   $        58   $      444     -86.9%   $      539    $       563      -4.2%   $      120   $      134    -10.2%   $      -     $      218   -100.0%   $      281    $       702     -59.9%   $       50   $       78     -35.7%   $      -     $       43     -100.0%   $      171    $     579
$      -      $        25   -100.0%   $      -      $      222    -100.0%   $      -      $     1,230    -100.0%   $      -     $      245   -100.0%   $      -     $    1,963   -100.0%   $      -      $     2,051    -100.0%   $      -     $      308    -100.0%   $      -     $      758     -100.0%   $      -      $   2,695
$      -      $      103    -100.0%   $      -      $    7,378    -100.0%   $        78   $    11,590     -99.3%   $      500   $      745    -32.9%   $   10,012   $    2,984    235.6%   $    9,012    $    13,091     -31.2%   $      950   $    1,277     -25.6%   $    2,851   $    2,175      31.1%    $    9,887    $ 12,686
$      350    $      707     -50.5%   $        58   $ 10,108       -99.4%   $    2,668    $    15,870     -83.2%   $    1,070   $    1,946    -45.0%   $   10,527   $    6,407    64.3%    $   10,893    $    18,174     -40.1%   $    1,400   $    2,184     -35.9%   $    3,001   $    3,249       -7.6%   $   11,005    $ 17,632
$      -      $      911    -100.0%   $      -      $    3,170    -100.0%   $      -      $     4,947    -100.0%   $      -     $    1,352   -100.0%   $      -     $    2,908   -100.0%   $      -      $     4,822    -100.0%   $      -     $    1,105    -100.0%   $      -     $    3,563     -100.0%   $      -      $   5,590
$    1,550    $    1,204     28.8%    $      888    $    3,378     -73.7%   $    8,388    $     5,891     42.4%    $    1,700   $    1,440    18.1%    $      237   $    2,491    -90.5%   $    4,545    $     5,658     -19.7%   $      850   $    1,078     -21.1%   $    2,500   $    1,562      60.0%    $    4,930    $   4,706
$    1,550    $    2,115     -26.7%   $      888    $    6,548     -86.4%   $    8,388    $    10,838     -22.6%   $    1,700   $    2,792    -39.1%   $      237   $    5,399    -95.6%   $    4,545    $    10,480     -56.6%   $      850   $    2,183     -61.1%   $    2,500   $    5,125      -51.2%   $    4,930    $ 10,296
$      450    $      781     -42.4%   $      626    $      923     -32.1%   $    1,318    $     2,011     -34.5%   $      400   $      629    -36.4%   $    2,500   $    2,639     -5.3%   $    3,034    $     3,673     -17.4%   $      650   $    1,001     -35.1%   $      -     $    2,783     -100.0%   $    1,617    $   5,206
$      -      $         5   -100.0%   $      -      $      -      #DIV/0!   $      -      $         29   -100.0%   $      -     $        5   -100.0%   $      -     $      -     #DIV/0!   $      -      $         17   -100.0%   $      -     $        3    -100.0%   $      -     $      -       #DIV/0!   $      -      $        3
$      -      $      -      #DIV/0!   $      -      $      -      #DIV/0!   $    2,424    $       -      #DIV/0!   $      -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $    2,424    $       -      #DIV/0!   $      -     $      -      #DIV/0!   $      -     $      -       #DIV/0!   $    2,424    $     -
$      -      $      -      #DIV/0!   $      -      $      -      #DIV/0!   $      -      $          0   -100.0%   $      -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $      -      $          0   -100.0%   $      -     $      -      #DIV/0!   $      -     $      -       #DIV/0!   $      -      $        0
$      450    $      786     -42.7%   $      626    $      923     -32.1%   $    3,742    $     2,041     83.4%    $      400   $      634    -36.9%   $    2,500   $    2,639     -5.3%   $    5,458    $     3,690     47.9%    $      650   $    1,004     -35.3%   $      -     $    2,783     -100.0%   $    4,041    $   5,210
$    1,100    $      811      35.7%   $      -      $    1,716    -100.0%   $    2,089    $     3,076     -32.1%   $      450   $      893    -49.6%   $      -     $    1,381   -100.0%   $        64   $     2,958     -97.8%   $      -     $      896    -100.0%   $      -     $    3,116     -100.0%   $        64   $   4,552
$        40   $        21     86.1%   $      -      $        42   -100.0%   $      282    $         77    265.1%   $       32   $       34     -5.9%   $      -     $       30   -100.0%   $      210    $         72    193.8%   $       26   $       27      -2.8%   $      -     $      -       #DIV/0!   $      145    $       37
$        25   $         0   6327.1%   $      -      $      -      #DIV/0!   $        14   $          1   1881.7%   $        5   $        0   6824.2%   $      -     $      -     #DIV/0!   $         3   $          1    268.7%   $      -     $      -      #DIV/0!   $      -     $       46     -100.0%   $         3   $       47
$      165    $      123      33.6%   $      -      $      113    -100.0%   $      247    $       863     -71.5%   $       50   $      249    -79.9%   $      -     $      859   -100.0%   $        47   $     1,211     -96.2%   $      -     $      148    -100.0%   $      -     $      551     -100.0%   $        47   $   1,382
$      -      $      -      #DIV/0!   $      -      $      -      #DIV/0!   $      -      $       -      #DIV/0!   $      -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $      -      $       -      #DIV/0!   $      -     $      -      #DIV/0!   $      -     $      -       #DIV/0!   $      -      $     -
$      -      $      -      #DIV/0!   $      -      $      -      #DIV/0!   $      -      $       -      #DIV/0!   $      -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $      -      $       -      #DIV/0!   $      -     $      -      #DIV/0!   $      -     $      -       #DIV/0!   $      -      $     -
$      -      $         0   -100.0%   $      -      $      -      #DIV/0!   $      -      $          2   -100.0%   $      -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $      -      $          2   -100.0%   $      -     $      -      #DIV/0!   $      -     $      -       #DIV/0!   $      -      $        2
$    1,330    $      956      39.1%   $      -      $    1,871    -100.0%   $    2,631    $     4,019     -34.5%   $      537   $    1,176    -54.3%   $      -     $    2,269   -100.0%   $      323    $     4,243     -92.4%   $       26   $    1,071     -97.6%   $      -     $    3,713     -100.0%   $      258    $   6,020
$      -      $        32   -100.0%   $      -      $      -      #DIV/0!   $      -      $       440    -100.0%   $      -     $       34   -100.0%   $      -     $      491   -100.0%   $      -      $       789    -100.0%   $      -     $       38    -100.0%   $      -     $    1,473     -100.0%   $      -      $   2,041
$         5   $         8    -36.0%   $      -      $      -      #DIV/0!   $      101    $       159     -36.9%   $        6   $       12    -48.8%   $      -     $       40   -100.0%   $        94   $       186     -49.6%   $        5   $       13     -60.5%   $      -     $       45     -100.0%   $        87   $     215
$        25   $        20     26.7%   $      -      $        14   -100.0%   $      155    $       109      42.2%   $       15   $       12    22.0%    $      -     $      -     #DIV/0!   $      129    $         87    47.3%    $       10   $        7     44.0%    $      -     $      -       #DIV/0!   $      112    $       77
$        85   $        19    340.5%   $      -      $        70   -100.0%   $      615    $       205     200.3%   $       90   $       28    222.6%   $      -     $        7   -100.0%   $      479    $       169     183.0%   $       70   $       22     220.4%   $      -     $      -       #DIV/0!   $      372    $     136
$      -      $        27   -100.0%   $      -      $        31   -100.0%   $         6   $       121     -95.0%   $      -     $       31   -100.0%   $      -     $      -     #DIV/0!   $         6   $         68    -91.0%   $      -     $       16    -100.0%   $      -     $      -       #DIV/0!   $         6   $       34
$      -      $         0   -100.0%   $      -      $      -      #DIV/0!   $        10   $          1   1707.9%   $      -     $        0   -100.0%   $      -     $    1,683   -100.0%   $        10   $     1,683     -99.4%   $      -     $        6    -100.0%   $      -     $      797     -100.0%   $        10   $   2,485
$      300    $      119     151.3%   $      -      $      595    -100.0%   $      962    $       934       3.0%   $      225   $      306    -26.5%   $      -     $      743   -100.0%   $      478    $     1,279     -62.6%   $      100   $      335     -70.2%   $      -     $      260     -100.0%   $      263    $   1,057
$        50   $        52     -4.6%   $      -      $      989    -100.0%   $      130    $     1,083     -88.0%   $       15   $      256    -94.1%   $      -     $      962   -100.0%   $        97   $     1,711     -94.3%   $      -     $      342    -100.0%   $      -     $        (1)   -100.0%   $        97   $   1,148
$      -      $         2   -100.0%   $      -      $        81   -100.0%   $        18   $         78    -76.4%   $      -     $       18   -100.0%   $      -     $      115   -100.0%   $        18   $       166     -88.9%   $      -     $       39    -100.0%   $      -     $      431     -100.0%   $        18   $     547
$      465    $      280      66.2%   $      -      $    1,780    -100.0%   $    1,998    $     3,130     -36.2%   $      351   $      697    -49.7%   $      -     $    4,040   -100.0%   $    1,312    $     6,137     -78.6%   $      185   $      818     -77.4%   $      -     $    3,006     -100.0%   $      966    $   7,740
$        30   $        59    -49.1%   $      -      $      191    -100.0%   $      402    $       556     -27.8%   $       40   $       89    -55.1%   $      -     $      185   -100.0%   $      335    $       603     -44.5%   $       40   $       79     -49.2%   $      -     $      480     -100.0%   $      271    $     958
$        20   $        41    -51.8%   $      -      $      172    -100.0%   $      262    $       567     -53.7%   $       30   $       69    -56.3%   $      -     $      214   -100.0%   $      205    $       646     -68.2%   $       30   $       73     -58.7%   $      -     $      381     -100.0%   $      147    $     888
$        15   $        20    -25.5%   $      -      $        58   -100.0%   $      283    $       406     -30.4%   $       20   $       28    -29.3%   $      -     $       70   -100.0%   $      243    $       408     -40.5%   $       20   $       30     -33.3%   $      -     $      128     -100.0%   $      205    $     477
$      -      $         5   -100.0%   $      -      $        25   -100.0%   $        25   $         48    -47.6%   $      -     $        9   -100.0%   $      -     $       30   -100.0%   $        25   $         68    -63.1%   $      -     $       13    -100.0%   $      -     $       35     -100.0%   $        25   $       88
$        65   $      125     -48.1%   $      -      $      446    -100.0%   $      972    $     1,577     -38.4%   $       90   $      195    -53.8%   $      -     $      499   -100.0%   $      808    $     1,725     -53.2%   $       90   $      194     -53.6%   $      -     $    1,024     -100.0%   $      648    $   2,412
$      -      $        78   -100.0%   $      -      $    1,796    -100.0%   $        42   $     7,628     -99.4%   $      -     $       76   -100.0%   $      -     $    2,551   -100.0%   $        42   $     1,513     -97.2%   $      -     $       92    -100.0%   $      -     $      309     -100.0%   $        42   $   1,559
$      -      $      -      #DIV/0!   $      -      $      -      #DIV/0!   $      -      $       -      #DIV/0!   $      -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $      -      $       -      #DIV/0!   $      -     $      -      #DIV/0!   $      -     $      -       #DIV/0!   $      -      $     -
$      -      $      200    -100.0%   $      -      $    1,413    -100.0%   $      142    $     1,746     -91.9%   $      -     $      352   -100.0%   $      -     $    1,180   -100.0%   $      142    $     1,886     -92.5%   $      -     $      269    -100.0%   $      -     $    1,873     -100.0%   $      142    $   2,434
$      -      $      278    -100.0%   $      -      $    3,209    -100.0%   $      184    $     9,375     -98.0%   $      -     $      428   -100.0%   $      -     $    3,731   -100.0%   $      184    $     3,399     -94.6%   $      -     $      361    -100.0%   $      -     $    2,182     -100.0%   $      184    $   3,993
                                            Case 20-18445-JKS                                       Doc 319 Filed 09/04/20 Entered 09/08/20 15:38:59                                                                                        Desc Main
                                                                                                          Document    Page 656 of 691


                     NOVEMBER                                                                                                     DECEMBER                                                                                                  JANUARY
                       SALES                             RECEIPTS                                 BOP                               SALES                           RECEIPTS                               BOP                                SALES                           RECEIPTS
 COMP        TY         LY         COMP          TY         LY         COMP         TY             LY         COMP        TY         LY         COMP        TY         LY       COMP         TY             LY         COMP         TY          LY        COMP        TY         LY       COMP
 -35.4%   $ 20,980   $   29,567    -29.0%   $   37,400   $   40,499     -7.7%   $   86,128    $   124,620     -30.9%   $ 21,186   $   31,941    -33.7%   $ 16,120   $ 25,367    -36.5%   $   51,814    $    75,145     -31.0%   $   9,982   $   15,583    -35.9%   $ 29,170   $ 30,372     -4.0%
-100.0%   $    -     $    2,803   -100.0%   $      -     $    2,807   -100.0%   $      -      $     9,650    -100.0%   $    -     $    2,667   -100.0%   $    -     $ 2,058    -100.0%   $      -      $     3,784    -100.0%   $     -     $      946   -100.0%   $    -     $ 2,840    -100.0%
 -29.0%   $    700   $      981    -28.7%   $    2,000   $    2,630    -24.0%   $    4,010    $     5,550     -27.7%   $    950   $    1,352    -29.8%   $ 1,800    $ 1,939      -7.2%   $    3,673    $     4,284     -14.3%   $     800   $      947    -15.5%   $ 1,900    $ 1,870       1.6%
  -4.8%   $    350   $      384     -8.8%   $      850   $      967    -12.1%   $    2,099    $     2,279      -7.9%   $    500   $      532     -5.9%   $    750   $    745     0.6%    $    1,721    $     1,799      -4.3%   $     425   $      458     -7.3%   $    750   $    714      5.0%
  -6.4%   $    350   $      417    -16.0%   $      500   $      603    -17.1%   $    2,806    $     3,140     -10.6%   $    500   $      588    -15.0%   $    500   $    579    -13.6%   $    2,181    $     2,500     -12.8%   $     400   $      445    -10.0%   $    750   $    733      2.3%
 68.8%    $    300   $      249    20.5%    $      450   $      654    -31.2%   $    1,449    $     1,180     22.8%    $    350   $      357     -2.0%   $    300   $    431    -30.3%   $      874    $       825       6.0%   $     165   $      162     1.6%    $    200   $    218     -8.2%
 64.9%    $    400   $      288    38.8%    $      900   $    1,132    -20.5%   $    2,351    $     1,820     29.2%    $    400   $      313    27.8%    $    250   $    223    11.9%    $    1,661    $     1,483     12.0%    $     220   $      155    41.6%    $    750   $    472    58.9%
  -3.7%   $    150   $      129    16.1%    $      800   $      959    -16.6%   $    1,750    $     2,054     -14.8%   $    200   $      220     -9.2%   $    -     $    -     #DIV/0!   $    1,313    $     1,582     -17.0%   $     200   $      208     -3.7%   $    750   $    503    49.2%
 -49.3%   $ 2,250    $    5,251    -57.2%   $    5,500   $    9,753    -43.6%   $   14,465    $    25,673     -43.7%   $ 2,900    $    6,029    -51.9%   $ 3,600    $ 5,975     -39.8%   $   11,423    $    16,257     -29.7%   $   2,210   $    3,321    -33.5%   $ 5,100    $ 7,350     -30.6%
 19.6%    $ 4,400    $    3,442    27.8%    $    4,000   $    2,654    50.7%    $   10,496    $     7,836     33.9%    $ 3,100    $    2,383    30.1%    $    500   $    494     1.2%    $    2,936    $     3,083      -4.8%   $     950   $      820    15.9%    $    320   $    279    14.6%
 -52.3%   $    900   $    1,147    -21.5%   $    1,600   $    1,555      2.9%   $    3,028    $     5,519     -45.1%   $    950   $    1,196    -20.5%   $    950   $    889     6.8%    $    1,746    $     2,589     -32.6%   $     350   $      463    -24.5%   $    600   $    465    29.0%
  -4.6%   $ 5,300    $    4,589    15.5%    $    5,600   $    4,210    33.0%    $   13,524    $    13,356      1.3%    $ 4,050    $    3,579    13.2%    $ 1,450    $ 1,383      4.8%    $    4,681    $     5,672     -17.5%   $   1,300   $    1,283     1.3%    $    920   $    745    23.6%
 -29.9%   $ 7,550    $    9,840    -23.3%   $   11,100   $   13,963    -20.5%   $   27,989    $    39,029     -28.3%   $ 6,950    $    9,608    -27.7%   $ 5,050    $ 7,359     -31.4%   $   16,104    $    21,929     -26.6%   $   3,510   $    4,605    -23.8%   $ 6,020    $ 8,095     -25.6%
-100.0%   $    -     $    1,158   -100.0%   $      -     $    2,511   -100.0%   $      -      $     3,768    -100.0%   $    -     $    1,020   -100.0%   $    -     $ 1,995    -100.0%   $      -      $     3,289    -100.0%   $     -     $      808   -100.0%   $    -     $ 1,834    -100.0%
 162.8%   $ 1,500    $      797    88.2%    $      -     $    1,729   -100.0%   $    5,431    $     3,090     75.8%    $ 1,450    $    1,017    42.5%    $    -     $ 1,222    -100.0%   $    1,589    $     1,219     30.3%    $     550   $      350    57.0%    $    -     $    -     #DIV/0!
   0.2%   $    285   $      330    -13.6%   $      700   $    1,020    -31.3%   $    1,856    $     2,036      -8.8%   $    350   $      368     -4.9%   $    500   $    429    16.5%    $    1,614    $     1,795     -10.1%   $     300   $      298     0.8%    $    600   $    440    36.3%
 -10.6%   $ 1,800    $    2,001    -10.1%   $    5,500   $    5,487      0.2%   $   10,856    $    11,512      -5.7%   $ 2,150    $    2,319     -7.3%   $ 2,800    $ 2,627      6.6%    $    8,926    $     9,303      -4.1%   $   1,400   $    1,543     -9.3%   $ 5,500    $ 4,941     11.3%
 -89.5%   $    -     $      177   -100.0%   $      -     $      274   -100.0%   $      127    $     1,172     -89.2%   $    -     $      194   -100.0%   $    -     $     46   -100.0%   $      127    $       780     -83.7%   $     -     $      113   -100.0%   $    -     $     49   -100.0%
 -61.6%   $ 2,000    $    1,255    59.3%    $   10,500   $    2,272    362.2%   $    9,024    $     6,835     32.0%    $ 2,500    $    1,551    61.2%    $ 2,500    $    940    166.0%   $    6,274    $     4,301     45.9%    $   1,250   $      793    57.6%    $ 3,000    $ 1,264     137.3%
1469.3%   $    -     $        0   -100.0%   $      -     $      -     #DIV/0!   $        68   $          4   1527.0%   $    -     $        0   -100.0%   $    -     $    -     #DIV/0!   $        68   $          4   1531.7%   $     -     $        0   -100.0%   $    -     $    -     #DIV/0!
 -17.6%   $ 5,585    $    5,719     -2.3%   $   16,700   $   13,293    25.6%    $   27,361    $    28,417      -3.7%   $ 6,450    $    6,469     -0.3%   $ 5,800    $ 7,259     -20.1%   $   18,597    $    20,691     -10.1%   $   3,500   $    3,905    -10.4%   $ 9,100    $ 8,529      6.7%
 -13.6%   $     15   $       17    -10.9%   $      -     $      -     #DIV/0!   $      131    $       163     -20.0%   $     15   $       19    -20.4%   $    -     $    -     #DIV/0!   $        97   $       130     -25.5%   $      15   $       17    -10.6%   $    -     $     56   -100.0%
 -23.0%   $    200   $      227    -12.0%   $      400   $      462    -13.4%   $      578    $       801     -27.9%   $    200   $      240    -16.7%   $    100   $     44    128.3%   $      248    $       354     -29.9%   $     120   $      156    -23.2%   $    550   $    640    -14.0%
 -21.1%   $    215   $      244    -11.9%   $      400   $      462    -13.4%   $      708    $       964     -26.5%   $    215   $      259    -17.0%   $    100   $     44   128.3%    $      345    $       484     -28.7%   $     135   $      173    -22.0%   $    550   $    696    -21.0%
 -17.8%   $ 5,800    $    5,963     -2.7%   $   17,100   $   13,755    24.3%    $   28,070    $    29,382      -4.5%   $ 6,665    $    6,728     -0.9%   $ 5,900    $ 7,303     -19.2%   $   18,941    $    21,174     -10.5%   $   3,635   $    4,078    -10.9%   $ 9,650    $ 9,225      4.6%
  -8.6%   $ 1,750    $    1,768     -1.0%   $    1,200   $    1,351    -11.2%   $    5,371    $     6,589     -18.5%   $ 1,650    $    1,938    -14.9%   $ 1,450    $ 1,098     32.0%    $    2,861    $     3,237     -11.6%   $     700   $      686     2.0%    $ 1,900    $ 1,159     63.9%
  -7.9%   $ 1,685    $    1,664      1.3%   $    1,200   $      845    42.0%    $    5,105    $     5,382      -5.1%   $ 1,550    $    1,453      6.7%   $ 1,900    $ 1,580     20.2%    $    3,285    $     3,584      -8.3%   $     700   $      644     8.8%    $ 2,500    $ 1,611     55.2%
  -8.2%   $ 3,435    $    3,432     0.1%    $    2,400   $    2,197     9.3%    $   10,476    $    11,971     -12.5%   $ 3,200    $    3,391     -5.6%   $ 3,350    $ 2,679     25.1%    $    6,146    $     6,821      -9.9%   $   1,400   $    1,330     5.3%    $ 4,400    $ 2,770     58.8%
-100.0%   $    -     $       86   -100.0%   $      -     $      146   -100.0%   $      -      $       266    -100.0%   $    -     $       81   -100.0%   $    -     $    232   -100.0%   $      -      $       311    -100.0%   $     -     $      153   -100.0%   $    -     $    563   -100.0%
 -30.4%   $    200   $      257    -22.2%   $      200   $      150    33.4%    $      732    $     1,239     -40.9%   $    200   $      297    -32.7%   $    320   $    414    -22.7%   $      619    $     1,127     -45.1%   $     160   $      261    -38.7%   $    800   $    830     -3.6%
 -70.5%   $     25   $       57    -56.1%   $      -     $      -     #DIV/0!   $      117    $       460     -74.5%   $     20   $       75    -73.3%   $    -     $    108   -100.0%   $        73   $       392     -81.3%   $       7   $       46    -84.9%   $    -     $    -     #DIV/0!
-100.0%   $    -     $      371   -100.0%   $      -     $      -     #DIV/0!   $      -      $     1,806    -100.0%   $    -     $      457   -100.0%   $    -     $    -     #DIV/0!   $      -      $       254    -100.0%   $     -     $       47   -100.0%   $    -     $    -     #DIV/0!
 -22.1%   $ 1,950    $    1,962     -0.6%   $    3,100   $      722    329.6%   $    8,210    $     7,757       5.8%   $ 1,950    $    1,982     -1.6%   $    -     $    266   -100.0%   $    2,652    $     1,912     38.7%    $     420   $      417     0.8%    $    -     $    338   -100.0%
 -37.6%   $ 2,175    $    2,733    -20.4%   $    3,300   $    1,018   224.3%    $    9,059    $    11,528     -21.4%   $ 2,170    $    2,892    -25.0%   $    320   $ 1,020     -68.6%   $    3,345    $     3,996     -16.3%   $     587   $      923    -36.4%   $    800   $ 1,731     -53.8%
-100.0%   $    -     $      985   -100.0%   $      -     $    2,260   -100.0%   $      -      $     5,597    -100.0%   $    -     $    1,212   -100.0%   $    -     $ 1,822    -100.0%   $      -      $     4,310    -100.0%   $     -     $      910   -100.0%   $    -     $ 2,105    -100.0%
   4.8%   $    850   $      890     -4.5%   $    1,100   $    1,191     -7.7%   $    4,160    $     4,402      -5.5%   $    980   $    1,098    -10.8%   $ 1,500    $ 1,579      -5.0%   $    3,327    $     3,614      -7.9%   $     650   $      700     -7.1%   $ 2,800    $ 1,905     47.0%
 -52.1%   $    850   $    1,875    -54.7%   $    1,100   $    3,452    -68.1%   $    4,160    $     9,999     -58.4%   $    980   $    2,310    -57.6%   $ 1,500    $ 3,401     -55.9%   $    3,327    $     7,924     -58.0%   $     650   $    1,610    -59.6%   $ 2,800    $ 4,009     -30.2%
 -68.9%   $    450   $    1,501    -70.0%   $      -     $    1,222   -100.0%   $      771    $     4,102     -81.2%   $    350   $    1,146    -69.5%   $    -     $    672   -100.0%   $        78   $     2,552     -96.9%   $      25   $      780    -96.8%   $ 2,500    $ 1,277     95.7%
-100.0%   $    -     $        1   -100.0%   $      -     $      -     #DIV/0!   $      -      $          2   -100.0%   $    -     $        1   -100.0%   $    -     $    -     #DIV/0!   $      -      $          0   -100.0%   $     -     $        0   -100.0%   $    -     $    -     #DIV/0!
#DIV/0!   $    -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $    2,424    $       -      #DIV/0!   $    -     $      -     #DIV/0!   $    -     $    -     #DIV/0!   $    2,424    $       -      #DIV/0!   $     -     $      -     #DIV/0!   $    -     $    -     #DIV/0!
-100.0%   $    -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $      -      $          0   -100.0%   $    -     $      -     #DIV/0!   $    -     $    -     #DIV/0!   $      -      $          0   -100.0%   $     -     $      -     #DIV/0!   $    -     $    -     #DIV/0!
 -22.4%   $    450   $    1,502    -70.0%   $      -     $    1,222   -100.0%   $    3,195    $     4,104     -22.1%   $    350   $    1,147    -69.5%   $    -     $    672   -100.0%   $    2,502    $     2,552      -2.0%   $      25   $      780    -96.8%   $ 2,500    $ 1,277     95.7%
 -98.6%   $    -     $    1,281   -100.0%   $      -     $    2,020   -100.0%   $        64   $     4,608     -98.6%   $    -     $    1,960   -100.0%   $    -     $ 1,282    -100.0%   $        64   $     2,717     -97.7%   $     -     $      784   -100.0%   $ 1,500    $ 1,155     29.8%
 289.5%   $     15   $       14      4.4%   $      -     $      -     #DIV/0!   $      106    $         44    139.8%   $     16   $       17     -6.1%   $    -     $    -     #DIV/0!   $        63   $         36    74.1%    $       5   $       11    -56.4%   $    -     $    -     #DIV/0!
 -94.5%   $    -     $        6   -100.0%   $      -     $      -     #DIV/0!   $         3   $         40    -93.6%   $    -     $       19   -100.0%   $    -     $    -     #DIV/0!   $         3   $         29    -91.1%   $     -     $       10   -100.0%   $    -     $    -     #DIV/0!
 -96.6%   $    -     $      405   -100.0%   $      -     $      631   -100.0%   $        47   $     1,304     -96.4%   $    -     $      287   -100.0%   $    -     $    510   -100.0%   $        47   $     1,088     -95.7%   $     -     $      163   -100.0%   $    500   $    -     #DIV/0!
#DIV/0!   $    -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $      -      $       -      #DIV/0!   $    -     $      -     #DIV/0!   $    -     $    -     #DIV/0!   $      -      $       -      #DIV/0!   $     -     $      -     #DIV/0!   $    -     $    -     #DIV/0!
#DIV/0!   $    -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $      -      $       -      #DIV/0!   $    -     $      -     #DIV/0!   $    -     $    -     #DIV/0!   $      -      $       -      #DIV/0!   $     -     $      -     #DIV/0!   $    -     $    -     #DIV/0!
-100.0%   $    -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $      -      $          2   -100.0%   $    -     $      -     #DIV/0!   $    -     $    -     #DIV/0!   $      -      $          2   -100.0%   $     -     $      -     #DIV/0!   $    -     $    -     #DIV/0!
 -95.7%   $     15   $    1,707    -99.1%   $      -     $    2,651   -100.0%   $      218    $     5,998     -96.4%   $     16   $    2,283    -99.3%   $    -     $ 1,792    -100.0%   $      176    $     3,873     -95.5%   $       5   $      968    -99.5%   $ 2,000    $ 1,155     73.1%
-100.0%   $    -     $      499   -100.0%   $      -     $      186   -100.0%   $      -      $     1,431    -100.0%   $    -     $      567   -100.0%   $    -     $    -     #DIV/0!   $      -      $       244    -100.0%   $     -     $       38   -100.0%   $    -     $    -     #DIV/0!
 -59.4%   $     10   $       24    -58.9%   $      -     $       10   -100.0%   $        74   $       272     -72.6%   $     10   $       52    -80.9%   $    -     $     11   -100.0%   $        61   $       208     -70.6%   $       5   $       12    -58.9%   $    -     $    -     #DIV/0!
 45.3%    $     10   $        7    47.8%    $      -     $      -     #DIV/0!   $        96   $         66    45.4%    $     10   $       13    -21.6%   $    -     $     34   -100.0%   $        78   $         77      1.9%   $      10   $        9    10.4%    $    100   $     42    138.1%
 174.0%   $     50   $       15    224.1%   $      -     $      -     #DIV/0!   $      296    $       109     172.1%   $     50   $       17    202.0%   $    -     $    -     #DIV/0!   $      218    $         82    164.5%   $      50   $       16    215.9%   $    150   $     86    73.7%
 -82.1%   $    -     $        7   -100.0%   $      -     $      -     #DIV/0!   $         6   $         25    -75.8%   $    -     $        9   -100.0%   $    -     $    -     #DIV/0!   $         6   $         47    -86.9%   $     -     $        9   -100.0%   $    -     $    -     #DIV/0!
 -99.6%   $    500   $      545     -8.3%   $    2,400   $      105   2187.9%   $    1,530    $     1,859     -17.7%   $    650   $      799    -18.6%   $    -     $    -     #DIV/0!   $      230    $       221       4.0%   $      40   $       41     -2.1%   $    -     $    -     #DIV/0!
 -75.1%   $     50   $      258    -80.6%   $      -     $      429   -100.0%   $      155    $     1,170     -86.7%   $     50   $      345    -85.5%   $    -     $     34   -100.0%   $        48   $       710     -93.3%   $      20   $      115    -82.6%   $    500   $    387    29.2%
 -91.5%   $    -     $      231   -100.0%   $      -     $       43   -100.0%   $        97   $       747     -87.0%   $    -     $      201   -100.0%   $    -     $     60   -100.0%   $        97   $       423     -77.0%   $     -     $      108   -100.0%   $    250   $    194    29.0%
 -96.6%   $    -     $      118   -100.0%   $      -     $      -     #DIV/0!   $        18   $       343     -94.6%   $    -     $      130   -100.0%   $    -     $    -     #DIV/0!   $        18   $         90    -79.5%   $     -     $       16   -100.0%   $    -     $    -     #DIV/0!
 -87.5%   $    620   $    1,704    -63.6%   $    2,400   $      773   210.4%    $    2,274    $     6,022     -62.2%   $    770   $    2,133    -63.9%   $    -     $    138   -100.0%   $      757    $     2,102     -64.0%   $     125   $      364    -65.6%   $ 1,000    $    709    41.0%
 -71.7%   $     40   $      176    -77.3%   $      -     $      193   -100.0%   $      207    $       866     -76.1%   $     40   $      247    -83.8%   $    -     $    222   -100.0%   $      127    $       592     -78.5%   $      20   $      102    -80.4%   $    -     $    142   -100.0%
 -83.5%   $     20   $      119    -83.1%   $      -     $      151   -100.0%   $      114    $       764     -85.1%   $     20   $      162    -87.6%   $    -     $    107   -100.0%   $        74   $       410     -82.0%   $      10   $       62    -83.8%   $    -     $     76   -100.0%
 -57.0%   $     25   $       63    -60.1%   $      -     $      188   -100.0%   $      158    $       552     -71.4%   $     25   $       90    -72.3%   $    -     $     82   -100.0%   $      106    $       434     -75.6%   $      15   $       44    -65.8%   $    -     $     75   -100.0%
 -71.6%   $    -     $       13   -100.0%   $      -     $       14   -100.0%   $        25   $         87    -71.0%   $    -     $       17   -100.0%   $    -     $     37   -100.0%   $        25   $       101     -75.3%   $     -     $       13   -100.0%   $    -     $     25   -100.0%
 -73.1%   $     85   $      370    -77.0%   $      -     $      548   -100.0%   $      503    $     2,269     -77.8%   $     85   $      515    -83.5%   $    -     $    448   -100.0%   $      332    $     1,537     -78.4%   $      45   $      220    -79.6%   $    -     $    318   -100.0%
 -97.3%   $    -     $       99   -100.0%   $      -     $       25   -100.0%   $        42   $     1,335     -96.9%   $    -     $      203   -100.0%   $    -     $    -     #DIV/0!   $        42   $     1,001     -95.8%   $     -     $      260   -100.0%   $    -     $     53   -100.0%
#DIV/0!   $    -     $      -     #DIV/0!   $      -     $      -     #DIV/0!   $      -      $       -      #DIV/0!   $    -     $      -     #DIV/0!   $    -     $    -     #DIV/0!   $      -      $       -      #DIV/0!   $     -     $      -     #DIV/0!   $    -     $    -     #DIV/0!
 -94.2%   $    -     $      343   -100.0%   $      -     $      896   -100.0%   $      142    $     2,983     -95.2%   $    -     $      730   -100.0%   $    -     $    556   -100.0%   $      142    $     2,235     -93.6%   $     -     $      446   -100.0%   $    -     $ 1,028    -100.0%
 -95.4%   $    -     $      442   -100.0%   $      -     $      922   -100.0%   $      184    $     4,318     -95.7%   $    -     $      933   -100.0%   $    -     $    556   -100.0%   $      184    $     3,237     -94.3%   $     -     $      705   -100.0%   $    -     $ 1,081    -100.0%
                           Case 20-18445-JKS                                       Doc 319 Filed 09/04/20 Entered 09/08/20 15:38:59                                                                                                 Desc Main
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FALL 2020 FORECAST
                 2020                                                                                                                                        2019       TY
TOTAL ECOM                                                                                                                                  TOTAL ECOM
                           S/S $     BOP_Rtl     BOP Comp    NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl      Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl     Sls Comp      TotMD %   MMU %      Rec_Rtl
AUGUST                     26.1    $80,855,088     6.9%     $12,395,000    -21.0%     149.4%   $5,499,258       -91.3%    $13,062,220       AUGUST                     19.3    $75,654,126      0.5%     $15,691,008       -1.8%        107.7%   59.6%   $63,278,477
SEPTEMBER                  26.1    $68,503,272    -36.5%    $13,098,588    -49.1%     138.7%   $36,226,386      -52.2%         $0           SEPTEMBER                  21.0    $107,816,741     15.8%    $25,716,073       -3.1%        114.6%   59.0%   $75,843,746
OCTOBER                    24.0    $73,469,590    -40.6%    $12,256,000    -47.9%     121.7%   $48,880,540      -31.6%         $0           OCTOBER                    21.0    $123,756,621     9.8%     $23,518,300        6.0%        121.9%   57.5%   $71,416,583
Q3                                                          $37,749,588    -41.9%     136.7%   $90,606,184      -57.0%    $13,062,220       Q3                                                           $64,925,381        0.3%        115.6%   58.6%   $210,538,807

                           S/S $     BOP_Rtl     BOP Comp    NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl      Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl     Sls Comp      TotMD %   MMU %     Rec_Rtl
NOVEMBER                   18.1    $95,180,239    -35.5%    $20,980,000    -29.0%     121.4%   $37,400,132       -7.7%        $0            NOVEMBER                   20.0    $147,469,898     0.5%     $29,565,774      -14.9%        126.4%   57.4%   $40,499,067
DECEMBER                   20.3    $86,127,860    -30.9%    $21,186,000    -33.7%     138.1%   $16,120,000      -36.5%        $0            DECEMBER                   19.5    $124,644,911     21.4%    $31,940,399       15.1%        157.1%   50.5%   $25,367,191
JANUARY                    20.8    $51,814,293    -31.1%    $9,982,000     -35.9%     140.7%   $29,170,000       -4.0%        $0            JANUARY                    19.3    $75,164,961      11.2%    $15,582,860       14.1%        187.9%   43.3%   $30,371,731
Q4                                                          $52,148,000    -32.4%     131.9%   $82,690,132      -14.1%        $0            Q4                                                           $77,089,034       1.2%         151.5%   51.7%   $96,237,989

                                    SEASON                  $89,897,588   -36.7%     133.9%    $173,296,316    -43.5%     $13,062,220                                            SEASON                  $142,014,415      0.8%        135.1%    54.9%   $306,776,796
                                                  TARGET    $90,314,088                        $172,380,818
FEBRUARY                           $56,957,308                                                                                              FEBRUARY                           $64,072,094

D41 Collection Wvn Jkts                V                                                                                                    D41 Collection Wvn Jkts                 V
                           S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                       S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl     Sls Comp      TotMD %   MMU %      Rec_Rtl
AUGUST                     26.8    $1,675,896      71.4%     $250,000      -24.4%     129.0%                   -100.0%     $947,829         AUGUST                     11.8      $977,569       3.4%       $330,720       -10.6%        100.0%   56.1%    $1,168,047
SEPTEMBER                  22.8    $2,051,225      29.5%     $450,000      -16.4%     115.0%     $515,542       -54.7%                      SEPTEMBER                  14.7     $1,584,164     -13.4%      $538,516         2.1%        101.2%   55.3%    $1,137,774
OCTOBER                    16.0    $1,599,267     -14.6%     $400,000       -0.1%     100.6%     $150,000        -4.4%                      OCTOBER                    18.7     $1,873,766      0.8%       $400,343        -3.3%        109.7%   53.7%     $156,913
Q3                                                          $1,100,000     -13.4%     112.9%     $665,542       -73.0%     $947,829         Q3                                                            $1,269,578       -3.2%        103.6%   55.0%    $2,462,733

                           S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER                   18.9     $946,867      -30.4%     $200,000      -22.2%     107.5%     $200,000        33.4%                      NOVEMBER                   21.2     $1,360,402      -6.9%     $257,152          -6.5%       106.3%   54.5%     $149,940
DECEMBER                   18.3     $731,867      -40.9%     $200,000      -32.7%     116.5%     $320,000       -22.7%                      DECEMBER                   20.8     $1,239,029      6.4%      $297,209           8.5%       131.6%   49.5%     $414,172
JANUARY                    15.5     $618,867      -45.1%     $160,000      -38.7%     125.2%     $800,000        -3.6%                      JANUARY                    17.3     $1,127,247      -6.3%     $260,800           4.8%       157.1%   43.3%     $830,156
Q4                                                           $560,000      -31.3%     115.8%    $1,320,000       -5.3%        $0            Q4                                                            $815,161           2.1%       131.8%   49.1%    $1,394,268

                                    SEASON                  $1,660,000    -20.4%     113.9%     $1,985,542     -48.5%      $947,829                                              SEASON                   $2,084,740       -1.2%       114.6%    52.7%    $3,857,001

FEBRUARY                           $1,058,547                                                                                               FEBRUARY                            $1,559,666

D42 Collection Wvn Tops                                                                                                                     D42 Collection Wvn Tops
                           S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
AUGUST                     33.1    $7,850,425      68.5%     $950,000      -21.4%     140.0%                   -100.0%    $1,042,162        AUGUST                     15.4     $4,659,105      30.9%     $1,208,345        4.6%        110.9%   61.6%    $3,581,764
SEPTEMBER                  24.5    $6,612,587      14.1%    $1,350,000     -18.4%     135.0%                   -100.0%                      SEPTEMBER                  17.5     $5,793,008      34.1%     $1,653,492        17.3%       132.5%   57.9%    $1,943,645
OCTOBER                    21.2    $3,440,087     -13.7%     $650,000      -20.1%     150.0%    $1,700,000      -40.6%                      OCTOBER                    19.6     $3,988,453      9.7%       $813,958        -14.7%       142.3%   55.9%    $2,860,355
Q3                                                          $2,950,000     -19.7%     139.9%    $1,700,000      -79.7%    $1,042,162        Q3                                                            $3,675,795        4.4%        127.6%   58.7%    $8,385,763

                           S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER                   20.1    $3,515,087     -29.0%     $700,000      -28.7%     115.0%    $2,000,000      -24.0%                      NOVEMBER                   20.2     $4,949,366     -15.2%      $981,386        -27.1%       124.3%   58.7%    $2,629,859
DECEMBER                   21.1    $4,010,087     -27.7%     $950,000      -29.8%     125.0%    $1,800,000       -7.2%                      DECEMBER                   20.5     $5,549,935      16.6%     $1,352,476        -2.8%       163.2%   50.4%    $1,938,870
JANUARY                    18.4    $3,672,587     -14.3%     $800,000      -15.5%     140.0%    $1,900,000        1.6%                      JANUARY                    18.1     $4,283,583      6.6%       $947,273         12.6%       176.4%   47.7%    $1,870,416
Q4                                                          $2,450,000     -25.3%     127.0%    $5,700,000      -11.5%        $0            Q4                                                            $3,281,135        -8.3%       155.4%   52.1%    $6,439,146

                                    SEASON                  $5,400,000    -22.4%     134.1%     $7,400,000     -50.1%     $1,042,162                                             SEASON                   $6,956,930       -2.0%       140.7%    55.6%   $14,824,909

FEBRUARY                           $3,652,587                                                                                               FEBRUARY                            $3,775,250

D43 Casual Wvn Tops                                                                                                                         D43 Casual Wvn Tops
                           S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
AUGUST                     26.5    $5,304,463     148.2%     $800,000       39.9%     135.0%                   -100.0%    $2,541,887        AUGUST                     15.0     $2,137,036     -41.4%      $571,655         -9.1%       83.9%    68.3%    $2,356,211
SEPTEMBER                  31.4    $5,966,350      62.3%     $950,000       3.1%      135.0%        $0         -100.0%                      SEPTEMBER                  19.9     $3,675,447     -17.8%      $921,756         -9.9%       107.7%   63.2%    $1,403,337
OCTOBER                    19.9    $3,733,850      9.8%      $750,000       12.1%     150.0%    $1,200,000      -12.6%                      OCTOBER                    20.3     $3,400,436      -9.1%      $669,268         20.6%       142.7%   56.6%    $1,372,492
Q3                                                          $2,500,000      15.6%     139.5%    $1,200,000      -76.6%    $2,541,887        Q3                                                            $2,162,679        -2.0%       112.2%   62.5%    $5,132,039

                           S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER                   35.0    $3,058,850      -6.4%     $350,000      -16.0%     115.0%     $500,000       -17.1%                      NOVEMBER                   31.4     $3,266,886     -10.6%      $416,781        -30.0%       120.0%   59.1%     $602,938
DECEMBER                   28.1    $2,806,350     -10.6%     $500,000      -15.0%     125.0%     $500,000       -13.6%                      DECEMBER                   26.7     $3,139,911      -1.9%      $588,459        -10.6%       159.5%   52.6%     $578,972
JANUARY                    21.8    $2,181,350     -12.8%     $400,000      -10.0%     135.0%     $750,000         2.3%                      JANUARY                    22.5     $2,500,452     -11.6%      $444,579        -12.4%       230.8%   40.6%     $733,279
Q4                                                          $1,250,000     -13.8%     125.4%    $1,750,000       -8.6%        $0            Q4                                                            $1,449,820       -17.7%       170.0%   50.8%    $1,915,189

                                    SEASON                  $3,750,000     3.8%      134.8%     $2,950,000     -58.1%     $2,541,887                                             SEASON                   $3,612,499       -9.0%       135.4%    57.8%    $7,047,228

FEBRUARY                           $1,991,350                                                                                               FEBRUARY                            $1,971,019

D44 Collection Knit Tops                                                                                                                    D44 Collection Knit Tops
                           S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
AUGUST                     25.3    $1,584,267      2.6%      $250,000      -42.0%     165.0%                   -100.0%      $65,203         AUGUST                     14.3     $1,543,961      30.8%      $431,122         20.6%       106.3%   62.7%    $1,214,126
SEPTEMBER                  49.3     $986,970      -47.9%     $100,000      -82.3%     165.0%                   -100.0%                      SEPTEMBER                  16.8     $1,894,194      33.2%      $564,204         23.1%       113.7%   59.9%     $725,152
OCTOBER                    28.9     $721,970      -53.3%     $100,000      -72.1%     120.5%    $1,500,000       16.4%                      OCTOBER                    17.3     $1,546,824      37.4%      $357,938         8.8%        135.5%   55.7%    $1,288,261
Q3                                                           $450,000      -66.7%     155.1%    $1,500,000      -53.5%      $65,203         Q3                                                            $1,353,264        18.2%       117.1%   59.7%    $3,227,539

                           S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER                   22.9    $2,001,470      -4.8%     $350,000       -8.8%     115.0%     $850,000       -12.1%                      NOVEMBER                   21.9     $2,102,102      -3.1%      $383,766        -22.9%       105.5%   61.0%     $967,366
DECEMBER                   21.0    $2,098,970      -7.9%     $500,000       -5.9%     125.5%     $750,000         0.6%                      DECEMBER                   21.4     $2,278,794      32.9%      $531,588         -8.6%       149.6%   54.3%     $745,358
JANUARY                    16.2    $1,721,470      -4.3%     $425,000       -7.3%     135.5%     $750,000         5.0%                      JANUARY                    15.7     $1,798,639      28.8%      $458,248         11.2%       169.7%   49.1%     $714,391
Q4                                                          $1,275,000      -7.2%     126.0%    $2,350,000       -3.2%        $0            Q4                                                            $1,373,602        -7.9%       144.0%   54.5%    $2,427,115

                                    SEASON                  $1,725,000    -36.7%     133.6%     $3,850,000     -31.9%       $65,203                                              SEASON                   $2,726,866       3.4%        130.7%    57.1%    $5,654,654

FEBRUARY                           $1,470,595                                                                                               FEBRUARY                            $1,391,523

D45 Comfort Tops                                                                                                                            D45 Comfort Tops
                           S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
AUGUST                     24.7    $3,092,452     179.3%     $500,000       31.7%     85.1%      $115,048       -89.1%    $1,095,323        AUGUST                     11.7     $1,107,196     -24.6%      $379,602         -8.9%       82.1%    65.0%    $1,056,047
SEPTEMBER                  19.9    $3,377,323     117.5%     $850,000       42.4%     103.1%        $0         -100.0%                      SEPTEMBER                  13.0     $1,553,050     -37.5%      $596,811          4.0%       104.1%   61.5%    $3,912,912
OCTOBER                    26.4    $1,650,973     -64.2%     $250,000      -57.5%     117.0%    $7,000,000       91.9%                      OCTOBER                    31.3     $4,606,765      14.3%      $588,845         -6.6%       117.2%   60.3%    $3,647,609
Q3                                                          $1,600,000      2.2%      99.6%     $7,115,048      -17.4%    $1,095,323        Q3                                                            $1,565,257        -3.4%       103.7%   61.9%    $8,616,569

                           S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER                   18.5    $8,108,473      14.2%    $1,750,000      11.9%     125.0%    $1,200,000      86.1%                       NOVEMBER                   18.2     $7,100,437     -16.9%     $1,563,356       -19.3%       163.0%   51.9%     $644,954
DECEMBER                   16.3    $5,370,973      18.6%    $1,650,000      18.5%     140.0%    $1,450,000      41.0%                       DECEMBER                   16.3     $4,530,329     -15.8%     $1,392,640         9.0%       183.2%   49.8%    $1,028,661
JANUARY                    16.3    $2,860,973      22.2%     $700,000       20.7%     145.0%    $1,900,000      63.9%                       JANUARY                    16.1     $2,340,874     -32.4%      $579,910        -18.3%       208.5%   44.9%    $1,159,033
Q4                                                          $4,100,000      16.0%     134.5%    $4,550,000      60.6%         $0            Q4                                                            $3,535,906        -9.9%       178.4%   50.0%    $2,832,649

                                    SEASON                  $5,700,000     11.7%     124.7%    $11,665,048      1.9%      $1,095,323                                             SEASON                   $5,101,164       -8.0%       155.5%    53.6%   $11,449,217

FEBRUARY                           $3,045,973                                                                                               FEBRUARY                            $2,214,011

D58 Comfort Bottoms                                                                                                                         D58 Comfort Bottoms
                           S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                       S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                     29.3    $1,831,924      30.5%     $250,000      -42.9%     105.1%     $115,048       -92.7%     $358,623         AUGUST                     12.8     $1,403,749     -21.8%      $437,553         31.0%       105.1%   59.8%   $1,565,877
SEPTEMBER                  27.6    $1,792,845     -17.5%     $325,000      -60.4%     116.7%     $84,165        -98.0%                      SEPTEMBER                  13.2     $2,173,448      2.9%       $820,894         23.3%       118.1%   57.0%   $4,192,641
OCTOBER                    10.4    $1,172,735     -76.1%     $450,000      -45.0%     117.0%    $7,500,000       53.9%                      OCTOBER                    24.0     $4,914,795      56.0%      $818,570         53.5%       117.1%   56.4%   $4,874,831
Q3                                                          $1,025,000     -50.7%     114.0%    $7,699,213      -27.6%     $358,623         Q3                                                            $2,077,017        35.5%       115.0%   57.4%   $10,633,350

                           S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                      S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER                   18.3    $7,696,235      -7.9%    $1,685,000      1.3%      125.0%    $1,200,000      42.0%                       NOVEMBER                   20.1     $8,356,651      23.3%     $1,663,848        0.0%        161.0%   52.2%     $845,246
DECEMBER                   16.5    $5,104,985      -5.1%    $1,550,000      6.7%      140.0%    $1,900,000      20.2%                       DECEMBER                   18.5     $5,381,856      37.7%     $1,453,068        26.5%       166.5%   50.3%    $1,580,324
JANUARY                    18.8    $3,284,985      -8.3%     $700,000       8.8%      140.0%    $2,500,000      55.2%                       JANUARY                    22.3     $3,584,224      38.5%      $643,664         12.9%       163.1%   49.8%    $1,610,990
Q4                                                          $3,935,000      4.6%      133.6%    $5,600,000      38.7%         $0            Q4                                                            $3,760,581        11.2%       163.5%   51.1%    $4,036,559

                                    SEASON                  $4,960,000    -15.0%     129.5%    $13,299,213      -9.3%      $358,623                                              SEASON                   $5,837,598      18.7%        146.2%    53.3%   $14,669,909

FEBRUARY                           $4,104,985                                                                                               FEBRUARY                            $3,881,394




                                                                                                                                        4
                            Case 20-18445-JKS                                        Doc 319 Filed 09/04/20 Entered 09/08/20 15:38:59                                                                                             Desc Main
                                                                                           Document    Page 658 of 691
TOTAL ACTIVE                                                                                                                                 TOTAL ACTIVE
                            S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                     S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                      26.3     $4,924,375      96.1%     $750,000       -8.2%     91.8%      $230,096       -91.2%    $1,453,947       AUGUST                     12.3    $2,510,946     -23.1%     $817,155         8.9%        94.4%    62.2%   $2,621,924
SEPTEMBER                   22.0     $5,170,168      38.7%    $1,175,000     -17.1%     106.9%      $84,165       -99.0%        $0           SEPTEMBER                  13.1    $3,726,498     -18.9%    $1,417,705        14.4%       112.2%   58.9%   $8,105,553
OCTOBER                     16.1     $2,823,708     -70.3%     $700,000      -50.3%     117.0%    $14,500,000      70.1%        $0           OCTOBER                    27.1    $9,521,560      32.6%    $1,407,415        20.9%       117.1%   58.0%   $8,522,441
Q3                                                            $2,625,000     -27.9%     105.3%    $14,814,261     -23.0%    $1,453,947       Q3                                                          $3,642,275        15.5%       110.1%   59.3%   $19,249,919

                            S/S $      BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                      S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                    18.4     $15,804,708     2.2%     $3,435,000      6.4%      125.0%    $2,400,000      61.1%        $0            NOVEMBER                   19.2    $15,457,088     0.9%     $3,227,204       -10.4%       161.9%   52.1%   $1,490,200
DECEMBER                    16.4     $10,475,958     5.7%     $3,200,000      12.5%     140.0%    $3,350,000      28.4%        $0            DECEMBER                   17.4    $9,912,184      6.7%     $2,845,709        17.3%       174.7%   50.1%   $2,608,985
JANUARY                     17.6     $6,145,958      3.7%     $1,400,000      14.4%     142.5%    $4,400,000      58.8%        $0            JANUARY                    19.4    $5,925,098      -2.1%    $1,223,575        -4.4%       184.6%   47.5%   $2,770,023
Q4                                                            $8,035,000      10.1%     134.0%    $10,150,000     47.8%        $0            Q4                                                          $7,296,487        -0.2%       170.7%   50.5%   $6,869,208

                                      SEASON                  $10,660,000    -2.5%     126.9%     $24,964,261     -4.4%     $1,453,947                                           SEASON                  $10,938,762      4.6%        150.5%    53.5%   $26,119,127

FEBRUARY                             $7,150,958                                                                                              FEBRUARY                           $6,095,404

D46 Casual Sweaters                                                                                                                          D46 Casual Sweaters
                            S/S $      BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                      S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                     #DIV/0!     $97,014      -77.4%        $0        -100.0%     100.5%                   -100.0%     $40,734         AUGUST                     13.4     $429,604      -36.1%     $128,602         0.2%        101.5%   62.8%   $3,763,366
SEPTEMBER                  #DIV/0!    $137,748      -96.5%        $0        -100.0%     106.5%    $14,986,536      47.7%                     SEPTEMBER                  17.0    $3,963,569      64.2%    $1,165,445        55.8%       106.7%   64.1%   $10,148,032
OCTOBER                     34.6     $15,124,284     32.6%    $1,750,000     -23.9%     100.5%    $5,000,000      -28.1%                     OCTOBER                    19.8    $11,408,908     22.9%    $2,300,816        17.7%       117.7%   62.6%   $6,958,325
Q3                                                            $1,750,000     -51.3%     100.5%    $19,986,536      -4.2%     $40,734         Q3                                                          $3,594,863        27.0%       113.6%   63.1%   $20,869,723

                            S/S $      BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                      S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                    15.1     $16,615,534     19.6%    $4,400,000      27.8%     130.0%    $4,000,000      50.7%                      NOVEMBER                   16.1    $13,893,795     0.6%     $3,442,159       -10.8%       164.7%   55.9%   $2,654,473
DECEMBER                    16.9     $10,495,534     33.9%    $3,100,000      30.1%     160.0%     $500,000        1.2%                      DECEMBER                   16.4    $7,836,427      14.5%    $2,383,314         6.8%       178.1%   50.7%    $494,018
JANUARY                     12.4     $2,935,534      -4.8%     $950,000       15.9%     160.0%     $320,000       14.6%                      JANUARY                    15.0    $3,082,981      35.8%     $819,793         14.7%       297.0%   24.2%    $279,243
Q4                                                            $8,450,000      27.2%     144.4%    $4,820,000      40.6%         $0           Q4                                                          $6,645,266        -2.4%       185.8%   50.2%   $3,427,734

                                      SEASON                  $10,200,000    -0.4%     136.9%     $24,806,536     2.1%       $40,734                                             SEASON                  $10,240,129      6.3%        160.5%    54.7%   $24,297,457

FEBRUARY                              $785,534                                                                                               FEBRUARY                            $933,731

D48 Collection Sweaters                                                                                                                      D48 Collection Sweaters
                           S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                      S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                     37.5       $468,189      -15.4%      $50,000      -84.0%     150.0%     $25,182        -99.2%     $222,202        AUGUST                      7.1     $553,668      -31.5%     $312,909         -1.4%       104.2%   63.7%   $3,232,391
SEPTEMBER                  118.1      $590,573      -80.3%      $25,000      -97.3%     150.0%        $0         -100.0%                     SEPTEMBER                  16.3    $3,003,375      11.3%     $923,801          6.0%       139.2%   58.9%   $4,209,990
OCTOBER                     3.2       $528,073      -89.3%     $650,000      -10.0%     110.0%    $4,200,000       21.1%                     OCTOBER                    27.2    $4,918,210      23.1%     $722,051        -14.8%       141.1%   56.0%   $3,467,682
Q3                                                             $725,000      -63.0%     114.1%    $4,225,182      -61.3%     $222,202        Q3                                                          $1,958,761        -3.8%       134.3%   58.6%   $10,910,063

                            S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                      S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                    14.9     $3,363,073     -52.3%     $900,000      -21.5%     115.0%    $1,600,000       2.9%                      NOVEMBER                   24.6    $7,057,334      23.2%    $1,146,696       -18.3%       169.4%   53.0%   $1,555,365
DECEMBER                    15.9     $3,028,073     -45.1%     $950,000      -20.5%     135.0%     $950,000        6.8%                      DECEMBER                   23.1    $5,519,466      42.6%    $1,195,673        -0.2%       190.6%   47.8%    $889,202
JANUARY                     19.9     $1,745,573     -32.6%     $350,000      -24.5%     160.0%     $600,000       29.0%                      JANUARY                    22.3    $2,589,107      41.2%     $463,435          1.8%       224.9%   39.2%    $465,295
Q4                                                            $2,200,000     -21.6%     130.8%    $3,150,000       8.3%         $0           Q4                                                          $2,805,804        -8.2%       187.6%   48.5%   $2,909,862

                                      SEASON                  $2,925,000    -38.6%     126.7%     $7,375,182     -46.6%      $222,202                                            SEASON                  $4,764,566       -6.4%       165.7%    52.7%   $13,819,925

FEBRUARY                             $1,435,573                                                                                              FEBRUARY                           $1,712,660

TOTAL SWEATERS                                                                                                                               TOTAL SWEATERS
                           S/S $       BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                      S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                     45.2       $565,203      -42.5%     $50,000       -88.7%     150.0%      $25,182       -99.6%    $262,936         AUGUST                      8.9     $983,272      -33.6%     $441,511         -0.9%       103.4%   63.5%   $6,995,757
SEPTEMBER                  145.7      $728,320      -89.5%     $25,000       -98.8%     150.0%    $14,986,536      4.4%        $0            SEPTEMBER                  16.7    $6,966,943      36.3%    $2,089,246        29.0%       121.1%   61.8%   $14,358,022
OCTOBER                    26.1      $15,652,356     -4.1%    $2,400,000     -20.6%     103.1%    $9,200,000      -11.8%       $0            OCTOBER                    21.6    $16,327,119     23.0%    $3,022,867         7.9%       123.3%   61.0%   $10,426,007
Q3                                                            $2,475,000     -55.4%     104.5%    $24,211,718     -23.8%    $262,936         Q3                                                          $5,553,624        14.1%       120.9%   61.5%   $31,779,786

                            S/S $      BOP_Rtl     BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                      S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                    15.1     $19,978,606     -4.6%    $5,300,000      15.5%     127.5%    $5,600,000      33.0%        $0            NOVEMBER                   18.3    $20,951,129     7.2%     $4,588,855       -12.8%       165.9%   55.2%   $4,209,838
DECEMBER                    16.7     $13,523,606     1.3%     $4,050,000      13.2%     154.1%    $1,450,000       4.8%        $0            DECEMBER                   18.7    $13,355,893     24.7%    $3,578,988         4.3%       182.3%   49.8%   $1,383,220
JANUARY                     14.4     $4,681,106     -17.5%    $1,300,000      1.3%      160.0%     $920,000       23.6%        $0            JANUARY                    17.7    $5,672,088      38.2%    $1,283,228         9.7%       271.0%   29.6%    $744,538
Q4                                                            $10,650,000     12.7%     141.6%    $7,970,000      25.8%        $0            Q4                                                          $9,451,071        -4.2%       186.3%   49.7%   $6,337,596

                                      SEASON                  $13,125,000   -12.5%     134.6%     $32,181,718    -15.6%      $262,936                                            SEASON                  $15,004,695      1.9%        162.1%    54.1%   $38,117,382

FEBRUARY                             $2,221,106                                                                                              FEBRUARY                           $2,646,390

D47 Casual Knit Tops                                                                                                                         D47 Casual Knit Tops
                            S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp       ADJ                                     S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                      16.8     $5,666,637     694.9%    $1,350,000     576.0%     180.0%    $1,389,577       53.0%    $2,115,817       AUGUST                     14.3     $712,902      -29.4%     $199,713        -30.3%       135.2%   59.8%    $908,158
SEPTEMBER                   27.0     $5,392,030     352.8%    $1,000,000     202.0%     160.0%     $281,792       -58.2%                     SEPTEMBER                  18.0    $1,190,903     -16.8%     $331,087        -31.1%       127.7%   61.6%    $674,866
OCTOBER                     18.9     $3,073,822     163.9%     $650,000      167.3%     150.0%     $300,000       -31.4%                     OCTOBER                    19.2    $1,164,585      25.7%     $243,136        -17.1%       137.2%   57.4%    $437,053
Q3                                                            $3,000,000     287.6%     166.8%    $1,971,369       -2.4%    $2,115,817       Q3                                                           $773,936        -27.0%       132.6%   59.8%   $2,020,077

                            S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                      S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                    23.3     $1,748,822      68.8%     $300,000       20.5%     150.0%     $450,000       -31.2%                     NOVEMBER                   16.6    $1,036,081     -24.6%     $248,973        -33.4%       122.3%   59.8%    $654,196
DECEMBER                    20.7     $1,448,822      22.8%     $350,000       -2.0%     150.0%     $300,000       -30.3%                     DECEMBER                   16.5    $1,179,848     -11.3%     $357,048        -16.3%       147.0%   55.3%    $430,568
JANUARY                     21.2      $873,822       6.0%      $165,000        1.6%     150.0%     $200,000        -8.2%                     JANUARY                    20.3     $824,588      -27.9%     $162,366        -39.0%       193.9%   46.4%    $217,968
Q4                                                             $815,000        6.1%     150.0%     $950,000       -27.1%        $0           Q4                                                           $768,387        -28.0%       148.9%   54.9%   $1,302,732

                                      SEASON                  $3,815,000    147.4%     163.2%     $2,921,369     -12.1%     $2,115,817                                           SEASON                  $1,542,323      -27.5%       140.7%    57.4%   $3,322,808

FEBRUARY                              $661,322                                                                                               FEBRUARY                            $595,114

D49 Casual Jackets                                                                                                                           D49 Casual Jackets
                            S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %        0         Rcpt Comp      ADJ                                      S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                      19.2      $479,461      108.4%     $100,000       29.3%     115.0%     $58,203        -86.9%     $216,621        AUGUST                     11.9     $230,061       56.5%      $77,318         64.0%       91.3%    59.3%    $444,495
SEPTEMBER                   22.5      $539,285       -4.2%     $120,000      -10.2%     115.0%       $0          -100.0%                     SEPTEMBER                  21.1     $562,979       12.0%     $133,690         -2.2%       91.4%    59.9%    $218,212
OCTOBER                     22.5      $281,285      -59.9%      $50,000      -35.7%     120.6%       $0          -100.0%                     OCTOBER                    36.1     $701,816       22.0%      $77,791          7.3%       123.1%   53.3%    $43,266
Q3                                                             $270,000       -6.5%     116.0%     $58,203        -91.8%     $216,621        Q3                                                           $288,799         12.7%       99.9%    58.0%    $705,973

                            S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                      S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                    27.4      $170,985      -70.5%      $25,000      -56.1%     114.5%        $0         #DIV/0!                     NOVEMBER                   40.7     $579,208       0.4%       $56,933         9.5%        115.7%   54.4%       $0
DECEMBER                    29.3      $117,360      -74.5%      $20,000      -73.3%     120.0%        $0         -100.0%                     DECEMBER                   30.7     $459,969       -4.8%      $75,032         23.1%       138.6%   48.4%    $108,492
JANUARY                     41.9      $73,360       -81.3%      $7,000       -84.9%     130.0%        $0         #DIV/0!                     JANUARY                    33.8     $391,907      -16.3%      $46,381         19.9%       156.8%   43.9%       $0
Q4                                                              $52,000      -70.8%     118.7%        $0         -100.0%        $0           Q4                                                           $178,346         17.6%       136.0%   49.2%    $108,492

                                      SEASON                   $322,000     -31.1%     116.5%      $58,203       -92.9%      $216,621                                            SEASON                   $467,145       14.5%        113.7%    54.6%    $814,465

FEBRUARY                              $57,260                                                                                                FEBRUARY                            $277,338

D50 Casual Woven Bottoms                                                                                                                     D50 Casual Woven Bottoms
                            S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                      S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                      49.5      $309,264       -0.8%      $25,000      -60.7%     120.0%        $0         -100.0%                     AUGUST                     19.6     $311,878      -38.5%      $63,657        -64.2%       102.8%   62.1%    $430,226
SEPTEMBER                   27.9      $254,264      -60.2%      $45,588      -70.3%     110.0%        $0         -100.0%                     SEPTEMBER                  20.8     $638,375      -58.9%     $153,387        -69.2%       99.3%    62.4%    $817,391
OCTOBER                     42.3      $158,530      -87.3%      $15,000      -91.0%     111.0%        $0         -100.0%                     OCTOBER                    30.0    $1,251,453      43.6%     $166,987        -33.4%       111.3%   60.4%    $283,652
Q3                                                              $85,588      -77.7%     113.1%        $0         -100.0%        $0           Q3                                                           $384,031        -58.6%       105.1%   61.5%   $1,531,268
                                                                                                                                                                                                                                                                      -42%
                            S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp      ADJ                                      S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                   #DIV/0!    $126,880      -89.5%        $0        -100.0%     116.0%        $0         -100.0%                     NOVEMBER                   27.3    $1,211,381     -14.9%     $177,376        -49.0%       116.2%   59.0%    $274,228
DECEMBER                   #DIV/0!    $126,880      -89.2%        $0        -100.0%     150.0%        $0         -100.0%                     DECEMBER                   30.2    $1,172,134      33.1%     $194,258        -22.6%       163.9%   50.7%    $45,560
JANUARY                    #DIV/0!    $126,880      -83.7%        $0        -100.0%     250.0%        $0         -100.0%                     JANUARY                    27.5     $780,234      120.4%     $113,316         9.9%        279.8%   29.1%    $48,965
Q4                                                                $0        -100.0%     #DIV/0!       $0         -100.0%        $0           Q4                                                           $484,949        -30.9%       173.5%   48.7%    $368,753

                                      SEASON                   $85,588      -90.2%     113.1%         $0         -100.0%        $0                                               SEASON                   $868,980       -46.7%       143.3%    54.3%   $1,900,022

FEBRUARY                              $126,880                                                                                               FEBRUARY                            $518,648




                                                                                                                                         5
                               Case 20-18445-JKS                                        Doc 319 Filed 09/04/20 Entered 09/08/20 15:38:59                                                                                                Desc Main
                                                                                              Document    Page 659 of 691
D51 Denim                                                                                                                                      D51 Denim
                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                         31.1     $3,499,653     -46.3%     $450,000      -56.6%     100.0%    $175,424       -95.2%                     AUGUST                         25.1    $6,512,607     -17.0%    $1,037,315       -40.9%       127.7%   57.7%   $3,653,471
SEPTEMBER                      18.5     $2,775,077     -65.4%     $750,000      -49.5%     100.0%   $3,027,568      171.8%                     SEPTEMBER                      27.0    $8,022,627      4.8%     $1,484,775       -32.0%       133.1%   56.7%   $1,113,758
OCTOBER                        22.9     $4,302,645     -33.2%     $750,000      -30.6%     110.5%       $0         -100.0%                     OCTOBER                        23.8    $6,441,321     -22.3%    $1,081,211       -13.9%       110.8%   58.9%   $2,190,671
Q3                                                               $1,950,000     -45.9%     104.0%   $3,202,992      -54.0%        $0           Q3                                                              $3,603,300       -30.6%       124.9%   57.6%   $6,957,900

                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                        5.4     $2,723,895     -61.6%    $2,000,000      59.3%     110.0%   $10,500,000    362.2%                      NOVEMBER                       22.6    $7,090,494     -34.6%    $1,255,362       -39.6%       123.4%   56.5%   $2,271,639
DECEMBER                       18.0     $9,023,895      32.0%    $2,500,000      61.2%     110.0%   $2,500,000     166.0%                      DECEMBER                       22.0    $6,834,516     -22.1%    $1,550,849       -25.3%       148.5%   51.4%    $939,961
JANUARY                        20.1     $6,273,895      45.9%    $1,250,000      57.6%     115.5%   $3,000,000     137.3%                      JANUARY                        21.7    $4,300,640     -30.7%     $793,152        -21.8%       190.1%   41.8%   $1,264,245
Q4                                                               $5,750,000      59.8%     111.2%   $16,000,000    257.5%         $0           Q4                                                              $3,599,363       -30.4%       148.9%   51.1%   $4,475,846

                                         SEASON                  $7,700,000     6.9%      109.4%    $19,202,992    68.0%          $0                                                   SEASON                  $7,202,663      -30.5%       136.9%    54.4%   $11,433,745

FEBRUARY                                $6,580,145                                                                                             FEBRUARY                               $3,807,835

D52 Knit Collection Bottoms                                                                                                                    D52 Knit Collection Bottoms
                               S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                        #DIV/0!     $745          -99.9%       $0        -100.0%     81.0%                   -100.0%                     AUGUST                          7.3     $695,592       9.0%      $383,626         20.1%       81.0%    64.9%   $2,538,303
SEPTEMBER                     #DIV/0!     $745         -100.0%       $0        -100.0%     112.2%       $0         -100.0%                     SEPTEMBER                      15.5    $2,870,295      37.5%     $923,379         -7.9%       122.3%   57.0%    $903,095
OCTOBER                         0.0       $745         -100.0%    $250,000      -60.6%     109.6%   $9,329,356      247.7%                     OCTOBER                        11.3    $1,791,600      32.6%     $634,944         11.7%       109.5%   60.2%   $2,682,929
Q3                                                                $250,000      -87.1%     109.6%   $9,329,356      52.3%         $0           Q3                                                              $1,941,949         2.7%       110.0%   59.6%   $6,124,327

                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                       23.5     $8,806,101     162.8%    $1,500,000      88.2%     125.0%       $0         -100.0%                     NOVEMBER                       16.8    $3,351,129      25.2%     $796,874        -33.8%       148.9%   53.0%   $1,729,389
DECEMBER                       18.7     $5,431,101      75.8%    $1,450,000      42.5%     165.0%       $0         -100.0%                     DECEMBER                       15.2    $3,090,221      62.1%    $1,017,492        -4.3%       225.7%   40.4%   $1,221,741
JANUARY                        11.6     $1,588,601      30.3%     $550,000       57.0%     135.0%                  #DIV/0!                     JANUARY                        13.9    $1,219,283      74.8%     $350,241        -32.5%       187.6%   47.8%       $0
Q4                                                               $3,500,000      61.7%     143.1%       $0         -100.0%        $0           Q4                                                              $2,164,606       -22.3%       191.3%   46.2%   $2,951,130

                                         SEASON                  $3,750,000     -8.7%     140.9%    $9,329,356      2.8%          $0                                                   SEASON                  $4,106,555      -12.2%       152.8%    52.5%   $9,075,456

FEBRUARY                                 $296,101                                                                                              FEBRUARY                                $359,842

D53 Audrey Pant                                                                                                                                D53 Audrey Pant
                               S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                         38.9     $2,428,915     184.3%     $250,000        9.7%     125.0%                  -100.0%     $360,945        AUGUST                         15.0     $854,390      -17.8%     $227,791         -5.4%       86.7%    64.4%    $410,367
SEPTEMBER                      29.7     $2,227,360     135.5%     $375,000        4.9%     125.0%    $210,244       -71.5%                     SEPTEMBER                      13.2     $945,790       -9.5%     $357,542         -4.1%       86.8%    64.2%    $738,492
OCTOBER                        22.8     $1,593,854      27.6%     $280,000       -7.6%     115.5%    $750,000       -33.7%                     OCTOBER                        16.5    $1,249,206      18.6%     $303,095         18.7%       117.6%   57.9%   $1,130,757
Q3                                                                $905,000        1.9%     122.1%    $960,244       -57.9%     $360,945        Q3                                                               $888,428          2.2%       97.3%    62.1%   $2,279,617

                               S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                       24.4     $1,740,454      0.2%      $285,000      -13.6%     105.0%    $700,000       -31.3%                     NOVEMBER                       21.1    $1,736,671      7.7%      $329,987         -8.0%       102.4%   60.2%   $1,019,528
DECEMBER                       26.5     $1,856,204      -8.8%     $350,000       -4.9%     112.0%    $500,000        16.5%                     DECEMBER                       27.7    $2,036,380      54.8%     $367,849         -4.4%       110.5%   58.6%    $429,274
JANUARY                        21.5     $1,614,204     -10.1%     $300,000        0.8%     120.0%    $600,000        36.3%                     JANUARY                        24.1    $1,794,559      75.9%     $297,643          7.0%       130.0%   55.5%    $440,321
Q4                                                                $935,000       -6.1%     112.4%   $1,800,000       -4.7%        $0           Q4                                                               $995,479         -2.6%       113.6%   58.2%   $1,889,123

                                         SEASON                  $1,840,000     -2.3%     117.2%    $2,760,244     -33.8%      $360,945                                                SEASON                  $1,883,908       -0.4%       105.9%    60.0%   $4,168,739

FEBRUARY                                $1,554,204                                                                                             FEBRUARY                               $1,651,578

D55 Woven Collection Bottoms                                                                                                                   D55 Woven Collection Bottoms
                               S/S $      BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp       ADJ                                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                         29.8     $11,530,405     29.9%    $1,550,000     -24.3%     147.0%    $922,610       -83.2%    $1,261,500       AUGUST                         17.3    $8,876,406     -10.2%    $2,047,216        -5.2%       108.4%   61.1%   $5,477,476
SEPTEMBER                      30.0     $9,886,014      -9.3%    $1,650,000     -42.0%     127.0%   $2,466,028      -46.8%                     SEPTEMBER                      19.2    $10,900,822     3.5%     $2,842,768        -8.9%       113.9%   60.6%   $4,637,964
OCTOBER                        23.0     $8,606,542     -16.4%    $1,500,000     -33.9%     125.4%   $4,000,000      -17.0%                     OCTOBER                        18.2    $10,293,476     9.2%     $2,268,216        10.7%       126.4%   57.1%   $4,816,838
Q3                                                               $4,700,000     -34.3%     133.1%   $7,388,638      -50.5%    $1,261,500       Q3                                                              $7,158,200        -2.3%       116.3%   59.6%   $14,932,278

                               S/S $      BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                       20.5     $9,225,542     -11.4%    $1,800,000     -10.1%     115.0%   $5,500,000       0.2%                      NOVEMBER                       20.8    $10,409,294     -7.5%    $2,001,316        -9.1%       109.1%   61.0%   $5,487,138
DECEMBER                       25.2     $10,855,542     -5.9%    $2,150,000      -7.3%     120.0%   $2,800,000       6.6%                      DECEMBER                       24.9    $11,538,713     38.8%    $2,319,055        25.2%       129.6%   58.1%   $2,627,315
JANUARY                        25.5     $8,925,542      -4.3%    $1,400,000      -9.3%     125.0%   $5,500,000      11.3%                      JANUARY                        24.2    $9,323,005      25.5%    $1,543,129        34.1%       147.6%   52.9%   $4,941,478
Q4                                                               $5,350,000      -8.8%     119.6%   $13,800,000      5.7%         $0           Q4                                                              $5,863,499        12.6%       127.3%   57.7%   $13,055,931

                                         SEASON                  $10,050,000   -22.8%     125.9%    $21,188,638    -24.3%     $1,261,500                                               SEASON                  $13,021,699      3.9%        121.3%    58.8%   $27,988,209

FEBRUARY                                $11,275,542                                                                                            FEBRUARY                               $10,653,753

TOTAL WTW PANTS                                                                                                                                TOTAL WTW PANTS
                               S/S $      BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp       ADJ                                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                         31.0     $13,960,065     33.9%    $1,800,000     -32.3%     143.9%    $922,610       -89.1%    $1,622,445       AUGUST                         15.7    $10,426,389     -9.8%    $2,658,633        -2.2%       102.6%   61.9%   $8,426,147
SEPTEMBER                      29.9     $12,114,119    -17.7%    $2,025,000     -50.9%     126.6%   $2,676,272      -57.4%        $0           SEPTEMBER                      17.8    $14,716,906     7.7%     $4,123,689        -8.3%       113.4%   60.1%   $6,279,551
OCTOBER                        20.1     $10,201,141    -23.5%    $2,030,000     -36.7%     122.1%   $14,079,356      63.1%        $0           OCTOBER                        16.6    $13,334,281     12.7%    $3,206,256        11.6%       122.2%   57.8%   $8,630,523
Q3                                                               $5,855,000     -41.4%     130.4%   $17,678,238     -24.2%    $1,622,445       Q3                                                              $9,988,578        -1.0%       113.4%   59.8%   $23,336,221

                               S/S $      BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                       22.1     $19,772,097     27.6%    $3,585,000      14.6%     118.4%   $6,200,000      -24.7%       $0            NOVEMBER                       19.8    $15,497,093     -0.3%    $3,128,177       -16.9%       118.5%   58.9%   $8,236,054
DECEMBER                       23.0     $18,142,847     8.9%     $3,950,000      6.6%      135.8%   $3,300,000      -22.9%       $0            DECEMBER                       22.5    $16,665,314     44.5%    $3,704,395        12.3%       154.1%   53.3%   $4,278,330
JANUARY                        21.6     $12,128,347     -1.7%    $2,250,000      2.7%      126.8%   $6,100,000       13.3%       $0            JANUARY                        22.5    $12,336,847     34.9%    $2,191,013        12.5%       151.6%   52.5%   $5,381,800
Q4                                                               $9,785,000      8.4%      127.4%   $15,600,000     -12.8%       $0            Q4                                                              $9,023,585        0.1%        141.2%   55.0%   $17,896,183

                                         SEASON                  $15,640,000   -17.7%     128.5%    $33,278,238    -19.3%     $1,622,445                                               SEASON                  $19,012,163      -0.5%       126.6%    57.5%   $41,232,404

FEBRUARY                                $13,125,847                                                                                            FEBRUARY                               $12,665,173

TOTAL CASUAL PANTS                                                                                                                             TOTAL CASUAL PANTS
                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                         32.1     $3,808,917     -44.2%     $475,000      -56.9%     101.1%    $175,424       -95.7%       $0            AUGUST                         24.8    $6,824,485     -18.3%    $1,100,972       -43.1%       126.3%   57.9%   $4,083,697
SEPTEMBER                      19.0     $3,029,341     -65.0%     $795,588      -51.4%     100.6%   $3,027,568       56.8%       $0            SEPTEMBER                      26.4    $8,661,002      -5.9%    $1,638,162       -38.9%       129.9%   57.2%   $1,931,148
OCTOBER                        23.3     $4,461,174     -42.0%     $765,000      -38.7%     110.5%       $0         -100.0%       $0            OCTOBER                        24.7    $7,692,773     -16.1%    $1,248,198       -17.2%       110.9%   59.1%   $2,474,323
Q3                                                               $2,035,588     -48.9%     104.4%   $3,202,992      -62.3%       $0            Q3                                                              $3,987,331       -34.9%       123.0%   58.0%   $8,489,168

                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl    Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                        5.7     $2,850,774     -65.7%    $2,000,000      39.6%     110.0%   $10,500,000    312.4%        $0            NOVEMBER                       23.2    $8,301,875     -32.3%    $1,432,737       -40.9%       122.5%   56.8%   $2,545,868
DECEMBER                       18.3     $9,150,774      14.3%    $2,500,000      43.3%     110.0%   $2,500,000     153.7%        $0            DECEMBER                       22.9    $8,006,651     -17.1%    $1,745,107       -25.0%       150.3%   51.4%    $985,521
JANUARY                        20.5     $6,400,774      26.0%    $1,250,000      37.9%     115.5%   $3,000,000     128.4%        $0            JANUARY                        22.4    $5,080,874     -22.6%     $906,468        -18.9%       201.3%   40.2%   $1,313,210
Q4                                                               $5,750,000      40.8%     111.2%   $16,000,000    230.3%        $0            Q4                                                              $4,084,312       -30.4%       151.9%   50.8%   $4,844,599

                                         SEASON                  $7,785,588     -3.5%     109.4%    $19,202,992    44.0%          $0                                                   SEASON                  $8,071,643      -32.7%       137.6%    54.4%   $13,333,767

FEBRUARY                                $6,707,024                                                                                             FEBRUARY                               $4,326,484

D56 Casual Skirts                                                                                                                              D56 Casual Skirts
                               S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                         19.3      $290,054       96.3%      $60,000       60.2%     125.0%                  -100.0%     $186,407        AUGUST                         15.8     $147,731      380.9%      $37,443        224.9%       87.0%    64.3%    $107,413
SEPTEMBER                      34.1      $341,461       67.4%      $50,000       26.9%     125.0%       $0         -100.0%                     SEPTEMBER                      25.9     $203,969       26.4%      $39,402         6.4%        112.1%   59.8%    $49,258
OCTOBER                        30.5      $228,961       9.6%       $30,000       20.8%     125.5%       $0         -100.0%                     OCTOBER                        33.6     $208,895      138.1%      $24,843         39.2%       130.3%   59.0%    $25,779
Q3                                                                $140,000       37.7%     125.1%       $0         -100.0%     $186,407        Q3                                                               $101,687         53.1%       107.3%   61.3%    $182,450

                               S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp      ADJ                                          S/S $    BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %    Rec_Rtl
NOVEMBER                       43.0      $161,311      -13.6%      $15,000      -10.9%     105.4%       $0         #DIV/0!                     NOVEMBER                       44.4     $186,740      286.9%      $16,839        -50.7%       107.1%   63.7%      $0
DECEMBER                       43.5      $130,501      -20.0%      $15,000      -20.4%     125.5%       $0         #DIV/0!                     DECEMBER                       43.3     $163,108      254.2%      $18,849        -30.1%       131.4%   59.1%      $0
JANUARY                        25.8      $96,676       -25.5%      $15,000      -10.6%     160.5%       $0         -100.0%                     JANUARY                        31.0     $129,853      1311.6%     $16,774         28.0%       163.5%   52.1%    $56,353
Q4                                                                 $45,000      -14.2%     130.5%       $0         -100.0%        $0           Q4                                                                $52,461        -29.3%       133.9%   58.4%    $56,353

                                         SEASON                   $185,000      20.0%     126.4%        $0         -100.0%     $186,407                                                SEASON                   $154,148        9.6%        116.3%    60.3%    $238,803

FEBRUARY                                 $57,601                                                                                               FEBRUARY                                $151,563




                                                                                                                                           6
                               Case 20-18445-JKS                                        Doc 319 Filed 09/04/20 Entered 09/08/20 15:38:59                                                                                               Desc Main
                                                                                              Document    Page 660 of 691
D57 Woven Collection Skirts                                                                                                                  D57 Woven Collection Skirts
                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                         S/S $      BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
AUGUST                         29.3     $1,464,199      66.6%    $200,000       2.7%      155.5%       $150        -100.0%    $296,287       AUGUST                         18.1       $878,788       21.7%    $194,719         27.0%       175.9%   43.9%      $552,819
SEPTEMBER                      34.7     $1,249,637      41.5%    $180,000      -13.9%     141.5%        $0         -100.0%                   SEPTEMBER                      21.1       $883,009      -26.2%    $209,052        -31.0%       161.1%   48.4%      $335,309
OCTOBER                        32.6      $814,937       20.2%    $100,000      -39.5%     121.0%        $0         -100.0%                   OCTOBER                        16.4       $677,967      -37.1%    $165,356        -36.3%       121.4%   58.6%      $424,196
Q3                                                               $480,000      -15.7%     143.1%       $150        -100.0%    $296,287       Q3                                                                $569,127        -20.5%       154.6%   49.8%     $1,312,324

                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                         S/S $      BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
NOVEMBER                       11.9      $593,937      -23.0%    $200,000      -12.0%     108.0%     $400,000       -13.4%                   NOVEMBER                       13.6       $770,966      -34.7%    $227,266        -21.8%       110.5%   61.0%      $462,079
DECEMBER                       14.4      $577,937      -27.9%    $200,000      -16.7%     115.0%     $100,000      128.3%                    DECEMBER                       16.7       $801,213      -15.5%    $240,084         -9.7%       133.7%   56.5%      $43,806
JANUARY                         8.3      $247,937      -29.9%    $120,000      -23.2%     135.0%     $550,000       -14.0%                   JANUARY                         9.1       $353,780      -38.7%    $156,291         11.6%       238.3%   35.0%      $639,661
Q4                                                               $520,000      -16.6%     116.9%    $1,050,000       -8.3%      $0           Q4                                                                $623,641        -10.5%       151.5%   52.8%     $1,145,546

                                         SEASON                  $1,000,000    -16.2%     129.5%    $1,050,150     -57.3%     $296,287                                                 SEASON                  $1,192,769     -15.6%       153.0%    51.4%     $2,457,870

FEBRUARY                                 $515,937                                                                                            FEBRUARY                                  $662,270

D59 Shorts                                                                                                                                   D59 Shorts
                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                         S/S $      BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
AUGUST                         18.1     $2,721,132     639.1%     $600,000     513.6%     200.0%     $247,000      #DIV/0!    $474,502       AUGUST                         15.1       $368,177      -29.3%     $97,779        -21.2%       193.1%    42.8%        $0
SEPTEMBER                      20.5     $1,642,634     1619.3%    $400,000    1874.7%     250.0%                   #DIV/0!                   SEPTEMBER                      23.6       $95,538       -48.5%     $20,256        -51.5%       356.9%    12.6%        $0
OCTOBER                        19.4      $242,634      3078.4%    $50,000     11719.8%    250.0%                   #DIV/0!                   OCTOBER                        72.2        $7,634       -94.1%      $423          -94.8%       891.5%   -99.2%        $0
Q3                                                               $1,050,000    786.4%     221.4%     $247,000      #DIV/0!    $474,502       Q3                                                                $118,458        -31.9%       223.6%    37.1%        $0

                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                          S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
NOVEMBER                      #DIV/0!    $67,634       1469.3%      $0        -100.0%      0.0%                    #DIV/0!      $0           NOVEMBER                        71.1      $4,310        -90.6%      $242          -96.1%       34.8%      72.9%       $0
DECEMBER                      #DIV/0!    $67,634       1527.0%      $0        -100.0%      0.0%                    #DIV/0!      $0           DECEMBER                      11,677.1    $4,157        -87.9%       $2          -100.0%      3267.4%   -614.0%       $0
JANUARY                       #DIV/0!    $67,634       1531.7%      $0        -100.0%      0.0%                    #DIV/0!      $0           JANUARY                        641.4      $4,145        -71.8%       $26          -99.5%      4629.2%   -852.0%       $0
Q4                                                                  $0        -100.0%     #DIV/0!       $0         #DIV/0!      $0           Q4                                                                  $270          -98.7%       496.0%    -20.1%       $0

                                         SEASON                  $1,050,000   784.4%      221.4%     $247,000      #DIV/0!    $474,502                                                 SEASON                  $118,728       -38.8%       224.2%    37.0%         $0

FEBRUARY                                 $67,634                                                                                             FEBRUARY                                   $2,985

D62 Dresses                                                                                                                                  D62 Dresses
                               S/S $      BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                         S/S $      BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
AUGUST                         27.4     $10,598,222    100.7%    $1,550,000     28.8%     140.0%     $888,187       -73.7%    $621,830       AUGUST                         17.6      $5,281,508      0.0%     $1,203,753       18.1%       139.8%   51.5%     $3,378,321
SEPTEMBER                      24.7     $8,388,239      42.4%    $1,700,000     18.1%     140.0%     $237,180       -90.5%                   SEPTEMBER                      20.5      $5,891,071      15.3%    $1,439,505       22.4%       122.7%   55.0%     $2,490,771
OCTOBER                        21.4     $4,545,419     -19.7%     $850,000     -21.1%     148.9%    $2,500,000       60.0%                   OCTOBER                        21.0      $5,657,762      24.2%    $1,077,826       42.6%       151.9%   51.2%     $1,562,265
Q3                                                               $4,100,000     10.2%     141.8%    $3,625,367      -51.2%    $621,830       Q3                                                                $3,721,084       26.1%       136.7%   52.8%     $7,431,357

                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                         S/S $      BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
NOVEMBER                       23.2     $4,929,769      4.8%      $850,000      -4.5%     120.0%    $1,100,000      -7.7%                    NOVEMBER                       21.1      $4,705,807      8.4%      $890,146        -3.7%       125.3%   57.5%     $1,191,185
DECEMBER                       21.2     $4,159,769      -5.5%     $980,000     -10.8%     138.0%    $1,500,000      -5.0%                    DECEMBER                       20.0      $4,402,493      2.3%     $1,098,136        4.9%       145.9%   51.4%     $1,579,007
JANUARY                        20.5     $3,327,369      -7.9%     $650,000      -7.1%     150.0%    $2,800,000      47.0%                    JANUARY                        20.7      $3,614,242      -2.4%     $699,695       -12.7%       191.7%   41.9%     $1,904,567
Q4                                                               $2,480,000     -7.7%     135.0%    $5,400,000      15.5%       $0           Q4                                                                $2,687,976       -3.0%       151.0%   50.9%     $4,674,759

                                         SEASON                  $6,580,000    2.7%       139.3%    $9,025,367     -25.4%     $621,830                                                 SEASON                  $6,409,060     12.0%        142.7%    52.0%     $12,106,116

FEBRUARY                                $4,502,369                                                                                           FEBRUARY                                 $3,722,983

D63 Outerwear                                                                                                                                D63 Outerwear
                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                         S/S $       BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
AUGUST                        #DIV/0!    $77,698       -98.2%        $0       -100.0%     98.5%          $0        -100.0%                   AUGUST                         171.0     $4,412,041      15.8%     $103,180       -45.2%       98.4%    58.6%     $7,378,016
SEPTEMBER                       0.8      $77,698       -99.3%     $500,000     -32.9%     115.5%    $10,011,760     235.6%                   SEPTEMBER                      77.8      $11,590,017    130.8%     $745,331       -12.5%       116.0%   57.0%     $2,983,549
OCTOBER                        37.9     $9,011,958     -31.2%     $950,000     -25.6%     108.0%    $2,851,184      31.1%                    OCTOBER                        41.0      $13,091,347     48.6%    $1,276,695       -0.4%       117.0%   56.9%     $2,175,063
Q3                                                               $1,450,000    -31.8%     110.6%    $12,862,944      2.6%       $0           Q3                                                                $2,125,207       -8.4%       115.7%   57.0%     $12,536,628

                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                         S/S $       BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
NOVEMBER                       20.3     $9,887,142     -22.1%    $1,950,000     -0.6%     145.0%    $3,100,132      329.6%                   NOVEMBER                       25.9      $12,685,540     11.7%    $1,961,873      -30.3%       171.3%   49.6%      $721,596
DECEMBER                       21.1     $8,209,774      5.8%     $1,950,000     -1.6%     185.0%        $0         -100.0%                   DECEMBER                       19.6      $7,756,942      96.0%    $1,981,956      112.6%       217.9%   39.2%      $265,608
JANUARY                        25.3     $2,652,274      38.7%     $420,000       0.8%     219.5%        $0         -100.0%                   JANUARY                        18.4      $1,912,058      4.5%      $416,756        23.6%       229.8%   33.7%      $337,520
Q4                                                               $4,320,000     -0.9%     170.3%    $3,100,132      134.0%      $0           Q4                                                                $4,360,585       6.7%        198.1%   43.4%     $1,324,724

                                         SEASON                  $5,770,000    -11.0%     155.3%    $15,963,076    15.2%        $0                                                     SEASON                  $6,485,792      1.2%        171.1%    47.8%     $13,861,352

FEBRUARY                                $1,310,374                                                                                           FEBRUARY                                 $1,381,714

D67 Body Shapers                                                                                                                             D67 Body Shapers
                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                         S/S $      BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
AUGUST                         19.2     $2,402,587     210.5%     $500,000     328.1%     125.0%     $936,572      300.2%     $808,893       AUGUST                         26.5       $773,753       14.7%    $116,808        -19.5%       91.6%    65.4%      $234,037
SEPTEMBER                      30.2     $3,023,053     299.7%     $500,000     136.2%     125.0%     $398,481       -15.0%                   SEPTEMBER                      17.9       $756,309       14.8%    $211,655          0.4%       106.6%   63.7%      $468,671
OCTOBER                        24.2     $2,296,534     129.8%     $380,000     110.2%     122.5%     $900,000        11.2%                   OCTOBER                        22.1       $999,325       10.3%    $180,776         -2.4%       124.5%   60.9%      $809,652
Q3                                                               $1,380,000    171.0%     124.3%    $2,235,053       47.8%    $808,893       Q3                                                                $509,239         -5.9%       109.5%   63.1%     $1,512,360

                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                         S/S $      BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
NOVEMBER                       23.5     $2,351,034      64.7%     $400,000      38.8%     125.0%     $900,000       -20.5%                   NOVEMBER                       19.8      $1,427,404      28.5%    $288,104         -0.1%       130.4%   60.8%     $1,132,238
DECEMBER                       29.4     $2,351,034      29.1%     $400,000      27.8%     135.0%     $250,000        11.9%                   DECEMBER                       29.1      $1,820,460      25.4%    $312,967        -10.5%       151.4%   57.0%      $223,352
JANUARY                        30.2     $1,661,034      12.0%     $220,000      41.6%     130.5%     $750,000        58.9%                   JANUARY                        38.2      $1,483,368      47.7%    $155,352          4.5%       166.3%   54.3%      $472,044
Q4                                                               $1,020,000     34.8%     130.1%    $1,900,000       4.0%       $0           Q4                                                                $756,423         -3.8%       146.5%   57.9%     $1,827,634

                                         SEASON                  $2,400,000    89.6%      126.8%    $4,135,053     23.8%      $808,893                                                 SEASON                  $1,265,662      -4.7%       131.6%    60.0%     $3,339,994

FEBRUARY                                $1,903,934                                                                                           FEBRUARY                                 $1,503,269

D68 Sweet Pea                                                                                                                                D68 Sweet Pea
                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                         S/S $      BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
AUGUST                         25.0     $2,502,596      5.7%      $400,000      0.7%      110.0%        $0         -100.0%                   AUGUST                         23.8      $2,367,523      16.6%     $397,307        25.3%       110.9%   56.0%      $102,185
SEPTEMBER                      20.8     $1,662,596      -1.2%     $400,000      2.6%      128.5%    $1,507,090       32.4%                   SEPTEMBER                      21.6      $1,682,030      18.2%     $389,885        -6.8%       148.2%   48.7%     $1,138,518
OCTOBER                        20.1     $2,255,686      16.5%     $450,000      1.0%      125.0%        $0         -100.0%                   OCTOBER                        17.4      $1,936,559      21.0%     $445,457        22.8%       182.8%   40.9%      $518,683
Q3                                                               $1,250,000     1.4%      121.3%    $1,507,090      -14.3%      $0           Q3                                                                $1,232,649       12.2%       148.7%   48.2%     $1,759,385

                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     Rcpt Comp     ADJ                                         S/S $      BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
NOVEMBER                       33.2     $1,243,186      -3.7%    $150,000       16.1%     95.5%      $800,000       -16.6%                   NOVEMBER                       40.0      $1,291,566      52.7%    $129,212          6.5%       93.2%    60.1%      $959,143
DECEMBER                       43.7     $1,749,936     -14.8%    $200,000       -9.2%     118.6%        $0         #DIV/0!                   DECEMBER                       46.6      $2,053,988      39.5%    $220,213         -5.8%       144.3%   50.0%         $0
JANUARY                        26.3     $1,312,736     -17.0%    $200,000       -3.7%     125.0%     $750,000        49.2%                   JANUARY                        30.5      $1,582,305      40.7%    $207,769         32.3%       246.3%   29.4%      $502,546
Q4                                                               $550,000       -1.3%     114.6%    $1,550,000       6.0%       $0           Q4                                                                $557,195          8.8%       170.5%   44.7%     $1,461,689

                                         SEASON                  $1,800,000    0.6%       119.3%    $3,057,090      -5.1%       $0                                                     SEASON                  $1,789,844     11.1%        155.5%    47.1%     $3,221,074

FEBRUARY                                $1,612,736                                                                                           FEBRUARY                                 $1,560,806

ECM Jewelry Total                                                                                                                            ECM Jewelry Total
                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      EOP_Rtl      ADJ                                         S/S $      BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
AUGUST                         67.6     $1,099,242     -20.5%     $65,000      -48.1%     95.9%         $0           -$4        $0           AUGUST                         44.1      $1,383,398     -12.7%    $125,338        -40.5%       92.5%    65.2%      $443,842
SEPTEMBER                      54.0      $971,922      -38.4%     $90,000      -53.8%     82.6%         $0           -$4        $0           SEPTEMBER                      40.5      $1,577,228     -20.9%    $194,750        -45.0%       79.2%    67.6%      $499,239
OCTOBER                        35.9      $807,572      -53.2%     $90,000      -53.6%     77.1%         $0           -$4        $0           OCTOBER                        35.6      $1,725,180     -23.4%    $193,839        -35.1%       74.7%    67.8%     $1,024,081
Q3                                                               $245,000      -52.3%     84.1%         $0                      $0           Q3                                                                $513,927        -40.5%       80.7%    67.1%     $1,967,162

                               S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      EOP_Rtl      ADJ                                         S/S $      BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %       Rec_Rtl
NOVEMBER                       30.5      $648,222      -73.1%     $85,000      -77.0%     70.6%         $0           -$4        $0           NOVEMBER                       26.1      $2,411,840     -31.3%     $370,222       -43.9%       87.0%    65.6%      $547,675
DECEMBER                       29.6      $503,197      -77.8%     $85,000      -83.5%     101.7%        $0           -$4        $0           DECEMBER                       22.0      $2,268,768     -17.6%     $515,359       -22.9%       124.3%   59.1%      $447,943
JANUARY                        29.5      $331,717      -78.4%     $45,000      -79.6%     152.2%        $0           -$4        $0           JANUARY                        27.9      $1,536,932      -3.5%     $220,186        20.5%       194.5%   46.3%      $318,461
Q4                                                               $215,000      -80.6%     100.0%        $0                      $0           Q4                                                                $1,105,767      -26.8%       125.8%   58.7%     $1,314,079

                                         SEASON                  $460,000      -71.6%     91.5%         $0           $0         $0                                                     SEASON                  $1,619,694     -31.8%       111.5%    61.4%     $3,281,241

FEBRUARY                                 $218,212                                                                                            FEBRUARY                                 $1,183,830




                                                                                                                                         7
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D72 Earrings                                                                                                                              D72 Earrings
                              S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $   BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                        61.6     $461,785       -4.2%     $30,000      -49.1%     100.0%       $0         -100.0%                   AUGUST                        32.7    $482,097       4.3%      $58,898        -37.5%       100.0%   68.0%    $191,094
SEPTEMBER                     50.2     $401,785      -27.8%     $40,000      -55.1%     68.0%        $0         -100.0%                   SEPTEMBER                     31.2    $556,331      -12.2%     $89,124        -40.3%       68.3%    73.7%    $184,594
OCTOBER                       33.5     $334,585      -44.5%     $40,000      -49.2%     59.0%        $0         -100.0%                   OCTOBER                       30.7    $603,161      -15.4%     $78,664        -37.6%       59.8%    74.6%    $479,666
Q3                                                             $110,000      -51.5%     73.5%        $0         -100.0%                   Q3                                                            $226,686        -38.7%       73.6%    72.5%    $855,353

                              S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $   BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                      27.1     $270,985      -71.7%     $40,000      -77.3%     61.0%                   -100.0%                   NOVEMBER                      21.7    $957,904      -20.0%    $176,478        -35.4%       61.6%    73.8%    $193,466
DECEMBER                      25.8     $206,585      -76.1%     $40,000      -83.8%     99.2%                   -100.0%                   DECEMBER                      17.5    $865,583       -6.3%    $246,646        -10.5%       99.1%    67.4%    $221,759
JANUARY                       25.4     $126,905      -78.5%     $20,000      -80.4%     145.6%                  -100.0%                   JANUARY                       23.2    $591,599       4.5%     $101,887         32.8%       156.4%   58.1%    $141,944
Q4                                                             $100,000      -81.0%     93.2%        $0         -100.0%                   Q4                                                            $525,011        -16.1%       97.6%    67.8%    $557,169

                                        SEASON                 $210,000     -72.1%      82.9%        $0         -100.0%       $0                                                 SEASON                 $751,697       -24.5%        90.4%    69.2%   $1,412,522

FEBRUARY                                $77,785                                                                                           FEBRUARY                              $453,289

D73 Necklaces                                                                                                                             D73 Necklaces
                              S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $   BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                        59.8     $299,046      -36.5%     $20,000      -51.8%     84.2%        $0         -100.0%                   AUGUST                        45.4    $470,902      -18.6%     $41,467        -41.6%       84.4%    65.1%    $171,921
SEPTEMBER                     43.7     $262,206      -53.7%     $30,000      -56.3%     90.5%        $0         -100.0%                   SEPTEMBER                     41.3    $566,792      -31.5%     $68,602        -43.2%       92.3%    63.2%    $214,412
OCTOBER                       27.3     $205,056      -68.2%     $30,000      -58.7%     94.5%        $0         -100.0%                   OCTOBER                       35.6    $645,757      -37.1%     $72,574        -31.6%       94.4%    62.4%    $381,013
Q3                                                              $80,000      -56.2%     90.4%        $0         -100.0%                   Q3                                                            $182,644        -38.7%       91.3%    63.4%    $767,346

                              S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $   BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                      29.3     $146,706      -83.5%     $20,000      -83.1%      65.0%                  -100.0%                   NOVEMBER                      30.0    $888,317      -45.9%    $118,554        -54.2%       128.4%   55.8%    $151,322
DECEMBER                      28.4     $113,706      -85.1%     $20,000      -87.6%      99.0%                  -100.0%                   DECEMBER                      23.6    $764,270      -30.1%    $161,597        -40.0%       175.5%   47.3%    $106,818
JANUARY                       29.6     $73,906       -82.0%     $10,000      -83.8%     145.0%                  -100.0%                   JANUARY                       26.6    $409,641       -4.7%     $61,600         -4.9%       296.7%   24.0%    $76,090
Q4                                                                          -100.0%     #DIV/0!      $0         -100.0%                   Q4                                                            $341,751        -42.4%       181.0%   46.0%    $334,230

                                        SEASON                  $80,000     -84.7%      149.6%       $0         -100.0%       $0                                                 SEASON                 $524,395       -41.2%       149.8%    52.1%   $1,101,575

FEBRUARY                                $49,406                                                                                           FEBRUARY                              $243,372

D74 Watches, Rings & Bracelets                                                                                                            D74 Watches, Rings & Bracelets
                              S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $   BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                         83.5    $313,294      -21.5%     $15,000      -25.5%     103.2%       $0         -100.0%                   AUGUST                         79.3   $399,122      -24.8%     $20,136        -53.1%       103.4%   54.0%    $58,423
SEPTEMBER                      70.7    $282,814      -30.4%     $20,000      -29.3%     100.0%       $0         -100.0%                   SEPTEMBER                      71.8   $406,178      -22.5%     $28,300        -65.1%       100.9%   54.7%    $70,252
OCTOBER                        48.6    $242,814      -40.5%     $20,000      -33.3%     87.0%        $0         -100.0%                   OCTOBER                        54.4   $408,117      -19.5%     $30,005        -53.3%       87.4%    57.8%    $127,915
Q3                                                              $55,000      -29.9%     96.1%        $0         -100.0%                   Q3                                                             $78,441        -58.4%       96.4%    55.7%    $256,590

                              S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $   BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                      32.9     $205,414      -57.0%     $25,000      -60.1%     90.5%                   -100.0%                   NOVEMBER                      30.5    $477,241      -26.2%     $62,611        -47.8%       91.9%    58.3%    $188,451
DECEMBER                      31.6     $157,789      -71.4%     $25,000      -72.3%     108.0%                  -100.0%                   DECEMBER                      30.5    $552,193      -23.5%     $90,411        -25.5%       118.1%   54.0%    $82,154
JANUARY                       28.2     $105,789      -75.6%     $15,000      -65.8%     165.9%                  -100.0%                   JANUARY                       39.6    $434,193      -26.0%     $43,895         9.7%        174.6%   43.0%    $75,157
Q4                                                              $65,000      -67.0%     114.6%       $0         -100.0%                   Q4                                                            $196,917        -30.0%       122.4%   52.9%    $345,762

                                        SEASON                 $120,000     -56.4%      106.2%       $0         -100.0%       $0                                                 SEASON                 $275,358       -41.4%       115.0%    53.7%    $602,352

FEBRUARY                                $65,904                                                                                           FEBRUARY                              $382,928

D75 Misc                                                                                                                                  D75 Misc
                              S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $    BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %    Rec_Rtl
AUGUST                       #DIV/0!    $25,117      -19.7%       $0        -100.0%      25.0%       $0         -100.0%                   AUGUST                        25.9     $31,277      162.9%     $4,837          92.2%       25.4%    79.0%    $22,404
SEPTEMBER                    #DIV/0!    $25,117      -47.6%       $0        -100.0%      18.0%       $0         -100.0%                   SEPTEMBER                     27.5     $47,928      354.1%     $8,724         195.4%       18.5%    80.7%    $29,981
OCTOBER                      #DIV/0!    $25,117      -63.1%       $0        -100.0%      23.0%       $0         -100.0%                   OCTOBER                       21.6     $68,145      956.6%     $12,595        471.6%       23.3%    80.0%    $35,488
Q3                                                                $0        -100.0%     #DIV/0!      $0         -100.0%                   Q3                                                             $26,157        240.9%       22.1%    80.0%    $87,873

                              S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $   BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %    Rec_Rtl
NOVEMBER                     #DIV/0!    $25,117      -71.6%                 -100.0%      28.6%                  -100.0%                   NOVEMBER                      28.1    $88,377       237.7%     $12,579         69.6%       28.6%    78.7%    $14,437
DECEMBER                     #DIV/0!    $25,117      -71.0%                 -100.0%      32.0%                  -100.0%                   DECEMBER                      26.0    $86,722       490.7%     $16,704        690.6%       32.7%    78.3%    $37,212
JANUARY                      #DIV/0!    $25,117      -75.3%                 -100.0%      74.2%                  -100.0%                   JANUARY                       31.7    $101,499      976.1%     $12,805       1012.0%       74.2%    71.6%    $25,270
Q4                                                                $0        -100.0%     #DIV/0!      $0         -100.0%                   Q4                                                             $42,088        294.1%       44.1%    76.4%    $76,919

                                        SEASON                    $0        -100.0%     #DIV/0!      $0         -100.0%       $0                                                 SEASON                  $68,245       271.8%        35.7%    77.8%    $164,792

FEBRUARY                                $25,117                                                                                           FEBRUARY                              $104,241

ECM Accessories Total                                                                                                                     ECM Accessories Total
                              S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl      EOP_Rtl       ADJ                                       S/S $    BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                        21.9     $2,540,452     78.1%     $465,000      76.4%     51.6%        $0         #DIV/0!    $361,776       AUGUST                        21.6    $1,426,627    -31.6%     $263,637       -12.9%       51.6%    58.1%   $1,780,011
SEPTEMBER                     28.5     $1,997,754    -27.2%     $351,000     -48.0%     45.7%        $0         #DIV/0!       $0          SEPTEMBER                     20.3    $2,742,290     0.9%      $674,656        24.2%       45.7%    61.2%   $3,946,518
OCTOBER                       28.4     $1,311,597    -77.3%     $185,000     -76.7%     66.3%        $0         #DIV/0!       $0          OCTOBER                       29.1    $5,778,685     7.8%      $794,313        17.1%       66.3%    58.9%   $2,892,538
Q3                                                             $1,001,000    -42.2%     93.4%        $0                    $361,776       Q3                                                            $1,732,606       13.7%       80.2%    59.6%   $8,619,067

                              S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl     EOP_Rtl      ADJ                                        S/S $    BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
NOVEMBER                       6.2      $966,106     -87.1%     $620,000     -56.0%     51.6%     $2,400,000    #DIV/0!      $0           NOVEMBER                      21.2    $7,465,782    -11.1%    $1,409,403      -35.7%       51.6%    57.9%   $1,293,244
DECEMBER                      14.8     $2,273,555    -65.8%     $770,000     -63.5%     45.7%         $0        #DIV/0!      $0           DECEMBER                      15.8    $6,650,152     3.5%     $2,110,863       -4.6%       45.7%    51.9%    $207,518
JANUARY                       24.2      $756,792     -72.5%     $125,000     -71.1%     66.3%     $1,000,000    #DIV/0!      $0           JANUARY                       25.5    $2,753,994     2.2%      $431,948        -8.2%       66.3%    32.6%    $709,279
Q4                                                             $1,515,000    -61.7%     97.1%     $3,400,000                 $0           Q4                                                            $3,952,215      -18.9%       109.5%   51.9%   $2,210,041

                                        SEASON                 $2,516,000   -55.7%      95.7%     $3,400,000      $0       $361,776                                              SEASON                 $5,684,821     -11.2%       100.5%    54.3%   $10,829,108

FEBRUARY                                #DIV/0!                                                                                           FEBRUARY                              $2,210,048

D81 Beauty                                                                                                                                D81 Beauty
                              S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $   BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %    Rec_Rtl
AUGUST                        85.1     $106,396      -37.5%     $5,000       -36.0%     15.4%                   #DIV/0!                   AUGUST                        87.2    $170,320       -5.6%     $7,809         -11.1%       15.4%    62.0%      $0
SEPTEMBER                     83.9     $100,625      -36.9%     $6,000       -48.8%     16.0%        $0         -100.0%                   SEPTEMBER                     68.0    $159,377       -6.7%     $11,726        -23.9%       16.0%    62.3%    $40,294
OCTOBER                       74.9     $93,668       -49.6%     $5,000       -60.5%     23.8%        $0         -100.0%                   OCTOBER                       58.7    $185,923       5.2%      $12,664         -7.0%       23.8%    60.1%    $44,855
Q3                                                              $16,000      -50.3%     18.2%        $0         -100.0%       $0          Q3                                                             $32,199        -14.8%       18.9%    61.3%    $85,150

                              S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $   BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %    Rec_Rtl
NOVEMBER                      35.0      $87,477      -59.4%     $10,000      -58.9%     30.0%                   -100.0%                   NOVEMBER                      35.4    $215,440      -29.9%     $24,311        -44.7%       30.0%    57.6%    $9,743
DECEMBER                      37.2      $74,476      -72.6%     $10,000      -80.9%     33.1%                   -100.0%                   DECEMBER                      26.0    $271,966       -3.5%     $52,281         10.0%       33.1%    56.5%    $10,778
JANUARY                       48.9      $61,164      -70.6%     $5,000       -58.9%     20.7%                   #DIV/0!                   JANUARY                       68.4    $208,098       -9.7%     $12,173         0.7%        20.7%    61.9%      $0
Q4                                                              $25,000      -71.8%     29.4%        $0         -100.0%       $0          Q4                                                             $88,765        -14.3%       30.6%    57.6%    $20,521

                                        SEASON                  $41,000     -66.1%      25.0%        $0         -100.0%       $0                                                 SEASON                 $120,964       -14.4%        27.5%    58.6%    $105,671

FEBRUARY                                $55,129                                                                                           FEBRUARY                              $193,754

D82 Sunglasses                                                                                                                            D82 Sunglasses
                              S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $   BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %    Rec_Rtl
AUGUST                        33.1     $206,675       52.5%     $25,000       26.7%     105.0%       $0         -100.0%                   AUGUST                        27.5    $135,495      -19.1%     $19,730        -50.5%       105.4%   59.1%    $14,400
SEPTEMBER                     51.8     $155,425       42.2%     $15,000       22.0%     79.0%        $0         #DIV/0!                   SEPTEMBER                     44.4    $109,275       5.1%      $12,298        -57.3%       79.0%    64.7%      $0
OCTOBER                       51.4     $128,575       47.3%     $10,000       44.0%     65.0%        $0         #DIV/0!                   OCTOBER                       50.3    $87,265        52.0%     $6,943         -54.9%       44.9%    71.8%      $0
Q3                                                              $50,000       28.3%     89.2%        $0         -100.0%       $0          Q3                                                             $38,972        -53.6%       86.3%    63.1%    $14,400

                              S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                        S/S $    BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %    Rec_Rtl
NOVEMBER                      44.8     $112,075       45.3%     $10,000       47.8%     60.5%                   #DIV/0!                   NOVEMBER                      45.6     $77,143       65.1%     $6,765         -63.6%       63.6%    67.8%      $0
DECEMBER                      48.0     $96,025        45.4%     $10,000      -21.6%     79.5%                   -100.0%                   DECEMBER                      25.9     $66,053       28.6%     $12,762        -20.5%       79.2%    65.2%    $33,530
JANUARY                       31.2     $78,075        1.9%      $10,000       10.4%     84.5%     $100,000       138.1%                   JANUARY                       33.8     $76,653       9.6%      $9,060         -22.9%       84.5%    64.6%    $42,000
Q4                                                              $30,000       4.9%      74.8%     $100,000       32.4%        $0          Q4                                                             $28,587        -38.4%       77.2%    65.6%    $75,530

                                        SEASON                  $80,000      18.4%      83.8%     $100,000      11.2%         $0                                                 SEASON                  $67,558       -48.2%        82.4%    64.2%    $89,930

FEBRUARY                               $159,625                                                                                           FEBRUARY                              $100,675




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D83 Belts                                                                                                                           D83 Belts
                        S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                  26.5     $562,375      245.8%     $85,000      340.5%      4.0%                   -100.0%    $141,244       AUGUST                  33.7     $162,635      -51.0%     $19,295        -13.1%       45.7%    73.7%     $70,112
SEPTEMBER               34.2     $615,218      200.3%     $90,000      222.6%     51.0%        $0         -100.0%                   SEPTEMBER               36.7     $204,848      -38.4%     $27,895        -13.9%       51.0%    71.7%     $6,709
OCTOBER                 27.4     $479,318      183.0%     $70,000      220.4%     54.0%        $0         #DIV/0!                   OCTOBER                 31.0     $169,360      -44.3%     $21,845        -41.9%       54.7%    72.1%       $0
Q3                                                       $245,000      254.9%     35.6%        $0         -100.0%    $141,244       Q3                                                        $69,035        -25.1%       50.7%    72.4%     $76,821

                        S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER                29.7     $371,518      174.0%     $50,000      224.1%     52.0%                   #DIV/0!                   NOVEMBER                35.2     $135,594      -49.9%     $15,427        -61.7%       52.7%    73.3%        $0
DECEMBER                29.6     $295,518      172.1%     $50,000      202.0%     56.0%                   #DIV/0!                   DECEMBER                32.8     $108,618      -55.2%     $16,559        -53.3%       56.9%    72.8%        $0
JANUARY                 17.4     $217,518      164.5%     $50,000      215.9%     200.0%    $150,000       73.7%                    JANUARY                 20.8     $82,234       -56.6%     $15,827        -12.2%       311.2%   29.4%     $86,377
Q4                                                       $150,000      213.7%     102.7%    $150,000       73.7%       $0           Q4                                                        $47,813        -49.0%       139.7%   58.6%     $86,377
                                                                                                                                                                                                                                                $0
                                  SEASON                 $395,000     238.0%      61.0%     $150,000       -8.1%     $141,244                                         SEASON                 $116,848       -37.2%        87.1%    66.7%     $163,198

FEBRUARY                         $217,518                                                                                           FEBRUARY                         $105,204

D84 Handbags                                                                                                                        D84 Handbags
                        S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %     Rec_Rtl
AUGUST                 #DIV/0!    $6,111       -95.3%       $0        -100.0%      52.0%       $0         -100.0%                   AUGUST                  19.7     $130,402      -11.7%     $26,511        -24.4%       52.0%    56.8%     $31,343
SEPTEMBER              #DIV/0!    $6,111       -95.0%       $0        -100.0%      73.8%       $0         #DIV/0!                   SEPTEMBER               19.7     $121,268       1.1%      $30,723        -28.8%       73.8%    48.2%       $0
OCTOBER                #DIV/0!    $6,111       -91.0%       $0        -100.0%     107.4%       $0         #DIV/0!                   OCTOBER                 16.8     $67,529       -33.8%     $16,109        -59.4%       107.4%   41.9%       $0
Q3                                                          $0        -100.0%     #DIV/0!      $0         -100.0%      $0           Q3                                                        $73,343        -37.8%       73.3%    49.9%     $31,343

                        S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER               #DIV/0!    $6,111       -82.1%       $0        -100.0%      38.7%       $0         #DIV/0!                   NOVEMBER                20.6      $34,097      -94.1%     $6,607         -93.8%       45.6%    54.5%        $0
DECEMBER               #DIV/0!    $6,111       -75.8%       $0        -100.0%      73.5%       $0         #DIV/0!                   DECEMBER                13.9      $25,273      -94.6%     $9,081         -94.3%       75.9%    47.8%        $0
JANUARY                #DIV/0!    $6,111       -86.9%       $0        -100.0%     107.0%       $0         #DIV/0!                   JANUARY                 20.5      $46,754      -80.2%     $9,140         -80.4%       166.8%   26.2%        $0
Q4                                                          $0        -100.0%     #DIV/0!      $0         #DIV/0!      $0           Q4                                                        $24,828        -92.0%       101.3%   41.6%        $0

                                  SEASON                    $0        -100.0%     #DIV/0!      $0         -100.0%      $0                                             SEASON                  $98,171       -77.1%        80.4%    47.8%     $31,343

FEBRUARY                          $6,111                                                                                            FEBRUARY                          $22,200

D85 Winterwear                                                                                                                      D85 Winterwear
                        S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
AUGUST                 #DIV/0!    $10,345      1707.9%      $0        -100.0%      16.0%                  #DIV/0!                   AUGUST                  68.7        $572        48.8%       $33          -73.8%       16.9%    67.4%        $0
SEPTEMBER              #DIV/0!    $10,345      1707.9%      $0        -100.0%      52.3%                  -100.0%                   SEPTEMBER               311.7       $572       129.2%       $9           130.1%       52.3%    57.3%    $1,682,910
OCTOBER                #DIV/0!    $10,345       -99.4%      $0        -100.0%      37.3%                  -100.0%                   OCTOBER                1,189.2   $1,683,342     54.7%     $5,662          39.7%       37.3%    77.1%     $796,710
Q3                                                          $0        -100.0%     #DIV/0!      $0         -100.0%      $0           Q3                                                        $5,705          36.4%       37.2%    77.0%    $2,479,620

                        S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl    Rcpt Comp     ADJ                                  S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER                 0.1      $10,345      -99.6%     $500,000      -8.3%     76.0%     $2,400,000    2187.9%                   NOVEMBER                18.2     $2,484,920     -7.7%     $545,090       -36.9%       76.3%    52.5%     $104,899
DECEMBER                11.8     $1,530,345    -17.7%     $650,000     -18.6%     100.0%                  #DIV/0!                   DECEMBER                11.6     $1,858,909     64.4%     $798,677        37.3%       104.3%   45.1%        $0
JANUARY                 23.0      $230,345      4.0%      $40,000       -2.1%     300.0%                  #DIV/0!                   JANUARY                 21.7      $221,464     119.9%     $40,868         56.3%       352.5%    -1.4%       $0
Q4                                                       $1,190,000    -14.1%     96.6%     $2,400,000    2187.9%      $0           Q4                                                       $1,384,635       -6.0%       100.6%   46.6%     $104,899

                                  SEASON                 $1,190,000   -14.4%      96.6%     $2,400,000     -7.1%       $0                                             SEASON                 $1,390,340      -5.8%       100.4%    46.8%    $2,584,519

FEBRUARY                          $70,345                                                                                           FEBRUARY                          $41,180

D86 Shoes                                                                                                                           D86 Shoes
                        S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
AUGUST                  18.8     $1,410,487    145.0%    $300,000      151.3%     115.0%                  -100.0%    $196,083       AUGUST                  19.3      $575,659     -40.3%    $119,372        -17.2%       93.2%    52.3%     $594,573
SEPTEMBER               21.4      $961,570      3.0%     $225,000      -26.5%     115.0%       $0         -100.0%                   SEPTEMBER               15.3      $934,008     -19.0%    $306,200         25.6%       60.5%    58.8%     $742,680
OCTOBER                 19.1      $477,820     -62.6%    $100,000      -70.2%     115.0%       $0         -100.0%                   OCTOBER                 15.2     $1,278,574     -7.2%    $335,443         46.7%       64.9%    56.3%     $259,978
Q3                                                       $625,000      -17.9%     115.0%       $0         -100.0%    $196,083       Q3                                                       $761,014         23.4%       67.5%    56.7%    $1,597,231

                        S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER                21.0     $262,820      -75.1%     $50,000      -80.6%     115.0%                  -100.0%                   NOVEMBER                16.4     $1,056,767    -26.2%    $257,581        -14.7%       63.1%    59.8%     $429,204
DECEMBER                15.5     $155,320      -86.7%     $50,000      -85.5%     115.0%                  -100.0%                   DECEMBER                17.0     $1,170,406    -31.0%    $345,043        -12.3%       88.0%    56.4%     $33,572
JANUARY                  9.6     $47,820       -93.3%     $20,000      -82.6%     115.0%    $500,000        29.2%                   JANUARY                 24.7      $710,292     -33.6%    $115,119        -35.8%       126.7%   45.2%     $387,092
Q4                                                       $120,000      -83.3%     115.0%    $500,000       -41.2%      $0           Q4                                                       $717,743        -17.9%       85.3%    55.8%     $849,868

                                  SEASON                 $745,000     -49.6%      115.0%    $500,000      -79.6%     $196,083                                         SEASON                 $1,478,757      -0.8%        76.1%    56.3%    $2,447,099

FEBRUARY                         $504,820                                                                                           FEBRUARY                         $827,869

D87 Soft Accessories                                                                                                                D87 Soft Accessories
                        S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
AUGUST                  17.6     $219,644      -10.2%     $50,000      -26.9%     128.1%                  -100.0%    $24,449        AUGUST                  14.3      $244,646     -16.8%     $68,403         29.8%       84.1%    63.5%     $988,930
SEPTEMBER               43.3     $130,040      -88.5%     $15,000      -94.4%     118.0%       $0         -100.0%                   SEPTEMBER               21.2     $1,134,938     39.7%    $267,851         59.5%       91.3%    63.4%    $1,358,587
OCTOBER                #DIV/0!   $97,340       -95.5%       $0        -100.0%     129.0%       $0         -100.0%                   OCTOBER                 24.0     $2,140,848     3.4%     $356,506         22.5%       119.1%   59.2%    $1,359,612
Q3                                                        $65,000      -90.6%     125.8%       $0         -100.0%    $24,449        Q3                                                       $692,760         35.4%       104.9%   61.3%    $3,707,129

                        S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER               #DIV/0!    $97,340      -96.7%                 -100.0%      85.0%                  -100.0%                   NOVEMBER                26.8     $2,914,759     14.2%     $435,776       -35.0%       106.7%   59.2%     $749,398
DECEMBER               #DIV/0!    $97,340      -96.5%                 -100.0%     103.0%                  -100.0%                   DECEMBER                18.8     $2,805,700     24.8%     $746,347       -14.2%       128.7%   53.2%     $129,638
JANUARY                #DIV/0!    $97,340      -92.6%                 -100.0%     210.0%    $250,000        29.0%                   JANUARY                 24.7     $1,318,814     80.3%     $213,859        25.5%       255.6%   28.0%     $193,810
Q4                                                          $0        -100.0%     #DIV/0!   $250,000       -76.7%      $0           Q4                                                       $1,395,982      -18.4%       141.3%   51.2%    $1,072,846

                                  SEASON                  $65,000     -96.9%      125.8%    $250,000      -94.8%     $24,449                                          SEASON                 $2,088,742      -6.0%       129.2%    54.6%    $4,779,975

FEBRUARY                         $347,340                                                                                           FEBRUARY                         $859,413

D88 Socks & Tights                                                                                                                  D88 Socks & Tights
                        S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
AUGUST                 #DIV/0!    $18,420      167.0%       $0        -100.0%      76.6%       $0         -100.0%                   AUGUST                  11.1      $6,898       3045.8%    $2,484       17137.0%       76.6%    65.7%     $80,653
SEPTEMBER              #DIV/0!    $18,420      -76.4%       $0        -100.0%      30.6%       $0         -100.0%                   SEPTEMBER               21.7     $78,003       209.3%     $17,954         53.5%       30.6%    71.6%     $115,338
OCTOBER                #DIV/0!    $18,420      -88.9%       $0        -100.0%      28.2%       $0         -100.0%                   OCTOBER                 16.9     $165,844       -10.6%    $39,141        -19.3%       28.2%    71.3%     $431,383
Q3                                                          $0        -100.0%     #DIV/0!      $0         -100.0%      $0           Q3                                                        $59,579         -1.0%       30.9%    71.1%     $627,374

                        S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER               #DIV/0!    $18,420      -96.6%                 -100.0%      42.1%                  #DIV/0!                   NOVEMBER                18.6     $547,062       5.8%     $117,845        -20.3%       60.1%    72.1%        $0
DECEMBER               #DIV/0!    $18,420      -94.6%                 -100.0%      64.0%                  #DIV/0!                   DECEMBER                13.2     $343,226       10.8%    $130,114         19.0%       93.3%    68.5%        $0
JANUARY                #DIV/0!    $18,420      -79.5%                 -100.0%      41.0%                  #DIV/0!                   JANUARY                 22.6     $89,686        34.4%     $15,903        145.3%       96.1%    55.8%        $0
Q4                                                          $0        -100.0%     #DIV/0!      $0         #DIV/0!      $0           Q4                                                       $263,862         0.1%        78.6%    69.3%        $0

                                  SEASON                    $0        -100.0%     #DIV/0!      $0         -100.0%      $0                                             SEASON                 $323,441        -0.1%        69.8%    69.7%     $627,374

FEBRUARY                          $18,420                                                                                           FEBRUARY                          $59,753

EVA Total                                                                                                                           EVA Total
                        S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                  S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
AUGUST                  21.7     $7,205,207     84.3%    $1,330,000     39.1%     243.9%       $0         -100.0%      $0           AUGUST                  16.4     $3,910,379    -24.0%     $955,959        12.2%       101.0%   58.8%    $1,871,315
SEPTEMBER               24.5     $2,631,457    -34.5%     $537,000     -54.3%     329.8%       $0         -100.0%      $0           SEPTEMBER               17.1     $4,019,074    -35.7%    $1,175,673      -16.2%       88.0%    61.0%    $2,269,309
OCTOBER                 49.7      $323,207     -92.4%     $26,000      -97.6%     150.0%       $0         -100.0%      $0           OCTOBER                 15.8     $4,242,948    -32.2%    $1,070,936       -0.4%       92.7%    59.8%    $3,713,400
Q3                                                       $1,893,000    -40.9%     267.0%       $0         -100.0%      $0           Q3                                                       $3,202,568       -3.8%       93.4%    59.9%    $7,854,024

                       S/S $     BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl    Rcpt Comp     ADJ                                  S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %   MMU %      Rec_Rtl
NOVEMBER               68.9      $258,207      -95.7%     $15,000      -99.1%     165.0%        $0        -100.0%      $0           NOVEMBER                14.1     $6,019,649    -22.3%    $1,706,686       51.3%       65.4%    65.2%    $2,651,018
DECEMBER               68.3      $218,457      -96.4%     $16,000      -99.3%     165.0%        $0        -100.0%      $0           DECEMBER                13.1     $5,998,305    -30.0%    $2,282,726       23.8%       119.6%   52.9%    $1,792,206
JANUARY                140.8     $176,057      -95.5%     $5,000       -99.5%     200.0%    $2,000,000      73.1%      $0           JANUARY                 16.0     $3,872,646    -20.3%     $968,391        -6.9%       136.6%   49.3%    $1,155,491
Q4                                                        $36,000      -99.3%     169.9%    $2,000,000     -64.3%      $0           Q4                                                       $4,957,803       23.6%       104.2%   56.4%    $5,598,716

                                  SEASON                 $1,929,000   -76.4%      265.2%    $2,000,000    -85.1%       $0                                             SEASON                 $8,160,370     11.1%        100.0%    57.8%    $13,452,740

FEBRUARY                            $1                                                                                              FEBRUARY                         $3,132,423




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D76 Eva Apparel                                                                                                                      D76 Eva Apparel
                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
AUGUST                   21.6     $5,938,741    111.3%    $1,100,000     35.7%     250.0%                  -100.0%                   AUGUST                   13.9     $2,810,938    -25.0%     $810,579        37.2%       101.1%    58.6%     $1,715,562
SEPTEMBER                23.2     $2,088,741    -32.1%     $450,000     -49.6%     350.0%                  -100.0%                   SEPTEMBER                17.2     $3,075,858    -39.5%     $893,038       -18.7%       85.8%     61.3%     $1,380,547
OCTOBER                 #DIV/0!    $63,741      -97.8%        $0       -100.0%     150.0%       $0         -100.0%                   OCTOBER                  13.2     $2,958,187    -40.5%     $896,274        6.1%        86.9%     60.9%     $3,116,404
Q3                                                        $1,550,000    -40.4%     279.0%       $0         -100.0%      $0           Q3                                                        $2,599,892       2.6%        90.9%     60.3%     $6,212,513

                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl    Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
NOVEMBER                #DIV/0!    $63,741      -98.6%       $0        -100.0%     165.0%        $0        -100.0%                   NOVEMBER                 14.2     $4,552,394    -32.9%    $1,281,058       49.6%       65.0%     65.5%     $2,020,383
DECEMBER                #DIV/0!    $63,741      -98.6%       $0        -100.0%     165.0%        $0        -100.0%                   DECEMBER                 11.8     $4,608,181    -32.5%    $1,960,088       39.7%       115.7%    53.9%     $1,281,888
JANUARY                 #DIV/0!    $63,741      -97.7%       $0        -100.0%     200.0%    $1,500,000      29.8%                   JANUARY                  13.9     $2,717,253    -33.6%     $784,465       -10.6%       130.8%    50.5%     $1,155,491
Q4                                                           $0        -100.0%     #DIV/0!   $1,500,000     -66.4%      $0           Q4                                                        $4,025,611       28.3%       102.5%    56.9%     $4,457,763

                                   SEASON                 $1,550,000   -76.6%      279.0%    $1,500,000    -85.9%       $0                                              SEASON                 $6,625,503     16.8%         98.0%     58.2%     $10,670,275

FEBRUARY                          $1,563,741                                                                                         FEBRUARY                          $2,503,403

D77 Eva Shoes                                                                                                                        D77 Eva Shoes
                         S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %      Rec_Rtl
AUGUST                   37.2     $372,385      470.6%     $40,000       86.1%     125.0%       $0         -100.0%                   AUGUST                   12.1      $65,261      -57.5%     $21,496         -0.4%       99.1%     68.4%      $42,318
SEPTEMBER                44.1     $282,385      265.1%     $32,000       -5.9%     125.0%       $0         -100.0%                   SEPTEMBER                11.4      $77,354      -57.1%     $34,007        -27.2%       76.4%     70.4%      $29,668
OCTOBER                  32.4     $210,385      193.8%     $26,000       -2.8%     150.0%       $0         #DIV/0!                   OCTOBER                  10.7      $71,607      -41.3%     $26,759        -29.4%       92.4%     67.6%        $0
Q3                                                         $98,000       19.1%     131.6%       $0         -100.0%      $0           Q3                                                         $82,262        -22.6%       87.6%     69.0%      $71,986

                         S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
NOVEMBER                 38.8     $145,385      289.5%     $15,000        4.4%     165.0%       $0         #DIV/0!                   NOVEMBER                 10.4      $37,327      -59.3%     $14,370        -48.0%       57.7%     72.4%         $0
DECEMBER                 33.0     $105,635      139.8%     $16,000       -6.1%     165.0%       $0         #DIV/0!                   DECEMBER                 12.9      $44,055       -7.2%     $17,040         28.6%       122.1%    61.2%         $0
JANUARY                  50.6     $63,235        74.1%     $5,000       -56.4%     200.0%       $0         #DIV/0!                   JANUARY                  12.7      $36,312      132.1%     $11,479         -9.8%       187.4%    49.5%         $0
Q4                                                         $36,000      -16.1%     169.9%       $0         #DIV/0!      $0           Q4                                                         $42,889        -20.0%       118.0%    61.9%         $0

                                   SEASON                 $134,000      7.1%       141.9%       $0         -100.0%      $0                                              SEASON                 $125,152       -21.7%        98.0%     66.5%      $71,986

FEBRUARY                           $48,235                                                                                           FEBRUARY                           $17,000

D78 Eva Accesories                                                                                                                   D78 Eva Accesories
                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %      Rec_Rtl
AUGUST                   11.2      $70,071      9947.2%    $25,000     6327.1%     125.0%       $0         #DIV/0!                   AUGUST                    7.2       $697        -99.5%      $389          -97.3%       108.6%     45.9%       $0
SEPTEMBER                13.8      $13,821      1881.7%    $5,000      6824.2%     125.0%       $0         #DIV/0!                   SEPTEMBER                48.3       $697        -99.6%       $72          -99.7%        10.7%     71.3%       $0
OCTOBER                 #DIV/0!    $2,571       268.7%       $0         #DIV/0!    150.0%       $0         -100.0%                   OCTOBER                 #DIV/0!     $697        -99.6%       $0          -100.0%       #DIV/0!   #DIV/0!    $45,970
Q3                                                         $30,000     6404.9%     125.0%       $0         -100.0%      $0           Q3                                                          $461          -99.1%       128.0%     40.9%     $45,970

                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
NOVEMBER                #DIV/0!    $2,571       -94.5%                 -100.0%     165.0%       $0         #DIV/0!                   NOVEMBER                 32.0      $46,508      -68.8%     $5,821         -73.1%       66.5%     51.2%         $0
DECEMBER                #DIV/0!    $2,571       -93.6%                 -100.0%     165.0%       $0         #DIV/0!                   DECEMBER                 10.7      $40,131      -60.6%     $18,834        -24.7%       108.4%    41.2%         $0
JANUARY                 #DIV/0!    $2,571       -91.1%                 -100.0%     200.0%       $0         #DIV/0!                   JANUARY                  11.9      $28,968       -8.8%     $9,741         -42.1%       266.2%     2.7%         $0
Q4                                                           $0        -100.0%     #DIV/0!      $0         #DIV/0!      $0           Q4                                                         $34,396        -45.8%       146.0%    32.0%         $0

                                   SEASON                  $30,000     -13.9%      125.0%       $0         -100.0%      $0                                              SEASON                  $34,857       -69.9%       145.7%     32.1%      $45,970

FEBRUARY                           $2,571                                                                                            FEBRUARY                           $3,621

D79 Eva Party                                                                                                                        D79 Eva Party
                         S/S $    BOP_Rtl      BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
AUGUST                   20.0     $824,011      -20.1%    $165,000       33.6%     250.0%       $0         -100.0%                   AUGUST                   33.4     $1,031,732     2.7%     $123,483        -38.3%       100.9%    58.6%      $113,436
SEPTEMBER                24.7     $246,511      -71.5%     $50,000      -79.9%     300.0%       $0         -100.0%                   SEPTEMBER                17.4      $863,449      13.8%    $248,555         8.1%        97.5%     58.6%      $859,094
OCTOBER                 #DIV/0!   $46,511       -96.2%       $0        -100.0%     150.0%       $0         -100.0%                   OCTOBER                  32.7     $1,210,740     26.6%    $147,903        -14.3%       127.9%    51.7%      $551,026
Q3                                                        $215,000      -58.6%     261.6%       $0         -100.0%                   Q3                                                        $519,941        -13.7%       106.9%    56.6%     $1,523,556

                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
NOVEMBER                #DIV/0!    $46,511      -96.6%       $0        -100.0%     165.0%       $0         -100.0%                   NOVEMBER                 13.6     $1,381,704     95.7%    $405,437         84.9%       66.8%     64.4%      $630,635
DECEMBER                #DIV/0!    $46,511      -96.4%       $0        -100.0%     165.0%       $0         -100.0%                   DECEMBER                 22.7     $1,304,221    -16.9%    $286,764        -28.1%       146.8%    46.5%      $510,318
JANUARY                 #DIV/0!    $46,511      -95.7%       $0        -100.0%     200.0%    $500,000      #DIV/0!                   JANUARY                  26.8     $1,088,395     54.7%    $162,706         25.1%       153.0%    46.0%         $0
Q4                                                           $0        -100.0%     #DIV/0!   $500,000       -56.2%                   Q4                                                        $854,907         14.3%       110.0%    54.9%     $1,140,953

                                   SEASON                 $215,000     -84.4%      261.6%    $500,000      -81.2%       $0                                              SEASON                 $1,374,848      1.8%        108.9%     55.5%     $2,664,509

FEBRUARY                          $546,511                                                                                           FEBRUARY                          $606,683

D89 Eva PLUS                                                                                                                         D89 Eva PLUS
D92                      S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ          D92                      S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
AUGUST                  #DIV/0!      $0         -100.0%      $0        -100.0%      0.0%                   #DIV/0!                   AUGUST                   637.2     $1,751       -98.4%       $11         -100.0%        54.6%     61.2%        $0
SEPTEMBER               #DIV/0!      $0         -100.0%      $0         #DIV/0!     0.0%                   #DIV/0!                   SEPTEMBER               #DIV/0!    $1,717       -96.7%       $0          -100.0%       #DIV/0!   #DIV/0!       $0
OCTOBER                 #DIV/0!      $0         -100.0%      $0         #DIV/0!     0.0%                   #DIV/0!                   OCTOBER                 #DIV/0!    $1,717       -96.2%       $0          -100.0%       #DIV/0!   #DIV/0!       $0
Q3                                                           $0        -100.0%     #DIV/0!      $0         #DIV/0!                   Q3                                                           $11         -100.0%        54.6%     61.2%        $0

                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %     Rec_Rtl     Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
NOVEMBER                #DIV/0!      $0         -100.0%      $0         #DIV/0!     0.0%                   #DIV/0!                   NOVEMBER                #DIV/0!    $1,717       -93.1%       $0          -100.0%       #DIV/0!   #DIV/0!       $0
DECEMBER                #DIV/0!      $0         -100.0%      $0         #DIV/0!     0.0%                   #DIV/0!                   DECEMBER                #DIV/0!    $1,717       -91.7%       $0          -100.0%       #DIV/0!   #DIV/0!       $0
JANUARY                 #DIV/0!      $0         -100.0%      $0         #DIV/0!     0.0%                   #DIV/0!                   JANUARY                 #DIV/0!    $1,717       -88.7%       $0          -100.0%       #DIV/0!   #DIV/0!       $0
Q4                                                           $0         #DIV/0!    #DIV/0!      $0         #DIV/0!                   Q4                                                           $0          -100.0%       #DIV/0!   #DIV/0!       $0

                                   SEASON                    $0        -100.0%     #DIV/0!      $0         #DIV/0!      $0                                              SEASON                    $11        -100.0%        54.6%     61.2%         $0

FEBRUARY                             $0                                                                                              FEBRUARY                           $1,717

Gabrielle Union Total                                                                                                                Gabrielle Union Total
                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl    Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
AUGUST                   13.6     $1,525,660    -37.0%     $450,000     -42.4%     95.0%      $626,257      -32.1%    $43,678        AUGUST                   12.4     $2,422,980    -45.6%     $780,693        20.8%       80.4%     58.2%      $922,815
SEPTEMBER                16.5     $1,318,095    -34.5%     $400,000     -36.4%     96.0%     $2,500,000      -5.3%      $0           SEPTEMBER                16.0     $2,011,381    -46.2%     $629,103        5.8%        92.0%     55.7%     $2,638,767
OCTOBER                  18.7     $3,034,095    -17.4%     $650,000     -35.1%     118.0%        $0        -100.0%      $0           OCTOBER                  14.7     $3,672,716    -25.5%    $1,001,248       5.2%        75.2%     60.7%     $2,782,532
Q3                                                        $1,500,000    -37.8%     105.2%    $3,126,257     -50.7%    $43,678        Q3                                                        $2,411,045       10.0%       81.3%     58.6%     $6,344,114

                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl    Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
NOVEMBER                 14.4     $1,617,095    -68.8%    $450,000      -70.0%     88.0%         $0        -100.0%      $0           NOVEMBER                 13.8     $5,182,490     15.9%    $1,501,047       55.4%       78.4%     59.5%     $1,222,036
DECEMBER                 11.0      $771,095     -81.2%    $350,000      -69.5%     98.0%         $0        -100.0%      $0           DECEMBER                 17.9     $4,101,697     -0.2%    $1,146,203       -3.6%       123.5%    48.6%      $672,035
JANUARY                  12.5      $78,095      -96.9%     $25,000      -96.8%     119.5%    $2,500,000      95.7%      $0           JANUARY                  13.1     $2,551,958     -7.0%     $779,691        70.1%       169.7%    37.6%     $1,277,347
Q4                                                        $825,000      -75.9%     93.2%     $2,500,000     -21.2%      $0           Q4                                                        $3,426,941       31.1%       114.3%    50.9%     $3,171,418

                                   SEASON                 $2,325,000   -60.2%      101.0%    $5,626,257    -40.9%     $43,678                                           SEASON                 $5,837,986     21.5%        100.6%     54.1%     $9,515,532

FEBRUARY                          $2,523,220                                                                                         FEBRUARY                          $2,331,594

D69 GU Apparel                                                                                                                       D69 GU Apparel
                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl    Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
AUGUST                   13.6     $1,525,660    -37.0%     $450,000     -42.4%     95.0%      $626,257      -32.1%    $43,678        AUGUST                   12.4     $2,422,980    -45.6%     $780,693        21.1%       80.4%     58.2%      $922,815
SEPTEMBER                16.5     $1,318,095    -34.5%     $400,000     -36.4%     96.0%     $2,500,000      -5.3%                   SEPTEMBER                16.0     $2,011,381    -45.8%     $629,103        6.1%        92.0%     55.7%     $2,638,767
OCTOBER                  18.7     $3,034,095    -17.4%     $650,000     -35.1%     118.0%        $0        -100.0%                   OCTOBER                  14.7     $3,672,716    -25.2%    $1,001,248       5.5%        75.2%     60.7%     $2,782,532
Q3                                                        $1,500,000    -37.8%     105.2%    $3,126,257     -50.7%    $43,678        Q3                                                        $2,411,045       10.3%       81.3%     58.6%     $6,344,114

                         S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl    Rcpt Comp     ADJ                                   S/S $     BOP_Rtl     BOP Comp   NetSls_Rtl   Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
NOVEMBER                 14.4     $1,617,095    -68.8%    $450,000      -70.0%     88.0%         $0        -100.0%                   NOVEMBER                 13.8     $5,182,490     17.6%    $1,501,047       55.8%       78.4%     59.5%     $1,222,036
DECEMBER                 11.0      $771,095     -81.2%    $350,000      -69.5%     98.0%         $0        -100.0%                   DECEMBER                 17.9     $4,101,697     1.3%     $1,146,203       -3.0%       123.5%    48.6%      $672,035
JANUARY                  12.5      $78,095      -96.9%     $25,000      -96.8%     119.5%    $2,500,000      95.7%                   JANUARY                  13.1     $2,551,958     -5.6%     $779,691        72.7%       169.7%    37.6%     $1,277,347
Q4                                                        $825,000      -75.9%     93.2%     $2,500,000     -21.2%      $0           Q4                                                        $3,426,941       32.0%       114.3%    50.9%     $3,171,418

                                   SEASON                 $2,325,000   -60.2%      101.0%    $5,626,257    -40.9%     $43,678                                           SEASON                 $5,837,986     22.1%        100.6%     54.1%     $9,515,532

FEBRUARY                          $2,523,220                                                                                         FEBRUARY                          $2,331,594




                                                                                                                                10
                           Case 20-18445-JKS                                         Doc 319 Filed 09/04/20 Entered 09/08/20 15:38:59                                                                                                   Desc Main
                                                                                           Document    Page 664 of 691
D71 GU Accessories                                                                                                                             D71 GU Accessories
                           S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ                                       S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
AUGUST                    #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%         $0          #DIV/0!                       AUGUST                    #DIV/0!       $0          #DIV/0!       $0           -100.0%       #DIV/0!   #DIV/0!       $0
SEPTEMBER                 #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%                     #DIV/0!                       SEPTEMBER                 #DIV/0!       $0          -100.0%       $0           -100.0%       #DIV/0!   #DIV/0!       $0
OCTOBER                   #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%                     #DIV/0!                       OCTOBER                   #DIV/0!       $0          -100.0%       $0           -100.0%       #DIV/0!   #DIV/0!       $0
Q3                                                               $0         #DIV/0!    #DIV/0!       $0          #DIV/0!        $0             Q3                                                                $0           -100.0%       #DIV/0!   #DIV/0!       $0

                           S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ                                       S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
NOVEMBER                  #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%                     #DIV/0!                       NOVEMBER                  #DIV/0!       $0          -100.0%       $0           -100.0%       #DIV/0!   #DIV/0!       $0
DECEMBER                  #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%                     #DIV/0!                       DECEMBER                  #DIV/0!       $0          -100.0%       $0           -100.0%       #DIV/0!   #DIV/0!       $0
JANUARY                   #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%                     #DIV/0!                       JANUARY                   #DIV/0!       $0          -100.0%       $0           -100.0%       #DIV/0!   #DIV/0!       $0
Q4                                                               $0         #DIV/0!    #DIV/0!       $0          #DIV/0!        $0             Q4                                                                $0           -100.0%       #DIV/0!   #DIV/0!       $0

                                     SEASON                      $0        #DIV/0!     #DIV/0!       $0          #DIV/0!        $0                                                   SEASON                      $0          -100.0%       #DIV/0!    #DIV/0!       $0

FEBRUARY                                $0                                                                                                     FEBRUARY                                $0

D92 GU PLUS                                                                                                                                    D92 GU PLUS
                           S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ            D93                        S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl     Sls Comp      TotMD %    MMU %       Rec_Rtl
AUGUST                    #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%                     #DIV/0!                       AUGUST                    #DIV/0!       $0          #DIV/0!       $0           #DIV/0!       #DIV/0!   #DIV/0!       $0
SEPTEMBER                 #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%                     #DIV/0!                       SEPTEMBER                 #DIV/0!       $0          #DIV/0!       $0           #DIV/0!       #DIV/0!   #DIV/0!       $0
OCTOBER                   #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%                     #DIV/0!                       OCTOBER                   #DIV/0!       $0          #DIV/0!       $0           #DIV/0!       #DIV/0!   #DIV/0!       $0
Q3                                                               $0         #DIV/0!    #DIV/0!       $0          #DIV/0!        $0             Q3                                                                $0           #DIV/0!       #DIV/0!   #DIV/0!       $0

                           S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ                                       S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
NOVEMBER                  #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%                     #DIV/0!                       NOVEMBER                  #DIV/0!       $0          #DIV/0!       $0            #DIV/0!      #DIV/0!   #DIV/0!       $0
DECEMBER                  #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%                     #DIV/0!                       DECEMBER                  #DIV/0!       $0          #DIV/0!       $0            #DIV/0!      #DIV/0!   #DIV/0!       $0
JANUARY                   #DIV/0!      $0          #DIV/0!       $0         #DIV/0!     0.0%                     #DIV/0!                       JANUARY                   #DIV/0!       $0          #DIV/0!       $0            #DIV/0!      #DIV/0!   #DIV/0!       $0
Q4                                                               $0         #DIV/0!    #DIV/0!       $0          #DIV/0!        $0             Q4                                                                $0            #DIV/0!      #DIV/0!   #DIV/0!       $0

                                     SEASON                      $0        #DIV/0!     #DIV/0!       $0          #DIV/0!        $0                                                   SEASON                      $0           #DIV/0!      #DIV/0!    #DIV/0!       $0

FEBRUARY                                $0                                                                                                     FEBRUARY                                $0

D27 KATE HUDSON GU PLUS                                                                                                                        D27 KATE HUDSON GU PLUS
                           S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ            D93                        S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl     Sls Comp      TotMD %    MMU %        Rec_Rtl
AUGUST                    #DIV/0!    $141,946      -89.4%        $0        -100.0%      0.0%                     -100.0%                       AUGUST                     26.7      $1,332,984     #DIV/0!    $199,574        #DIV/0!       121.4%    47.2%      $1,413,492
SEPTEMBER                 #DIV/0!    $141,946      -91.9%        $0        -100.0%      0.0%                     -100.0%                       SEPTEMBER                  24.8      $1,746,490     #DIV/0!    $351,638        #DIV/0!       119.0%    46.6%      $1,180,052
OCTOBER                   #DIV/0!    $141,946      -92.5%        $0        -100.0%      0.0%                     -100.0%                       OCTOBER                    28.0      $1,885,568     #DIV/0!    $269,197        #DIV/0!       272.7%    10.9%      $1,873,124
Q3                                                               $0        -100.0%     #DIV/0!       $0          -100.0%                       Q3                                                             $820,409        #DIV/0!       170.0%    35.0%      $4,466,668

                           S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ                                       S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %    MMU %        Rec_Rtl
NOVEMBER                  #DIV/0!    $141,946      -94.2%        $0        -100.0%      0.0%                     -100.0%                       NOVEMBER                   28.4      $2,434,261     #DIV/0!     $343,425        #DIV/0!      61.7%     61.0%       $896,246
DECEMBER                  #DIV/0!    $141,946      -95.2%        $0        -100.0%      0.0%                     -100.0%                       DECEMBER                   20.4      $2,982,592     #DIV/0!     $730,099        #DIV/0!      161.8%    34.5%       $555,596
JANUARY                   #DIV/0!    $141,946      -93.6%        $0        -100.0%      0.0%                     -100.0%                       JANUARY                    20.1      $2,235,343     #DIV/0!     $445,713        #DIV/0!      289.5%     2.2%      $1,027,938
Q4                                                               $0        -100.0%     #DIV/0!       $0          -100.0%                       Q4                                                             $1,519,238       #DIV/0!      176.6%    31.0%      $2,479,780

                                     SEASON                      $0        -100.0%     #DIV/0!       $0          -100.0%        $0                                                   SEASON                   $2,339,647      #DIV/0!      174.3%     32.4%      $6,946,448

FEBRUARY                             $141,946                                                                                                  FEBRUARY                             $1,900,482

D131 LINGERIE                                                                                                                                  D131 LINGERIE
D93                        S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ            D93                       S/S $       BOP_Rtl      BOP Comp    NetSls_Rtl     Sls Comp      TotMD %    MMU %        Rec_Rtl
AUGUST                    #DIV/0!    $42,023       -99.3%        $0        -100.0%      62.8%        $0          -100.0%                       AUGUST                    320.0      $6,263,737     #DIV/0!     $78,292        #DIV/0!       80.2%     56.1%      $1,795,833
SEPTEMBER                 #DIV/0!    $42,023       -99.4%        $0        -100.0%      62.8%        $0          -100.0%                       SEPTEMBER                 500.1      $7,628,216     #DIV/0!     $76,264        #DIV/0!       81.2%     56.9%      $2,551,305
OCTOBER                   #DIV/0!    $42,023       -97.2%        $0        -100.0%      70.8%        $0          -100.0%                       OCTOBER                   66.0       $1,513,001     #DIV/0!     $91,668        #DIV/0!        1.9%     86.0%       $309,307
Q3                                                               $0        -100.0%     #DIV/0!       $0          -100.0%                       Q3                                                             $246,223        #DIV/0!       51.4%     67.5%      $4,656,444

                           S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ                                       S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
NOVEMBER                  #DIV/0!    $42,023       -97.3%        $0        -100.0%      62.8%        $0          -100.0%                       NOVEMBER                   63.2      $1,558,806     #DIV/0!     $98,638         #DIV/0!       3.7%     85.4%       $25,499
DECEMBER                  #DIV/0!    $42,023       -96.9%        $0        -100.0%      62.8%        $0          #DIV/0!                       DECEMBER                   32.8      $1,335,358     #DIV/0!    $203,313         #DIV/0!       7.4%     81.2%         $0
JANUARY                   #DIV/0!    $42,023       -95.8%        $0        -100.0%      70.8%        $0          -100.0%                       JANUARY                    15.4      $1,001,446     #DIV/0!    $259,643         #DIV/0!       6.9%     80.4%       $53,394
Q4                                                               $0        -100.0%     #DIV/0!       $0          -100.0%                       Q4                                                             $561,594         #DIV/0!       6.5%     81.6%       $78,893

                                     SEASON                      $0        -100.0%     #DIV/0!       $0          -100.0%        $0                                                   SEASON                   $807,818        #DIV/0!       20.2%     77.3%      $4,735,337

FEBRUARY                             $42,023                                                                                                   FEBRUARY                             $479,989

ECM Exclusives Total                                                                                                                           ECM Exclusives Total
                           S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ                                       S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl     Sls Comp      TotMD %    MMU %       Rec_Rtl
AUGUST                    #DIV/0!   $2,424,359     -82.3%        $0        -100.0%                   $0          -100.0%        $0             AUGUST                     16.6     $13,678,774      18.9%    $3,299,382        18.6%        105.5%    60.8%     $11,498,055
SEPTEMBER                 #DIV/0!   $2,424,359     -86.7%        $0        -100.0%                   $0          -100.0%        $0             SEPTEMBER                  14.8     $18,218,073      15.3%    $6,147,356        4.8%         114.0%    60.0%     $18,515,221
OCTOBER                   #DIV/0!   $2,424,359     -89.4%        $0        -100.0%                   $0          -100.0%        $0             OCTOBER                    16.7     $22,807,420      9.7%     $5,478,554        12.9%        124.3%    58.6%     $17,094,331
Q3                                                               $0        -100.0%     #DIV/0!       $0          -100.0%                       Q3                                                            $14,925,292       10.6%        115.9%    59.7%     $47,107,607

                           S/S $     BOP_Rtl      BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ                                       S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl    Sls Comp (S)   TotMD %    MMU %       Rec_Rtl
NOVEMBER                  #DIV/0!   $2,424,359     -91.3%        $0        -100.0%                   $0          -100.0%        $0             NOVEMBER                   18.9     $27,823,504      7.2%     $5,900,708        -16.9%       120.3%    59.2%     $7,910,850
DECEMBER                  #DIV/0!   $2,424,359     -89.2%        $0        -100.0%                   $0          -100.0%        $0             DECEMBER                   18.8     $22,518,152      53.1%    $6,003,619         46.6%       168.1%    50.8%     $6,107,631
JANUARY                   #DIV/0!   $2,424,359     -80.1%        $0        -100.0%                   $0          -100.0%        $0             JANUARY                    16.8     $12,191,570      15.8%    $2,900,693         39.6%       184.2%    45.9%     $7,341,349
Q4                                                               $0        -100.0%     #DIV/0!       $0          -100.0%                       Q4                                                            $14,805,020        11.5%       152.2%    53.2%     $21,359,830

                                     SEASON                      $0        -100.0%     #DIV/0!       $0          -100.0%        $0                                                   SEASON                  $29,730,312      11.0%        134.0%     56.4%     $68,467,436

FEBRUARY                            $2,424,359                                                                                                 FEBRUARY                            $10,925,248

TOTAL W/O CELEBRITY                                                                                                                            TOTAL W/O CELEBRITY
                           S/S $      BOP_Rtl     BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ                                       S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl     Sls Comp      TotMD %    MMU %        Rec_Rtl
AUGUST                     27.2     $72,124,221     4.0%     $10,615,000    -23.9%     139.9%    $4,873,001       -91.9%    $13,018,541        AUGUST                     19.9     $69,320,767      5.5%     $13,954,356       -3.6%        109.7%    59.8%     $60,484,346
SEPTEMBER                  26.5     $64,553,719    -36.6%    $12,161,588    -49.1%     131.6%    $33,726,386      -52.5%         $0            SEPTEMBER                  21.3     $101,786,285     22.5%    $23,911,297       -2.6%        116.5%    59.0%     $70,935,671
OCTOBER                    24.2     $70,112,287    -39.5%    $11,580,000    -46.0%     121.8%    $48,880,540      -24.7%         $0            OCTOBER                    21.6     $115,840,956     14.1%    $21,446,115        6.3%        125.6%    57.3%     $64,920,652
Q3                                                           $34,356,588    -42.1%     130.9%    $87,479,927      -55.4%    $13,018,541        Q3                                                            $59,311,769        0.2%        118.2%    58.6%     $196,340,668

                           S/S $      BOP_Rtl     BOP Comp    NetSls_Rtl   Sls Comp   TotMD %      Rec_Rtl      Rcpt Comp       ADJ                                       S/S $      BOP_Rtl      BOP Comp    NetSls_Rtl     Sls Comp      TotMD %    MMU %       Rec_Rtl
NOVEMBER                   18.2     $93,304,936    -31.5%    $20,515,000    -22.2%     122.1%    $37,400,132       2.1%         $0             NOVEMBER                   20.7     $136,267,759     1.3%     $26,358,042      -19.2%        133.1%    56.8%     $36,626,013
DECEMBER                   20.4     $85,138,308    -25.7%    $20,820,000    -27.0%     138.7%    $16,120,000      -29.6%        $0             DECEMBER                   20.1     $114,544,910     27.3%    $28,511,470       15.4%        161.5%    50.4%     $22,902,949
JANUARY                    25.9     $51,560,140    -25.0%    $9,952,000     -28.1%     140.7%    $24,670,000      -11.7%        $0             JANUARY                    24.8     $68,740,357      14.6%    $13,834,779       13.7%        192.5%    43.2%     $27,938,893
Q4                                                           $51,287,000    -25.4%     132.5%    $78,190,132      -10.6%        $0             Q4                                                            $68,704,290       -1.2%        156.8%    51.4%     $87,467,856

                                     SEASON                  $85,643,588   -33.1%      131.8%    $165,670,059    -41.6%     $13,018,541                                              SEASON                  $128,016,059      -0.5%       138.9%     54.7%     $283,808,524

FEBRUARY                            $52,273,030                                                                                                FEBRUARY                            $61,011,655




                                                                                                                                          11
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                                  EXHIBIT H

See attached.
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 RTW Retailwinds, Inc.
 Document Request
 Data current as of 8/13/20 and will be updated upon closing




                                                                                                                                                                                   Store
 Entity Holding Balance                                    Deposit with                                 Description of the Deposit           Value of Deposit Value as of Date   Dependant
 RTW Retailwinds, Inc.           The Hartford                                       Worker's Compensation Insurance Claim Security Deposit         $45,925.00       8/13/2020        Y
 RTW Retailwinds, Inc.           Sedwick                                            Worker's Compensation Insurance Claim Security Deposit        $229,667.00       8/13/2020        Y
 Lerner New York, Inc            CON EDISON                                         Store 12 Electric Deposit                                       $5,474.06       8/13/2020        Y
 Lerner New York, Inc            THE MALL AT BAY PLAZA                              Store 45 Storage Unit Deposit                                   $5,000.00       8/13/2020        Y
 Lerner New York, Inc            CON EDISON                                         Store 60 Electric Deposit                                       $1,000.00       8/13/2020        Y
 Lerner New York, Inc            CON EDISON                                         Store 62 Electric Deposit                                       $3,345.00       8/13/2020        Y
 Lerner New York, Inc            ENERGYWORKS LANCASTER                              Store 65 Electric Deposit                                       $4,447.90       8/13/2020        Y
 Lerner New York, Inc            CON EDISON                                         Store 85 Electric Deposit                                       $9,375.39       8/13/2020        Y
 Lerner New York, Inc            MURFREESBORO ELEC                                  Store 126 Electric Deposit                                      $1,450.00       8/13/2020        Y
 Lerner New York, Inc            HL&P                                               Store 140 Electric Deposit                                        $159.78       8/13/2020        Y
 Lerner New York, Inc            PENN NATURAL GAS                                   Store 153 Gas Deposit                                             $180.00       8/13/2020        Y
 Lerner New York, Inc            FP&L                                               Store 163 Electrtic Deposit                                     $2,765.00       8/13/2020        Y
 Lerner New York, Inc            PEPCO                                              Store 177 Electric Deposit                                      $1,600.00       8/13/2020        Y
 Lerner New York, Inc            DUKE POWER                                         Store 189 Electric Deposit                                         $25.00       8/13/2020        Y
 Lerner New York, Inc            FPL                                                Store 191 Electric Deposit                                      $2,770.00       8/13/2020        Y
 Lerner New York, Inc            CITY OF TAMPA UTILITIES                            Store 193 Water Deposit                                         $4,010.00       8/13/2020        Y
 Lerner New York, Inc            Middllesex Tennessee                               Store 293 Electric Deposit                                      $1,170.00       8/13/2020        Y
 Lerner New York, Inc            Progress Energy                                    Store 294 Electric Deposit                                      $1,052.00       8/13/2020        Y
 Lerner New York, Inc            TXU                                                Store 315 Electric Deposit                                      $1,322.03       8/13/2020        Y
 Lerner New York, Inc            CG&E                                               Store 329 Electric Deposit                                        $874.81       8/13/2020        Y
 Lerner New York, Inc            CITY OF HIALEAH FLORIDA                            Store 346 Water Deposit                                         $3,767.00       8/13/2020        Y
 Lerner New York, Inc            CUMBERLAND MALL                                    Store 362 Misc Deposit                                          $1,850.00       8/13/2020        Y
 Lerner New York, Inc            CITY OF DAYTONA BEACH                              Store 369 Water Deposit                                         $5,209.00       8/13/2020        Y
 Lerner New York, Inc            Tuscon Electric Power                              Store 408 Electric Deposit                                     $11,788.00       8/13/2020        Y
 Lerner New York, Inc            EL PASO WATER UTILITIES                            Store 471 Water Deposit                                            $30.00       8/13/2020        Y
 Lerner New York, Inc            City of Trussville                                 Store 491 Gas Deposit                                             $115.00       8/13/2020        Y
 Lerner New York, Inc            FP&L                                               Store 519 Electrtic Deposit                                     $2,617.00       8/13/2020        Y
 Lerner New York, Inc            PPL UTILITIES                                      Store 530 Electric Deposit                                      $1,083.34       8/13/2020        Y
 Lerner New York, Inc            PIEDMONT NATURAL GAS                               Store 533 Gas Deposit                                             $179.95       8/13/2020        Y
 Lerner New York, Inc            Central Georiga EMC                                Store 573 Electric Deposit                                      $4,005.00       8/13/2020        Y
 Lerner New York, Inc            FP&L                                               Store 611 Electrtic Deposit                                     $3,421.00       8/13/2020        Y
 Lerner New York, Inc            CON EDISON                                         Store 612 Electric Deposit                                      $3,550.16       8/13/2020        Y
 Lerner New York, Inc            GEORGICA POWER                                     Store 662 Electric Deposit                                      $2,135.00       8/13/2020        Y
 Lerner New York, Inc            ENTERGY LOUSIANA                                   Store 667 Electric Deposit                                      $4,067.70       8/13/2020        Y
 Lerner New York, Inc            FP&L                                               Store 672 Electrtic Deposit                                     $2,199.00       8/13/2020        Y
 Lerner New York, Inc            Florida Power & Light                              Store 682 Electric Deposit                                      $6,101.00       8/13/2020        Y
 Lerner New York, Inc            NEVEDA POWER CO                                    Store 697 Electric Deposit                                        $650.00       8/13/2020        Y
 Lerner New York, Inc            COLUMBIA GAS OF OHIO                               Store 709 Gas Deposit                                             $827.00       8/13/2020        Y
 Lerner New York, Inc            Excel Energy                                       Store 728 Electic Deposit                                         $336.91       8/13/2020        Y
 Lerner New York, Inc            Nashvilee Electric                                 Store 732 Electric Deposit                                      $2,950.00       8/13/2020        Y



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                                                                                                                                                                         Store
 Entity Holding Balance                              Deposit with                                     Description of the Deposit   Value of Deposit Value as of Date   Dependant
 Lerner New York, Inc     Cross Keys Elec                                         Store 790 Electric Deposit                                $820.00       8/13/2020        Y
 Lerner New York, Inc     Riviera Utilities                                       Store 812 Electric Deposit                              $2,000.00       8/13/2020        Y
 Lerner New York, Inc     Florida Power & Light                                   Store 853 Electric Deposit                              $1,460.00       8/13/2020        Y
 Lerner New York, Inc     ENTERGY                                                 Store 876 Electrtic Deposit                             $2,094.00       8/13/2020        Y
 Lerner New York, Inc     FP&L                                                    Store 879 Electrtic Deposit                             $2,428.00       8/13/2020        Y
 Lerner New York, Inc     PEACHTREE MALL                                          Store 882 Misc Deposit                                  $5,535.13       8/13/2020        Y
 Lerner New York, Inc     FP&L                                                    Store 895 Electrtic Deposit                             $5,291.00       8/13/2020        Y
 Lerner New York, Inc     UGI Utilities                                           Store 921 Electric Deposit                              $1,390.00       8/13/2020        Y
 Lerner New York, Inc     ORLANDO UTILITIES                                       Store 932 Electric Deposit                              $4,058.46       8/13/2020        Y
 Lerner New York, Inc     Dixie electric                                          Store 946 Electric Deposit                              $2,915.00       8/13/2020        Y
 Lerner New York, Inc     ORLANDO UTILITIES                                       Store 3531 Electric Deposit                             $1,300.00       8/13/2020        Y
 Lerner New York, Inc     WE Energies                                             Store 3532 Electric Deposit                             $1,318.00       8/13/2020        Y
 Lerner New York, Inc     San Marcus Elec                                         Store 3533 Electric Deposit                               $100.00       8/13/2020        Y
 Lerner New York, Inc     FP&L                                                    Store 3534 Electrtic Deposit                            $1,605.00       8/13/2020        Y
 Lerner New York, Inc     Board of public works                                   Store 3537 Electric Deposit                             $2,050.00       8/13/2020        Y
 Lerner New York, Inc     FP&L                                                    Store 3538 Electrtic Deposit                            $1,559.00       8/13/2020        Y
 Lerner New York, Inc     Board of public works                                   Store 3539 Electric Deposit                               $337.99       8/13/2020        Y
 Lerner New York, Inc     CenterPoint Energy Minnegasco                           Store 3540 Electric Deposit                               $800.00       8/13/2020        Y
 Lerner New York, Inc     Town of Smithfield                                      Store 3541 Electric Deposit                             $2,400.00       8/13/2020        Y
 Lerner New York, Inc     MYRTLE BEACH OUTLET                                     Store 3547 Electric Deposit                             $1,500.00       8/13/2020        Y
 Lerner New York, Inc     DOLPHIN MALL OUTLETS                                    Store 3554 Electric Deposit                             $3,893.00       8/13/2020        Y
 Lerner New York, Inc     POTOMAC MILLS                                           Store 3564 Electric Deposit                             $2,300.00       8/13/2020        Y
 Lerner New York, Inc     GONZALES OUTLET                                         Store 3567 Electric Deposit                               $653.00       8/13/2020        Y
 Lerner New York, Inc     HILTON HEAD OUTLET                                      Store 3568 Electric Deposit                             $1,500.00       8/13/2020        Y
 Lerner New York, Inc     RIVERHEAD OUTLET                                        Store 3571 Electric Deposit                             $8,701.80       8/13/2020        Y
 Lerner New York, Inc     South Jersey Gas Company Deposit                        Store 3578 Gas Deposit                                    $258.00       8/13/2020        Y
 Lerner New York, Inc     FP&L                                                    Store 3580 Electrtic Deposit                            $1,907.00       8/13/2020        Y
 Lerner New York, Inc     GEORGIA POWER                                           Store 3582 Electric Deposit                             $2,000.00       8/13/2020        Y
 Lerner New York, Inc     Florida Power & Light Co                                Store 3587 Electric Deposit                             $4,755.00       8/13/2020        Y
 Lerner New York, Inc     The Empire District Electric                            Store 3588 Electric Deposit                             $2,000.00       8/13/2020        Y
 Lerner New York, Inc     Shelby Energy Cooperative, Inc                          Store 3589 Electric Deposit                             $3,310.00       8/13/2020        Y
 Lerner New York, Inc     Sevier County Utility Destrict/Service Count Electric   Store 3601 Ele/Gas Deposit                              $3,850.00       8/13/2020        Y
 Lerner New York, Inc     Washington Gas Deposit                                  Store 3604 Gas Deposit                                     $45.00       8/13/2020        Y
 Lerner New York, Inc     GEORGIA POWER                                           Store 3674 Electric Deposit                             $3,510.00       8/13/2020        Y
 Lerner New York, Inc     GEORGIA POWER                                           Store 3681 Electric Deposit                               $485.00       8/13/2020        Y
 Fashion to Figure, LLC   GEORGIA POWER                                           Store 2501 Electric Deposit                             $1,355.00       8/13/2020        Y
 Fashion to Figure, LLC   PSEGLI                                                  Store 2507 Electric Deposit                             $3,000.00       8/13/2020        Y
 Fashion to Figure, LLC   BGE an Excelon Company                                  Store 2517 Electric Deposit                               $963.00       8/13/2020        Y
 Lerner New York, Inc     MC/VISA                                                 Credit Card Deposits                                    $1,150.00       8/13/2020      Partial
 Lerner New York, Inc     Discover                                                Credit Card Deposits                                       $50.00       8/13/2020      Partial
 Lerner New York, Inc     PayPal                                                  Credit Card Deposits                                      $200.00       8/13/2020      Partial
 Lerner New York, Inc     ADS                                                     Credit Card Deposits                                      $150.00       8/13/2020      Partial
 Lerner New York, Inc     Duke Energy Carolinas                                   Utiltiy Deposit                                         $6,851.00       8/13/2020        Y
 Lerner New York, Inc     Duke Energy Ohio, Inc.                                  Utiltiy Deposit                                           $630.00       8/13/2020        Y
 Lerner New York, Inc     Duke Energy Kentucky, Inc.                              Utiltiy Deposit                                         $1,910.00       8/13/2020        Y
 Lerner New York, Inc     Piedmont Natural Gas Co                                 Utiltiy Deposit                                         $1,498.00       8/13/2020        Y
 Lerner New York, Inc     Progress Energy                                         Utiltiy Deposit                                         $6,464.00       8/13/2020        Y



Deposits                                                                                                                                                                     2 of 11
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                                                                                                                                                                           Store
 Entity Holding Balance                                   Deposit with                                  Description of the Deposit   Value of Deposit Value as of Date   Dependant
 Lerner New York, Inc            Progress Energy FL, LLC                              Utiltiy Deposit                                       $4,865.00       8/13/2020        Y
 Lerner New York, Inc            Centeral Georgia EMC                                 Utiltiy Deposit                                       $4,500.00       8/13/2020        Y
 Lerner New York, Inc            On Deposit with Wells Fargo Bank                     Utility Escrow                                      $168,000.00       8/13/2020        Y




 Notes:
   -Data as August 13, 2020 and will be updated as of closing
   -Professional Fees Escrow and any other retainers are not included




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RTW Retailwinds, Inc.
Document Request
Data as of Fiscal June dated 7/4/20 and will be updated upon closing




Entity Holding Balance                                      Prepaid with                                 Description of the Prepayment                   Value of Pre Payment        Valuation Date   Store Dependant
RTW Retailwinds, Inc.                                  Misc Taxing Authorities                                Prepaid Income tax                       $               190,065.09       7/4/2020           Partial
Lernco, Inc.                                           Misc Taxing Authorities                                Prepaid Income tax                       $               125,327.08       7/4/2020           Partial
Lerner New York, Inc                                   Misc Taxing Authorities                                Prepaid Income tax                       $                82,376.43       7/4/2020           Partial
Lerner New York, Inc                      MMP Mulimedia Plus                            Prepaid Subscription                                                           $137,182.50      7/4/2020             N
Fashion to Figure, LLC                    Landlord of Store 2507 - GREEN ACRES          Store 2507 - GREEN ACRES Misc Real Estate Related Prepaid                         $266.44       7/4/2020             Y
Fashion to Figure, LLC                    Landlord of Store 2509 - KINGS PLAZA          Store 2509 - KINGS PLAZA Misc Real Estate Related Prepaid                         $340.00       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 2 - BROADWAY MALL           Store 2 - BROADWAY MALL Misc Real Estate Related Prepaid                          $712.66       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 5 - PERIMETER MALL          Store 5 - PERIMETER MALL Misc Real Estate Related Prepaid                         $550.22       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 12 - CROSS COUNTY SHOPPING CStore 12 - CROSS COUNTY SHOPPING C Misc Real Estate Related Prepaid              $1,771.61      7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 15 - OAKRIDGE MALL          Store 15 - OAKRIDGE MALL Misc Real Estate Related Prepaid                         $778.11       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 22 - GREAT SOUTH BAY        Store 22 - GREAT SOUTH BAY Misc Real Estate Related Prepaid                      $1,232.24      7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 25 - WHITE MARSH MALL       Store 25 - WHITE MARSH MALL Misc Real Estate Related Prepaid                      $395.14       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 31 - KINGS PLAZA MALL       Store 31 - KINGS PLAZA MALL Misc Real Estate Related Prepaid                      $644.14       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 34 - NORTH STAR MALL        Store 34 - NORTH STAR MALL Misc Real Estate Related Prepaid                       $348.13       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 43 - VALLEY PLAZA           Store 43 - VALLEY PLAZA Misc Real Estate Related Prepaid                          $580.49       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 45 - BAY PLAZA              Store 45 - BAY PLAZA Misc Real Estate Related Prepaid                             $813.95       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 46 - WILLOWBROOK MALL       Store 46 - WILLOWBROOK MALL Misc Real Estate Related Prepaid                      $692.75       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 56 - IMPERIAL VALLEY MALL   Store 56 - IMPERIAL VALLEY MALL Misc Real Estate Related Prepaid                  $187.55       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 60 - PARKCHESTER            Store 60 - PARKCHESTER Misc Real Estate Related Prepaid                           $157.87       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 75 - STATEN ISLAND MALL     Store 75 - STATEN ISLAND MALL Misc Real Estate Related Prepaid                   $1,017.23      7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 79 - WOODBRIDGE CENTER      Store 79 - WOODBRIDGE CENTER Misc Real Estate Related Prepaid                     $755.12       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 84 - WESTFIELD TRUMBULL MALLStore 84 - WESTFIELD TRUMBULL MALL Misc Real Estate Related Prepaid              $1,716.10      7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 91 - ARBOR PLACE            Store 91 - ARBOR PLACE Misc Real Estate Related Prepaid                           $199.14       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 95 - GALLERIA               Store 95 - GALLERIA Misc Real Estate Related Prepaid                              $387.36       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 96 - WILLOW GROVE PARK      Store 96 - WILLOW GROVE PARK Misc Real Estate Related Prepaid                     $381.69       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 102 - MIDDLETOWN STATION Store 102 - MIDDLETOWN STATION Misc Real Estate Related Prepaid                      $638.47       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 103 - VICTORIA GARDENS      Store 103 - VICTORIA GARDENS Misc Real Estate Related Prepaid                     $171.34       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 109 - FIRST COLONY MALL     Store 109 - FIRST COLONY MALL Misc Real Estate Related Prepaid                    $568.24       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 111 - STREETS AT SOUTHPOINT Store 111 - STREETS AT SOUTHPOINT Misc Real Estate Related Prepaid                $649.31       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 135 - DANBURY FAIR MALL     Store 135 - DANBURY FAIR MALL Misc Real Estate Related Prepaid                    $644.95       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 136 - DEERBROOK MALL        Store 136 - DEERBROOK MALL Misc Real Estate Related Prepaid                       $831.44       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 140 - MEMORIAL CITY MALL    Store 140 - MEMORIAL CITY MALL Misc Real Estate Related Prepaid                   $338.32       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 141 - NESHAMINY MALL        Store 141 - NESHAMINY MALL Misc Real Estate Related Prepaid                       $499.08       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 152 - WESTLAND CENTER       Store 152 - WESTLAND CENTER Misc Real Estate Related Prepaid                      $917.61       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 177 - WHEATON               Store 177 - WHEATON Misc Real Estate Related Prepaid                             $1,052.69      7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 182 - PROMENADE AT TEMECULA Store 182 - PROMENADE AT TEMECULA Misc Real Estate Related Prepaid                $174.68       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 184 - PARAMUS PARK MALL     Store 184 - PARAMUS PARK MALL Misc Real Estate Related Prepaid                    $656.57       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 224 - COLONIE MALL          Store 224 - COLONIE MALL Misc Real Estate Related Prepaid                         $584.65       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 225 - MACARTHUR CENTER      Store 225 - MACARTHUR CENTER Misc Real Estate Related Prepaid                     $610.59       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 237 - GALLERIA AT SUNSET    Store 237 - GALLERIA AT SUNSET Misc Real Estate Related Prepaid                   $215.11       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 240 - SOUTHPARK MALL        Store 240 - SOUTHPARK MALL Misc Real Estate Related Prepaid                       $676.96       7/4/2020             Y
Lerner New York, Inc                      Landlord of Store 241 - BRANDON TOWN CTR      Store 241 - BRANDON TOWN CTR Misc Real Estate Related Prepaid                     $585.27       7/4/2020             Y




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Lerner New York, Inc        Landlord of Store 247 - HARLEM IRVING PLAZA Store 247 - HARLEM IRVING PLAZA Misc Real Estate Related Prepaid                         $4.68      7/4/2020             Y
Lerner New York, Inc        Landlord of Store 250 - BAYBROOK               Store 250 - BAYBROOK Misc Real Estate Related Prepaid                              $461.68       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 269 - MALL @ WELLINGTON GREENStore 269 - MALL @ WELLINGTON GREEN Misc Real Estate Related Prepaid               $764.85       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 281 - WESTFIELD CT POST      Store 281 - WESTFIELD CT POST Misc Real Estate Related Prepaid                     $841.41       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 293 - COLONIAL TOWN PARK Store 293 - COLONIAL TOWN PARK Misc Real Estate Related Prepaid                        $330.69       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 295 - SOLANO TOWN CTR        Store 295 - SOLANO TOWN CTR Misc Real Estate Related Prepaid                       $865.65       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 305 - SHOPS AT LA CANTERA Store 305 - SHOPS AT LA CANTERA Misc Real Estate Related Prepaid                      $526.20       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 316 - WILLOWBROOK MALL       Store 316 - WILLOWBROOK MALL Misc Real Estate Related Prepaid                     $1,497.44      7/4/2020             Y
Lerner New York, Inc        Landlord of Store 323 - COLUMBIA MALL          Store 323 - COLUMBIA MALL Misc Real Estate Related Prepaid                         $633.09       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 324 - WESTFIELD SUNRISE MALLStore 324 - WESTFIELD SUNRISE MALL Misc Real Estate Related Prepaid                 $896.96       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 329 - ROOKWOOD COMMONS Store 329 - ROOKWOOD COMMONS Misc Real Estate Related Prepaid                            $105.67       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 343 - VALLEY SQUARE          Store 343 - VALLEY SQUARE Misc Real Estate Related Prepaid                         $357.19       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 346 - WESTLAND MALL          Store 346 - WESTLAND MALL Misc Real Estate Related Prepaid                         $487.93       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 358 - NORTHWOODS MALL        Store 358 - NORTHWOODS MALL Misc Real Estate Related Prepaid                       $403.34       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 362 - CUMBERLAND MALL        Store 362 - CUMBERLAND MALL Misc Real Estate Related Prepaid                       $731.70       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 364 - CROSS CREEK MALL       Store 364 - CROSS CREEK MALL Misc Real Estate Related Prepaid                      $299.61       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 372 - ANTELOPE VALLEY MALL Store 372 - ANTELOPE VALLEY MALL Misc Real Estate Related Prepaid                    $180.68       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 383 - GREENVILLE MALL        Store 383 - GREENVILLE MALL Misc Real Estate Related Prepaid                       $287.22       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 393 - MAINPLACE MALL         Store 393 - MAINPLACE MALL Misc Real Estate Related Prepaid                        $657.02       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 394 - SPRINGFIELD MALL       Store 394 - SPRINGFIELD MALL Misc Real Estate Related Prepaid                      $562.28       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 399 - DEPTFORD MALL          Store 399 - DEPTFORD MALL Misc Real Estate Related Prepaid                         $495.73       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 408 - PARK PLACE MALL        Store 408 - PARK PLACE MALL Misc Real Estate Related Prepaid                       $564.45       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 414 - MONTCLAIR PLAZA        Store 414 - MONTCLAIR PLAZA Misc Real Estate Related Prepaid                       $337.48       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 418 - PROVIDENCE PLACE MALLStore 418 - PROVIDENCE PLACE MALL Misc Real Estate Related Prepaid                   $735.52       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 419 - YONKERS GATEWAY CENTER Store 419 - YONKERS GATEWAY CENTER Misc Real Estate Related Prepaid                $554.18       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 427 - FAIR OAKS MALL         Store 427 - FAIR OAKS MALL Misc Real Estate Related Prepaid                        $432.97       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 435 - STONEWOOD CENTER       Store 435 - STONEWOOD CENTER Misc Real Estate Related Prepaid                      $453.76       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 442 - EASTON TOWN CENTER Store 442 - EASTON TOWN CENTER Misc Real Estate Related Prepaid                        $195.57       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 445 - THE WOODLANDS MALL Store 445 - THE WOODLANDS MALL Misc Real Estate Related Prepaid                        $420.62       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 453 - SHOPPES AT WEBB GIN Store 453 - SHOPPES AT WEBB GIN Misc Real Estate Related Prepaid                      $216.42       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 455 - MALL OF LOUISIANA      Store 455 - MALL OF LOUISIANA Misc Real Estate Related Prepaid                     $388.12       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 456 - BELDEN VILLAGE         Store 456 - BELDEN VILLAGE Misc Real Estate Related Prepaid                        $469.02       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 465 - SOUTHLAND CENTER       Store 465 - SOUTHLAND CENTER Misc Real Estate Related Prepaid                      $350.53       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 466 - SERRAMONTE             Store 466 - SERRAMONTE Misc Real Estate Related Prepaid                            $175.23       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 469 - WESTFIELD MISSION VALLEStore 469 - WESTFIELD MISSION VALLE Misc Real Estate Related Prepaid               $760.10       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 472 - CHULA VISTA CENTER     Store 472 - CHULA VISTA CENTER Misc Real Estate Related Prepaid                    $267.10       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 478 - TOWSON TOWN CENTER Store 478 - TOWSON TOWN CENTER Misc Real Estate Related Prepaid                        $244.93       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 486 - THE SHOPS AT WILLOWBENDStore 486 - THE SHOPS AT WILLOWBEND Misc Real Estate Related Prepaid               $684.45       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 487 - MANASSAS MALL          Store 487 - MANASSAS MALL Misc Real Estate Related Prepaid                         $482.33       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 500 - FASHION FAIR MALL      Store 500 - FASHION FAIR MALL Misc Real Estate Related Prepaid                     $742.81       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 502 - LOS CERRITOS CENTER    Store 502 - LOS CERRITOS CENTER Misc Real Estate Related Prepaid                   $851.90       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 504 - NORTHRIDGE SHOPPING CTRStore 504 - NORTHRIDGE SHOPPING CTR Misc Real Estate Related Prepaid               $748.41       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 506 - CHANDLER FASHION CTR Store 506 - CHANDLER FASHION CTR Misc Real Estate Related Prepaid                    $251.72       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 508 - WESTFIELD CULVER CITY Store 508 - WESTFIELD CULVER CITY Misc Real Estate Related Prepaid                  $609.45       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 509 - GALLERIA AT TYLER      Store 509 - GALLERIA AT TYLER Misc Real Estate Related Prepaid                     $391.13       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 511 - THE PROM. BOLINGBROOKStore 511 - THE PROM. BOLINGBROOK Misc Real Estate Related Prepaid                   $447.58       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 513 - LAKE SUCCESS           Store 513 - LAKE SUCCESS Misc Real Estate Related Prepaid                          $372.59       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 522 - CORONADO CENTER        Store 522 - CORONADO CENTER Misc Real Estate Related Prepaid                       $942.52       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 527 - CONCORD MALL           Store 527 - CONCORD MALL Misc Real Estate Related Prepaid                          $697.06       7/4/2020             Y




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Lerner New York, Inc        Landlord of Store 530 - SHOPS AT SAUCON VALLEYStore 530 - SHOPS AT SAUCON VALLEY Misc Real Estate Related Prepaid                 $297.40       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 533 - BLAKENEY TOWNE CENTERStore 533 - BLAKENEY TOWNE CENTER Misc Real Estate Related Prepaid                   $143.88       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 541 - SOUTHLAKE MALL        Store 541 - SOUTHLAKE MALL Misc Real Estate Related Prepaid                         $565.02       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 543 - NORTHLAKE MALL        Store 543 - NORTHLAKE MALL Misc Real Estate Related Prepaid                         $484.57       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 551 - PALISADES CENTER MALL Store 551 - PALISADES CENTER MALL Misc Real Estate Related Prepaid                  $616.03       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 564 - SOUTHLAKE MALL        Store 564 - SOUTHLAKE MALL Misc Real Estate Related Prepaid                         $356.45       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 573 - SHOPPES @ RIVER CROSSIN
                                                                          Store 573 - SHOPPES @ RIVER CROSSIN Misc Real Estate Related Prepaid                $386.05       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 592 - CHERRY HILL MALL      Store 592 - CHERRY HILL MALL Misc Real Estate Related Prepaid                       $570.15       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 600 - BURBANK TOWN CENTER Store 600 - BURBANK TOWN CENTER Misc Real Estate Related Prepaid                      $434.84       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 601 - CHESTERFIELD TOWNE CTRStore 601 - CHESTERFIELD TOWNE CTR Misc Real Estate Related Prepaid                 $471.78       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 606 - PARKS AT ARLINGTON    Store 606 - PARKS AT ARLINGTON Misc Real Estate Related Prepaid                     $946.60       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 615 - POTOMAC YARD          Store 615 - POTOMAC YARD Misc Real Estate Related Prepaid                           $190.31       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 630 - AUGUSTA MALL          Store 630 - AUGUSTA MALL Misc Real Estate Related Prepaid                           $642.83       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 638 - GALLERIA AT ROSEVILLE Store 638 - GALLERIA AT ROSEVILLE Misc Real Estate Related Prepaid                  $631.77       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 656 - LOUIS JOLIET MALL     Store 656 - LOUIS JOLIET MALL Misc Real Estate Related Prepaid                      $619.47       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 657 - SAN TAN VILLAGE       Store 657 - SAN TAN VILLAGE Misc Real Estate Related Prepaid                        $198.88       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 662 - MALL AT STONE CREST Store 662 - MALL AT STONE CREST Misc Real Estate Related Prepaid                      $165.17       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 667 - OAKWOOD CENTER        Store 667 - OAKWOOD CENTER Misc Real Estate Related Prepaid                         $521.29       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 670 - SPRINGFIELD TOWN CENTER
                                                                          Store 670 - SPRINGFIELD TOWN CENTER Misc Real Estate Related Prepaid                $236.87       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 682 - BROWARD MALL          Store 682 - BROWARD MALL Misc Real Estate Related Prepaid                           $906.33       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 683 - SOMERSET SHOPPING CTRStore 683 - SOMERSET SHOPPING CTR Misc Real Estate Related Prepaid                   $309.52       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 697 - MEADOWS MALL          Store 697 - MEADOWS MALL Misc Real Estate Related Prepaid                           $740.38       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 698 - ARDEN FAIR            Store 698 - ARDEN FAIR Misc Real Estate Related Prepaid                             $350.68       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 728 - NORTHFIELD AT STAPLETON
                                                                          Store 728 - NORTHFIELD AT STAPLETON Misc Real Estate Related Prepaid                $284.79       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 748 - RIVER RIDGE MALL      Store 748 - RIVER RIDGE MALL Misc Real Estate Related Prepaid                       $575.24       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 749 - MALL ST VINCENT       Store 749 - MALL ST VINCENT Misc Real Estate Related Prepaid                        $446.27       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 766 - QUEENS CENTER MALL Store 766 - QUEENS CENTER MALL Misc Real Estate Related Prepaid                       $1,140.59      7/4/2020             Y
Lerner New York, Inc        Landlord of Store 769 - ANNAPOLIS MALL        Store 769 - ANNAPOLIS MALL Misc Real Estate Related Prepaid                         $491.58       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 773 - MALL ST MATTHEWS      Store 773 - MALL ST MATTHEWS Misc Real Estate Related Prepaid                       $696.02       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 774 - PEARLAND TOWN CENTERStore 774 - PEARLAND TOWN CENTER Misc Real Estate Related Prepaid                     $236.91       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 779 - LYNNHAVEN MALL        Store 779 - LYNNHAVEN MALL Misc Real Estate Related Prepaid                         $401.56       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 804 - WESTFIELD SANTA ANITA Store 804 - WESTFIELD SANTA ANITA Misc Real Estate Related Prepaid                  $996.68       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 809 - VALENCIA TOWN CENTER Store 809 - VALENCIA TOWN CENTER Misc Real Estate Related Prepaid                   $1,004.16      7/4/2020             Y
Lerner New York, Inc        Landlord of Store 812 - EASTERN SHORE         Store 812 - EASTERN SHORE Misc Real Estate Related Prepaid                            $96.27      7/4/2020             Y
Lerner New York, Inc        Landlord of Store 819 - WEST VALLEY MALL      Store 819 - WEST VALLEY MALL Misc Real Estate Related Prepaid                       $793.80       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 823 - GLENBROOK SQUARE MALL Store 823 - GLENBROOK SQUARE MALL Misc Real Estate Related Prepaid                  $281.51       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 830 - CHICAGO RIDGE MALL    Store 830 - CHICAGO RIDGE MALL Misc Real Estate Related Prepaid                     $556.62       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 835 - MIDLAND PARK          Store 835 - MIDLAND PARK Misc Real Estate Related Prepaid                           $477.96       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 839 - WESTFIELD PALM DESERT Store 839 - WESTFIELD PALM DESERT Misc Real Estate Related Prepaid                  $679.39       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 852 - WESTFIELD PLAZA BONITAStore 852 - WESTFIELD PLAZA BONITA Misc Real Estate Related Prepaid                 $774.82       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 853 - LAKESIDE VILLAGE      Store 853 - LAKESIDE VILLAGE Misc Real Estate Related Prepaid                       $315.70       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 868 - MORENO VALLEY MALL Store 868 - MORENO VALLEY MALL Misc Real Estate Related Prepaid                        $429.77       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 871 - CAROLINA PLACE        Store 871 - CAROLINA PLACE Misc Real Estate Related Prepaid                         $602.99       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 879 - PEMBROKE LAKES MALL Store 879 - PEMBROKE LAKES MALL Misc Real Estate Related Prepaid                     $1,192.46      7/4/2020             Y
Lerner New York, Inc        Landlord of Store 882 - PEACHTREE MALL        Store 882 - PEACHTREE MALL Misc Real Estate Related Prepaid                         $396.18       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 885 - FREEHOLD RACEWAY MALLStore 885 - FREEHOLD RACEWAY MALL Misc Real Estate Related Prepaid                   $821.44       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 11 - MYRTLE AVE.            Store 11 - MYRTLE AVE. Misc Real Estate Related Prepaid                             $598.81       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 16 - 5TH AVE (BKLYN)        Store 16 - 5TH AVE (BKLYN) Misc Real Estate Related Prepaid                         $382.38       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 23 - GREEN ACRES            Store 23 - GREEN ACRES Misc Real Estate Related Prepaid                             $682.78       7/4/2020             Y




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Lerner New York, Inc        Landlord of Store 62 - HYLAN COMMONS           Store 62 - HYLAN COMMONS Misc Real Estate Related Prepaid                          $412.64       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 65 - PARK CITY CENTER        Store 65 - PARK CITY CENTER Misc Real Estate Related Prepaid                       $325.15       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 70 - DWNTN UNION CITY        Store 70 - DWNTN UNION CITY Misc Real Estate Related Prepaid                       $577.19       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 85 - 86TH STREET             Store 85 - 86TH STREET Misc Real Estate Related Prepaid                            $600.20       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 126 - AVENUE AT MURFREESBORO Store 126 - AVENUE AT MURFREESBORO Misc Real Estate Related Prepaid                $180.87       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 169 - WARWICK MALL           Store 169 - WARWICK MALL Misc Real Estate Related Prepaid                          $423.06       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 189 - FRIENDLY CENTER        Store 189 - FRIENDLY CENTER Misc Real Estate Related Prepaid                       $262.73       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 425 - ENGLEWOOD TOWN CENTER  Store 425 - ENGLEWOOD TOWN CENTER Misc Real Estate Related Prepaid                   $96.64      7/4/2020             Y
Lerner New York, Inc        Landlord of Store 426 - SHOPS AT DOS LAGOS     Store 426 - SHOPS AT DOS LAGOS Misc Real Estate Related Prepaid                    $359.89       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 501 - EASTRIDGE MALL         Store 501 - EASTRIDGE MALL Misc Real Estate Related Prepaid                        $475.28       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 515 - LAKESIDE MALL          Store 515 - LAKESIDE MALL Misc Real Estate Related Prepaid                         $581.03       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 542 - WESTFIELD FOX VALLEY Store 542 - WESTFIELD FOX VALLEY Misc Real Estate Related Prepaid                    $442.90       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 557 - GREAT NORTHERN MALL Store 557 - GREAT NORTHERN MALL Misc Real Estate Related Prepaid                      $657.27       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 576 - ZONA ROSA              Store 576 - ZONA ROSA Misc Real Estate Related Prepaid                             $138.78       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 621 - SOUTHLAND CENTER       Store 621 - SOUTHLAND CENTER Misc Real Estate Related Prepaid                      $218.00       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 660 - STEINWAY STREET        Store 660 - STEINWAY STREET Misc Real Estate Related Prepaid                       $465.06       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 806 - OAKLAND MALL           Store 806 - OAKLAND MALL Misc Real Estate Related Prepaid                          $356.50       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 814 - CARRIAGE CROSSING      Store 814 - CARRIAGE CROSSING Misc Real Estate Related Prepaid                     $286.52       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 876 - DOGWOOD FESTIVAL MARKETStore 876 - DOGWOOD FESTIVAL MARKET Misc Real Estate Related Prepaid               $231.58       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 912 - RIVERTOWN CROSSINGS Store 912 - RIVERTOWN CROSSINGS Misc Real Estate Related Prepaid                      $587.12       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 936 - SHOPS AT MONTEBELLO Store 936 - SHOPS AT MONTEBELLO Misc Real Estate Related Prepaid                      $524.10       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 886 - THE CENTRE AT SALISBURYStore 886 - THE CENTRE AT SALISBURY Misc Real Estate Related Prepaid               $448.59       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 935 - RIVERCHASE GALLERIA Store 935 - RIVERCHASE GALLERIA Misc Real Estate Related Prepaid                      $486.11       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 946 - THE SHOPPES AT EASTCHASStore 946 - THE SHOPPES AT EASTCHAS Misc Real Estate Related Prepaid               $360.98       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 950 - SHORT PUMP TOWN CENTER Store 950 - SHORT PUMP TOWN CENTER Misc Real Estate Related Prepaid                $219.76       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 961 - SHOPPES @BUCKLAND HILLSStore 961 - SHOPPES @BUCKLAND HILLS Misc Real Estate Related Prepaid               $585.08       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 966 - COLUMBIANA CENTRE      Store 966 - COLUMBIANA CENTRE Misc Real Estate Related Prepaid                     $451.63       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3529 - GREAT LAKES CROSSING Store 3529 - GREAT LAKES CROSSING Misc Real Estate Related Prepaid                  $199.21       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3589 - BLUEGRASS OUTLET      Store 3589 - BLUEGRASS OUTLET Misc Real Estate Related Prepaid                     $357.30       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3605 - FASHION OUTLET CHICAGOStore 3605 - FASHION OUTLET CHICAGO Misc Real Estate Related Prepaid               $273.51       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3622 - GEORGIA SQUARE        Store 3622 - GEORGIA SQUARE Misc Real Estate Related Prepaid                       $328.59       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3667 - SUMTER OUTLET         Store 3667 - SUMTER OUTLET Misc Real Estate Related Prepaid                        $281.31       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3670 - PENINSULA TOWN CTR OUTL
                                                                           Store 3670 - PENINSULA TOWN CTR OUTL Misc Real Estate Related Prepaid              $200.20       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3681 - OUTLET SHOPPES AT ATLAN
                                                                           Store 3681 - OUTLET SHOPPES AT ATLAN Misc Real Estate Related Prepaid              $293.28       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3553 - BERGEN TOWN CTR OUTLETStore 3553 - BERGEN TOWN CTR OUTLET Misc Real Estate Related Prepaid              $1,005.12      7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3554 - DOLPHIN MALL OUTLETSStore 3554 - DOLPHIN MALL OUTLETS Misc Real Estate Related Prepaid                   $551.28       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3556 - JERSEY GARDENS OUTLETStore 3556 - JERSEY GARDENS OUTLET Misc Real Estate Related Prepaid                 $807.65       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3580 - MIROMAR OUTLETS       Store 3580 - MIROMAR OUTLETS Misc Real Estate Related Prepaid                      $420.53       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3587 - PALM BEACH OUTLET Store 3587 - PALM BEACH OUTLET Misc Real Estate Related Prepaid                        $262.16       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3590 - SHOPPES OF EL PASO Store 3590 - SHOPPES OF EL PASO Misc Real Estate Related Prepaid                      $439.36       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3591 - FASHION OUTLETS NIAGARA
                                                                           Store 3591 - FASHION OUTLETS NIAGARA Misc Real Estate Related Prepaid              $316.49       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3599 - OUTLET SHOPPES AT LAREDO
                                                                           Store 3599 - OUTLET SHOPPES AT LAREDO Misc Real Estate Related Prepaid             $391.06       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3602 - ASHEVILLE OUTLET      Store 3602 - ASHEVILLE OUTLET Misc Real Estate Related Prepaid                     $222.08       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3609 - FOUR SEASONS TWN CTRStore 3609 - FOUR SEASONS TWN CTR Misc Real Estate Related Prepaid                   $208.56       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3610 - PARKWAY PLAZA         Store 3610 - PARKWAY PLAZA Misc Real Estate Related Prepaid                        $572.60       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3614 - HARRISBURG MALL       Store 3614 - HARRISBURG MALL Misc Real Estate Related Prepaid                      $369.05       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3617 - GOVERNORS SQUARE Store 3617 - GOVERNORS SQUARE Misc Real Estate Related Prepaid                          $749.00       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3621 - PLYMOUTH MEETING Store 3621 - PLYMOUTH MEETING Misc Real Estate Related Prepaid                          $414.37       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3623 - PARADISE VALLEY       Store 3623 - PARADISE VALLEY Misc Real Estate Related Prepaid                      $296.66       7/4/2020             Y




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Lerner New York, Inc        Landlord of Store 3631 - MID RIVERS MALL         Store 3631 - MID RIVERS MALL Misc Real Estate Related Prepaid                          $423.25       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3635 - EASTRIDGE MALL          Store 3635 - EASTRIDGE MALL Misc Real Estate Related Prepaid                           $346.38       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3638 - GREENWOOD MALL          Store 3638 - GREENWOOD MALL Misc Real Estate Related Prepaid                           $497.59       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3641 - TOWN MALL OF WESTMINSTE Store 3641 - TOWN MALL OF WESTMINSTE Misc Real Estate Related Prepaid                  $663.95       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3643 - BRASS MILLS CENTER      Store 3643 - BRASS MILLS CENTER Misc Real Estate Related Prepaid                       $646.43       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3647 - HULEN MALL              Store 3647 - HULEN MALL Misc Real Estate Related Prepaid                               $554.58       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3649 - CITADEL MALL            Store 3649 - CITADEL MALL Misc Real Estate Related Prepaid                             $805.49       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3651 - ALAMANCE CROSSINGS Store 3651 - ALAMANCE CROSSINGS Misc Real Estate Related Prepaid                            $314.75       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3659 - TOWN EAST MALL          Store 3659 - TOWN EAST MALL Misc Real Estate Related Prepaid                           $590.55       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3660 - ALEMEDA MALL            Store 3660 - ALEMEDA MALL Misc Real Estate Related Prepaid                             $273.22       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3662 - CAPITAL CITY MALL       Store 3662 - CAPITAL CITY MALL Misc Real Estate Related Prepaid                        $358.31       7/4/2020             Y
Lerner New York, Inc        Landlord of Store 3671 - VISTA RIDGE MALL        Store 3671 - VISTA RIDGE MALL Misc Real Estate Related Prepaid                         $452.49       7/4/2020             Y
RTW Retailwinds, Inc.       David H.Edwab                                    Prepaid Director Fees                                                                $60,000.00      7/4/2020             N
RTW Retailwinds, Inc.       Grace Nicholas                                   Prepaid Director Fees                                                                $60,000.00      7/4/2020             N
RTW Retailwinds, Inc.       James O. Egan                                    Prepaid Director Fees                                                                $50,000.00      7/4/2020             N
RTW Retailwinds, Inc.       Susan J. Riley                                   Prepaid Director Fees                                                                $70,000.00      7/4/2020             N
RTW Retailwinds, Inc.       Misc Variance                                    Prepaid Director Fees                                                                    -$0.02      7/4/2020             N
RTW Retailwinds, Inc.       D&O - AWA -INI-XLSI-BI-HI 2019-2020 (ARC )       Insurance Premium - D&O Coverage Dec2019 - Nov2020                                  $151,041.69      7/4/2020             N
RTW Retailwinds, Inc.       D&O Runout Coverage Dec- May 6months             Insurance Premium - E&O Runout Coverages May2020 - Nov2020                          $483,333.34      7/4/2020             N
RTW Retailwinds, Inc.       Hugh Woods Travel Accident 2019- 02/2021         Insurance Premium - Travel Accident Dec2019 - Nov2022                                $10,902.72      7/4/2020             N
RTW Retailwinds, Inc.       Blanket Crime -ARC 2019-2020                     Insurance Premium - Crime Coverage Dec2019 - Nov2020                                  $9,305.81      7/4/2020             N
RTW Retailwinds, Inc.       Marsh - Zurich American Ins Commerical PropertyInsurance
                                                                               2020    Premium - Property Coverage Dec2019 - Nov2020                             $192,406.08      7/4/2020             N
RTW Retailwinds, Inc.       Frenkel & Co. Throughput Starr Marine Cargo18 mos.
                                                                             Insurance Premium - Stock Throughput Coverage - May2019 - Nov2020                   $133,833.13      7/4/2020             N
RTW Retailwinds, Inc.       Frenkel & Co. Throughput Lloyds of London CargoInsurance
                                                                              14 mos. Premium - Stock Throughput Excess Coverage - May2019 - Nov2020              $29,412.28      7/4/2020             N
RTW Retailwinds, Inc.       Frenkel & Co. Throughput Great American Ins 13mosInsurance Premium - Stock Throughput Excess Coverage - May2019 - Nov2020              $5,746.76      7/4/2020             N
RTW Retailwinds, Inc.       Marsh -Trumbull-Workers Comp exc NY, Inc WIS 2020Insurance Premium - Worker's Compensation (excl NY/OH/WI) - Dec2019 - Nov2020 $79,403.61             7/4/2020             N
RTW Retailwinds, Inc.       IOA Northeast Ins AXIS -G/L 2020                 Insurance Premium - General Liabilitiy - Dec2019 - Nov2020                          $443,562.06      7/4/2020             N
RTW Retailwinds, Inc.       IOA Northeast -Services Fee G/L 2020             Insurance Consulting - Broker/Service Fee General Liability - Dec2019 - Nov2020      $18,750.00      7/4/2020             N
RTW Retailwinds, Inc.       Marsh-Hartford Auto 2020                         Insurance Premium - Auto Coverage - Dec2019 - Nov2020                                $11,485.50      7/4/2020             N
RTW Retailwinds, Inc.       Marsh-Consulting Fee 2020                        Insurance Consulting - Broker/Service Fee Auto/Property/WC - Dec2019 - Nov2020 $6,666.69             7/4/2020             N
RTW Retailwinds, Inc.       Essential Umbrella Excess-Prim,2,3,4 Layers 2020 Insurance Premium - Umbrella Excess-Prim,2,3,4 Layers - Dec2019 - Nov2020            $39,243.31      7/4/2020             N
RTW Retailwinds, Inc.       Employment Practices Liability -ARC 2020         Insurance Premium - EPLI - Dec2019 - Nov2020                                         $39,608.31      7/4/2020             N
RTW Retailwinds, Inc.       Pension Fiduciary Liability -ARC 2020            Insurance Premium - Fiduciary - Dec2019 - Nov2020                                     $6,597.06      7/4/2020             N
RTW Retailwinds, Inc.       Retail Council of NYS -Membership Dues 2020 Insurance Consulting - NY State WC Dec2019 - Nov2020                                       $1,181.25      7/4/2020             N
RTW Retailwinds, Inc.       AmWins Kidnap and Ramson 3yrs                    Insurance Premium - Kidnap & Ransom Dec2019 - Nov2022                                 $2,416.49      7/4/2020             N
RTW Retailwinds, Inc.       Willis-Consulting Fee 2020                       Insurance Consulting - Broker/Service Fee General Liability - Dec2019 - Nov2020      $12,500.00      7/4/2020             N
RTW Retailwinds, Inc.       Cyber -Arc                                       Insurance Premium - Cyber - Feb2020 - Aug2021                                       $192,488.28      7/4/2020             N
Lerner New York, Inc        Culvature Proactive Care                         Prepaid Contract - Amortization                                                      $15,600.00      7/4/2020             N
Lerner New York, Inc        Exxextec                                         Prepaid Contract - Amortization                                                      $18,802.00      7/4/2020             N
Lerner New York, Inc        Gerber                                           Prepaid Contract - Amortization                                                      $12,280.00      7/4/2020             N
Lerner New York, Inc        HP                                               Prepaid Contract - Amortization                                                        $602.00       7/4/2020             N
Lerner New York, Inc        Misc                                             Prepaid Contract - Amortization                                                     -$43,164.00      7/4/2020             N
Lerner New York, Inc        NWN                                              Prepaid Contract - Amortization                                                      $31,440.00      7/4/2020             N
Lerner New York, Inc        PCM                                              Prepaid Contract - Amortization                                                      $12,207.00      7/4/2020             N
Lerner New York, Inc        SHI International                                Prepaid Contract - Amortization                                                      $35,685.96      7/4/2020             N
Lerner New York, Inc        Teradata                                         Prepaid Contract - Amortization                                                      $78,841.00      7/4/2020             N
Lerner New York, Inc        Vsphere                                          Prepaid Contract - Amortization                                                        $858.00       7/4/2020             N
RTW Retailwinds, Inc.       Agilence                                         Prepaid Contract - Amortization                                                      $13,500.00      7/4/2020             N
RTW Retailwinds, Inc.       Applied Engineering                              Prepaid Contract - Amortization                                                       $9,688.00      7/4/2020             N




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RTW Retailwinds, Inc.       Bamboo Rose                            Prepaid Contract - Amortization                                                 $45,210.00      7/4/2020             N
RTW Retailwinds, Inc.       BMC                                    Prepaid Contract - Amortization                                                 $39,669.00      7/4/2020             N
RTW Retailwinds, Inc.       CDW                                    Prepaid Contract - Amortization                                                 $49,204.00      7/4/2020             N
RTW Retailwinds, Inc.       CyberArk                               Prepaid Contract - Amortization                                                    $635.00      7/4/2020             N
RTW Retailwinds, Inc.       Extol                                  Prepaid Contract - Amortization                                                  $4,070.00      7/4/2020             N
RTW Retailwinds, Inc.       Gerber                                 Prepaid Contract - Amortization                                                 $35,658.00      7/4/2020             N
RTW Retailwinds, Inc.       Gotham                                 Prepaid Contract - Amortization                                                 $33,058.00      7/4/2020             N
RTW Retailwinds, Inc.       Informatica                            Prepaid Contract - Amortization                                                 $12,774.00      7/4/2020             N
RTW Retailwinds, Inc.       Island Pacific                         Prepaid Contract - Amortization                                                 $22,703.50      7/4/2020             N
RTW Retailwinds, Inc.       JDA                                    Prepaid Contract - Amortization                                                 $19,908.00      7/4/2020             N
RTW Retailwinds, Inc.       Lectra                                 Prepaid Contract - Amortization                                                 $24,792.00      7/4/2020             N
RTW Retailwinds, Inc.       Manhattan Associates                   Prepaid Contract - Amortization                                                 $45,990.00      7/4/2020             N
RTW Retailwinds, Inc.       Microsoft                              Prepaid Contract - Amortization                                                  $3,047.60      7/4/2020             N
RTW Retailwinds, Inc.       Misc                                   Prepaid Contract - Amortization                                                   -$996.00      7/4/2020             N
RTW Retailwinds, Inc.       Onetrust                               Prepaid Contract - Amortization                                                  $7,464.00      7/4/2020             N
RTW Retailwinds, Inc.       Oracle                                 Prepaid Contract - Amortization                                                $148,876.00      7/4/2020             N
RTW Retailwinds, Inc.       PCM                                    Prepaid Contract - Amortization                                                 $13,927.00      7/4/2020             N
RTW Retailwinds, Inc.       Rocket                                 Prepaid Contract - Amortization                                                  $2,712.00      7/4/2020             N
RTW Retailwinds, Inc.       SHI International                      Prepaid Contract - Amortization                                                  $7,349.00      7/4/2020             N
RTW Retailwinds, Inc.       Teradata                               Prepaid Contract - Amortization                                                 $14,455.00      7/4/2020             N
RTW Retailwinds, Inc.       ThinkLP                                Prepaid Contract - Amortization                                                 $14,490.00      7/4/2020             N
RTW Retailwinds, Inc.       Trintech                               Prepaid Contract - Amortization                                                 $28,903.00      7/4/2020             N
RTW Retailwinds, Inc.       Verifone                               Prepaid Contract - Amortization                                                 $47,774.00      7/4/2020             N
RTW Retailwinds, Inc.       Convercent                             Prepaid Contract - Amortization                                                  $8,642.50      7/4/2020             N
RTW Retailwinds, Inc.       Talx                                   Prepaid Contract - Amortization                                                 $17,534.39      7/4/2020             N
RTW Retailwinds, Inc.       Cohn-UIC                               Prepaid Contract - Amortization                                                 $67,451.00      7/4/2020             N
FTF IP Company, Inc.        Misc State Level Tax Prepayments       Prepaid Tax (Net of Open Liabitlites due to timing differnece)                   $1,250.00      7/4/2020             N
Lernco, Inc.                Misc State Level Tax Prepayments       Prepaid Tax (Net of Open Liabitlites due to timing differnece)                  $26,327.08      7/4/2020             N
Lerner New York, Inc        Misc State Level Tax Prepayments       Prepaid Tax (Net of Open Liabitlites due to timing differnece)                  $24,050.00      7/4/2020             N
Lerner New York, Inc        ULTIMATE SIGNS AND DESIGNS             Store 2508 Signs                                                                $11,504.84      7/4/2020             Y
RTW Retailwinds, Inc.       RTW Retailwinds, Inc.                  IT Cap Payroll                                                                     $323.35      7/4/2020             N
Lerner New York, Inc        LERNER NEW YORK                        IT Cap Payroll                                                                 $187,981.58      7/4/2020             N
Lerner New York, Inc        Knight Watch Security                  MISC STORE RELATED ITEMS                                                         $7,752.84      7/4/2020             N
RTW Retailwinds, Inc.       GREAT AMERICAN                         Prepayment of Expenses related to Liquidation Sales                            $969,000.00      7/4/2020             Y
Lerner New York, Inc        BIRDIE LICENSING LLC                   Prepayment of Kate Hudson Royalties via Stock Based Comp Tax Payment           $144,000.00      7/4/2020             N
Lerner New York, Inc        SECUREWORKS, INC.                      Prepayment of IT Contract                                                      $128,412.87      7/4/2020             N
RTW Retailwinds, Inc.       HPL Licensing Agreement                Prepayment of IT Contract                                                       $91,667.00      7/4/2020             N
Lerner New York, Inc        PREDICTSPRING, INC.                    Prepayment of IT Contract                                                       $71,668.00      7/4/2020             N
Lerner New York, Inc        LINKEDIN CORPORATION                   Prepayment of HR Membership                                                     $65,953.58      7/4/2020             N
Lerner New York, Inc        APPDYNAMICS INC                        Prepayment of IT Contract                                                       $55,284.00      7/4/2020             N
Lerner New York, Inc        NY&C CLOSET                            Prepament of Closet Program Service Fees                                        $47,375.40      7/4/2020             N
Lerner New York, Inc        HP Capital Lease                       Prepayment of Capital Lease items. (offset in LT Liab)                          $38,019.85      7/4/2020             N
Lerner New York, Inc        SUNGARD AVAILABILITY SRVE              Prepayment of IT Contract                                                       $18,676.00      7/4/2020             N
Lerner New York, Inc        RUNWAY GLOBAL LIMITED                  Merchandise On Order Prepayment                                                 $12,891.97      7/4/2020             N
Fashion to Figure, LLC      FTF CLOSET                             Prepament of Closet Program Service Fees                                        $11,768.04      7/4/2020             N
Lerner New York, Inc        EASY FASHION MACAO                     Merchandise On Order Prepayment                                                 $11,448.00      7/4/2020             N
Lerner New York, Inc        PROFILE INDUSTRIES, INC.               Prepayment of IT Contract                                                       $10,000.00      7/4/2020             N
Lerner New York, Inc        VNO RENT RECEIPT ACCOUNT               Amortization of HVAC Payment to BHQ Landlord                                     $9,624.00      7/4/2020             N
Lerner New York, Inc        RETAIL PROCESS ENG.                    Prepayment of IT Contract                                                        $8,124.10      7/4/2020             N




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Lerner New York, Inc        SWN COMMUNICATIONS, INC.           Prepayment of IT Contract                                                 $5,570.00      7/4/2020             N
Lerner New York, Inc        NEUSTAR, INC.                      Prepayment of IT Contract                                                 $2,600.00      7/4/2020             N
Lerner New York, Inc        MEDICAL PPD PREMIUMS               Prepament of Medical Premiums                                             $2,346.70      7/4/2020             N
Lerner New York, Inc        BRANCH                             Prepayment of IT Contract                                                  $907.00       7/4/2020             N
Lerner New York, Inc        F.O.B. GARMENTS LIMITED            Merchandise On Order Prepayment                                            $686.88       7/4/2020             N
Lerner New York, Inc        CONCUR TECHNOLOGIES, INC.          Monthly Prepayment of Services (Researching why Credit)                  -$9,523.41      7/4/2020             N
Lerner New York, Inc        NYSE MARKET (DE), INC.             NYSE Fees (Based on Calendar Year)                                       $38,163.51      7/4/2020             N
Lerner New York, Inc        PCAOB                              PCAOB Fees (Based on Calendar Year)                                        $800.02       7/4/2020             N
Lerner New York, Inc        FASB                               FASB Fees (Based on Calendar Year)                                           $99.99      7/4/2020             N
Lerner New York, Inc        NYC DEPARTMENT OF FINANCE          Store 11 - MYRTLE AVE. Prepaid Property Taxes                           $168,144.88      7/4/2020             Y
Lerner New York, Inc        NYC DEPARTMENT OF FINANCE          Store 16 - 5TH AVE (BKLYN) Prepaid Property Taxes                        $82,002.69      7/4/2020             Y
Lerner New York, Inc        Store 70 Landlord                  Store 70 - BERGENLINE AVE Prepaid Property Taxes                          $5,242.53      7/4/2020             Y
Lerner New York, Inc        GATEWAY CENTER PROPERTIES          Store 613 - GATEWAY CENTER Prepaid Property Taxes                         $3,080.13      7/4/2020             Y
Lerner New York, Inc        BII STIENWAY LLC                   Store 660 - STEINWAY STREET Prepaid Property Taxes                       $14,747.60      7/4/2020             Y
Lerner New York, Inc        Numerous Marketing Photoshoots     Prepaid Markeing - Pending Amortization                                 $329,592.90      7/4/2020             N
Lerner New York, Inc        SAILTHRU, INC.                     Prepaid Markeing - Pending Amortization                                 $295,744.23      7/4/2020             N
Lerner New York, Inc        ALLIED PRINTING                    Prepaid Markeing - Pending Amortization                                 $187,128.17      7/4/2020             N
Lerner New York, Inc        ADOBE SYSTEMS INC.                 Prepaid Markeing - Pending Amortization                                 $186,192.94      7/4/2020             N
Lerner New York, Inc        US POSTAL SERVICE                  Prepaid Markeing - Pending Amortization                                  $99,966.99      7/4/2020             N
Lerner New York, Inc        SPOOKY, INC.                       Prepaid Markeing - Pending Amortization                                  $83,333.34      7/4/2020             N
Lerner New York, Inc        STORED VALUE SOLUTIONS             Prepaid Markeing - Pending Amortization                                  $77,335.05      7/4/2020             N
Lerner New York, Inc        ZMAGS CORP.                        Prepaid Markeing - Pending Amortization                                  $44,212.50      7/4/2020             N
Lerner New York, Inc        THE WALL GROUP CORP.               Prepaid Markeing - Pending Amortization                                  $22,756.82      7/4/2020             N
Lerner New York, Inc        COPIOUS MANAGEMENT, INC            Prepaid Markeing - Pending Amortization                                  $15,936.43      7/4/2020             N
Lerner New York, Inc        THE BIG TREE LLC.                  Prepaid Markeing - Pending Amortization                                  $12,949.21      7/4/2020             N
Lerner New York, Inc        MELTWATER NEWS US INC.             Prepaid Markeing - Pending Amortization                                  $12,429.60      7/4/2020             N
Lerner New York, Inc        ATLAS PRODUCTIONS NY INC           Prepaid Markeing - Pending Amortization                                  $12,034.27      7/4/2020             N
Lerner New York, Inc        EXTREME REACH TALENT,INC.          Prepaid Markeing - Pending Amortization                                  $10,056.19      7/4/2020             N
Lerner New York, Inc        NO-NAME MANAGEMENT/PRODUC          Prepaid Markeing - Pending Amortization                                   $9,826.38      7/4/2020             N
Lerner New York, Inc        BAZAARVOICE INC                    Prepaid Markeing - Pending Amortization                                   $9,166.67      7/4/2020             N
Lerner New York, Inc        STACKLA INC                        Prepaid Markeing - Pending Amortization                                   $4,580.00      7/4/2020             N
Lerner New York, Inc        STREETERS                          Prepaid Markeing - Pending Amortization                                   $4,532.19      7/4/2020             N
Lerner New York, Inc        AMERICAN EXPRESS                   Prepaid Markeing - Pending Amortization                                   $3,439.37      7/4/2020             N
Lerner New York, Inc        FORWARD ARTISTS, LLC               Prepaid Markeing - Pending Amortization                                   $3,428.67      7/4/2020             N
Lerner New York, Inc        TRACEY MATTINGLY, LLC              Prepaid Markeing - Pending Amortization                                   $3,054.54      7/4/2020             N
Lerner New York, Inc        PAULINE VABRINSKAS                 Prepaid Markeing - Pending Amortization                                   $2,485.60      7/4/2020             N
Lerner New York, Inc        STARWORKS ARTISTS, LLC             Prepaid Markeing - Pending Amortization                                   $2,096.54      7/4/2020             N
Lerner New York, Inc        OWL AND THE ELEPHANT,INC.          Prepaid Markeing - Pending Amortization                                   $1,918.18      7/4/2020             N
Lerner New York, Inc        MUSE MANAGEMENT INC.               Prepaid Markeing - Pending Amortization                                    $980.45       7/4/2020             N
Lerner New York, Inc        ANGELA DE BONA AGENCY INC          Prepaid Markeing - Pending Amortization                                    $909.10       7/4/2020             N
Lerner New York, Inc        LUBA'S TAILORING INC               Prepaid Markeing - Pending Amortization                                    $763.71       7/4/2020             N
Lerner New York, Inc        MAKEUPBYMARIO, INC.                Prepaid Markeing - Pending Amortization                                    $711.11       7/4/2020             N
Lerner New York, Inc        GEN AND GUS PHOTOGRAPHY            Prepaid Markeing - Pending Amortization                                    $444.45       7/4/2020             N
Lerner New York, Inc        ART DEPARTMENT LA                  Prepaid Markeing - Pending Amortization                                    $404.29       7/4/2020             N
Lerner New York, Inc        ISA TAILORED & MADE LLC            Prepaid Markeing - Pending Amortization                                    $240.96       7/4/2020             N
Lerner New York, Inc        RJ BENNETT REPRESENTS INC          Prepaid Markeing - Pending Amortization                                    $130.90       7/4/2020             N
Lerner New York, Inc        MAXIMIZE BEAUTY LLC                Prepaid Markeing - Pending Amortization                                    $115.11       7/4/2020             N
Lerner New York, Inc        AUGUSTO FERRER                     Prepaid Markeing - Pending Amortization                                      $88.89      7/4/2020             N
Lerner New York, Inc        BIRDIE LICENSING LLC               Prepaid Markeing - Pending Amortization                                      $63.62      7/4/2020             N




Prepaids                                                                                                                                                                       10 of 11
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Entity Holding Balance                                      Prepaid with                             Description of the Prepayment   Value of Pre Payment        Valuation Date   Store Dependant
Lerner New York, Inc                       MICHELLE LERNER                          Prepaid Markeing - Pending Amortization                             $59.88      7/4/2020             N
Lerner New York, Inc                       FEDEX                                    Prepaid Markeing - Pending Amortization                              $6.62      7/4/2020             N
Lerner New York, Inc                       THE HOUSE OF MJ                          Prepaid Markeing - Pending Amortization                           -$851.87      7/4/2020             N
Lerner New York, Inc                       ELITE MODEL MANAGEMENT                   Prepaid Markeing - Pending Amortization                         -$1,012.50      7/4/2020             N
Lerner New York, Inc                       NEXT MANAGEMENT LLC.                     Prepaid Markeing - Pending Amortization                         -$1,513.33      7/4/2020             N
Lerner New York, Inc                       MARIAN SELL                              Prepaid Markeing - Pending Amortization                         -$9,321.44      7/4/2020             N
Lerner New York, Inc                       FLAWLESS STYLE LLC                       Prepaid Markeing - Pending Amortization                        -$16,281.02      7/4/2020             N
Fashion to Figure, LLC                     Numerous Marketing Photoshoots           Prepaid Markeing - Pending Amortization                        $115,734.99      7/4/2020             N
Fashion to Figure, LLC                     DIGITAL BRAND PRODUCTS                   Prepaid Markeing - Pending Amortization                         $58,333.34      7/4/2020             N
Fashion to Figure, LLC                     NATURAL MODEL MANAGEMENT,                Prepaid Markeing - Pending Amortization                         $32,500.00      7/4/2020             N
Fashion to Figure, LLC                     PRODUCTIONX INC.                         Prepaid Markeing - Pending Amortization                         $13,053.85      7/4/2020             N
Fashion to Figure, LLC                     LERNER N.Y                               Prepaid Markeing - Pending Amortization                          $5,253.23      7/4/2020             N
Fashion to Figure, LLC                     MARTHA ROSS                              Prepaid Markeing - Pending Amortization                          $5,000.00      7/4/2020             N
Fashion to Figure, LLC                     WEARETHELOST, LLC                        Prepaid Markeing - Pending Amortization                          $4,500.00      7/4/2020             N
Fashion to Figure, LLC                     JOSE MARQUEZ                             Prepaid Markeing - Pending Amortization                          $4,169.98      7/4/2020             N
Fashion to Figure, LLC                     BAZAARVOICE INC                          Prepaid Markeing - Pending Amortization                          $2,500.00      7/4/2020             N
Fashion to Figure, LLC                     C.B.A.V. INC                             Prepaid Markeing - Pending Amortization                          $2,290.00      7/4/2020             N
Fashion to Figure, LLC                     NKLD INC.                                Prepaid Markeing - Pending Amortization                          $1,777.98      7/4/2020             N
Fashion to Figure, LLC                     ANNA LAMB                                Prepaid Markeing - Pending Amortization                          $1,575.32      7/4/2020             N
Fashion to Figure, LLC                     ANASTASIA GARCIA                         Prepaid Markeing - Pending Amortization                          $1,372.80      7/4/2020             N
Fashion to Figure, LLC                     TONIA DAY                                Prepaid Markeing - Pending Amortization                            $817.14      7/4/2020             N
Fashion to Figure, LLC                     D-FACTORY NYC,INC.                       Prepaid Markeing - Pending Amortization                            $742.87      7/4/2020             N
Fashion to Figure, LLC                     STORED VALUE SOLUTIONS                   Prepaid Markeing - Pending Amortization                            $574.65      7/4/2020             N
Fashion to Figure, LLC                     JULIA C. CARRIZOSA                       Prepaid Markeing - Pending Amortization                            $533.33      7/4/2020             N
Fashion to Figure, LLC                     MARIANA MCGRATH                          Prepaid Markeing - Pending Amortization                            $371.42      7/4/2020             N
Fashion to Figure, LLC                     ANDREA COSTIGAN                          Prepaid Markeing - Pending Amortization                            $371.41      7/4/2020             N
Fashion to Figure, LLC                     MEGHAN O'CONNOR                          Prepaid Markeing - Pending Amortization                            $297.14      7/4/2020             N
Fashion to Figure, LLC                     JOSEPH ELGAR                             Prepaid Markeing - Pending Amortization                            $297.13      7/4/2020             N
Fashion to Figure, LLC                     JORGE MONROY                             Prepaid Markeing - Pending Amortization                            $278.59      7/4/2020             N
Fashion to Figure, LLC                     ALLIED PRINTING                          Prepaid Markeing - Pending Amortization                            $268.94      7/4/2020             N
Fashion to Figure, LLC                     ERICA SOMMER                             Prepaid Markeing - Pending Amortization                            $250.00      7/4/2020             N
Fashion to Figure, LLC                     MARCUS SOTO                              Prepaid Markeing - Pending Amortization                            $111.42      7/4/2020             N
Fashion to Figure, LLC                     JENNIFER SALDIVAR                        Prepaid Markeing - Pending Amortization                             $92.87      7/4/2020             N
Lerner New York, Inc                       TRI COUNTY TELEPHONE                     Prepaid Maintenance Contract                                       $588.60      7/4/2020             N
Lerner New York, Inc                       HEWLETT PACKARD                          Prepaid Capital Lease                                            $8,780.50      7/4/2020             N
Lerner New York, Inc                       Misc Variance                            MISC STORE RELATED ITEMS                                            -$0.01      7/4/2020             N

Notes:
  -Data as of Fiscal June, July 4, 2020 and will be updated as of closing
  -Professional Fees Escrow and any other retainers are not included




Prepaids                                                                                                                                                                                   11 of 11
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                                           EXHIBIT I



L. Brands Distribution Center
Warehouse Management System and related Hardware.

Corporate Office*
Data center/room and related servers/hardware
All Seller owned computer equipment of Transferred Employees
Leasehold Improvements
Branding/signage/graphics

*Note :Office furniture, including desks, chairs, cubicles and telephones are leased and not
owned.
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                                                            EXHIBIT 2

                                                      (Schedule of Contracts)

   DEBTOR               CONTRACT              CONTRACT(S)/CONTRACT                     PROPOSED        NOTICE
                      COUNTERPARTY                DESCRIPTION                        CURE AMOUNT   DATE/OBJECTION
                                                                                                      DEADLINE

Lerner New           Bank of America     Merchant Services Bankcard Agreement        $0.00         August 25, 2020 &
York, Inc.           Merchant Services   including addenda and amendments (Start                   September 8, 2020
                                         Date December 2016)




RTW                  Comenity Bank       Second Amended and Restated Private         $0.00         August 25, 2020 &
Retailwinds, Inc.                        Label Credit Card Program Agreement                       September 8, 2020
                                         including amendments

Lerner New           Radial, Inc.        Amended and Restated Master Services        $0.00         August 25, 2020 &
York, Inc.                               Agreement including statements of work,                   September 8, 2020
                                         addenda, amendments, and letter
                                         agreements

RTW                  Afterpay U.S.       Afterpay Merchant Agreement and Letter      $0.00         August 25, 2020 &
Retailwinds, Inc.                        Agreement                                                 September 8, 2020

RTW                  BlueCore            Master Services Agreement; Statement of     $0.00         August 25, 2020 &
Retailwinds, Inc.                        Work dated October 17, 2018; Statement of                 September 8, 2020
and New York &                           Work dated May 15, 2019; Bluecore
Co., Inc.                                Statement of Work dated May 14, 2020;
                                         Master Amendment dated May 12, 2020
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RTW                  Zmags, Inc.          Master Subscription Agreement (Start Date   $0.00   August 25, 2020 &
Retailwinds, Inc.                         November 2014); Services Order Form                 September 8, 2020
                                          (Start Date February 2020)

New York & Co.,      Airwatch             End User License Agreement (Start Date      $0.00   August 25, 2020 &
Inc.                                      March 2013)                                         September 8, 2020

RTW                  AppDynamics LLC      End User License Agreement (Start Date      $0.00   August 25, 2020 &
Retailwinds, Inc.                         September 2018); Order Form                         September 8, 2020

New York & Co.,      Archroma Global      Color Services Agreement (Start Date        $0.00   August 25, 2020 &
Inc.                 Color Services       February 2017); First Amendment to                  September 8, 2020
                                          Archroma Color Services Agreement

RTW                  Atlassian            Online Subscription                         $0.00   August 25, 2020 &
Retailwinds, Inc.                                                                             September 8, 2020

New York & Co.,      Experian Marketing   Experian Standard Terms and Conditions;     $0.00   August 25, 2020 &
Inc.                 Solutions Inc.       Statement of Work dated May 9, 2013;                September 8, 2020
                                          Experian Data Quality Software and
                                          Services Schedule; Order Form

New York & Co.,      Gerber Technology,   Agreement Regarding Standard Terms and      $0.00   August 25, 2020 &
Inc.                 Inc.                 Condtions of Sale License of Computer               September 8, 2020
                                          Programs; Purchase Agreement

New York & Co.,      JDA Software, Inc.   Customer Agreement and subsequent           $0.00   August 25, 2020 &
Inc.                                      Schedules (Start Date November 2003)                September 8, 2020

New York & Co.,      Lectra USA Inc.      Equipment Purchase, Software License, and $0.00     August 25, 2020 &
Inc.                                      Services Agreement (Start Date January              September 8, 2020
                                          2017)

RTW                  Manhattan            Software License, Services Support and      $0.00   August 25, 2020 &
Retailwinds, Inc.    Associates           Enhancements Agreement; Addendum to                 September 8, 2020



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                                            Software License, Services Support and
                                            Enhancements Agreement

RTW                  Mulesoft LLC           Master Subscription Agreement; Order      $0.00         August 25, 2020 &
Retailwinds, Inc.                           Form                                                    September 8, 2020

RTW                  NetX Information       Master Services Agreement; Statement of   $0.00         August 25, 2020 &
Retailwinds, Inc.    Systems, Inc.          Work (Start Date January 2019)                          September 8, 2020

RTW                  PCM Sales, Inc.        Statement of Work for HP Server Storage   $0.00         August 25, 2020 &
Retailwinds, Inc.                           and Virtualization Assessmen                            September 8, 2020

RTW                  Predict Spring, Inc.   Customer Agreement (Start Date October    $0.00         August 25, 2020 &
Retailwinds, Inc.                           2015); Amendment to Customer                            September 8, 2020
                                            Agreement; Second Amendment to
                                            Customer Agreement; Third Amendment to
                                            Customer Agreement; Fourth Amendment
                                            to Customer Agreement

RTW                  Secureworks, Inc.      Security Services Customer Master         $0.00         August 25, 2020 &
Retailwinds, Inc.                           Services Agreement; Statement of Work                   September 8, 2020
                                            (Start Date February 2020)

New York & Co.,      SHI International      Mimecast General Terms and Conditions;    $0.00         August 25, 2020 &
Inc.                 Corp./Mimecast         Customer Confirmation                                   September 8, 2020
                     North America

RTW                  Sungard, AS            MSA - Disaster Recovery Services          $0.00         August 25, 2020 &
Retailwinds, Inc.                                                                                   September 8, 2020

New York & Co.,      CyberSource Corp.      ECM CC Processing, Fraud Detection, and   $229,085.01   August 12, 2020 &
Inc.                                        Sales Tax Calculation Services (October                 August 26, 2020
                                            2011)




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New York & Co.,      Oracle America, Inc.   Oracle Standard Edition DB OMS Annual         $19,234.99    August 12, 2020 &
Inc.; RTW                                   Review 2019; ATG Product & Support                          August 26, 2020
Retailwinds, Inc.                           Order Form (March 2006); ATG Product &
                                            Services Order Form and& ATG
                                            OnDemand MSP Services Order Form
                                            (March 2008); ATG Licenses and Support
                                            Amendment (May 22, 2012); ATG OD
                                            WebCommerce and OFD Agreement (June
                                            2016); On Demand Services Ordering
                                            Document for E-com Web Hosting (April
                                            2013); Oracle ATG Hosting Services (May
                                            2016); Oracle Managed Cloud Services
                                            Amendment Eleven – ATG Hosting
                                            Services Extension (May 2020); Oracle 12c
                                            Enterprise Edition Database Licenses for
                                            ATG (May 2016); Oracle DNS Domain
                                            Names; Oracle Hyperion/Essbase Licenses
                                            (EZORDER #4430530)

New York & Co.,      Microsoft Licensing,   Microsoft License Agreements (June 2017)      $36,571.20    August 12, 2020 &
Inc.                 GP                                                                                 August 26, 2020

New York & Co.,      Island Pacific Inc.    Software Support Agreement                    $1,480.66     August 12, 2020 &
Inc.                                                                                                    August 26, 2020

RTW                  Trustwave Holdings,    Provide Managed security testing to           $11,337.26    August 12, 2020 &
Retailwinds, Inc.    Inc.                   payment card industry data security (Start                  August 26, 2020
                                            Date October 2019)

RTW                  Merkle, Inc.           Direct mail database platform (Start Date     $174,318.00   August 12, 2020 &
Retailwinds, Inc.                           March 2017)                                                 August 26, 2020

                                            Verification integration services for third
                                            party service provider (Start Date
                                            December 2020)



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New York & Co.,      Microsoft Online,                                                  $21,066.67    August 12, 2020 &
Inc.                 Inc.                                                                             August 26, 2020

RTW                  Commission             Advertiser’s Program (Start Date            $435,614.05   August 12, 2020 &
Retailwinds, Inc.    Junction, LLC          November 2019); CJ Affiliate Service                      August 26, 2020
                                            Order and Services Agreement (Start Date
                                            February 2018)

RTW                  Teradata Operations,   Master Services Agreement including         $91,039.12    August 12, 2020 &
Retailwinds, Inc.    Inc.                   statements of work, addenda, amendments,                  August 26, 2020
                                            and letter agreements

New York & Co.,      HCL Technologies       Master Services Agreement including         $101,843.00   August 12, 2020 &
Inc.; RTW            Corp.                  statements of work, addenda, amendments,                  August 26, 2020
Retailwinds, Inc.                           and letter agreements

RTW                  BMC Software, Inc.     Renew software maintenance & tech           $68,000.00    August 12, 2020 &
Retailwinds, Inc.                           support services for BMC Control-M-                       August 26, 2020
                                            provides work flow automation &
                                            scheduling (Start Date March 2019)

New York & Co.,      Miracle Software       Master Services Agreement including         $63,007.00    August 12, 2020 &
Inc.; RTW            Systems Inc.           statements of work, addenda, amendments,                  August 26, 2020
Retailwinds, Inc.                           and letter agreements

New York & Co.,      Cyxtera                NJ and VA Data Center Colocation hosting    $17,533.04    August 12, 2020 &
Inc.; RTW            Communications         Services                                                  August 26, 2020
Retailwinds, Inc.

New York & Co.,      Akamai                 SSL certificates for websites (Start Date   $20,684.18    August 12, 2020 &
Inc.; RTW            Technologies Inc.      February 2019); image manager for mobile                  August 26, 2020
Retailwinds, Inc.                           devices (Start Date January 2019)

New York & Co.,      Centurylink            Internet circuits to RTW apps/systems in    $36,573.44    August 12, 2020 &
Inc.                 Communication          NJ & VA Data Centers & Stores (Start Date                 August 26, 2020
                                            August 2014)


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New York & Co.,      Bazaarvoice Inc.        master application service provider         $0.00           August 12, 2020 &
Inc.; Lerner New                             agreement (Start Date January 2011);                        August 26, 2020
York, Inc.                                   provide/manage/host product review
                                             platform on ECM website (Start Date June
                                             2018)

New York & Co.,      Gotham Technology       Master Services Agreement including         $13,248.89      August 12, 2020 &
Inc.; RTW            Group                   statements of work, addenda, amendments,                    August 26, 2020
Retailwinds, Inc.                            and letter agreements

RTW                  Retail Process                                                      $8,124.10       August 12, 2020 &
Retailwinds, Inc.    Engineering                                                                         August 26, 2020

RTW                  Digital Envoy, Inc.     Start Date July 2019                        $7,500.00       August 12, 2020 &
Retailwinds, Inc.                                                                                        August 26, 2020

RTW                  Stored Value            Giftcard and loyalty reward provider        $6,706.64       August 12, 2020 &
Retailwinds, Inc.    Solutions                                                                           August 26, 2020

RTW                  Security Services,      Master Services Agreement including         $600.00         August 12, 2020 &
Retailwinds, Inc.    LLC/Neustar, Inc.       statements of work, addenda, amendments,                    August 26, 2020
                                             and letter agreements

New York & Co.,      Google Inc.             Affiliate marketing services (Start Date July $141,041.66   August 12, 2020 &
Inc.                                         2010)                                                       August 26, 2020

RTW                  ANSR Consulting         Start Date September 2019                   $14,741.03      August 12, 2020 &
Retailwinds, Inc.    India PVT                                                                           August 26, 2020

RTW                  Attentive Mobile Inc.   SMS/MMS Services and Influence              $26,106.53      August 12, 2020 &
Retailwinds, Inc.                            Collaborator                                                August 26, 2020




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                                   FIRST AMENDMENT TO
                                ASSET PURCHASE AGREEMENT

       THIS FIRST AMENDMENT TO ASSET PURCHASE AGREEMENT (this
“Amendment”) is entered into on September ___, 2020, by and between RTW Retailwinds, Inc.,
a Delaware corporation (the “Company”), and the other direct and indirect wholly-owned
Subsidiaries or Affiliates of the Company that are signatories hereto (together with the Company,
the “Sellers”) and Saadia Group, LLC or its wholly owned Subsidiary (“Buyer”).

                                           WITNESSETH:

       WHEREAS, Buyer and Sellers are parties to that certain Asset Purchase Agreement
dated August 28, 2020 (the “Purchase Agreement”);

       WHEREAS, pursuant to the terms of the Purchase Agreement, Sellers desire to sell to
Buyer, and Buyer desires to purchase from Sellers, certain assets of the Sellers; and

       WHEREAS, Buyer and Sellers desire to amend the Purchase Agreement to reflect the
modifications set forth in this Amendment.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained in the Purchase Agreement, the parties hereto, intending to be legally bound, agree as
follows:

      1.      Amendment to Whereas Clauses. The fifth Whereas clause to the Purchase
Agreement is hereby deleted in its entirety and replaced with the following:

                  WHEREAS, Buyer desires to acquire the Assumed Leases (as defined
                  below);

       2.     Deletions to Article I. The definitions of “Designated Contract”, “Designated
Lease”, “Designation Counterparty”, “Designation Notice” and “Designation Rights Period” in
the Purchase Agreement are hereby deleted in their entirety.

       3.    Amendment to Section 2.3(b). Section 2.3(b) of the Purchase Agreement is
hereby amended by deleting it in its entirety and replacing it with the following:

                  (b) Buyer has made a deposit with the Escrow Agent in the amount of
                  $8,000,000.00 by wire transfer of immediately available funds (the
                  “Deposit”). The Deposit shall not be subject to any lien, attachment,
                  trustee process, or any other judicial process of any creditor of any of the
                  Sellers or the Buyer and shall be released (together with all accrued
                  investment income thereon, if any) (and Buyer and Sellers shall deliver
                  any joint written instructions required to effect the distribution of the
                  Deposit that is held pursuant to the Deposit Escrow Agreement) solely as
                  follows:

      4.     Amendment to Section 2.6. Section 2.6 of the Purchase Agreement is hereby
amended by deleting it in its entirety and replacing it with the following:


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                  2.6   Assumption/Rejection of Certain Contracts and Leases; Non-
                        Assignment.

                        (a)    Schedule 2.6(a) sets forth, to the Knowledge of Sellers, a
                        true and complete list, as of the date hereof, of all executory
                        Contracts and unexpired Leases to which any Seller is a party.

                        (b)      From and after the date hereof until 5:00 pm EST on
                        September 25, 2020, Buyer may, in its sole discretion, (i) designate
                        the Contracts listed on Schedule 2.6(b) for assumption and
                        assignment to Buyer or its designee-Affiliate, effective on and as
                        of the Closing (such Contracts, together with any other Contracts
                        assumed by Seller and assigned to Buyer or its designee-Affiliate
                        pursuant to this Agreement, the “Transferred Contracts”), and
                        (ii) designate any Leases listed on Schedule 2.6(b) for possible
                        assumption and assignment to its designee-Affiliates, effective on
                        and as of the Closing (such Leases, together with any other Leases
                        assumed by Seller and assigned to Buyer or its designee pursuant
                        to this Agreement, the “Assumed Leases”) and/or (iii) designate all
                        other Contracts and/or Leases which are not designated as a
                        Contract or Lease on Schedule 2.6(b) for rejection effective on
                        and as of the Closing. The Transferred Contracts and Assumed
                        Leases (subject to the conditions and required consents herein) as
                        of the date hereof that are to be assumed and assigned effective on
                        and as of the Closing are set forth on Schedule 2.6(b) hereto, which
                        Schedule shall be (and shall be deemed) modified or supplemented
                        by no later than 5:00 pm EST on September 25, 2020 to reflect
                        additions or removals, as applicable, of Leases and Contracts that
                        are (i) designated for assumption and assignment as set forth in this
                        Section 2.6(b), and (ii) designated for rejection.

                        (c)     Sellers shall take all actions reasonably required to assume
                        and assign the Transferred Contracts and Assumed Leases to
                        Buyer or its designee, including taking all actions reasonably
                        necessary to facilitate any negotiations with the counterparties to
                        such Contracts or Leases and, if necessary, to obtain an order of
                        the Bankruptcy Court containing a finding that the proposed
                        assumption and assignment of the Contracts or Leases to Buyer or
                        its designee satisfies all applicable requirements of section 365 of
                        the Bankruptcy Code.

                        (d)    Buyer shall take all actions reasonably required for Sellers
                        to assume and assign the Transferred Contracts and Assumed
                        Leases to Buyer, including taking all actions reasonably necessary
                        to facilitate any negotiations with the counterparties to such
                        Contracts or Leases and, if necessary, to obtain an order of the
                        Bankruptcy Court containing a finding that the proposed
                        assumption and assignment of the Contracts or Leases to Buyer


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                        satisfies all applicable requirements of section 365 of the
                        Bankruptcy Code.

                        (e)    Buyer shall as promptly as reasonably practicable, but in
                        any event upon assumption of any Transferred Contract or
                        Assumed Lease hereunder, pay all Cure Costs (if any) in
                        connection with any such assumption.

                        (f)     Notwithstanding the foregoing and anything herein to the
                        contrary, and subject to Section 5.4, a Contract or Lease shall not
                        be assigned to, or assumed by, Buyer or its designee hereunder to
                        the extent that such Contract or Lease (i) is terminated by a Seller
                        (subject to Section 5.2(b)(vi)) or the counterparty thereto, or
                        terminates or expires by and in accordance with its terms, on or
                        prior to the Closing and is not continued or otherwise extended
                        upon assumption, or (ii) requires a consent or authorization from a
                        Governmental Authority (other than, and in addition to, that of the
                        Bankruptcy Court) in order to permit the sale or transfer to Buyer
                        or its designee of the applicable Seller’s rights under such Contract
                        or Lease, and such consent or authorization has not been obtained
                        prior to the Closing. In the event that any Transferred Contract or
                        Assumed Lease is deemed not to be assigned pursuant to clause (ii)
                        of this Section 2.6(f), the Closing shall nonetheless occur subject to
                        the terms and conditions set forth herein and, thereafter, through
                        the earlier of such time as such consent or authorization is obtained
                        and six (6) months following the Closing (or the remaining term of
                        such Contract or Lease or the closing of the Bankruptcy Cases, if
                        shorter), Sellers and Buyer shall (A) use reasonable best efforts to
                        secure such consent or authorization as promptly as practicable
                        after the Closing, and (B) cooperate in good faith to allow Buyer or
                        its designee to perform the services thereunder on Sellers’ behalf,
                        in all cases, without infringing upon the legal rights of any third
                        party, including by good faith cooperation with any lawful and
                        commercially reasonable arrangement reasonably proposed by
                        Buyer, including subcontracting, licensing or sublicensing to
                        Buyer any or all of any Sellers’ rights and obligations with respect
                        to any such Contract or Lease, under which (1) Buyer shall obtain
                        (without infringing upon the legal rights of such third party or
                        violating any Law) the economic rights and benefits (net of the
                        amount of any related Tax costs imposed on Sellers or their
                        respective Affiliates) under such Contract or Lease with respect to
                        which the consent and/or authorization has not been obtained, and
                        (2) Buyer shall assume any related burden (net of the amount of
                        any related Tax benefit obtained by Sellers or their respective
                        Affiliates) and obligation (including performance) with respect to
                        such Contract or Lease. Upon satisfying all such requisite consent
                        or authorization requirements applicable to such Contract or Lease
                        after the Closing, such Contract or Lease shall promptly be

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                        transferred and assigned to Buyer in accordance with the terms of
                        this Agreement.

       5.       Deletion of Section 5.10. Section 5.10 of the Purchase Agreement is hereby
deleted in its entirety.

        6.      Confirmation of Availability of Closing Cash Payment. Buyer shall provide
Sellers, no later than September 10, 2020, 5:00 pm EST, with documentation and/or other proof,
reasonably acceptable to Sellers and the Official Committee of Unsecured Creditors, that it has
available funds to consummate the transactions contemplated by the Purchase Agreement by no
later than the Outside Date.

    7.  Time of Essence. TIME IS OF THE ESSENCE WITH RESPECT TO THIS
AMENDMENT.

        8.     Integration of Amendment and Purchase Agreement. From and after the effective
date of this Amendment, the Purchase Agreement and this Amendment shall be read as one
agreement. Except as set forth in this Amendment, all other terms and conditions of the
Purchase Agreement are not being modified or amended, and shall remain in full force and
effect. To the extent of any inconsistency between the terms and conditions of this Amendment
and the terms and conditions of the Purchase Agreement, the terms and conditions of this
Amendment shall prevail. Capitalized terms used, but not otherwise defined herein, shall have
the meanings ascribed to them in the Purchase Agreement.

       9.      Counterparts. This Amendment may be executed in any number of counterparts,
and each when so executed and delivered shall be an original, but all the counterparts shall
together constitute one and the same instrument. Facsimile signatures shall be sufficient for
execution of this Amendment.

                           [Remainder of Page Intentionally Left Blank]




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       IN WITNESS WHEREOF, the undersigned have executed this First Amendment to
Asset Purchase Agreement as of the day and year first above written.

                                              SELLERS:

                                              RTW RETAILWINDS, INC.
                                              LERNER NEW YORK HOLDING, INC.
                                              LERNCO, INC.
                                              LERNER NEW YORK, INC.
                                              NEW YORK & COMPANY, INC.
                                              LERNER NEW YORK GC, LLC
                                              LERNER NEW YORK OUTLET, LLC
                                              NEW YORK & COMPANY STORES, INC.
                                              FTF GC, LLC
                                              LERNER NEW YORK FTF, LLC
                                              FASHION TO FIGURE, LLC
                                              FTF IP COMPANY, INC.



                                              By:
                                              Name: Sheamus Toal
                                              Title: Authorized Signatory

                                              BUYER:

                                              SAADIA GROUP LLC



                                              By:
                                              Name:
                                              Title:




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